          Case: 24-1285    Document: 7    Page: 1   Filed: 12/26/2023




                               No. 2024-____

          UNITED STATES COURT OF APPEALS
             FOR THE FEDERAL CIRCUIT
                                 APPLE INC.,
                                                                Appellant,
                                     v.
                    INTERNATIONAL TRADE COMMISSION,
                                                                 Appellee,

       On Appeal from the United States International Trade Commission
                     in Investigation No. 337-TA-1276


   APPELLANT APPLE INC.’S NON-CONFIDENTIAL EMERGENCY
      MOTION TO STAY ENFORCEMENT OF ITC’S ORDERS
                     PENDING REVIEW



JOSEPH J. MUELLER                          MARK D. SELWYN
SARAH R. FRAZIER                           THOMAS G. SPRANKLING
WILMER CUTLER PICKERING                    WILMER CUTLER PICKERING
  HALE AND DORR LLP                          HALE AND DORR LLP
60 State Street                            2600 El Camino Real, Suite 400
Boston, MA 02109                           Palo Alto, CA 94306
(617) 526-6000                             (650) 858-6000

DAVID P. YIN                               DEREK GOSMA
WILMER CUTLER PICKERING                    WILMER CUTLER PICKERING
  HALE AND DORR LLP                          HALE AND DORR LLP
2100 Pennsylvania Avenue NW                350 S. Grand Avenue, Suite 2400
Washington DC 20037                        Los Angeles, CA 90071
(202) 663-6000                             (213) 443-5300

December 26, 2023                          Attorneys for Appellant Apple Inc.
                 Case: 24-1285              Document: 7            Page: 2         Filed: 12/26/2023




                                          TABLE OF CONTENTS

                                                                                                                       Page
TABLE OF AUTHORITIES ................................................................................... iii

FEDERAL CIRCUIT RULE 18 STATEMENT ....................................................... 1

INTRODUCTION .....................................................................................................1

BACKGROUND .......................................................................................................4

         A.       Products At Issue ...................................................................................4

         B.       Commission Investigation ..................................................................... 5

ARGUMENT .............................................................................................................5

I.       THE COMMISSION’S ORDERS WILL LIKELY BE REVERSED ON
         APPEAL .............................................................................................................6

         A.       The Commission erred in holding the domestic industry
                  requirement satisfied even though no patent-practicing
                  article existed at the time of the complaint ........................................... 6

         B.       The Commission erred by rubber-stamping Masimo’s
                  attempts to stretch clinical-focused patents to cover
                  consumer products...............................................................................11

         1.       The Commission erred in concluding the patents-in-suit
                  are valid ...............................................................................................11

                  a.        The Commission erred by requiring the prior art to
                            enable more than the patents require or enable
                            themselves .................................................................................11

                  b.        The Commission’s other validity rulings were also
                            error ...........................................................................................14

         2.       The Commission erred in concluding that the patent
                  laches doctrine did not apply ...............................................................15



                                                           -i-
                Case: 24-1285            Document: 7            Page: 3      Filed: 12/26/2023




II.     THE COMMISSION’S ORDERS ARE CAUSING, AND WILL CAUSE,
        IRREPARABLE HARM TO APPLE ......................................................................18

III.    A STAY WILL NOT HARM MASIMO ................................................................20

IV.     THE PUBLIC INTEREST SUPPORTS A STAY ......................................................21

CONCLUSION ........................................................................................................23

CERTIFICATE OF INTEREST

ADDENDUM

CERTIFICATE OF SERVICE

CERTIFICATE OF COMPLIANCE



Rule 25.1(e)(1)(B) Statement: The material omitted on pages 2 and 20 describes
details of a confidential product redesign. The material omitted on page 7 and 9
contains information that complainants Masimo Corporation and Cercacor
Laboratories, Inc. designated as Confidential Business Information under the
Administrative Protective Order in effect in ITC Investigation No. 1276.




                                                       - ii -
                 Case: 24-1285             Document: 7             Page: 4      Filed: 12/26/2023




                                      TABLE OF AUTHORITIES
                                                                                                               Page(s)
CASES

Asyst Techs., Inc. v. Emtrak, Inc.,
      544 F.3d 1310 (Fed. Cir. 2008) .....................................................................15
Broadcom Corp. v. ITC,
     28 F.4th 240 (Fed. Cir. 2022) .......................................................................... 6

Brown v. 3M,
     265 F.3d 1349 (Fed. Cir. 2001) .....................................................................12
Celsis In Vitro v. CellzDirect, Inc.,
      664 F.3d 922 (Fed. Cir. 2012) .......................................................................18
Certain Digital Models,
      Inv. No. 337-TA-833, Comm’n Op., 2014 WL 12890480 (June
      11, 2014) ........................................................................................................23
ClearCorrect v. ITC,
     810 F.3d 1283 (Fed. Cir. 2015) ....................................................................... 7

Finnigan Corp. v. ITC,
      180 F.3d 1354 (Fed. Cir. 1999) .....................................................................18
Hazani v. ITC,
     126 F.3d 1473 (Fed. Cir. 1997) .....................................................................18

Impax Laboratories, Inc. v. Aventis Pharmaceuticals Inc.,
     545 F.3d 1312 (Fed. Cir. 2008) .....................................................................13

In re Certain Tobacco Heating Articles,
       Comm’n Op., 2022 WL 279056 (Jan. 20, 2022) ...........................................18

In re Epstein,
       32 F.3d 1559 (Fed. Cir. 1994) ...................................................................3, 13

In re Motupalli,
      791 F. App’x 895 (Fed. Cir. 2019) (nonprecedential)...................................18




                                                         - iii -
                 Case: 24-1285            Document: 7            Page: 5       Filed: 12/26/2023




In re Paulsen,
       30 F.3d 1475 (Fed. Cir. 1994) .......................................................................13

In re Theresa,
       720 F. App’x 634 (Fed. Cir. 2018) (nonprecedential)...................................12

KSR Int’l Co. v. Teleflex Inc.,
     550 U.S. 398 (2007).......................................................................................14

Metalcraft of Maryville, Inc. v. Toro Co.,
      848 F.3d 1358 (Fed. Cir. 2017) ...............................................................18, 19

Microsoft Corp. v. ITC,
     731 F.3d 1354 (Fed. Cir. 2013) ...................................................................3, 6

Motiva, LLC v. ITC,
     716 F.3d 596 (Fed. Cir. 2013) ......................................................................... 7
Nken v. Holder,
      556 U.S. 418 (2009).........................................................................................6
OSI Pharms., LLC v. Apotex Inc.,
     939 F.3d 1375 (Fed. Cir. 2019) .....................................................................10

Personalized Media Commc’ns, LLC v. Apple Inc.,
     57 F.4th 1346 (Fed. Cir. 2023) ............................................................3, 15, 16
Sitrick v. Dreamworks, LLC,
       516 F.3d 993 (Fed. Cir. 2008) .......................................................................12

Sonos v. Google LLC,
      2023 WL 6542320 (N.D. Cal. Oct. 6, 2023) .................................................16

Standard Havens Prods., Inc. v. Gencor Indus.,
      897 F.2d 511 (Fed. Cir. 1990) .............................................................6, 11, 21
Symbol Techs., Inc. v. Lemelson Med.,
     422 F.3d 1378 (Fed. Cir. 2005) ...............................................................16, 17
                         STATUTES, RULES, AND REGULATIONS

19 C.F.R. Part 177....................................................................................................20
19 C.F.R. §210.43(b)(2) ...........................................................................................17

                                                        - iv -
                 Case: 24-1285            Document: 7          Page: 6        Filed: 12/26/2023




19 U.S.C. §1337 .............................................................................................3, 5, 6, 7




                                                        -v-
            Case: 24-1285    Document: 7     Page: 7   Filed: 12/26/2023




                FEDERAL CIRCUIT RULE 18 STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 18(a) and Federal Circuit

Rule 18, Appellant Apple Inc. seeks an emergency stay pending appeal of Appellee

International Trade Commission’s Final Determination, including a stay as to its

Limited Exclusion Order (Stay-Add-26-29) and Cease and Desist Order (Stay-Add-

17-24). The Orders were issued by the Commission on October 26, 2023 and went

into full effect earlier today. They are both premised on the Commission’s Opinion

(Stay-Add-31-154) adopting in part the Administrative Law Judge’s Final Initial

Determination (Stay-Add-156-497).

      Apple filed a similar stay motion with the Commission on October 30, 2023,

which was denied. Stay-Add-2-15.1 The Commission and the parties that requested

the Commission’s investigation (Masimo Corporation and Cercacor Laboratories

(collectively, “Masimo”)) have indicated they oppose this motion and will file a

response.

                               INTRODUCTION

      As of early this morning, the Orders bar importation and sale of Apple’s

flagship Watch products that include the Blood Oxygen feature. Unless this Court



1
  No public version of the Commission’s decision was available at the time of this
filing. Apple has accordingly filed the decision under seal and refrained from
quoting it directly or referencing any material Masimo has previously claimed to be
confidential.

                                       -1-
            Case: 24-1285     Document: 7      Page: 8   Filed: 12/26/2023




stays the Orders (or U.S. Customs and Border Protection approves a redesign to

redesign details                            ), Apple will be unable to import and sell

these products in the U.S. for the foreseeable future, depriving consumers of the

health, wellness, and safety features that they provide. 2 For its part, Masimo offers

no reasonable substitute for Apple Watch. Nor can any other company provide a

substitute, in a commercially reasonable amount of time, to fill the gap in supply that

a ban on Apple Watch would cause.

      The evidence shows that Masimo delayed twelve years in filing the

applications for the two patents for which the Commission’s Final Determination

found a violation. As Commission Chairman Johanson summarized in dissent,

Masimo’s case rests on “late added claims … added by amendment years after the

original priority date” and that “reach beyond any disclosure fairly described by the

specification and figures.” Stay-Add-95-96 n.43. In fact, Masimo first filed its

patent applications only after the launch of Apple Watch 6, the earliest of the accused

products. And when Masimo triggered the ITC’s investigation, it had no device

matching the alleged domestic industry product depicted in the CAD images




2
  On October 27, 2023, Apple asked the Exclusion Order Enforcement Branch of
U.S. Customs and Border Protection to rule that redesigned versions of the Apple
Watch products at issue are not covered by the Commission’s Orders. The Branch
has scheduled oral argument for December 28, 2023 and has set a target date of
January 12, 2024 for a ruling. See infra pp. 19-20.

                                         -2-
            Case: 24-1285     Document: 7     Page: 9   Filed: 12/26/2023




attached to its complaint. The watch product Masimo now refers to as “Masimo

W1” is both different and was undisputedly built months after Masimo’s complaint

was filed. Even today, it is not being sold in more than de minimis quantities.

      This Court is likely to reverse the Commission’s final determination following

merits briefing for at least three reasons. First, the Commission’s decision cannot

be squared with the plain text of 19 U.S.C. §1337(a), which required Masimo to

show a domestic industry “relating to the articles protected by the patent[s] …

exist[ed]” when the complaint was filed. See Microsoft Corp. v. ITC, 731 F.3d 1354,

1361-1362 (Fed. Cir. 2013) (complainant must identify an “actual article”). Second,

the Commission’s ruling contravenes this Court’s precedent that while a prior art

reference need only enable one of the embodiments claimed in a patent to invalidate

it, a patent must enable all embodiments covered by the claims. In re Epstein, 32

F.3d 1559, 1568 (Fed. Cir. 1994). Third, the Commission’s decision ignores that a

patent is unenforceable when “a patentee’s conduct ‘constitutes an egregious misuse

of the statutory patent system.’” Personalized Media Commc’ns, LLC v. Apple Inc.,

57 F.4th 1346, 1354 (Fed. Cir. 2023).

      The equities also favor a stay pending appeal. The Orders are already causing

Apple irreparable harm to its goodwill and reputation, as Apple is now unable to

supply U.S. consumers with flagship Apple Watch products that were on the market

as recently as last week. In contrast, Masimo will not suffer any harm from a stay


                                        -3-
           Case: 24-1285     Document: 7      Page: 10   Filed: 12/26/2023




because the purported “article” that it filed suit to protect (the Masimo W1 watch) is

not being sold in more than, at most, negligible quantities in the U.S.

      Finally, the public faces significant harm absent a stay. The flagship Watches

subject to the Orders contain a host of health and wellness features that are valuable

to both consumers and the major medical studies that depend on the accused products

for data. More broadly, Apple’s U.S.-based component suppliers and third-party

developers and accessory manufacturers will suffer severe economic harm and

consumers will be unable to find a comparable wearable product to purchase instead

of Apple Watch within a commercially reasonable period of time.

                                 BACKGROUND

      A.     Products At Issue

      When Apple released the first Apple Watch (“Series 0”) almost nine years

ago, it was praised as “the first mainstream wearable computer.”3 Over time, Apple

added numerous improvements and features to Apple Watch, including a Blood

Oxygen feature that allows users to measure the oxygen saturation of their blood on

demand or in the background. When it was released in September 2020, Apple

Watch Series 6 was the first commercially available smartwatch with the ability to

measure blood oxygen.       The Commission’s Orders target the Series 6 and



3
 Manjoo, “Apple Watch Review: Bliss, but Only After a Steep Learning Curve,”
N.Y. Times (Apr. 8, 2015), https://tinyurl.com/e7bnxtmz.

                                        -4-
           Case: 24-1285      Document: 7      Page: 11   Filed: 12/26/2023




subsequent models of Apple Watch with the Blood Oxygen feature: Series 7-9,

Ultra, and Ultra 2. See Stay-Add-18; Stay-Add-27.

      B.     Commission Investigation

      In July 2021, Masimo filed an amended complaint (the “Complaint”) with the

Commission alleging that Apple Watch products containing the Blood Oxygen

feature violated 19 U.S.C. §1337 by infringing over a hundred patent claims from

five patents. The ALJ’s Final Initial Determination found that Section 337 was

violated by only two claims, claims 24 and 30 of the U.S. Patent No. 10,945,648 (the

“’648 patent”). Stay-Add-34; Stay-Add-495-496.

      The Commission affirmed the ALJ’s finding as to a violation of claims 24 and

30 of the ’648 patent. Stay-Add-52-53. In a split decision, it also reversed the ALJ’s

findings of invalidity based on lack of written description for several other claims.

Stay-Add-90-95 & n.43. The Commission ultimately found that five claims satisfied

Section 337: claims 22 and 28 of U.S. Patent No. 10,912,502 (the “’502 patent”) and

claims 12, 24, and 30 of the ’648 patent. Stay-Add-153.

                                   ARGUMENT

      This Court considers four factors in determining whether to grant a stay

pending appeal: (1) “whether the stay applicant has made a strong showing that [it]

is likely to succeed on the merits,” (2) “whether the applicant will be irreparably

injured absent a stay,” (3) “whether issuance of the stay will substantially injure the



                                         -5-
           Case: 24-1285     Document: 7      Page: 12   Filed: 12/26/2023




other parties interested in the proceeding,” and (4) “the public interest.” Standard

Havens Prods., Inc. v. Gencor Indus., 897 F.2d 511, 512 (Fed. Cir. 1990); accord

Nken v. Holder, 556 U.S. 418, 434 (2009).

I.    THE COMMISSION’S ORDERS WILL LIKELY BE REVERSED ON APPEAL 4

      A.     The Commission erred in holding the domestic industry
             requirement satisfied even though no patent-practicing article
             existed at the time of the complaint

      Section 337 grants the Commission authority to remedy the unfair importation

of “articles” into the United States when that importation infringes upon an

intellectual property right, such as a patent.       19 U.S.C. §1337(a)(1).      The

Commission’s authority is subject to an important caveat: “[A] company seeking

section 337 protection must … provide evidence … relat[ing] to an actual article that

practices the patent, … manufactured domestically or abroad.” Microsoft, 731 F.3d

at 1362 (quoting 19 U.S.C. §1337(a)(2)-(3)). In other words, it is not enough that a

hypothetical article embodies the patent; the question is whether the patented

invention was “actually implemented.” Id. at 1364; see also Broadcom Corp. v. ITC,

28 F.4th 240, 250 (Fed. Cir. 2022) (similar). And, importantly, the “relevant date at

which to determine if the domestic industry requirement of Section 337 was




4
 For concision, this motion addresses only three potential grounds for reversal.
Apple will raise additional grounds in its merits brief, as the Commission’s rulings
on domestic industry, validity, and infringement were riddled with error.

                                        -6-
                                     Case: 24-1285     Document: 7     Page: 13   Filed: 12/26/2023




satisfied” is “the date of the filing of [the] complaint.” Motiva, LLC v. ITC, 716 F.3d

596, 601 n.6 (Fed. Cir. 2013).

                     Here, Masimo initiated this litigation by claiming that “the Masimo Watch is

protected by one or more of claims” of the asserted patents, and “‘drawings’ of the

“Masimo Watch … are attached.” Stay-Add-500-505 ¶¶ 47, 54, 61, 68, 86, 89

(Complaint). Drawings alone, however, cannot qualify as “articles” because that

term “means ‘material things.’” ClearCorrect v. ITC, 810 F.3d 1283, 1286, 1294-

1295 (Fed. Cir. 2015). Any other interpretation would render nonsensical large

swathes of Section 337.                               For example, 19 U.S.C. §1337(i) provides that the

Commission may order “any article imported in violation” of Section 337 seized and

forfeited—a CAD drawing is unlikely to move in commerce and cannot be seized or

forfeited in any meaningful way. See id. at 1295 (applying this reasoning to hold

that “digital models” are not “articles”).

                     Masimo’s Complaint also stated that a “Masimo Confidential Business Information
Masimo Confidential Business Information

                                       available upon request.” Stay-Add-500-503 ¶¶ 47, 54, 61, 68. However,

there was no “Masimo Watch” matching the Complaint’s description when the

Complaint was filed, nor has any such “Masimo Watch” ever existed. As the ALJ

explained, the watch Masimo now refers to as the “Masimo W1” was not actually

built until “several months after the complaint was filed.” Stay-Add-219. Nor did

Masimo ever possess a physical device that matched the drawings in Masimo’s


                                                                 -7-
           Case: 24-1285      Document: 7    Page: 14   Filed: 12/26/2023




complaint. Masimo’s Director of Sensor Design, Mr. Scruggs, testified under oath

that he was “not aware of any devices that – in existence that are exactly the same

as depicted” in the Complaint’s CAD drawings. Stay-Add-510 (175:4-11) (Scruggs

Dep.) (emphasis added); Stay-Add-517-518 (454:8-455:13) (Scruggs Tr.) (similar).

      The Commission’s stay ruling did not address Mr. Scruggs’ testimony. Nor

did it identify a specific device matching the “Masimo Watch” design in Masimo’s

Complaint; rather, it merely stated that the Commission believes multiple alleged

domestic industry articles existed at the time of the Complaint and cross-referenced

29 pages of the ALJ’s opinion. Stay-Add-7.5 But the ALJ’s opinion makes clear

that there was no direct evidence showing that any of the purported “articles”

Masimo eventually offered at the hearing both existed at the time of the Complaint

and practiced the patents at issue.

      Indeed, of the eight different purported “articles” ultimately offered by

Masimo, only one of them—the “RevA” sensor—existed at the time of the

Complaint in the form relied on at the hearing. As the diagram below demonstrates,

RevA (left) looks nothing like the “Masimo Watch” alleged in the Complaint (right).




5
  Masimo’s response in front of the Commission was that the differences between
the CAD drawings and the physical items are “small.” But neither Section 337 nor
this Court’s case law holds that “close enough” is sufficient to satisfy the actual
article requirement.

                                       -8-
           Case: 24-1285     Document: 7     Page: 15   Filed: 12/26/2023




                      Masimo Confidential Business Information




      The remaining seven items put forth by Masimo at the hearing were, at the

time of the Complaint, (1) admittedly non-existent; (2) non-operational; or (3) not

shown to exist at the time of the complaint in the form on which Masimo relied. For

example, the “RevD” item could not have existed at the time of the Complaint

because it had been loaded with software—which it needed to operate—that did not

exist until July 30, 2021.     Stay-Add-519-520 (459:4-460:12) (Scruggs Tr.).

Similarly, Masimo failed to show that the three “RevE” items existed before the

Complaint was filed. Stay-Add-516 (398:20-23) (Scruggs testifying RevE sensors

were “built between May and September of 2021”). Masimo’s witness testified

unequivocally that one of the RevE sensors was “created in September 2021,”—

months after the Complaint—and the ALJ found that the remaining two RevE items




                                       -9-
           Case: 24-1285      Document: 7     Page: 16    Filed: 12/26/2023




were at least “altered after the filing of the complaint” with different software. Stay-

Add-244 & n.23.

      Given the weakness of Masimo’s case, the ALJ was only able to find (and the

Commission was only able to affirm) an “actual article” existed by relying on

unexplained speculation.      Specifically, the ALJ asserted that “circumstantial

evidence” showed that “prototype devices with designs that are consistent with the

asserted domestic industry products”—i.e., not the specific RevA, RevD, and RevE

items that Masimo identified or produced during discovery—“were operational

before the filing of the complaint and subject to testing.” Stay-Add-244 n.22; see

also id. at Stay-Add-221-222 & n.16 (similar reliance on “circumstantial” evidence).

      “Mere speculation is not substantial evidence.” See OSI Pharms., LLC v.

Apotex Inc., 939 F.3d 1375, 1382 (Fed. Cir. 2019). If there actually was a patent-

practicing physical article at the time of the complaint, the ALJ should not have

needed to resort to “circumstantial evidence” and speculative inferences. Apple is

not aware of any decision from this Court that rests on such evidence in addressing

the actual article requirement. For good reason—the inquiry is a yes/no question.

The article either exists or it does not. That Masimo was unable to provide direct

evidence of a single pre-Complaint item that matched the CAD drawing or practiced

the claims should have ended the inquiry.




                                         - 10 -
           Case: 24-1285      Document: 7   Page: 17    Filed: 12/26/2023




      Although Apple raised all the above points about the ALJ’s reliance on

speculation in its stay motion, the Commission’s ruling had no substantive answer

beyond—once again—merely cross-referencing the ALJ’s opinion. Stay-Add-7.

The Commission apparently declined to substantively address this argument because

it believed it raised a question of fact rather than law. But while the Commission’s

precedent permits it to grant a stay based on “difficult legal questions,” the movant

can also meet its burden by more broadly showing a likelihood of success on the

merits. See Stay-Add-5-6 (citing Standard Havens). This Court has found the merits

factor satisfied by a dispute over factual considerations. See Standard Havens, 897

F.2d at 514 (whether particular piece of prior art rendered patent obvious).

      B.     The Commission erred by rubber-stamping Masimo’s attempts to
             stretch clinical-focused patents to cover consumer products

             1.    The Commission erred in concluding the patents-in-suit are
                   valid

                   a.      The Commission erred by requiring the prior art to
                           enable more than the patents require or enable
                           themselves

      Of the 103 patent claims that Masimo originally asserted, the ALJ found a

violation based on infringement of just two—dependent claims 24 and 30 of the ’648

patent. The ALJ’s ruling on those two claims (as well as claim 12 of the ’648 patent




                                       - 11 -
           Case: 24-1285      Document: 7    Page: 18    Filed: 12/26/2023




and claims 22 and 28 of the ’502 patent) 6 rested in large part on the legal error that

prior art references must render obvious more than the challenged patents enable—

or, indeed, more than the challenged claims require. The Commission likewise erred

by adopting the ALJ’s holding without modification. Stay-Add-53.

      When asserted claims encompass a range of embodiments (here, for example,

the category of “user-worn devices”), the prior art invalidates the claims so long as

it discloses even a single embodiment. See, e.g., Brown v. 3M, 265 F.3d 1349, 1351

(Fed. Cir. 2001); In re Theresa, 720 F. App’x 634, 637 (Fed. Cir. 2018). In contrast,

“[a] patentee who chooses broad claim language must make sure the broad claims

are fully enabled”; a patent claim is invalid if it does not provide enough detail to

enable all embodiments. Sitrick v. Dreamworks, LLC, 516 F.3d 993, 999 (Fed. Cir.

2008).

      Taking these two legal principles together, a patent challenger cannot be

required to show that the prior art enables more than the patent-at-issue. This Court

has accordingly rejected the argument that prior art is not enabling when the patent

owner “did not provide the type of detail in his specification that he now argues is




6
 The ALJ’s validity analysis for these three claims became relevant only once the
Commission decided to reverse the ALJ’s separate written description finding. Stay-
Add-95.

                                        - 12 -
           Case: 24-1285     Document: 7    Page: 19      Filed: 12/26/2023




necessary in prior art references.” In re Epstein, 32 F.3d at 1568; accord In re

Paulsen, 30 F.3d 1475, 1481 (Fed. Cir. 1994) (similar).

      Here, the invalidity ruling is directly contrary to the Federal Circuit’s

guidance in cases like Sitrick, Epstein, and Paulsen. Specifically, the ALJ found the

asserted claims of the ’648 and ’502 patents were not obvious because Apple’s prior

art reference (Lumidigm) purportedly does not enable taking an “oxygen saturation”

measurement “at the wrist.” E.g., Stay-Add-273-277. However, none of the claims

for which a violation was found recites a wrist-based blood oxygen measurement.

The ’502 and ’648 patent claims merely require a “user-worn device.”

      The Commission’s stay decision sought to justify the ALJ’s ruling on the

grounds that Apple purportedly based its invalidity case on a wrist-based

embodiment. Stay-Add-10. But as the evidence established, Lumidigm discloses

that (1) its sensor can be incorporated into any “portable electronic device,”

including wearable devices and (2) its wristwatch embodiment can include

“‘extended functionality’ including measurements of ‘oxygenation and/or

hemoglobin levels in the blood.’” Stay-Add-631-665 at Figs. 8A-E, Fig. 9., 3:35-

37, 12:56-13:14, 11:60-12:2 (Lumidigm reference); Stay-Add-527-528 (1205:12-

1206:7) (Warren Tr.); Stay-Add-562 (1152:4-24) (Rowe Tr.).              Such explicit

disclosure is presumptively enabling, Impax Labys., Inc. v. Aventis Pharms. Inc.,




                                       - 13 -
           Case: 24-1285      Document: 7   Page: 20    Filed: 12/26/2023




545 F.3d 1312, 1316 (Fed. Cir. 2008), and indisputably more enabling than the

disclosures in Masimo’s specification, which does not mention the “wrist” at all.

                   b.      The Commission’s other validity rulings were also error

      The Commission also erred by concluding that the Lumidigm reference did

not render obvious another limitation—i.e., that the invention includes “transmissive

windows” or “optically transparent material” extending across openings. See Stay-

Add-59-73 (discussing elements 19D, 28G, 8F, and 20D of the asserted claims).

      The ALJ weighed the evidence and rightly held the Lumidigm reference

satisfies the limitations in question. See Stay-Add-281-284, Stay-Add-291; see also

Stay-Add-654 (8:19-26) (Lumidigm reference); Stay-Add-525-26, Stay-Add-529-

530 (1193:24-1194:25, 1221:16-1222:25) (Warren Tr.) (Apple expert testifying that

POSITA would understand an optical relay to be optically transparent/transmissive).

The Commission reversed on the ground that Apple did not present sufficient

evidence that a POSITA would have had reason to use multiple windows/pieces of

material for each of the separate openings.      Stay-Add-66-67.     But Lumidigm

expressly references the use of “fiber optic face plates,” which could be implemented

as either (1) a single face plate or (2) as individual faceplates over each opening.

Stay-Add-529-530 (1221:16-1222:25) (Warren Tr.). Under KSR and its progeny,

where a small number of alternatives are known in the art and a POSITA would

know how to implement them, all those alternatives are obvious. E.g., KSR Int’l Co.



                                       - 14 -
           Case: 24-1285      Document: 7    Page: 21    Filed: 12/26/2023




v. Teleflex Inc., 550 U.S. 398, 401 (2007); Asyst Techs., Inc. v. Emtrak, Inc., 544

F.3d 1310, 1315 (Fed. Cir. 2008).

      Finally, the Commission erred by affirming the ALJ’s conclusion that

Lumidigm did not render obvious claim 22 of the ’502 patent’s requirement that

there be “optically transparent material within each of the openings.” Stay-Add-65;

see Stay-Add-281-284. A POSITA would have understood that an optical relay—

particularly if it were in the form of “fiber bundles”—could be placed within the

openings and used to “essentially direct light from a portion of the tissue straight to

the detector as a means to optimize the detection process.” Stay-Add-529-530

1221:16-1222:25 (Warren Tr.). Neither the ALJ nor the Commission directly

addressed this testimony.

             2.     The Commission erred in concluding that the patent laches
                    doctrine did not apply

      Prosecution laches applies if “(1) the patentee’s delay in prosecution … [is]

unreasonable and inexcusable under the totality of the circumstances” and “(2) the

accused infringer … suffered prejudice attributable to the delay.” See Personalized

Media, 57 F. 4th at 1354.

      As to the first factor, Masimo delayed for twelve years in filing the asserted

claims—with no apparent reason for doing so beyond gamesmanship. Masimo filed

the original provisional applications to which the ’502 and ’648 patents claim

priority in mid-2008. For the patents here asserted, Masimo delayed over a decade

                                        - 15 -
            Case: 24-1285      Document: 7     Page: 22    Filed: 12/26/2023




after the original provisional application (but waited just one week after the

September 2020 release of Apple Watch Series 6, the oldest accused product)—to

file what eventually became the ’502 and ’648 patents. Masimo introduced no

evidence—and its witnesses provided no reason—why the applications could not

have been filed earlier. Stay-Add-559-560 (1029:12-1030:17) (Cromar Tr.); Stay-

Add-567 (153:16-23) (Kiani Tr.). The only explanation apparent is that Masimo

was stretching beyond its actual invention to draft claims in an attempt to cover

Apple’s products. This inference is borne out by the fact that, as Commissioner

Johansen noted in dissent, several asserted claims from 2020 “reach beyond any

disclosure fairly described by the specification and figures” from 2008. Stay-Add-

96 n.43. Such a lengthy, unjustifiable delay satisfies the first laches factor. See, e.g.,

Symbol Techs., Inc. v. Lemelson Med., 422 F.3d 1378, 1385 (Fed. Cir. 2005) (patent

laches applied in cases “involv[ing] a nine-and-a-half-year delay and an eight-year

delay”); see also Sonos v. Google LLC, 2023 WL 6542320, at *16 (N.D. Cal. Oct.

6, 2023) (“inexcusable delay” where patents-in-suit issued thirteen years after

provisional application and after purported infringer brought accused product to

market).

      Apple suffered significant prejudice due to Masimo’s misconduct because it

“invested in, worked on, or used the claimed technology during the period of delay.”

Personalized Media, 57 F.4th at 1357. During the time between the 2008 provisional


                                          - 16 -
           Case: 24-1285      Document: 7      Page: 23   Filed: 12/26/2023




applications and the proximate applications filed in 2020, Apple expended

tremendous time and cost in developing Apple Watch and improving on the

technology from generation to generation.           Stay-Add-540-545 (923:7-926:6,

933:12-934:10) (Waydo Tr.); Stay-Add-547-556 (954:23-955:9, 957:2-959:13,

962:15-966:6) (Land Tr.). But for Masimo’s bad-faith actions, Apple could have

altered its product design, or gone in an entirely different direction, to avoid any

potential conflict with the asserted claims.

      The Commission’s stay ruling did not address any of the facts summarized

above.7 Instead, it adopted Masimo’s novel argument that Apple waived the ability

to raise laches—purportedly because Apple’s petition for Commission review only

incorporated the laches argument by reference. In reality, Apple’s petition concisely

briefed the issue, just as the Commission’s regulations require. See 19 C.F.R.

§210.43(b)(2) (petition “must present a concise argument”). Here, the petition

identified the proper legal standard and noted why it was satisfied. See Stay-Add-

571-574 (citing Personalized Media and explaining that Masimo’s strategy of lying

in wait until Apple further developed its wearable technology was unreasonable and

prejudicial). Neither the Commission nor Masimo identified any authority that has




7
 Masimo has pointed to the ALJ’s finding that there was a “continuous” chain of
prosecution. Stay-Add-332. But co-pendency in applications does not answer
whether laches applies. See, e.g., Symbol Techs., 422 F.3d at 1380.

                                        - 17 -
              Case: 24-1285   Document: 7    Page: 24    Filed: 12/26/2023




found waiver under similar circumstances, likely because the term “incorporation by

reference” describes citing to another brief without analysis—not a succinct

summary of one’s legal position that happens to refer the reader to another document

for more detail. E.g., In re Motupalli, 791 F. App’x 895, 897 (Fed. Cir. 2019) (phrase

“Appellant reasserts arguments at [J.A.] 2279[-]81” was incorporation by

reference).8

II.   THE COMMISSION’S ORDERS ARE CAUSING, AND WILL CAUSE,
      IRREPARABLE HARM TO APPLE

      “Where the injury cannot be quantified, no amount of money damages is

calculable, and therefore the harm cannot be adequately compensated and is

irreparable.” Metalcraft of Maryville, Inc. v. Toro Co., 848 F.3d 1358, 1368 (Fed.

Cir. 2017).

      Here, Apple is losing goodwill and suffering reputational damage from being

unable to provide U.S. consumers with its flagship Apple Watch products. See

Celsis In Vitro v. CellzDirect, Inc., 664 F.3d 922, 930 (Fed. Cir. 2012) (“loss of

goodwill” and “damage to reputation” are irreparable harm). The affected Watch

models account for millions of the smartwatches sold in the U.S. each year. Stay-


8
  The Commission cited three cases, but all involved a party’s complete failure to
raise an issue. See In re Certain Tobacco Heating Articles, Comm’n Op. at 10, 2022
WL 279056, at *5-6 (Jan. 20, 2022) (issue waived because not timely raised with
ALJ); Hazani v. ITC, 126 F.3d 1473, 1476-1477 (Fed. Cir. 1997) (same); Finnigan
Corp. v. ITC, 180 F.3d 1354, 1362-1363 (Fed. Cir. 1999) (issue waived because not
raised in petition in any way).

                                        - 18 -
           Case: 24-1285     Document: 7     Page: 25    Filed: 12/26/2023




Add-595 (Davies Decl. ¶18). Supply chain constraints will make it difficult to

produce non-infringing Watches in a reasonable amount of time to make up for the

sudden shortfall in supply. Stay-Add-595-596 (Davies Decl. ¶19). And the abrupt

withdrawal and continuing absence of Apple Watch products will inevitably harm

the public’s perception of Apple. Apple will lose goodwill it has built over the

decades of providing high quality, innovative electronics in a timely manner, leading

potential customers not to purchase any smartwatch at all. Metalcraft, 848 F.3d at

1369 (affirming finding of irreparable harm on the grounds that “the loss of

customers may have far-reaching, long-term impact on [the movant’s] future

revenues”). 9

      Allowing the Orders to remain in effect is particularly problematic in the short

term because it will cut Apple off from the marketplace just a few weeks before U.S.

Customs and Border Protection is scheduled to rule on Apple’s proposed redesign.

Specifically, Apple filed a request with the Exclusion Order Enforcement Branch on



9
  The Commission faulted Apple for not providing “evidence” in support of the
common-sense point that placing an obstacle in the way of a company’s ability to
sell one of its most popular products will have substantial and unpredictable
deleterious consequences. Stay-Add-11. Metalcraft, however, did not cite any
direct evidence for this basic point; the only “evidentiary” support was the purported
infringer’s banal observation that “[s]ome customers ‘prefer to purchase an entire
line of products from the same manufacturer for consistency.’” 848 F.3d at 1368-
1369. The same could be said here. E.g., Stay-Add-588 (Desai Decl. ¶ 31) (noting
that it would be “highly disruptive” for Apple Watch users to “switch[] to another
device”); see also Stay-Add-610-611 (Davies Decl. ¶ 100) (similar).

                                        - 19 -
            Case: 24-1285     Document: 7     Page: 26     Filed: 12/26/2023




October 27, 2023 requesting a ruling under 19 C.F.R. Part 177 that Apple’s
                                                                                redesign details
redesigned Watches fall outside the Commission’s Orders because they

redesign details                    the Commission found to be infringing. Although

Apple proposed an expedited briefing schedule under which the Branch would have

issued its ruling before the Orders went into effect, the Branch has set the target date

for its ruling as January 12, 2024. If this Court is disinclined to stay the Orders in

their entirety, it should at least grant a limited stay of the Orders until the time that

the Exclusion Order Enforcement Branch issues its ruling on Apple’s proposed

redesign.

III.   A STAY WILL NOT HARM MASIMO

       In stark contrast to Apple (or the public, see infra pp. 18-20), Masimo will not

suffer any cognizable harm if this Court enters a stay. The W1 Watch is not selling

in the United States in any meaningful quantities and Mr. Kiani has acknowledged

that Masimo did not put the W1 watch into the consumer channel; rather Mr. Kiani

indicated that Masimo intends to market a different product to consumers—the

“Freedom” watch. Stay-Add-599 (Davies Decl. ¶48). The Freedom Watch itself

has not even been released. Id. (discussing “future Freedom Watch”). Tellingly, the

Commission itself acknowledged that Masimo would not suffer any significant

monetary harm from a stay. Stay-Add-12-13. Although the Commission found that

Masimo would suffer the generic harm any patentee does when it cannot make full



                                         - 20 -
           Case: 24-1285      Document: 7    Page: 27    Filed: 12/26/2023




use of its patent, that cannot be enough to justify denial of a stay standing alone. If

such garden-variety considerations sufficed, “no stay pending appeal could ever

issue in an infringement case.” Standard Havens, 897 F.2d at 515.

IV.   THE PUBLIC INTEREST SUPPORTS A STAY

      Millions of would-be Watch purchasers will rely on the accused products to

stay connected, to monitor their individual health and wellness, and to fulfill a host

of other needs (from navigation to payment) that go far beyond the invention claimed

by the five remaining claims. E.g., Stay-Add-594, Stay-Add-597-598 (Davies Decl.

¶¶15, 27-30). The Apple Watch models at issue also contain potentially lifesaving

features—such as the Irregular Heart Rhythm Notification feature and the ECG

app—which can provide notification of a fatal cardiac condition and allow users to

monitor their heart rhythm. Stay-Add-585-587 (Desai Decl. ¶¶ 14-16); Stay-Add-

607-609 (Davies Decl. ¶¶ 73-78).

      The lack of a stay would also pose an immediate setback for medical research,

where Apple Watch plays a critical role. At a minimum, there are several major

medical studies now underway that rely on Apple Watch to collect data, including

(1) an NIH-funded study related to stroke prevention, (2) a Yale study to study the

effects of treatment on symptoms of atrial fibrillation, and (3) a Mayo Clinic study

to evaluate the use of Apple Watch with ECG to assess cardiovascular health and

detect unknown and asymptomatic diseases. Stay-Add-595, Stay-Add-599-606



                                        - 21 -
           Case: 24-1285      Document: 7     Page: 28    Filed: 12/26/2023




(Davies Decl. ¶¶ 17, 50-72) (discussing, inter alia, NIH and Mayo clinic studies).10

There are also a number of ongoing studies relying on Apple Watch. 11 Apple Watch

is vital to these studies, as it is a product the test subjects may already own (cutting

down on expenses), data can be collected remotely, and researchers can review

multiple health and wellness metrics at the same time. See, e.g., Stay-Add-600

(Davies Decl. ¶ 52)

      Finally, the Commission’s orders will have a significant, negative effect on

the economy.      Apple “supports more than 450,000 jobs through U.S.-based

suppliers”—and a significant portion of those relate to Apple Watch. See Stay-Add-

611 (Davies Decl. ¶101). For example, U.S.-based components suppliers have

already invested heavily in manufacturing products to Apple’s specifications and

“will likely experience negative impacts due to an exclusion order.” Stay-Add-591-

592 (Schafer Decl. ¶12). The Commission’s orders will have a similar detrimental

impact on the healthcare field—which has already invested in research and other

projects that rely on Apple Watch—and on third-party developers and accessory




10
  See also ClinicalTrials.gov, “Heart Watch Study: A Pragmatic Randomized
Controlled Trial,” http://tinyurl.com/5xytt92v (Yale study).
11
     See, e.g., ClinicalTrials.gov, “Apple Heart & Movement Study,”
http://tinyurl.com/466fjrxs; ClinicalTrials.gov, “Apple Women’s Health Study,”
http://tinyurl.com/3hrhjpw9.

                                         - 22 -
             Case: 24-1285   Document: 7    Page: 29   Filed: 12/26/2023




manufacturers that make products specific to the accused products. Stay-Add-599-

606, Stay-Add-609, Stay-Add-611 (Davies Decl. ¶¶ 50-72, 81, 101).

      The Commission’s stay decision did not substantively address any of these

points.   Stay-Add-13-14.    Instead, it noted the general interest in enforcing

intellectual property rights and stated that it had already rejected Apple’s public

interest arguments in its opinion (in discussing the statutory public interest

considerations under Section 337). Stay-Add-14. But as Apple pointed out, the

Commission has long held that “the public interest factor in the stay analysis is

broader than the statutory analysis under section 337”—indeed, it has granted a stay

despite ruling against the movant on the public-interest statutory considerations.

Certain Digital Models, Inv. No. 337-TA-833, Comm’n Op. at 9-10, 2014 WL

12890480, at *5 (June 11, 2014). The Commission had no answer to its own

authority.

                                 CONCLUSION

      For the foregoing reasons, Apple respectfully requests that the Court stay the

Commission’s Orders pending appeal. At a minimum, Apple requests this Court

stay the Orders until the Exclusion Order Enforcement Branch has ruled on Apple’s

proposed redesign.




                                       - 23 -
         Case: 24-1285    Document: 7   Page: 30     Filed: 12/26/2023




                                            Respectfully submitted,

                                            /s/ Mark D. Selwyn
JOSEPH J. MUELLER                           MARK D. SELWYN
SARAH R. FRAZIER                            THOMAS G. SPRANKLING
WILMER CUTLER PICKERING                     WILMER CUTLER PICKERING
  HALE AND DORR LLP                            HALE AND DORR LLP
60 State Street                             2600 El Camino Real, Suite 400
Boston, MA 02109                            Palo Alto, CA 94306
(617) 526-6000                              (650) 858-6000

DAVID P. YIN                                DEREK GOSMA
WILMER CUTLER PICKERING                     WILMER CUTLER PICKERING
  HALE AND DORR LLP                           HALE AND DORR LLP
2100 Pennsylvania Avenue NW                 350 S. Grand Avenue, Suite 2400
Washington DC 20037                         Los Angeles, CA 90071
(202) 663-6000                              (213) 443-5300

                                            Attorneys for Appellant Apple Inc.

December 26, 2023




                                   - 24 -
            Case: 24-1285       Document: 7       Page: 31    Filed: 12/26/2023




                           CERTIFICATE OF INTEREST

       Counsel for Appellant Apple Inc. certifies the following:

        1.     Represented Entities. Fed. Cir. R. 47.4(a)(1). Provide the full names
of all entities represented by undersigned counsel in this case.

       Apple Inc.

        2.     Real Party in Interest. Fed. Cir. R. 47.4(a)(2). Provide the full names
of all real parties in interest for the entities. Do not list the real parties if they are the
same as the entities.

       None.

      3.     Parent Corporations and Stockholders. Fed. Cir. R. 47.4(a)(3).
Provide the full names of all parent corporations for the entities and all publicly held
companies that own 10% or more stock in the entities.

       None.

       4.    Legal Representatives. List all law firms, partners, and associates that
(a) appeared for the entities in the originating court or agency or (b) are expected to
appear in this court for the entities. Do not include those who have already entered
an appearance in this court. Fed. Cir. R. 47.4(a)(4).

       WILMER CUTLER PICKERING HALE AND DORR LLP: Mark D. Selwyn, Joseph
       J. Mueller, Sarah D. Frazier, Thomas G. Sprankling, Derek Gosma, David P.
       Yin, Michael D. Esch, David L. Cavanaugh, Richard Goldenberg




                                            -i-
           Case: 24-1285     Document: 7         Page: 32   Filed: 12/26/2023




       5.     Related Cases. Other than the originating case(s) for this case, are
there related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?

 X Yes (file separate notice; see below)              No        N/A (amicus/movant)

If yes, concurrently file a separate Notice of Related Case Information that complies
with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate Notice
must only be filed with the first Certificate of Interest or, subsequently, if
information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).

Notice will be filed immediately after case is docketed.

      6.    Organizational Victims and Bankruptcy Cases. Provide any
information required under Fed. R. App. P. 26.1(b) (organizational victims in
criminal cases) and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R.
47.4(a)(6).

      None.

Dated: December 26, 2023                         /s/ Mark D. Selwyn
                                                 MARK D. SELWYN
                                                 WILMER CUTLER PICKERING
                                                    HALE AND DORR LLP
                                                 2600 El Camino Real, Suite 400
                                                 Palo Alto, CA 94306
                                                 (650) 858-6000




                                        - ii -
Case: 24-1285   Document: 7   Page: 33   Filed: 12/26/2023




       ADDENDUM
            Case: 24-1285       Document: 7    Page: 34   Filed: 12/26/2023




                                    No. 2024-____

            UNITED STATES COURT OF APPEALS
               FOR THE FEDERAL CIRCUIT
                                      APPLE INC.,
                                                                     Appellant,
                                          v.
                        INTERNATIONAL TRADE COMMISSION,
                                                                      Appellee,

        On Appeal from the United States International Trade Commission
                      in Investigation No. 337-TA-1276


 DECLARATION OF MARK D. SELWYN IN SUPPORT OF APPELLANT
 APPLE INC.’S EMERGENCY MOTION TO STAY ENFORCEMENT OF
                ITC’S ORDERS PENDING REVIEW


      I, Mark D. Selwyn, pursuant to 28 U.S.C. § 1746, declare as follows:

      1.     I am a partner at Wilmer Cutler Pickering Hale and Dorr LLP, counsel

to Appellant Apple Inc. in the above-captioned appeal. I have personal knowledge

of the facts set forth below.

      2.     Attached hereto as Exhibit 1 (filed under seal) is a true and correct copy

of the Commission Opinion Denying Respondent’s Motion to Stay the Remedial

Orders, dated December 20, 2023, in Investigation No. 337-TA-1276, In the Matter

of Certain Light-Based Physiological Measurement Devices and Components
           Case: 24-1285      Document: 7    Page: 35     Filed: 12/26/2023




Thereof (hereinafter “1276 Investigation”). No public version of this document is

currently available.

      3.     Attached hereto as Exhibit 2 is a true and correct copy of the Cease and

Desist Order, dated October 26, 2023, filed the 1276 Investigation.

      4.     Attached hereto as Exhibit 3 is a true and correct copy of the Limited

Exclusion Order, dated October 26, 2023, filed in the 1276 Investigation.

      5.     Attached hereto as Exhibit 4 is a true and correct copy of the

Commission Opinion, dated October 26, 2023, filed in the 1276 Investigation. This

exhibit contains confidential information, which has been redacted in the public

version filed in the record for the 1276 Investigation.

      6.     Attached hereto as Exhibit 5 is a true and correct copy of the Final

Initial Determination on Violation of Section 337, dated January 10, 2023, filed in

the 1276 Investigation. This exhibit contains confidential information, which has

been redacted in the public version filed in the record for the 1276 Investigation.

      7.     Attached hereto as Exhibit 6 is a true and correct copy of an excerpted

version of the First Amended Complaint Under Section 337 of the Tariff Act of

1930, as Amended, dated July 7, 2021, which was filed in the 1276 Investigation.

This exhibit contains confidential information, which has been redacted in the public

version filed in the record for the 1276 Investigation.
            Case: 24-1285     Document: 7     Page: 36    Filed: 12/26/2023




      8.     Attached hereto as Exhibit 7 is a true and correct copy of an excerpted

version of the deposition transcript of Stephen Scruggs, dated January 6, 2022,

which was taken in the 1276 Investigation. This exhibit contains confidential

information. No public version of this document is currently available.

      9.     Attached hereto as Exhibit 8 is a true and correct copy of an excerpted

version of the June 7, 2022 trial transcript in the 1276 Investigation. This exhibit

contains confidential information, which has been redacted.

      10.    Attached hereto as Exhibit 9 is a true and correct copy of an excerpted

version of the June 10, 2022 trial transcript in the 1276 Investigation.

      11.    Attached hereto as Exhibit 10 is a true and correct copy of the Notice

of the Commission’s Final Determination Finding a Violation of Section 337;

Issuance of a Limited Exclusion Order and a Cease and Desist Order; Termination

of the Investigation, dated October 26, 2023, which was filed in the 1276

Investigation.

      12.    Attached hereto as Exhibit 11 is a true and correct copy of an excerpted

version of the June 9, 2022 trial transcript in the 1276 Investigation. This exhibit

contains confidential information, which has been redacted.

      13.    Attached hereto as Exhibit 12 is a true and correct copy of an excerpted

version of the June 6, 2022 trial transcript in the 1276 Investigation.
             Case: 24-1285    Document: 7    Page: 37     Filed: 12/26/2023




      14.     Attached hereto as Exhibit 13 is a true and correct copy of an excerpted

version of Apple Inc.’s Petition for Review of the Initial Determination of Violation

of Section 337, dated January 23, 2023, which was filed the 1276 Investigation. This

exhibit contains confidential information, which has been redacted in the public

version filed in the record for the 1276 Investigation.

      15.     Attached hereto as Exhibit 14 is a true and correct copy of an excerpted

version of the June 6, 2022 trial transcript in the 1276 Investigation. This exhibit

contains confidential information. No public version of this document is currently

available.

      16.     Attached hereto as Exhibit 15 is a true and correct copy of an excerpted

version of Apple Inc.’s Response to the Commission’s Notice to Review in Part a

Final Initial Determination and Request for Written Submissions, including the

Declaration of Sumbul Desai, M.D., dated June 5, 2023; Declaration of Aaron

Schafer, dated June 5, 2023; Declaration of Michael A.M. Davies, dated June 5,

2023; and the Declaration of Christian M. Dippon, PhD, dated June 5, 2023, which

was filed in the 1276 Investigation. This exhibit contains confidential information,

which has been redacted in the public version filed in the record for the 1276

Investigation.
            Case: 24-1285    Document: 7     Page: 38    Filed: 12/26/2023




      17.    Attached hereto as Exhibit 16 is a true and correct copy of United States

Patent No. 7,620,212, which is referred to in the Commission’s and ALJ’s decisions

as the Lumidigm reference.

      18.    Attached hereto as Exhibit 17 is a true and correct copy of United States

Patent No. 10,912,502.

      19.    Attached hereto as Exhibit 18 is a true and correct copy of United States

Patent No. 10,945,648.



Executed on: December 26, 2023               /s/ Mark D. Selwyn
                                             Mark D. Selwyn
         Case: 24-1285    Document: 7   Page: 39   Filed: 12/26/2023




                           LIST OF EXHIBITS

1   Commission Opinion Denying Respondent’s Stay-Add-1-15
    Motion to Stay the Remedial Orders Dec. 20, 2023

2   Cease and Desist Order, Oct. 26, 2023             Stay-Add-16-24

3   Limited Exclusion Order, Oct. 26, 2023            Stay-Add-25-29

4   Commission Opinion, Oct. 27, 2023                 Stay-Add-30-154

5   Final Initial Determination on Violation of Section Stay-Add-155-497
    337, Jan. 10, 2023

6   First Amended Complaint Under Section 337, July Stay-Add-498-507
    7, 2021, excerpted

7   Deposition of Stephen Scruggs, Jan. 6, 2022, Stay-Add-508-511
    excerpted

8   ITC Trial Transcript, Open and Closed Sessions, Stay-Add-512 -521
    June 7, 2022, excerpted

9   ITC Trial Transcript, Open Sessions, June 10, 2022, Stay-Add-522 -531
    excerpted

10 Notice of the Commission’s Final Determination, Stay-Add-532-536
   Oct. 26, 2023

11 ITC Trial Transcript, Open and Closed Sessions, Stay-Add-537-563
   June 9, 2022, excerpted

12 ITC Trial Transcript, Open Sessions, June 6, 2022, Stay-Add-564-568
   excerpted

13 Respondent Apple Inc.’s Petition for Review of the Stay-Add-569-575
   Initial Determination of Violation of Section 337,
   Jan. 23, 2023, excerpted

14 ITC Trial Transcript, Closed Sessions, June 6, Stay-Add-576-581
   2022, excerpted
           Case: 24-1285     Document: 7    Page: 40   Filed: 12/26/2023




 15 Respondent Apple Inc.’s Response to the Stay-Add-582-629
    Commission’s Notice to Review in Part a Final
    Initial Determination and Request for Written
    Submissions, June 5, 2023, excerpted

 16 U.S. Patent No. 7,620,212                              Stay-Add-630-665

 17 U.S. Patent No. 10,912,502                             Stay-Add-666-775

 18 U.S. Patent No. 10,945,648                             Stay-Add-776-885


Rule 25.1(e)(1)(B) Statement: The material omitted from Addendum pages Stay-
Add-2-15 is the Commission Opinion Denying Respondent’s Motion to Stay the
Remedial Orders, dated December 20, 2023, in ITC Investigation No. 1276. No
public version of this document is currently available. The material omitted from
Addendum pages Stay-Add-97-98, Stay-Add-144-145, Stay-Add-217, Stay-Add-
222, Stay-Add-229, Stay-Add-331, Stay-Add-334, Stay-Add-360, Stay-Add-361,
Stay-Add-366, Stay-Add-433-441, Stay-Add-459-461, Stay-Add-464, Stay-Add-
466-471, Stay-Add-473, Stay-Add-475-483, Stay-Add-487-495, Stay-Add-500-
505, Stay-Add-509, Stay-Add-510, Stay-Add-511, Stay-Add-516-520, Stay-Add-
572, Stay-Add-577-581         contains information that complainants Masimo
Corporation and Cercacor Laboratories, Inc. designated as Confidential Business
Information under the Administrative Protective Order in effect in ITC Investigation
No. 1276. The material omitted from Addendum pages Stay-Add-44, Stay-Add-
132, Stay-Add-164, Stay-Add-191, Stay-Add-196-199, Stay-Add-201-203, Stay-
Add-263, Stay-Add-274, Stay-Add-276, Stay-Add-277, Stay-Add-305, Stay-Add-
306, Stay-Add-308-313, Stay-Add-342-345, Stay-Add-347-349, Stay-Add-351,
Stay-Add-353, Stay-Add-373, Stay-Add-375-377, Stay-Add-420-431, Stay-Add-
540-545, Stay-Add-552-556 contains confidential competitively sensitive product
information subject to the Administrative Protective Order. The material omitted
from Addendum Stay-Add-75-76, Stay-Add-128, Stay-Add-131-132, Stay-Add-
135, Stay-Add-595-597, Stay-Add-614-615 contains confidential competitively
sensitive financial and sales information subject to the Administrative Protective
Order.
             Case: 24-1285        Document: 7       Page: 41      Filed: 12/26/2023




              UNITED STATES INTERNATIONAL TRADE COMMISSION

                                        Washington, D.C.

In the Matter of

CERTAIN LIGHT-BASED
PHYSIOLOGICAL MEASUREMENT                                     Inv. No. 337-TA-1276
DEVICES AND COMPONENTS
THEREOF


ORDER NO. 1:           PROTECTIVE ORDER

                                        (August 18, 2021)

       WHEREAS, documents and information may be sought, produced or exhibited by and

among the parties to the above captioned proceeding, which materials relate to trade secrets or

other confidential research, development or commercial information, as such terms are used in

the Commission's Rules, 19 C.F.R. § 210.5;

       IT IS HEREBY ORDERED THAT:

       1. Confidential business information is information which concerns or relates to the trade

secrets, processes, operations, style of work, or apparatus, or to the production, sales, shipments,

purchases, transfers, identification of customers, inventories, amount or source of any income,

profits, losses, or expenditures of any person, firm, partnership, corporation, or other

organization, or other information of commercial value, the disclosure of which is likely to have

the effect of either (i) impairing the Commission's ability to obtain such information as is

necessary to perform its statutory functions; or (ii) causing substantial harm to the competitive

position of the person, firm, partnership, corporation, or other organization from which the

information was obtained, unless the Commission is required by law to disclose such
               Case: 24-1285       Document: 7      Page: 42     Filed: 12/26/2023




information. The term “confidential business information” includes “proprietary information”

within the meaning of section 777(b) of the Tariff Act of 1930 (19 U.S.C. § 1677f(b)).

          2(a). Any information submitted, in pre hearing discovery or in a pleading, motion, or

response to a motion either voluntarily or pursuant to order, in this investigation, which is

asserted by a supplier to contain or constitute confidential business information shall be so

designated by such supplier in writing, or orally at a deposition, conference or hearing, and shall

be segregated from other information being submitted.          Documents shall be clearly and

prominently marked on their face with the legend: “CONFIDENTIAL BUSINESS

INFORMATION, SUBJECT TO PROTECTIVE ORDER,” or a comparable notice.                           Such

information, whether submitted in writing or in oral testimony, shall be treated in accordance

with the terms of this protective order.

          (b). The Administrative Law Judge or the Commission may determine that information

alleged to be confidential is not confidential, or that its disclosure is necessary for the proper

disposition of the proceeding, before, during or after the close of a hearing herein. If such a

determination is made by the Administrative Law Judge or the Commission, opportunity shall be

provided to the supplier of such information to argue its confidentiality prior to the time of such

ruling.

          3. In the absence of written permission from the supplier or an order by the Commission

or the Administrative Law Judge, any confidential documents or business information submitted

in accordance with the provisions of paragraph 2 above shall not be disclosed to any person other

than: (i) outside counsel for parties to this investigation, including necessary secretarial and

support personnel assisting such counsel; (ii) qualified persons taking testimony involving such

documents or information and necessary stenographic and clerical personnel thereof; (iii)
               Case: 24-1285           Document: 7         Page: 43        Filed: 12/26/2023




technical experts and their staff who are employed for the purposes of this litigation (unless they

are otherwise employed by, consultants to, or otherwise affiliated with a non-governmental

party, or are employees of any domestic or foreign manufacturer, wholesaler, retailer, or

distributor of the products, devices or component parts which are the subject of this

investigation); (iv) the Commission, the Administrative Law Judge, the Commission staff, and

personnel of any governmental agency as authorized by the Commission; (v) the Commission, its

employees and Offices, and contract personnel (a) for developing or maintaining the records of

this investigation or related proceedings, or (b) in internal investigations, audits, reviews,

evaluations relating to the programs, personnel, and operations of the Commission including

under to 5 U.S.C. Appendix 3; and (vi) U.S. government employees and contract personnel,

solely for cybersecurity purposes. 1

        4. Confidential business information submitted in accordance with the provisions of

paragraph 2 above shall not be made available to any person designated in paragraph 3(i) 2 and

(iii) unless he or she shall have first read this order and shall have agreed, by letter filed with the

Secretary of this Commission: (i) to be bound by the terms thereof; (ii) not to reveal such

confidential business information to anyone other than another person designated in paragraph 3;

and (iii) to utilize such confidential business information solely for purposes of this investigation.

The letter shall also include the following acknowledgement:

        I, the undersigned, on behalf of _____, acknowledge that information submitted
        for purposes of this Investigation may be disclosed to and used:

        (i) by the Commission, its employees and Offices, and contract personnel (a) for
        developing or maintaining the records of this or a related proceeding, or (b) in

1
 See Commission Administrative Order 16-01 (Nov. 7, 2015).
2
 Necessary secretarial and support personnel assisting counsel need not sign onto the protective order themselves
because they are covered by counsel’s signing onto the protective order.
             Case: 24-1285        Document: 7      Page: 44      Filed: 12/26/2023




       internal investigations, audits, reviews, and evaluations relating to the programs,
       personnel, and operations of the Commission including under 5 U.S.C. Appendix
       3; or
       (ii) by U.S. government employees and contract personnel, solely for
       cybersecurity purposes. I understand that all contract personnel will sign
       appropriate nondisclosure agreements.

       5. If the Commission or the Administrative Law Judge orders, or if the supplier and all

parties to the investigation agree, that access to, or dissemination of information submitted as

confidential business information shall be made to persons not included in paragraph 3 above,

such matter shall only be accessible to, or disseminated to, such persons based upon the

conditions pertaining to, and obligations arising from this order, and such persons shall be

considered subject to it, unless the Commission or the Administrative Law Judge finds that the

information is not confidential business information as defined in paragraph 1 thereof.

       6.   (a). Any confidential business information submitted to the Commission or the

Administrative Law Judge in connection with a motion or other proceeding within the purview

of this investigation shall be submitted under seal pursuant to paragraph 2 above. Any portion of

a transcript in connection with this investigation containing any confidential business

information submitted pursuant to paragraph 2 above shall be bound separately and filed under

seal. When any confidential business information submitted in accordance with paragraph 2

above is included in an authorized transcript of a deposition or exhibits thereto, arrangements

shall be made with the court reporter taking the deposition to bind such confidential portions and

separately label them “CONFIDENTIAL BUSINESS INFORMATION, SUBJECT TO

PROTECTIVE ORDER.” Before a court reporter or translator receives any such information, he

or she shall have first read this order and shall have agreed in writing to be bound by the terms

thereof. Alternatively, he or she shall sign the agreement included as Attachment A hereto.
               Case: 24-1285           Document: 7          Page: 45        Filed: 12/26/2023




Copies of each such signed agreement shall be provided to the supplier of such confidential

business information and the Secretary of the Commission.

        (b).     Submitters 3 are strongly encouraged to encrypt nonpublic documents that are

electronically transmitted to the Commission to protect your sensitive information from

unauthorized disclosure. The USITC secure drop-box system and the Electronic Document

Information System (EDIS) use Federal Information Processing Standards (FIPS) 140-2

cryptographic algorithms to encrypt data in transit. Submitting your nonpublic documents by a

means that does not use these encryption algorithms (such as by email) may subject your firm’s

nonpublic information to unauthorized disclosure during transmission. If you choose a non-

encrypted method of electronic transmission, the Commission warns you that the risk of such

possible unauthorized disclosure is assumed by you and not by the Commission.

        7. The restrictions upon, and obligations accruing to, persons who become subject to this

order shall not apply to any information submitted in accordance with paragraph 2 above to

which the person asserting the confidential status thereof agrees in writing, or the Commission or

the Administrative Law Judge rules, after an opportunity for hearing, was publicly known at the

time it was supplied to the receiving party or has since become publicly known through no fault

of the receiving party.

        8. The Commission, the Administrative Law Judge, and the Commission investigative

attorney acknowledge that any document or information submitted as confidential business

information pursuant to paragraph 2 above is to be treated as such within the meaning of 5

U.S.C. § 552(b)(4) and 18 U.S.C. § 1905, subject to a contrary ruling, after hearing, by the


3
 “Submitters” of confidential business information are the same as “suppliers” of confidential business information
as that term is used in the context of this order. See Commission Administrative Order 16-01 (Nov. 7, 2015).
              Case: 24-1285       Document: 7         Page: 46    Filed: 12/26/2023




Commission or its Freedom of Information Act Officer, or the Administrative Law Judge. When

such information is made part of a pleading or is offered into the evidentiary record, the data set

forth in 19 C.F.R. § 201.6 must be provided except during the time that the proceeding is

pending before the Administrative Law Judge.           During that time, the party offering the

confidential business information must, upon request, provide a statement as to the claimed basis

for its confidentiality.

        9. Unless a designation of confidentiality has been withdrawn, or a determination has

been made by the Commission or the Administrative Law Judge that information designated as

confidential, is no longer confidential, the Commission, the Administrative Law Judge, and the

Commission investigative attorney shall take all necessary and proper steps to preserve the

confidentiality of, and to protect each supplier's rights with respect to, any confidential business

information designated by the supplier in accordance with paragraph 2 above, including, without

limitation: (a) notifying the supplier promptly of (i) any inquiry or request by anyone for the

substance of or access to such confidential business information, other than those authorized

pursuant to this order, under the Freedom of Information Act, as amended (5 U.S.C. § 552) and

(ii) any proposal to redesignate or make public any such confidential business information; and

(b) providing the supplier at least seven days after receipt of such inquiry or request within which

to take action before the Commission, its Freedom of Information Act Officer, or the

Administrative Law Judge, or otherwise to preserve the confidentiality of and to protect its rights

in, and to, such confidential business information.

        10. If while an investigation is before the Administrative Law Judge, a party to this order

who is to be a recipient of any business information designated as confidential and submitted in

accordance with paragraph 2 disagrees with respect to such a designation, in full or in part, it
             Case: 24-1285         Document: 7       Page: 47      Filed: 12/26/2023




shall notify the supplier in writing, and they will thereupon confer as to the status of the subject

information proffered within the context of this order. If prior to, or at the time of such a

conference, the supplier withdraws its designation of such information as being subject to this

order, but nonetheless submits such information for purposes of the investigation; such supplier

shall express the withdrawal, in writing, and serve such withdrawal upon all parties and the

Administrative Law Judge. If the recipient and supplier are unable to concur upon the status of

the subject information submitted as confidential business information within ten days from the

date of notification of such disagreement, any party to this order may raise the issue of the

designation of such a status to the Administrative Law Judge who will rule upon the matter. The

Administrative Law Judge may sua sponte question the designation of the confidential status of

any information and, after opportunity for hearing, may remove the confidentiality designation.

       11. No less than 10 days (or any other period of time designated by the Administrative

Law Judge) prior to the initial disclosure to a proposed expert of any confidential information

submitted in accordance with paragraph 2, the party proposing to use such expert shall submit in

writing the name of such proposed expert and his or her educational and detailed employment

history to the supplier. If the supplier objects to the disclosure of such confidential business

information to such proposed expert as inconsistent with the language or intent of this order or

on other grounds, it shall notify the recipient in writing of its objection and the grounds therefore

prior to the initial disclosure. If the dispute is not resolved on an informal basis within ten days

of receipt of such notice of objections, the supplier shall submit immediately each objection to

the Administrative Law Judge for a ruling. If the investigation is before the Commission the

matter shall be submitted to the Commission for resolution. The submission of such confidential

business information to such proposed expert shall be withheld pending the ruling of the
             Case: 24-1285        Document: 7      Page: 48      Filed: 12/26/2023




Commission or the Administrative Law Judge. The terms of this paragraph shall be inapplicable

to experts within the Commission or to experts from other governmental agencies who are

consulted with or used by the Commission.

       12. If confidential business information submitted in accordance with paragraph 2 is

disclosed to any person other than in the manner authorized by this protective order, the party

responsible for the disclosure must immediately bring all pertinent facts relating to such

disclosure to the attention of the supplier and the Administrative Law Judge and, without

prejudice to other rights and remedies of the supplier, make every effort to prevent further

disclosure by it or by the person who was the recipient of such information.

       13. Nothing in this order shall abridge the right of any person to seek judicial review or

to pursue other appropriate judicial action with respect to any ruling made by the Commission,

its Freedom of Information Act Officer, or the Administrative Law Judge concerning the issue of

the status of confidential business information.

       14. Upon final termination of this investigation, each recipient of confidential business

information that is subject to this order shall assemble and return to the supplier all items

containing such information submitted in accordance with paragraph 2 above, including all

copies of such matter which may have been made. Alternatively, the parties subject to this order

may, with the written consent of the supplier, destroy all items containing confidential business

information and certify to the supplier (or his counsel) that such destruction has taken place.

This paragraph shall not apply to the Commission, including its investigative attorney, and the

Administrative Law Judge, which shall retain such material pursuant to statutory requirements

and for other recordkeeping purposes, but may destroy such material (including electronic media

containing such information) in its possession which it regards as surplusage.
             Case: 24-1285         Document: 7       Page: 49      Filed: 12/26/2023




       Notwithstanding the above paragraph, confidential business information may be

transmitted to a district court pursuant to Commission Rule 210.5(c).

       15.   If any confidential business information which is supplied in accordance with

paragraph 2 above is supplied by a nonparty to this investigation, such a nonparty shall be

considered a "supplier" as that term is used in the context of this order.

       16. Each nonparty supplier shall be provided a copy of this order by the party seeking

information from said supplier.

       17. The Secretary shall serve a copy of this order upon all parties.
              Case: 24-1285           Document: 7       Page: 50   Filed: 12/26/2023




                                            Attachment A

NONDISCLOSURE AGREEMENT FOR REPORTER/STENOGRAPHER/TRANSLATOR

        I, ___________________________, do solemnly swear or affirm that I will not divulge

any information communicated to me in any confidential portion of the investigation or hearing
                    CERTAIN LIGHT-BASED PHYSIOLOGICAL MEASUREMENT DEVICES AND COMPONENTS THEREOF

in the matter of Certain_______, Investigation No. 337-TA-___,
                                                           1276 except as permitted in the


protective order issued in this case. I will not directly or indirectly use, or allow the use of such

information for any purpose other than that directly associated with my official duties in this

case.

        Further, I will not by direct action, discussion, recommendation, or suggestion to any

person reveal the nature or content of any information communicated during any confidential

portion of the investigation or hearing in this case.

        I also affirm that I do not hold any position or official relationship with any of the

participants in said investigation.

        I am aware that the unauthorized use or conveyance of information as specified above is

a violation of the Federal Criminal Code and punishable by a fine of up to $10,000,

imprisonment of up to ten (10) years, or both.

Signed __________________________________________________________________

Dated ___________________________________________________________________

Firm or affiliation _________________________________________________________
            Case: 24-1285       Document: 7      Page: 51     Filed: 12/26/2023




                          PUBLIC CERTIFICATE OF SERVICE

       I, Lisa R. Barton, hereby certify that the attached ORDER has been served upon the
following parties as indicated, on August 18, 2021.




                                                  Lisa R. Barton, Secretary
                                                  U.S. International Trade Commission
                                                  500 E Street, SW, Room 112
                                                  Washington, DC 20436

On Behalf of Complainants Masimo Corporation and
Cercacor Laboratories, Inc.:

Jonathan Bachand, Esq.                                           ☐ Via Hand Delivery
KNOBBE, MARTENS, OLSON & BEAR, LLP                               ☐ Via Express Delivery
1717 Pennsylvania Avenue, NW, Suite 900                          ☐ Via First Class Mail
Washington, DC 20006
                                                                 ☒ Other: Email Notification
Email: Jonathan.Bachand@knobbe.com
                                                                 of Availability for Download

Respondent:

Apple Inc.                                                       ☐ Via Hand Delivery
One Apple Park Way                                               ☐ Via Express Delivery
Cupertino, CA 95014                                              ☐ Via First Class Mail
                                                                 ☒ Other: Service to Be
                                                                 Completed by Complainants
Case: 24-1285   Document: 7   Page: 52   Filed: 12/26/2023




        EXHIBIT 1




                      Stay-Add-1
Case: 24-1285   Document: 7   Page: 53   Filed: 12/26/2023

        CONFIDENTIAL INFORMATION REDACTED




                      Stay-Add-2
Case: 24-1285   Document: 7   Page: 54   Filed: 12/26/2023

        CONFIDENTIAL INFORMATION REDACTED




                      Stay-Add-3
Case: 24-1285   Document: 7   Page: 55   Filed: 12/26/2023

        CONFIDENTIAL INFORMATION REDACTED




                      Stay-Add-4
Case: 24-1285   Document: 7   Page: 56   Filed: 12/26/2023

        CONFIDENTIAL INFORMATION REDACTED




                      Stay-Add-5
Case: 24-1285   Document: 7   Page: 57   Filed: 12/26/2023

        CONFIDENTIAL INFORMATION REDACTED




                      Stay-Add-6
Case: 24-1285   Document: 7   Page: 58   Filed: 12/26/2023

        CONFIDENTIAL INFORMATION REDACTED




                      Stay-Add-7
Case: 24-1285   Document: 7   Page: 59   Filed: 12/26/2023

        CONFIDENTIAL INFORMATION REDACTED




                      Stay-Add-8
Case: 24-1285   Document: 7   Page: 60   Filed: 12/26/2023

        CONFIDENTIAL INFORMATION REDACTED




                      Stay-Add-9
Case: 24-1285   Document: 7   Page: 61   Filed: 12/26/2023

        CONFIDENTIAL INFORMATION REDACTED




                      Stay-Add-10
Case: 24-1285   Document: 7   Page: 62   Filed: 12/26/2023

        CONFIDENTIAL INFORMATION REDACTED




                      Stay-Add-11
Case: 24-1285   Document: 7   Page: 63   Filed: 12/26/2023

        CONFIDENTIAL INFORMATION REDACTED




                      Stay-Add-12
Case: 24-1285   Document: 7   Page: 64   Filed: 12/26/2023

        CONFIDENTIAL INFORMATION REDACTED




                      Stay-Add-13
Case: 24-1285   Document: 7   Page: 65   Filed: 12/26/2023

        CONFIDENTIAL INFORMATION REDACTED




                      Stay-Add-14
Case: 24-1285   Document: 7   Page: 66   Filed: 12/26/2023

        CONFIDENTIAL INFORMATION REDACTED




                      Stay-Add-15
Case: 24-1285   Document: 7   Page: 67   Filed: 12/26/2023




        EXHIBIT 2




                      Stay-Add-16
             Case: 24-1285         Document: 7        Page: 68      Filed: 12/26/2023




               UNITED STATES INTERNATIONAL TRADE COMMISSION
                                Washington, D.C.



In the Matter of

CERTAIN LIGHT-BASED
PHYSIOLOGICAL MEASUREMENT                                      Investigation No. 337-TA-1276
DEVICES AND COMPONENTS
THEREOF


                                 CEASE AND DESIST ORDER

       IT IS HEREBY ORDERED THAT RESPONDENT Apple, Inc. of Cupertino,

California cease and desist from conducting any of the following activities in the United States:

importing, selling, offering for sale, marketing, advertising, distributing, transferring (except for

exportation), soliciting United States agents or distributors, and aiding or abetting other entities

in the importation, sale for importation, sale after importation, transfer (except for exportation),

or distribution of certain light-based physiological measurement devices and components thereof

(as defined in Definition (G) below) that infringe one or more of claim 28 of U.S. Patent No.

10,912,502 and claims 12, 24, and 30 of U.S. Patent No. 10,945,648 (“Asserted Patents”) in

violation of section 337 of the Tariff Act of 1930, as amended (19 U.S.C. § 1337).

                                                 I.
                                             Definitions

       As used in this order:

       (A)     “Commission” shall mean the United States International Trade Commission.

       (B)     “Complainant” shall mean Masimo Corporation and Cercacor Laboratories, Inc.,

               both of Irvine, California.

       (C)     “Respondent” shall mean Apple, Inc. of Cupertino, California.




                                             Stay-Add-17
             Case: 24-1285        Document: 7         Page: 69     Filed: 12/26/2023




       (D)     “Person” shall mean an individual, or any non-governmental partnership, firm,

               association, corporation, or other legal or business entity other than Respondent or

               its majority-owned or controlled subsidiaries, successors, or assigns.

       (E)     “United States” shall mean the fifty States, the District of Columbia, and

               Puerto Rico.

       (F)     The terms “import” and “importation” refer to importation for entry for

               consumption under the Customs laws of the United States.

       (G)     The term “covered products” shall mean light-based physiological measurement

               devices and components thereof that infringe one or more of claims 22 and 28 of

               U.S. Patent No. 10,912,502 and claims 12, 24, and 30 of U.S. Patent No.

               10,945,648. The light-based physiological measurement devices and components

               thereof subject to this order are as follows: wearable electronic devices with

               light-based pulse oximetry functionality and components thereof. Covered

               products shall not include articles for which a provision of law or license avoids

               liability for infringement.

                                                 II.
                                             Applicability

       The provisions of this Cease and Desist Order shall apply to Respondent and to any of its

principals, stockholders, officers, directors, employees, agents, distributors, controlled (whether

by stock ownership or otherwise) and majority-owned business entities, successors, and assigns,

and to each of them, insofar as they are engaging in conduct prohibited by section III, infra, for,

with, or otherwise on behalf of, Respondent.




                                                  2

                                             Stay-Add-18
             Case: 24-1285         Document: 7          Page: 70    Filed: 12/26/2023




                                               III.
                                        Conduct Prohibited

       The following conduct of Respondent in the United States is prohibited by this Order.

For the remaining terms of the Asserted Patents, Respondent shall not:

       (A)     import or sell for importation into the United States covered products;

       (B)     market, distribute, sell, offer to sell, or otherwise transfer (except for exportation)

               in the United States imported covered products;

       (C)     advertise imported covered products;

       (D)     solicit U.S. agents or distributors for imported covered products; or

       (E)     aid or abet other entities in the importation, sale for importation, sale after

               importation, transfer (except for exportation), or distribution of covered products.

                                              IV.
                                        Conduct Permitted

       Notwithstanding any other provision of this Order, specific conduct otherwise prohibited

by the terms of this Order shall be permitted if:

       (A)     in a written instrument, the owner of the Asserted Patents licenses or authorizes

               such specific conduct;

       (B)     such specific conduct is related to the importation or sale of covered products by

               or for the United States; or

       (C)     such specific conduct is limited to importation, sale, and provision of parts

               necessary to repair covered products purchased by consumers prior to the date this

               Order becomes final within the meaning of 19 U.S.C. § 1337(j)(4), or limited to

               importation and provision of covered products that are replacements for covered

               products purchased by consumers prior to the date this Order becomes final


                                                    3

                                              Stay-Add-19
             Case: 24-1285         Document: 7       Page: 71        Filed: 12/26/2023




               within the meaning of 19 U.S.C. § 1337(j)(4), provided that replacement is

               pursuant to a warranty for the replaced article.

                                               V.
                                            Reporting

       For purposes of this requirement, the reporting periods shall commence on January 1 of

each year and shall end on the subsequent December 31. The first report required under this

section shall cover the period from the date of issuance of this order through December 31, 2023.

This reporting requirement shall continue in force until such time as Respondent has truthfully

reported, in two consecutive timely filed reports, that it has no inventory (whether held in

warehouses or at customer sites) of covered products in the United States.

       Within thirty (30) days of the last day of the reporting period, Respondent shall report to

the Commission: (a) the quantity in units and the value in dollars of covered products that it has

(i) imported and/or (ii) sold in the United States after importation during the reporting period,

and (b) the quantity in units and value in dollars of reported covered products that remain in

inventory in the United States at the end of the reporting period.

       When filing written submissions, Respondent must file the original document

electronically on or before the deadlines stated above. Submissions should refer to the

investigation number (“Inv. No. 337-TA-1276”) in a prominent place on the cover pages and/or

the first page. See Handbook for Electronic Filing Procedures,

http://www.usitc.gov/secretary/fed_reg_notices/rules/handbook_on_electronic_filing.pdf.

Persons with questions regarding filing should contact the Secretary (202-205-2000). If

Respondent desires to submit a document to the Commission in confidence, it must file the




                                                 4

                                           Stay-Add-20
             Case: 24-1285        Document: 7        Page: 72      Filed: 12/26/2023




original and a public version of the original with the Office of the Secretary and must serve a

copy of the confidential version on Complainant’s counsel. 1

       Any failure to make the required report or the filing of any false or inaccurate report shall

constitute a violation of this Order, and the submission of a false or inaccurate report may be

referred to the U.S. Department of Justice as a possible criminal violation of 18 U.S.C. § 1001.

                                            VI.
                                Record-Keeping and Inspection

       (A)     For the purpose of securing compliance with this Order, Respondent shall retain

               any and all records relating to the sale, marketing, or distribution in the United

               States of covered products, made and received in the usual and ordinary course of

               business, whether in detail or in summary form, for a period of three (3) years

               from the close of the fiscal year to which they pertain.

       (B)     For the purposes of determining or securing compliance with this Order and for

               no other purpose, subject to any privilege recognized by the federal courts of the

               United States, and upon reasonable written notice by the Commission or its staff,

               duly authorized representatives of the Commission shall be permitted access and

               the right to inspect and copy, in Respondent’s principal offices during office

               hours, and in the presence of counsel or other representatives if Respondent so

               chooses, all books, ledgers, accounts, correspondence, memoranda, and other

               records and documents, in detail and in summary form, that must be retained

               under subparagraph VI(A) of this Order.



       1
          Complainants must file a letter with the Secretary identifying the attorney to receive
reports and bond information associated with this Order. The designated attorney must be on the
protective order entered in the investigation.
                                                 5

                                           Stay-Add-21
             Case: 24-1285        Document: 7        Page: 73      Filed: 12/26/2023




                                              VII.
                               Service of Cease and Desist Order

       The Secretary shall serve copies of this Order upon each party of record in this

investigation that has retained counsel or otherwise provided a point of contact for electronic

service. While temporary remote operating procedures are in place in response to COVID-19,

the Office of the Secretary is not able to serve parties that have not retained counsel or otherwise

provided a point of contact for electronic service. Accordingly, pursuant to Commission Rules

201.16(a) and 210.7(a)(1) (19 C.F.R. §§ 201.16(a), 210.7(a)(1)), the Commission orders that the

Complainant complete service of this Order for any party without a method of electronic service

noted on the attached Certificate of Service and shall file proof of service on the Electronic

Document Information System (EDIS).

       Respondent is ordered and directed to:

       (A)     Serve, within fifteen (15) days after the effective date of this Order, a copy of this

               Order upon each of its respective officers, directors, managing agents, agents, and

               employees who have any responsibility for the importation, marketing,

               distribution, transfer, or sale of imported covered products in the United States;

       (B)     Serve, within fifteen (15) days after the succession of any persons referred to in

               subparagraph VII(A) of this order, a copy of the Order upon each successor; and

       (C)     Maintain such records as will show the name, title, and address of each person

               upon whom the Order has been served, as described in subparagraphs VII(A) and

               VII(B) of this order, together with the date on which service was made.

       The obligations set forth in subparagraphs VII(B) and VII(C) shall remain in effect until

the expiration of the Asserted Patents.




                                                 6

                                           Stay-Add-22
             Case: 24-1285        Document: 7        Page: 74     Filed: 12/26/2023




                                              VIII.
                                          Confidentiality

       Any request for confidential treatment of information obtained by the Commission

pursuant to section VI of this order should be made in accordance with section 201.6 of the

Commission’s Rules of Practice and Procedure (19 C.F.R. § 201.6). For all reports for which

confidential treatment is sought, Respondent must provide a public version of such report with

confidential information redacted.

                                               IX.
                                           Enforcement

       Violation of this order may result in any of the actions specified in section 210.75 of the

Commission’s Rules of Practice and Procedure (19 C.F.R. § 210.75), including an action for

civil penalties under section 337(f) of the Tariff Act of 1930 (19 U.S.C. § 1337(f)), as well as

any other action that the Commission deems appropriate. In determining whether Respondent is

in violation of this order, the Commission may infer facts adverse to Respondent if it fails to

provide adequate or timely information.

                                               X.
                                           Modification

       The Commission may amend this order on its own motion or in accordance with the

procedure described in section 210.76 of the Commission’s Rules of Practice and Procedure

(19 C.F.R. § 210.76).

                                               XI.
                                             Bonding

       The conduct prohibited by section III of this order may be continued during the sixty (60)

day period in which this Order is under review by the United States Trade Representative, as

delegated by the President (70 Fed. Reg. 43,251 (Jul. 21, 2005)), subject to Respondent’s posting


                                                 7

                                           Stay-Add-23
             Case: 24-1285        Document: 7       Page: 75     Filed: 12/26/2023




of a bond in the amount of zero percent (0%, i.e., no bond) of their entered value. This bond

provision does not apply to conduct that is otherwise permitted by section IV of this Order.

Covered products imported on or after the date of issuance of this Order are subject to the entry

bond as set forth in the exclusion order issued by the Commission, and are not subject to this

bond provision.

       By order of the Commission.




                                                 Lisa R. Barton
                                                 Secretary to the Commission

Issued: October 26, 2023




                                                8

                                          Stay-Add-24
Case: 24-1285   Document: 7   Page: 76   Filed: 12/26/2023




        EXHIBIT 3




                      Stay-Add-25
              Case: 24-1285        Document: 7        Page: 77      Filed: 12/26/2023




               UNITED STATES INTERNATIONAL TRADE COMMISSION
                                Washington, D.C.


 In the Matter of

 CERTAIN LIGHT-BASED                                        Investigation No. 337-TA-1276
 PHYSIOLOGICAL MEASUREMENT
 DEVICES AND COMPONENTS
 THEREOF



                                LIMITED EXCLUSION ORDER

       The United States International Trade Commission (“Commission”) has determined that

there is a violation of section 337 of the Tariff Act of 1930, as amended (19 U.S.C. § 1337), in

the unlawful importation, sale for importation, or sale within the United States after importation

by respondent Apple, Inc. of Cupertino, California (“Respondent”) of certain light-based

physiological measurement devices and components thereof (as defined in paragraph 2 below)

that infringe one or more of claims 22 and 28 of U.S. Patent No. 10,912,502 and claims 12, 24,

and 30 of U.S. Patent No. 10,945,648 (“Asserted Patents”).

       Having reviewed the record in this investigation, including the written submissions of the

parties, the Commission has made its determinations on the issues of remedy, the public interest,

and bonding. The Commission has determined that the appropriate form of relief is a limited

exclusion order prohibiting the unlicensed entry of infringing light-based physiological

measurement devices and components thereof manufactured by or on behalf of Respondent or

any of its affiliated companies, parents, subsidiaries, agents, or other related business entities, or

its successors or assigns.

       The Commission has also determined that the public interest factors enumerated in

19 U.S.C. § 1337(d) do not preclude the issuance of the limited exclusion order, and that the




                                            Stay-Add-26
             Case: 24-1285         Document: 7        Page: 78     Filed: 12/26/2023




bond during the period of Presidential review shall be in the amount of zero percent (0%, i.e., no

bond) of the entered value of the entered value of the articles subject to this Order.

       Accordingly, the Commission hereby ORDERS that:

       1.      Light-based physiological measurement devices and components thereof that

infringe one or more of claims 22 and 28 of U.S. Patent No. 10,912,502 and claims 12, 24, and

30 of U.S. Patent No. 10,945,648 and are manufactured abroad by, or on behalf of, or imported

by or on behalf of Respondent or any of its affiliated companies, parents, subsidiaries, agents, or

other related business entities, or its successors or assigns, are excluded from entry for

consumption into the United States, entry for consumption from a foreign-trade zone, or

withdrawal from a warehouse for consumption, for the remaining terms of the Asserted Patents,

except under license from, or with the permission of, the patent owner or as provided by law; and

except for parts necessary to service and repair covered products purchased by consumers prior

to the date this Order becomes final within the meaning of 19 U.S.C. § 1337(j)(4), and except for

covered products that are replacements for covered products purchased by consumers prior to the

date this Order becomes final within the meaning of 19 U.S.C. § 1337(j)(4), provided that

replacement is pursuant to a warranty for the replaced article.

       2.      The light-based physiological measurement devices and components thereof

subject to this exclusion order (i.e., “covered articles”) are as follows: wearable electronic

devices with light-based pulse oximetry functionality and components thereof.

       3.      Notwithstanding paragraph 1 of this Order, covered articles are entitled to entry

into the United States for consumption, entry for consumption from a foreign trade zone, or

withdrawal from a warehouse for consumption, under bond in the amount of zero percent (0%,

i.e., no bond) of their entered value, pursuant to subsection (j) of section 337 (19 U.S.C.



                                                  2

                                           Stay-Add-27
              Case: 24-1285        Document: 7       Page: 79      Filed: 12/26/2023




§ 1337(j)) and the Presidential Memorandum for the United States Trade Representative of July

21, 2005 (70 Fed. Reg. 43,251), from the day after this Order is received by the United States

Trade Representative until such time as the United States Trade Representative notifies the

Commission that this Order is approved or disapproved but, in any event, not later than sixty (60)

days after the receipt of this Order. All entries of covered articles made pursuant to this

paragraph are to be reported to U.S. Customs and Border Protection (“CBP”), in advance of the

date of the entry, pursuant to procedures CBP establishes.

        4.      At the discretion of CBP and pursuant to the procedures it establishes, persons

seeking to import articles may be required to certify that they are familiar with the terms of this

Order, that they have made appropriate inquiry, and thereupon state that, to the best of their

knowledge and belief, the products being imported are not excluded from entry under paragraph

1 of this Order. At its discretion, CBP may require persons who have provided the certification

described in this paragraph to furnish such records or analyses as are necessary to substantiate

the certification.

        5.      In accordance with 19 U.S.C. § 1337(l), the provisions of this Order shall not

apply to covered articles that are imported by and for the use of the United States, or imported

for and to be used for, the United States with the authorization or consent of the Government.

        6.      The Commission may modify this Order in accordance with the procedures

described in Rule 210.76 of the Commission’s Rules of Practice and Procedure (19 C.F.R.

§ 210.76).

        7.      The Secretary shall serve copies of this Order upon each party of record in this

investigation that has retained counsel or otherwise provided a point of contact for electronic

service and upon CBP.



                                                 3

                                           Stay-Add-28
           Case: 24-1285        Document: 7       Page: 80     Filed: 12/26/2023




      8.     Notice of this Order shall be published in the Federal Register.

      By order of the Commission.




                                                   Lisa R. Barton
                                                   Secretary to the Commission



Issued: October 26, 2023




                                              4

                                        Stay-Add-29
Case: 24-1285   Document: 7   Page: 81   Filed: 12/26/2023




        EXHIBIT 4




                      Stay-Add-30
             Case: 24-1285              Document:
                                           PUBLIC7 VERSION
                                                     Page: 82                         Filed: 12/26/2023



                   UNITED STATES INTERNATIONAL TRADE COMMISSION
                                    Washington, D.C.


In the Matter of
CERTAIN LIGHT-BASED                                                        Investigation No. 337-TA-1276
PHYSIOLOGICAL MEASUREMENT
DEVICES AND COMPONENTS
THEREOF

                                         COMMISSION OPINION

                                          TABLE OF CONTENTS
      I.       INTRODUCTION ................................................................................................. 2
      II.      BACKGROUND ................................................................................................... 2
              A.      Procedural History ........................................................................................ 2
              B.      The Asserted Patents..................................................................................... 7
              C.      The Accused Products ................................................................................ 13
              D.      The Domestic Industry Products................................................................. 14
      III.     COMMISSION REVIEW OF THE FINAL ID .................................................. 14
      IV.      ANALYSIS OF THE ISSUES UNDER REVIEW ............................................. 15
              A.      Subject Matter Jurisdiction ......................................................................... 15
              B.      Obviousness of the Asserted Claims of the ’501 Patent, the ’502 Patent,
                      and the ’648 Patent ..................................................................................... 16
              C.      Non-Obviousness of the Asserted Claims of the ’745 Patent ..................... 49
              D.      Written Description Support of Claim 28 of the ’502 Patent and Claim
                      12 of the ’648 Patent ................................................................................... 53
              E.      Claim Construction and Infringement Regarding the ’745 Patent ............. 66
              F.      The Domestic Industry Issues Under Review—The Poeze Patents and
                      the ’745 Patent ............................................................................................ 66
      V.       REMEDY, THE PUBLIC INTEREST, AND BONDING.................................. 69
              A.      Remedy ....................................................................................................... 69
              B.      Public Interest ............................................................................................. 76
              C.      Bonding .................................................................................................... 119
      VI.      CONCLUSION.................................................................................................. 123




                                                             1

                                                    Stay-Add-31
             Case: 24-1285        Document:
                                     PUBLIC7 VERSION
                                               Page: 83          Filed: 12/26/2023




I.     INTRODUCTION

       On May 15, 2023, the Commission determined to review in part the final initial

determination (“ID”) issued by the presiding administrative law judge (“ALJ”) on January 10,

2023. 88 Fed. Reg. 32243 (May 19, 2023). On review, the Commission has determined that

there has been a violation of section 337 of the Tariff Act of 1930, as amended, 19 U.S.C.

§ 1337, with respect to U.S. Patent Nos. 10,945,648 (“the ’648 patent”) and 10,912,502 (“the

’502 patent”), but not with respect to U.S. Patent Nos. 10,912,501 (“the ’501 patent”),

10,687,745 (“the ’745 patent”), and 7,761,127 (“the ’127 patent”). This opinion sets forth the

Commission’s reasoning in support of that determination.

II.    BACKGROUND

       A.      Procedural History

       The Commission instituted this investigation on August 18, 2021, based on an amended

and supplemented complaint (“Complaint”) filed by complainants Masimo Corporation

(“Masimo”) and Cercacor Laboratories, Inc. (“Cercacor,” collectively, “Complainants”).1, 2, 3 86

Fed. Reg. 46275–76 (Aug. 18, 2021). The Complaint alleged violations of section 337 of the



       1
         The original public complaint was filed on June 30, 2021. See EDIS Doc. ID 745713
(June 30, 2021). On July 7, 2021, Complainants filed an “Amendment to the Public Complaint,
with Amended Exhibit 2 and Appendix C.” See EDIS Doc. ID 746186. And on July 12, 2021,
Complainants filed a “Confidential Amendment to the Public Complaint and Exhibits.” See
EDIS Doc. ID 746514. The Commission has determined that the filing date of the Complaint is
July 12, 2021. See, e.g., 86 Fed. Reg. at 46275; Final ID at 84 (including n.24).
       2
        Supplement to the Confidential Amended Complaint and Exhibits, EDIS Doc. ID
747244 (July 19, 2021); Supplement to the Amended Public Complaint and Exhibits, EDIS Doc.
ID 747240 (July 19, 2021).
       3
         Masimo is the owner of the ’501 patent (JX-0001), ’502 patent (JX-0002), ’648 patent
(JX-0003), and ’745 patent (JX-0009). Compl. at ¶ 4. Cercacor is the owner of the ’127 patent
(JX-0007). Id. Masimo and Cercacor have rights to each of the Asserted Patents through a
cross-licensing agreement. Id. at ¶¶ 4, 77; CX-1612C.
                                                2

                                          Stay-Add-32
             Case: 24-1285         Document:
                                      PUBLIC7 VERSION
                                                Page: 84           Filed: 12/26/2023




Tariff Act of 1930, as amended, 19 U.S.C. § 1337, based upon the importation into the United

States, the sale for importation, and the sale within the United States after importation of certain

light-based physiological measurement devices and components thereof by reason of

infringement of certain claims of the ’501 patent; the ’502 patent; the ’648 patent; the ’745

patent; and the ’127 patent (collectively, the “Asserted Patents”). Id. The Complaint further

alleged that an industry in the United States exists and/or is in the process of being established.

Id. The notice of investigation named Apple Inc. of Cupertino, California as the sole respondent

(“Apple”). Id. at 46276. The Office of Unfair Import Investigations is not participating in this

investigation. See id.

       Prior to the issuance of the Final ID, the investigation terminated as to several claims.

Order No. 25 (Mar. 23, 2022), unreviewed by Comm’n Notice (Apr. 12, 2022); Order No. 33

(May 20, 2022), unreviewed by Comm’n Notice (June 10, 2022). At the time of the hearing on

June 6–10, 2022, only the following claims remained at issue: claim 12 of the ’501 patent,

claims 22 and 28 of the ’502 patent, claims 12, 24, and 30 of the ’648 patent, claims 9, 18,4 and

27 of the ’745 patent, and claim 9 of the ’127 patent.




       4
         Complainants proceeded at the hearing as to claim 18 of the ’745 patent for domestic
industry purposes only. See, e.g., Final ID at 176. In other words, Complainants did not allege
that Apple violated section 337 by infringing that claim.

                                                  3

                                           Stay-Add-33
             Case: 24-1285         Document:
                                      PUBLIC7 VERSION
                                                Page: 85            Filed: 12/26/2023




        On May 13, 2022, Complainants and Apple filed their pre-hearing briefs.5 The parties

filed initial post-hearing briefs on June 27, 2022,6 and the parties filed post-hearing reply briefs

on July 11, 2022.7

        On January 10, 2023, the ALJ issued the Final ID,8 which found that Apple violated

section 337 as to only claims 24 and 30 of the ’648 patent. See Final ID at 335–36. The Final ID

found that Complainants did not establish a violation as to the other remaining asserted claims.

E.g., id.

        On January 24, 2023, the ALJ issued the Recommended Determination on Remedy and

Bonding (“RD”).9 The RD recommended that, if the Commission finds a violation, it should




        5
         Complainants’ Pre-Hearing Brief, EDIS Doc. ID 770786 (May 13, 2022) (“CPreHBr.”);
Respondent Apple Inc.’s Pre-Hearing Brief, EDIS Doc. ID 770790 (May 13, 2022). On May 16,
2022, Apple filed a corrected pre-hearing brief. Respondent Apple Inc.’s Corrected Pre-Hearing
Brief, EDIS Doc. ID 770874 (May 16, 2022) (“RPreHBr.”).
        6
          Complainants’ Initial Post-Hearing Brief, EDIS Doc. ID 774000 (June 27, 2022);
Respondent Apple Inc.’s Post-Hearing Brief, EDIS Doc. ID 774025 (June 27, 2022). On July
14, 2022, Complainant filed a corrected opening post-hearing brief. Complainants’ Corrected
Initial Post-Hearing Brief, EDIS Doc. ID 775422 (July 14, 2022) (“CPHBr.”). On September 2,
2022, Apple filed a second corrected opening post-hearing brief. Respondent Apple Inc.’s
Second Corrected Post-Hearing Brief, EDIS Doc. ID 779376 (Sept. 2, 2022) (“RPHBr.”).
        7
         Complainants’ Reply Post-Hearing Brief, EDIS Doc. ID 775058 (July 11, 2022)
(“CPHBr. (Reply)”); Respondent Apple Inc.’s Reply Post-Hearing Brief, EDIS Doc. ID 775073
(July 11, 2022). On September 2, 2022, Apple filed a corrected post-hearing reply brief.
Respondent Apple Inc.’s Corrected Post-Hearing Reply Brief, EDIS Doc. ID 779379 (Sept. 2,
2022) (“RPHBr. (Reply)”).
        8
          Final Initial Determination on Violation of Section 337, EDIS Doc. ID 787653 (Jan. 10,
2023); see also Final Initial Determination on Violation of Section 337, EDIS Doc. ID 789795
(Feb. 7, 2023) (Public Version).
        9
         Recommended Determination on Remedy and Bonding, EDIS Doc. ID 788506 (Jan. 24,
2023); see also Recommended Determination on Remedy and Bonding, EDIS Doc. ID 790079
(Feb. 10, 2023) (Public Version).

                                                  4

                                            Stay-Add-34
              Case: 24-1285       Document:
                                     PUBLIC7 VERSION
                                               Page: 86           Filed: 12/26/2023




issue a limited exclusion order (“LEO”) directed to certain wearable electronic devices with

light-based pulse oximetry functionality and components thereof that are imported, sold for

importation, and/or sold after importation by Apple; and a cease and desist order (“CDO”)

directed to Apple. See RD at 2–5. The RD additionally recommended that the Commission set a

0% bond (i.e., no bond) during the sixty-day period of Presidential review. See id. at 6–7. The

Commission’s notice of investigation did not instruct the ALJ to make findings and

recommendations concerning the public interest. See 86 Fed. Reg. at 46275–76.

       On January 23, 2023, Complainants and Apple each filed a petition for review of the

Final ID.10 On January 31, 2023, Complainants and Apple each filed responses to the other

respective petition.11

       On January 24 and 30, 2023, (after the Final ID issued and petitions for review were

filed), the United States Patent and Trademark Office (“USPTO”) denied Apple’s request for the

institution of inter partes review proceedings (“IPRs”) as to the ’501, ’502, and ’648 patents

based on a combination of references that included the same primary reference as one of the




       10
          Complainants’ Petition for Review of the Final Initial Determination on Violation of
Section 337, EDIS Doc. ID 788456 (Jan. 23, 2023) (“CPet.”); Complainants’ Summary of
Petition for Review of the Final Initial Determination on Violation of Section 337, EDIS Doc. ID
788457 (Jan. 23, 2023); Respondent Apple Inc.’s Petition for Review of the Initial Determination
of Violation of Section 337, EDIS Doc. ID 788470 (Jan. 23, 2023) (“RPet.”); Respondent Apple
Inc.’s Summary of Petition for Review of the Initial Determination of Violation of Section 337,
EDIS Doc. ID 788474 (Jan. 23, 2023).
       11
         Complainants’ Response to Apple Inc.’s Petition for Review of the Final Initial
Determination on Violation of Section 337, EDIS Doc. ID 789044 (Jan. 31, 2023) (“CResp.”);
Complainants’ Summary of Response to Apple Inc.’s Petition for Review of the Final Initial
Determination on Violation of Section 337, EDIS Doc. ID 789045 (Jan. 31, 2023); Respondent
Apple Inc.’s Response to Complainants’ Petition for Review, EDIS Doc. ID 789061 (Jan. 31,
2023) (“RResp.”); Respondent Apple Inc.’s Summary of Its Response to Complainants’ Petition
for Review, EDIS Doc. ID 789067 (Jan. 31, 2023).

                                                5

                                          Stay-Add-35
             Case: 24-1285         Document:
                                      PUBLIC7 VERSION
                                                Page: 87           Filed: 12/26/2023




combinations of references asserted against the asserted claims of those patents in this

investigation. See Apple Inc. v. Masimo Corp., IPR2022-01272 (USPTO Jan. 24, 2023) (’501

patent) (available at CResp. at Appx. B); Apple Inc. v. Masimo Corp., IPR2022-01274 (USPTO

Jan. 24, 2023) (’502 patent) (available at CResp. at Appx. C); Apple Inc. v. Masimo Corp.,

IPR2022-01276 (USPTO Jan. 30, 2023) ) (’648 patent) (available at CResp. at Appx. A).

       On February 23, 2023, the parties filed their public interest statements pursuant to 19

C.F.R. § 210.50(a)(4).12 The Commission received numerous comments on the public interest

from non-parties, discussed below in the public interest section of this Opinion.

       On May 15, 2023, after considering the parties’ petitions and responses thereto, the

Commission determined to review the Final ID in part. See 88 Fed. Reg. at 32243–46. In

particular, the Commission determined to review: (1) the domestic industry with regard to the

’501 patent, the ’502 patent, the ’648 patent, and the ’745 patent; (2) obviousness with regard to

the ’501 patent, the ’502 patent, the ’648 patent, and the ’745 patent; (3) written description with

regard to claim 28 of the ’502 patent and claim 12 of the ’648 patent; (4) claim construction and

infringement with regard to the ’745 patent; and (5) subject matter jurisdiction. Id. at 32244.

The Commission determined not to review the remaining findings of the Final ID, including the

finding of no violation as to the ’127 patent. Id. The Commission requested briefing on certain

issues under review and also on remedy, the public interest, and bonding. See id. at 32244-46.

The Commission’s public interest briefing request also solicited input from non-parties. See id.




       12
         Complainants’ Statement on the Public Interest, EDIS Doc. ID 791050 (Feb. 23, 2023)
(“CStmt.”); Respondent Apple Inc.’s Public Interest Statement, EDIS Doc. ID 791062 (Feb. 23,
2023) (“RStmt.”).

                                                  6

                                           Stay-Add-36
             Case: 24-1285        Document:
                                     PUBLIC7 VERSION
                                               Page: 88           Filed: 12/26/2023




       On June 5, 2023, the parties filed their written submissions on the issues under review

and on remedy, public interest, and bonding,13 and on June 12, 2023, the parties filed their reply

submissions.14 The Commission additionally received numerous comments on the public

interest from non-parties, which are discussed below in the public interest section of this

Opinion.

       B.      The Asserted Patents

       The technology at issue in this investigation relates to user-worn devices for

noninvasively measuring physiological parameters of a user.

                       U.S. Patent Nos. 10,912,501; 10,912,502; and 10,945,648: The “Poeze
                       Patents”

       The ’501 patent (JX-0001), ’502 patent (JX-0002), and ’648 patent (JX-0003) share a

common specification, claiming priority to an application filed on July 3, 2008. These patents

are titled “User-Worn Device for Noninvasively Measuring a Physiological Parameter of a User”

and name as inventors Jeroen Poeze, et al. These patents are referred to herein as the “Poeze

patents.”




       13
          Complainants’ Submission in Response to the Commission’s May 15, 2023 Notice of
Commission Determination to Review in Part, EDIS Doc ID 797853 (June 5, 2023) (“CBr.”);
Respondent Apple Inc.’s Response to the Commission’s Notice to Review in Part a Final Initial
Determination and Request for Written Submissions, EDIS Doc ID 797870 (June 5, 2023)
(“RBr.”).
       14
           Complainants’ Reply to Apple Inc.’s Response to the Commission’s Notice to Review
in Part a Final Initial Determination and Request for Written Submissions, EDIS Doc ID 798353
(June 12, 2023) (“CBr. (Reply)”); Respondent Apple Inc.’s Reply to Complainants’ Response to
the Commission’s Notice to Review in Part a Final Initial Determination and Request for Written
Submissions, EDIS Doc ID 798383 (June 12, 2023) (“RBr. (Reply)”).

                                                 7

                                           Stay-Add-37
               Case: 24-1285         PUBLIC7 VERSION
                                  Document:    Page: 89           Filed: 12/26/2023



       Complainants assert claim 12 of the '501 patent, which depends from claim 1. See

CPHBr. at 53-66. Claim 12 is reproduced below in a claim/element identifier chaii that includes

the element designations used by the pa1iies and the Final ID.


                                   U.S. Patent No. 10,912,501

  Identifier                                      Claim/Element
                                              Claim 12
   [1PRE]        A user-worn device configured to noninvasively measure a physiological
                 pai·ameter of a user, the user-worn device comprising:
     [1A]        at least three light emitting diodes (LEDs);
     [1B]        at least three photodiodes aiTanged on an interior surface of the user-worn
                 device and configured to receive light attenuated by tissue of the user;
     [1C]        a protrusion aiTanged over the interior surface, the protrnsion comprising a
                 convex surface and
     [1D]        a plurality of openings extending through the protrusion and positioned over the
                 three photodiodes,
     [1E]        the openings each comprising an opaque lateral surface, the plurality of
                 openings configured to allow light to reach the photodiodes, the opaque lateral
                 surface configured to avoid light piping through the protrusion; and
     [1F]        one or more processors configured to receive one or more signals from the
                 photodiodes and calculate a measurement of the physiological parameter of the
                 user.
     [12]        The user-worn device of Claim 1, wherein the convex surface of the protrusion
                 is an oute1most surface configured to contact the tissue of the user and confo1m
                 the tissue into a concave shape.

       Complainants also asse1i claim 22 of the '502 patent, which depends from claims 19, 20,

and 21, and claim 28, a sepai·ate independent claim. See CPHBr. at 66-77. These claims are

reproduced below.




                                                 8


                                           Stay-Add-38
             Case: 24-1285          PUBLIC7 VERSION
                                 Document:    Page: 90            Filed: 12/26/2023




                                  U.S. Patent No. 10,912,502

Identifier                                      Claim/Element
                                            Claim 22
[19PRE]        A user-worn device configured to non-invasively measure an oxygen saturation
               of a user, the user worn device comprising:
  [19A]        a plurality of emitters configured to emit light, each of the emitters comprising
               at least two light emitting diodes (LEDs);
  [19B]        four photodiodes ananged within the user-worn device and configured to
               receive light after at least a po1iion of the light has been attenuated by tissue of
               the user;
  [19C]        a protrusion comprising a convex surface including separate openings
               extending through the protrusion and lined with opaque material, each opening
               positioned over a different one of the four photodiodes, the opaque material
               configured to reduce an amount of light reaching the photodiodes without being
               attenuated by the tissue;
  [19D]        optically transparent material within each of the openings; and
  [19E]        one or more processors configured to receive one or more signals from at least
               one of the four photodiodes and output measurements responsive to the one or
               more signals, the measurements indicative of the oxygen saturation of the user.
  [20]         The user-worn device of claim 19 further comprising a thennistor.
  [21]         The user-worn device of claim 20, wherein the one or more processors are
               fuiiher configured to receive a temperature signal from the thennistor and
               adjust operation of the user-worn device responsive to the temperature signal.
  [22]         The user-worn device of claim 21, wherein the plurality of emitters comprise at
               least four emitters, and wherein each of the plurality of emitters comprises a
               respective set of at least three LEDs.




                                                 9


                                          Stay-Add-39
             Case: 24-1285          PUBLIC7 VERSION
                                 Document:    Page: 91            Filed: 12/26/2023




                                  U.S. Patent No. 10,912,502

Identifier                                      Claim/Element
                                            Claim 28
[28PRE]        A user-worn device configured to non-invasively measure an oxygen saturation
               of a user, the user worn device comprising:
  [28A]        a first set of light emitting diodes (LEDs), the first set of LEDs comprising at
               least an LED configured to emit light at a first wavelength and an LED
               configured to emit light at a second wavelength;
  [28B]        a second set of LEDs spaced apa1t from the first set of LEDs, the second set of
               LEDs comprising at least an LED configured to emit light at the first
               wavelength and an LED configured to emit light at the second wavelength;
  [28C]        four photodiodes ananged in a quadrant configuration on an interior surface of
               the user-worn device and configured to receive light after at least a po1tion of
               the light has been attenuated by tissue of the user;
  [28D]        a thermistor configured to provide a temperature signal;
  [28E]        a protrusion ananged above the interior smface, the protr11sion comprising: a
               convex surface;
  [28F]        a plurality of openings in the convex surface, extending through the protrusion,
               and aligned with the four photodiodes, each opening defined by an opaque
               surface configured to reduce light piping; and
  [28G]        a plurality of u-ansmissive windows, each of the tr·ansmissive windows
               extending across a different one of the openings;
  [28H]        at least one opaque wall extending between the interior surface and the
               protr11sion, wherein at least the interior surface, the opaque wall and the
               protr11sion fonn cavities, wherein the photodiodes are ananged on the interior
               surface within the cavities;
  [281]        one or more processors configured to receive one or more signals from at least
               one of the photodiodes and calculate an oxygen saturation measurement of the
               user, the one or more processors fmther configured to receive the temperature
               signal;
  [28J]        a network interface configured to wirelessly communicate the oxygen
               saturation measurement to at least one of a mobile phone or an electr·onic
               network;
  [28K]        a user interface comprising a touch-screen display, wherein the user interface is
               configured to display indicia responsive to the oxygen saturation measurement
               of the user;
  [28L]        a storage device configured to at least temporarily store at least the
               measurement; and
 [28M]         a su-ap configured to position the user-worn device on the user.




                                         Stay-Add-40
               Case: 24-1285          PUBLIC7 VERSION
                                   Document:    Page: 92            Filed: 12/26/2023



       Complainants further asse1t claim 12 of the '648 patent, which depends from claim 8, and

claims 24 and 30, which depend from claim 20. See CPHBr. at 77-83. These claims are

reproduced below.


                                     U.S. Patent No. 10,945,648

  Identifier                                      Claim/Element
                                              Claim 12
   [8PRE]        A user-worn device configured to non-invasively dete1mine measurements of a
                 physiological parameter of a user, the user-worn device comprising:
     [SA]        a first set of light emitting diodes (LEDs), the first set comprising at least an
                 LED configured to emit light at a first wavelength and at least an LED
                 configured to emit light at a second wavelength;
     [8B]        a second set of LEDs spaced apa1t from the first set of LEDs, the second set of
                 LEDs comprising an LED configured to emit light at the first wavelength and
                 an LED configured to emit light at the second wavelength;
     [SC]        four photodiodes;
     [8D]        a protrusion comprising a convex surface, at least a po1tion of the protrusion
                 comprising an opaque material;
     [SE]        a plurality of openings provided through the protr11sion and the convex surface,
                 the openings aligned with the photodiodes;
     [SF]        a separate optically tr·ansparent window extending across each of the openings;
     [8G]        one or more processors configured to receive one or more signals from at least
                 one of the photodiodes and output measurements of a physiological parameter
                 of a user;
     [SH]        a housing; and
     [81]        a strap configured to position the housing proximate tissue of the user when the
                 device is worn.
     [12]        The user-worn device of Claim 8, wherein the physiological parameter
                 comprises oxygen or oxygen saturation.




                                                  11

                                            Stay-Add-41
               Case: 24-1285         PUBLIC7 VERSION
                                  Document:    Page: 93           Filed: 12/26/2023




                                    U.S. Patent No. 10,945,648

  Identifier                                      Claim/Element
                                          Claims 24 and 30
   [20PRE]       A user-worn device configured to non-invasively dete1mine measurements of a
                 user's tissue, the user-worn device comprising:
     [20A]       a plurality of light emitting diodes (LEDs);
     [20B]       at least four photodiodes configured to receive light emitted by the LEDs, the
                 four photodiodes being airnnged to capture light at different quadrants of tissue
                 of a user;
     [20C]       a protrusion comprising a convex surface and
     [20D]       a plurality of through holes, each through hole including a window and
                manged over a different one of the at least four photodiodes; and
     [20E]       one or more processors configured to receive one or more signals from at least
                 one of the photodiodes and detennine measurements of oxygen saturation of the
                 user.
     [24]        The user-worn device of Claim 20, wherein the protrusion comprises opaque
                 material configured to substantially prevent light piping.
     [30]        The user-worn device of Claim 20, wherein the protrusion further comprises
                 one or more chainfered edges.

                2.     U.S. Patent No. 10,687,745

       The '745 patent (JX-0009) is titled "Physiological Monitoring Devices, Systems, and

Methods," claims priority to an application filed on June 28, 2016, and names Ammar Al-Ali as

the sole inventor. Complainants asse1i that Apple infringes claims 9 and 27, and they rely on

claim 18 for domestic industry purposes only. Claim 9 is reproduced below as representative of

the asse1ied claims of the '745 patent.




                                                 12

                                           Stay-Add-42
               Case: 24-1285          PUBLIC7 VERSION
                                   Document:    Page: 94            Filed: 12/26/2023




                                    U.S. Patent No. 10,687,745

  Identifier                                    Claim/Element
                                            Claim 9
   [1PRE]        A physiological monitoring device comprising:
     [1A]        a plurality of light-emitting diodes configured to emit light in a first shape;
     [1B]        a material configured to be positioned between the plurality of light-emitting
                 diodes and tissue on a wrist of a user when the physiological monitoring device
                 is in use, the material configured to change the first shape into a second shape
                 by which the light emitted from one or more of the plurality of light-emitting
                 diodes is projected towards the tissue;
     [1C]        a plurality of photodiodes configured to detect at least a po1iion of the light
                 after the at least the po1iion of the light passes through the tissue, the plurality
                 of photodiodes finiher configured to output at least one signal responsive to the
                 detected light;
     [1D]        a surface comprising a dark-colored coating, the surface configured to be
                 positioned between the plurality of photodiodes and the tissue when the
                 physiological monitoring device is in use, wherein an opening defined in the
                 dark-colored coating is configured to allow at least a po1iion of light reflected
                 from the tissue to pass through the surface;
     [1E]        a light block configured to prevent at least a po1iion of the light emitted from
                 the plurality of light-emitting diodes from reaching the plurality of photodiodes
                 without first reaching the tissue;
     [1F]        and a processor configured to receive and process the outputted at least one
                 signal and detennine a physiological parameter of the user responsive to the
                 outputted at least one signal.
      [9]        The physiological monito1ing device of claim 1, wherein the physiological
                 parameter comprises oxygen saturation.

                3.     U.S. Patent No. 7,761,127

       The '127 patent (JX-0007) is titled "Multiple Wavelength Sensor Substrate," issued from

an application filed on March 1, 2006, and names as inventors Ammar Al-Ali, et al.

Complainants asse1i claim 9 of the '127 patent, which depends from claim 7.

       C.       The Accused Products

       Complainants accuse certain Apple Watches of infringing the Asse1ied Patents, including

the Apple Watch Series 6, the Apple Watch Series 7, and ce1iain prototype Apple Watch



                                                  13

                                            Stay-Add-43
             Case: 24-1285        Document:
                                     PUBLIC7 VERSION
                                               Page: 95           Filed: 12/26/2023

                  CONFIDENTIAL INFORMATION REDACTED

products with project names                           (collectively, the “Accused Products”).

CPHBr. at 37–39. The parties have stipulated that the Accused Products are materially identical

for the purposes of infringement in this investigation. See Joint Stipulation of Facts at ¶¶ 11–13,

EDIS Doc. ID 770692 (May 13, 2022); CX-1259C at ¶¶ 7–8. Notably, the parties do not dispute

that the currently-existing Apple Watch Series SE does not infringe the Asserted Patents because

it is not equipped to measure the blood oxygen saturation of a user.

       D.      The Domestic Industry Products

       With respect to the ’501, ’502, ’648, and ’745 patents, Complainants rely on their

“Masimo Watch” products. CPHBr. at 26–35. These Masimo Watch products include certain

prototypes identified as the “Circle Sensor” (CPX-0021C), the “Wings Sensor” (CPX-0029C),

the “RevA Sensor” (CPX-0052C), the “RevD Sensor” (CPX-0058C), the “RevE Sensors” (CPX-

0019C, CPX-0020C, CPX-0065C) (collectively, the “Masimo Watch Prototypes”), and a product

identified as the “W1 Watch” (CPX-0146C). CPHBr. at 30–35. The Masimo Watch Prototypes

were developed as part of an iterative design process that resulted in the W1 Watch, which was

not completed until after the Complaint was filed. Id. at 62 n.16, 18.

       With respect to the ’127 patent, Complainants rely on certain of Masimo’s “Rainbow®

Sensors.” Id. at 36.

III.   COMMISSION REVIEW OF THE FINAL ID

       When the Commission reviews an initial determination, in whole or in part, it reviews the

determination de novo. Certain Soft-Edged Trampolines & Components Thereof, Inv. No. 337-

TA-908, Comm’n Op. at 4 (May 1, 2015). Upon review, the “Commission has ‘all the powers

which it would have in making the initial determination,’ except where the issues are limited on

notice or by rule.” Certain Flash Memory Circuits & Prods. Containing Same, Inv. No. 337-

TA-382, USITC Pub. No. 3046, Comm’n Op. at 9–10 (July 1997) (quoting Certain Acid-Washed

                                                14

                                           Stay-Add-44
             Case: 24-1285         Document:
                                      PUBLIC7 VERSION
                                                Page: 96            Filed: 12/26/2023




Denim Garments & Accessories, Inv. No. 337-TA-324, Comm’n Op. at 5 (Nov. 1992)). With

respect to the issues under review, “the Commission may affirm, reverse, modify, set aside or

remand for further proceedings, in whole or in part, the initial determination of the administrative

law judge.” 19 C.F.R. § 210.45(c). The Commission also “may take no position on specific

issues or portions of the initial determination,” and “may make any findings or conclusions that

in its judgment are proper based on the record in the proceeding.” Id.; see also Beloit Corp. v.

Valmet Oy, 742 F.2d 1421, 1423 (Fed. Cir. 1984).

IV.    ANALYSIS OF THE ISSUES UNDER REVIEW

       The Commission’s findings, conclusions, and supporting analysis follow. The

Commission affirms and adopts the ID’s findings, conclusions, and supporting analysis that are

not inconsistent with the Commission’s opinion.

       A.      Subject Matter Jurisdiction

       The Final ID found that the Commission has “subject matter jurisdiction over this

investigation.” Final ID at 336. The Commission reviewed this finding. 88 Fed. Reg. at 32244.

On review, the Commission vacates the Final ID’s “subject matter jurisdiction” finding and

instead finds that the Commission has statutory authority, rather than subject matter jurisdiction,

over the present investigation. See Certain Video Security Equipment & Sys., Related Software,

Components Thereof, & Prods. Containing Same, Inv. No. 337-TA-1281, Comm’n Op. at 9–10

(Apr. 19, 2023). The Commission and ALJs have used the term “jurisdiction” in the past as a

shorthand for statutory authority. Executive agencies, of course, do not have jurisdiction, but

rather are creatures of statute that cannot exceed their statutory authority.




                                                  15

                                            Stay-Add-45
              Case: 24-1285         Document:
                                       PUBLIC7 VERSION
                                                 Page: 97           Filed: 12/26/2023




         B.     Obviousness of the Asserted Claims of the ’501 Patent, the ’502 Patent, and
                the ’648 Patent

         The Final ID found that claim 12 of the ’501 patent would have been invalid as obvious

over combinations of references primarily based on “Lumidigm,”15 but claims 22 and 28 of

the ’502 patent and claims 12, 24, and 30 of the ’648 patent would not have been invalid as

obvious over those combinations. E.g., Final ID at 88, 336. The Commission reviewed this

finding. 88 Fed. Reg. at 32244. On review, the Commission affirms the Final ID’s conclusions

as to obviousness with the modifications and supplements discussed herein.

                        The Applicable Law

         A party cannot be held liable for infringement if the asserted patent claim is invalid. See

Pandrol USA, LP v. AirBoss Ry. Prods., Inc., 320 F.3d 1354, 1365 (Fed. Cir. 2003). Patent

claims are presumed valid (35 U.S.C. § 282), so a respondent challenging validity must

overcome this statutory presumption by “clear and convincing” evidence of invalidity.

Checkpoint Sys., Inc. v. Int’l Trade Comm’n, 54 F.3d 756, 761 (Fed. Cir. 1995). One such

ground for invalidity is that the claimed invention would have been obvious under 35 U.S.C.

§ 103.

         Under 35 U.S.C. § 103(a), a patent is valid unless “the differences between the subject

matter sought to be patented and the prior art are such that the subject matter as a whole would

have been obvious at the time the invention was made” to a person having ordinary skill in the

art. 35 U.S.C. § 103(a). The ultimate question of obviousness is a question of law, but “it is well

understood that there are factual issues underlying the ultimate obviousness decision.”




         15
         U.S. Patent No. 7,620,212 (RX-0411), titled “Electro-Optical Sensor,” which issued
from an application filed on August 12, 2003.

                                                  16

                                            Stay-Add-46
               Case: 24-1285        Document:
                                       PUBLIC7 VERSION
                                                 Page: 98            Filed: 12/26/2023




Richardson-Vicks Inc. v. Upjohn Co., 122 F.3d 1476, 1479 (Fed. Cir. 1997) (citing Graham v.

John Deere Co., 383 U.S. 1, 17 (1966)).

       After claim construction:

             The second step in an obviousness inquiry is to determine whether the
             claimed invention would have been obvious as a legal matter, based on
             underlying factual inquiries including: (1) the scope and content of the
             prior art, (2) the level of ordinary skill in the art, (3) the differences
             between the claimed invention and the prior art, and (4) secondary
             considerations of non-obviousness.

Smiths Indus. Med. Sys., Inc. v. Vital Signs, Inc., 183 F.3d 1347, 1354 (Fed. Cir. 1999) (citing

Graham, 383 U.S. at 17). The existence of secondary considerations, or objective indicia of non-

obviousness, does not control the obviousness determination, because a court (and the

Commission) must consider “the totality of the evidence” before reaching a decision on

obviousness. Richardson-Vicks, 122 F.3d at 1483.

         The Supreme Court clarified the obviousness inquiry in KSR Int’l Co. v. Teleflex Inc.,

 550 U.S. 389 (2007). There, the Supreme Court said:

             When a work is available in one field of endeavor, design incentives and
             other market forces can prompt variations of it, either in the same field or
             a different one. If a person of ordinary skill can implement a predictable
             variation, § 103 likely bars its patentability. For the same reason, if a
             technique has been used to improve one device, and a person of ordinary
             skill in the art would recognize that it would improve similar devices in
             the same way, using the technique is obvious unless its actual application
             is beyond his or her skill. Sakraida16 and Anderson’s-Black Rock17 are
             illustrative—a court must ask whether the improvement is more than the
             predictable use of prior art elements according to their established
             functions.

             Following these principles may be more difficult in other cases than it is
             here because the claimed subject matter may involve more than the simple


       16
            Sakraida v. Ag Pro, Inc., 425 U.S. 273 (1976).
       17
            Anderson’s-Black Rock, Inc. v. Pavement Salvage Co., 396 U.S. 57 (1969).

                                                  17

                                             Stay-Add-47
               Case: 24-1285        Document:
                                       PUBLIC7 VERSION
                                                 Page: 99            Filed: 12/26/2023




             substitution of one known element for another or the mere application of a
             known technique to a piece of prior art ready for the improvement. Often,
             it will be necessary for a court to look to interrelated teachings of multiple
             patents; the effects of demands known to the design community or present
             in the marketplace; and the background knowledge possessed by a person
             having ordinary skill in the art, all in order to determine whether there was
             an apparent reason to combine the known elements in the fashion claimed
             by the patent at issue. To facilitate review, this analysis should be made
             explicit.

                                                  ...

             The obviousness analysis cannot be confined by a formalistic conception
             of the words teaching, suggestion, and motivation, or by overemphasis on
             the importance of published articles and the explicit content of issued
             patents. The diversity of inventive pursuits and of modern technology
             counsels against limiting the analysis in this way. In many fields it may
             be that there is little discussion of obvious techniques or combinations,
             and it often may be the case that market demand, rather than scientific
             literature, will drive design trends. Granting patent protection to advances
             that would occur in the ordinary course without real innovation retards
             progress and may, in the case of patents combining previously known
             elements, deprive prior inventions of their value or utility.

KSR, 550 U.S. at 417–19.

       The Federal Circuit has since held that when a patent challenger contends that a patent is

invalid for obviousness based on a combination of several prior art references, “the burden falls

on the patent challenger to show by clear and convincing evidence that a person of ordinary skill

in the art would have had reason to attempt to make the composition or device, or carry out the

claimed process, and would have had a reasonable expectation of success in doing so.”

PharmaStem Therapeutics, Inc. v. ViaCell, Inc., 491 F.3d 1342, 1360 (Fed. Cir. 2007) (citations

omitted).

             The TSM18 test, flexibly applied, merely assures that the obviousness test
             proceeds on the basis of evidence—teachings, suggestions (a tellingly
             broad term), or motivations (an equally broad term)—that arise before the


       18
            “TSM” is an acronym for “teaching, suggestion, or motivation.”

                                                   18

                                             Stay-Add-48
            Case: 24-1285        Document:
                                     PUBLIC7 VERSION
                                               Page: 100           Filed: 12/26/2023




           time of invention as the statute requires. As KSR requires, those
           teachings, suggestions, or motivations need not always be written
           references but may be found within the knowledge and creativity of
           ordinarily skilled artisans.

Ortho-McNeil Pharm., Inc. v. Mylan Labs., Inc., 520 F.3d 1358, 1365 (Fed. Cir. 2008).

                      Introduction

                      a.      Lumidigm

       Lumidigm is titled “Electro-Optical Sensor.” See RX-0411 (Lumidigm). Lumidigm’s

Abstract is reproduced below:

           Methods and systems are provided that extend the functionality of electro-
           optical sensors. A device has . . . multiple light sources, a light detector,
           and a processor configured to operate the light sources and the light
           detector to perform distinct functions. At least one of the distinct
           functions includes a biometric identification function in which light is
           propagated from the plurality of light sources through presented material.
           The propagated light is received with the light detector, with the presented
           material being identified from the received light. Another of the distinct
           functions includes a nonidentification function performed with the light
           sources and the light detector.

RX-0411 (Lumidigm) at Abstract.

       Figure 2 of Lumidigm is reproduced below:




RX-0411 (Lumidigm) at Fig. 2. Figure 2 depicts a “cross-sectional view of a biometric sensor

element couple[d] to a tissue surface showing multiple mean optical paths.” Id. at 4:45–47.

                                                19

                                           Stay-Add-49
            Case: 24-1285        Document:
                                     PUBLIC7 VERSION
                                               Page: 101          Filed: 12/26/2023




Sensor head 32 includes light sources 41, 43, 45, 47, 49, and 51 and detector 36. Id. at 7: 5–10.

These light sources correspond to the claimed “LEDs,” and detector 36 corresponds to a claimed

“photodiode.” Optical paths 42, 44, 46, 48, 50, and 52 show light passing through tissue 40 of a

user. Id. Sensor head 32 is formed of optically opaque material 37, corresponding to the

claimed “opaque material.”

       Figures 6 and 7A of Lumidigm are reproduced below:




RX-0411 (Lumidigm) at Figs. 6 and 7A. Figures 6 and 7A illustrate top-views of biometric

sensors according to two embodiments of the invention. Id. at 4:60–67. In Figure 6, biometric

sensor 80 includes light sources/LEDs 82, 84, and 86 positioned relative to detectors/photodiodes




                                                20

                                          Stay-Add-50
            Case: 24-1285         Document:
                                      PUBLIC7 VERSION
                                                Page: 102         Filed: 12/26/2023




81, 83,19 and 85. Id. at 9:14–17. In Figure 7A, biometric sensor 91 includes four rows of light

sources/LEDs 93 and one row of detectors/photodiodes 95. Id. at 9:27–30.

       Figure 8B, reproduced below, depicts a wrist-watch embodiment:




RX-0411 (Lumidigm) at Fig. 8B (depicting biometric system 110 including wristwatch 112,

biometric reader 111, illumination system 104, and detection/diode system 106).

                      b.      Summary of the Commission’s Conclusions

       As noted above, the Final ID found that claim 12 of the ’501 patent would have been

invalid as obvious over combinations of references primarily based on Lumidigm, but claims 22

and 28 of the ’502 patent and claims 12, 24, and 30 of the ’648 patent would not have been

invalid as obvious over those combinations. E.g., Final ID at 88, 336. The Commission

reviewed this finding. 88 Fed. Reg. at 32244.

       On review, the Commission affirms the Final ID’s findings as to prima facie obviousness

of claim 12 of the ’501 patent in its entirety. See Final ID at 89–113. Secondary considerations

are discussed separately below.



       19
         The item number “82” for the dark circle at approximately 2 o’clock of Figure 6 is a
typographical error. It is apparent that that item number was intended to be “83.”

                                                21

                                          Stay-Add-51
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 103           Filed: 12/26/2023




       Regarding claim 28 of the ’502 patent and claims 12, 24, and 30 of the ’648 patent, these

claims recite, inter alia, a “user-worn device” comprising (1) “four photodiodes,” (2) a

“protrusion,” (3) an “opening” or “through hole” “extending through” or “provided through” the

protrusion and “aligned with” or “over” each of the four photodiodes, and (4) a separate

“transmissive window” or “optically transparent material” “extending across” or “arranged over”

each of the openings or though holes. See JX-0002 (’502 patent) at claim 28, elements [28C],

[28E], [28F], and [28G]; JX-0003 (’648 patent) at claim 12, elements [8C], [8D], [8E], and [8F],

and claims 24 and 30, elements [20B], [20C], and [20D]. Claim 22 of the ’502 patent is similar,

but more narrowly requires that an “optically transparent material” be included “within each of

the openings.” See JX-0002 (’502 patent) at claim 22, elements [19B], [19C], and [19D].

       The Commission concludes that Lumidigm and combinations of references therewith

teach or suggest (1) the four photodiodes, and (2) the protrusion, but the combinations of

references do not teach or suggest (4) a separate transmissive window or optically transparent

material within, extending across, or over each of the openings or though holes. The

Commission, however, takes no position on the Final ID’s finding that the combinations of

references do not teach or suggest (3) an opening or through hole extending through or provided

through the protrusion and aligned with or over each of the four photodiodes. See Beloit, 742

F.2d at 1423. In doing so, the Commission slightly modifies the Final ID, as discussed below.

       Regarding claims 22 and 28 of the ’502 patent and claims 12, 24, and 30 of the ’648

patent, these claims also recite, inter alia, various limitations directed at the claimed user-worn

devices being configured to measure the oxygen saturation of the user. JX-0002 (’502 patent) at

claim 22, elements [19PRE] and [19E], and at claim 28, elements [28PRE], [28I], [28J], and




                                                 22

                                           Stay-Add-52
              Case: 24-1285        Document:
                                       PUBLIC7 VERSION
                                                 Page: 104            Filed: 12/26/2023




[28K]; JX-0003 (’648 patent) at claim 12, elements [12], and claims 24 and 30, element [20E].20

The Final ID found that neither Lumidigm nor combinations therewith teach or suggest these

claim limitations. See Final ID at 113–18, 124, 128, 132–33, 140, 142. The Final ID also found

that element [24] of claim 24 of the ’648 patent was not taught or suggested by Lumidigm or

combinations of references therewith. See id. at 142–44. The Commission affirms these

findings for the reasons given in the Final ID.

        Regarding the Final ID’s analysis of objective indicia of non-obviousness, the

Commission alters the Final ID’s findings as to commercial success, and it does so by affirming

those findings with the modifications discussed below.

        Because the Commission modifies or supplements the Final ID’s findings as to the prima

facie obviousness and/or secondary considerations of these claims, the Commission evaluates

anew (1) the scope and content of the prior art, (2) the level of ordinary skill in the art, (3) the

differences between the claimed invention and the prior art, and (4) secondary considerations of

non-obviousness, to determine whether Apple has shown by clear and convincing evidence that

these claims are invalid for obviousness. In doing so, the Commission concludes, as did the

Final ID, that claim 12 of the ’501 patent would have been invalid as obvious over combinations

of references primarily based on Lumidigm, but claims 22 and 28 of the ’502 patent and claims

12, 24, and 30 of the ’648 patent are not invalid as obvious over those combinations of

references.

        Below, the Commission provides its analysis regarding prima facie obviousness of the

above-mentioned structural limitations, and then discusses the objective evidence of non-



        20
           As the Final ID noted, the parties stipulated that the preambles of the asserted patents
are limiting. See Final ID at 180 n.66.

                                                  23

                                            Stay-Add-53
                Case: 24-1285      Document:
                                       PUBLIC7 VERSION
                                                 Page: 105          Filed: 12/26/2023




obviousness. Last, the Commission provides its analysis as to whether, in view of its underlying

findings, Apple has shown by clear and convincing evidence that the asserted claims of the

Poeze patents are invalid. In sum, the Commission concludes that Apple has not met its burden,

except with respect to claim 12 of the ’501 patent. The Commission affirms the Final ID as to

prima facie obviousness and secondary considerations over Lumidigm and combinations of

references therewith to the extent it is not modified or reversed herein.

                        Prima Facie Obviousness Over Lumidigm and Combinations
                        Therewith

                        a.       The “Openings” or “Through Holes” Limitations

       As noted above, the claims recite an “opening” or “through hole” “extending through” or

“provided through” the protrusion and “aligned with” or “over” each of the photodiodes. More

specifically, the claims recite (with added emphasis) as follows:

            •    Element [1D] of claim 12 of the ’501 patent: “a plurality of openings extending

                 through the protrusion and positioned over the three photodiodes.”

            •    Element [19C] of claim 22 of the ’502 patent: “a protrusion comprising a convex

                 surface21 including separate openings extending through the protrusion and lined

                 with opaque material, each opening positioned over a different one of the four

                 photodiodes.”

            •    Element [28F] of claim 28 of the ’502 patent: “a plurality of openings in the

                 convex surface, extending through the protrusion, and aligned with the four



       21
          The Commission affirms the Final ID’s finding that Lumidigm combined with prior art
knowledge teaches or suggests a “protrusion” having a “convex surface.” E.g., Final ID at 101–
03. The Final ID found that known ergonomic and contact benefits would provide persons of
ordinary skill in the art a reason to modify Lumidigm to include a convex surface, as argued by
Apple. See id.


                                                 24

                                            Stay-Add-54
               Case: 24-1285          Document:
                                          PUBLIC7 VERSION
                                                    Page: 106       Filed: 12/26/2023




                photodiodes, each opening defined by an opaque surface configured to reduce

                light piping.”

           •    Element [8E] of claim 12 of the ’648 patent: “a plurality of openings provided

                through the protrusion and the convex surface, the openings aligned with the

                photodiodes.”

           •    Element [20D] of claims 24 and 30 of the ’648 patent: “a plurality of through

                holes, each through hole including a window and arranged over a different one of

                the at least four photodiodes.”

                                 i.       The “Openings” in the “Three Photodiode” Claim
                                          (Claim 12 of the ’501 Patent)

       The Final ID first analyzed the “openings” limitations in its discussion of claim 12 of

the ’501 patent, which claims a “user-worn device” that, unlike the other asserted claims of the

Poeze patents, has “at least three photodiodes,” as opposed to “four photodiodes.” The

“openings” limitation of that claim is included in element [1D], which recites “a plurality of

openings extending through the protrusion and positioned over the three photodiodes.” See JX-

0001 (’501 patent) at claim 12, element [1D]. The Final ID found that Lumidigm teaches or

suggests this limitation, see Final ID at 104–06, contrary to its conclusions as to the four

photodiode claims, see id. at 120–21, 130, 139, 142.

       Before the ALJ, Apple argued that element [1D] of the ’501 patent was taught by

Lumidigm because Lumidigm expressly states that photodiode/detector 36 in Figure 2 (annotated

version provided below showing detector 36 in purple) “may comprise . . . a plurality of discrete

elements” and Figure 6 (annotated version also provided below) illustrates an embodiment

having three such detectors (also shown in purple). See RPHBr. at 76.




                                                  25

                                             Stay-Add-55
            Case: 24-1285              PUBLIC
                                   Document: 7 VERSION
                                                 Page: 107         Filed: 12/26/2023




                                                            40




                        51   49   47   36   45   43    41



                                   FIG. 2                                 FIG.6

RX-0411 (Lumidigm) at Fig. 2 and Fig. 6 (identifying light sources/LEDs 82, 84, and 86 and

detectors/photodiodes 81, 82 [sic],22 and 85). For their part, Complainants argued that element

[ID] was not met because Figure 2, which undisputedly shows a side view "opening" over a

single photodiode, is allegedly in no way linked to Figure 6, which shows a top-down view of

three photodiodes. See CPHBr. (Reply) at 48.

       The Final ID accepted Apple's arguments, reasoning that "Figure 2 co1Tesponds to the

source-detector anangement of Figure 3, and that ... anangement of three sources and three

detectors in Figure 6 is a disclosed alternative to Figure 3." See Final ID at 105-06. Figure 3 is

reproduced below.




       22 As noted above, item number 82 should be item number 83.




                                                  26

                                            Stay-Add-56
             Case: 24-1285           Document:
                                         PUBLIC7 VERSION
                                                   Page: 108         Filed: 12/26/2023




RX-0411 (Lumidigm) at Fig. 3 (depicting photodiodes/detectors 36 and LEDs/light sources 34).

The Final ID therefore determined that element [1D] was met. See id.

       No party petitioned for the Commission to review this finding, so the Commission has

determined to affirm this finding.

                               ii.       The Openings in the “Four Photodiode” Claims

       The Final ID found that the openings or through holes limitations in elements [19C] and

[28F] of the ’502 patent and elements [8E] and [20D] of the ’648 patent were not taught or

suggested by the prior art.

       Before the ALJ, Apple argued that Lumidigm explains that, for any of the “reflectance”

type sensor heads shown in its figures, reflected light on the top surface of the tissue can be

“detrimental” to optical measurements, and thus the detectors should be “recessed from the

sensor surface” in “optically opaque material” to “minimize[ ] the amount of light that can be

detected after reflecting off the first (epidermal) surface of the tissue” and to provide “optical

blocking.” RPHBr. at 72–74, 82–83 (quoting and citing RX-0411 (Lumidigm) at 7:64–8:1).

Apple further argued that a person of ordinary skill in the art would have understood that, for the




                                                 27

                                            Stay-Add-57
            Case: 24-1285        Document:
                                     PUBLIC7 VERSION
                                               Page: 109           Filed: 12/26/2023




embodiments with multiple photodiodes, the protrusion would include separate openings

positioned over each of the photodiodes. RPHBr. at 75–77, 83.

       The Final ID disagreed with Apple, finding that the evidence does not show that the

“array”-type detectors in Lumidigm relied upon by Apple for element [19B] of the ’502 patent

for identification of the “four photodiodes” would be formed with “separate openings” through

the protrusion for individual photodiodes in the array, as required by element [19C] of the ’502

patent. Final ID at 120–21 (citing RPHBr. at 82; CPHBr. at 143; CPHBr. (Reply) at 55). The

Final ID also rejected Apple’s argument that these limitations are obvious based on the

combination of Lumidigm with Cramer. E.g., Final ID at 121.

       Apple petitioned for the Commission to review these findings. RPet. at 21–26.

       The Commission has determined to take no position as to the openings or through holes

limitations of the asserted claims of the ’502 patent and ’648 patent. See Beloit, 742 F.2d at

1423. Specifically, the Commission has determined to take no position on the Final ID’s

findings as to the following “openings” and “through hole” limitations: (1) element [19C] of

claim 22 of the ’502 patent: “a protrusion comprising a convex surface including separate

openings extending through the protrusion and lined with opaque material, each opening

positioned over a different one of the four photodiodes”; (2) element [28F] of claim 28 of

the ’502 patent: “a plurality of openings in the convex surface, extending through the protrusion,

and aligned with the four photodiodes, each opening defined by an opaque surface configured to

reduce light piping”; (3) element [8E] of claim 12 of the ’648 patent: “a plurality of openings

provided through the protrusion and the convex surface, the openings aligned with the

photodiodes”; and (4) element [20D] of claims 24 and 30 of the ’648 patent: “a plurality of




                                                28

                                           Stay-Add-58
               Case: 24-1285       Document:
                                       PUBLIC7 VERSION
                                                 Page: 110         Filed: 12/26/2023




through holes, each through hole including a window and arranged over a different one of the at

least four photodiodes.”

       As explained below, the Commission affirms the Final ID’s findings that Lumidigm and

combinations therewith fail to teach or suggest several other limitations in claims 22 and 28 of

the ’502 patent and claims 12, 24, and 30 of the ’648 patent. The Commission therefore takes no

position on whether Lumidigm, or Lumidigm in combination with other prior art references,

discloses the openings or through holes limitations of the ’502 and ’648 patents.

                       b.        The “Transmissive Window” or “Optically Transparent
                                 Material” Limitations

       The asserted claims of the ’502 and ’648 patents also recite a separate “transmissive

window” or “optically transparent material” “within,” “extending across,” or “arranged over”

each of the “openings” or “though holes.” More specifically, the claims recite as follows:

           •    Element [19D] of claim 22 of the ’502 patent: “optically transparent material

                within each of the openings.”

           •    Element [28G] of claim 28 of the ’502 patent: “a plurality of transmissive

                windows, each of the transmissive windows extending across a different one of

                the openings.”

           •    Element [8F] of claim 12 of the ’648 patent: “a separate optically transparent

                window extending across each of the openings.”

           •    Element [20D] of claims 24 and 30 of the ’648 patent: “each through hole

                including a window and arranged over a different one of the at least four

                photodiodes.”

       The Final ID found that the “extending across” and “arranged over” limitations (element

[28G] of claim 28 of the ’502 patent, element [8F] of claim 12 of the ’648 patent, and element


                                                29

                                           Stay-Add-59
             Case: 24-1285            Document:
                                          PUBLIC7 VERSION
                                                    Page: 111          Filed: 12/26/2023




[20D] of claims 24 and 30 of the ’648 patent) were taught by Lumidigm or combinations

therewith, but that the “within” limitation (element [19D] of claim 22 of the ’502 patent) was

not. See Final ID at 130 (element [28G] of claim 28 of the ’502 patent), 139 (element [8F] of

the ’648 patent), 142 (element [20D] of claims 24 and 30 of the ’648 patent), 121–24 (element

[19D] of claim 22 of the ’502 patent).

        As discussed below, on review, the Commission finds that none of these limitations are

taught by Lumidigm or combinations therewith.

                                 i.       Element [19D] of Claim 22 of the ’502 Patent

                                          a)       The Final ID

        With respect to element [19D] of the ’502 patent (an “optically transparent material within

each of the openings”), Apple identified as the “optically transparent material” Lumidigm’s

disclosure of an “optical relay” positioned “between the sensor surface 39 and the skin 40” that

“transfers the light . . . from the skin back to the detector(s).” RPHBr. at 84–85; RX-0411

(Lumidigm) at 8:19–23; Final ID at 121. Lumidigm provides examples of “optical relays,” including

“fiber-optic face plates and tapers, individual optical fibers and fiber bundles, light pipes and

capillaries, and other mechanisms known to one of skill in the art.” RX-0411 (Lumidigm) at 8:23–

26; see also Final ID at 121–22. Apple relied on Dr. Warren’s testimony that one of ordinary skill in

the art would have understood an “optical relay” to be an optically transparent material. RPHBr. at

84–85; Final ID at 122; Tr. (Warren23) at 1221:16–1222:25. Apple further argued that these

limitations would be obvious because the use of optically transparent materials within openings




        23
          Steven Warren was admitted as an Apple expert witness in biomedical engineering,
medical monitoring systems, biomedical instrumentation, biomedical optics, light issue
interaction, diagnostic systems, wearable sensors, and biomedical signal processing. E.g., Final
ID at 6–7.

                                                   30

                                               Stay-Add-60
            Case: 24-1285         Document:
                                      PUBLIC7 VERSION
                                                Page: 112          Filed: 12/26/2023




over photodiodes and the use of transmissive or transparent windows arranged over or extending

across openings over photodiodes was well-known at the time of the Poeze patents. RPHBr. at

111–13; Tr. (Warren) at 1193:23–1194:14, 1221:16–1222:9; RDX-8C at .11 (citing, inter alia,

RX-0670 (Cramer24); RX-0665 (Nippon25); RX-0666 (Seiko 13126); RX-1221 (CLT 216027); see

also Final ID at 122–23. According to Apple, a person of ordinary skill in the art would have

been motivated to combine Lumidigm’s wristwatch with teachings from Seiko 131 and Cramer

because “(1) Lumidigm expressly states that its sensor can include an optical relay; and (2) a

[person of ordinary skill in the art] would have independently looked to literature like Seiko 131

and Cramer for this element as the benefits were well-known.” RPHBr. at113. Those alleged

benefits are protecting the photodiodes from dirt and helping to transfer light. E.g., RResp. at

17–18 (citing Tr. (Warren) at 1193:24–1194:14, 1221:16–1222:9).

       For their part, Complainants argued that Lumidigm’s disclosure of an “optical relay”

does not meet the “optically transparent material” limitation and, in any event, is not disclosed in

connection with Lumidigm’s wristwatch embodiment. CPHBr. at 138–39 (citing Tr.




       24
         U.S. Patent No. 4,224,948, titled “Wrist Borne Pulse Meter/Chronometer,” issued to
Frank B. Cramer, et al., on September 30, 1980, from an application filed on November 24, 1978
(RX-0670).
       25
         U.S. Patent No. 4,880,304, titled “Optical Sensor for Pulse Oximeter,” issued to
Jonathan P. Jaeb, et al., on November 14, 1989, from an application filed on April 1, 1987 (RX-
0665). The face of the patent indicates that Nippon is assigned to Nippon Colin Co., Ltd.
       26
          U.S. Patent No. 5,766,131, titled “Pulse-Wave Measuring Apparatus,” issued to Yutaka
Kondo, et al., on June 16, 1998, from an application filed on July 30, 1996 (RX-0666). The face
of the patent indicates that Seiko 131 is assigned to Seiko Epson Corporation and Seiko
Instruments, Inc.
       27
          “CLT 2160” is a datasheet introduced by Apple. RX-1221. The Final ID found the
datasheet to be reliable evidence. Final ID at 109 n.38.

                                                 31

                                           Stay-Add-61
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 113           Filed: 12/26/2023




(Madisetti28) at 1330:2–5); see also Final ID at 123. Complainants further argued that Seiko 131

fails to disclose multiple openings or optically transparent material within multiple openings.

CPHBr. at 148–49; see also Final ID at 123. Complainants further argued that, with respect to

Cramer, the alleged windows are between the annular rings and are not “within” the openings.

CPHBr. at 146–47; see also Final ID at 123.

       The Final ID found that Lumidigm clearly discloses “optically transparent material” over

openings associated with photodiodes, but that the evidence does not clearly and convincingly

show a reason to incorporate such material “within” each opening. Final ID at 123. According

to the Final ID, Lumidigm describes an optical relay that is comprised of optically transparent

material. Id. at 123 (citing RX-0411 (Lumidigm) at 8:19–26; Tr. (Warren) at 1221:16–1222:25).

However, the Final ID found that the optical relay is not “within” the opening depicted in Figure

2, rather, it is located “between the sensor surface 39 and the skin 40.” Id. (quoting RX-0411

(Lumidigm) at 8:19–26) (citing RX-0411 (Lumidigm) at Fig. 2).

       The Final ID likewise found that Seiko 131 similarly discloses a “light transmittance

plate” that is positioned above its sensor, but that plate is not “within” any opening. Id. at 123

n.47 (citing RX-0666 (Seiko 131), at 10:30–32). And the Final ID also found that Cramer

discloses annular windows, but those windows do not appear to be associated within “each”

opening. Id. (citing Tr. (Warren) at 1234:22–1235:12; RDX-8C at .73; RX-0670 (Cramer) at

Fig. 6). The Final ID added that “Apple appears to have identified transparent windows within

an opening in Cramer’s preferred photodiode, the CLT 2160, but did not provide a clear and

convincing reason to modify Lumidigm to include such material within the openings or to



       28
           Vijay Madisetti is Complainants’ expert witness and was admitted as an expert in the
field of physiological monitoring technologies. Final ID at 6.

                                                 32

                                           Stay-Add-62
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 114           Filed: 12/26/2023




incorporate the CLT 2160 photodiode in Lumidigm.” Id. at 123–24 (citing RX-0670 (Cramer) at

5:33–35, Fig. 6; RX-1221 (CLT 2160); RPHBr. at 112–13).

       Apple petitioned for review of the Final ID’s findings regarding Lumidigm alone and

Lumidigm combined with Cramer. See RPet. at 96–97.

                                         b)      Apple’s Petition

       Regarding Lumidigm alone, Apple’s petition argued that Lumidigm teaches an optical

relay to “transfer[ ] the light from the light sources to the skin and from the skin back to the

detector(s) while minimizing light loss and spreading.” RPet. at 96 (quoting RX-0411

(Lumidigm) at 8:19–26) (citing Tr. (Warren) at 1221:16–1222:25, 1235:14–1236:2). Apple

further asserted that a person of ordinary skill in the art would have understood that an optical

relay could be added to Lumidigm’s sensor. Id. (citing RX-0411 (Lumidigm) at 8:19–26, Fig. 2;

Tr. (Warren) at 1221:16–1222:25). Apple further argued that a person of ordinary skill in the art

would have further understood that the optical relay could be placed over or within the openings

to “transfer light” from the tissue to the photodiodes and “protect the detector from dust and

debris and dirt.” Id. (citing Tr. (Warren) at 1193:24–1194:7, 1221:16–1222:16).

       Regarding Lumidigm in combination with Cramer, Apple argued that the “use of

optically transparent materials extending across or within opening[s] associated with photodiodes

was well known in the art prior to 2008 and taught by Lumidigm.” RPet. at 97 (citing Tr.

(Warren) at 1221:16–1222:9, 1193:24–1194:14; RX-0411 (Lumidigm) at 8:19–26, Fig. 2).

Apple added that a person of ordinary skill in the art:

           would have naturally looked to other references in the field to improve on
           Lumidigm’s teachings and would recognize the CLT 2160 taught by
           Cramer as a “can” detector and would understand that each can would
           include a lens at the top end of the can, that the detector would be
           positioned inside the can at the focal point of the lens, and that there
           would be a gap between the detector and the lens, creating an opening
           between the detector and the lens.
                                                  33

                                              Stay-Add-63
            Case: 24-1285         Document:
                                      PUBLIC7 VERSION
                                                Page: 115          Filed: 12/26/2023




Id. (citing RX-0670 (Cramer) at Fig 6; Tr. (Warren) at 1231:23–1232:9, 1234:3–8, 1234:22–

1235:12). Thus, according to Apple, a person of ordinary skill in the art would have been

motivated to combine Lumidigm with Cramer because “Lumidigm expressly teaches the benefits

of transparent material within openings over photodiodes and, more generally, because the

benefits were well known.” Id. (citing Tr. (Warren) at 1235:14–1236:2).

                                        c)      Complainants’ Response

       In response, Complainants argued that the evidence refutes Apple’s argument that

Lumidigm alone teaches or suggests that the optical relay would be within the opening. CResp.

at 95 (citing RX-0411 (Lumidigm) at 8:19–26, Fig. 2; Tr. (Madisetti) at 1330:2–5, 1343:1–4; Tr.

(Warren) at 1221:16–1221:25) (emphasis added); Final ID at 123–24. Complainants presented a

similar argument regarding the combination of Lumidigm with Cramer. See id. (citing RX-0411

(Lumidigm) at 8:19–26, Fig. 2; RX-0670 (Cramer) at Fig. 6; Tr. (Madisetti) at 1330:2–5,

1334:15–1335:25, 1343:1–4; Tr. (Warren) at 1221:16–1221:25, 1235:24–1236:2); Final ID at

123–24 (including n.47). Complainants further pointed out that the USPTO, in denying

institution of Apple’s IPR petitions, found that “none of the prior art on which [Apple] relies[,

including Lumidigm,] discloses a convex protrusion with multiple openings or windows for

multiple detectors.” Id. at 95–96 (citing CResp. Appx. A, at 17; Appx. B, at 16; Appx. C, at 16)

(emphasis omitted).

       Relatedly (but more specifically directed to element [28G] of claim 28 of the ’502

patent),29 Complainants argue that Apple’s witness, Dr. Warren, testified only about what a



       29
           Recall that that claim language recites: “a plurality of transmissive windows, each of
the transmissive windows extending across a different one of the openings.” This language
differs from that of element [19D] of claim 22 of the ’502 patent only in that it does not require
the window or optically transparent material to be “within” the through holes or openings.

                                                 34

                                             Stay-Add-64
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 116           Filed: 12/26/2023




person of ordinary skill in the art could do, and not what such a person would have been

motivated to do or have a reason to do. E.g., CPet. (Summary) at 3 (citing Final ID at 131); see

also CPet. at 23–24. Complainants argued that Apple provided no evidence that a person of

ordinary skill in the art “would have modified Lumidigm’s face plate into multiple windows with

a reasonable expectation of success ([RPHBr.] at 84–85), and the [Final] ID made no findings

regarding reasonable expectation of success for such a modification.” CPet. (Summary) at 3

(citing Final ID at 131) (emphasis added); see also CPet. at 23–24.

                                        d)      Analysis

       The Commission has determined to affirm and adopt the Final ID’s findings and

conclusion that neither Lumidigm nor a combination of Lumidigm and other prior art teaches or

suggests an “optically transparent material within each of the openings.” Final ID at 121–24.

The Commission has considered Apple’s arguments that the Final ID erred as to this limitation

and finds them unpersuasive.

       The Commission has further determined to supplement the Final ID. Beyond the prior art

not teaching or suggesting the optically transparent material within each of the openings, Apple

failed to show that the prior art provides a reason to use a separate optically transparent material

or window for each of the separate openings or through holes. See CPet. at 23–24. First, none of

the prior art cited by Apple teaches or suggests separate optically transparent materials (or

windows), and Apple has not shown by clear and convincing evidence that a person of ordinary

skill at the time of the claimed inventions would have arrived at these limitations, as claimed.

Apple acknowledges that Lumidigm does not teach the separate optically transparent materials

(or windows). E.g., RResp. at 18–19 (relying on knowledge in the art to modify Lumidigm to

arrive at separate windows). Moreover, neither Cramer nor Seiko 131 disclose the separate

optically transparent materials (or windows). As the Final ID properly found, Apple has failed to
                                                 35

                                             Stay-Add-65
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 117           Filed: 12/26/2023




clearly and convincingly show that Cramer teaches or suggests a protrusion with separate

openings or through holes over separate photodiodes. See Final ID at 103 n.36; CPHBr. at 144–

46; Tr. (Warren) at 1231:18–22; Tr. (Madisetti) at 1334:23–1335:2. Thus, Cramer cannot teach

separate optically transparent materials (or windows) within (or over or extending across) the

claimed separate openings or through holes. Additionally, Complainants correctly point out that

Seiko 131 discloses only a singular phototransistor and light transmittance plate and thus does

not teach the separate optically transparent materials (or windows) within (or over or extending

across) the claimed separate openings or through holes. See CPHBr. at 148–50. CLT 2160

similarly discloses only a single window and photodiode. See RX-1221 (CLT 2160).

       Second, Apple has not shown by clear and convincing evidence that, at the time of the

claimed inventions, a person of ordinary skill in the art would have had a reason to use a separate

optically transparent material (or window) within (or over or extending across) each of the

separate openings (or through holes). As Complainants point out, Dr. Warren testified only

about what a person of ordinary skill in the art could do, not what such a person would do. See

CPet. (Summary) at 3; CPet. at 23–24; see also RPet. at 96–97 (discussing and citing Dr.

Warren’s testimony); Tr. (Warren) at 1193:24–1194:14 (stating only that windows were well

known); id. at 1221:16–1222:25 (stating only a person of ordinary skill in the art “could use” an

individual faceplate for each of the individual openings (emphasis added)); id. at 1235:24–

1236:2 (stating that a person of ordinary skill in the art “would have known that windows could

be used” (emphasis added)). Apple’s asserted motivation for including the optical relay

(allowing for the transfer of light and to protect the detector from dust and dirt), could be

obtained with a single optically transparent material (or window) over the surface, as opposed to

separate optically transparent materials (or windows). And, Apple’s “convoluted combination of



                                                 36

                                           Stay-Add-66
            Case: 24-1285         Document:
                                      PUBLIC7 VERSION
                                                Page: 118          Filed: 12/26/2023




modifications” is driven by improved contact and comfort from the claimed “convex surface,”

yet Apple has not shown why that improved contact and comfort would remain with the further

modification to have multiple distinct openings and windows. See Apple Inc. v. Masimo Corp.,

IPR2022-01274 (available at CResp. at Appx. C) (discussed below); Final ID at 101–03 (finding

that a person of ordinary skill in the art would be motivated to implement a convex surface to

obtain better contact and comfort). Moreover, as noted above, neither Cramer nor Seiko 131

teach the separate optically transparent material (or windows), and Apple points to no specific

teachings of those references, or any other reference, that suggests using separate optically

transparent materials (or windows). Apple has thus failed to present clear and convincing

evidence that a person of ordinary skill in the art would have implemented Lumidigm’s “optical

relay” as separate optically transparent materials (or windows) within (or over or extending

across) each of the separate openings (or through holes), as opposed to a single optical relay

covering the entire convex surface. See, e.g., RResp. at 17–19; RPet. at 96–97; Final ID at 121–

24.

       Although not binding on the Commission,30 the Commission notes that its decision

herein is consistent with the USPTO’s denial of Apple’s petitions for an IPR to review claims 1–

30 of the ’502 patent over combinations of references where Lumidigm serves as the primary

reference. See generally Apple Inc. v. Masimo Corp., IPR2022-01274 (available at CResp. at




       30
          See, e.g., Certain Hybrid Electric Vehicles & Components Thereof, Inv. No. 337-1042,
Notice of Investigation at 1 (Mar. 7, 2017) (Commission instituting investigation over proposed
Respondents’ objection that asserted claims had been found unpatentable in IPR proceedings and
were on appeal to Federal Circuit).

                                                37

                                           Stay-Add-67
               Case: 24-1285       Document:
                                       PUBLIC7 VERSION
                                                 Page: 119            Filed: 12/26/2023




Appx. C). There, Apple argued that based on the combined teachings of Lumidigm and

“Kotanagi”31 the following figures emerge:




Id. at 15.

        In this investigation, Apple’s Lumidigm-based theories of obviousness rely on the same

modified version of Lumidigm. In denying institution, the USPTO agreed with Complainants

that “none of the prior art on which [Apple] relies discloses a convex protrusion with multiple

openings or windows for multiple detectors,” and that Apple “simply does not explain

adequately why such configuration results from the actual teachings of the prior art.” Id. at 16;

see also id. at 16–19. The USPTO reasoned that, “[w]ithout the guidance provided by the claims

of the ’502 patent, it is difficult to conclude that [Apple’s] postulation as to a particular structure




        31
             PCT Application No. WO 2005/092182.

                                                  38

                                            Stay-Add-68
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 120           Filed: 12/26/2023




that results from combining the teachings of Lumidigm [and the other prior art] is based on an

objective assessment of what those teachings would have conveyed to a skilled artisan.” Id. at

16. In other words, Apple’s arguments there were “grounded in hindsight rather than based on

due consideration of the teachings of the pertinent prior art.” Id. at 19. The same is true here.

       While Apple alleges that both the evidentiary record and the obviousness theory before

the USPTO and the Commission are different, see RResp. at 17 n.4, there are no notable

differences. The above-shown modification of Lumidigm presented to the USPTO is based

almost entirely on Lumidigm, see Apple, IPR2022-01274 at 16–19 (available at CResp. at Appx.

C), as is Apple’s Lumidigm-based obviousness theory in this investigation. And while Apple

relied on Kotanagi for the “convex surface” modification of Lumidigm before the USPTO (as

opposed to other knowledge in the prior art, as it does before the Commission), Apple relied on

the same reason for that modification of Lumidigm both before the USPTO and here—“better

contact” and “comfort.” Compare id. at 16–17, with Final ID at 99, 101–02 (incorporating

ergonomic features and optical and mechanical coupling). Accordingly, the Commission’s

rejection of Apple’s Lumidigm-based theory for the obviousness of claim 22 of the ’502 patent is

consistent with the USPTO’s denial of Apple’s petition to institute an IPR over combinations of

references involving Lumidigm.32




       32
           Complainants assert that the USPTO’s denial of the institution of Apple’s petition for
an IPR over Lumidigm-based combinations of references as to the claims of the ’501 patent
suggests that the Commission should also reverse the Final ID as to its obviousness finding as to
claim 12 of the ’501 patent. CResp. at 3 n.2. However, in Apple’s petition related to the ’501
patent and Lumidigm, Apple’s theory was different than the Lumidigm-based theory that it
presented in this investigation as to the ’501 patent. Significantly, in that petition, Apple
presented a Lumidigm-based theory that is similar to the one it presents in this investigation as to
the asserted claims of the ’502 and ’648 patents (see Apple Inc. v. Masimo Corp., IPR 2022-
01272 (USPTO Jan. 24, 2023) (available at CResp. at Appx. B)), which as discussed in this
section, lacks a reason for a person of ordinary skill in the art to arrive at the claimed subject
                                                 39

                                           Stay-Add-69
             Case: 24-1285           Document:
                                         PUBLIC7 VERSION
                                                   Page: 121        Filed: 12/26/2023




                               ii.       Element [28G] of the ’502 Patent—“Each of the
                                         Transmissive Windows Extending Across a Different
                                         One of the Openings”

                                         a)      The Final ID

       Regarding element [28G] of claim 28 of the ’502 patent, which uses the phrase

“extending across,” the Final ID found that Lumidigm discloses an “optical relay” that is

transmissive and is positioned above an opening for a detector. Final ID at 131 (citing RX-0411

(Lumidigm) at 8:19–26; Tr. (Warren) at 1221:16–1222:25). The Final ID recognized that

Lumidigm discloses a single window, but found, based on Dr. Warren’s testimony, that “a

person of skill would know that you could do an individual faceplate for each of the individual

openings as a means to provide light but still optimize the process.” Id. (citing, inter alia, Tr.

(Warren) at 1221:1–1222:25, 1193:23–1194:14; RDX-8C at .11; RX-0670 (Cramer); RX-0666

(Seiko 131)).

       Complainants petitioned for review the Final ID’s findings regarding Lumidigm. See

CPet. at 23–24.

                                         b)      Complainants’ Petition

       Complainants’ petition is largely the same as its argument discussed in the previous

section. Complainants argued that the Final ID “legally erred by finding that Lumidigm satisfied

the requirements of Element [28G] based on [Dr.] Warren’s testimony about what a [person of

ordinary skill in the art] ‘could do.’” CPet. (Summary) at 3 (quoting Final ID at 131); see also

CPet. at 23–24. Complainants further argued that the Final ID also legally erred because Apple




matter. In other words, while claim 12 of the ’501 patent does not recite the separate windows,
Apple’s IPR petition depended on proving that a person of ordinary skill in the art would arrive
at a device that contained that limitation.

                                                  40

                                              Stay-Add-70
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 122           Filed: 12/26/2023




provided no evidence that a person of ordinary skill in the art “would have modified Lumidigm’s

face plate into multiple windows with a reasonable expectation of success ([RPHBr.] at 84–85),

and the [Final] ID made no findings regarding reasonable expectation of success for such a

modification.” CPet. (Summary) at 3 (citing Final ID at 131); see also CPet. at 23–24.

Complainants further argue that “[t]he Patent Office’s recent rejection of Apple’s IPR petitions

challenging the Poeze Patents confirms that Apple’s obviousness theories are without merit and

based in hindsight.” CResp. at 8.

                                        c)      Apple’s Response

       Apple’s response is also largely the same argument as the one discussed in the previous

section. According to Apple, Dr. Warren explained that this limitation was known in the prior

art “both to help transfer light and to protect the photodiodes from dirt or debris.” RResp. at 17–

18 (citing Tr. (Warren) at 1193:24–1194:14, 1221:16–1222:9; RX-0411 (Lumidigm) at 8:19–

23). Apple also relied on Dr. Warren’s testimony that the listed examples were well known “and

could be placed within or arranged over the openings to transfer light and to protect the

photodiodes.” Id. at 18–19 (quoting Tr. (Warren) at 1221:16–1222:25). Apple further argued

that a person of ordinary skill in the art would have “understood that the fiber optics face plates

referenced in Lumidigm could be implemented as a single faceplate or as individual faceplates

over each opening and would have been motivated to implement either alternative.” Id. at 19

(citing Tr. (Warren) at 1221:16–1222:25, 1193:24–1194:14).

                                        d)      Analysis

       For the reasons discussed above as to element [19D] of the ’502 patent, the Commission

finds that Apple has not shown, by clear and convincing evidence, that, at the time of the claimed

invention, the prior art teaches separate transmissive windows for each of the openings or that a

person of ordinary skill in the art would have had any reason or motivation to arrive at this

                                                 41

                                             Stay-Add-71
             Case: 24-1285           Document:
                                         PUBLIC7 VERSION
                                                   Page: 123        Filed: 12/26/2023




limitation, as claimed. Additionally, for the same reasons noted above for element [19D] of

the ’502 patent, the Commission’s determination is consistent with the USPTO’s denial of

Apple’s petition requesting the institution of an IPR proceeding regarding the claims of the ’502

patent. See generally Apple Inc. v. Masimo Corp., IPR2022-01274 (available at CResp. at Appx.

C).

                              iii.       Element [8F] of Claim 12 of the ’648 Patent—“A
                                         Separate Optically Transparent Window Extending
                                         Across Each of the Openings”; and
                                         Element [20D] of Claims 24 and 30 of the ’648
                                         Patent—“Each Through Hole Including a Window
                                         and Arranged Over a Different One of the at Least
                                         Four Photodiodes”

       Regarding element [8F] of claim 12 of the ’648 patent, which also uses the phrase

“extending across,” the Final ID held:

           For the same reasons discussed above in the context of the “plurality of
           openings” limitations of ’502 patent claim 19 (Element [19C]), the
           evidence fails to show, clearly and convincingly, a “plurality of openings”
           with a “separate optically transparent window extending across each of the
           openings” in combination with the “four photodiodes” embodiments of
           Lumidigm relied upon by Apple.

Final ID at 139 (citing RPHBr. at 82, 91, 98). The Final ID made a similar conclusion regarding

element [20D] of claims 24 and 30 of the ’648 patent. See Final ID at 142. Thus, while the Final

ID found that, e.g., “a separate optically transparent window extending across each of the

openings” limitation was taught (consistent with its finding as to element [28G] of the ’502

patent, see id. at 131), the Final ID found that that limitation was not taught in a “four

photodiode” embodiment having, e.g., “openings aligned with the [four] photodiodes,” see, e.g.,

id. at 120–21.

       As noted above, the Commission has determined to take no position as to the Final ID’s

underlying finding that the openings in these claims (elements [19C] and [28F] of the ’502 patent


                                                 42

                                            Stay-Add-72
            Case: 24-1285           Document:
                                        PUBLIC7 VERSION
                                                  Page: 124        Filed: 12/26/2023




and elements [8E] and [20D] of the ’648 patent) were not taught or suggested by the prior art.

However, the Commission has determined to affirm the Final ID for the alternative basis that

because, for the reasons discussed above as to element [19D] of claim 22 of the ’502 patent and

element [28G] of claim 28 of the ’502 patent, Apple did not present clear and convincing

evidence that, at the time of the claimed invention, the prior art taught the claimed separate

optically transparent windows extending across each of the openings, or that a person of ordinary

skill in the art would have had any reason or motivation to arrive at this limitation. Additionally,

for the same reasons noted above for element [19D] of the ’502 patent and element [28G] of

claim 28 of the ’502 patent, the Commission’s determination is consistent with the USPTO’s

denial of Apple’s petition requesting the institution of an IPR proceeding regarding the claims of

the ’648 patent. See generally Apple Inc. v. Masimo Corp., IPR2022-01276 (USPTO Jan. 30,

2023) (available at CResp. at Appx. A).

                              iv.       Conclusions Regarding Prima Facie Obviousness and
                                        the Asserted Claims of the ’501, ’502, and ’648 Patents

       In sum, regarding prima facie obviousness and the asserted claims of the ’502 and ’648

patents, the Commission concludes that, although Lumidigm and combinations of references

therewith teach or suggest (1) the four photodiodes and (2) the protrusion, the combinations of

references do not teach or suggest (4) a separate “transmissive window” or “optically transparent

material” “within,” “extending across,” or “arranged over” each of the openings or though holes.

The Commission takes no position on whether Lumidigm and combinations of references

therewith teach or suggest an opening or through hole extending through or provided through the

protrusion and aligned with or over each of the four photodiodes. Thus, Apple has not shown by

clear and convincing evidence that these claims are prima facie obvious.




                                                 43

                                           Stay-Add-73
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 125           Filed: 12/26/2023




       Regarding claim 12 of the ’501 patent, the Commission affirms the Final ID’s conclusion

that Apple has shown by clear and convincing evidence that this claim is prima facie obvious.

                       Objective Evidence of Non-Obviousness

                       a.      Introduction

       As noted above, the Commission must consider “the totality of the evidence” before

reaching a decision on obviousness, and that totality of evidence includes the existence of

secondary considerations, or objective indicia of non-obviousness. E.g., Richardson-Vicks, 122

F.3d at 1483.

       Also, as noted above, before the ALJ, Complainants presented evidence of objective

indicia of non-obviousness that allegedly showed the following: (1) skepticism and unexpected

results related to the “convex protrusion” claim limitations; (2) skepticism and failures of others

related to measuring pulse oximetry at the wrist; (3) Apple’s alleged copying of Masimo’s

technology; and (4) the commercial success of the Apple Watch products once Apple

implemented that technology. See, e.g., Final ID at 145–56, 240–241.

       Regarding Complainants’ evidence, the Final ID agreed with Apple that Complainants

failed to show that there was skepticism in the industry regarding convex surfaces. See Final ID

at 147. And regarding Complainants evidence of skepticism and failures of others related to

measuring pulse oximetry at the wrist, the Final ID found that this evidence does not

significantly show non-obviousness because the asserted claims apply to any “user-worn

device,” including user-worn devices that are not worn on the wrist. Id. at 150–51. As for

copying, the Final ID found that there was no significant credible evidence that Apple copied

Masimo’s patented technology. Id. at 153–54. Last, regarding commercial success, because the

Final ID found that “there is little evidence of a significant nexus between Apple’s commercial

success and the allegedly non-obvious features of the asserted Poeze patent claims,” the Final ID

                                                 44

                                           Stay-Add-74
             Case: 24-1285          Document:
                                        PUBLIC7 VERSION
                                                  Page: 126        Filed: 12/26/2023

                    CONFIDENTIAL INFORMATION REDACTED

found that this evidence “does not meaningfully affect the obviousness analysis.” Id. at 156.

Overall, the Final ID found that this evidence did not meaningfully alter the obviousness

analysis. See id.

       Complainants petitioned the Commission to review the Final ID’s findings related to

commercial success, see CPet. at 25–29; skepticism regarding convex surfaces, id. at 30–32; and

skepticism regarding pulse oximetry at the wrist, id. at 33. Complainants did not petition for

review of the Final ID’s finding related to copying. See generally id. Accordingly, any such

argument is waived. Finnigan, 180 F.3d at 1362–63.

       The Commission has determined to affirm, without modifications, the Final ID as to

(1) skepticism and unexpected results related to the “convex protrusion” claim limitations;

(2) skepticism and failures of others related to measuring pulse oximetry at the wrist; and

(3) Apple’s alleged copying of Masimo’s technology. Thus, the Commission adopts the Final

ID’s findings as to that evidence. For the reasons discussed below, the Commission has

determined to affirm, with modifications, the Final ID’s conclusion that Complainants’ evidence

of commercial success provides at most minimal weight due to the lack of a nexus to the claimed

and novel features. See Final ID at 153–56.

                       b.     Commercial Success

                               i.       The Final ID

       Before the ALJ, Complainants argued that the commercial success of the Apple Watch

Series 6 and 7 is objective evidence of non-obviousness. CPHBr. at 173–75; CPHBr. (Reply) at

95–96; Final ID at 154–56. According to Daniel McGavock, Complainants’ expert witness,

sales of the Apple Watch Series 6                                                     , and Apple

advertised the blood oxygen feature as the key differentiator of the Series 6 over the previous

series, Series 5. Tr. (McGavock) at 1416:10–21, 1422:8–1425:13; CX-0252; CX-1451; CX-

                                                45

                                           Stay-Add-75
            Case: 24-1285         Document:
                                      PUBLIC7 VERSION
                                                Page: 127          Filed: 12/26/2023

                  CONFIDENTIAL INFORMATION REDACTED

1532; CX-1289. Dr. Madisetti agreed with Mr. McGavock that there was a nexus between the

blood oxygen feature of Apple Watch Series 6 and its commercial success. Tr. (Madisetti) at

1380:14–1381:4.

       The Final ID found that the Apple Watch Series 6 was commercially successful and that

“this may be due in some part to its blood oxygen monitoring features.” Final ID at 155. The

Final ID also found that the evidence does not persuasively indicate that the           “sales of

the Apple Watch Series 6 are largely attributable to the blood oxygen feature, as market analysts

have recognized the Apple Watch’s ‘blend of sleek design, good usability on a small screen, and

a growing portfolio of health and fitness apps.’” Id. (quoting CX-1644 (Strategy Analytics)).

The Final ID added that it is not “clear that the Apple Watch Series 6 was significantly more

successful than other smartwatches.” Id. (citing CX-1644 (Strategy Analytics)). According to

the Final ID, the evidence “shows that much of the success of the Apple Watch Series 6 can be

attributed to the growing market for smartwatches rather than the specific implementation of the

pulse oximetry feature claimed in the patents-at issue.” Id. (citing, inter alia, CX-1644 (Strategy

Analytics)). Thus, the Final ID discounted Complainants’ evidence of commercial success,

finding that it does not “meaningfully affect the obviousness analysis.” Id. at 155–56 (citing

Ormco Corp. v. Align Tech., Inc., 463 F.3d 1299, 1313 (Fed. Cir. 2006)).

       Because the Final ID found that “there is little evidence of a significant nexus between

Apple’s commercial success and the allegedly non-obvious features of the asserted Poeze patent

claims, particularly for claim 12 of the ‘501 patent (which is not limited to blood oxygen

measurements),” the Final ID found that this evidence “does not meaningfully affect the

obviousness analysis above.” Final ID at 156 (emphasis added).

       As noted above, Complainants petitioned for review of this finding. See CPet. at 25–29.



                                                46

                                           Stay-Add-76
            Case: 24-1285           Document:
                                        PUBLIC7 VERSION
                                                  Page: 128        Filed: 12/26/2023




                              ii.       Complainants’ Petition

       In their petition for review of the Final ID, Complainants argued that the Final ID

erroneously required that “there be a ‘significant’ nexus in order to be objective evidence of non-

obviousness.” CPet. at 25 (citing Final ID at 155, 156). According to Complainants,

obviousness law does not require that “the patented invention be solely responsible for the

commercial success[ ] in order for this factor to be given weight appropriate to the evidence.”

Id. at 26 (citing Continental Can Co. USA, Inc. v. Monsanto Co., 948 F.3d 1264, 1273 (Fed. Cir.

1991); Apple Inc. v. Samsung Elecs. Co., Ltd., 839 F.3d 1034, 1055–56 (Fed. Cir. 2016) (en

banc)). Next, Complainants argued that the Final ID made clearly erroneous factual findings

regarding commercial success. CPet. at 26–29.

                             iii.       Analysis

       On review, the Commission has determined to affirm the Final ID with modifications.

The Commission agrees with Complainants that the standard for “commercial success” does not

require a showing of “significant nexus.” See CPet. at 25. However, the Commission agrees

with the Final ID that Complainants’ evidence is consistent with increased sales of smartwatches

in general and was likely based on the Apple Watches’ “blend of sleek design, good usability on

a small screen, and a growing portfolio of health and fitness apps.” See, e.g., Final ID at 155–56.

Accordingly, the Commission concludes that Complainants’ evidence of commercial success is

entitled to minimal weight due to Complainants’ failure to show a nexus between the alleged

commercial success and the alleged claimed and novel features.

                       Overall Conclusion as to Obviousness

       Because the Commission modifies and/or supplements the Final ID’s findings as to the

asserted claims of the Poeze patents regarding prima facie obviousness and/or secondary

considerations, the Commission evaluates anew (1) the scope and content of the prior art, (2) the

                                                47

                                           Stay-Add-77
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 129           Filed: 12/26/2023




level of ordinary skill in the art, (3) the differences between the claimed invention and the prior

art, and (4) secondary considerations of non-obviousness, to determine whether Apple has shown

by clear and convincing evidence that these claims are invalid for obviousness.

       In doing so, the Commission concludes, as did the Final ID, that claim 12 of the ’501

patent would have been invalid as obvious over combinations of references primarily based on

Lumidigm, but that claims 22 and 28 of the ’502 patent and claims 12, 24, and 30 of the ’648

patent are not invalid as obvious over those combinations of references.

       Regarding claim 12 of the ’501 patent, Apple has shown that this claim would have been

prima facie obvious to a person of ordinary skill in the art. And, as discussed above,

Complainants’ objective evidence of non-obviousness has minimal weight. In view of these

underlying findings, the Commission concludes that Apple has shown that this claim would have

been invalid by clear and convincing evidence.

       Regarding claim 28 of the ’502 patent, Apple has not shown that this claim would have

been prima facie obvious to a person of ordinary skill in the art. For example, Apple has failed

to show that the prior art teaches or suggests elements [28PRE], [28G], [28I], [28J], and [28K].

Also, Complainants’ evidence of secondary considerations has minimal weight. In view of these

underlying findings, the Commission concludes that Apple has not shown that this claim would

have been invalid by clear and convincing evidence.

       Regarding claim 22 of the ’502 patent, Apple has not shown that this claim would have

been prima facie obvious to a person of ordinary skill in the art. Apple has failed to show that

the prior art teaches or suggests elements [19PRE], [19D], and [19E]. Also, Complainants’

evidence of secondary considerations has minimal weight. In view of these underlying findings,




                                                 48

                                           Stay-Add-78
            Case: 24-1285        Document:
                                     PUBLIC7 VERSION
                                               Page: 130          Filed: 12/26/2023




the Commission concludes that Apple has not shown that this claim would have been invalid by

clear and convincing evidence.

       Regarding claim 12 of the ’648 patent, Apple has not shown that this claim would have

been prima facie obvious to a person of ordinary skill in the art. Apple has failed to show that

the prior art teaches or suggests elements [8F] and [12]. Also, Complainants’ evidence of

secondary considerations has minimal weight. In view of these underlying findings, the

Commission concludes that Apple has not shown that this claim would have been invalid by

clear and convincing evidence.

       Regarding claims 24 and 30 of the ’648 patent, Apple has not shown that these claims

would have been prima facie obvious to a person of ordinary skill in the art. For example, Apple

has failed to show that the prior art teaches or suggests elements [20D], [20E], and [24]. Also,

Complainants’ evidence of secondary considerations has minimal weight. In view of these

underlying findings, the Commission concludes that Apple has not shown that these claims

would have been invalid by clear and convincing evidence.

       C.      Non-Obviousness of the Asserted Claims of the ’745 Patent

                      Introduction

       The Final ID found that claims 9, 18, and 27 of the ’745 patent have not been shown to

be invalid. Final ID at 336. The Commission reviewed this finding. 88 Fed. Reg. at 32244. On

review, the Commission affirms this finding with modifications.

       Before the ALJ, Apple argued that claims 9 and 27 of the ’745 patent would have been

obvious in view of the Apple Watch Series 0 and that claims 9, 18, and 27 of the ’745 patent




                                                49

                                          Stay-Add-79
            Case: 24-1285         Document:
                                      PUBLIC7 VERSION
                                                Page: 131          Filed: 12/26/2023




would have been obvious in view of U.S. Patent No. 8,670,819 to Iwamiya et al. (RX-013033) in

combination with U.S. Patent No. 9,392,946 to Sarantos et al. (RX-036634) and U.S. Patent No.

8,998,815 to Venkatraman et al., (RX-036835). E.g., Final ID at 209.

       Regarding claims 9 and 27 in view of the Apple Watch Series 0, the Final ID found that

the prior art did not teach or suggest elements [1B], [1D], and [9] of claim 9 or elements [20B]

and [20D] of claim 27. See Final ID at 212–14, 215–16, 218–20, 221, 222. Regarding claims 9,

18, and 27 and combinations based on Iwamiya, the Final ID found that the prior art did not

teach or suggest element [9] of claim 9, element [18] of claim 18, and element [27] of claim 27.

See id. at 228–31, 235–36, 239–40. Apple petitioned the Commission to review these findings.

See RPet. at 62–70.

       Complainants again presented objective evidence of non-obviousness. See CPHBr. at

233–34, CPHBr. (Reply) at 132–33. Complainants presented evidence allegedly showing

Apple’s skepticism and failures in implementing wrist-based pulse oximetry, the commercial

success of the Apple Watch Series 6, and Apple’s alleged copying of Masimo’s technology. See

CPHBr. at 233–34, CPHBr. (Reply) at 132–33. The Final ID concluded that, “[f]or the reasons

discussed above in the context of the Poeze patents, this evidence does not weigh significantly

against a finding of obviousness.” Final ID at 241. The Final ID added that the “evidence of



       33
         U.S. Patent No. 8,670,819, titled “Optical Biological Information Detecting Apparatus
and Optical Biological Information Detecting Method,” issued to Hiroshi Iwamiya et al., on
March 11, 2014, from an application filed on June 29, 2010.
       34
         U.S. Patent No. 9,392,946, titled “Heart Rate Sensor with High-Aspect-Ratio
Photodetector,” issued to Chris H. Sarantos, et al., on July 19, 2016, from an application filed on
May 28, 2015.
       35
        U.S. Patent No. 8,998,815, titled “Wearable Heart Rate Monitor,” issued to
Subramaniam Venkatraman, et al., on April 7, 2015, from an application filed on June 3, 2014.

                                                50

                                           Stay-Add-80
            Case: 24-1285         Document:
                                      PUBLIC7 VERSION
                                                Page: 132          Filed: 12/26/2023




commercial success is not relevant because the Accused Products have not been shown to

practice claims of the ’745 patent.” Id. at 241 n. 87. Complainants petitioned for review of the

Final ID’s findings as to Complainants’ objective evidence of non-obviousness. See CPet. at 45.

       Based on the totality of the evidence, the Final ID found that Apple did not show by clear

and convincing evidence that the asserted claims of the ’745 patent are obvious. Final ID at 240.

Apple petitioned for review of this finding. See RPet. at 62–70.

       As noted above, the Commission determined to review the Final ID’s obviousness

findings as to the ’745 patent. 88 Fed. Reg. at 32244. On review, the Commission has

determined to affirm the Final ID’s findings regarding prima facie obviousness of the asserted

claims of the ’745 patent. The Commission has considered Apple’s petition for review and

found its arguments that the Final ID erred to be unpersuasive. As to Complainants’ evidence of

secondary considerations, the Commission has determined to affirm in part and reverse in part

the Final ID for the reasons discussed below. After considering the totality of the evidence, the

Commission has further determined to affirm the Final ID’s finding that Apple has not shown

that the asserted claims of the ’745 patent are obvious.

                       Objective Evidence of Non-Obviousness

       In their petition for review, Complainants point out that the Final ID rejected its

arguments for the ’745 patent “[f]or the reasons discussed above in the context of the Poeze

patents.” CPet. at 45 (quoting Final ID at 150). Complainants argue that the Final ID’s

reasoning for the Poeze patents as to skepticism and failures of others in implementing wrist-

based pulse oximetry does not apply to claims 9 and 18 of the ’745 patent. CPet. at 45 (quoting

Final ID at 150). Complainants point out that the Final ID discounted Complainants’ evidence

regarding the claims of the Poeze patents because the Poeze claims are not limited to pulse

oximetry at “the wrist.” Id. (citing Final ID at 150). Complainants then argue that, on the other
                                                51

                                           Stay-Add-81
             Case: 24-1285         Document:
                                       PUBLIC7 VERSION
                                                 Page: 133            Filed: 12/26/2023




hand, claims 9 and 18 of the ’745 patent are limited to pulse oximetry at the wrist. See id.; see

also JX-0009 (’745 patent) at claim 9, element [1B] (“a material configured to be positioned

between the plurality of light-emitting diodes and tissue on a wrist of a user when the

physiological monitoring device is in use” (emphasis added)); id. at claim 18, elements [15A]

and [15B] (“a plurality of light-emitting diodes configured to emit light proximate a wrist of a

user; a light diffusing material configured to be positioned between the plurality of light-emitting

diodes and a tissue measurement site on the wrist of the user when the physiological monitoring

device is in use” (emphasis added)). Thus, according to Complainants, the Final ID “erred by

failing to properly weigh the objective evidence of skepticism and failure of others in evaluating

Claims 9 and 18.” CPet. at 45.

        The Commission agrees with Complainants. See id. Moreover, to the extent Apple

disputes the Final ID’s finding that Complainants have shown evidence of skepticism of Apple

engineers regarding pulse oximetry at the wrist and the relevance thereof, see RResp. at 41–43,

the Commission finds Apple’s argument unpersuasive. The Final ID properly evaluated the

evidence and arrived at its conclusion. In any event, this evidence does not meaningfully alter

the obviousness analysis, as stated in the next sub-section.

        The Commission affirms the Final ID’s findings as to Complainants’ other objective

evidence of non-obviousness, including commercial success and Apple’s alleged copying of

Masimo’s technology. See Final ID at 241. The Final ID found that this evidence does not

support non-obviousness. See id.

                        Overall Conclusion as to Obviousness

        Because the Commission alters the Final ID’s findings as to the asserted claims of the

’745 patent regarding secondary considerations, the Commission evaluates anew (1) the scope

and content of the prior art, (2) the level of ordinary skill in the art, (3) the differences between
                                                  52

                                            Stay-Add-82
              Case: 24-1285      Document:
                                     PUBLIC7 VERSION
                                               Page: 134           Filed: 12/26/2023




the claimed invention and the prior art, and (4) secondary considerations of non-obviousness, to

determine whether Apple has shown by clear and convincing evidence that these claims are

invalid for obviousness.

       Like the Final ID, the Commission finds, regarding claims 9 and 27 in view of the Apple

Watch Series 0, that the prior art does not teach or suggest elements [1B], [1D], and [9] of claim

9 or elements [20B] and [20D] of claim 27. See Final ID at 212–14, 215–16, 218–20, 221, 222.

And like the Final ID, regarding claims 9, 18, and 27 and combinations based on Iwamiya, the

Commission finds that the prior art does not teach or suggest element [9] of claim 9, element

[18] of claim 18, and element [27] of claim 27. See id. at 228–31, 235–36, 239–40. Regarding

claims 9 and 18, the objective evidence of skepticism and failure of others regarding

implementing wrist-based pulse oximetry weighs in favor of a finding of non-obviousness.

Thus, in view of these underlying findings, taken as a whole, the Commission concludes that

Apple has not shown that any of these claims are invalid by clear and convincing evidence. Last,

we note that the Commission’s conclusion would remain the same even if the objective evidence

of skepticism and failure of others regarding implementing wrist-based pulse oximetry was not

considered.

       D.      Written Description Support of Claim 28 of the ’502 Patent and Claim 12 of
               the ’648 Patent

       The Final ID found that claim 28 of the ’502 patent is invalid for lacking written

description support as to elements [28A] and [28B] and also found that claim 12 of the ’648

patent is invalid for lacking written description support as to elements [8A] and [8B], from which

claim 12 depends. E.g., Final ID at 336. The Commission reviewed this finding and requested

briefing from the parties. See 88 Fed. Reg. at 32244. On review, the Commission reverses the

Final ID for the reasoning provided below. In view of this conclusion and the Commission’s


                                                53

                                          Stay-Add-83
             Case: 24-1285         Document:
                                       PUBLIC7 VERSION
                                                 Page: 135           Filed: 12/26/2023




other conclusions herein, the Commission finds that Complainants have shown that Apple

violated section 337 as to claims 22 and 28 of the ’502 patent and claim 12 of the ’648 patent, in

addition to claims 24 and 30 of the ’648 patent.

                       The Applicable Law

       35 U.S.C. § 112 declares that “[t]he specification shall contain a written description of

the invention, and of the manner and process of making and using it, in such full, clear, concise,

and exact terms as to enable any person skilled in the art to which it pertains, or with which it is

most nearly connected, to make and use the same. . . .” 35 U.S.C. § 112. “[T]his statutory

language mandates satisfaction of two separate and independent requirements: an applicant must

both describe the claimed invention adequately and enable its reproduction and use.” Amgen Inc.

v. Hoechst Marion Roussel, Inc., 314 F.3d 1313, 1330 (Fed. Cir. 2003) (citing Vas-Cath Inc. v.

Mahurkar, 935 F.2d 1555, 1563 (Fed. Cir. 1991)). The purpose of the written description

requirement is to “ensure that the scope of the right to exclude, as set forth in the claims, does

not overreach the scope of the inventor’s contribution to the field of art as described in the patent

specification.” Univ. of Rochester v. G.D. Searle & Co., 358 F.3d 916, 920 (Fed. Cir. 2004).

       To comply with the written description requirement, a patent applicant must “convey

with reasonable clarity to those skilled in the art that, as of the filing date sought, he or she was

in possession of the [claimed] invention.” Vas-Cath, 935 F.2d at 1563–64 (emphasis omitted).

The test for written description “requires an objective inquiry into the four corners of the

specification from the perspective of a person of ordinary skill in the art.” Ariad Pharm., Inc. v.

Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (en banc). “[T]he applicant [for a patent]

may employ ‘such descriptive means as words, structures, figures, diagrams, formulas, etc., that

fully set forth the claimed invention.’” In re Skvorecz, 580 F.3d 1262, 1269 (Fed. Cir. 2009)

(citing In re Alton, 76 F.3d 1168, 1172 (Fed. Cir. 1996)); see also Enzo Biochem, 323 F.3d at
                                                   54

                                            Stay-Add-84
             Case: 24-1285           PUBLIC
                                 Document: 7 VERSION
                                               Page: 136            Filed: 12/26/2023



964 (declaring that the written description may also be met by other "sufficiently detailed,

relevant identifying characteristics," such as "physical and/or chemical prope1iies, functional

characteristics when coupled with a known or disclosed con-elation between function and

structure, or some combination of such characteristics") (emphasis omitted)). Compliance with

the written description requirement is a question of fact, and in order to overcome the

presumption of validity, a party must set forth clear and convincing evidence. Centocor Ortho

Biotech, Inc. v. Abbott Labs., 636 F.3d 1341, 1347 (Fed. Cir. 2011).

               2.     The Final ID

       As noted above, the Final ID concluded that claim 28 of the '502 patent is invalid for

lacking written description suppo1i as to elements [28A] and [28B] and that claim 12 of the '648

patent is invalid for lacking written description suppo1i as to elements [8A] and [8B]. See Final

ID at 156-70. As shown in the table below, these pairs of claim limitations require two separate

sets of LEDs, each with an LED "configured to emit light at a first wavelength" and an LED

"configured to emit light at a second wavelength."

                    Elements [28A] and [28B] of Claim 28 of the '502 Patent
     [28A]      a first set of light emitting diodes (LEDs), the first set of LEDs comprising at
                least an LED configured to emit light at a first wavelength and an LED
                configured to emit light at a second wavelength;
     [28B]      a second set of LEDs spaced apa1i from the first set of LEDs, the second set of
                LEDs comprising at least an LED configured to emit light at the first
                wavelength and an LED configured to emit light at the second wavelength;


                     Elements [SA] and [SB] of Claim 12 of the '648 Patent
     [SA]       a first set of light emitting diodes (LEDs), the first set comprising at least an
                LED configured to emit light at a first wavelength and at least an LED
                configured to emit light at a second wavelength;
     [SB]       a second set of LEDs spaced apaii from the first set of LEDs, the second set of
                LEDs comprising an LED configured to emit light at the first wavelength and
                an LED configured to emit light at the second wavelength;



                                                 55


                                           Stay-Add-85
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 137           Filed: 12/26/2023




       Before the ALJ, Apple argued that the disputed limitations lack written description

support because the specifications fail to disclose separate sets of LEDs emitting at the same

“first wavelength” and the same “second wavelength.” E.g., RPHBr. at 151–52; RPHBr. (Reply)

at 75. Apple relied on the testimony of its expert witness, Dr. Warren, who testified that there

was no support for these limitations. See Tr. (Warren) at 1247:13–17.

       In reply, Complainants argued that Dr. Warren’s testimony was conclusory and therefore

insufficient for Apple to show invalidity by clear and convincing evidence. E.g., CPHBr. at 179.

Complainants further argued that their expert, Dr. Madisetti, identified support for the disputed

limitations. See, e.g., id. (citing Tr. (Madisetti) at 1349:7–1350:3); Final ID at 163.

Complainants also relied on the specification, pointing to the two emitters (each having item

number “104”) depicted in Figures 7A and 7B, as well as, for example, the related disclosure that

“the emitter 104 includes sets of optical sources that are capable of emitting visible and near-

infrared optical radiation.” See, e.g., CPHBr. at 179 (citing JX-0001 (’501 patent36) at 12:9–12,

Fig. 7A, Fig. 7B). Figure 7B is reproduced below:




       36
          As noted above, the ’501, ’502, and ’648 patents share a common specification. The
parties agree that citations to the ’501 patent are also applicable to the ’502 and ’648 patents.

                                                 56

                                           Stay-Add-86
            Case: 24-1285        Document:
                                     PUBLIC7 VERSION
                                               Page: 138          Filed: 12/26/2023




JX-0001 (’501 patent) at FIG. 7B. Figure 7A is largely identical to Figure 7B, with the most

notable and relevant difference being that, in Figure 7A, the “emitters 104” are indicated as

“LEDs 104.” Complainants also cited other portions of the specification. See, e.g., CPHBr. at

179–80 (citing JX-0001 (’501 patent) at 9:60–63, 12:13–25, 13:16–21, 21:51–54, 33:30–38,

38:8–22); Final ID at 163.

       The Final ID agreed with Apple, concluding that the claim language at issue requires two

different matching pairs of wavelengths between the two sets of LEDs. See Final ID at 163–65.

In other words, the first wavelength of an LED in the first set of LEDs must match the first

wavelength of an LED in the second set of LEDs, and the second wavelength of an LED in the

first set of LEDs must match the second wavelength of an LED in the second set of LEDs. See


                                                57

                                          Stay-Add-87
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 139            Filed: 12/26/2023




id.37 The Final ID next found that there is no such disclosure in the specifications of the Poeze

patents. See id. The Final ID acknowledged that, “[w]hen describing emitters that are capable of

emitting visible and near-infrared optical radiation, the specification describes two different

wavelengths, three different wavelengths, or up to eight different wavelengths,” but then found

that the “specification does not describe any two LEDs having the same wavelength.” Id. at 164.

                       Complainants’ Petition

       In their petition for review, Complainants argued that the Final ID “failed to acknowledge

that the presumption of validity carries with it a presumption that the specification has an

adequate written description as required by 35 U.S.C. § 112.” CPet. at 34. Complainants also

argued that the Federal Circuit has repeatedly held that conclusory expert opinion testimony

cannot overcome this presumption and the associated burden of “clear and convincing evidence.”

See id. at 34–35 (citing, inter alia, WBIP, LLC v. Kohler Co., 829 F.3d 1317, 1338–39 (Fed. Cir.

2016); Koito Mfg. Co. v. Turn-Key-Tech, LLC, 381 F.3d 1142, 1155 (Fed. Cir. 2004)).

According to Complainants, the Final ID cited no evidence of what a person of ordinary skill in

the art would understand from reading the specification, let alone any evidence supporting that a

person of ordinary skill in the art would find no written description support for the disputed

limitations. Id. at 37. Complainants added that the specification “discloses that emitter 104 can

include ‘sets of optical sources that are capable of emitting visible and near-infrared [light]’—

i.e., emitting light at a first wavelength and a second wavelength,” and it teaches “exemplary

LED sets.” Id. (citing JX-0001 (’501 patent) at 12:9–12, 4:55–57, 26:32). Complainants further

argued that the “specification provides additional examples where the emitter 104 includes sets




       37
          Neither party contests this interpretation of the claim language, either in their petitions
for review of the Final ID or in their briefing in response to the Commission’s notice of review.
                                                  58

                                            Stay-Add-88
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 140           Filed: 12/26/2023




of LEDs to emit light at two or more different wavelengths,” including that “emitter 104 can

emit [light] at or about 1610 nm, about 1640 nm, and about 1665 nm.” Id. (citing JX-0001 (’501

patent) at 12:38–40, 12:64–13:1, 13:5–7) (emphasis added). Thus, according to Complainants,

the specification “discloses an emitter 104 including a set of LEDs that emits light at a first

wavelength and a second wavelength.” Id. (emphasis omitted).

       Complainants further argued that Figure 7B shows two such emitters, each labeled 104,

and that USPTO rules provide a presumption that each emitter set 104 is identical. CPet. at 38

(citing 37 C.F.R. § 1.84(p)(4)38). Complainants then concluded that, by virtue of Figure 7B, the

specification “discloses that the first and second wavelengths of the set of LEDs of one emitter

104 are the same as (i.e., match) the first and second wavelengths of the corresponding set of

LEDs of the other emitter 104.” Id. at 39.

                       Apple’s Response

       In reply, Apple argued that the Final ID properly acknowledged the presumption of

validity and properly found that the claim language “does not merely require that there be two

sets of LEDs, each emitting light at two different wavelengths,” but instead also “requires

matching wavelengths in each set of LEDs.” RResp. (Summary) at 4. Apple further argued that

Dr. Warren’s testimony supports that the claims lack written description, and here, “no more

elaboration was required.” See RResp. at 30–31. According to Apple, the only relevant issue

was whether the specification disclosed the recited feature, and “there was nothing more that Dr.

Warren could have said because, at the time he presented his testimony, Complainants had not




       38
         37 C.F.R. § 1.84(p)(4) recites: “The same part of an invention appearing in more than
one view of the drawing must always be designated by the same reference character, and the
same reference character must never be used to designate different parts.”

                                                 59

                                             Stay-Add-89
            Case: 24-1285         Document:
                                      PUBLIC7 VERSION
                                                Page: 141          Filed: 12/26/2023




even challenged the point that he confirmed in his testimony—namely, that there was no written

description support for two sets of LEDs each with LEDs emitting at the same ‘first wavelength’

and ‘second wavelength.’” Id. at 30–32 (citing, inter alia, Tr. (Warren) at 1247:13–17;

CPreHBr. at 126;39 CPHBr. at 179–80).

       Apple further argued that the Final ID relied on more than just Dr. Warren’s testimony by

walking “through the portions of the specification that Complainants had identified in their post-

hearing briefs” and confirming, based on that analysis, and “consistent with Dr. Warren’s

testimony, that none [of those cited portions] discloses two sets of LEDs each with LEDs

emitting at the same ‘first wavelength’ and ‘second wavelength.’” Id. at 32 (citing Final ID at

163–64); see also id. at 32–35. Apple also asserted that, in Complainants’ petition for review of

the Final ID, Complainants “offer[ed a] lengthy, entirely new analysis of the Poeze

specification,” but this new analysis was allegedly waived for not being presented to the ALJ.

Id. at 32 (citing, inter alia, CPreHBr. at 123–27; CPHBr. at 175–80; Order No. 4 (Ground

Rules), at Ground Rules 9.2 and 13.1; In re Baxter Int’l, Inc., 678 F.3d 1357, 1362 (Fed. Cir.

2012)); see also id. at 32–35.

                       Analysis

       The Commission has determined to reverse the Final ID and conclude that Apple did not

carry its burden of proving, by clear and convincing evidence, that claim 28 of the ’502 patent

and claim 12 of the ’648 patent are invalid for lacking written description support. As noted




       39
          The Commission notes that, contrary to Apple’s argument, Complainants’ pre-hearing
brief declared: “A [person of ordinary skill in the art] would . . . understand from the disclosure
of emitter ‘sets’ that corresponding LEDs in each set have the same wavelength to allow the
sensor to collect data from multiple measurement sites with multiple light paths.” CPreHBr. at
126 (emphasis added).

                                                 60

                                           Stay-Add-90
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 142           Filed: 12/26/2023




above, because patent claims are presumed valid under 35 U.S.C. § 282, a party challenging the

validity of a patent(s), including for lack of written description, must demonstrate by clear and

convincing evidence that challenged patents are invalid. See Hynix Semiconductor Inc. v.

Rambus Inc., 645 F.3d 1336, 1351 (Fed. Cir. 2011) (“To overcome the presumption of validity

of patents, the accused must show that the claims lack a written description by clear and

convincing evidence.”). The Commission finds that Apple did not meet its burden of proof

because it relied on conclusory expert witness testimony and then on attorney argument alone to

explain why Complainants’ citations to the specification did not provide written description

support, see, e.g., RPHBr. (Reply) at 75, and Complainants’ citations to the specification and its

expert witness’s testimony tend to show that the disputed limitations have written description

support.

       As an initial matter, the Commission agrees with Complainants that Apple’s expert’s

testimony is conclusory. Dr. Warren simply stated:

            Q......... Have you identified any discussion in the Poeze specification of
            the use of multiple sets of LEDs each with LEDs emitting at a first
            wavelength and a second wavelength?

            A. I have not found one, no.

Tr. (Warren) at 1247:14–17. While, as Apple points out, reliance on expert testimony is not

always necessary to find a claim invalid for written description,40 in this case, Apple’s expert

witness testimony is conclusory, and, as discussed below, it is not clear from the face of the

patents that the disputed claims lack written description. Thus, the expert testimony here is




       40
         See RBr. at 30–31 (citing, inter alia, Centocor, 636 F.3d 1341, 1347; Certain Beverage
Brewing Capsules, Components Thereof, & Prods. Containing the Same, Inv. No. 337-TA-929,
Comm’n Op., 2016 WL 9751230, at *18 (Apr. 5, 2016), aff’d by Rivera v. Int’l Trade Comm’n,
857 F.3d 1315 (Fed. Cir. 2017)).
                                                 61

                                            Stay-Add-91
            Case: 24-1285        Document:
                                     PUBLIC7 VERSION
                                               Page: 143           Filed: 12/26/2023




distinguishable from that in Purdue Pharma L.P. v. Faulding Inc., 230 F.3d 1320, 1325 (Fed.

Cir. 2000), relied upon by the Final ID (see Final ID at 164–65), where the trial judge relied on

extensive expert testimony and other prior art documents.

       Turning to the evidence cited by Complainants to the ALJ, Figures 7A and 7B show two

emitters or two LEDs, each labeled 104:




See CPHBr. at 179; E.g., JX-0001 (’501 patent) at Figs. 7A, 7B. The fact that the LEDs and the

emitters share the number (104) across the two figures, suggests that they are the same (i.e., both

can include sets of LEDs). See, e.g., JX-0001 (’501 patent) at 13:16–21 (“[T]he emitter 104 can

include sets of light-emitting diodes (LEDs) as its optical source.”). Even more than that, within

Figure 7A, the two LEDs share the same label “LEDs 104,” and within Figure 7B, the two




                                                62

                                           Stay-Add-92
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 144           Filed: 12/26/2023




emitters share the same label “Emitters 104.” This suggests that the two LEDs in Figure 7A are

the same, and the two emitters in Figure 7B are the same.41

       The specifications further explain that: “In an embodiment, the emitter 104 includes sets

of optical sources that are capable of emitting visible and near-infrared optical radiation.” E.g.,

JX-0001 (’501 patent) at 12:9–12; see also, e.g., id. at 9:60–63, 13:16–21; Tr. (Madisetti) at

1349:7–1350:3. If the two sets of LEDs or the two emitters having sets of optical sources are the

same, then they must emit the same visible and near-infrared optical radiation, i.e., at the same

two respective wavelengths. At a minimum, the specifications do not clearly and convincingly

show that these respective wavelengths of visible and near-infrared optical radiation are different

between the identically-labelled LEDs or optical emitters.

       Apple also responds that “‘visible and near-infrared light’ are not specific wavelengths,”

and thus the sets of LEDs do not include matching pairs of wavelengths. See RBr. at 52–53.

The Commission agrees with Apple that “visible light” and “near-infrared light” both refer to

ranges of wavelengths. However, because Figures 7A and 7B each show two sets of the same

LEDs or optical emitters, the Commission finds that the LEDs/optical emitters in the first set

would emit the same light as the LEDs/optical emitters in the second set. The fact that this

disclosure could be interpreted by a skilled artisan, as Apple suggests, to encompass situations

where the first LED set emits visible light at one wavelength and near-infrared at a second

wavelength, and the second LED set emits visible light at a third wavelength and near-infrared




       41
          The Commission’s conclusion is based on the specifications themselves, not on 37
C.F.R. § 1.84(p)(4), which Complainants cited for the first time in their petition for review of the
ALJ’s Final ID. Thus, while the parties contest whether a waiver by Complainants prevents the
Commission from relying on that rule, those arguments are moot because, in view of the
specifications, the Commission need not and does not rely on that rule.

                                                 63

                                           Stay-Add-93
             Case: 24-1285         Document:
                                       PUBLIC7 VERSION
                                                 Page: 145            Filed: 12/26/2023




light at a fourth wavelength, does not mean that this is how a skilled artisan would understand

the disclosure, especially when there is no testimony to this effect. Again, at a minimum, the

specifications do not clearly and convincingly show that these respective wavelengths of visible

and near-infrared optical radiation are not the same between the sets of LEDs/optical emitters.

        Thus, in view of Complainants’ above-discussed citations to the specification and

Apple’s conclusory expert testimony, the Commission concludes that Apple has not met its

burden of proof to show by clear and convincing evidence that Complainants did not convey

with reasonable clarity to those skilled in the art that, as of the filing date sought, the applicants

were in possession of the claimed inventions.

        In their petition for review and in their briefing to the Commission, Complainants cite

additional passages from the specification that, although not necessary to sustain the

Commission’s conclusion, further support it. CBr. at 42–48 (citing JX-0001 (’501 patent) at

4:55–57, 9:4–6, 12:5–9, 12:26–32, 12:38–40, 12:64–13:6, 13:21–25, 29:19–22, 33:26–36).

Apple alleges that Complainants waived reliance on these passages because Complainants cite

these passages for the first time in their petition for review. The Commission notes, however,

that these passages are intrinsic evidence within the four corners of the patent and they merely

reinforce Complainants’ general argument to the ALJ. See, e.g., Order No. 4 (Ground Rules),

EDIS Doc. ID 752396, at Ground Rule 13.1 (Initial Post-hearing Briefs; Filing and Content)

(declaring only an issue is waived when that issue is not “included in the pre-hearing brief”).

Thus, under these circumstances, the Commission declines to find Complainants’ reliance on this

evidence waived.

        Complainants’ newly-cited passages of the specification show that, in Figure 7B, each

emitter 104 includes sets of LEDs that can emit light “at or about 1610 nm, about 1640 nm, and



                                                   64

                                             Stay-Add-94
            Case: 24-1285        Document:
                                     PUBLIC7 VERSION
                                               Page: 146           Filed: 12/26/2023




about 1665 nm.” JX-0001 (’501 patent) at 12:38–40 (emphasis added); see also, e.g., CBr. at 42–

48. Complainants additionally rely on JX-0001 (’501 patent) at 4:55–57, 9:4–6, 12:5–9,

12:26–32, 12:38–40, 12:64–13:6, 13:21–25, 29:19–22, 33:26–36. Complainants reason that

Figure 7B shows two emitters, so each emitter 104 would have an LED with each of those three

wavelengths, i.e., at or about 1610 nm, at or about 1640 nm, and at or about 1665 nm, JX-0001

(’501 patent) at 12:5–9, 12:38–40, and thus the two emitters include at least matching pairs of

wavelengths.42 Id. at 43–44. This evidence further confirms the Commission’s conclusion that

Apple has not shown by clear and convincing evidence that the relevant claims are invalid for

lacking written description support.43



       42
           Regarding the wavelengths disclosed in these passages, Apple argues that the passages
relate to measuring “analytes like glucose,” not “oxygen” or “oxygen saturation,” as the claims
require, and thus those teachings cannot provide written description support here. See RBr. at
51–52 (citing JX-0001 (’501 patent) at 12:26–44). The Commission, however, agrees with
Complainants that the specific wavelengths mentioned in the specification are “irrelevant
because specific wavelengths are not claimed,” as the “claims merely recite that the two
wavelengths used in the first set of LEDs—whatever they may be—are the same wavelengths
used in the second set.” CBr. (Reply) at 26. Other portions of the specification, including those
cited by Complainants, recite that the emitters 104 can have other matching wavelengths. JX-
0001 (’501 patent) at 12:60–13:7 (“Due to the different responses of analytes to the different
wavelengths, certain embodiments of the data collection system 100 can advantageously use the
measurements at these different wavelengths to improve the accuracy of measurements.”).
       43
          Chairman Johanson would not reverse the ALJ’s well-reasoned determination that
claim 28 of the ’502 patent and claim 12 of the ’648 patent are invalid for lacking written
description support.
        The written description requirement “is part of the quid pro quo of the patent grant and
ensures that the public receives a meaningful disclosure in exchange for being excluded from
practicing an invention for a period of time.” Ariad, 598 F.3d at 1354. While the requirement
does not demand any particular form of disclosure, “a description that merely renders the
invention obvious does not satisfy the requirement.” Id. at 1352.
        In finding support for disputed claims in the original specification, the majority relies
heavily on the specification’s teaching that “[i]n an embodiment, the emitter 104 includes sets of
optical sources that are capable of emitting visible and near-infrared optical radiation,” JX-0002
(’502 patent) at col. 12:9–12, and Figures 7A and 7B. The majority, noting that Figure 7B has
two structures designated 104, concludes that “[i]f the two sets of LEDs or the two emitters
                                                65

                                          Stay-Add-95
            Case: 24-1285         Document:
                                      PUBLIC7 VERSION
                                                Page: 147          Filed: 12/26/2023




       E.      Claim Construction and Infringement Regarding the ’745 Patent

       The Final ID found that the Accused Products have not been shown to infringe claims 9

or 27 of the ’745 patent. E.g., Final ID at 336. The Commission determined to review this

finding of the Final ID. See 88 Fed. Reg. at 32244. On review, the Commission has determined

to affirm the Final ID without modification, thus adopting the Final ID’s analysis.

       F.      The Domestic Industry Issues Under Review—The Poeze Patents and
               the ’745 Patent

       The Final ID found that the technical prong of the domestic industry requirement has

been satisfied for claim 12 of the ’501 patent, claim 28 of the ’502 patent, claims 12, 24, and 30

of the ’648 patent, and claim 18 of the ’745 patent, and that the economic prong of the domestic

industry requirement has been satisfied with respect to the ’501, ’502, ’648, and ’745 patents.




having sets of optical sources are the same, then they must emit the same visible and near-
infrared optical radiation.” There is, however, no teaching that the emitters are the same. See
Final ID at 164 (“there is no disclosure of two separate sets of LEDs using the same wavelengths
in each set”). Rather, the specification and figures use “emitters” as a broad term for any light
source of any frequency. Indeed, element 104 is used inconsistently in the figures relied upon by
the majority. Compare Figure 7A with 7B.
        Moreover, both Figures 7A and 7B depict embodiments that differ meaningfully from
that of claim 28 of the ’502 patent (which requires four photodiodes with aligned openings) or
claim 12 of the ’648 patent (similar limitations). This suggests a failure to describe each claim as
an “integrated whole.” Novozymes A/S v. DuPont Nutrition Biosciences APS, 723 F.3d 1336,
1349 (Fed. Cir. 2013) (“Taking each claim—as we must—as an integrated whole rather than as a
collection of independent limitations, one searches the 2000 application in vain for the disclosure
of even a single species that falls within the claims.”).
        The majority further relies on Respondents’ expert testimony being “conclusory.” This is
not persuasive. Caselaw is plain that no expert testimony is necessary to show a failure to
comply with the written description requirement. See, e.g., Centocor, 636 F.3d at 1347. Further,
Complainants’ expert testimony lacks any discussion of the import of the disclosure found in
column 12 relied on by the majority. See Tr. (Madisetti) at 1350:22–1352:4.
       Considered as a whole, the evidence suggests that these late added claims (added by
amendment years after the original priority date) reach beyond any disclosure fairly described by
the specification and figures. Accordingly, Chairman Johanson would affirm the ALJ’s
determination that these claims are not fully supported by the original disclosure.

                                                66

                                           Stay-Add-96
            Case: 24-1285              PUBLIC
                                   Document: 7 VERSION
                                                 Page: 148         Filed: 12/26/2023

                  CONFIDENTIAL INFORMATION REDACTED

E.g., Final ID at 336. The Commission detennined to review these findings of the Final ID. See

88 Fed. Reg. at 32244.

       On review, the Commission has detennined to take no position regarding the Final !D's

findings as to (1) whether post-Complaint evidence can be considered in satisfying the domestic

industry requirement in this case with respect to the '501, '502, '648, and '745 patents; and

(2) whether Complainants had shown a domestic industry in the process of being established.

See 19 U.S.C. § 1337(a)(2); Beloit, 742 F.2d at 1423; see also, e.g., Final ID at 56-59,, 62 n.16,

85-87, 209,302 n.116, 319,324.

       The Commission affnms, however, the Final !D's finding that Complainants have shown

the existence of a domestic industry by way of significant employment of labor with respect to

Masimo's investments in research and development for the Masimo Watch, but with the

following modified reasoning. Final ID at 317-18.

       The Final ID found that Complainants' employment of labor was significant, in pa.ii,

because it involvedI employees ■full-time equivalents) representing over-percent of
Masimo's research and development engineers. Final ID at 317. The Commission additionally

finds that Complainants' employment of labor is quantitatively significant because the identified

employment of labor is                       percent domestic. As the Final ID found,-

research and development of the Masimo Watch has occurred in the United States. Id. (citing

CPHBr. at 307); see also Tr. (Kiani44) at 321:23-322:5 (testifying that reseai·ch and development

occuned in Ilvine, Califomia).45



       44
          Joe Kiani is the chai1man and chief executive officer of Masimo and Cercacor. E.g.,
Final ID at 5.
       45 The Final ID recognized that Complainants presented evidence regarding

approximately-in payments to ce1iain third-paiiy fnms for "design" work on the

                                                 67

                                           Stay-Add-97
             Case: 24-1285            PUBLIC
                                  Document: 7 VERSION
                                                Page: 149          Filed: 12/26/2023

                   CONFIDENTIAL INFORMATION REDACTED

         The Commission finds that the fact that research and development of the Masimo Watch

occurs                     percent in the United States, combined with the qualitative

significance of research and development to the Masimo Watch (Final ID at 318), shows that

Complainants' employment of labor is significant. See Final ID at 317 (citing Gas Spring Nailer

Prods. & Components Thereof, Inv. No. 337-TA-1082, Comm'n Op. at 83 (Apr. 28, 2020)

(finding quantitative significance where "all, i.e., 100 percent, of Kyocera's R&D and

engineering expenditures relating to complainant's [domestic industiy products] occurs in the

United States"), vacated and remanded on other grounds, Kyocera Senco Indus. Tools v. Int'l

Trade Comm'n, 22 F.4th 1369 (Fed. Cir. 2022)).

         The Commission othe1wise affnms the Final !D's domestic industiy analysis as to the

'501, '502, '648, and '745 patents, including the Final !D's finding that Complainants' plant and

equipment investments were not significant. See Final ID at 315. Because the Final ID found

that Complainants satisfied the domestic industiy requirement as to these patents based only on

pre-Complaint investments, the Commission dete1mines that Complainants have satisfied the

domestic industiy requirement as to the '501, '502, '648, and '745 patents based on an "existing"

domestic industiy. See 19 U.S.C. § 1337(a)(3).




Masimo Watch (see CBr. at 26), but did not credit that evidence towards a domestic industiy
because it was unclear if those fnms perfo1med design work in the United States. Final ID at
313-14. However, even if nts were directed to foreign labor, they are an order of
magnitude smaller than the-               employment of research and development labor at
Masimo's U.S. facilities. Id. (finding that "these ex enditures are relatively small in comparison
to Masimo's R&D expenditures"). Thus, the                                 of Complainants'
employment of labor is domestic and Complainants' domestic industiy is therefore significant.

                                                 68

                                           Stay-Add-98
             Case: 24-1285          Document:
                                        PUBLIC7 VERSION
                                                  Page: 150            Filed: 12/26/2023




V.      REMEDY, THE PUBLIC INTEREST, AND BONDING

        The Commission has determined to issue an LEO and a CDO. Both remedial orders

include a service, repair, and replacement exemption (discussed below in the context of the

public interest), and will go into effect, without delay, at the end of the period of Presidential

review. The Commission has concluded that the public interest does not counsel against

providing Complainants this remedy. The Commission has also determined that the bond during

the period of Presidential review shall be in the amount of zero percent (0%, i.e., no bond) of the

entered value of the articles subject to the LEO.

        A.      Remedy

        The Commission has “broad discretion in selecting the form, scope, and extent of the

remedy.” Viscofan, S.A. v. US. Int’1 Trade Comm’n, 787 F.2d 544, 548 (Fed. Cir. 1986).

                        Limited Exclusion Order

        As discussed below, the Commission has determined to issue an LEO directed to covered

products that infringe any of claims 22 and 28 of the ’502 patent and claims 12, 24, and 30 of the

’648 patent. The LEO includes the standard certification provision; includes a service, repair,

and replacement exemption for infringing articles purchased prior to the expiration of the period

of Presidential review; and is to go into effect without delay.

                        a.      The Applicable Law

        Section 337(d)(1) provides that “[i]f the Commission determines, as a result of an

investigation under this section, that there is a violation of this section, it shall direct that the

articles concerned, imported by any person violating the provision of this section, be excluded

from entry into the United States, unless, after considering the [public interest], it finds that such

articles should not be excluded from entry.” 19 U.S.C. § 1337(d)(1).



                                                   69

                                             Stay-Add-99
            Case: 24-1285        Document:
                                     PUBLIC7 VERSION
                                               Page: 151           Filed: 12/26/2023




                       b.     The RD

       Before the ALJ, Complainants requested that the Commission issue an LEO to remedy

Apple’s section 337 violation. E.g., RD at 1; CPHBr. at 310–11. For its part, Apple argued that

any LEO should include an exemption for “the continued service, repair, or replacement of

previously purchased products, including software maintenance and updates.” E.g., RD at 1;

RPHBr. at 279. Apple further requested that any LEO include the standard certification

provision and be no broader in scope than the scope of the investigation. E.g., RD at 1–2;

RPHBr. at 175, 279.

       The RD recommended that any LEO be directed to Apple’s importation of infringing

wearable electronic devices with light-based pulse oximetry functionality and components

thereof. RD at 2 (citing 86 Fed. Reg. at 46275 (defining scope of investigation)). The RD

additionally declared that the record at the time did not include evidence to support an exemption

for service, repair, or replacement. Id. at 2–3. The ALJ further recommended that any LEO

include the standard certification provision. Id. at 3–4 (citing Certain Composite Aerogel

Insulation Materials & Methods for Manufacturing the Same, Inv. No. 337-TA-1003, Comm’n

Op. at 62–63, EDIS Doc. ID 637154 (Feb. 22, 2018); RPHBr. at 279). In doing so, the RD

properly recognized that any non-adjudicated redesigns would not be subject to certification. Id.

at 4 (citing Certain Automated Teller Machines, ATM Modules, Components Thereof & Prods.

Containing the Same, Inv. No. 337-TA-972, Comm’n Op. at 26–27 and n.18, EDIS Doc. ID

613988 (June 12, 2017)).

                       c.     The Parties’ Arguments

       In their briefing to the Commission, Complainants again request that the Commission

issue an LEO. See CBr. at 87–88. Complainants accept the RD’s recommendation that the LEO

include a certification provision. See id. (citing RD at 4). Complainants further declare that the

                                                70

                                          Stay-Add-100
            Case: 24-1285         Document:
                                      PUBLIC7 VERSION
                                                Page: 152          Filed: 12/26/2023




LEO should not include any exemption for a service, repair, or replacement for the reasons it

discusses related to the public interest, discussed below. See id. at 88; see also CBr. (Reply) at

42–43. Complainants additionally argue that the LEO should state that no infringing articles

should be allowed to be imported for any purpose, including the importation of any unreleased

products for “engineering validation testing,” “design validation testing,” or “product validation

testing” prior to commercial launch. CBr. at 88. Complainants further argue that the

Commission should reject Apple’s request for an enforcement delay. See CBr. (Reply) at 40–41.

       Apple argues that, for public interest reasons (discussed below), the Commission should

decline to issue a remedy, or at least suspend enforcement of any remedy for twelve months

and/or include an exemption allowing for the service, repair, and replacement of customers’

Apple Watches. E.g., RBr. at 88–90, 67–72. Apple additionally declares that any LEO should

contain the standard certification provision. See id. at 90–91. Apple further argues that

Complainants’ “proposed LEO and CDO fail to conform the orders with the scope of the

Investigation as defined in the Notice of Investigation: ‘wearable electronic devices with light-

based pulse oximetry functionality and components thereof.’” Id. at RBr. (Reply) at 49 (quoting

86 Fed. Reg. at 46276) (citing Certain Automated Mechanical Transmission Sys., Inv. No. 337-

TA-503, Comm’n Op. at 4 (May 9, 2005)). Apple further points out Complainants’ requested

remedial orders improperly seek to cover “hardware and software components thereof.” Id.

(quoting CBr. at Appx. A, B) (Apple’s emphasis). Regarding “software components,” Apple

argues that those, as “electronic transmissions,” are outside the scope of the Commission’s

jurisdiction. Id. (citing ClearCorrect Operating, LLC v. Int’l Trade Comm’n, 810 F.3d 1283,

1286 (Fed. Cir. 2015)). Apple further addresses Complainants’ assertion that any LEO should

provide “that no infringing articles should be imported for any purpose.” Id. at 50 (quoting CBr.



                                                71

                                          Stay-Add-101
             Case: 24-1285          Document:
                                        PUBLIC7 VERSION
                                                  Page: 153       Filed: 12/26/2023




at 88). Apple declares that it is “unaware of any instance in which the Commission has included

such additional language in the past, and Complainants offer no proper basis to do so in this

case.” Id.

                       d.         Analysis

       The Commission has determined to issue an LEO directed to covered products that

infringe any of claims 22 and 28 of the ’502 patent and claims 12, 24, and 30 of the ’648 patent.

Consistent with standard practice, the Commission defines “covered products” in accordance

with the plain language description of the accused products in the Complaint (see 19 C.F.R.

§ 210.10(b)(1)), which is “wearable electronic devices with light-based pulse oximetry

functionality and components thereof.” 86 Fed. Reg. at 46276. The Commission also agrees

with Apple that the LEO (and CDO) should not cover “software components.” See RBr. (Reply)

at 49 (citing ClearCorrect, 810 F.3d at 1286 (Fed. Cir. 2015)); see also, e.g., Certain Wearable

Electronic Devices with ECG Functionality & Components Thereof, Inv. No. 337-TA-1266,

Comm’n Op. at 50 n.33 (Jan. 20, 2023) (“Commission exclusion orders, however, do not extend

to electronic transmissions.”).

       The issued LEO also includes the standard certification. Neither party has shown a valid

basis for deviating from the Commission’s standard practice. Complainants argue that the LEO

should include language that “clarifies that Apple cannot use the certification procedure for

redesigns that have not been adjudicated as non-infringing.” See CBr. at 87. While the

Commission declines to adopt that language as part of the Order itself, as the RD correctly

recognized, the standard certification does not apply to redesigns that have not been adjudicated

as non-infringing. See RD at 4 (citing Automated Teller Machines, Inv. No. 337-TA-972,

Comm’n Op. at 26–27 (including n.18) (“The standard certification language does not apply to

redesigns that have not been adjudicated as non-infringing.” (Internal quotations removed))).
                                                 72

                                             Stay-Add-102
            Case: 24-1285           Document:
                                        PUBLIC7 VERSION
                                                  Page: 154        Filed: 12/26/2023




Should the Commission or U.S. Customs and Border Protection (“CBP”) later determine that a

redesigned article presented for adjudication does not infringe, the certification provision can

operate to exempt those articles.

       Complainants argue that the LEO should explicitly state that no infringing articles should

be allowed to be imported “for any purpose.” CBr. at 88. However, Complainants have shown

no valid reason for why the Commission’s LEO should include this non-standard language.

Moreover, Complainants’ request is inconsistent with section 337, which does not allow the

Commission to bar, for example, products “imported by and for the use of the United States.” 19

U.S.C. § 1337(l).

       For the reasons discussed below in the context of the public interest,46 the LEO includes a

service, repair, and replacement exemption. See infra section V.B.4.a.iii. However, also for the

reasons discussed below in the context of the public interest, the Commission denies Apple’s

request that the LEO be subject to a twelve-month delay.

                       Cease and Desist Order

       As discussed below, the Commission has determined to issue a CDO directed to Apple

and covered products that infringe any of claims 22 and 28 of the ’502 patent and claims 12, 24,

and 30 of the ’648 patent. The CDO includes a service, repair, and replacement exemption for




       46
           Commissioner Kearns disagrees with the Commission majority’s position that public
interest is the sole statutory ground for exemptions from the scope of remedial orders. As he
explained in Certain Cloud-Connected Wood-Pellet Grills & Components Thereof, Inv. No. 337-
TA-1237 (“Grills”) (joined by Commissioner Karpel), the Commission’s reviewing court has
stated that the Commission has “broad discretion in selecting the form, scope, and extent of the
remedy.” Grills, Comm’n Op. at 11–12 (including n.10) (May 24, 2022). Moreover, they
observed that “the Commission has repeatedly indicated that it has granted warranty and repair
exemptions ‘when unopposed, in view of the public interest, or upon some showing of a need for
service and repair.’” Grills, Comm’n Op. at 11 n.10.

                                                73

                                          Stay-Add-103
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 155           Filed: 12/26/2023




infringing articles purchased prior to the expiration of the period of Presidential review, and the

CDO is to go into effect without delay.

                       a.      The Applicable Law

       Section 337(f)(1) provides that in addition to, or in lieu of, the issuance of an exclusion

order, the Commission may issue a CDO as a remedy for a violation of section 337. See 19

U.S.C. § 1337(f)(1). CDOs are generally issued when, with respect to the imported infringing

products, the respondents maintain commercially significant inventories in the United States or

have significant domestic operations that could undercut the remedy provided by an exclusion

order.47 See, e.g., Certain Table Saws Incorporating Active Injury Mitigation Technology &

Components Thereof, Inv. No. 337-TA-965, Comm’n Op. at 4–6 (Feb. 1, 2017); Certain

Protective Cases & Components Thereof, Inv. No. 337-TA-780, USITC Pub. No. 4405, Comm’n

Op. at 28 (Nov. 19, 2012) (citing Certain Laser Bar Code Scanners & Scan Engines,

Components Thereof & Prods. Containing Same, Inv. No. 337-TA-551, Comm’n Op. at 22 (June

24, 2007)). Complainants bear the burden on this issue: “[a] complainant seeking a [CDO] must

demonstrate, based on the record, that this remedy is necessary to address the violation found in

the investigation so as to not undercut the relief provided by the exclusion order.” Table Saws,

Inv. No. 337-TA-965, Comm’n Op. at 5 (citing Certain Integrated Repeaters, Switches,




       47
          When the presence of infringing domestic inventory or domestic operations is asserted
as the basis for a CDO under section 337(f)(1), Commissioner Schmidtlein does not adopt the
view that the inventory or domestic operations needs to be “commercially significant” in order to
issue the CDO. See, e.g., Certain Magnetic Tape Cartridges and Components Thereof, Inv. No.
337-TA-1058, Comm’n Op. at 65 n.24 (Apr. 9, 2019); Table Saws, Inv. No. 337-TA-965,
Comm’n Op. at 6 n.2 (Feb. 1, 2017). In Commissioner Schmidtlein’s view, the presence of some
infringing domestic inventory or domestic operations, regardless of its commercial significance,
provides a basis to issue a CDO. Id.

                                                74

                                           Stay-Add-104
            Case: 24-1285        Document:
                                     PUBLIC7 VERSION
                                               Page: 156          Filed: 12/26/2023




Transceivers, & Prods. Containing Same, Inv. No. 337-TA-435, USITC Pub. No. 3547 (Oct.

2002), Comm’n Op. at 27 (Aug. 16, 2002); H.R. REP. No. 100-40, at 160 (1987)).

                      b.      The RD

       Before the ALJ, Complainants sought a CDO based on evidence of Apple’s significant

inventory of Accused Products. E.g., RD at 4 (citing CPHBr. at 311). For its part, Apple argued

that any CDO should include service, repair, and replacement exemption that permits “the

continued service, repair, or replacement of previously purchased products, including software

maintenance and updates.” Id. (quoting RPHBr. at 279).

       The RD found that “[t]here is no dispute that Apple maintains a significant commercial

inventory of Accused Products.” Id. at 5 (citing CPHBr. at 311; CX-0128C at ¶ 5). The RD

further found that there is also “evidence that Apple has significant domestic operations, because

Apple is headquartered in California and has over 75,000 U.S. employees.” Id. (citing RStmt.).

Thus, the RD recommended the issuance of a CDO against Apple. Id.

                      c.      The Parties’ Arguments

       Complainants request that the Commission issue a CDO directed to Apple. See CBr. at

87–88. The parties make the same arguments as to the scope of the CDO that they made for the

LEO. See id. at 88; RBr. at 88–90, 67–72. Apple does not dispute the RD’s findings that it

maintains a significant commercial inventory of Accused Products and has significant domestic

operations. See generally RBr.; RBr. (Reply); see also RD at 5.

                      d.      Analysis

       The Commission has determined to issue a CDO directed to Apple and covered products

that infringe any of claims 22 and 28 of the ’502 patent and claims 12, 24, and 30 of the ’648




                                               75

                                          Stay-Add-105
             Case: 24-1285         Document:
                                       PUBLIC7 VERSION
                                                 Page: 157           Filed: 12/26/2023




patent.48 The Commission adopts the undisputed findings in the RD that Apple maintains a

commercially significant inventory of Accused Products and has significant domestic operations.

RD at 5; see also generally RBr. (not disputing that it maintains a commercially significant

inventory or has significant domestic operations); RBr. (Reply) (same). The issued CDO directs

Apple to cease and desist from conducting any of the following activities in the United

States: importing, selling, offering for sale, marketing, advertising, distributing, transferring

(except for exportation), soliciting United States agents or distributors, and aiding or abetting

other entities in the importation, sale for importation, sale after importation, transfer (except for

exportation), or distribution of wearable electronic devices with light-based pulse oximetry

functionality and components thereof that infringe claims 28 of the ’502 patent or any of claims

12, 24, and 30 of the ’648 patent. The language of the CDO is consistent with the Commission’s

standard practice of using the plain language description of the accused products in the

Complaint as the definition of “covered products.” See 19 C.F.R. § 210.10(b)(1). The scope of

the CDO, like the LEO, is discussed below in the context of the public interest.

       B.      Public Interest

       To prevent any harm from the remedial orders to the public health and welfare and to

United States consumers, the Commission’s LEO and CDO each include a service, repair, and

replacement exemption. In view of this exemption, the public interest factors do not counsel

against providing Complainants a remedy. Apple has not shown any reason why the

Commission should delay the enforcement of its remedy.




       48
          Commissioner Schmidtlein agrees that a CDO should issue directed to Respondent
Apple, but she differs from the majority with respect to the basis for that determination. See
supra note 47 (“[T]he presence of some infringing domestic inventory or domestic operations,
regardless of its commercial significance, provides a basis to issue a CDO.”).
                                                 76

                                           Stay-Add-106
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 158           Filed: 12/26/2023




                       The Applicable Law

       Section 337 requires that the Commission, upon finding a violation of section 337, issue

an LEO “unless, after considering the effect of such exclusion upon the public health and

welfare, competitive conditions in the United States economy, the production of like or directly

competitive articles in the United States, and United States consumers, it finds that such articles

should not be excluded from entry.” 19 U.S.C. § 1337(d)(l). Similarly, the Commission must

consider these public interest factors before issuing a CDO. 19 U.S.C. § 1337(f)(1).

       Under appropriate facts and circumstances, the Commission may determine that no

remedy should issue because of the adverse impacts on the public interest. See, e.g., Certain

Fluidized Supporting Apparatus & Components Thereof, Inv. Nos. 337-TA-182/188, USITC

Pub. 1667, Comm’n Op. at 1–2, 23–25 (Oct. 1984) (finding that the public interest warranted

denying complainant’s requested relief). Moreover, when the circumstances of a particular

investigation require, the Commission has tailored its relief in light of the statutory public

interest factors. For example, the Commission has allowed continued importation for ongoing

medical research, exempted service parts, grandfathered certain infringing products, and delayed

the imposition of remedies to allow affected third-party consumers to transition to non-infringing

products. E.g., Certain Microfluidic Devices, Inv. No. 337-TA-1068 Comm’n Op. at 1, 22–48,

53–54 (analyzing the public interest, discussing applicable precedent, and ultimately issuing a

tailored LEO and a tailored CDO); Certain Road Milling Machines & Components Thereof, Inv.

No. 337-TA-1067, Comm’n Op. at 32–33 (July 18, 2019) (exempting service parts); Certain

Baseband Processor Chips & Chipsets, Transmitter, & Receiver (Radio) Chips, Power Control

Chips, & Prods. Containing Same, Including Cellular Tel. Handsets, 337-TA-543, USITC Pub.

No. 4258, comm’n Op. at 150–51 (Oct. 2011) (grandfathering certain products); Certain



                                                 77

                                           Stay-Add-107
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 159           Filed: 12/26/2023




Personal Data & Mobile Comm’n Devices & Related Software, 337-TA-710, USITC Pub. No.

4331, Comm’n Op., at 72–73, 80–81 (June 2012) (delaying imposition of remedy).

       The statute requires the Commission to consider and make findings on the public interest

in every case in which a violation is found regardless of the quality or quantity of public interest

information supplied by the parties. See 19 U.S.C. § 1337(d)(l), (f)(l). Thus, the Commission

publishes a notice inviting the parties as well as interested members of the public and interested

government agencies to gather and present evidence on the public interest at multiple junctures

in the proceeding. See 19 U.S.C. § 1337(d)(l) & (f)(l).

                       Non-Party Comments on the Public Interest

       The Commission’s solicitation of public interest comments following the ALJ’s RD (88

Fed. Reg. 6312, 6312–13 (Jan. 31, 2023)) resulted in numerous submissions on the public

interest from non-parties, including:

       (1)     Public Interest Comments of David Albert, EDIS Doc. ID 790883 (Feb. 22, 2023)
               (“Albert Stmt.”);

       (2)     Public Interest Statement of the Alliance for U.S. Startups and Inventors for Jobs,
               EDIS Doc. ID 791674 (Mar. 3, 2023) (“Alliance for U.S. Startups Stmt.”);

       (3)     Statement of Non-Party American Heart Association on the Public Interest of the
               Recommended Remedial Orders But Not in Support of Any Party, EDIS Doc. ID
               791476 (Mar. 1, 2023) (“AHA Stmt.”);

       (4)     Public Interest Letter from the Honorable Ken Buck, Henry C. Johnson, Jr., and
               Katie Porter, EDIS Doc. ID 791047 (Feb. 23, 2023) (“Buck Stmt.”);

       (5)     Public Interest Comments from C4IP, EDIS Doc. ID 791567 (Mar. 2, 2023)
               (“C4IP Stmt.”);

       (6)     Public Interest Comments of Bill Carpou from Octane, EDIS Doc. ID 790962
               (Feb. 23, 2023) (“Carpou Stmt.);

       (7)     Statement of Third Party Computer and Communications Industry Association in
               Response to the Commission’s January 31, 2023, Notice of Request for
               Statements on the Public Interest, EDIS Doc. ID 791054 (Feb. 23, 2023) (“CCIA
               Stmt.”);

                                                78

                                           Stay-Add-108
       Case: 24-1285     Document:
                             PUBLIC7 VERSION
                                       Page: 160        Filed: 12/26/2023




(8)     Public Interest Statement of Consumer Federation of America, EDIS Doc. ID
        791163 (Feb. 27 2023) (“CFA Stmt.”);

(9)     Public Comments from California Life Sciences, EDIS Doc. ID 791012 (Feb. 23,
        2023) (“CLS Stmt.”);

(10)    Letter of Support from Cure HHT, EDIS Doc. ID 790394 (Feb. 15, 2023) (“Cure
        HHT Stmt.”);

(11)    Public Interest Statement of David Dinielli and Michael Enseki-Frank, EDIS Doc.
        ID 791686 (Mar. 3, 2023) (“Dinielli Stmt.”);

(12)    Public Interest Statement of Ryan Drant from Questa Capital, EDIS Doc. ID
        790991 (Feb. 23, 2023) (“Drant Stmt.”);

(13)    Public Interest Statement of Non-Party Mitchell Goldstein, M.D., EDIS Doc. ID
        791179 (Feb. 27, 2023) (“Goldstein Stmt.”);

(14)    Public Interest Comments from Innovation Alliance, EDIS Doc. ID 791048 (Feb.
        23, 2023) (“Innovation Alliance Stmt.”);

(15)    Public Interest Statement of Josh Malone, EDIS Doc. ID 790787 (Feb. 21, 2023)
        (“Malone Stmt.”);

(16)    Christopher McCarthy Public Interest Statement Points Supporting Masimo,
        EDIS Doc. ID 789080 (Feb. 1, 2023) (“McCarthy Stmt.”);

(17)    Public Interest Statement of Non-Party of Medical Device Manufacturers
        Association (MDMA), EDIS Doc. ID 791167 (Feb. 27, 2023) (“MDMA Stmt.”);

(18)    Public Interest Statement of Richard Milani, M.D., EDIS Doc. ID 791665 (Mar.
        2, 2023) (“Milani Stmt.”);

(19)    Statement of Third Party Law Professors Adam Mossof and Kristen Osenga in
        Response to the Commission’s Notice of Request for Statements on the Public
        Interest and Reply to Respondent’s Statement of February 22, 2023, EDIS Doc.
        ID 791069 (Feb. 23, 2023) (“Mossof Stmt.”);

(20)    National Jewish Health Support for the Apple Watch for Use in Tracking
        Physiologic Features in Medical Patients, EDIS Doc. ID 790602 (Feb. 17, 2023)
        (“NJH Stmt.,” letter authored by Russell Bowler, M.D., Ph.D.);

(21)    Cynthia Persaud Comments for Inv. 337-1276, EDIS Doc. ID 789338 (Feb. 3,
        2023) (“Persaud Stmt.”);

(22)    Public Interest Statement of Non-Party Peter Pronovost, M.D., EDIS Doc. ID
        791162 (Feb. 27, 2023) (“Pronovost Stmt.”);


                                      79

                                 Stay-Add-109
              Case: 24-1285      Document:
                                     PUBLIC7 VERSION
                                               Page: 161        Filed: 12/26/2023




       (23)    Public Interest Statement of Non-Party Patient Safety Movement Foundation,
               EDIS Doc. ID 791175 (Feb. 27, 2023) (“PSMF Stmt.,” letter authored by Dr.
               Michael Ramsay);

       (24)    Stanford University Medical Center Letter in Support of Apple Watch, EDIS Doc.
               ID 791060 (Feb. 23, 2023) (“Stanford Stmt.,” letter authored by Stephen Ruoss,
               MD);

       (25)    StopAFib.org Letter of Support, EDIS Doc. ID 790642 (Feb. 21, 2023)
               (“StopAFib.org Stmt.”);

       (26)    University of Michigan Health Letter of Support for Apple Watch, EDIS Doc. ID
               790641 (Feb. 21, 2023) (“Univ. of Mich. Stmt.,” letter authored by Jessica R.
               Golbus MD, MS);

       (27)    Public Interest Comments of US Inventor, Inc., EDIS Doc. ID 791041 (Feb. 23,
               2023) (“US Inventor Stmt.”);

       (28)    Dr. Robert M. Watcher Letter in Support of Apple and Public Interest, EDIS Doc.
               ID 790510 (Feb. 16, 2023) (“Wachter Stmt.”);

       (29)    Public Interest Statement of Kevin R. Ward, MD, EDIS Doc. ID 790884 (Feb. 22,
               2023) (“Ward Stmt.”);

       (30)    Comments from Dr. Adam Waddell, MD, EDIS Doc. ID 789029 (Jan. 31, 2023)
               (“Waddell Stmt.”);

       (31)    Public Interest Statement of Non-Party Bobby Yazdani, EDIS Doc. ID 791177
               (Feb. 27, 2023) (“Yazdani Stmt.”).

       The Commission’s notice of review (88 Fed. Reg. at 32243–46 (May 19, 2023)) also

resulted in several submissions from third parties:

       (1)     Public Interest Comments from Council for Innovation Promotion (C4IP), EDIS
               Doc. ID 797854 (June 5, 2023) (“C4IP Comments”);

       (2)     Public Interest Comments from Hugh Calkins, M.D., EDIS Doc. ID 797827 (June
               5, 2023) (“Calkins Comments”);

       (3)     Public Interest Comments from Nelson Freimer, M.D., EDIS Doc. ID 797817
               (June 5, 2023) (“Freimer Comments”);

       (4)     Public Interest Comments from Calum A. MacRae, MD, PhD, EDIS Doc. ID
               797826 (June 5, 2023) (“MacRae Comments”);

       (5)     Public Interest Comments from Rod S. Passman, M.D., M.S.C.E., EDIS Doc. ID
               797813 (June 5, 2023) (“Passman Comments”);

                                               80

                                          Stay-Add-110
              Case: 24-1285        Document:
                                       PUBLIC7 VERSION
                                                 Page: 162             Filed: 12/26/2023




        (6)      Comments on Public Interest from Leslie A. Saxon, M.D., EDIS Doc. ID 797811
                 (June 5, 2023) (“Saxon Comments”);

        (7)      Public Interest Comments from Professors Francisco J. Valero-Cuevas, PhD and
                 Najmedin Meshkati, PhD, CPE, EDIS Doc. ID 798257 (June 12, 2023) (“Valero-
                 Cuevas Comments”).

        The Commission has considered all of these submissions in making its final

determination.


                        Whether Apple is Collaterally Estopped from Arguing the Merits of
                        the Public Interest

        As a preliminary matter, Complainants allege that Apple is collaterally estopped from

arguing the merits of its public interest arguments. E.g., CBr. at 56–57. As discussed below, the

Commission disagrees.

                        a.      The Parties’ Arguments

        Complainants argue that Apple should be estopped from arguing the merits of the public

interest, reasoning that Apple already presented its arguments to the Commission in Wearable

Electronic Devices, Inv. No. 337-TA-1266, where the Commission concluded that the public

interest did not weigh against excluding the infringing Apple Watches.49 See CBr. at 56–57.

Complainants argue that the Commission has previously applied collateral estoppel when:

(1) the issue decided in the prior litigation is identical to that before the tribunal; (2) the issue

was actually litigated in the prior proceeding; (3) the resolution of the issue in the prior litigation

was necessary to its resulting judgment; and (4) the party against whom collateral estoppel is




        49
           In that investigation, the complainant (AliveCor, Inc.) accused the Apple Watch Series
4, 5, 6, and 7. Wearable Elec. Devices, Inv. No. 337-TA-1266, Comm’n Op. at 9. The
Commission issued remedial orders with a service, repair, and replacement exemption, although
the remedial orders remain suspended pending final resolution of the complainant’s appeal of the
USPTO’s final written decisions finding the asserted claims invalid. See id. at 86–87.

                                                  81

                                            Stay-Add-111
             Case: 24-1285          Document:
                                        PUBLIC7 VERSION
                                                  Page: 163             Filed: 12/26/2023




asserted had a full and fair opportunity to litigate its position. Id. at 56 (citing Certain Three-

Dimensional Cinema Sys. & Components Thereof, Inv. No. 337-TA-939, EDIS Doc. ID 588763,

Comm’n Op. at 53 (Aug. 23, 2016)). According to Complainants, all of those elements are

satisfied here, and the Commission therefore should likewise conclude that no public interest

concerns warrant denying their requested remedy. See id. at 56–57.

        In reply, Apple asserts that collateral estoppel does not apply here. See RBr. (Reply) at

35–36. Apple reasons that the public interest issues now at issue are different from the ones in

Wearable Electronic Devices, Inv. No. 337-TA-1266, where Commission briefing was

completed months earlier and related to a different feature. Id. at 35. Apple further alleges that,

in assessing the “propriety of remedial orders, the Commission should consider public interest

issues on an ongoing basis, based on the present facts.” Id. Apple points out that the

Commission has never applied collateral estoppel regarding the public interest, and Apple further

asserts that the Commission has rejected the application of estoppel to the public interest in the

past. Id. (citing, inter alia, Certain Mobile Elec. Devices & Radio Frequency & Processing

Components Thereof (II), Inv. No. 337-TA-1093, Final ID, 2019 WL 2058009, at *23 (Mar. 26,

2019)). Apple further argues that the particular public interest questions “posed in the

Commission’s Notice of Review indicate that issues specific to this Investigation will bear on the

Commission’s findings,” and the Commission should therefore consider that briefing. Id. at 36.

                        b.      Analysis

        The Commission concludes that collateral estoppel does not bar Apple from arguing the

merits of the public interest. The statutory language of section 337 requires the Commission to

consider the public interest in each investigation before issuing a remedy. See, e.g., 19 U.S.C.

§ 1337(d)(1) (“If the Commission determines, as a result of an investigation under this section,

that there is a violation of this section, it shall direct that the articles concerned . . . be excluded
                                                   82

                                             Stay-Add-112
              Case: 24-1285        Document:
                                       PUBLIC7 VERSION
                                                 Page: 164          Filed: 12/26/2023




from entry . . . unless, after considering the effect of such exclusion upon the [public interest

factors], it finds that such articles should not be excluded from entry.” (Emphasis added)).

Relying on the Commission’s decision in previous investigations alone does not satisfy the

statutory mandate to consider the public interest. See Microfluidic Devices, Inv. No. 337-TA-

1068, Comm’n Op at 28 (“[T]he statute requires the Commission to consider and make findings

on the public interest in every case in which a violation is found.”), 28 n.25 (“The Commission

has a statutory duty to consider the public interest.”). While the Commission’s reasoning in

Wearable Electronic Devices is in some instances applicable here (as discussed below), the

Commission will consider Apple’s arguments anew. Furthermore, unlike the arguments in

Wearable Electronic Devices, the public interest arguments here involve both the Apple

Watches’ blood oxygen feature and electrocardiogram (“ECG”) recording feature. Moreover,

any estoppel would be inapplicable to non-party comments.

                        The Public Interest Factors

                        a.      Public Health and Welfare

       In general, Apple argues that Complainants’ requested remedy will adversely affect the

public health and welfare because it will “prevent consumers and medical researchers from

future access not only to the Blood Oxygen feature50 that Complainants have accused of

infringement, but also to a host of other health, wellness, and safety features—including ones

known to be lifesaving.” RBr. at 83. Apple primarily points to the ECG recording feature that

was at issue in Wearable Electronic Devices, Inv. No. 337-TA-1266. Apple further explains

that, “[i]n addition to numerous consumer connectivity functions—including cellular capability,




       50
            The “Blood Oxygen feature” refers to the infringing pulse oximetry feature.

                                                 83

                                           Stay-Add-113
                Case: 24-1285        Document:
                                         PUBLIC7 VERSION
                                                   Page: 165          Filed: 12/26/2023




messaging, email, access to the Internet, and navigation,” the Apple Watches subject to

exclusion “also offer the IRN51 feature and the ECG app, which provide notification of a

potentially fatal cardiac condition (atrial fibrillation)52 and allow users to monitor their heart

rhythm and share the data with their doctors.” Id. Apple further argues that Complainants’

proposed exclusion order would also be a “major setback for medical research, where Apple

Watch plays a critical role.” Id. at 84.

         Apple additionally argues that any remedial order should include a service, repair, and

replacement exemption for consumers who have permissibly obtained an Apple Watch with the

accused blood oxygen feature. E.g., id. at 74. Apple also argues that the enforcement of any

remedial order should be delayed for twelve months to “allow other device manufacturers to

scale up their production capacity and address supply chain constraints that will limit supply of

alternatives” and to “allow Apple sufficient time to prepare and implement its proposed design-

around, and to allow the design-around to go through the necessary approval process.” E.g., id.

at 89.

         As discussed below, the Commission has determined that any adverse effect on the public

health and welfare from the Commission’s remedial orders can be mitigated by the provided

service, repair, and replacement exemption. There are numerous reasonable substitutes for

infringing Apple Watches available in the United States for both Apple Watch users who use the

devices for personal, health-related use and for users who are using infringing Apple Watches to

participate in medical studies. Additionally, the Commission’s remedial orders, in view of the



         51
          “IRN” stands for “irregular rhythm notification.” The Apple Watch SE, which is not
subject to the Commission’s remedial order includes the IRN feature. See RBr. at 84 n.51.
         52
              “Atrial fibrillation” is sometimes abbreviated herein as “AFib.”

                                                   84

                                             Stay-Add-114
             Case: 24-1285          Document:
                                        PUBLIC7 VERSION
                                                  Page: 166         Filed: 12/26/2023




service, repair, and replacement exemption, will have no meaningful effect on medical research.

Last, Apple has not shown the need for any delay in the enforcement of the Commission’s

remedy.

                               i.        Reasonable Substitutes

                                         a)     The Parties’ Arguments

                                         Apple’s Arguments

       Regarding the scope of reasonable substitutes, Apple asserts that the Accused Products

“include numerous features pertinent to public health and public welfare, and relevant to the

reasonable substitute inquiry,” such as: (1) they are smartwatches (i.e. they have “features

similar to a smartphone,” including telecommunications and location-sharing capabilities and

accessibility features that may assist the hearing or visually-impaired); (2) they are “fitness

tracking devices”; and (3) they are “health and wellness devices” that include, for example,

ECG, IRN, and HHRN53 features, and have also been authorized by the FDA. RBr. at 64–66.

Apple declares that, “[b]ecause the Accused Apple Watches are multi-featured devices intended

to serve a wide spectrum of potential users, consumers purchase the Accused Apple Watches to

obtain different combinations of the above-described features.” Id. at 66; see also id. at 66–67.

And, according to Apple, while “[o]ther smartwatches . . . share some functionality with Apple

Watches,” they “may lack crash-detection or AFib History, and many of them lack ECG,

temperature tracking, and/or fall detection features.” Id. at 70. Apple further argues that

Complainants erroneously “attempt to narrow the range of features relevant to the public interest

inquiry to only ‘health, safety, and wellness features.’” RBr. (Reply) at 40 (citing



       53
          “HHRN” stands for “high heart rate notification.” The non-infringing Apple Watch SE
includes this feature. See CBr. (Reply) at Ex. 93 (McGavock Declaration) at ¶ 39 (Table 1).

                                                85

                                           Stay-Add-115
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 167           Filed: 12/26/2023




Thermoplastic-Encapsulated Motors, Inv. No. 337-TA-1073, RD, 2018 WL 10758211, at *5

(Nov. 27, 2018); Elec. Digital Media Devices, Inv. No. 337-TA-796, Comm’n Op., 2013 WL

10734395 at *80 (Nov. 27, 2018)). Apple explains that “[t]he protected interest is the public’s

ability to access the numerous relevant features in the Accused Apple Watches, just as the public

was interested in accessing the relevant active safety system functionality in Certain Table

Saws.” Id. at 42.

       Apple specifically argues that Masimo’s W1 Watch should not be considered a

reasonable substitute because (1) it is not available to U.S. consumers in “any material quantity,”

(2) it is not a “smartwatch,” (3) it allegedly has not been shown to “reliably measure

physiological parameters,” and (4) it is allegedly not manufactured in sufficient quantity to meet

the demand created by an exclusion order. RBr. at 63.

                                     Complainants’ Arguments

       Complainants argue that “reasonable substitutes” should be defined the same way as in

Wearable Electronic Devices, i.e., as watches with a “range of health, safety, and wellness

features.” CBr. at 81 (citing Wearable Elec. Devices, Inv. No. 337-TA-1266, Comm’n Op. at

75). Complainants explain that, under Table Saws, a “reasonable substitute” is defined by the

“protected interest” in the features benefitting the public health and welfare. Id. (citing Table

Saws, Inv. No. 337-TA-965, Comm’n Op. at 3). Complainants then declare that the public

health and welfare is not impacted by consumers’ inability to have smartwatches generally, and

thus, “reasonable substitutes” should be defined as they were in Wearable Electronic Devices.

See CBr. (Reply) at 37.

       Regarding specific substitutes, Complainants rely in part on following chart from the

Commission’s Opinion in Wearable Electronic Devices, Inv. No. 337-TA-1266:



                                                86

                                           Stay-Add-116
            Case: 24-1285        Document:
                                     PUBLIC7 VERSION
                                               Page: 168          Filed: 12/26/2023




CBr. at 83; Wearable Elec. Devices, Inv. No 337-TA-1266, Comm’n Op. at 77. Complainants

point out that most of these watches offer the blood oxygen feature and at least the Samsung

Galaxy (Watch 5) and Fitbit (Sense 2) include an ECG recording feature. Complainants allege

that “[a]ll of the wearables manufactured by third parties identified in the above chart would be

reasonable substitutes for the infringing Apple Watches.” Id. Aside from reliance on Wearable

Electronic Devices, Complainants argue:

           Garmin’s vivoactive®, Fenix®, epix™, Venu®, and Forerunner® series
           all have watches that include a blood oxygen feature. Google’s Pixel
           watch[ ] includes a blood oxygen feature. Samsung’s Galaxy 5 watch
           contains a blood oxygen feature. The Fitbit Versa 4™, Sense 2™, and
           Charge 5™ also contain blood oxygen features. The Fossil Gen6 contains
           a blood oxygen feature as well. These smartwatches contain many of the
           features found in the Apple Watch and many sell at lower prices.
           Masimo’s W1, available directly to consumers, offers continuous clinical-
           grade pulse oximetry as well as other health features. It is currently used
           in hospitals as well, outside the United States. . . . Masimo’s Freedom
           smartwatch will also include pulse oximetry and other health features and
           is expected to launch in the Fall of this year. Moreover, Masimo offers its


                                               87

                                          Stay-Add-117
            Case: 24-1285           Document:
                                        PUBLIC7 VERSION
                                                  Page: 169        Filed: 12/26/2023




           blood oxygen sensor as a module to third parties who can integrate the
           module in their own smartwatches.

           Numerous other competitive products are reasonable substitutes for the
           ECG functionality of the infringing products. This includes the Garmin
           Venu 2 Plus, Google Pixel, Samsung Galaxy 5, Fitbit Sense 2, and Fitbit
           Charge 5. As the Commission held in [Wearable Electronic Devices], the
           public’s interest in these health features of the Apple Watch is insufficient
           to overcome the statutory remedy given the availability of competing
           substitutes.

Id. at 64–65 (citations and footnotes omitted).

       Complainants also specifically argue that Masimo’s W1 Watch is a reasonable substitute

for the infringing Apple Watches because it offers many of the same health features that the

public would be interested in having access to, including blood oxygen measurements. See CBr.

at 83–84. Complainants point out that the Final ID found that the W1 Watch can reliably

measure physiological parameters, such as blood oxygen levels. Id. (citing, inter alia, Final ID

at 60–63); see also id. at 38–39. Complainants further argue that the W1 Watch should not be

outside the scope of reasonable alternatives for not being produced in a sufficient quantity alone

to meet all consumer demand created by any exclusion order because the Commission does not

require any alleged substitute to satisfy that demand alone. See CBr. (Reply) at 37.

       Complainants further argue that there is no evidence that other manufacturers of suitable

alternatives do not have capacity to meet consumer demands.” CBr. (Reply) at 39; see also id. at

39–41. Complainants point out that Apple itself could manufacture its Apple Watch SE, “which

contains virtually all the same features as the infringing products, or return to producing the

Apple Watch Series 4 or 5, which also included ECG,” but not blood oxygen measurements. Id.

(citing CBr. Ex. 93 at ¶¶ 22–24).

                                        b)        Non-Party Comments

       Some researchers stated that other devices can replace Apple Watches:


                                                  88

                                          Stay-Add-118
            Case: 24-1285        Document:
                                     PUBLIC7 VERSION
                                               Page: 170          Filed: 12/26/2023




           Given our combined expertise in the theory, design, financing, execution,
           and dissemination of medical research, we see no reason why it is not
           possible to replace the Apple Watch in pending health applications with
           alternative wearable devices from Fitbit, Withings, Garmin and others that
           are able to provide human motion, heart function and oxygen saturation
           information. Several of these companies also readily provide the
           Application Programming Interface (API) code that allows connectivity
           and data transfer to the investigator’s systems.

Valero-Cuevas Comments, EDIS Doc. ID 798257, at 2; see also id. at 2–3. Other researchers,

medical professionals, and commenters submitted filings indicating a preference for Masimo’s

technology, with some going so far as discouraging reliance on Apple’s blood oxygen saturation

feature. See, e.g., McCarthy Stmt., EDIS Doc. ID 789080; Waddell Stmt., EDIS Doc. ID

789029; Albert Stmt., EDIS Doc. ID 790883; Ward Stmt., EDIS Doc. ID 790884; Yazdani Stmt.,

EDIS Doc. ID 791177; Goldstein Stmt., EDIS Doc. ID 791179; MDMA Stmt., EDIS Doc. ID

791167; PSMF Stmt., EDIS Doc. ID 791175; Pronovost Stmt., EDIS Doc. ID 791162.

       Still other researchers indicated a preference for the Apple Watch. See, e.g., NJH Stmt.,

EDIS Doc. ID 790602, at 1; Passman Comments, EDIS Doc. ID 797813, at 1–2; Freimer

Comments, EDIS Doc. ID 797817, at 1–2; Calkins Comments, EDIS Doc. ID at 797827, at 1–2;

MacRae Comments, EDIS Doc. ID 797826, at 1–2; Saxon Comments, EDIS Doc. ID 797811, at

1–2; AHA Stmt., EDIS Doc. ID 791476, at 3.

                                       c)       Analysis

       The Commission assesses the scope of reasonable alternatives from the perspective of

public interest concerns raised in an investigation. See Wearable Electronic Devices, Inv. No.

337-TA-1266, Comm’n Op. at 73–74 (assessing the scope of reasonable substitutes from the

perspective of each of the three public interest concerns raised by Apple); Table Saws, Inv. No.

337-TA-965, Comm’n Op. at 9 (“The protected [public health and welfare] interest here is the

public’s ability to purchase table saws with [active injury management technology (‘AIMT’)]


                                                89

                                            Stay-Add-119
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 171           Filed: 12/26/2023




functionality, not the ability to purchase AIMT table saws with a specific feature set that is

unrelated to the efficacy of the AIMT functionality.”). The Commission notes that Apple argues,

regarding the public health and welfare, that the Apple Watches’ ECG feature should also be

considered because all accused Apple Watches that have the blood oxygen feature also have the

ECG feature, and thus an exclusion order affecting blood oxygen feature-containing Apple

Watches would also result in the exclusion of ECG feature-containing Apple Watches. RBr. at

60. Therefore, for the purposes of the public health and welfare factor, because the ECG feature

is a health related feature, the Commission considers the scope of “reasonable substitutes” to

include substitutes that offer a wide range of health, safety, and wellness features, including

those that allow consumers to measure blood oxygen levels and that can record ECGs, although a

single device need not have the capability to measure both oxygen levels and record ECGs. See

Wearable Electronic Devices, Inv. No. 337-TA-1266, Comm’n Op. at 75. While it is not ideal

for an individual or research participant to wear two wearable electronic devices to obtain all of

the desired features, the inconvenience of doing so is not significant enough to rise to the level of

a public interest concern, especially in view of the countervailing interest of protecting

intellectual property rights. See, e.g., Certain Two-Handle Centerset Faucets & Escutcheons &

Components Thereof, Inv. No. 337-TA-422, Comm’n Op. at 9 (July 21, 2000); Microfluidic

Devices, Inv. No. 337-TA-1068, Comm’n Op. at 45–46.

       Apple stretches the public health and welfare public interest factor too far by seeking to

require reasonable substitutes for this factor to also have telecommunications features, location

tracking features, “smart” wallet and keys features, and accessibility features. The connection to

the public health and welfare with those features is too attenuated to rise to the level of a public

interest concern, especially when some of those alleged Apple Watch features require a paired



                                                 90

                                           Stay-Add-120
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 172           Filed: 12/26/2023




iPhone (which can independently perform many of those functions). See CBr. (Reply) at 37.

And again, “[t]he correct assessment . . . for ‘reasonable substitutes for the devices subject to the

exclusion order,’ [is] not whether ‘every consumer cannot obtain the exact device desired.’”

Fitness Devices, Inv. No. 337-TA-1265, Comm’n Op., at 85 (quoting Elec. Digital Media

Devices, Inv. No. 337-TA-796, Comm. Op. at 120, and citing Table Saws, Inv. No. 337-TA-965,

Comm’n Op. at 9).54

       In view of the above, the scope of reasonable substitutes for the public health and

wellness factor in this investigation include: Masimo’s W1 and Freedom Watches (blood

oxygen feature), Google’s Pixel watch (blood oxygen and ECG features),55 Samsung Galaxy

Watch 5 (blood oxygen and ECG features),56 Fitbit (Versa 4™ (blood oxygen feature), Sense

2™ (blood oxygen and ECG features), and Charge 5™ (blood oxygen and ECG features)),57



       54
           While “reasonable substitutes” also considers “price points,” Table Saws, Inv. No. 337-
TA-965, Comm’n Op. at 8, Apple appears to allege that price point is an issue regarding only
Masimo’s soon-to-be-released Freedom Watch. While the Freedom Watch will be priced higher
than the base infringing Apple Watch models (see RBr. at Ex. 3 at ¶ 25 ($999 for the Freedom
Watch compared to the Apple Watch Series 8, which starts at $399)), infringing Apple Watch
models can be comparable in price ($799) based on consumer choices (see RBr. at 77 (citing,
inter alia, RBr. at Ex. 4 (Watkins Decl.) at ¶ 21; RX-0333 at .0011). Other reasonable
substitutes are even more comparable in price. For example, the Garmin Venu® 2 Plus is
available for $449, see CBr. at Ex. 49 (https://www.garmin.com/en-US/p/730659), and the
Garmin vivoactive® is available for $349, see CBr. at Ex. 7 (https://www.garmin.com/en-
US/p/643399).
       55
        CBr. at Ex. 12 (https://store.google.com/product/google_pixel_watch_specs?hl=en-
US); CBr. at Ex. 50 (https://support.google.com/googlepixelwatch/answer/12759285?hl=en).
       56
         CBr. at Ex. 13 (https://www.gadgetstowear.com/measure-blood-oxygen-on-galaxy-
watch-5/); CBr. at Ex. 51 (https://www.androidcentral.com/wearables/measure-ecg-samsung-
galaxy-watch-5).
       57
          CBr. at Ex. 14
(https://www.fitbit.com/global/us/products/smartwatches/versa4?sku=523BKBK); CBr. at Ex.
52 (https://help.fitbit.com/articles/en_US/Help_article/2457.htm).

                                                 91

                                           Stay-Add-121
              Case: 24-1285       Document:
                                      PUBLIC7 VERSION
                                                Page: 173           Filed: 12/26/2023




Fossil (Gen 6) (blood oxygen feature),58 Garmin (vivoactive® (blood oxygen feature),59 Fenix®

(blood oxygen feature),60 epix™ (blood oxygen feature),61 Venu® (blood oxygen feature),62

Venu® 2 Plus (ECG feature),63 and Forerunner®64 series (blood oxygen feature)), and Zepp

(Amazefit GTS4). See CBr. at 64–66; CBr. (Reply) at 37 (citing Wearable Elec. Devices, Inv.

No. 337-TA-1266, Comm’n Op. at 37). These watches (alone or combined with each) include

one or both of the blood oxygen features and the ECG features (as well as the IRN, HHRN, or

other features), and thus are reasonable substitutes.65

       The Commission agrees with Complainants that the W1 Watch can serve as a reasonable

substitute for the infringing Apple Watches as to the public health and welfare factor. See, e.g.,

CBr. (Reply) at 38–39. In protesting against the suitability of this product, Apple asserts that the

W1 Watch “has not been shown to reliably measure physiological parameters.” RBr. at 68.



       58
            CBr. at Ex. 15 (https://www.fossil.com/en-us/watches/learn-more/gen-6-wellness/).
       59
            CBr. at Ex. 7 (https://www.garmin.com/en-US/p/643399).
       60
            CBr. at Ex. 8 (https://www.garmin.com/en-US/p/735542).
       61
            CBr. at Ex. 9 (https://www.garmin.com/en-US/p/760778).
       62
            CBr. at Ex. 10 (https://www.garmin.com/en-US/p/801643).
       63
            CBr. at Ex. 49 (https://www.garmin.com/en-US/p/730659).
       64
            CBr. at Ex. 11 (https://www.garmin.com/en-US/p/886785).
       65
           We note that Complainants argue, in response to Apple’s arguments regarding the ECG
feature, that the Apple Watch SE should be considered a reasonable substitute for purposes of the
public health and welfare factor because it was considered a substitute in Wearable Electronic
Devices, Inv. No. 337-TA-1266. E.g., CBr. at 66. However, in that investigation, the record
included specific, reliable evidence that the Apple Watch SE, when combined with accessories,
could be used to record ECGs and therefore was a reasonable substitute. E.g., Wearable Elec.
Devices, Inv. No. 337-TA-1266, Comm’n Op. at 75–76 (including n.39). Complainants point to
no such evidence in the record in this investigation. Accordingly, the Commission rejects this
argument.

                                                92

                                           Stay-Add-122
               Case: 24-1285          Document:
                                          PUBLIC7 VERSION
                                                    Page: 174        Filed: 12/26/2023




However, the Final ID properly found that “the variation in the measurements [of oxygen

saturation by the W1 Watch] appears to be consistent with FDA guidance regarding pulse

oximetry.” Final ID at 62 n.18. And, regarding Masimo’s Freedom Watch, Masimo’s Chief

Operating Officer, Bilal Muhsin, stated in a declaration:

              In Fall 2023, Masimo intends to launch the Masimo Freedom smartwatch.
              The Masimo Freedom grew out of the Masimo W1, and will also provide
              clinical-grade pulse oximetry, as well as unparalleled real-time health
              indicators such as pulse rate, and unique scores and indexes such as
              Hydration Index, and Stress Index. The Masimo Freedom will be capable
              of measuring all the same variables as the Masimo W1, but will also
              include other traditional smartwatch capabilities, and safety features such
              as fall detection.

CBr. at Ex. 53 at ¶ 5. Apple acknowledges that the Freedom Watch is a planned replacement for

the W1 Watch. See RBr. at 87, 88 n.54 (noting a March 28, 2023 Masimo press release

regarding pre-sale launch of the Freedom Watch). Thus, the Freedom Watch is also a reasonable

substitute.

                                ii.       The Remedial Orders Will Have at Most a Minimal
                                          Adverse Effect on Medical Research

        In brief, the Commission finds that its remedial orders will have, at most, a minimal

adverse effect on medical research.

                                          a)      The Parties’ Arguments

                                          Apple’s Arguments

        Apple argues that Complainants’ requested remedial orders will adversely affect medical

studies using the infringing blood oxygen feature, as well as studies using the ECG recording

feature, of the accused Apple Watches. See RBr. at 57–62. Apple reasons that studies using the

Apple Watches’ ECG feature should also be considered in assessing impact on the public health

and welfare because all accused Apple Watches that have the blood oxygen feature also have the

ECG feature, and thus an exclusion order affecting blood oxygen feature-containing Apple

                                                  93

                                            Stay-Add-123
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 175           Filed: 12/26/2023




Watches would also result in the exclusion of ECG feature-containing Apple Watches. See id. at

60. Apple further alleges that a “key benefit of [the] Apple Watch for . . . studies is that

researchers can use the multiple health and wellness metrics available through the Accused

Apple Watches (as opposed to a single data field), helping to advance scientific discovery by

identifying how various metrics relate to certain conditions.” Id. at 58. Apple points to several

specific studies. See id. at 57–61. Apple further points to certain research areas for which it

believes the accused Apple Watches “could potentially be impactful,” including those related to

racial disparities in pulse oximetry measurement accuracy. Id. at 59–60. Apple further argues

that “the broad availability of [the] Apple Watch to consumers enables researchers more

generally to conduct decentralized research, which helps promote higher enrollment and more

diverse patient populations.” Id. at 61. Apple thus concludes that the Commission should find

that Complainants’ requested remedial orders would undermine important medical studies, and

because it would allegedly not be practical to tailor any remedial orders to permit the importation

or sale of Apple Watch models for use in clinical trials and other medical research, the

Commission should deny Complainants a remedy altogether. See id. at 62.

                                     Complainants’ Arguments

       Complainants acknowledge that ClinicalTrials.gov, a governmental database of clinical

trials maintained by the U.S. National Library of Medicine, lists 109 studies that use or have

used the Apple Watch, including 67 that remain ongoing. CBr. at 77 (citing CBr. at Ex. 24 and

Ex. 25). However, Complainants state that most of these ongoing studies focus on heart rate

features that are also available on the Apple Watch SE, which the parties agree would not be

subject to exclusion. Id. Complainants declare that, while nine studies use the blood oxygen

feature of the infringing Apple Watches, none of those studies will be affected by any exclusion



                                                 94

                                           Stay-Add-124
            Case: 24-1285        Document:
                                     PUBLIC7 VERSION
                                               Page: 176          Filed: 12/26/2023




order because they have already ended, are conducted outside of the United States, and/or do not

require pulse oximetry measurements specifically from the infringing Apple Watches (as

opposed to reasonable substitutes). See id. at 78–79; see also CBr. (Reply) at 30–35. As for

studies using the ECG feature, Complainants argue that the Commission already rejected those

arguments made by Apple in Wearable Electronic Devices, Inv. No. 337-TA-1266. See CBr.

(Reply) at 30. Last, Complainants address Apple’s argument that the “broad availability of

Apple Watch to consumers enables researchers more generally to conduct decentralized

research.” Id. at 36 (quoting RBr. at 61). In response, Complainants assert that there are

reasonable substitutes available, “including the Apple Watch SE and third-party devices from

Samsung, Google, Fitbit, and others.” Id. (citing CBr. at 64–67, 82–84; CBr. at Ex. 93 at Table

1, ¶¶ 28–39).

                                        b)     Non-Party Comments

       Some non-party researchers have stated that the Apple Watch is important to their

studies. See, e.g., NJH Stmt., EDIS Doc. ID 790602, at 1 (“[M]y research group has found the

Apple Watch to be an exceptional device that accurately measures important parameters such as

heart rate, physical activity, and oxygen saturation.”); Stanford Stmt., EDIS Doc. ID 791060, at 1

(“The oxygen saturation feature of the Apple Watch is a highly accurate device feature, with

performance characteristics fully comparable to medical device standards for oximeters.”);

Passman Comments, EDIS Doc. ID 797813, at 1–2 (“[I]f Apple Watch is excluded for an

extended period of time, our REACT-AF study and other critical research that uses this

technology will be altogether shut down.”); Freimer Comments, EDIS Doc. ID 797817, at 1–2;

Calkins Comments, EDIS Doc. ID at 797827, at 1–2; MacRae Comments, EDIS Doc. ID

797826, at 1–2; Saxon Comments, EDIS Doc. ID 797811, at 1–2; AHA Stmt., EDIS Doc. ID

791476, at 3–4.
                                               95

                                          Stay-Add-125
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 177           Filed: 12/26/2023




       On the other hand, some researchers have stated that other devices can replace infringing

Apple Watches:

            Given our combined expertise in the theory, design, financing, execution,
            and dissemination of medical research, we see no reason why it is not
            possible to replace the Apple Watch in pending health applications with
            alternative wearable devices from Fitbit, Withings, Garmin and others that
            are able to provide human motion, heart function and oxygen saturation
            information. Several of these companies also readily provide the
            Application Programming Interface (API) code that allows connectivity
            and data transfer to the investigator’s systems.

Valero-Cuevas Comments, EDIS Doc. ID 798257, at 2; see also id. at 2–3. Other researchers

and commenters have expressed a preference for Masimo’s technology and even discouraged the

reliance on Apple’s blood oxygen feature. See Ward Stmt., EDIS Doc. ID 790884, at 2 (“I

am . . . very concerned about the proliferation of ‘medical devices’ like the Apple Watch with

pulse oximetry. These are not ‘medical devices’ as the FDA would use the term. Indeed, I

understand only software associated with the ECG feature of certain Apple Watches is FDA

cleared. . . . Despite this, it is my belief that confusion abounds in that many patients and

medical professionals believe or at least use devices such as the Apple Watch as if they are FDA

approved.”); see also Goldstein Stmt., EDIS Doc. ID 791179.

                                         c)       Analysis

       The Commission finds that the remedial orders will have only a minimal effect on

formally planned or ongoing medical studies that will not rise to the level that warrants denying a

remedy.66




       66
          Recall that Apple asserts that it “would not be practical to tailor any remedial orders to
permit importation or sale of Apple Watch models for use in clinical trials and other medical
research.” RBr. at 62.
                                                  96

                                              Stay-Add-126
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 178           Filed: 12/26/2023




       First, even without the service, repair and replacement exemption, any limited exclusion

order would cover only new imports of infringing Apple Watches after the expiration of the

period of Presidential review (estimated to be late 2023) until the earlier of Apple’s clearance of

a redesign or the expiration of the patents subject to the section 337 violation (August 2028). See

Wearable Elec. Devices, Inv. No. 337-TA-1266, Comm’n Op at 70–71. Thus, the Commission’s

remedy will not prevent current study participants using infringing Apple Watches from

continuing to participate in research studies. See id. Further, with this exemption, current

research study participants who are using infringing Apple Watches who encounter a need for

service, repair, or replacement of their device to continue participation in that study will be able

to obtain such service, repair, or replacement. See id. Moreover, as Complainants point out,

there is little evidence of ongoing studies that require infringing Apple Watches, as opposed to

any of the many reasonable alternative devices (discussed above). See CBr. at 77–79; CBr.

(Reply) at 31–35. Thus, ongoing research studies that are not enrolling new participants will not

be affected by the Commission’s remedial orders.

       Second, the Commission’s remedial orders will have at most a minimal adverse effect on

ongoing studies that remain open to new participants. As just noted, the Commission’s remedy

will not prevent current study participants using infringing Apple Watches from continuing to

participate in research studies using those infringing devices. See Wearable Elec. Devices, Inv.

No. 337-TA-1266, Comm’n Op. at 70–71. Also as just noted, current owners of infringing

Apple Watches will not lose their devices as a result of the Commission’s remedial orders, and

the Commission’s remedial orders will also allow those owners to have their products serviced,

repaired, or replaced. Moreover, potential new participants who already own or may own

infringing Apple Watches as of the date the Commission’s remedial orders become final within



                                                97

                                           Stay-Add-127
             Case: 24-1285          Document:
                                        PUBLIC7 VERSION
                                                  Page: 179         Filed: 12/26/2023

                   CONFIDENTIAL INFORMATION REDACTED

the meaning of 19 U.S.C. § 1337(j)(4) will still be able to participate in those studies. See id.

And the record reflects that there are at least           such potential participants. See RBr. at

Ex. 6 (Dippon67 Decl.



            . Furthermore, the             figure undercounts the number of potential participants

because it does not capture approximately a year’s-worth of imports of infringing Apple

Watches. Thus, to the extent any study depends on having a large number of participants with

infringing Apple Watches, a large number of potential participants is already present in the

United States. Additionally, the record includes no specific evidence providing a reasoned basis

why the already large number of infringing Apple Watches in the United States is insufficient for

any such study. In any event, as Complainants point out, there is little evidence of ongoing

studies that are accepting new participants who are located inside of the United States. See CBr.

at 77–79; CBr. (Reply) at 31–35. In sum, the Commission’s remedial orders will have at most a

minimal adverse effect on ongoing studies that remain open to new participants.

       Third, the Commission’s remedial orders will also have, at most, a minimal adverse

effect on formally planned but not yet started studies that are enrolling participants. As noted

above, there are likely well over             potential participants in the United States, and the

Commission’s orders will also allow those owners to have their products serviced, repaired, or

replaced. Thus, to the extent any studies depend on having a large number of participants with

infringing Apple Watches, infringing Apple Watches have already been broadly sold in the

United States such that there are already a large number of potential study participants. Neither



       67
          Christian M. Dippon, PhD, is an Apple expert witness on the public interest. See RBr.
at Ex. 5 (Dippon Decl.) at ¶¶ 1.

                                                  98

                                           Stay-Add-128
             Case: 24-1285            Document:
                                          PUBLIC7 VERSION
                                                    Page: 180        Filed: 12/26/2023




Apple nor the non-party commenters have shown that the already large number of infringing

Apple Watches in the United States is insufficient for any study. Additionally, as Complainants

point out, there is little evidence of formally planned but not yet started studies that are enrolling

participants and that require the infringing Apple Watches, as opposed to non-infringing Apple

Watches or reasonable alternative devices. See CBr. at 77–79; CBr. (Reply) at 31–35. And

again, the Commission’s remedial orders will have no effect on ongoing research studies that are

accepting new participants when those participants use an Apple Watch that they owned prior to

the date the Commission’s remedial orders becomes final within the meaning of 19 U.S.C.

§ 1337(j)(4), as discussed in more detail in the following subsection. In sum, the Commission’s

remedial orders will also have, at most, a minimal adverse effect on formally planned, but not yet

started, studies that are enrolling participants.

        As for studies that have not yet been formally planned, the Commission finds that any

alleged harm related to the public health and welfare is too speculative to rise a public interest

concern.

                               iii.       The Service, Repair, and Replacement Exemption

        The Commission has determined that its remedial orders shall include a service, repair,

and replacement exemption that allows for (1) providing infringing articles specifically for the

service, repair, and/or replacement of Apple Watches purchased prior to the expiration of the

period of Presidential review (i.e., prior to the date the order becomes final within the meaning of

19 U.S.C. § 1337(j)(4)) and issuance of the orders when those imports are to service, repair,

and/or replace Apple Watches pursuant to warranty obligations; and (2) providing infringing

articles specifically for the service and/or repair of Apple Watches purchased prior to the

expiration of the period for Presidential review when those imports are to service and/or repair



                                                    99

                                            Stay-Add-129
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 181           Filed: 12/26/2023




Apple Watches outside of warranty obligations.68 While the parties’ arguments regarding the

service, repair, and replacement exemption primarily relate to the United States consumers

public interest factor, it is also relevant to the public health and welfare factor as the exemption

allows research participants using infringing Apple Watches pursuant to a research study to have

that device at least serviced and repaired, and replaced if it is under warranty, such that they may

be able to continue the study using the same device they started with. That said, the parties’

arguments and our analysis in this section primarily relate to the United States consumers public

interest factor, which is discussed more fully below in section V.B.4.d.

                                         a)      The Parties’ Arguments

                                         Apple’s Arguments

       Apple argues that “[a]ny remedial order should protect consumers who have permissibly

obtained an Apple Watch with the accused Blood Oxygen feature by permitting Apple to provide

technical support, service, repair, and replacement services, both with respect to units under

warranty or other applicable service and repair obligations, and to units no longer under

warranty.” RBr. at 74 (citing, inter alia, Fitness Devices, Inv. No. 337-TA-1265, Comm’n Op.

at 88–92). Apple asserts that the “accused Apple Watches are subject to a manufacturer’s

warranty that requires Apple to repair or replace products for one or two years, depending on the

model.” Id. at 74–75 (citing RBr. at Ex. 4 (Watkins69 Decl.) at ¶¶ 7–15; RX-0930 at .0003; RX-




       68
          As explained infra at note 72, Commissioner Kearns does not join the ajority’s
determination to set the cutoff date for the exemption to the expiration of the period of
Presidential review.
       69
          Mr. Scott Watkins is an Apple employee. See RBr. at Ex. 4 (Watkins Decl.). He is
“legal counsel for AppleCare at Apple Inc.” Id. at ¶ 2.

                                                 100

                                           Stay-Add-130
              Case: 24-1285        Document:
                                       PUBLIC7 VERSION
                                                 Page: 182          Filed: 12/26/2023

                    CONFIDENTIAL INFORMATION REDACTED

0926 at .0002; RX-0929 at .003; RX-0926 at .0003; RX-0927; Tr. (Land70) at 968:11–18).

Apple explains that, under Apple’s warranties, “consumers expect that if Apple replaces their

Watch having the Blood Oxygen feature with ‘the same model,’ the replacement Watch will also

include the Blood Oxygen feature.” Id. at 75 (citing RBr. at Ex. 4 (Watkins Decl.) at ¶ 11).

Apple further argues that “[m]any consumers also purchase extended service and support

coverage for their Watch devices through Apple’s AppleCare+ program.” Id. (citing RBr. at Ex.

4 (Watkins Decl.) at ¶¶ 16–24; RX-0926 at .0004)). Apple further declares that it “provides out-

of-warranty repair and replacement for Watch devices that are beyond the warranty period,” for

up to five years. Id. (citing RBr. at Ex. 4 (Watkins Decl.) at ¶¶ 25–27, 30–33; RX-0927 at

.0002–0003; RX-0928C; Tr. (Land) at 968:19–969:1. While Apple’s warranties provide a

refund option in place of repairing or replacing, Apple asserts that some U.S. states require

product manufacturers to make available service parts for repair for five to seven years,

regardless of warranty status, and a refund is also not a suitable option for consumers who

purchased AppleCare+. Id. Apple further points out that “some consumers purchase warranties

or insurance contracts through third party vendors, such as mobile device carriers and resellers,



                                                                   Id. at 77 (citing RBr. at Ex. 4

(Watkins Decl.) at ¶¶ 28–29).

       Next, Apple argues that the repair and replacement exemption should cover both repair

and replacement to protect consumers. See RBr. at 79–80. Apple asserts that the

“[manufacturer’s suggested retail price] of Apple Watch devices with the accused Blood Oxygen




       70
            Brian Land leads a health sensing hardware group at Apple. See, e.g., Final ID at 6.

                                                 101

                                           Stay-Add-131
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 183           Filed: 12/26/2023

                  CONFIDENTIAL INFORMATION REDACTED

feature is not insignificant,” ranging from $399 to $799, which includes a price range consistent

with previous Commission repair and replacement exemptions. Id. at 77 (citing, inter alia, RBr.

at Ex. 4 (Watkins Decl.) at ¶ 21; RX-0333 at .0011; Certain Robotic Floor Cleaning Devices &

Components Thereof, Inv. No. 337-TA-1252, Comm’n Op. at 77–78 (Apr. 13, 2023)). Apple

adds that “[r]equiring Apple to refund the purchase price rather than repair or replace a

consumer’s Watch could adversely impact consumers who may need a replacement Watch to

allow them to continue ongoing monitoring and collection of health, wellness, and fitness data.”

Id. at 78. Apple then declares that



                            Id. (citing RBr. at Ex. 4 (Watkins Decl.) at ¶¶ 31–33). According to

Apple, “[e]xcluding replacement units from an exemption would be contrary to millions of

consumers’ expectations.” Id. at 79 (citing RBr. at Ex. 4 (Watkins Decl.) at ¶¶ 6, 15, 24, 27–29,

34; RX-0926; RX-0927; RX-0929; RX-0930).

       Apple next argues that the cutoff date for a repair and replacement exemption should be

the date that any remedial orders become final within the meaning of 19 U.S.C. § 1337(j)(4), in

other words, the end of the period of Presidential review. RBr. at 80 (citing, inter alia, Fitness

Devices, Inv. No. 337-TA-1265, Notice of Comm’n Determination to Reconsider the Original

Remedial Orders and to Issue Orders Modifying Those Remedial Orders, 88 Fed. Reg. 30158, at

30158–59 (May 10, 2023)). According to Apple, “[t]his cutoff date protects consumers who—

through no fault of their own—purchase an Accused Apple Watch between the date of any

remedial order and when it becomes final.” Id.; see also id. at 80–81. Apple asserts that “[a]ny

remedy should also include an exemption permitting continued sale of new AppleCare+ service




                                                102

                                          Stay-Add-132
            Case: 24-1285          Document:
                                       PUBLIC7 VERSION
                                                 Page: 184         Filed: 12/26/2023




and repair plans during and after the Presidential Review Period for any permissibly obtained

Apple Watch devices.” Id. at 81.

       Apple further argues that the exemption should apply to any products imported prior to

the end of the period of Presidential review, regardless of whether they were purchased by users

prior to that cutoff date. RBr. at 81–82. According to Apple, Apple Watches are sold by Apple

directly to consumers and also through other retail channels such as retailers who may continue

to receive shipments of imported Apple Watch devices up through the Presidential Review

Period, subject to the posting of any required bond. Id. at 81. Apple declares that “[t]hese

retailers, which were not named as respondents and will not be subject to any CDO, may then

continue to sell the subject Watch devices,” and consumers “purchasing these Watch devices

should also be protected by an exemption for repair or replacement” because “[t]hey will have

the same legitimate expectation regarding the availability of repairs or replacements as

consumers who purchased an article before the cutoff date.” Id. at 81–82.

                                    Complainants’ Arguments

       Complainants argue that “Apple presented no evidence of consumer harm that would

justify an exemption for repair or replacement of infringing articles or parts.” CBr. at 85–86

(citing Fitness Devices, Inv. No. 337-TA-1265, Comm’n Op. at 88–92); see also CBr. (Reply) at

43 (citing Wearable Elec. Devices, Inv. No. 337-TA-1266, Comm’n Op. at 50). Complainants

add that the Commission should not allow an exemption for repair or replacement of products

under warranty because “Apple’s warranties provide an option for a refund, rather than a

replacement.” CBr. (Reply) at 86 (quoting RX-0925 at .003 at (iii); RX-0929 at .003; RX-0930).

Complainants further declare that “[t]here is no evidence in the record that consumers expect




                                               103

                                          Stay-Add-133
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 185           Filed: 12/26/2023




repair or replacement for products under warranty, and Apple’s refund provision gives

consumers an alternative option.” Id.

       Complainants further argue that, if the Commission were to provide a service, repair, and

replacement exemption, the “cutoff date for any repair and replacement should follow

Commission precedent and apply to products sold to an end user before the date of the remedial

orders.” CBr. at 86 (citing Fitness Devices, Inv. No. 337-TA-1265, Comm’n Op. at 88–90).

Complainants additionally assert that any “exemption should not apply broadly to all imported

products and should be limited to products sold to an end user, because there is no consumer

need for repair or replacement of products that have been imported, but not yet sold.” Id. In

arguing that the exemption should not extend through the period of presidential review,

Complainants point out that “Apple can inform customers by providing notice of the remedial

order.” CBr. (Reply) at 43.

                                        b)      Analysis

       The Commission has concluded that its remedial orders shall include a service, repair,

and replacement exemption that allows for (1) providing infringing articles specifically for the

service, repair, and/or replacement of Apple Watches purchased prior to the expiration of the

period of Presidential review (i.e., prior to the date the order becomes final within the meaning of

19 U.S.C. § 1337(j)(4)) when those imports are to service, repair, and/or replace Apple Watches

pursuant to warranty obligations (regardless of whether the warranty was purchased through

Apple or a third party vendor); and (2) providing infringing articles specifically for the service

and/or repair of Apple Watches purchased prior to the expiration of the period for Presidential

review when those imports are to service and/or repair Apple Watches outside of any warranty

obligations. See Wearable Elec. Devices, Inv. No. 337-TA-1266, Comm’n Op. at 80–81; Fitness

Devices, Inv. No. 337-TA-1265, Comm’n Op. at 89–92.
                                                104

                                          Stay-Add-134
            Case: 24-1285        Document:
                                     PUBLIC7 VERSION
                                               Page: 186          Filed: 12/26/2023

                  CONFIDENTIAL INFORMATION REDACTED

       Here, also like in Wearable Electronic Devices, the service, repair, and replacement

exemption is also justified as to the United States consumers public interest factor based on

consumers’ reasonable expectations. See id. at 80–81; see also Fitness Devices, Inv. No. 337-

TA-1265, Comm’n Op. at 89–92. Apple Watches are subject to a manufacturer’s warranty that

requires Apple to repair or replace products for one or two years, depending on the model. RBr.

at Ex. 4 (Watkins71 Decl.) at ¶¶ 7–15; RX-0930 at .0003; RX-0926 at .0002; RX-0929 at .003;

RX-0926 at .0003; RX-0927; Tr. (Land) at 968:11–18; see also Wearable Elec. Devices, Inv. No.

337-TA-1266, Comm’n Op. at 80–81. Many consumers have also purchased extended service

and support coverage (i.e., warranty coverage) for their Apple Watch devices through Apple’s

AppleCare+ program. RBr. at Ex. 4 (Watkins Decl.) at ¶¶ 16–24; RX-0926 at .0004). And some

consumers have purchased warranties or insurance contracts through third party vendors, such as

mobile device carriers and resellers, which Apple ultimately supports by



RBr. at Ex. 4 (Watkins Decl.) at ¶¶ 28–29. Under these warranty programs (such as

AppleCare+), consumers expect that, if Apple replaces their device, it will do so with the same

model. RBr. at Ex. 4 (Watkins Decl.) at ¶ 11; see also Wearable Elec. Devices, Inv. No. 337-

TA-1266, Comm’n Op. at 80–81. Moreover, the cost of infringing Apple Watches is not

insignificant, ranging from $399 to $799. RBr. at Ex. 4 (Watkins Decl.) at ¶ 21; RX-0333 at

.0011. Accordingly, in view of these reasonable consumer expectations, the cost of the

infringing Apple Watches, and the Commission’s recent decision in Wearable Electronic

Devices, the Commission has determined to provide a service, repair, and replacement



       71
          Mr. Scott Watkins is an Apple employee. See RBr. at Ex. 4 (Watkins Decl.). He is
“legal counsel for AppleCare at Apple Inc.” Id. at ¶ 2.

                                               105

                                          Stay-Add-135
              Case: 24-1285        Document:
                                       PUBLIC7 VERSION
                                                 Page: 187          Filed: 12/26/2023




exemption. E.g., Wearable Elec. Devices, Inv. No. 337-TA-1266, Comm’n Op. at 80–81;

Robotic Floor Cleaning Devices, Inv. No. 337-TA-1252, Comm’n Op. at 77–78.

         However, the Commission declines to apply the replacement exemption to devices that

are outside of warranty. Replacement for products outside of warranty, in view of the fee

required by Apple’s policies (see RBr. at Ex. 4 (Watkins Decl.) at ¶ 25), is tantamount to

allowing consumers to purchase a new infringing article, which is outside of the scope of

reasonable consumer expectations. See Fitness Devices, Inv. No. 337-TA-1265, Comm’n Op. at

89–92.

         Apple additionally requests that the exemption allow Apple to continue to sell “new

AppleCare+ service and repair plans during and after the Presidential Review Period for any

permissibly obtained Apple Watch devices.” RBr. at 81. The Commission declines Apple’s

request to permit the sale of AppleCare+ service and repair plans beyond the expiration of the

period of Presidential review. If customers have not yet purchased the plans as of the expiration

of that period, those customers have no reasonable expectation of those benefits, and Apple can

simply stop selling those plans for infringing Apple Watches once the period of Presidential

review expires. Moreover, customers will still receive the regular Apple warranty, and having

the ability to encourage customers to purchase service and repair plans after this timeframe

would give Apple a disproportionate benefit.

         For their part, Complainants argue that a refund would suffice instead of a repair or

replacement. E.g., CBr. (Reply) at 86. However, the Commission has recently considered and

rejected that same argument regarding the same warranties in Wearable Electronic Devices. See

Wearable Elec. Devices, Inv. No. 337-TA-1266, Comm’n Op. at 81. Here, like in that

investigation, Complainants have failed to show that a refund will be adequate to compensate



                                                 106

                                           Stay-Add-136
             Case: 24-1285         Document:
                                       PUBLIC7 VERSION
                                                 Page: 188           Filed: 12/26/2023




consumers who are seeking to maintain their Apple Watches or to participate in ongoing health-

related studies using the Apple Watch. See id.

       Next, the parties dispute the appropriate cutoff date for the Commission’s service, repair,

and replacement exemption. E.g., RBr. at 80; CBr. at 86. In order to mitigate the impact of the

remedial orders on United States consumers, the Commission has determined that the exemption

shall apply to articles purchased prior to the expiration of the period for Presidential review (i.e.,

prior to the date the order becomes final within the meaning of 19 U.S.C. § 1337(j)(4)). See

Fitness Devices, Inv. No. 337-TA-1265, Comm’n Notice (May 5, 2023); 88 Fed. Reg. 30158–60

(Notice of a Commission Determination to Reconsider the Original Remedial Orders and to

Issue Orders Modifying Those Remedial Orders) (May 10, 2023).72




       72
          Commissioner Kearns does not join the majority in determining to set the cutoff date
for the Commission’s service, repair, and replacement exemption as the expiration of the period
for Presidential review. He would instead use the date the Commission’s orders issue. In his
view, the Commission’s service, repair, and replacement exemption is intended to mitigate the
harm to U.S. consumers who—through no fault of their own—would lose access to repair
components or replacement devices for articles they purchased at a time when those articles had
not been found to have violated section 337. As of the date of the Commission’s orders,
however, the public is put on notice of a violation that must be remedied, i.e. by an exclusion
order. He finds that extending the service, repair, and replacement exemption beyond the
issuance of the Commission’s orders undercuts that remedy to the detriment of the intellectual
property holder. Thus, in order to balance the impact of the remedial orders on United States
consumers with the public interest in protecting Complainants’ intellectual property rights, he
would determine that the exemption should only apply to articles purchased prior to the date of
the Commission’s determination of violation and issuance of the orders. He further notes that
this approach is consistent with the Commission’s recent approach to this issue. See, e.g.,
Certain Variable Speed Wind Turbine Generators & Components Thereof, Inv. No. 337-TA-
1218, Limited Exclusion Order at 2 (Jan. 18, 2022); Certain Road Milling Machines &
Components Thereof, Inv. No. 337-TA-1067 (Remand), Limited Exclusion Order at ¶ 1 (Nov. 4,
2021); Microfluidic Devices, Inv. No. 337-TA-1068, Comm’n Op. (Revised) at 46 (Jan. 10,
2020); Certain Magnetic Data Storage Tapes & Cartridges Containing the Same, Inv. No. 337-
TA-1012, Limited Exclusion Order at 2 (Mar. 8, 2018). In his view, the majority’s approach
here, and in Fitness Devices, Inv. No. 337-TA-1265, is thus a departure from the Commission’s
normal practice. See Fitness Devices, Notice of Comm’n Determination to Reconsider the
                                                 107

                                           Stay-Add-137
             Case: 24-1285          Document:
                                        PUBLIC7 VERSION
                                                  Page: 189         Filed: 12/26/2023




       Apple further requests that the exemption apply to infringing Apple Watches imported

prior to the end of the period of Presidential review, but then purchased by customers after the

end of the period of Presidential review. See RBr. at 81–82. The Commission denies Apple’s

request for this extension to the exemption. The Commission notes that, after the Presidential

review period has expired, if the orders are not disapproved, Apple will not be permitted to sell

infringing articles that it imported during the Presidential review period.

       Accordingly, as noted above, the Commission’s remedial orders include a service, repair,

and replacement exemption that allows for (1) providing infringing articles specifically for the

service, repair, and/or replacement of Apple Watches purchased prior to the expiration of the

period of Presidential review (i.e., prior to the date the order becomes final within the meaning of

19 U.S.C. § 1337(j)(4)) when those imports are to service, repair, and/or replace Apple Watches

pursuant to warranty obligations; and (2) providing infringing articles specifically for the service

and/or repair of Apple Watches purchased prior to the expiration of the period of Presidential

review when those imports are to service and/or repair Apple Watches outside of warranty

obligations. This exemption protects reasonable consumer expectations, and also mitigates

potential harm to the public health and welfare by allowing research participants using infringing

Apple Watches pursuant to a research study to have that device repaired or replaced such that

they may be able to continue the study using the same device they started with.

                              iv.       Apple Has Not Shown That a Delay Is Warranted

       In brief, the Commission declines Apple’s request that enforcement of the Commission’s

remedy be delayed for twelve months.



Original Remedial Orders and to Issue Orders Modifying Those Remedial Orders, 88 Fed. Reg.
30158, at 30160 n.2 (May 10, 2023) (dissenting views of Commissioner Kearns).

                                                108

                                          Stay-Add-138
            Case: 24-1285        Document:
                                     PUBLIC7 VERSION
                                               Page: 190          Filed: 12/26/2023




                                        a)     The Parties’ Arguments

                                        Apple’s Arguments

       Apple requests that the Commission delay the enforcement of its remedial order so that

manufacturers of the reasonable alternatives to the infringing Apple Watches (discussed above)

can ramp up supply of those alternatives such that they can fill any void created by the

Commission’s exclusion of the infringing Apple Watches. See, e.g., RBr. at 70. According to

Apple, “there simply will not be enough supply to fill the massive demand gap that will result

from the supply shock of an exclusion order.” RBr. at 70. Apple alleges that, in addition to any

ordinary difficulty in meeting demand, “the well-documented global semiconductor shortage,

after-effects from COVID-19 lockdowns in China, natural disasters (including severe weather

events), and delays in procuring integrated circuits and other necessary components” will further

complicate matters. Id. at 71. Apple further argues that “[t]here is no evidence that supply can

be ramped up fast enough to meet anywhere close to the entirety of consumer demand in view of

the enormity of the immediate shortfall the exclusion order would create.” Id. Apple asserts that

it will take years to ramp up production to compensate for the exclusion of the Accused

Products. Id. at 71–72. Thus, Apple requests that the Commission delay the implementation of

any remedy for at least twelve months. E.g., id. at 71–72, 89.

                                    Complainants’ Arguments

       For their part, Complainants argue that the Commission should reject “Apple’s

unsubstantiated arguments regarding the capacity of third-party manufacturers to meet consumer

demands.” CBr. (Reply) at 39; see also id. at 39–41. Complainants further point out that Apple

“fails to provide any reason it could not increase production of the Series SE, which contains

virtually all the same features as the infringing products, or return to producing the Apple Watch

Series 4 or 5, which also included ECG,” but not blood oxygen measurements. Id. (citing CBr.
                                               109

                                          Stay-Add-139
            Case: 24-1285          Document:
                                       PUBLIC7 VERSION
                                                 Page: 191        Filed: 12/26/2023




Ex. 93 at ¶¶ 22–24). Regarding Apple’s argument related to a potential semiconductor shortage,

Complainants allege that Apple overlooks that semiconductors no longer used by Apple will then

become available to manufacturers of substitute products. Id.

                                        b)     Analysis

       The Commission declines Apple’s request that the Commission’s remedy be delayed for

twelve months. The Commission has recently considered and rejected Apple’s argument in

Wearable Electronic Devices, Inv. No. 337-TA-1266, Comm’n Op. at 74–75. Moreover, like in

Wearable Electronic Devices, Apple failed to substantiate its position that manufacturers of

suitable alternative products lack the manufacturing capability to ramp up production to meet

any demand. See Wearable Elec. Devices, Inv. No. 337-TA-1266, Comm’n Op. at 74–75; RBr.

at 69–72. Additionally, to the extent any global events have caused any component shortages,

see RBr. at 71, those events would affect Apple as well as other manufacturers. Accordingly,

Apple has not shown any basis for the Commission to delay the effect of its remedy.

                              v.        Conclusion

       To mitigate any public health and welfare concerns, the Commission provides within its

remedial orders a service, repair, and replacement exemption. See supra section V.B.4.a.iii. In

view of the provided exemption, the Commission finds that its remedial orders will not raise any

public health or welfare concerns that warrant denying Complainants a remedy. There are

numerous reasonable substitutes available to users and research participants in the United States,

and there is at most scant evidence that the Commission’s remedial orders will have any

meaningful adverse impact on medical studies in the United States. Furthermore, the public

interest of supporting strong intellectual property rights further supports the Commission’s

conclusion. E.g., Centerset Faucets, No. 337-TA-422, Comm’n Op. at 9; Microfluidic Devices,



                                               110

                                          Stay-Add-140
            Case: 24-1285          Document:
                                       PUBLIC7 VERSION
                                                 Page: 192        Filed: 12/26/2023




Inv. No. 337-TA-1068, Comm’n Op. at 45–46. Additionally, Apple has shown no reason for the

Commission to delay the imposition of its remedy.

                       b.     Competitive Conditions in the United States Economy

       In brief, the Commission finds that the remedial orders in this investigation will not have

an adverse impact on competitive conditions in the United States economy.

                              i.       The Parties’ Arguments

       Apple argues that remedial orders would harm competitive conditions in the United

States economy, asserting that the Apple Watch contributes to thousands of jobs across the

United States. RBr. at 86; see also id. at 86–87. Apple argues that “excluding the Accused

Apple Watches would distort market incentives, further harming competitive conditions.” Id. at

86 (citing RBr. at Ex. 5 (Dippon Decl.) at ¶¶ 22–56). According to Apple, “[r]emoving a

product as popular as [the] Apple Watch would lessen competition, and a sudden shortfall of

smartwatches would likely yield higher prices, which would impose further harm on US

consumer.” Id. at 87 (citing RBr. at Ex. 5 (Dippon Decl.) at ¶¶ 22–24, 46–55) (internal

quotations omitted).

       For their part, Complainants argue that their requested remedy would not harm

competitive conditions in the United States economy, but instead would benefit those conditions.

See CBr. at 71–75. Complainants first allege that “major companies offer[ ] substitute

smartwatches” and consumers who prefer the Apple ecosystem can still purchase the Apple

Watch SE. See id. at 72. Complainants add that, in view of the impending remedial orders,

Apple has had ample time to release non-infringing versions of its products, and “legitimate

design-around efforts should always be encouraged as a path to spur further innovation.” See id.

(quoting Tivo, Inc. v. EchoStar Corp., 646 F.3d 869, 883 (Fed. Cir. 2011) (en banc); see also id.

at 72–73 (citing, inter alia, Alliance for U.S. Startups Stmt., EDIS Doc. ID 791674, at 2

                                               111

                                         Stay-Add-141
            Case: 24-1285           Document:
                                        PUBLIC7 VERSION
                                                  Page: 193        Filed: 12/26/2023




(asserting that the Commission should not support Apple’s “efficient infringement”); Innovation

Alliance Stmt., EDIS Doc. ID 791048, at 1 (same)). Complainants additionally assert that

issuing their requested remedial orders would encourage companies to “re-shore manufacturing

to the United States” and otherwise improve competitive conditions because “America’s

innovation economy and global competitiveness are dependent on the continued robust

enforcement of inventors’ intellectual property rights.” Id. at 73 (quoting Innovation Alliance

Stmt., EDIS Doc. ID 791048, at 2). Complainants add that “[h]olding Apple accountable for its

‘efficient infringement’ would also curtail Apple’s exploitation of third parties who rely on the

Apple platform.” Id. Complainants further argue that Apple’s violation of intellectual property

rights “raises prices, denies consumers choice, lowers quality, and dampens the incentive of

sellers of complementary, or competing products to innovate.” Id. at 74 (quoting CFA Stmt.,

EDIS Doc. ID 791163, at 3). Complainants allege that allowing the continued importation of

infringing Apple Watches will “give Apple an unfair competitive advantage in the narrow

market for smartwatches and in the adjacent market for device ecosystems.” CBr. at 74 (quoting

Dinelli Stmt., EDIS Doc. ID 791686, at 4). As a result, according to Complainants, consumers

are “likely to experience long term harm from reduced competition and innovation.” Id. (quoting

Dinelli Stmt., EDIS Doc. ID 791686, at 4).

                              ii.       Non-Party Comments

       Non-parties have filed comments stating that issuing remedial orders would have a

positive impact on competitive conditions in the United States. See, e.g., Alliance for U.S.

Startups Stmt., EDIS Doc. ID 791674, at 2 (asserting that the Commission should not support

Apple’s “efficient infringement”); Buck Stmt., EDIS Doc. ID 791047 (“As members of

Congress, it is our duty to ensure that patent laws are duly enforced, particularly when

enforcement is against companies that engage in monopolistic and anti-competitive conduct.
                                               112

                                          Stay-Add-142
               Case: 24-1285          Document:
                                          PUBLIC7 VERSION
                                                    Page: 194     Filed: 12/26/2023




The American public ultimately bears the cost of the monopolistic behaviors of some of the

largest technology firms that, as a business model, work to consolidate market power, stifle

innovation, and crush competitors.”); Innovation Alliance Stmt., EDIS Doc. ID 791048, at 1

(“Vigorous enforcement and protection of intellectual property rights are essential to the

competitive viability of innovative companies within the United States.”); CFA Stmt., EDIS

Doc. ID 791163, at 3; Dinelli Stmt., EDIS Doc. ID 791686, at 4; US Inventor Stmt., EDIS Doc.

ID 791041 (“A healthy and thriving innovation ecosystem in the United States is in the public

interest.”).

                               iii.       Analysis

        The Commission finds, consistent with its holding in Wearable Electronic Devices, that

its remedial orders in this investigation will not have any adverse impact on competitive

conditions in the United States economy. See Wearable Elec. Devices, Inv. No. 337-TA-1266,

Comm’n Op. at 79–80. As was the case in that investigation, here there are also numerous

suitable alternatives to the excluded Apple Watches (as discussed above in relation to the public

health and welfare public interest factor and below as to the United States consumers public

interest factor).

        Apple argues that the remedial orders will harm competitive conditions by jeopardizing

United States jobs. See RBr. at 86. However, Apple does not specify how many jobs are

particularly related to the infringing Apple Watches, as opposed to non-infringing Apple

Watches (such as the Apple Watch SE) or researching and developing future non-infringing

models, or supporting versions of the Apple Watch earlier than the Apple Watch Series 6), Apple

Watch accessories (such as watch bands), or other Apple products beyond the Apple Watch

altogether. See id. Moreover, Apple does not address whether any lost jobs due to the exclusion

of the infringing Apple Watches will be counterbalanced by increased United States jobs for
                                                113

                                            Stay-Add-143
            Case: 24-1285           Document:
                                        PUBLIC7 VERSION
                                                  Page: 195        Filed: 12/26/2023

                  CONFIDENTIAL INFORMATION REDACTED

manufacturers of reasonable substitutes. Apple further asserts that excluding Apple Watches

would “lessen competition” and “likely yield higher prices.” Id. at 86–87. However, as noted

above and below, there is ample competition and not all Apple Watches will be excluded, as at

least the Apple Watch SE would not be subject to exclusion. Thus, the Commission finds that

the remedial orders in this investigation will not have any adverse impact on competitive

conditions in the United States economy.

                       c.     The Production of Like or Directly Competitive Articles in the
                              United States

       The Commission finds that its remedial orders in this investigation will not have any

adverse impact on the production of like or directly competitive articles in the United States.

                               i.       The Parties’ Arguments

       Apple does not contest that it does not manufacture any products in the United States.

See generally RBr.; RBr. (Reply). Instead, Apple argues:

           The competitive harms will not be offset by substantial “production of like
           or directly competitive articles,” 19 U.S.C. § 1337(d)(1), because Apple’s
           primary smartwatch competitors, for example, do not manufacture their
           products in the United States. And while the Masimo W1 is manufactured
           in the United States, it is not a reasonable substitute.

RBr. at 73. Apple explains that, “[a]lthough Complainants claim that the Masimo W1 is made in

the U.S., the W1 is not a smartwatch and not a reasonable substitute for smartwatch consumers

who want the Accused Apple Watches.” RBr. (Reply) at 44. Apple adds that, regardless,

“Complainants have not described how many [W1 Watch] units are manufactured in the U.S. or

how many more units it would expect to manufacture in the U.S (as opposed to its

       ).” Id. Thus, according to Apple, “no evidence exists that an exclusion order would have

any meaningful impact on U.S. production.” Id.




                                                114

                                           Stay-Add-144
            Case: 24-1285             Document:
                                          PUBLIC7 VERSION
                                                    Page: 196       Filed: 12/26/2023




       Complainants point out that neither the Apple Watches nor any smartwatches made by

Samsung, Fitbit, or Garmin are produced in the United States, but that Masimo produces its W1

Watch in the United States and

                     Id. (citing CBr. at Ex. 53 (Muhsin Decl.) at ¶ 5). Thus, according to

Complainants, “the only impact an exclusion order would have on like or directly competitive

articles made in the United States is that Masimo likely will be able to continue to build its

domestic industry in its intellectual property because of the increased competition in the market

caused by exclusion of Apple’s infringing products.” Id.

                                ii.       Analysis

       The Commission finds that the “production of like or directly competitive products in the

United States” public interest factor does not weigh against the Commission’s remedy in this

investigation. As the parties appear to agree, neither the Apple Watch nor smartwatches made

by Samsung, Fitbit, or Garmin are produced in the United States. See CBr. at 75; RBr. at 73.

Moreover, there is no evidence suggesting that any reasonable substitute for excluded Apple

Watches, aside from Masimo’s W1 Watch or Freedom Watch,

                  See, e.g., CBr. at 75; RPHBr. at 251–52 (disputing only the extent that Masimo’s

domestic facilities are used for production of the W1 Watch); RBr. (Reply) at 45 (asserting only

that Complainants did not identify how many units it has produced or plans to produce in the

United States).

       And as for the W1 Watch and Freedom Watch, Complainants do not provide quantitative

evidence regarding the extent of any United States production of these watches or the extent that

potential customers would choose Masimo’s W1 Watch or Freedom Watch as a substitute for

excluded Apple Watches. Therefore, the Commission cannot assess the extent to which

Complainants’ requested remedial orders would result in increased domestic production of
                                                 115

                                            Stay-Add-145
             Case: 24-1285           Document:
                                         PUBLIC7 VERSION
                                                   Page: 197       Filed: 12/26/2023




suitable substitutes to the excluded Apple Watches. However, based on the absence of domestic

production of excluded products, the remedial orders in this investigation will not have an

adverse impact on the production of like or directly competitive articles.

                       d.      United States Consumers

        In brief, in view of the exemption for service, repair, and replacement (discussed above),

any effect of the Commission’s remedial orders on United States consumers does not rise to the

level of a public interest concern.

                                i.       The Parties’ Arguments

        Apple argues, that “[b]eyond the potential effects on the health of U.S. consumers, an

exclusion order would further harm those consumers by impeding access to the valuable, tightly

integrated suite of features that drive demand for these devices.” RBr. at 85. According to

Apple, “[m]illions of Americans rely on [the] Apple Watch to stay connected, and in addition to

the Blood Oxygen feature at the heart of this Investigation and the health features described

above, [the] Apple Watch also contains a complement of features consumers enjoy—including

productivity, payment, navigation, safety, and accessibility functions.” Id. Apple then declares

that “[a]n exclusion order would take those features out of the hands of American consumers.”

Id. at 86.

        For their part, Complainants argue that their requested remedy would benefit United

States consumers by removing Apple’s alleged poor-performing blood oxygen feature from the

marketplace while not interfering with their access to non-infringing Apple Watches. See CBr.

at 75. Complainants further argue that consumers would benefit “in the long run by encouraging

investment in the next generation of healthcare innovation.” Id. Complainants additionally urge

the Commission to reject any argument that remedial orders should be denied based on the

widespread use of the Apple Watch. Id. at 75–76 (citing MDMA Stmt., EDIS Doc. ID 791167,

                                                116

                                           Stay-Add-146
             Case: 24-1285             Document:
                                           PUBLIC7 VERSION
                                                     Page: 198       Filed: 12/26/2023




at 4 (declaring that “[t]hat would be tantamount to arguing if you can infringe in a huge way,

then you should escape the consequences”); C4IP Stmt., EDIS Doc. ID 791567, at 3–4 (similar)).

Complainants then assert that “many consumers desire to have an Apple Watch only because of

the benefits of having multiple devices within Apple’s device ecosystem,” and “[c]onsumers

would benefit by expanding their choices to other device makers and those that choose to

continue using Apple devices still would be able to select non-infringing Apple Watches like the

SE.” Id. at 76 (citing Dinielli Stmt., EDIS Doc. ID 791686, at 3).

                                ii.        Non-Party Comments

       Non-parties filed submissions commenting on the United States consumers public interest

factors both in support of Complainants and Apple. See, e.g., Dinelli Stmt., EDIS Doc. ID

791686, at 4 (declaring that allowing Apple to import infringing Apple Watches would give

Apple an unfair competitive advantage and will likely cause United States consumers “long term

harm from reduced competition and innovation”); Saxon Comments, EDIS Doc. ID 797811

(asserting that consumers benefit from having “more accurate tools, not fewer . . . to help

identify cardiac ailments”).

                                iii.       Analysis

       In view of the exemption for service, repair, and replacement (discussed above), any

effect of the Commission’s remedial orders on United States consumers does not rise to the level

of a public interest concern.

       First, there are numerous reasonable substitutes for the infringing Apple Watches

available to United States consumers. Looking beyond the public health and wellness aspects of

the Apple Watch (as those are considered separately in the public health and welfare public

interest factor, discussed above in section V.B.4.a.), the scope of reasonable substitutes includes

general purpose smartwatches. See Fitness Devices, Inv. No. 337-TA-1265, Comm’n Op., at 85

                                                 117

                                             Stay-Add-147
             Case: 24-1285         Document:
                                       PUBLIC7 VERSION
                                                 Page: 199          Filed: 12/26/2023




(“The correct assessment . . . for ‘reasonable substitutes for the devices subject to the exclusion

order,’ [is] not whether ‘every consumer cannot obtain the exact device desired.’” (quoting Elec.

Digital Media Devices, Inv. No. 337-TA-796, Comm. Op. at 120) (citing Table Saws, Inv. No.

337-TA-965, Comm’n Op. at 9)). Thus, United States consumers have as reasonable substitutes

at least the Apple Watch SE, the Samsung Galaxy Watch, and the Google Pixel Watch. Second,

to reduce the impact of the remedial orders on United States consumers, the Commission has

provided a service, repair, and replacement exemption. See supra section V.B.4.a.iii.

Accordingly, any impact of the Commission’s remedial orders on United States consumers will

not rise to the level of a public interest concern.

                        Conclusion

        In accordance with its statutory duty, the Commission has considered the effect of its

remedial orders “upon the public health and welfare, competitive conditions in the United States

economy, the production of like or directly competitive articles in the United States, and United

States consumers, [and whether] it finds that such articles should not be excluded from entry.”

19 U.S.C. §§ 1337(d)(l), (f)(1). To prevent any harm from the remedial orders to the public

health and welfare and to United States consumers, the Commission’s LEO and CDO each

include an exemption for service, repair, and replacement. See supra section V.B.4.a.iii. As in

Wearable Electronic Devices, this exemption mitigates potential harm to the public health and

welfare by allowing research participants using infringing Apple Watches pursuant to a research

study to have that device serviced and repaired or have it replaced, if it is under warranty, such

that they may be able to continue the study using the same device they started with. See

Wearable Elec. Devices, Inv. No. 337-TA-1266, Comm’n Op. at 70–71, 80–81. Additionally,

Apple has not shown any reason why the Commission should delay the enforcement of its

remedy.
                                                  118

                                            Stay-Add-148
             Case: 24-1285         Document:
                                       PUBLIC7 VERSION
                                                 Page: 200           Filed: 12/26/2023




       C.      Bonding

       As discussed below, the Commission has determined that the bond during the period of

Presidential review shall be in the amount of zero percent (0%, i.e., no bond) of the entered value

of the articles subject to the LEO.

                       The Applicable Law

       If the Commission enters an exclusion order or a CDO, a respondent may continue to

import and sell its products during the 60-day period of Presidential review under a bond in an

amount determined by the Commission to be “sufficient to protect the complainant from any

injury.” 19 U.S.C. § 1337(j)(3); see also 19 C.F.R. § 210.50(a)(3). When reliable price

information is available in the record, the Commission has often set the bond in an amount that

would eliminate the price differential between the domestic product and the imported, infringing

product. See Certain Microsphere Adhesives, Processes for Making Same, & Prods. Containing

Same, Including Self-stick Repositionable Notes, Inv. No. 337-TA-366, USITC Pub. No. 2949,

Comm’n Op. at 24 (Jan. 16, 1996). The Commission also has used a reasonable royalty rate to

set the bond amount where a reasonable royalty rate could be ascertained from the evidence in

the record. See, e.g., Certain Audio Digital-to-Analog Converters & Prods. Containing Same,

Inv. No. 337-TA-499, Comm’n Op. at 25 (Mar. 3, 2005). Where the record establishes that the

calculation of a price differential is impractical or there is insufficient evidence in the record to

determine a reasonable royalty, the Commission has imposed a one hundred percent (100%)

bond. See, e.g., Certain Liquid Crystal Display Modules, Prods. Containing Same, & Methods

Using the Same, Inv. No. 337-TA-634, Comm’n Op. at 6–7 (Nov. 24, 2009). The complainant,

however, bears the burden of establishing the need for a bond. Certain Rubber Antidegradants,

Components Thereof & Prods. Containing Same, Inv. No. 337-TA-533, USITC Pub. No. 3975,

Comm’n Op. at 40 (July 21, 2006).

                                                 119

                                            Stay-Add-149
            Case: 24-1285        Document:
                                     PUBLIC7 VERSION
                                               Page: 201           Filed: 12/26/2023




                       The RD

       Before the ALJ, Complainants sought a bond in the amount of 100 percent of the entered

value of the Accused Products because the accused Apple Watch products are allegedly

“harming the public’s perception of pulse oximetry.” RD at 5 (quoting CPHBr. at 312 and citing

CPHBr. (Reply) at 182–83). For its part, Apple argued that a zero percent bond is appropriate

because Complainants have not identified any domestic industry products that compete with the

Accused Products. Id. (citing RPHBr. at 280). Apple further argued that Complainants’ theory

of harm to public perception is unsubstantiated and is, in any event, not an appropriate basis for

requiring a bond. Id. (citing RPHBr. at 280–81; RPHBr. (Reply) at 175–76).

       The RD found that Complainants did not meet their burden of establishing the need for a

bond. RD at 6. The RD pointed out that Complainants did not argue that a bond is needed to

protect any of its own competing products during the period of Presidential review. Id. (citing

CPHBr. at 312). The RD further pointed out that Complainants did not present any evidence or

argument regarding (1) the pricing (or expected pricing) of any such competing product; (2) the

possibility (or impossibility) of performing a price differential analysis based on any such

pricing; or (3) any reasonable royalty analysis. Id. at 6 n.5 (citing CPHBr. at 312; CPHBr.

(Reply) at 182–83; Certain Network Devices, Related Software & Components Thereof (II), Inv.

No. 337-TA-945, Comm’n Op., 2017 WL 3614521, at *75 (“Network Devices (II)”). The RD

further observed that, at the time of the hearing, the W1 Watch was not available for sale to

consumers on the open market. Id. at 6 (citing, inter alia, Tr. (Kiani) at 179:17–22). The RD

additionally declared that Complainants’ alleged harm to the “the public’s perception of pulse

oximetry” based on the alleged inaccuracy of the Apple Watch’s pulse oximetry measurements is

not an appropriate basis for setting a bond because the “purpose of bonding is to protect

complainants from injury—not to remedy harms to public perception.” Id. The RD further
                                                120

                                          Stay-Add-150
            Case: 24-1285         Document:
                                      PUBLIC7 VERSION
                                                Page: 202          Filed: 12/26/2023




added that “[i]t is not clear from the record that the alleged harm to public perception causes

injury to Complainants.” Id. The RD additionally declared that “Complainants also have

identified no clear evidence of current competition between the Apple Watch and Masimo

rainbow® sensors.” Id. at 6 n.7 (citing, inter alia, CPHBr. at 312). Thus, the RD found that

Complainants have failed to establish the need for a bond. Id. at 7.

                       The Parties’ Arguments

       Before the Commission, Complainants again request that the Commission require bond to

“protect Masimo from the detrimental impact of Apple’s continued importation of infringing

Apple Watches that do not reliably measure oxygen saturation.” CBr. at 87 (citing CX-1616,

CX-1293, CX-1606). Regarding an alleged competitive injury, Complainants rely on purported

concessions by Apple that (1) it, like Complainants, sell “direct-to-consumer devices that

measure wellness parameters (including blood oxygen)” and (2) it acknowledged that “Masimo

plans to launch a product that competes directly with the Apple Watch later this year.” Id.

(citing Respondent’s Motion to Preclude Stephen Jensen from Access to Apple’s Confidential

Business Information under the Protective Order (Order No. 1), EDIS Doc. ID 750872, at 4, 11

(Sept. 2, 2021)). Complainants additionally assert that they will be injured by a lack of bond

because of the “competitive status of the parties,” citing a Delaware litigation in which Apple’s

financial expert described Masimo’s “ongoing and escalating sales of W1,” “Masimo’s serious

and long-term intentions to pivot into the smartwatch segment,” and Masimo’s access to 20,000

points of distribution for the W1. CBr. (Reply) at 50 (citing CBr. (Reply) at Ex. 91 at 33, 36,

37).

       For its part, Apple supports the RD’s recommendation that bond be set at zero percent.

See RBr. at 91–92. Apple asserts that “Complainants have not met their burden of establishing

the need for a bond,” id. at 91 (quoting RD at 6), reasoning that Complainants failed to identify
                                                121

                                          Stay-Add-151
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 203           Filed: 12/26/2023




any domestic industry products that “compete with the accused Apple Watch products” and to

“present any argument concerning pricing of competing products or reasonable royalty analysis,”

id. (citing RD at 6 & n.5; Certain Elec. Devices, Including Wireless Comm’n. Devices, Portable

Music & Data Processing Devices, and Tablet Computs., Inv. No. 337-TA-794, Comm’n Op. at

118–19 (July 5, 2013); Network Devices (II), Inv. No. 337-TA-945, Comm’n Op. at 129–30).

Apple further agrees with the RD that the alleged harm to the public perception of pulse

oximetry is not a proper basis for justifying bond. Id. (citing RD at 6–7). Apple adds that, at the

time of the hearing, Complainants did not have a competing product available for sale to

consumers in the United States on the open market. Id. at 92 (citing RD at 6). Apple further

contests that the Apple Watches cause harm to the consumer perception of pulse oximetry. See

RBr. (Reply) at 47–48. Apple asserts that Complainants’ assertion is based on “non-scientific

news media articles” and “was addressed at the hearing and thoroughly debunked during the

cross-examination of Complainants’ economic expert, who conceded that his opinion on ‘harm

to consumer perception’ was not based on testing or technical expert testimony.” Id. (citing,

inter alia, CX-1616, CX-1293, CX-1606; Tr. (McGavock73) at 552:22–553:14). Apple adds that

the “accuracy and reliability of the Blood Oxygen feature on Apple Watch is well documented.”

Id.

                       Analysis

       The Commission has determined that the bond during the period of Presidential review

shall be in the amount of zero percent (0%, i.e., no bond) of the entered value of the articles




       73
          Daniel McGavock is Complainants’ expert witness, who was admitted as an expert in
financial matters, offering testimony regarding economic domestic industry, bond, and
commercial success. E.g., Final ID at 6.

                                                122

                                          Stay-Add-152
             Case: 24-1285        Document:
                                      PUBLIC7 VERSION
                                                Page: 204         Filed: 12/26/2023




subject to the LEO. The Commission agrees with the RD that the alleged harm to the public’s

perception of pulse oximetry is not a cognizable basis for establishing the need for bond and has

nevertheless not been substantiated as causing any harm (quantifiable or otherwise) to

Complainants. See RD at 6. The Commission additionally agrees with the RD that

Complainants have not shown any basis for supporting any specific bond based on pricing

information or reasonable royalty rates. See, e.g., RD at 5; Microsphere Adhesives, Inv. No.

337-TA-366, Comm’n Op. at 24 (basing bond on price differential when such information is

available); Audio Digital-to-Analog Converters, Inv. No. 337-TA-499, Comm’n Op. at 25

(relying on a reasonable royalty analysis when pricing information was not available).

Complainants’ vague assertions as to the “competitive status of the parties” (see CBr. (Reply) at

50) are insufficient to establish a bond amount sufficient to protect Complainants from any injury

during the period of Presidential review. Accordingly, the Commission has determined that the

bond during the period of Presidential review shall be in the amount of zero percent (0%, i.e., no

bond) of the entered value of the articles subject to the LEO.

VI.    CONCLUSION

       The Commission has considered all of the other arguments by the parties and does not

find them persuasive. Therefore, for the reasons set forth herein, the Commission determines

that Complainants have established a violation of section 337 by Apple with respect to claims 22

and 28 of the ’502 patent and claims 12, 24, and 30 of the ’648 patent, but not with respect to

claim 12 of the ’501 patent and claims 9 and 27 of the ’745 patent. Accordingly, the

investigation is terminated with a finding of a violation of section 337. The Commission

determines that the appropriate remedy is an LEO and a CDO to Apple; that the public interest

does not preclude that remedy; and the bond during the period of Presidential review is set at

zero percent (i.e., no bond) of the entered value.
                                                123

                                           Stay-Add-153
           Case: 24-1285      Document:
                                  PUBLIC7 VERSION
                                            Page: 205     Filed: 12/26/2023




      By order of the Commission.




                                              Lisa R. Barton
                                              Secretary to the Commission
Issued: November 14, 2023




                                        124

                                    Stay-Add-154
Case: 24-1285   Document: 7   Page: 206   Filed: 12/26/2023




        EXHIBIT 5




                      Stay-Add-155
            Case: 24-1285      Document: 7 Page: 207           Filed: 12/26/2023
                                  PUBLIC VERSION



             UNITED STATES INTERNATIONAL TRADE COMMISSION

                                     Washington, D.C.

 In the Matter of

 CERTAIN LIGHT-BASED                                  Inv. No. 337-TA-1276
 PHYSIOLOGICAL MEASUREMENT
 DEVICES AND COMPONENTS THEREOF


        FINAL INITIAL DETERMINATION ON VIOLATION OF SECTION 337

                      Administrative Law Judge Monica Bhattacharyya

                                     (January 10, 2023)

Appearances:

For Complainants Masimo Corporation and Cercacor Laboratories, Inc.:

Stephen C. Jensen, Joseph R. Re, Irfan A. Lateef, Sheila N. Swaroop, Ted M. Cannon, Brian C.
Claassen, Alan G. Laquer, Kendall M. Loebbaka, Daniel C. Kiang, and Douglas B. Wentzel of
Knobbe, Martens, Olson & Bear, LLP in Irvine, CA; William R. Zimmerman and Jonathan E.
Bachand of Knobbe, Martens, Olson & Bear, LLP in Washington, DC; Carol Pitzel Cruz of
Knobbe, Martens, Olson & Bear, LLP in Seattle, WA; and Karl W. Kowallis and Matthew S.
Friedrichs of Knobbe, Martens, Olson & Bear in New York, NY.

For Respondent Apple Inc.:

Mark D. Selwyn of Wilmer Cutler Pickering Hale and Dorr LLP in Palo Alto, CA; Joseph J.
Mueller, Richard Goldenberg, and Sarah R. Frazier of Wilmer Cutler Pickering Hale and Dorr
LLP in Boston, MA; and Michael D. Esch and David Cavanaugh of Wilmer Cutler Pickering
Hale and Dorr LLP in Washington, DC.




                                       Stay-Add-156
            Case: 24-1285         Document: 7 Page: 208             Filed: 12/26/2023
                                     PUBLIC VERSION




       Pursuant to the Notice of Investigation (EDIS Doc. ID 749538), 86 Fed. Reg. 46275-76

(Aug. 18, 2021), and Commission Rule 210.42, this is the administrative law judge’s final initial

determination on violation in the matter of Certain Light-Based Physiological Measurement

Devices and Components Thereof, Commission Investigation No. 337-TA-1276. 19 C.F.R.

§ 210.42(a)(1)(i).

       For the reasons discussed herein, it is the undersigned’s final initial determination that

there has been a violation of section 337 of the Tariff Act of 1930, as amended, 19 U.S.C.

§ 1337, in the importation into the United States, the sale for importation, and/or the sale within

the United States after importation of certain wearable electronic devices with light-based pulse

oximetry functionality and components thereof by reason of infringement of certain claims of

U.S. Patent No. 10,945,648.

       It is also the undersigned’s final initial determination that there has been no violation of

section 337 of the Tariff Act of 1930, as amended, 19 U.S.C. § 1337, in the importation into the

United States, the sale for importation, and/or the sale within the United States after importation

of certain wearable electronic devices with light-based pulse oximetry functionality and

components thereof with respect to U.S. Patent Nos. 10,912,501, U.S. Patent No. 10,912,502,

U.S. Patent No. 10,687,745, and U.S. Patent No. 7,761,127.




                                                 ii
                                          Stay-Add-157
                  Case: 24-1285                 Document: 7 Page: 209                           Filed: 12/26/2023
                                                   PUBLIC VERSION



                                                       TABLE OF CONTENTS

I.    BACKGROUND ................................................................................................................. 1
   A. Procedural History .............................................................................................................. 1
   B. The Parties .......................................................................................................................... 3
   C. Asserted Patents .................................................................................................................. 4
   D. Products at Issue ................................................................................................................. 4
   E. Witness Testimony.............................................................................................................. 5
II.   JURISDICTION AND IMPORTATION......................................................................... 8
   A. Personal Jurisdiction ........................................................................................................... 8
   B. In Rem Jurisdiction and Importation ................................................................................... 8
III. LEGAL STANDARDS....................................................................................................... 8
   A. Infringement ........................................................................................................................ 8
   B. Invalidity ........................................................................................................................... 11
   C. Inequitable Conduct .......................................................................................................... 16
   D. Domestic Industry ............................................................................................................. 17
IV. POEZE PATENTS ........................................................................................................... 19
   A. Specification ..................................................................................................................... 20
   B. Asserted claims ................................................................................................................. 21
   C. Level of Ordinary Skill in the Art ..................................................................................... 25
   D. Claim Construction ........................................................................................................... 26
   E. Infringement ...................................................................................................................... 33
   F. Domestic Industry—Technical prong ............................................................................... 55
   G. Invalidity – Anticipation/Obviousness ............................................................................. 88
   H. Invalidity – Written Description and Enablement .......................................................... 156
   I. Prosecution Laches and Unclean Hands ......................................................................... 170
V.    U.S. PATENT NO. 10,687,745 ....................................................................................... 174
   A. Specification ................................................................................................................... 174
   B. Claims ............................................................................................................................. 176
   C. Level of Ordinary Skill in the Art ................................................................................... 179
   D. Claim Construction ......................................................................................................... 179
   E. Infringement .................................................................................................................... 180
   F. Domestic Industry—Technical Prong............................................................................. 199
   G. Invalidity – Obviousness................................................................................................. 209
   H. Invalidity – Written Description and Enablement .......................................................... 241
   I. Prosecution Laches ......................................................................................................... 245
VI. U.S. PATENT NO. 7,761,127 ......................................................................................... 246
   A. Specification ................................................................................................................... 247
   B. Claims ............................................................................................................................. 248
   C. Level of Ordinary Skill in the Art ................................................................................... 249
   D. Claim Construction ......................................................................................................... 250
   E. Infringement .................................................................................................................... 259
   F. Domestic Industry—Technical Prong............................................................................. 273
   G. Invalidity ......................................................................................................................... 283
VII. DOMESTIC INDUSTRY – ECONOMIC PRONG (MASIMO WATCH) .............. 301
   A. The “Masimo Watch” Articles........................................................................................ 301


                                                                      iii
                                                            Stay-Add-158
               Case: 24-1285            Document: 7 Page: 210                   Filed: 12/26/2023
                                           PUBLIC VERSION



  B. Disputed Background Issues Regarding Domestic Industry Investments ...................... 302
  C. Domestic Industry Existing at the Time of the Complaint ............................................. 305
  D. Domestic Industry in the Process of Being Established ................................................. 319
VIII. DOMESTIC INDUSTRY – ECONOMIC PRONG (’127 PATENT) ........................ 324
  A. Domestic Industry Existing at the Time of the Complaint ............................................. 324
  B. Domestic Industry in the Process of Being Established ................................................. 326
  C. Asserted Domestic Industry Expenditures ...................................................................... 327
IX. CONCLUSIONS OF LAW............................................................................................ 335




                                                          iv
                                                  Stay-Add-159
             Case: 24-1285      Document: 7 Page: 211            Filed: 12/26/2023
                                   PUBLIC VERSION



The following abbreviations may be used in this Initial Determination:

  Tr.           Hearing Transcript
  Dep. Tr.      Deposition Transcript
  JX            Joint Exhibit
  CX            Complainants’ exhibit
  CPX           Complainants’ physical exhibit
  CDX           Complainants’ demonstrative exhibit
  RX            Respondents’ exhibit
  RPX           Respondents’ physical exhibit
  RDX           Respondents’ demonstrative exhibit
  CPHB          Complainants’ pre-hearing brief (EDIS Doc. ID 770786)
  CIB           Complainants’ corrected initial post-hearing brief (EDIS Doc. ID 775422)
  CRB           Complainants’ post-hearing reply brief (EDIS Doc. ID 775058)
  RPHB          Respondents’ corrected pre-hearing brief (EDIS Doc. ID 770874)
  RIB           Respondents’ second corrected initial post-hearing brief (EDIS Doc. ID 779376)
  RRB           Respondents’ corrected post-hearing reply brief (EDIS Doc. ID 779379)




                                               v
                                         Stay-Add-160
             Case: 24-1285        Document: 7 Page: 212             Filed: 12/26/2023
                                     PUBLIC VERSION



I.     BACKGROUND

       A.      Procedural History

       The Commission instituted this investigation in response to a complaint filed by

Complainants Masimo Corporation and Cercacor Laboratories, Inc. on June 30, 2021, with an

amended complaint filed on July 12, 2021 (the “Amended Complaint,” EDIS Doc. ID 746186),

and supplemented on July 19, 2021. Notice of Investigation at 1, EDIS Doc. No. 749538 (Aug.

13, 2021); 86 Fed. Reg. 46275-76 (Aug. 18, 2021). The complaint, as amended, alleges

violations of section 337 of the Tariff Act of 1930, as amended, by reason of infringement of

certain claims of U.S. Patent No. 10,912,501 (“the ’501 patent”), U.S. Patent No. 10,912,502

(“the ’502 patent”), U.S. Patent 10,945,648 (“the ’648 patent”), U.S. Patent No. 10,687,745 (“the

’745 patent”), and U.S. Patent No. 7,761,127 (“the ’127 patent”). Id. The Commission ordered

institution of this investigation to determine “whether there is a violation of subsection (a)(1)(B)

of section 337 in the importation into the United States, the sale for importation, or the sale

within the United States after importation of certain products . . . by reason of infringement of

one or more of claims 1-9 and 11-30 of the ’501 patent; claims 1-2, 4-6, 8-12, 14-22, 24-26, and

28-30 of the ’502 patent; claims 1-17 and 19-30 of the ’648 patent; claims 1-6, 8-9, 11, 14, 20-

24, and 26-27 of the ’745 patent; and claims 7-9 of the ’127 patent; and whether an industry in

the United States exists as required by subsection (a)(2) of section 337.” Id. at 2. The

investigation was instituted upon publication of the Notice of Investigation in the Federal

Register on Monday, August 18, 2021. 86 Fed. Reg. 46275-76.

       Respondent Apple Inc. filed a response to the Amended Complaint and Notice of

Investigation on September 7, 2021 (the “Response to Complaint”), disputing Complainants’




                                                  1
                                           Stay-Add-161
             Case: 24-1285         Document: 7 Page: 213             Filed: 12/26/2023
                                      PUBLIC VERSION



allegations with respect to infringement and domestic industry and asserting affirmative defenses

of invalidity and unenforceability. See EDIS Doc. ID 752521. 1

       Pursuant to Order No. 3 (Sept. 1, 2021), the target date of this investigation was set to be

December 16, 2022. On September 13, 2021, the investigation was assigned by then Chief

Administrative Law Judge Bullock to the undersigned. See Notice to the Parties, EDIS Doc. ID

751531 (Sept. 13, 2021). Pursuant to Order No. 5 (Sept. 22, 2021), the target date was extended

to January 16, 2023. See Comm’n Notice (Oct. 12, 2021), EDIS Doc. ID 754020.

       A technology tutorial and Markman hearing was held on February 17, 2022. See

Markman Tr., EDIS Doc. ID 763489. 2

       Pursuant to Order No. 25 (Mar. 23, 2022), Complainants withdrew their allegations of

infringement with respect to claims 2, 4, 5, 7, 11, 16, 19, 20, and 22-30 of the ’501 patent, claims

1-2, 4-6, 8-12, 14-18, 20, 25, and 26 of the ’502 patent, claims 3, 4, 6, 7, 9, 10, 13-17, 19, 22, and

25-28 of the ’648, and claims 1, 3-6, 8, 11, 14, 20-24, and 26 of the ’745 patent. See Comm’n

Notice, EDIS Doc. ID 768023 (Apr. 12, 2022). Pursuant to Order No. 33 (May 20, 2022),

Complainants withdrew their allegations of infringement with respect to claims 1, 3, 6, 8, 9, 13-

15, 17, 18, and 21 of the ’501 patent, claims 19, 21, 24, 29, and 30 of the ’502 patent, claims 1,

2, 5, 8, 11, 20, 21, 23, and 29 of the ’648, and claim 2 of the ’745 patent. See Comm’n Notice,

EDIS Doc. ID 772826 (Jun. 10, 2022).




1
 The affirmative defenses based on inequitable conduct were stricken pursuant to Order No. 9 (Dec. 20,
2021), and Respondent was subsequently granted leave to add certain inequitable conduct defenses
pursuant to Order No. 23 (Mar. 23, 2022).
2
 All of the claim construction disputes raised at the Markman hearing were subsequently mooted by the
withdrawal of asserted claims or by agreement of the parties. See infra.



                                                   2
                                            Stay-Add-162
            Case: 24-1285        Document: 7 Page: 214            Filed: 12/26/2023
                                    PUBLIC VERSION



       An evidentiary hearing was held on June 6-10, 2022. The parties filed initial post-

hearing briefs on June 27, 2022, and filed post-hearing reply briefs on July 11, 2022. Additional

exhibits were admitted pursuant to Order No. 50 (Jun. 16, 2022) and Order No. 56 (Aug. 31,

2022). The hearing transcript was amended pursuant to Order No. 51 (Jun. 23, 2022) and Order

No. 52 (Jun. 27, 2022). The parties’ post-hearing briefs were amended pursuant to Order No. 54

(Jul. 14, 2022), Order No. 55 (Jul. 14, 2022), and Order No. 57 (Aug. 31, 2022).

       Pursuant to Order No. 58 (Sept. 12, 2022), Order No. 59 (Oct. 24, 2022), and Order

No. 61 (Dec. 9, 2022), the target date was extended to May 10, 2023. See Comm’n Notice,

EDIS Doc. ID 787448 (Jan. 6, 2023).

       B.      The Parties

               1.     Complainants

       The Complainants are Masimo Corporation (“Masimo”) and Cercacor Laboratories, Inc.

(“Cercacor”) (collectively, “Complainants”). Notice of Investigation at 2. Masimo and Cercacor

are both Delaware corporations having their principal places of business in Irvine, California.

Complaint ¶ 9. Masimo is the owner of the ’501 patent (JX-0001), ’502 patent (JX-0002), ’648

patent (JX-0003), and ’745 patent (JX-0009). Id. ¶ 4. Cercacor is the owner of the ’127 patent

(JX-0007). Id. Masimo and Cercacor have rights to each of the asserted patents through a cross-

licensing agreement. Id. ¶¶ 4, 77; CX-1612C.

               2.     Respondent

       The Respondent is Apple Inc. (“Apple”). Notice of Investigation at 2. Apple is a

California corporation having its principal place of business in Cupertino, California. Response

to Complaint ¶ 21.




                                                3
                                          Stay-Add-163
            Case: 24-1285         Document: 7 Page: 215            Filed: 12/26/2023
                                     PUBLIC VERSION
                      CONFIDENTIAL INFORMATION REDACTED

       C.      Asserted Patents

       The ’501 patent, ’502 patent, and ’648 patent share a common specification, claiming

priority to an application filed on July 3, 2008. JX-0001; JX-0002; JX-0003. These patents are

entitled “User-Worn Device for Noninvasively Measuring a Physiological Parameter of a User,”

naming inventors Jeroen Poeze et al., and are referenced herein as the “Poeze patents.” Id.

       The ’745 patent is entitled “Physiological Monitoring Devices, Systems, and Methods,”

and claims priority to an application filed on June 28, 2016, naming inventor Ammar Al-Ali.

JX-0009.

       The ’127 patent is entitled “Multiple Wavelength Sensor Substrate” and issued from an

application filed on March 1, 2006, naming inventors Ammar Al-Ali et al. JX-0007.

       D.      Products at Issue

       The products at issue are “wearable electronic devices with light-based pulse oximetry

functionality and components thereof.” Notice of Investigation at 2.

               1.      Accused Products

       Complainants accuse Apple Watch products of infringing the asserted patents, including

the Apple Watch Series 6, the Apple Watch Series 7, and certain prototype Apple Watch

products                                              (“Next Generation Apple Watches”). CIB

at 37-39. Apple has stipulated to the importation of the Apple Watch Series 6, Apple Watch

Series 7, and Next Generation Apple Watches (collectively, the “Accused Products”). See CX-

0128C (Stipulation Regarding Importation and Inventory) at ¶¶ 2-4; CX-1259C (Stipulation

Relating to Next-Generation Watches) at ¶¶ 5-6. The parties have stipulated that the Accused

Products are materially identical for the purposes of infringement in this investigation. See Joint

Stipulation of Facts at ¶¶ 11-13, EDIS Doc. ID 770692 (May 13, 2022); CX-1259C at ¶¶ 7-8.




                                                 4
                                          Stay-Add-164
            Case: 24-1285         Document: 7 Page: 216          Filed: 12/26/2023
                                     PUBLIC VERSION



               2.      Domestic Industry Products

       With respect to the ’501, ’502, ’648, and ’745 patents, Complainants rely on certain

“Masimo Watch” products. CIB at 26-35. These Masimo Watch products include certain

prototypes identified as the “Circle Sensor” (CPX-0021C), the “Wings Sensor” (CPX-0029C),

the “RevA sensor” (CPX-0052C), the “RevD sensor” (CPX-0058C), the “RevE sensors” (CPX-

0019C, CPX-0020C, CPX-0065C), and a product identified as the Masimo W1 Watch (CPX-

0146C). CIB at 30-35. With respect to the ’127 patent, Complainants rely on certain of

Masimo’s rainbow® sensors. Id. at 36.

       E.      Witness Testimony

       The undersigned received testimonial evidence in this investigation in the form of live

testimony and deposition designations.

               1.      Fact Witnesses

       The first witness at the hearing was Joe Kiani, the chairman and chief executive officer of

Masimo and Cercacor. Tr. at 79-189. Complainants also presented testimony from Mohamed

Diab, an engineer at Masimo, id. at 190-246; Ammar Al-Ali, who oversees technology

development at Masimo, id. at 247-340; and Bilal Muhsin, who is the chief operating officer of

Masimo. Id. at 341-89. Complainants further presented testimony from Stephen Scruggs, the

director of sensor design at Masimo, id. at 390-479; Micah Young, who is Masimo’s chief

financial officer and executive vice president, id. at 481-520; and Jeroen Hammarth, the chief

financial officer of Cercacor. Id. at 521-33.

       Apple presented testimony from several of its employees, including Vivek Venugopal, an

optical engineer, id. at 816-49; Saahil Mehra, who manages product design for the Apple Watch

health sensors, id. at 850-94; Ueyn Block, who worked on the optical architecture for the Apple




                                                5
                                          Stay-Add-165
            Case: 24-1285        Document: 7 Page: 217            Filed: 12/26/2023
                                    PUBLIC VERSION



Watch health sensors, id. at 895-917; Stephen Waydo, who is the director of a human interface

device (HID) health group at Apple, id. at 918-51; Brian Land, who leads a health sensing

hardware group at Apple, id. at 952-92; and Paul Mannheimer, a sensor architect and scientist at

Apple, id. at 993-1025. Apple’s counsel also examined Scott Cromar, the prosecuting attorney

for the ’501 patent, ’502 patent, and ’648 patent. Id. at 1026-41. Apple further presented

testimony from Robert Rowe, who was the named inventor of certain asserted prior art. Id. at

1141-53; see id. at 1174:3-1175:7 (no cross-examination for Mr. Rowe).

               2.     Expert Witnesses

       Complainants rely on the testimony of Daniel McGavock, who was admitted as an expert

in financial matters, offering testimony regarding economic domestic industry, bond, and

commercial success. Tr. at 533-76 (expert qualification at 534:25-535:6), 1416-42. With respect

to the ’127 patent, Complainants rely on the testimony of Jack Goldberg, who was admitted as an

expert in the field of physiological monitoring technologies. Id. at 612-63 (expert qualification

at 614:3-11), 1391-1408. With respect to the ’501 patent, ’502 patent, ’648 patent, and ’745

patent, Complainants rely on the testimony of Vijay Madisetti, who was admitted as an expert in

the field of physiological monitoring technologies. Id. at 664-813 (voir dire and expert

qualification at 666:10-674:12). Complainants also rely on the testimony of Robert Stoll, who

was admitted as an expert on Patent Office practice and procedure. Id. at 1409-15 (expert

qualification at 1409:23-1410:4).

       Apple relies on the testimony of Majid Sarrafzadeh, who was admitted as an expert in

physiological monitoring technologies including the design of pulse oximetry sensors, with

respect to the ’745 patent and ’127 patent. Id. at 1042-1138 (expert qualification at 1046:5-12).

With respect to the ’501 patent, ’502 patent, and ’648 patent, Apple relies on the testimony of



                                                 6
                                          Stay-Add-166
            Case: 24-1285        Document: 7 Page: 218            Filed: 12/26/2023
                                    PUBLIC VERSION



Steven Warren, who was admitted as an expert in biomedical engineering, medical monitoring

systems, biomedical instrumentation, biomedical optics, light issue interaction, diagnostic

systems, wearable sensors, and biomedical signal processing. Id. at 1181-1282 (expert

qualification at 1187:20-1188:11). Apple also relies on the testimony of Vincent Thomas, who

was admitted as an expert in the field of economics and financial analysis, with respect to the

economic prong of the domestic industry requirement. Id. at 1282-1389 (expert qualification at

1283:11-17).

               3.     Deposition Designations

       Complainants submitted several designated deposition transcripts that were received into

evidence without a sponsoring witness: CX-0273C (Amor Dep. Tr.); CX-0281C (Block Dep.

Tr.); CX-0275C (Caldbeck Dep. Tr.); CX-0283C (Charbonneau-Lefort Dep. Tr.); CX-0285C

(Dua Dep. Tr.); CX-0287C (Land Dep. Tr.); CX-0289C (Mannheimer Dep. Tr.); CX-0291C

(Mehra Dep. Tr.); CX-0293C (Rollins Dep. Tr.); CX-0279C (Rowe Dep. Tr.); CX-0295C (Shui

Dep. Tr.); CX-0297C (Venugopal Dep. Tr.); CX-0299C (Waydo Dep. Tr.). See Tr. at 291:22-

299:5. Apple also submitted several designated deposition transcripts that were received into

evidence without a sponsoring witness: RX-1195C (Abdul-Hafiz Dep. Tr.); RX-1296C (Al-Ali

Dep. Tr.); RX-1200C (Diab Dep. Tr.); RX-1201C (Hammarth Dep. Tr.); RX-1202C (Kaufman

Dep. Tr.); RX-1204C (Kiani Dep. Tr.); RX-1206C (Muhsin Dep. Tr.); RX-1209C (Scruggs Dep.

Tr.); RX-1210C (Scruggs 2nd Dep. Tr.); RX-1211C (Young Dep. Tr.). See Tr. at 1323:24-

1324:20.




                                                 7
                                          Stay-Add-167
             Case: 24-1285        Document: 7 Page: 219             Filed: 12/26/2023
                                     PUBLIC VERSION



II.    JURISDICTION AND IMPORTATION

       A.      Personal Jurisdiction

       Apple has submitted to the personal jurisdiction of the Commission by answering the

Complaint and Notice of Investigation, participating in discovery, appearing at hearings, and

filing motions and briefs. See Certain Miniature Hacksaws, Inv. No. 337-TA-237, USITC Pub.

No. 1948, Initial Determination at 4, 1986 WL 379287, *1 (Oct. 15, 1986), not reviewed in

relevant part by Comm’n Action and Order, 1987 WL 450871 (Jan. 15, 1987). Apple does not

dispute the Commission’s jurisdiction in this investigation. See RIB at 18.

       B.      In Rem Jurisdiction and Importation

       The Commission has in rem jurisdiction over the accused products by virtue of their

importation into the United States. See Sealed Air Corp. v. U.S. Int’l Trade Comm’n, 645 F.2d

976, 985-86 (C.C.P.A. 1981) (holding that the ITC’s jurisdiction over imported articles is

sufficient to exclude such articles). Apple has stipulated to the importation of the Accused

Products. CX-0128C at 1-2; CX-1259C ¶¶ 5-6. Apple does not dispute the Commission’s

jurisdiction in this investigation. See RIB at 18.

III.   LEGAL STANDARDS

       A.      Infringement

       Section 337(a)(1)(B)(i) prohibits “the importation into the United States, the sale for

importation, or the sale within the United States after importation by the owner, importer, or

consignee, of articles that – (i) infringe a valid and enforceable United States patent or a valid

and enforceable United States copyright registered under title 17.” 19 U.S.C. §1337(a)(1)(B)(i).

The Commission has held that the word “infringe” in Section 337(a)(1)(B)(i) “derives its legal

meaning from 35 U.S.C. § 271, the section of the Patent Act that defines patent infringement.”




                                                     8
                                           Stay-Add-168
              Case: 24-1285       Document: 7 Page: 220           Filed: 12/26/2023
                                     PUBLIC VERSION



Certain Elec. Devices with Image Processing Sys., Components Thereof, and Associated

Software, Inv. No. 337-TA-724, Comm’n Op. at 13-14, EDIS Doc. ID 467105 (Dec. 21, 2011).

         Infringement must be proven by a preponderance of the evidence. SmithKline

Diagnostics, Inc. v. Helena Labs. Corp., 859 F.2d 878, 889 (Fed. Cir. 1988). The preponderance

of the evidence standard “requires proving that infringement was more likely than not to have

occurred.” Warner-Lambert Co. v. Teva Pharm. USA, Inc., 418 F.3d 1326, 1341 n.15 (Fed. Cir.

2005).

                1.     Claim Construction

         “An infringement analysis entails two steps. The first step is determining the meaning

and scope of the patent claims asserted to be infringed. The second step is comparing the

properly construed claims to the device accused of infringing.” Markman v. Westview

Instruments, Inc., 52 F.3d 967, 976 (Fed. Cir. 1995) (en banc), aff’d, 517 U.S. 370 (1996)

(citation omitted). “[T]he construction of claims is simply a way of elaborating the normally

terse claim language[] in order to understand and explain, but not to change, the scope of the

claims.” Embrex, Inc. v. Serv. Eng’g Corp., 216 F.3d 1343, 1347 (Fed. Cir. 2000) (alterations in

original) (quoting Scripps Clinic v. Genentech, Inc., 927 F.2d 1565, 1580 (Fed. Cir. 1991)).

“[O]nly those [claim] terms need be construed that are in controversy, and only to the extent

necessary to resolve the controversy.” Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795,

803 (Fed. Cir. 1999). The words of a claim “‘are generally given their ordinary and customary

meaning,’” which is “the meaning that the term would have to a person of ordinary skill in art”

as of the date that the patent application was filed. Phillips v. AWH Corp., 415 F.3d 1303, 1312-

13 (Fed. Cir. 2005) (en banc) (quoting Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582

(Fed. Cir. 1996)).



                                                 9
                                          Stay-Add-169
             Case: 24-1285        Document: 7 Page: 221             Filed: 12/26/2023
                                     PUBLIC VERSION



               2.      Direct and Indirect Infringement

       A patent claim is directly infringed when a respondent “makes, uses, offers to sell, or

sells any patented invention, within the United States, or imports into the United States any

patented invention” without consent of the patent owner. 35 U.S.C. § 271(a)

       In addition to direct infringement, a respondent may be liable for indirect infringement,

including induced infringement, which is defined in section 271(b) of the Patent Act: “Whoever

actively induces infringement of a patent shall be liable as an infringer.” 35 U.S.C. § 271(b).

See DSU Med. Corp. v. JMS Co., Ltd., 471 F.3d 1293, 1305 (Fed. Cir. 2006) (en banc) (“To

establish liability under section 271(b), a patent holder must prove that once the defendants knew

of the patent, they actively and knowingly aided and abetted another’s direct infringement.”)

(citations omitted). “The mere knowledge of possible infringement by others does not amount to

inducement; specific intent and action to induce infringement must be proven.” Id. (citations

omitted). The Supreme Court has held that induced infringement “requires knowledge that the

induced acts constitute patent infringement.” Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S.

754, 766 (2011). In Suprema, Inc. v. Int’l Trade Comm’n, the Federal Circuit upheld the

Commission’s interpretation of the section 337 language “articles that infringe” in the context of

induced infringement, holding that the statute “covers goods that were used by an importer to

directly infringe post-importation as a result of the seller’s inducement.” 796 F.3d 1338, 1352-

53 (Fed. Cir. 2015).

       Another form of indirect infringement is contributory infringement, defined in section

271(c) of the Patent Act: “Whoever offers to sell . . . or imports into the United States a

component of a patented machine, . . . or a material or apparatus for use in practicing a patented

process, constituting a material part of the invention, knowing the same to be especially made or



                                                 10
                                           Stay-Add-170
            Case: 24-1285         Document: 7 Page: 222            Filed: 12/26/2023
                                     PUBLIC VERSION



especially adapted for use in an infringement of such patent, and not a staple article or

commodity of commerce suitable for substantial noninfringing use, shall be liable as a

contributory infringer.” 35 U.S.C. § 271(c). The intent requirement for contributory

infringement requires that respondent knows “that the combination for which [the] component

was especially designed was both patented and infringing.” Global-Tech, 563 U.S. at 763. A

violation of section 337 based on contributory infringement requires that “the accused infringer

imported, sold for importation, or sold after importation within the United States, the accused

components that contributed to another’s direct infringement.” Spansion, Inc. v. Int’l Trade

Comm’n, 629 F.3d 1331, 1353 (Fed. Cir. 2010).

               3.      Literal Infringement and the Doctrine of Equivalents

       A complainant must prove either literal infringement or infringement under the doctrine

of equivalents. Literal infringement requires the patentee to prove that the accused device meets

each and every limitation of the asserted claim(s). Frank’s Casing Crew & Rental Tools, Inc. v.

Weatherford Int’l, Inc., 389 F.3d 1370, 1378 (Fed. Cir. 2004). “If even one limitation is missing

or not met as claimed, there is no literal infringement.” Elkay Mfg. Co. v. EBCO Mfg. Co., 192

F.3d 973, 980 (Fed. Cir. 1999). Literal infringement is a question of fact. Finisar Corp. v.

DirecTV Grp., Inc., 523 F.3d 1323, 1332 (Fed. Cir. 2008). Under the doctrine of equivalents, “a

product or process that does not literally infringe upon the express terms of a patent claim may

nonetheless be found to infringe if there is ‘equivalence’ between the elements of the accused

product or process and the claimed elements of the patented invention.” Warner-Jenkinson Co.

v. Hilton Davis Chem. Co., 520 U.S. 17, 21 (1997).

       B.      Invalidity

       It is the respondents’ burden to prove invalidity, and the burden of proof never shifts to




                                                 11
                                          Stay-Add-171
             Case: 24-1285        Document: 7 Page: 223              Filed: 12/26/2023
                                     PUBLIC VERSION



the patentee to prove validity. Scanner Techs. Corp. v. ICOS Vision Sys. Corp. N.V., 528 F.3d

1365, 1380 (Fed. Cir. 2008). “Under the patent statutes, a patent enjoys a presumption of

validity, see 35 U.S.C. § 282, which can be overcome only through facts supported by clear and

convincing evidence . . . .” SRAM Corp. v. AD-II Eng’g, Inc., 465 F.3d 1351, 1357 (Fed. Cir.

2006); see also Microsoft Corp. v. i4i Ltd. P’ship, 564 U.S. 91, 100-114 (2011) (upholding the

“clear and convincing” standard for invalidity).

       The clear and convincing evidence standard placed on the party asserting an invalidity

defense requires a level of proof beyond the preponderance of the evidence. Although not

susceptible to precise definition, “clear and convincing” evidence has been described as evidence

that produces in the mind of the trier of fact “an abiding conviction that the truth of a factual

contention is ‘highly probable.’” Price v. Symsek, 988 F.2d 1187, 1191 (Fed. Cir. 1993) (quoting

Buildex, Inc. v. Kason Indus., Inc., 849 F.2d 1461, 1463 (Fed. Cir. 1988)).

               1.      Anticipation

       Pursuant to 35 U.S.C. § 102, a patent claim is invalid as anticipated if:

           (1) the claimed invention was patented, described in a printed publication,
           or in public use, on sale, or otherwise available to the public before the
           effective filing date of the claimed invention; or

           (2) the claimed invention was described in a patent issued under section
           151, or in an application for patent published or deemed published under
           section 122(b), in which the patent or application, as the case may be,
           names another inventor and was effectively filed before the effective filing
           date of the claimed invention.

35 U.S.C. § 102 (2012). “A patent is invalid for anticipation if a single prior art reference discloses

each and every limitation of the claimed invention. Moreover, a prior art reference may anticipate

without disclosing a feature of the claimed invention if that missing characteristic is necessarily




                                                   12
                                           Stay-Add-172
             Case: 24-1285         Document: 7 Page: 224              Filed: 12/26/2023
                                      PUBLIC VERSION



present, or inherent, in the single anticipating reference.” Schering Corp. v. Geneva Pharm., Inc.,

339 F.3d 1373, 1377 (Fed. Cir. 2003) (citations omitted).

                2.      Obviousness

        Section 103 of the Patent Act states:

            A patent for a claimed invention may not be obtained, notwithstanding
            that the claimed invention is not identically disclosed as set forth in
            section 102, if the differences between the claimed invention and the prior
            art are such that the claimed invention as a whole would have been
            obvious before the effective filing date of the claimed invention to a
            person having ordinary skill in the art to which the claimed invention
            pertains. Patentability shall not be negated by the manner in which the
            invention was made.

35 U.S.C. § 103(a) (2012).

        “Obviousness is a question of law based on underlying questions of fact.” Scanner

Techs., 528 F.3d at 1379. The underlying factual determinations include: “(1) the scope and

content of the prior art, (2) the level of ordinary skill in the art, (3) the differences between the

claimed invention and the prior art, and (4) objective indicia of non-obviousness.” Id. at 1380

(citing Graham v. John Deere Co., 383 U.S. 1, 17-18 (1966)). These factual determinations are

often referred to as the “Graham factors.”

        A critical inquiry in determining the differences between the claimed invention and the

prior art is whether there is a reason to combine the prior art references. KSR Int’l Co. v. Teleflex

Inc., 550 U.S. 398, 418-21 (2007). In KSR, the Supreme Court rejected the Federal Circuit’s

rigid application of a “teaching-suggestion-motivation” test—while the Court stated that “it can

be important to identify a reason that would have prompted a person of ordinary skill in the

relevant field to combine the elements in the way the claimed new invention does,” it described a

more flexible analysis:




                                                  13
                                            Stay-Add-173
            Case: 24-1285         Document: 7 Page: 225            Filed: 12/26/2023
                                     PUBLIC VERSION



           Often, it will be necessary for a court to look to interrelated teachings of
           multiple patents; the effects of demands known to the design community
           or present in the marketplace; and the background knowledge possessed
           by a person having ordinary skill in the art, all in order to determine
           whether there was an apparent reason to combine the known elements in
           the fashion claimed by the patent at issue . . . . As our precedents make
           clear, however, the analysis need not seek out precise teachings directed to
           the specific subject matter of the challenged claim, for a court can take
           account of the inferences and creative steps that a person of ordinary skill
           in the art would employ.

Id. at 418. Applying KSR, the Federal Circuit has held that, where a patent challenger contends

that a patent is invalid for obviousness based on a combination of prior art references, “the

burden falls on the patent challenger to show by clear and convincing evidence that a person of

ordinary skill in the art would have had reason to attempt to make the composition or device . . .

and would have had a reasonable expectation of success in doing so.” PharmaStem

Therapeutics, Inc. v. ViaCell, Inc., 491 F.3d 1342, 1360 (Fed. Cir. 2007).

       In addition to demonstrating that a reason exists to combine prior art references, the

challenger must demonstrate that the combination of prior art references discloses all of the

limitations of the claims. Hearing Components, Inc. v. Shure Inc., 600 F.3d 1357, 1373-1374

(Fed. Cir. 2010), abrogated on other grounds by Nautilus, Inc. v. Biosig Instruments, Inc., 572

U.S. 898 (2014) (upholding finding of non-obviousness based on substantial evidence that the

asserted combination of references failed to disclose a claim limitation); Velander v. Garner, 348

F.3d 1359, 1363 (Fed. Cir. 2003) (explaining that a requirement for a finding of obviousness is

that “all the elements of an invention are found in a combination of prior art references”).

               3.      Indefiniteness

       “The Patent Act requires that a patent specification ‘conclude with one or more

claims particularly pointing out and distinctly claiming the subject matter which the applicant

regards as [the] invention.’” Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898 (2014)


                                                14
                                          Stay-Add-174
             Case: 24-1285         Document: 7 Page: 226             Filed: 12/26/2023
                                      PUBLIC VERSION



(quoting 35 U.S.C. § 112, ¶ 2). “[T]he second paragraph of § 112 contains two requirements:

first, [the claim] must set forth what the applicant regards as his invention, and second, it must do

so with sufficient particularity and distinctness, i.e., the claim must be sufficiently definite.”

Allen Eng’g Corp. v. Bartell Indus., Inc,. 299 F.3d 1336, 1348 (Fed. Cir. 2002) (citation and

internal quotation marks omitted) (alteration in original). A claim does not satisfy the second

requirement and is thereby indefinite “if read in light of the specification delineating the patent,

and the prosecution history, [the claim] fail[s] to inform, with reasonable certainty, those skilled

in the art about the scope of the invention.” Nautilus, 534 U.S. at 901. Indefiniteness is a

question of law, subject to a determination of underlying facts. Akzo Nobel Coatings, Inc. v.

Dow Chem. Co., 811 F.3d 1334, 1343-44 (Fed. Cir. 2016). The party challenging the validity of

a claim bears the burden of establishing indefiniteness. Id.

               4.      Written Description

       Under 35 U.S.C. § 112, ¶ 1, the specification must provide a written description of the

claimed invention that “reasonably conveys to those skilled in the art that the inventor had

possession of the claimed subject matter as of the filing date.” Ariad Pharm., Inc. v. Eli Lilly

and Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (en banc). Determining whether the written

description requirement has been satisfied “requires an objective inquiry into the four corners of

the specification from the perspective of a person of ordinary skill in the art” to determine

whether the specification “show[s] that the inventor actually invented the invention claimed.”

Id.

               5.      Enablement

       The enablement requirement is set forth in 35 U.S.C. § 112, ¶ 1 and provides in pertinent

part that the specification shall describe “the manner and process of making and using [the




                                                  15
                                            Stay-Add-175
             Case: 24-1285        Document: 7 Page: 227             Filed: 12/26/2023
                                     PUBLIC VERSION



invention], in such full, clear, concise, and exact terms as to enable any person skilled in the art

to which it pertains, or with which it is most nearly connected, to make and use the [invention].”

The “enablement requirement is satisfied when one skilled in the art, after reading the

specification, could practice the claimed invention without undue experimentation.” AK Steel

Corp. v. Sollac & Ugine, 344 F.3d 1234, 1244 (Fed. Cir. 2003). Whether undue experimentation

is needed is not a single, simple factual determination, but rather is a conclusion reached by

weighing many factual considerations. In re Wands, 858 F.2d 731, 737 (Fed. Cir. 1988).

       C.      Inequitable Conduct

       A patent containing a claim obtained through inequitable conduct is unenforceable.

Therasense, Inc. v. Becton, Dickinson & Co., 649 F.3d 1276, 1288-89 (Fed. Cir. 2011) (en banc).

“Moreover, the taint of a finding of inequitable conduct can spread from a single patent to render

unenforceable other related patents and applications in the same technology family.” Id. (citing

Consol. Aluminum Corp. v. Foseco Int’l Ltd., 910 F.2d 804, 808-12 (Fed. Cir. 1990)).

       “To prevail on the defense of inequitable conduct, the accused infringer must prove that

the applicant misrepresented or omitted material information with the specific intent to deceive

the PTO.” Id. at 1287. The failure to disclose a reference to the PTO constitutes inequitable

conduct only if “the applicant made a deliberate decision to withhold a known material

reference.” Id. at 1290 (quoting Molins PLC v. Textron, Inc., 48 F.3d 1172, 1182 (Fed. Cir.

1995)) (internal quotation marks omitted; emphasis in original). “In other words, the accused

infringer must prove by clear and convincing evidence that the applicant knew of the reference,

knew that it was material, and made a deliberate decision to withhold it.” Id. Inequitable

conduct based on the failure to disclose a reference requires a showing of “but for” materiality

for the reference. Id. at 1291. The “but for” materiality requirement is satisfied “if the PTO



                                                 16
                                           Stay-Add-176
             Case: 24-1285         Document: 7 Page: 228              Filed: 12/26/2023
                                      PUBLIC VERSION



would not have allowed a claim had it been aware of the undisclosed prior art.” Id. In

determining whether “but for” materiality requirement is satisfied, the “the court should apply

the preponderance of the evidence standard and give claims their broadest reasonable

construction.” Id. at 1291-92.

        While deceptive intent may be inferred solely from circumstantial evidence, “[t]o meet

the clear and convincing evidence standard, the specific intent to deceive must be ‘the single

most reasonable inference able to be drawn from the evidence.’” Id. (quoting Star Scientific Inc.

v. R.J. Reynolds Tobacco Co., 537 F.3d 1357, 1366 (Fed. Cir. 2008)).

        D.      Domestic Industry

        In patent-based proceedings under section 337, a complainant must establish that an

industry “relating to the articles protected by the patent . . . exists or is in the process of being

established” in the United States. 19 U.S.C. § 1337(a)(2). Under Commission precedent, the

domestic industry requirement of section 337 consists of a “technical prong” and an “economic

prong.” See, e.g., Alloc, Inc. v. Intl Trade Comm’n, 342 F.3d 1361, 1375 (Fed. Cir. 2003).

        To meet the technical prong, the complainant must establish that it practices at least one

claim of the asserted patent. Certain Point of Sale Terminals and Components Thereof, Inv. No.

337-TA-524, Order No. 40 at 17-18, EDIS Doc. ID 230409 (Apr. 11, 2005). “The test for

satisfying the ‘technical prong’ of the industry requirement is essentially [the] same as that for

infringement, i.e., a comparison of domestic products to the asserted claims.” Alloc, 342 F.3d at

1375.

        With respect to the “economic prong,” subsection (3) of Section 337(a) provides:

        For purposes of paragraph (2), an industry in the United States shall be
        considered to exist if there is in the United States, with respect to the
        articles protected by the patent, copyright, trademark, mask work, or design
        concerned –


                                                   17
                                            Stay-Add-177
            Case: 24-1285        Document: 7 Page: 229              Filed: 12/26/2023
                                    PUBLIC VERSION



               (A) significant investment in plant and equipment;

               (B) significant employment of labor or capital; or

               (C) substantial investment in its exploitation, including engineering,
               research and development, or licensing.

19 U.S.C. § 1337(a)(3).

       Expenditures may be counted toward satisfaction of the domestic industry requirement

“as long as those investments pertain to the complainant’s industry with respect to the articles

protected by the asserted IP rights.” Certain Television Sets, Television Receivers, Television

Tuners, and Components Thereof, Inv. No. 337-TA-910, Comm’n Op. at 68, 2015 WL 6755093,

at *36 (Oct. 30, 2015); accord, e.g., Certain Marine Sonar Imaging Devices, Including

Downscan and Sidescan Devices, Prods. Containing the Same, and Components Thereof, Inv.

No. 337-TA-921, Comm’n Op., 2016 WL 10987364, at *40 (Jan. 6, 2016) (“Navico’s allocation

methodology reasonably approximates the warranty and technical customer support expenditures

relating to the LSS-1 product.”) (citing Certain Ground Fault Circuit Interrupters and Prods.

Containing Same, Inv. No. 337-TA-739, Comm’n Op. at 74-75, 79-81 (June 8, 2012)).

Subsections (A), (B), and (C) are listed in the disjunctive, and accordingly, the domestic industry

investments in plant and equipment or labor and capital can include expenditures that relate to

engineering or research and development. Certain Solid State Storage Drives, Stacked

Electronics Components, and Products Containing Same, Inv. No. 337-TA-1097, Comm’n Op.

at 14, EDIS Doc. ID 649139 (June 29, 2018) (“[T]he text of the statute, the legislative history,

and Commission precedent do not support narrowing subsections (A) and (B) to exclude non-

manufacturing activities, such as investments in engineering and research and development.”).

       Whether a complainant satisfies the economic prong is not analyzed according to a rigid

mathematical formula. Certain Male Prophylactic Devices, Inv. No. 337-TA-546, Comm’n Op.



                                                18
                                          Stay-Add-178
             Case: 24-1285        Document: 7 Page: 230             Filed: 12/26/2023
                                     PUBLIC VERSION



at 39, EDIS Doc. ID 279161 (Aug. 1, 2007). The decision is made on a case-by-case basis and

requires “an examination of the facts in each investigation, the article of commerce, and the

realities of the marketplace.” Id. Although Section 337(a)(3) describes the economic activities

as “significant” and “substantial,” a complainant does not need to show any “minimum monetary

expenditure,” and a complainant does not “need to define or quantify the industry itself in

absolute mathematical terms.” Stringed Musical Instruments & Components Thereof (“Stringed

Musical Instruments”), Inv. No. 337-TA-586, Comm’n Op. at 26, EDIS Doc. ID 300615 (May

16, 2008). “A precise accounting [of the complainant’s domestic investments] is not necessary,

as most people do not document their daily affairs in contemplation of possible litigation.” Id. at

17.

       The Commission has held that “[o]rdinarily, the relevant date at which to determine if the

domestic industry requirement of section 337 is satisfied is the filing date of the complaint.”

Certain Thermoplastic-Encapsulated Electric Motors, Components Thereof, and Products and

Vehicles Containing the Same, Inv. No. 337-TA-1073, Comm’n Op. at 6-7, EDIS Doc. ID

684974 (Aug. 12, 2019). In Stringed Musical Instruments, the Commission held that a domestic

industry is in the process of being established when (1) a complainant takes “the necessary

tangible steps to establish such an industry in the United States,” and (2) there is a “significant

likelihood that the industry requirement will be satisfied in the future.” Inv. No. 337-TA-586,

Comm’n Op. at 14-17, EDIS Doc. ID 300615 (May 16, 2008).

IV.    POEZE PATENTS

       The ’501 patent, ’502 patent, and ’648 patent are entitled “User-Worn Device for

Noninvasively Measuring a Physiological Parameter of a User,” sharing a common specification

and naming inventors Jeroen Poeze et al. JX-0001; JX-0002; JX-0003. These patents are



                                                 19
                                           Stay-Add-179
             Case: 24-1285        Document: 7 Page: 231               Filed: 12/26/2023
                                     PUBLIC VERSION



collectively referred to herein as the “Poeze patents.” The Poeze patents issued from

applications filed on September 24, 2020, claiming priority to earlier patent applications, with

the earliest provisional application filed on July 3, 2008. See Id.

       A.      Specification

       The Poeze patents’ specification describes non-invasive physiological sensors for

measuring blood constituents or analytes using multi-stream spectroscopy. JX-0001 at 7:18-26.

These sensors use an emitter that can uses optical radiation at different wavelengths to measure

blood analytes like glucose, hemoglobin, or oxygen saturation. Id. at 12:13-13:58. The sensors

are connected to handheld or portable monitoring devices that can be attached to a patient’s

body. Id. at 16:31-17:19. In one embodiment, the housing is designed to receive a patient’s

finger, which can be placed on a protrusion (305) that includes openings or windows (320, 321,

322, and 323) that allow light from the emitter to reach photodetectors. Id. at 19:13-20:15.




                                                 20
                                           Stay-Add-180
             Case: 24-1285          Document: 7 Page: 232         Filed: 12/26/2023
                                       PUBLIC VERSION



Id. at Fig. 3C. One portion of the housing may include LEDs that emit optical radiation passing

through a finger before being received by the photodetectors on the other portion of the housing.

Id. at 26:30-27:41.




Id. at Fig. 7A.

        B.        Asserted claims

        Masimo asserts claim 12 of the ’501 patent, which depends from claim 1. See CIB at 53-

66. Claims 1 and 12 of the ’501 patent are recited below:

        1. A user-worn device configured to non-invasively measure a physiological
          parameter of a user, the user-worn device comprising:

        at least three light emitting diodes (LEDs);

        at least three photodiodes arranged on an interior surface of the user-worn device
          and configured to receive light attenuated by tissue of the user;




                                                 21
                                          Stay-Add-181
             Case: 24-1285         Document: 7 Page: 233              Filed: 12/26/2023
                                      PUBLIC VERSION



        a protrusion arranged over the interior surface, the protrusion comprising a
          convex surface and a plurality of openings extending through the protrusion and
          positioned over the three photodiodes, the openings each comprising an opaque
          lateral surface, the plurality of openings configured to allow light to reach the
          photodiodes, the opaque lateral surface configured to avoid light piping through
          the protrusion; and

        one or more processors configured to receive one or more signals from the
          photodiodes and calculate a measurement of the physiological parameter of the
          user.

JX-0001 at 45:2-19.

        12. The user-worn device of claim 1, wherein the convex surface of the protrusion
          is an outermost surface configured to contact the tissue of the user and conform
          the tissue into a concave shape.

Id. at 46:4-8.

        Masimo also asserts claim 22 of the ’502 patent, which depends from claims 19, 20, and

21, and claim 28, a separate independent claim. See CIB at 66-77. These claims of the ’502

patent are recited below:

        19. A user-worn device configured to non-invasively measure an oxygen
          saturation of a user, the user-worn device comprising:

        a plurality of emitters configured to emit light, each of the emitters comprising at
          least two light emitting diodes (LEDs);

        four photodiodes arranged within the user-worn device and configured to receive
          light after at least a portion of the light has been attenuated by tissue of the user;

        a protrusion comprising a convex surface including separate openings extending
          through the protrusion and lined with opaque material, each opening positioned
          over a different one associated with each of the four photodiodes, the opaque
          material configured to reduce an amount of light reaching the photodiodes
          without being attenuated by the tissue;

        optically transparent material within each of the openings; and

        one or more processors configured to receive one or more signals from at least
          one of the four photodiodes and output measurements responsive to the one or
          more signals, the measurements indicative of the oxygen saturation of the user.

        20. The user-worn device of claim 19 further comprising a thermistor.


                                                  22
                                            Stay-Add-182
            Case: 24-1285        Document: 7 Page: 234             Filed: 12/26/2023
                                    PUBLIC VERSION



       21. The user-worn device of claim 20, wherein the one or more processors are
        further configured to receive a temperature signal from the thermistor and adjust
        operation of the user-worn device responsive to the temperature signal.

       22. The user-worn device of claim 21, wherein the plurality of emitters comprise
         at least four emitters, and wherein each of the plurality of emitters comprises a
         respective set of at least three LEDs.

JX-0002 at 46:22-54.

       28. A user-worn device configured to non-invasively measure an oxygen
         saturation of a user, the user-worn device comprising:

       a first set of light emitting diodes (LEDs), the first set of LEDs comprising at least
         an LED configured to emit light at a first wavelength and an LED configured to
         emit light at a second wavelength;

       a second set of LEDs spaced apart from the first set of LEDs, the second set of
         LEDs comprising at least an LED configured to emit light at the first
         wavelength and an LED configured to emit light at the second wavelength;

       four photodiodes arranged in a quadrant configuration on an interior surface of the
         user-worn device and configured to receive light after at least a portion of the
         light has been attenuated by tissue of the user;

       a thermistor configured to provide a temperature signal;

       a protrusion arranged above the interior surface, the protrusion comprising:

       a convex surface;

       a plurality of openings in the convex surface, extending through the protrusion,
         and aligned with the four photodiodes, each opening defined by an opaque
         surface configured to reduce light piping; and

       a plurality of transmissive windows, each of the transmissive windows extending
         across a different one of the openings;

       at least one opaque wall extending between the interior surface and the protrusion,
         wherein at least the interior surface, the opaque wall and the protrusion form
         cavities, wherein the photodiodes are arranged on the interior surface within the
         cavities;

       one or more processors configured to receive one or more signals from at least
         one of the photodiodes and calculate an oxygen saturation measurement of the
         user, the one or more processors further configured to receive the temperature
         signal;



                                                23
                                          Stay-Add-183
             Case: 24-1285       Document: 7 Page: 235             Filed: 12/26/2023
                                    PUBLIC VERSION



       a network interface configured to wirelessly communicate the oxygen saturation
         measurement to at least one of a mobile phone or an electronic network;

       a user interface comprising a touch-screen display, wherein the user interface is
         configured to display indicia responsive to the oxygen saturation measurement
         of the user;

       a storage device configured to at least temporarily store at least the measurement;
         and

       a strap configured to position the user-worn device on the user.

Id. at 47:13-23.

       Masimo further asserts claim 12 of the ’648 patent, which depends from claim 8, and

claims 24 and 30, which depend from claim 20. See CIB at 77-83. These claims of the ’648

patent are recited below:

       8. A user-worn device configured to non-invasively determine measurements of a
         physiological parameter of a user, the user-worn device comprising:

       a first set of light emitting diodes (LEDs), the first set comprising at least an LED
         configured to emit light at a first wavelength and at least an LED configured to
         emit light at a second wavelength;

       a second set of LEDs spaced apart from the first set of LEDs, the second set of
         LEDs comprising an LED configured to emit light at the first wavelength and an
         LED configured to emit light at the second wavelength;

       four photodiodes;

       a protrusion comprising a convex surface, at least a portion of the protrusion
         comprising an opaque material;

       a plurality of openings provided through the protrusion and the convex surface,
         the openings aligned with the photodiodes;

       a separate optically transparent window extending across each of the openings;

       one or more processors configured to receive one or more signals from at least
         one of the photodiodes and output measurements of a physiological parameter
         of a user;

       a housing; and




                                                24
                                          Stay-Add-184
              Case: 24-1285        Document: 7 Page: 236             Filed: 12/26/2023
                                      PUBLIC VERSION



        a strap configured to position the housing proximate tissue of the user when the
          device is worn.

JX-0003 at 45:45-46:3.

        12. The user-worn device of claim 8, wherein the physiological parameter
          comprises oxygen or oxygen saturation.

Id. at 46:15-16.

        20. A user-worn device configured to non-invasively determine measurements of
          a user's tissue, the user-worn device comprising:

        a plurality of light emitting diodes (LEDs);

        at least four photodiodes configured to receive light emitted by the LEDs, the four
          photodiodes being arranged to capture light at different quadrants of tissue of a
          user;

        a protrusion comprising a convex surface and a plurality of through holes, each
          through hole including a window and arranged over a different one of the at
          least four photodiodes; and

        one or more processors configured to receive one or more signals from at least
          one of the photodiodes and determine measurements of oxygen saturation of the
          user.

Id. at 46:34-49.

        24. The user-worn device of claim 20, wherein the protrusion comprises opaque
          material configured to substantially prevent light piping.

Id. at 46:59-61.

        30. The user-worn device of claim 20, wherein the protrusion further comprises
          one or more chamfered edges.

Id. at 47:6-7.

        C.       Level of Ordinary Skill in the Art

        The parties have stipulated to a level of ordinary skill in the art for the Poeze patents:

             [A] person with a working knowledge of physiological monitoring
             technologies. The person would have had a Bachelor of Science degree in
             an academic discipline emphasizing the design of electrical, computer, or
             software technologies, in combination with training or at least one to two



                                                  25
                                           Stay-Add-185
              Case: 24-1285        Document: 7 Page: 237               Filed: 12/26/2023
                                      PUBLIC VERSION



             years of related work experience with capture and processing of data or
             information, including but not limited to physiological monitoring
             technologies. Alternatively, the person could have also had a Master of
             Science degree in a relevant academic discipline with less than a year of
             related work experience in the same discipline.

Joint Stipulation of Facts ¶ 12, EDIS Doc. ID 770692 (May 13, 2022).

        D.      Claim Construction

        The parties dispute the construction of the terms “over”/”above” and the terms

“openings”/”through holes” in the claims of the Poeze patents. See CIB at 42-53; RIB at 26-39;

CRB at 13-19; RRB at 23-34. 3

                1.      “over”/“above”

        Several of the asserted claims of the Poeze patents contain limitations describing a

protrusion that is “arranged over” or “arranged above” an interior surface. See ’501 patent claim

1 (“a protrusion arranged over the interior surface”); ’502 patent claim 28 (“a protrusion

arranged above the interior surface”). Other limitations describe openings that are “positioned

over” or “arranged over” photodiodes. See ’501 patent claim 1 (“a plurality of openings

extending through the protrusion and positioned over the three photodiodes”); ’502 patent claim

19 (“each opening positioned over a different one associated with each of the four photodiodes”);

’648 claim 20 (“each through hole including a window and arranged over a different one of the

at least four photodiodes”).




3
 The parties both argue that certain claim construction arguments were waived because they were not
previously raised, see RIB at 37-38, CRB at 19 n.4, RRB at 31 n.17, 33 n.22, but these claim construction
disputes were clearly addressed in the parties’ pre-hearing briefs and pertain to the plain and ordinary
meaning of the terms at issue. See CPBH at 39-43; RPHB at 8-15. Ground Rule 9.2 does not preclude
parties from citing additional evidence that was admitted at the hearing to support arguments that are
consistent with their pre-hearing briefs.



                                                   26
                                            Stay-Add-186
             Case: 24-1285        Document: 7 Page: 238             Filed: 12/26/2023
                                     PUBLIC VERSION



       Apple interprets the “over” and “above” limitations to require that the claimed features be

arranged vertically when the claimed device is in use. RIB at 26-34. Complainants argue that

these terms refer to “the configuration of features of the device relative to each other, not to the

position of the device relative to the Earth.” CIB at 43. Both parties purport to rely on the

ordinary meaning of these terms, without proposing any explicit construction. CIB at 42-49;

RRB at 21.

       Apple relies on the preambles of the asserted claims describing “a user-worn device

configured to non-invasively measure a physiological parameter” to argue that the orientation of

the claimed features must be considered when a device is in use. RIB at 27-28. Complainants

dispute this interpretation, arguing that “configured to” refers to the design of the product, not

the orientation of components. CIB at 45. Complainants argue that the devices described in the

specification do not have a fixed orientation and that the embodiments of the invention show

“that the protrusion is arranged over the photodiodes and their interior surface by extending

across that surface.” Id. at 43. Complainants note that the patent specification describes a

variety of measurement sites without reference to any specific orientation. CRB at 14 (citing JX-

0001 at 8:21-23, 10:15-27, 10:62-11:3, 11:45-55). Complainants cite an example in one

embodiment of a material described as “over” the glass layer when it is depicted as below the

layer in Figure 7A. Id. at 45-46 (citing JX-0001 at 27:59-62, Fig. 7A). Dr. Madisetti testified

that Complainants’ interpretation is consistent with the ordinary meaning of “over,” citing the

example of a bandage over a wound, explaining that “the Band-Aid is always over the scratch

[ir]respective of the orientation of my hand.” Tr. at 701:22-18.

       Complainants also cite extrinsic evidence in Apple patents and prior art using the terms

“over” and “above” to describe the arrangement of features similar to those claimed in the Poeze



                                                 27
                                           Stay-Add-187
             Case: 24-1285        Document: 7 Page: 239            Filed: 12/26/2023
                                     PUBLIC VERSION



patents. CIB at 46-49. See, e.g., U.S. Patent No. 10,687,718 (CX-0118) at 32:17-23 (“For

example, a back surface may comprise a first semi-circular protrusion that extends over the

portions of the back surface.”), 35:38-55 (FIG. 222A depicts . . . a protrusion 2202 disposed over

an optical opening 2204.”); U.S. Patent App. Pub. No. 2021/0093237 (CX-0103) at ¶ 0065 (“In

some embodiments, windows 1220 over the emitters may be integral with the back cover 107

and windows 120 over the detectors may be inset within the back cover 107.”); U.S. Patent App.

Pub. No. 2017/03255744 (CX-1806) at ¶ 0044 (“For example, the back surface can include one

or more cavities having a corresponding opening and a protrusion located over each of the

openings.”); U.S. Patent No. 4,224,948 (RX-0670) at 9:51-56 (“wherein said first and second

light obstructing means comprise a pair of annular rings extending above the surface of the lower

face of said case whereby said rings are in contact with the skin of the wearer”).

        Apple argues that Complainants’ interpretation of the “over” and “above” limitations

would render these terms meaningless. RRB at 23-24. Apple cites figures in the specification

that consistently describe the claimed protrusion and openings located on top of the photodiodes.

Id. at 24-26 (citing JX-0001 at 24:28-33, Figures 3C, 4C, 7B). Apple argues that the

specification’s use of the term “over” within the phrase “spread over” is irrelevant to the

meaning of the claim phrases “positioned over” and “arranged over.” RIB at 25-26. Apple

further argues that in the Apple patents and patent applications using the term “over,” the

descriptions refer to devices that are depicted in a face-down position, not when they are

configured to measure blood oxygen. Id. at 26-28. Apple argues that the “configured to”

language in the claims requires that that the features have a specific orientation when the device

is in use. Id. at 28-29.




                                                28
                                          Stay-Add-188
              Case: 24-1285          Document: 7 Page: 240               Filed: 12/26/2023
                                        PUBLIC VERSION



        In consideration of the parties’ arguments and the evidence of record, the undersigned

agrees with Complainants that the claim limitations using the terms “over” and “above” do not

require a vertical arrangement of features in the context of the Poeze patents. The terms “over”

and “above” are commonly understood words with ordinary meanings that can be understood by

a lay judge. See Phillips, 415 F.3d at 1314. The undersigned agrees with Apple that the word

“over” may be used to describe a vertical arrangement, but “over” can also be used to describe an

arrangement where one feature covers another, as recognized by Dr. Madisetti’s example of a

bandage over a wound. Tr. (Madisetti) at 701:22-18. This is a common usage of the term “over”

in the field of wearable medical equipment, e.g., a mask over one’s mouth, or in the field of

optical sensors, e.g., a filter over a lens. This is consistent with how the term “over” is used in the

asserted claims of the Poeze patents, describing “a protrusion arranged over the interior surface”

and openings “positioned over” or “arranged over” photodiodes. In the context of this claim

language, the term “over” refers to an arrangement where one feature covers another—not the

relative arrangement of these features in a vertical direction. 4 The ordinary meaning of the claim

language does not restrict the orientation of these features, and whether the claimed photodiodes




4
  The term “above” is only used in asserted claim 28 of the ’502 patent to refer to “a protrusion arranged
above the interior surface.” The undersigned agrees with Complainants that the patent specification does
not require any specific orientation of the device and that the term “above” thus refers to a position
relative to the device’s features and not to its orientation relative to the Earth. See CIB at 43-49; CRB at
15-16. This is also consistent with the usage of the term in a prior art reference relied upon for invalidity
purposes by Apple where the term “above” is used to refer to rings that extend beyond a surface,
regardless of vertical orientation. See RX-0670 (Cramer) at claim 5 (“a pair of annular rings extending
above the surface of the lower face of said case”). It is also consistent with the testimony of Apple’s
expert, Dr. Warren, that “[a] detector can’t detect light without some sort of opening above it.” Tr.
(Warren) at 1193:5-6; see also RIB at 61 (same). Apple argues that “Cramer does not disclose
restrictions on orientation” (RRB at 29) but this fact weighs against Apple’s proposed construction: if the
Cramer device can be in any orientation, the term “above” should have a meaning independent from
orientation.



                                                     29
                                              Stay-Add-189
               Case: 24-1285       Document: 7 Page: 241              Filed: 12/26/2023
                                      PUBLIC VERSION



are facing upward or downward in relation to the Earth does not affect a device’s satisfaction of

this limitation. 5

        Accordingly, the undersigned finds that the terms “over” and “above” have their plain

and ordinary meaning and do not require a vertical arrangement of features in a particular

orientation.

                 2.     “openings”/“through holes”

        Several of the asserted claims (or claims from which the asserted claims depend) contain

limitations describing “openings” that extend “through the protrusion.” See ’501 patent claim 1

(“a plurality of openings extending through the protrusion”); ’502 patent claim 19 (“separate

openings extending through the protrusion”), claim 28 (“a plurality of openings in the convex

surface, extending through the protrusion”); ’648 patent claim 8 (“a plurality of openings

provided through the protrusion and the convex surface”). Claim 20 of the ’648 patent describes

“a plurality of through holes, each through hole including a window.”

        Apple argues that the claimed “openings” or “through holes” must not contain any

material, such as glass or plastic. RIB at 34-39; RRB at 30-34; id. at 30 n.16 (“openings—like

holes—require an absence of material”). Complainants submit that the claimed “openings” or

“through holes” can contain a window of transparent material. CIB at 49-53; CRB at 17-18.

Both parties purport to rely on the ordinary meaning of these terms, without proposing any

explicit construction. CIB at 53; RRB at 30-31.

        Complainants cite evidence in the claims and specification of the Poeze patents that the

claimed “openings” and “through holes” can contain a window of transparent material. CIB at



5
  Apple’s arguments regarding the “configured to” language of the claim preambles are thus irrelevant to
the construction of this limitation.



                                                   30
                                            Stay-Add-190
             Case: 24-1285        Document: 7 Page: 242             Filed: 12/26/2023
                                     PUBLIC VERSION
                      CONFIDENTIAL INFORMATION REDACTED

49-51. Complainants submit that the purpose of these openings is to allow light to pass through,

citing claim 1 of the ’501 patent, which describes “the plurality of openings configured to allow

light to reach the photodiodes.” JX-0001 at claim 1. Complainants cite examples in the claims

and specification of the Poeze patents describing transparent windows in the relevant openings

and through holes. CIB at 49-51. Complainants further identify Apple patents that refer to

“openings” and “windows.” Id. at 52-53. In reply, Apple cites testimony of its engineers

describing                                                                     . RRB at 33-34.

Apple argues that an opening or a hole is “an absence of material, into which something can be

placed.” Id. at 32.

       In consideration of the parties’ arguments and the evidence of record, the undersigned

agrees with Complainants that the ordinary meaning of “openings” and “through holes” in the

context of the Poeze patents does not preclude transparent material placed in the claimed

“openings” or “through holes.” An “opening” or “hole” can refer to an absence of material, but

this is not necessarily a requirement. For example, a skylight would still be an “opening” in a

roof after a glass window is installed, and a swimming hole is still a “hole” when it is filled with

water. The undersigned agrees with Complainants that the ordinary meaning of the terms

“opening” and “hole” can include openings and holes that include material.

       The claims and specification of the Poeze patents use the terms “openings” and “holes” in

a way that is consistent with this ordinary meaning by referring to “openings” and “through

holes” that may contain transparent material. See, e.g., ’502 patent claim 19 (“optically

transparent material within each of the openings”), claim 28 (“a plurality of transmissive

windows, each of the transmissive windows extending across a different one of the openings”);

’648 patent claim 8 (“a separate optically transparent window extending across each of the



                                                 31
                                          Stay-Add-191
            Case: 24-1285        Document: 7 Page: 243             Filed: 12/26/2023
                                    PUBLIC VERSION



openings”), claim 20 (“each through hole including a window”). The specification explicitly

provides that “[t]he openings can be made from glass to allow attenuated light from a

measurement site, such as a finger, to pass through to one or more detectors.” JX-0001 at 8:26-

30; see also JX-0001 at 19:38-48 (describing “openings or windows,” which “allow light to pass

from the measurement site to the photodetectors”), 27:20-27 (“One or more components of

conductive glass 730b can be provided in the openings 703.”). Figure 7B depicts conductive

glass provided in the identified opening:




JX-0001 at Fig. 7B; see id. at 27:13-32. In view of these disclosures, the undersigned agrees

with the testimony of Dr. Madisetti that the claimed “openings” and “through holes” in the Poeze

patents can be made of glass or transparent material that allows light to pass through to the

detectors. See Tr. (Madisetti) at 702:8-703:10.




                                                  32
                                            Stay-Add-192
             Case: 24-1285          Document: 7 Page: 244               Filed: 12/26/2023
                                       PUBLIC VERSION



        Apple argues that a “window” is something different from an “opening” or “hole,” RIB at

37-38, but none of the statements in the specification cited by Apple suggest that an “opening”

can no longer be referred to as an “opening” when filled with glass or covered by a window. To

the contrary, the specification describes conductive glass that “can be provided in the openings.”

JX-0001 at 27:20-22. The claims of the Poeze patents repeatedly describe “windows extending

across . . . the openings.” ’502 patent claim 28; see also ’648 patent claim 8 (same); ‘648 patent,

claim 20 (“each through hole including a window”). Claim 19 of the ’502 patent describes

“optically transparent material within each of the openings.” The intrinsic evidence supports

Complainants’ interpretation of these terms to include “openings” and “through holes” that

contain transparent material allowing for the transmission of light to the photodiodes.

        Accordingly, the undersigned finds that the claimed “openings” and “through holes” can

contain transparent material.

        E.      Infringement

        Complainants allege that the Accused Products infringe claim 12 of the ’501 patent,

claims 22 and 28 of the ’502 patent, and claims 12, 24, and 30 of the ’648 patent. CIB at 53-83.

There is no dispute with respect to the structure and operation of the Accused Products, and

Apple only disputes infringement with respect to the “over”/”above” and “openings”/”through

holes” limitations addressed above in the context of claim construction. RIB at 26-39; RRB at

20-34. Based on the evidence of record, and because Apple’s proposed claim constructions have

been rejected, the undersigned finds that these limitations are met, and that the Accused Products

thus infringe each of the asserted claims, as discussed below. 6


6
 Apple’s opening brief argues, in addition, that there is no indirect infringement of claim 28 of the ‘502
patent. See RIB at 39-40. Complainants do not provide any argument regarding indirect infringement.



                                                    33
                                             Stay-Add-193
              Case: 24-1285          Document: 7 Page: 245               Filed: 12/26/2023
                                        PUBLIC VERSION



                1.       ’501 Patent Claim 12 7

                         a.      Element [1 preamble]: “A user-worn device configured to
                                 noninvasively measure a physiological parameter of a user, the
                                 user-worn device comprising:” 8

        There is no dispute that the Accused Products meet the limitations of the preamble of

claim 1, which requires “[a] user-worn device configured to non-invasively measure a

physiological parameter of a user.” See CIB at 59-60. Dr. Madisetti determined that the

Accused Products are watches configured to measure blood oxygen saturation, relying on

Apple’s marketing materials and technical documentation. Tr. (Madisetti) at 679:12-680:5; CX-

0281C (Block Dep. Tr.) at 71:21-72:5, 87:10-14, 177:10-178:7, 251:4-7; CX-1451 (Apple Watch

advertisement) at 1:49; CX-1406 (Apple Watch User Guide); CX-1726 (Apple Watch Series 7

Technical Specifications). The evidence of record shows that this limitation is met.

                         b.      Element [1A]: “at least three light emitting diodes (LEDs)”

        There is no dispute that each of the Accused Products contains a sensor module with at

least three LEDs. See CIB at 60-61. Dr. Madisetti identified four clusters of LEDs in each

Accused Product, with each cluster containing three LEDs of different wavelengths. Tr.

(Madisetti) at 680:6-22; CX-1548C (Apple Watch teardown photographs); CX-0281C (Block

Dep. Tr.) at 65:5-67:20; CX-0026C (Apple Engineering Requirement Specification) at 7-8, 30-




Apple does not explain why an indirect infringement finding is needed to find a violation as to claim 28
of the ‘502 patent, or as to any other asserted claim (which are all apparatus claims).
7
  Because claim 12 of the ‘501 patent depends from claim 1, the infringement, technical prong and
invalidity analyses address the limitations of both claims 1 and 12. See CIB at xxvi.
8
 The parties have stipulated that all preambles of all asserted claims are limiting. See Joint Stipulation of
Facts ¶ 9, EDIS Doc. ID 770692 (May 13, 2022).



                                                     34
                                              Stay-Add-194
             Case: 24-1285           Document: 7 Page: 246          Filed: 12/26/2023
                                        PUBLIC VERSION



32; CX-0059C (Apple Watch Series 7 Engineering Drawings) at 1-3. The evidence of record

shows that this limitation is met.

                       c.      Element [1B]: “at least three photodiodes arranged on an
                               interior surface of the user-worn device and configured to
                               receive light attenuated by tissue of the user”

       There is no dispute that each of the Accused Products contains at least three photodiodes

on an interior surface that are configured receive light that has passed through the user’s tissue.

See CIB at 61-62. Dr. Madisetti identified four photodiodes arranged on Apple Watch sensor

boards that are configured to receive light emitted from the LEDs after it has passed through the

user’s tissue. Tr. (Madisetti) at 680:23-681:11; CX-0281C (Block Dep. Tr.) at 70:13-16, 86:2-

87:18; CX-0026C (Apple Engineering Requirement Specification) at 7-8, 30-32; CX-0059C

(Apple Watch Series 7 Engineering Drawings) at 1-3. The evidence of record shows that this

limitation is met.

                       d.      Element [1C]: “a protrusion arranged over the interior
                               surface, the protrusion comprising a convex surface”

       Complainants identify a domed surface in the Accused Products as the claimed protrusion

with a convex surface. CIB at 54-57. Dr. Madisetti identified this domed surface arranged over

the interior surface of the Accused Products where the photodiodes are located. Tr. (Madisetti)

at 681:12-682:11.




                                                 35
                                           Stay-Add-195
             Case: 24-1285           Document: 7 Page: 247                       Filed: 12/26/2023
                                        PUBLIC VERSION
                       CONFIDENTIAL INFORMATION REDACTED

                     Protrusion (Green) Arranged Over the Interior Surface, Comprising a Convex Surface (Blue)




CDX-001 lC.016 (citing CX-1646C at 4; CX-1548C at 3; CX-0063C at 1).

       Apple argues that the identified protrusion is not "over" the interior smface when the

Accused Products are being used for blood oxygen monitoring (with the photodiodes pointed

down toward the user's wrist). RIB at 26-34; RRB at 21-29. There is no dispute regarding the

orientation of the Accused Products, but as discussed above in the context of claim constrnction,

the claim te1m "over" does not require a paiticular ve1tical anangement-the protn1sion is

"over" the interior surface because it is covering the interior surface.

       Accordingly, the 1mdersigned finds that the Accused Products meet the limitation

requiring "a protmsion ruTanged over the interior sm-face."

                       e.        Element [1D]: "a plurality of openings extending through the
                                 protrusion and positioned over the three photodiodes"

       Complainants identify openings in the Accused Products that are positioned over the four

photodiodes. CIB at 57-59. Dr. Madisetti identified evidence




                                                         36
                                                Stay-Add-196
Case: 24-1285   Document: 7 Page: 248   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-197
Case: 24-1285   Document: 7 Page: 249   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-198
Case: 24-1285   Document: 7 Page: 250   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-199
Case: 24-1285   Document: 7 Page: 251   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-200
Case: 24-1285   Document: 7 Page: 252   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-201
Case: 24-1285   Document: 7 Page: 253   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-202
Case: 24-1285   Document: 7 Page: 254   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-203
Case: 24-1285   Document: 7 Page: 255   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-204
Case: 24-1285   Document: 7 Page: 256   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-205
Case: 24-1285   Document: 7 Page: 257   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-206
Case: 24-1285   Document: 7 Page: 258   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-207
Case: 24-1285   Document: 7 Page: 259   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-208
Case: 24-1285   Document: 7 Page: 260   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-209
Case: 24-1285   Document: 7 Page: 261   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-210
Case: 24-1285   Document: 7 Page: 262   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-211
Case: 24-1285   Document: 7 Page: 263   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-212
Case: 24-1285   Document: 7 Page: 264   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-213
Case: 24-1285   Document: 7 Page: 265   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-214
Case: 24-1285   Document: 7 Page: 266   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-215
Case: 24-1285   Document: 7 Page: 267   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-216
Case: 24-1285   Document: 7 Page: 268   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-217
Case: 24-1285   Document: 7 Page: 269   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-218
Case: 24-1285   Document: 7 Page: 270   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-219
Case: 24-1285   Document: 7 Page: 271   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-220
Case: 24-1285   Document: 7 Page: 272   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-221
Case: 24-1285   Document: 7 Page: 273   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-222
Case: 24-1285   Document: 7 Page: 274   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-223
Case: 24-1285   Document: 7 Page: 275   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-224
Case: 24-1285   Document: 7 Page: 276   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-225
Case: 24-1285   Document: 7 Page: 277   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-226
Case: 24-1285   Document: 7 Page: 278   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-227
Case: 24-1285   Document: 7 Page: 279   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-228
Case: 24-1285   Document: 7 Page: 280   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-229
Case: 24-1285   Document: 7 Page: 281   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-230
Case: 24-1285   Document: 7 Page: 282   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-231
Case: 24-1285   Document: 7 Page: 283   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-232
Case: 24-1285   Document: 7 Page: 284   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-233
Case: 24-1285   Document: 7 Page: 285   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-234
Case: 24-1285   Document: 7 Page: 286   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-235
Case: 24-1285   Document: 7 Page: 287   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-236
Case: 24-1285   Document: 7 Page: 288   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-237
Case: 24-1285   Document: 7 Page: 289   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-238
Case: 24-1285   Document: 7 Page: 290   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-239
Case: 24-1285   Document: 7 Page: 291   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-240
Case: 24-1285   Document: 7 Page: 292   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-241
Case: 24-1285   Document: 7 Page: 293   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-242
Case: 24-1285   Document: 7 Page: 294   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-243
Case: 24-1285   Document: 7 Page: 295   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-244
Case: 24-1285   Document: 7 Page: 296   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-245
Case: 24-1285   Document: 7 Page: 297   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-246
Case: 24-1285   Document: 7 Page: 298   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-247
Case: 24-1285   Document: 7 Page: 299   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-248
Case: 24-1285   Document: 7 Page: 300   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-249
Case: 24-1285   Document: 7 Page: 301   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-250
Case: 24-1285   Document: 7 Page: 302   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-251
Case: 24-1285   Document: 7 Page: 303   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-252
Case: 24-1285   Document: 7 Page: 304   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-253
Case: 24-1285   Document: 7 Page: 305   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-254
Case: 24-1285   Document: 7 Page: 306   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-255
Case: 24-1285   Document: 7 Page: 307   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-256
Case: 24-1285   Document: 7 Page: 308   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-257
Case: 24-1285   Document: 7 Page: 309   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-258
Case: 24-1285   Document: 7 Page: 310   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-259
Case: 24-1285   Document: 7 Page: 311   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-260
Case: 24-1285   Document: 7 Page: 312   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-261
Case: 24-1285   Document: 7 Page: 313   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-262
Case: 24-1285   Document: 7 Page: 314   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-263
Case: 24-1285   Document: 7 Page: 315   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-264
Case: 24-1285   Document: 7 Page: 316   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-265
Case: 24-1285   Document: 7 Page: 317   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-266
Case: 24-1285   Document: 7 Page: 318   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-267
Case: 24-1285   Document: 7 Page: 319   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-268
Case: 24-1285   Document: 7 Page: 320   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-269
Case: 24-1285   Document: 7 Page: 321   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-270
Case: 24-1285   Document: 7 Page: 322   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-271
Case: 24-1285   Document: 7 Page: 323   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-272
Case: 24-1285   Document: 7 Page: 324   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-273
Case: 24-1285   Document: 7 Page: 325   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-274
Case: 24-1285   Document: 7 Page: 326   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-275
Case: 24-1285   Document: 7 Page: 327   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-276
Case: 24-1285   Document: 7 Page: 328   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-277
Case: 24-1285   Document: 7 Page: 329   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-278
Case: 24-1285   Document: 7 Page: 330   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-279
Case: 24-1285   Document: 7 Page: 331   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-280
Case: 24-1285   Document: 7 Page: 332   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-281
Case: 24-1285   Document: 7 Page: 333   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-282
Case: 24-1285   Document: 7 Page: 334   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-283
Case: 24-1285   Document: 7 Page: 335   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-284
Case: 24-1285   Document: 7 Page: 336   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-285
Case: 24-1285   Document: 7 Page: 337   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-286
Case: 24-1285   Document: 7 Page: 338   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-287
Case: 24-1285   Document: 7 Page: 339   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-288
Case: 24-1285   Document: 7 Page: 340   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-289
Case: 24-1285   Document: 7 Page: 341   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-290
Case: 24-1285   Document: 7 Page: 342   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-291
Case: 24-1285   Document: 7 Page: 343   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-292
Case: 24-1285   Document: 7 Page: 344   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-293
Case: 24-1285   Document: 7 Page: 345   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-294
Case: 24-1285   Document: 7 Page: 346   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-295
Case: 24-1285   Document: 7 Page: 347   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-296
Case: 24-1285   Document: 7 Page: 348   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-297
Case: 24-1285   Document: 7 Page: 349   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-298
Case: 24-1285   Document: 7 Page: 350   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-299
Case: 24-1285   Document: 7 Page: 351   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-300
Case: 24-1285   Document: 7 Page: 352   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-301
Case: 24-1285   Document: 7 Page: 353   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-302
Case: 24-1285   Document: 7 Page: 354   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-303
Case: 24-1285   Document: 7 Page: 355   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-304
Case: 24-1285   Document: 7 Page: 356   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-305
Case: 24-1285   Document: 7 Page: 357   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-306
Case: 24-1285   Document: 7 Page: 358   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-307
Case: 24-1285   Document: 7 Page: 359   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-308
Case: 24-1285   Document: 7 Page: 360   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-309
Case: 24-1285   Document: 7 Page: 361   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-310
Case: 24-1285   Document: 7 Page: 362   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-311
Case: 24-1285   Document: 7 Page: 363   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-312
Case: 24-1285   Document: 7 Page: 364   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-313
Case: 24-1285   Document: 7 Page: 365   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-314
Case: 24-1285   Document: 7 Page: 366   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-315
Case: 24-1285   Document: 7 Page: 367   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-316
Case: 24-1285   Document: 7 Page: 368   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-317
Case: 24-1285   Document: 7 Page: 369   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-318
Case: 24-1285   Document: 7 Page: 370   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-319
Case: 24-1285   Document: 7 Page: 371   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-320
Case: 24-1285   Document: 7 Page: 372   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-321
Case: 24-1285   Document: 7 Page: 373   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-322
Case: 24-1285   Document: 7 Page: 374   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-323
Case: 24-1285   Document: 7 Page: 375   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-324
Case: 24-1285   Document: 7 Page: 376   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-325
Case: 24-1285   Document: 7 Page: 377   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-326
Case: 24-1285   Document: 7 Page: 378   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-327
Case: 24-1285   Document: 7 Page: 379   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-328
Case: 24-1285   Document: 7 Page: 380   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-329
Case: 24-1285   Document: 7 Page: 381   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-330
Case: 24-1285   Document: 7 Page: 382   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-331
Case: 24-1285   Document: 7 Page: 383   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-332
Case: 24-1285   Document: 7 Page: 384   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-333
Case: 24-1285   Document: 7 Page: 385   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-334
Case: 24-1285   Document: 7 Page: 386   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-335
Case: 24-1285   Document: 7 Page: 387   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-336
Case: 24-1285   Document: 7 Page: 388   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-337
Case: 24-1285   Document: 7 Page: 389   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-338
Case: 24-1285   Document: 7 Page: 390   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-339
Case: 24-1285   Document: 7 Page: 391   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-340
Case: 24-1285   Document: 7 Page: 392   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-341
Case: 24-1285   Document: 7 Page: 393   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-342
Case: 24-1285   Document: 7 Page: 394   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-343
Case: 24-1285   Document: 7 Page: 395   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-344
Case: 24-1285   Document: 7 Page: 396   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-345
Case: 24-1285   Document: 7 Page: 397   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-346
Case: 24-1285   Document: 7 Page: 398   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-347
Case: 24-1285   Document: 7 Page: 399   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-348
Case: 24-1285   Document: 7 Page: 400   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-349
Case: 24-1285   Document: 7 Page: 401   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-350
Case: 24-1285   Document: 7 Page: 402   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-351
Case: 24-1285   Document: 7 Page: 403   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-352
Case: 24-1285   Document: 7 Page: 404   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-353
Case: 24-1285   Document: 7 Page: 405   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-354
Case: 24-1285   Document: 7 Page: 406   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-355
Case: 24-1285   Document: 7 Page: 407   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-356
Case: 24-1285   Document: 7 Page: 408   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-357
Case: 24-1285   Document: 7 Page: 409   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-358
Case: 24-1285   Document: 7 Page: 410   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-359
Case: 24-1285   Document: 7 Page: 411   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-360
Case: 24-1285   Document: 7 Page: 412   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-361
Case: 24-1285   Document: 7 Page: 413   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-362
Case: 24-1285   Document: 7 Page: 414   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-363
Case: 24-1285   Document: 7 Page: 415   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-364
Case: 24-1285   Document: 7 Page: 416   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-365
Case: 24-1285   Document: 7 Page: 417   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-366
Case: 24-1285   Document: 7 Page: 418   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-367
Case: 24-1285   Document: 7 Page: 419   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-368
Case: 24-1285   Document: 7 Page: 420   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-369
Case: 24-1285   Document: 7 Page: 421   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-370
Case: 24-1285   Document: 7 Page: 422   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-371
Case: 24-1285   Document: 7 Page: 423   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-372
Case: 24-1285   Document: 7 Page: 424   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-373
Case: 24-1285   Document: 7 Page: 425   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-374
Case: 24-1285   Document: 7 Page: 426   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-375
Case: 24-1285   Document: 7 Page: 427   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-376
Case: 24-1285   Document: 7 Page: 428   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-377
Case: 24-1285   Document: 7 Page: 429   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-378
Case: 24-1285   Document: 7 Page: 430   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-379
Case: 24-1285   Document: 7 Page: 431   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-380
Case: 24-1285   Document: 7 Page: 432   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-381
Case: 24-1285   Document: 7 Page: 433   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-382
Case: 24-1285   Document: 7 Page: 434   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-383
Case: 24-1285   Document: 7 Page: 435   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-384
Case: 24-1285   Document: 7 Page: 436   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-385
Case: 24-1285   Document: 7 Page: 437   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-386
Case: 24-1285   Document: 7 Page: 438   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-387
Case: 24-1285   Document: 7 Page: 439   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-388
Case: 24-1285   Document: 7 Page: 440   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-389
Case: 24-1285   Document: 7 Page: 441   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-390
Case: 24-1285   Document: 7 Page: 442   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-391
Case: 24-1285   Document: 7 Page: 443   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-392
Case: 24-1285   Document: 7 Page: 444   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-393
Case: 24-1285   Document: 7 Page: 445   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-394
Case: 24-1285   Document: 7 Page: 446   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-395
Case: 24-1285   Document: 7 Page: 447   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-396
Case: 24-1285   Document: 7 Page: 448   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-397
Case: 24-1285   Document: 7 Page: 449   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-398
Case: 24-1285   Document: 7 Page: 450   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-399
Case: 24-1285   Document: 7 Page: 451   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-400
Case: 24-1285   Document: 7 Page: 452   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-401
Case: 24-1285   Document: 7 Page: 453   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-402
Case: 24-1285   Document: 7 Page: 454   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-403
Case: 24-1285   Document: 7 Page: 455   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-404
Case: 24-1285   Document: 7 Page: 456   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-405
Case: 24-1285   Document: 7 Page: 457   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-406
Case: 24-1285   Document: 7 Page: 458   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-407
Case: 24-1285   Document: 7 Page: 459   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-408
Case: 24-1285   Document: 7 Page: 460   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-409
Case: 24-1285   Document: 7 Page: 461   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-410
Case: 24-1285   Document: 7 Page: 462   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-411
Case: 24-1285   Document: 7 Page: 463   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-412
Case: 24-1285   Document: 7 Page: 464   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-413
Case: 24-1285   Document: 7 Page: 465   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-414
Case: 24-1285   Document: 7 Page: 466   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-415
Case: 24-1285   Document: 7 Page: 467   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-416
Case: 24-1285   Document: 7 Page: 468   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-417
Case: 24-1285   Document: 7 Page: 469   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-418
Case: 24-1285   Document: 7 Page: 470   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-419
Case: 24-1285   Document: 7 Page: 471   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-420
Case: 24-1285   Document: 7 Page: 472   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-421
Case: 24-1285   Document: 7 Page: 473   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-422
Case: 24-1285   Document: 7 Page: 474   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-423
Case: 24-1285   Document: 7 Page: 475   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-424
Case: 24-1285   Document: 7 Page: 476   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-425
Case: 24-1285   Document: 7 Page: 477   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-426
Case: 24-1285   Document: 7 Page: 478   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-427
Case: 24-1285   Document: 7 Page: 479   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-428
Case: 24-1285   Document: 7 Page: 480   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-429
Case: 24-1285   Document: 7 Page: 481   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-430
Case: 24-1285   Document: 7 Page: 482   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-431
Case: 24-1285   Document: 7 Page: 483   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-432
Case: 24-1285   Document: 7 Page: 484   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-433
Case: 24-1285   Document: 7 Page: 485   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-434
Case: 24-1285   Document: 7 Page: 486   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-435
Case: 24-1285   Document: 7 Page: 487   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-436
Case: 24-1285   Document: 7 Page: 488   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-437
Case: 24-1285   Document: 7 Page: 489   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-438
Case: 24-1285   Document: 7 Page: 490   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-439
Case: 24-1285   Document: 7 Page: 491   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-440
Case: 24-1285   Document: 7 Page: 492   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-441
Case: 24-1285   Document: 7 Page: 493   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-442
Case: 24-1285   Document: 7 Page: 494   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-443
Case: 24-1285   Document: 7 Page: 495   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-444
Case: 24-1285   Document: 7 Page: 496   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-445
Case: 24-1285   Document: 7 Page: 497   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-446
Case: 24-1285   Document: 7 Page: 498   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-447
Case: 24-1285   Document: 7 Page: 499   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-448
Case: 24-1285   Document: 7 Page: 500   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-449
Case: 24-1285   Document: 7 Page: 501   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-450
Case: 24-1285   Document: 7 Page: 502   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-451
Case: 24-1285   Document: 7 Page: 503   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-452
Case: 24-1285   Document: 7 Page: 504   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-453
Case: 24-1285   Document: 7 Page: 505   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-454
Case: 24-1285   Document: 7 Page: 506   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-455
Case: 24-1285   Document: 7 Page: 507   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-456
Case: 24-1285   Document: 7 Page: 508   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-457
Case: 24-1285   Document: 7 Page: 509   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-458
Case: 24-1285   Document: 7 Page: 510   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-459
Case: 24-1285   Document: 7 Page: 511   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-460
Case: 24-1285   Document: 7 Page: 512   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-461
Case: 24-1285   Document: 7 Page: 513   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-462
Case: 24-1285   Document: 7 Page: 514   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-463
Case: 24-1285   Document: 7 Page: 515   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-464
Case: 24-1285   Document: 7 Page: 516   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-465
Case: 24-1285   Document: 7 Page: 517   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-466
Case: 24-1285   Document: 7 Page: 518   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-467
Case: 24-1285   Document: 7 Page: 519   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-468
Case: 24-1285   Document: 7 Page: 520   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-469
Case: 24-1285   Document: 7 Page: 521   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-470
Case: 24-1285   Document: 7 Page: 522   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-471
Case: 24-1285   Document: 7 Page: 523   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-472
Case: 24-1285   Document: 7 Page: 524   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-473
Case: 24-1285   Document: 7 Page: 525   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-474
Case: 24-1285   Document: 7 Page: 526   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-475
Case: 24-1285   Document: 7 Page: 527   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-476
Case: 24-1285   Document: 7 Page: 528   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-477
Case: 24-1285   Document: 7 Page: 529   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-478
Case: 24-1285   Document: 7 Page: 530   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-479
Case: 24-1285   Document: 7 Page: 531   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-480
Case: 24-1285   Document: 7 Page: 532   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-481
Case: 24-1285   Document: 7 Page: 533   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-482
Case: 24-1285   Document: 7 Page: 534   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-483
Case: 24-1285   Document: 7 Page: 535   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-484
Case: 24-1285   Document: 7 Page: 536   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-485
Case: 24-1285   Document: 7 Page: 537   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-486
Case: 24-1285   Document: 7 Page: 538   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-487
Case: 24-1285   Document: 7 Page: 539   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-488
Case: 24-1285   Document: 7 Page: 540   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-489
Case: 24-1285   Document: 7 Page: 541   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-490
Case: 24-1285   Document: 7 Page: 542   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-491
Case: 24-1285   Document: 7 Page: 543   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-492
Case: 24-1285   Document: 7 Page: 544   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-493
Case: 24-1285   Document: 7 Page: 545   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-494
Case: 24-1285   Document: 7 Page: 546   Filed: 12/26/2023
                   PUBLIC VERSION
       CONFIDENTIAL INFORMATION REDACTED




                     Stay-Add-495
Case: 24-1285   Document: 7 Page: 547   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-496
Case: 24-1285   Document: 7 Page: 548   Filed: 12/26/2023
                   PUBLIC VERSION




                     Stay-Add-497
Case: 24-1285   Document: 7   Page: 549   Filed: 12/26/2023




        EXHIBIT 6




                      Stay-Add-498
           Case: 24-1285  Document: 7 Page: 550 Filed: 12/26/2023
                   CONFIDENTIAL INFORMATION REDACTED



             UNITED STATES INTERNATIONAL TRADE COMMISSION
                             WASHINGTON, D.C.




In the Matter of Certain Light-Based
Physiological Measurement Devices and
Components Thereof                               Investigation No. 337-TA-_____




              FIRST AMENDED COMPLAINT UNDER SECTION 337 OF
                     THE TARIFF ACT OF 1930, AS AMENDED

Complainants:                              Respondent:

Masimo Corporation                         Apple Inc.
52 Discovery                               One Apple Park Way
Irvine, CA 92618                           Cupertino, CA 95014
Telephone: 949-297-7000                    Telephone: 408-996-1010

Cercacor Laboratories, Inc.
15750 Alton Pkwy
Irvine, CA 92618
Telephone: 800-610-8522


Counsel for Complainants:

Stephen C. Jensen
Joseph R. Re
Sheila N. Swaroop
KNOBBE, MARTENS, OLSON & BEAR, LLP
2040 Main Street, 14th Floor
Irvine, CA 92614
Telephone: (949) 760-0404

Jonathan E. Bachand
KNOBBE MARTENS OLSON & BEAR, LLP
1717 Pennsylvania Ave NW, Suite 900
Washington DC, 20006
Telephone: (202) 640-6400




                                  Stay-Add-499
             Case: 24-1285  Document: 7 Page: 551 Filed: 12/26/2023
                     CONFIDENTIAL INFORMATION REDACTED



       45.     Pursuant to Commission Rule 210.12(a)(9)(v), Complainants submit the attached

list of foreign patents, foreign patent applications (not already issued as a patent), and each foreign

patent application that has been denied, abandoned, or withdrawn corresponding to the ’501 Patent.

Exhibit 12. No other foreign patents or patent applications corresponding to the ’501 Patent are

known to Masimo Corporation.

                       3.      Non-Technical Description of the ’501 Patent

       46.     The ’501 Patent involves devices for the non-invasive measurement of

physiological parameters such as blood oxygen saturation and pulse rate. The devices include

multiple optical sources that emit light at different wavelengths and numerous light detectors. The

light detectors are configured to detect the optical radiation from the tissue and output a respective

signal stream responsive to this detection. This data is then processed by a processing device

which outputs a measurement of the physiological parameter. The ’501 Patent includes limitations

to novel architecture features to implement the required measurement while limiting any light

noise that could impact the accuracy of measurements. The ’501 Patent also includes limitations

to novel arrangements of light sources and photodetectors.           The ’501 Patent also contains

limitations to processors, network devices, and user interfaces, allowing the device to be easily

used by consumers.

       47.     In sum, the invention of the ’501 Patent provides a novel combination of features

allowing for the measurement of a user’s physiological parameters.

                                                                                         .

       48.     The foregoing non-technical description of the patented technology is not intended

to limit, define, or otherwise affect the scope of the claimed inventions, nor is the non-technical

description in any way intended to construe or define any word, phrase, term, or limitation recited

in any claim of the ’501 Patent.


                                                  17
                                           Stay-Add-500
             Case: 24-1285  Document: 7 Page: 552 Filed: 12/26/2023
                     CONFIDENTIAL INFORMATION REDACTED



includes limitations to novel arrangements of light sources and photodetectors. The ’502 Patent

also contains limitations to processors, network devices, and user interfaces, allowing the device

to be easily used by consumers.

       54.     In sum, the invention of the ’502 Patent provides a novel combination of features

allowing for the measurement of a user’s physiological parameters.

                                                                                     .

       55.     The foregoing non-technical description of the patented technology is not intended

to limit, define, or otherwise affect the scope of the claimed inventions, nor is the non-technical

description in any way intended to construe or define any word, phrase, term, or limitation recited

in any claim of the ’502 Patent.

       C.      U.S. Patent No. 10,945,648

                      1.      Identification of the Patent and Ownership by Masimo
                              Corporation

       56.     Masimo Corporation owns by assignment the entire right, title, and interest in the

’648 Patent, entitled “User-Worn Device for Noninvasively Measuring a Physiological Parameter

of a User,” which issued on March 16, 2021. (See Exhibit 3). The ’648 Patent issued from U.S.

Patent Application Serial No. 17/031,316, filed on September 24, 2020. The ’648 Patent is a

continuation of is a continuation of U.S. Patent Application No. 16/834,538, filed March 30, 2020,

which is a continuation of U.S. Patent Application No. 16/725,292, filed December 23, 2019,

which is a continuation of U.S. Patent Application No. 16/534,949, filed August 7, 2019, which is

a continuation of U.S. Patent Application No. 16/409,515, filed May 10, 2019, which is a

continuation of U.S. Patent Application No. 16/261,326, filed January 29, 2019, which is a

continuation of U.S. Patent Application No. 16/212,537, filed December 6, 2018, which is a

continuation of U.S. Patent Application No. 14/981,290 filed December 28, 2015, which is a



                                                21
                                          Stay-Add-501
             Case: 24-1285  Document: 7 Page: 553 Filed: 12/26/2023
                     CONFIDENTIAL INFORMATION REDACTED



                      3.      Non-Technical Description of the ’648 Patent

       60.     Like the ’501 and ’502 Patents, the ’648 Patent involves devices for the non-

invasive measurement of physiological parameters such as blood oxygen saturation and pulse rate.

The devices include multiple optical sources that emit light at different wavelengths and numerous

light detectors. The light detectors are configured to detect the optical radiation from the tissue

and output a respective signal stream responsive to this detection. This data is then processed by

a processing device which outputs a measurement of the physiological parameter. The ’648 Patent

includes limitations to novel architecture features to implement the required measurement while

limiting any light noise that could impact the accuracy of measurements. The ’648 Patent also

includes limitations to novel arrangements of light sources and photodetectors. The ’648 Patent

also contains limitations to processors, network devices, and user interfaces, allowing the device

to be easily used by consumers.

       61.     In sum, the invention of the ’648 Patent provides a novel combination of features

allowing for the measurement of a user’s physiological parameters.

                                                                                     .

       62.     The foregoing non-technical description of the patented technology is not intended

to limit, define, or otherwise affect the scope of the claimed inventions, nor is the non-technical

description in any way intended to construe or define any word, phrase, term, or limitation recited

in any claim of the ’648 Patent.

       D.      U.S. Patent No. 10,687,745

                      1.      Identification of the Patent and Ownership by Masimo
                              Corporation

       63.     Masimo Corporation owns by assignment the entire right, title, and interest in the

’745 Patent, entitled “Physiological Monitoring Devices, Systems, and Methods,” which issued on



                                                24
                                          Stay-Add-502
             Case: 24-1285  Document: 7 Page: 554 Filed: 12/26/2023
                     CONFIDENTIAL INFORMATION REDACTED



See Exhibit 12. No other foreign patents or patent applications corresponding to the ’745 Patent

are known to Masimo Corporation.

                       3.      Non-Technical Description of the ’745 Patent

       67.     The ’745 Patent involves devices for the non-invasive measurement of

physiological parameters such as blood oxygen saturation and pulse rate. The devices include

multiple optical sources that emit light at different wavelengths and numerous light detectors. The

devices also include optical transmission materials configured to change the shape of the emitted

light or diffusers to spread the light. The devices also contain light blocks to inhibit light from the

optical sources from reaching the detectors before being attenuated by the user’s skin. The light

detectors are configured to detect the optical radiation from the tissue and output a respective signal

stream responsive to this detection. This data is then processed by a processing device which

outputs a measurement of the physiological parameter. The ’745 Patent includes limitations to

novel architecture features to implement the required measurement while limiting any light noise

that could impact the accuracy of measurements. The ’745 Patent also includes limitations to

novel arrangements of light sources and photodetectors.

       68.     In sum, the invention of the ’745 Patent provides a novel combination of features

allowing for the measurement of a user’s physiological parameters.



       69.     The foregoing non-technical description of the patented technology is not intended

to limit, define, or otherwise affect the scope of the claimed inventions, nor is the non-technical

description in any way intended to construe or define any word, phrase, term, or limitation recited

in any claim of the ’745 Patent.

       E.      U.S. Patent No. 7,761,127

                       1.      Identification of the Patent and Ownership by Cercacor


                                                  26
                                           Stay-Add-503
             Case: 24-1285  Document: 7 Page: 555 Filed: 12/26/2023
                     CONFIDENTIAL INFORMATION REDACTED



       84.     Masimo has not licensed or otherwise authorized Respondent to make, use, sell,

offer to sell, or import the Accused Products.

       85.     Respondent has sought to capitalize on Masimo’s extensive research and

development efforts.

        VII. THE DOMESTIC INDUSTRY RELATED TO ASSERTED PATENTS

       86.     A domestic industry exists or is in the process of being established as defined by

19 U.S.C. §§ 1337(a)(2)–(3) relating to Masimo’s significant investment in plant and equipment;

significant employment of labor or capital; research and development activities; and substantial

investment in exploitation of the patents, including engineering with respect to Masimo’s

physiological measurement devices and monitors. With respect to the ’501 Patent, the ’502 Patent,

the ’648 Patent, and the ’745 Patent, Masimo’s activities in the United States with respect to

                                                            —constitute a domestic industry for

purposes of Section 337. To the extent it is determined that a domestic industry




                                                                      is protected by one or more

claims of each of the ’501 Patent, the ’502 Patent, the ’648 Patent, and the ’745 Patent.

       87.     With respect to the ’127 Patent, Masimo’s activities in the United States with

respect to at least its rainbow® sensor technology constitute a domestic industry for purposes of

Section 337. Masimo’s rainbow® sensors—including the, RD rainbow® Set-2, rainbow® R1,

rainbow® R25, rainbow® R20, rainbow® DCI SC 200, rainbow® DCI SC 400, rainbow® DCI SC

1000, rainbow® DCI mini SC-200, rainbow® DCI mini SC-400, rainbow® DCI mini SC-1000,


                                                 37
                                          Stay-Add-504
                Case: 24-1285  Document: 7 Page: 556 Filed: 12/26/2023
                        CONFIDENTIAL INFORMATION REDACTED



rainbow® Super DCI mini SC-200, rainbow® Super DCI mini SC-400, rainbow® Super DCI mini-

SC-1000, rainbow® DCI, rainbow® DCI-dc, RD rainbow® 8 λ SpCO Adhesive Sensor, LNCS-II™

rainbow® DCI® 8λ SpHb, LNCS-II™ rainbow® DCIP® 8λ SpHb, LNCS-II™ rainbow® DCI® 8λ

SpCO, and LNCS-II™ rainbow® DCIP® 8λ SpCO—are protected by at least one claim of the ’127

Patent.

          A.     Technical Prong

          88.    Masimo has designed and developed its domestic industry products through its

extensive research and development efforts based almost entirely in the United States. Moreover,

Masimo                                                                     in the United States and

manufactures a material amount of the components of its rainbow® sensors in the United States.

As set forth in more detail herein, Masimo’s domestic industry products incorporate the inventions

claimed in one or more claims of the Asserted Patents.

          89.    Drawings, photographs, or other visual representations of representative Masimo

domestic industry products (specifically,                        and certain rainbow® sensors) are

attached hereto as Confidential Exhibit 20 and Confidential Exhibit 21. Claim charts showing

how a representative Masimo domestic industry product practices exemplary claims of the ’501

Patent, the ’502 Patent, the ’648 Patent, the ’745 Patent, and the ’127 Patent are attached hereto as

Confidential Exhibits 15, 16, 17, 18 and 19, respectively. Additional information regarding the

domestic industry products is found in the Declaration of Bilal Muhsin, attached hereto as

Confidential Exhibit 27.

          B.     Economic Prong

          90.    The domestic industry in this case is based on significant investments Masimo has

made and/or plans to make and activities Masimo has undertaken and/or plans to undertake in the




                                                 38
                                          Stay-Add-505
           Case: 24-1285  Document: 7 Page: 557 Filed: 12/26/2023
                   CONFIDENTIAL INFORMATION REDACTED



              e) issue a permanent cease and desist order, pursuant to 19 U.S.C. § 1337(f),

                 directing Respondent to cease and desist from importing, marketing,

                 advertising, demonstrating, warehousing of inventory for distribution, sale, or

                 use of certain light-based physiological measurement devices and components

                 thereof that infringe one or more claims of U.S. Patent Nos. 10,912,501,

                 10,912,502, 10,945,648, 10,687,745, and/or 7,761,127;

              f) impose a bond upon Respondent should Respondent continue to import

                 infringing articles during the 60-day Presidential Review period pursuant to 19

                 U.S.C. § 1337(j); and

              g) grant such other and further relief as the Commission deems appropriate and

                 just under the law, based on the facts complained of herein and determined by

                 the investigation.

                                         Respectfully submitted,



Dated: July 7, 2021                      By: /s/ Jonathan E. Bachand
                                            Jonathan E. Bachand
                                            KNOBBE, MARTENS, OLSON & BEAR, LLP
                                            1717 Pennsylvania Ave NW STE 900
                                            Washington, DC 20006
                                            Telephone: 202-640-6400
                                            Facsimile: 949-760-9502

                                            Stephen C. Jensen
                                            Joseph R. Re
                                            Sheila N. Swaroop
                                            KNOBBE, MARTENS, OLSON & BEAR, LLP
                                            2040 Main Street, 14th Floor
                                            Irvine, CA 92614
                                            Telephone: (949) 760-0404
                                            Facsimile: (949) 760-9502




                                               43
                                         Stay-Add-506
                Case: 24-1285  Document: 7 Page: 558 Filed: 12/26/2023
                        CONFIDENTIAL INFORMATION REDACTED



                     VERIFICATION OF FIRST AMENDED COMPLAINT

           I, Jonathan E. Bachand, declare, in accordance with 19 C.F.R. §§ 210.4 and 210.12(a),

under penalty of perjury, that the following statements are true:

           1.     I am Counsel for Complainants Masimo Corporation and Cercacor Laboratories,

Inc. and I am duly authorized to sign the First Amended Complaint on behalf of Complainants;

           2.     I have read the foregoing First Amended Complaint;

           3.     To the best of my knowledge, information, and belief, based upon reasonable

inquiry, the foregoing First Amended Complaint is well-founded in fact and is warranted by

existing law or by a non-frivolous argument for the extension, modification, or reversal of existing

law, or the establishment of new law;

           4.     The allegations and other factual contentions have evidentiary support or are likely

to have evidentiary support after a reasonable opportunity for further investigation or discovery;

and

           5.     The foregoing First Amended Complaint is not being filed for an improper purpose,

such as to harass or cause unnecessary delay or needless increase in the cost of litigation.

           Executed this 7th day of July, 2021.



                                                        /s/ Jonathan E. Bachand
                                                        Jonathan E. Bachand
                                                        Counsel for Complainants
                                                        Masimo Corporation and Cercacor
                                                        Laboratories, Inc.




35273626




                                                   44
                                            Stay-Add-507
Case: 24-1285   Document: 7   Page: 559   Filed: 12/26/2023




        EXHIBIT 7




                      Stay-Add-508
Case: 24-1285   Document: 7   Page: 560   Filed: 12/26/2023




                      Stay-Add-509
Case: 24-1285   Document: 7   Page: 561   Filed: 12/26/2023




                      Stay-Add-510
Case: 24-1285   Document: 7   Page: 562   Filed: 12/26/2023




                      Stay-Add-511
Case: 24-1285   Document: 7   Page: 563   Filed: 12/26/2023




        EXHIBIT 8




                      Stay-Add-512
     Case: 24-1285     Document: 7     Page: 564       Filed: 12/26/2023




         UNITED STATES
INTERNATIONAL TRADE COMMISSION

  --------------------------------x

  In the Matter of                              Investigation No.


  CERTAIN LIGHT-BASED PHYSIOLOGICAL              337-TA-1276

  MEASUREMENT DEVICES AND COMPONENTS

  THEREOF

  --------------------------------x




                           OPEN/CLOSED SESSIONS




  Pages:     283 through 596

  Place:     Washington, D.C.

  Date:      June 7, 2022




            HERITAGE REPORTING CORPORATION
                            Official Reporters
                      1220 L Street, N.W., Suite 206
                        Washington, D.C. 20005
                              (202) 628-4888
                     contracts@hrccourtreporters.com



                              Stay-Add-513
     Case: 24-1285     Document: 7   Page: 565    Filed: 12/26/2023

                                                                            390


1                             O P E N     S E S S I O N

2

3                    MS. SWAROOP:    Are we on the public record now?

4                    JUDGE BHATTACHARYYA:    Yes, we are.

5                    MS. SWAROOP:    Thank you, Your Honor.

6                    Mr. Scruggs, do you have a binder with you there

7     in the room?

8                    THE WITNESS:    Yes, I have a binder.

9                    MS. SWAROOP:    We are ready to proceed.         Before we

10    begin, you're a little soft-spoken, so I would just ask that

11    you try and speak as close to the mic as you can.

12                   THE WITNESS:    Sounds good.

13                   JUDGE BHATTACHARYYA:    Welcome, Mr. Scruggs.        Do

14    you understand that you are under an obligation to tell the

15    truth here today?

16                   THE WITNESS:    Yes, I do.

17                               STEPHEN SCRUGGS,

18                     having been first duly sworn and/or affirmed

19    on his oath, was thereafter examined and testified as

20    follows:

21                   JUDGE BHATTACHARYYA:    You may proceed, counsel.

22                              DIRECT EXAMINATION

23    BY MS. SWAROOP:

24          Q.       Good morning, Mr. Scruggs.       Could you please

25    state and spell your last name for the record?




                 Heritage Reporting Corporation
                           Stay-Add-514
                         (202)  628-4888
     Case: 24-1285     Document: 7   Page: 566   Filed: 12/26/2023

                                                                      391


1            A.      My name is Stephen Scruggs, and my last name is

2     spelled S-C-R-U-G-G-S.

3            Q.      Where do you work?

4            A.      I work at Masimo Corporation.

5            Q.      How long have you worked there?

6            A.      I've worked there for almost ten years now.     My

7     ten-year anniversary will be in July.

8            Q.      What is your current position at Masimo?

9            A.      I'm the Director of Sensor Design.

10           Q.      How long have you had that position?

11           A.      I have had that position for a little over a year

12    now.

13                   MS. SWAROOP:    I am going to go on the Masimo CBI

14    record for essentially all of Mr. Scruggs' testimony, so I

15    would like to designate the record accordingly.

16                   JUDGE BHATTACHARYYA:    Moving to the Masimo

17    confidential record.

18                   (Whereupon, the hearing proceeded in confidential

19    session.)

20

21

22

23

24

25




                  Heritage Reporting Corporation
                            Stay-Add-515
                          (202)  628-4888
Case: 24-1285   Document: 7   Page: 567   Filed: 12/26/2023




                      Stay-Add-516
Case: 24-1285   Document: 7   Page: 568   Filed: 12/26/2023




                      Stay-Add-517
Case: 24-1285   Document: 7   Page: 569   Filed: 12/26/2023




                      Stay-Add-518
Case: 24-1285   Document: 7   Page: 570   Filed: 12/26/2023




                      Stay-Add-519
Case: 24-1285   Document: 7   Page: 571   Filed: 12/26/2023




                      Stay-Add-520
     Case: 24-1285    Document: 7   Page: 572   Filed: 12/26/2023

                                                                    596


1                            C E R T I F I C A T E

2     TITLE: CERTAIN LIGHT-BASED PHYSIOLOGICAL MEASUREMENT DEVICES

3     AND COMPONENTS THEREOF

4     INVESTIGATION NO.:      337-TA-1276

5     HEARING DATE:     June 7, 2022

6     LOCATION:      Washington, D.C. - Remote

7     NATURE OF HEARING:      Evidentiary Hearing

8             I hereby certify that the foregoing/attached
      transcript is a true, correct and complete record of the
9     above-referenced proceedings of the U.S. International Trade
      Commission.
10    Date:   June 7, 2022
      Signed:
11    ss//

12    Signature of the Contractor or the Authorized Contractor's
      Representative
13
              I hereby certify that I am not the court reporter
14    and that I have proofread the above-referenced transcript of
      the proceedings of the U.S. International Trade Commission
15    against the aforementioned court reporter's notes and
      recordings for accuracy in transcription in the spelling,
16    hyphenation, punctuation and speaker identification and did
      not make any changes of a substantive nature. The
17    foregoing/attached transcript is a true, correct and
      complete transcription of the proceedings.
18    Signed:

19    ss//

20
              I hereby certify that I reported the
21    above-referenced proceedings of the U.S. International Trade
      Commission and caused to be prepared from my record media
22    and notes of the proceedings a true, correct and complete
      verbatim recording of the proceedings.
23    Signed:

24    ss//

25




                Heritage Reporting Corporation
                          Stay-Add-521
                        (202)  628-4888
Case: 24-1285   Document: 7   Page: 573   Filed: 12/26/2023




        EXHIBIT 9




                      Stay-Add-522
     Case: 24-1285     Document: 7     Page: 574       Filed: 12/26/2023




         UNITED STATES
INTERNATIONAL TRADE COMMISSION

  --------------------------------x

  In the Matter of                              Investigation No.


  CERTAIN LIGHT-BASED PHYSIOLOGICAL              337-TA-1276

  MEASUREMENT DEVICES AND COMPONENTS

  THEREOF

  --------------------------------x




                                OPEN SESSIONS




  Pages:     1168 through 1450 (with excerpts)

  Place:     Washington, D.C.

  Date:      June 10, 2022




            HERITAGE REPORTING CORPORATION
                            Official Reporters
                      1220 L Street, N.W., Suite 206
                        Washington, D.C. 20005
                              (202) 628-4888
                     contracts@hrccourtreporters.com



                              Stay-Add-523
     Case: 24-1285     Document: 7    Page: 575   Filed: 12/26/2023

                                                                             1181


1                    THE WITNESS:     Good morning, Your Honor.       Good

2     morning everyone.

3                    JUDGE BHATTACHARYYA:     Do you understand that

4     you're under an obligation to tell the truth in your

5     testimony today?

6                    THE WITNESS:     Yes.

7                                    STEVE WARREN,

8                      having been first duly sworn and/or affirmed

9     on his oath, was thereafter examined and testified as

10    follows:

11                   JUDGE BHATTACHARYYA:     Thank you.      You may proceed

12    counsel.

13                              DIRECT EXAMINATION

14    BY MS. VREELAND:

15          Q.       Dr. Warren, could you begin by introducing

16    yourself to Her Honor?

17          A.       Yes.   My name is Steve Warren.       I'm a professor

18    at Kansas State University.

19          Q.       You got your K-State purple on today?

20          A.       I do, yes, I have to represent.

21          Q.       How long have you been a professor at K-State?

22          A.       I started in '99, so about 23 years.

23          Q.       And can you briefly describe your educational

24    background?

25          A.       Yes.   I have three degrees in electrical




                 Heritage Reporting Corporation
                           Stay-Add-524
                         (202)  628-4888
     Case: 24-1285     Document: 7   Page: 576   Filed: 12/26/2023

                                                                     1193


1     of 2008, what was known about the use of openings with

2     opaque surfaces over photodiodes?

3           A.       Well, I would say in 2008 and many decades prior,

4     openings are a way for light or to allow light to get to a

5     detector.       A detector can't detect light without some sort

6     of opening above it.

7           Q.       And if we were to turn to the next slide, can you

8     provide some examples before 2008 -- July of 2008 -- of

9     devices that combine these concepts that you've been talking

10    about -- multiple LEDs, four or more photodiodes, and

11    openings over those photodiodes?

12          A.       Yes.    None of these tools existed in isolation.

13    A designer would have used a collection of a grouping or

14    permutation of many of them in their work.

15                   One I really like a lot is Smart, RX-473, because

16    it incorporates the LEDs, the photodiodes, the opaque

17    material, the interior surfaces, the opaque surfaces, and

18    the openings all in one bundle, 50 years ago.

19          Q.       What are the others that you've identified on

20    this slide?       And just by name and exhibit number.

21          A.       Okay.    Haar, RX-667, and then McCarthy, RX-489,

22    Lumidigm, RX-411, and then finally Imai, RX-1220.

23          Q.       If we can turn to the next slide.

24                   In July of 2008, what was known about the use of

25    transmissive coverings or windows over photodiodes?




                 Heritage Reporting Corporation
                           Stay-Add-525
                         (202)  628-4888
     Case: 24-1285     Document: 7   Page: 577   Filed: 12/26/2023

                                                                          1194


1           A.       I noted earlier that you need an opening to allow

2     light to reach a detector.         A window is another way to allow

3     that to happen where a window is a physical piece of

4     material, or we call it a transmissive covering, where the

5     covering would allow light through, but it would also

6     physically protect the detector from dust and debris and

7     dirt, liquid, things of that nature.

8           Q.       What are your favorite examples here?

9           A.       I'll pick a few.    I really like Cramer RX-670 in

10    the upper left, because it's more than 40 years old.

11    Nippon, or what I call Jaib, RX-665, next to it.               Seiko,

12    we'll hear about in a moment, RX-666, and then also Haar,

13    RX-667.     And I might point out we also did this with Kansas

14    State, RX-648.

15          Q.       If we could turn to the last slide in this

16    series.

17                   In July of 2008, what was known about the use of

18    structures protruding into the tissue in optical sensors?

19          A.       So a person of ordinary skill would have already

20    known that you could take a structure, we'll call it a

21    protrusion or a sensor head, and push that into tissue, and

22    what that would enable is that would push residual blood out

23    of the way and increase your AC-to-DC signal ratio, meaning

24    that you would see the tissue perfusion in a better way.

25                   And there were a number of designs that did this.




                 Heritage Reporting Corporation
                           Stay-Add-526
                         (202)  628-4888
     Case: 24-1285     Document: 7   Page: 578   Filed: 12/26/2023

                                                                          1205


1           Q.       Does Lumidigm say anything about when you might

2     want to use various of these iterations of LEDs and

3     photodiodes?

4           A.       Well, Lumidigm states that any one of the given

5     sources, for example, can be sets of LEDs, and any one of

6     the given detectors can be a single detector or a plurality

7     or an array of detectors.

8                    And, generally, with regard to how they might be

9     used, there's a section in the spec called extended

10    functionality that speaks to many different application

11    areas.

12          Q.       We're going to put on the screen Figs. 8A, 8B,

13    and 8C from the Lumidigm patent.

14                   What was Lumidigm illustrating in these figures?

15          A.       These three figures illustrate portable

16    embodiments of this particular sensing approach.               Key fob on

17    the left, Figure 8A, Figure 8B would be a watch embodiment,

18    and Figure 8C would be an embodiment on the surface of a

19    phone.

20          Q.       And what does Lumidigm say about the types of

21    LEDs and photodiodes you can use in any of these

22    embodiments?

23          A.       Lumidigm states, with regard to any of these

24    portable embodiments, that any of the sensor geometries that

25    are presented in the specification can be applied.




                 Heritage Reporting Corporation
                           Stay-Add-527
                         (202)  628-4888
     Case: 24-1285     Document: 7   Page: 579   Filed: 12/26/2023

                                                                         1206


1                    And what I mean by that specifically is Figs. 1

2     through 7, for example, all show different layouts of sensor

3     heads, but additionally the specification itself describes

4     different geometrical layouts, different signal management

5     techniques, including what it calls a compound curvature

6     that would essentially relate to the shape of the sensor

7     head itself.

8           Q.       We're going to turn to the next slide, then.

9                    Were you here for Ms. Swaroop's opening

10    statement?

11          A.       I was, yes.

12          Q.       Did you hear her describe Lumidigm's functions as

13    a wish list?

14          A.       Yes, I did.

15          Q.       Have you studied the functions referenced in the

16    Lumidigm patent that these devices can perform?

17          A.       I have, yes.

18          Q.       And how would you characterize these functions?

19          A.       I would characterize these functions as known

20    applications in reflectance spectroscopy where one might

21    want to employ then a reflectance mode sensor.

22                   A fruit ripeness example is a good one.         While

23    that sounds esoteric in this context, this has been used

24    with Japanese fruit markets forever as a means to assess

25    fruit quality.




                 Heritage Reporting Corporation
                           Stay-Add-528
                         (202)  628-4888
     Case: 24-1285     Document: 7   Page: 580   Filed: 12/26/2023

                                                                            1221


1     Figures 3 and -- let's see, 5, 7A and 7B -- where Lumidigm

2     states that each of the locations for the LEDs, which,

3     again, are the red dots on these figures, each of those

4     locations can be comprised of LEDs with the same or

5     different wavelengths, but also the light sources themselves

6     can include sets of LEDs --

7           Q.       Why don't we go --

8           A.       -- at each location.

9           Q.       Let's go, then, to the next limitation.

10                   How does Lumidigm teach element 19B?

11          A.       So this is the well-known idea of four

12    photodiodes arranged on the user-worn device.              Lumidigm

13    addresses this specifically in Fig. 7A and 7B, where 7A

14    incorporates five photodiodes in a linear arrangement, and

15    Fig. 7B incorporates an 8x8 grid of 64 photodiodes.

16          Q.       Let's turn, then, to element 19C or 19D, excuse

17    me.

18                   How does Lumidigm teach this?

19          A.       The notion of an optically transparent material

20    is, again, quite well-known where the material is in each of

21    the openings.       Lumidigm states in column 8 that an optical

22    relay, which is not shown in the diagram, between the sensor

23    and sensor surface and the skin, and helped to transfer

24    light by directionally either from the light source from the

25    skin or from the skin back to the detector.




                 Heritage Reporting Corporation
                           Stay-Add-529
                         (202)  628-4888
     Case: 24-1285     Document: 7   Page: 581   Filed: 12/26/2023

                                                                     1222


1                    And I've illustrated, for example, a well-known

2     optical relay, which is a lens, in the opening of the

3     photodiode that's depicted in Fig. 2, but Lumidigm also

4     states that you can use fiber-optic faceplates for this

5     purpose, where you could use a single faceplate for multiple

6     openings or you could do an individual -- a person of skill

7     would know that you could do an individual faceplate for

8     each of the individual openings as a means to provide light

9     but still optimize the process.

10          Q.       And what about the example, the fiber bundle,

11    what would a person of skill in the art understand about

12    that?

13          A.       Right.   This is one that I mentioned in my report

14    where you could use a fiber bundle to essentially direct the

15    light from a portion of tissue straight to the detector as a

16    means to optimize the detection process.

17          Q.       And in July 2008, what materials would a person

18    of skill in the art recognize a fiber-optic faceplate or a

19    fiber bundle would be made of?

20          A.       The individual fibers would have a glass core and

21    then either a glass or a plastic cladding and then a

22    protective layer.        A fiber-optic faceplate, by the way, is

23    like a bundle of spaghetti that you hold in your hand and

24    you cut sideways so that you get all the little fibers lined

25    up with one another.




                 Heritage Reporting Corporation
                           Stay-Add-530
                         (202)  628-4888
     Case: 24-1285    Document: 7   Page: 582   Filed: 12/26/2023

                                                                    1450


1                            C E R T I F I C A T E

2     TITLE: CERTAIN LIGHT-BASED PHYSIOLOGICAL MEASUREMENT DEVICES

3     AND COMPONENTS THEREOF

4     INVESTIGATION NO.:      337-TA-1276

5     HEARING DATE:     June 10, 2022

6     LOCATION:      Washington, D.C. - Remote

7     NATURE OF HEARING:      Evidentiary Hearing

8             I hereby certify that the foregoing/attached
      transcript is a true, correct and complete record of the
9     above-referenced proceedings of the U.S. International Trade
      Commission.
10    Date:   June 10, 2022
      Signed:
11    ss//

12    Signature of the Contractor or the Authorized Contractor's
      Representative
13
              I hereby certify that I am not the court reporter
14    and that I have proofread the above-referenced transcript of
      the proceedings of the U.S. International Trade Commission
15    against the aforementioned court reporter's notes and
      recordings for accuracy in transcription in the spelling,
16    hyphenation, punctuation and speaker identification and did
      not make any changes of a substantive nature. The
17    foregoing/attached transcript is a true, correct and
      complete transcription of the proceedings.
18    Signed:

19    ss//

20
              I hereby certify that I reported the
21    above-referenced proceedings of the U.S. International Trade
      Commission and caused to be prepared from my record media
22    and notes of the proceedings a true, correct and complete
      verbatim recording of the proceedings.
23    Signed:

24    ss//

25




                Heritage Reporting Corporation
                          Stay-Add-531
                        (202)  628-4888
Case: 24-1285   Document: 7   Page: 583   Filed: 12/26/2023




       EXHIBIT 10




                      Stay-Add-532
             Case: 24-1285        Document: 7       Page: 584       Filed: 12/26/2023




              UNITED STATES INTERNATIONAL TRADE COMMISSION
                               Washington, D.C.




  In the Matter of

  CERTAIN LIGHT-BASED                                       Investigation No. 337-TA-1276
  PHYSIOLOGICAL MEASUREMENT
  DEVICES AND COMPONENTS
  THEREOF


     NOTICE OF THE COMMISSION’S FINAL DETERMINATION FINDING A
  VIOLATION OF SECTION 337; ISSUANCE OF A LIMITED EXCLUSION ORDER
  AND A CEASE AND DESIST ORDER; TERMINATION OF THE INVESTIGATION

AGENCY:        U.S. International Trade Commission.

ACTION:        Notice.

SUMMARY: Notice is hereby given that the U.S. International Trade Commission has found a
violation of section 337 in the above-captioned investigation. The Commission has determined
to issue: (1) a limited exclusion order (“LEO”) prohibiting the unlicensed entry of infringing
wearable electronic devices with light-based pulse oximetry functionality and components
thereof covered by certain claims of U.S. Patent Nos. 10,912,502 or 10,945,648 that are
manufactured by or on behalf of, or imported by or on behalf of, respondent Apple, Inc.
(“Apple”) or any of its affiliated companies, parents, subsidiaries, or other related business
entities, or its successors or assigns; and (2) a cease and desist order (“CDO”) directed against
Apple and any of its affiliated companies, parents, subsidiaries, or other related business entities,
or its successors or assigns. This investigation is terminated.

FOR FURTHER INFORMATION CONTACT: Ronald A. Traud, Esq., Office of the General
Counsel, U.S. International Trade Commission, 500 E Street S.W., Washington, D.C. 20436,
telephone (202) 205-3427. Copies of non-confidential documents filed in connection with this
investigation may be viewed on the Commission’s electronic docket (EDIS) at
https://edis.usitc.gov. For help accessing EDIS, please email EDIS3Help@usitc.gov. General
information concerning the Commission may also be obtained by accessing its Internet server at
https://www.usitc.gov. Hearing-impaired persons are advised that information on this matter can
be obtained by contacting the Commission’s TDD terminal on (202) 205-1810.

SUPPLEMENTARY INFORMATION: The Commission instituted this investigation on
August 18, 2021, based on a complaint filed on behalf of Masimo Corporation and Cercacor
Laboratories, Inc., both of Irvine, CA (collectively, “Complainants”). 86 FR 46275 (Aug. 18,
2021). The complaint, as amended, alleged violations of section 337 of the Tariff Act of 1930,
as amended, 19 U.S.C. 1337, based upon the importation into the United States, the sale for



                                           Stay-Add-533
             Case: 24-1285        Document: 7         Page: 585     Filed: 12/26/2023




importation, and the sale within the United States after importation of certain light-based
physiological measurement devices and components thereof by reason of infringement of certain
claims of U.S. Patent No. 10,912,501 (“the ’501 patent”); U.S. Patent No. 10,912,502 (“the ’502
patent”); U.S. Patent No. 10,945,648 (“the ’648 patent”); U.S. Patent No. 10,687,745 (“the ’745
patent”); and U.S. Patent No. 7,761,127 (“the ’127 patent”). Id. The amended complaint further
alleged that an industry in the United States exists and/or is in the process of being established as
required by section 337. Id. The notice of investigation named Apple of Cupertino, California
as the sole respondent. Id. at 46276. The Office of Unfair Import Investigations is not
participating in this investigation. Id.

        Complainants previously withdrew certain asserted claims pursuant to Order No. 25
(Mar. 23, 2022), unreviewed by Comm’n Notice (Apr. 12, 2022), and Order No. 33 (May 20,
2022), unreviewed by Comm’n Notice (June 10, 2022). Only claim 12 of the ’501 patent, claims
22 and 28 of the ’502 patent, claims 12, 24, and 30 of the ’648 patent, claims 9, 18, and 27 of the
’745 patent, and claim 9 of the ’127 patent remain in the investigation. Claim 18 of the ’745
patent is still at issue for purposes of the domestic industry only.

         On January 10, 2023, the presiding administrative law judge (“ALJ”) issued the final
initial determination (“Final ID”), which found that Apple violated section 337 as to claims 24
and 30 of the ’648 patent, but not as to claim 12 of the ’501 patent, claims 22 and 28 of the ’502
patent, claim 12 of the ’648 patent, claims 9 and 27 of the ’745 patent, and claim 9 of the ’127
patent. See Final ID at 335–36. On January 24, 2023, the ALJ issued a Recommended
Determination on remedy and bonding (“RD”) should a violation be found in the above-
captioned investigation. The RD recommended that, if the Commission finds a violation, it
should issue an LEO directed to certain wearable electronic devices with light-based pulse
oximetry functionality and components thereof that are imported, sold for importation, and/or
sold after importation by Apple; and a CDO directed to Apple. RD at 2, 5. The RD additionally
recommended that the Commission set a zero percent (0%) bond (i.e., no bond) during the sixty-
day period of Presidential review. Id. at 6. In its notice instituting this investigation, the
Commission did not instruct the ALJ to make findings and recommendations concerning the
public interest. See 86 FR at 46275–76.

       On January 23, 2023, Complainants and Apple each filed a petition for review. On
January 31, 2023, Complainants and Apple each filed responses to the other party’s petitions.

       On February 23, 2023, the parties filed their public interest statements pursuant to 19
CFR 210.50(a)(4). The Commission received numerous comments on the public interest from
non-parties.

       On May 15, 2023, after considering the parties’ petitions and responses thereto, the
Commission determined to review the Final ID in part. See 88 FR 32243, 32243–46 (May 19,
2023). In particular, the Commission determined to review the following findings of the Final
ID:


                                                  2




                                           Stay-Add-534
             Case: 24-1285        Document: 7         Page: 586     Filed: 12/26/2023




       (1) the domestic industry with regard to the ’501 patent, the ’502 patent, the ’648 patent,
           and the ’745 patent;

       (2) obviousness with regard to the ’501 patent, the ’502 patent, the ’648 patent, and the
           ’745 patent;

       (3) written description with regard to claim 28 of the ’502 patent and claim 12 of the ’648
           patent;

       (4) claim construction and infringement with regard to the ’745 patent; and

       (5) subject matter jurisdiction.

Id. The Commission requested briefing on certain issues under review and on remedy, the public
interest, and bonding. See id.

       On June 5, 2023, the parties filed their written submissions on the issues under review
and on remedy, public interest, and bonding, and on June 12, 2023, the parties filed their reply
submissions. The Commission also received numerous comments on the public interest from
non-parties.

        Having reviewed the record in this investigation, including the written submissions of the
parties, the Commission affirms with modifications the Final ID’s domestic industry findings
(both economic and technical prong) as to the ’501, ’502, ’648, and ’745 patents. The
Commission additionally affirms with modifications the Final ID’s conclusion that the asserted
claims of the ’501 patent are obvious, but the asserted claims of the ’502, ’648, and ’745 patents
are not obvious. The Commission has determined to reverse the Final ID’s finding that Apple
proved by clear and convincing evidence that claim 28 of the ’502 patent and claim 12 of the
’648 patent are invalid for lack of written description. Furthermore, the Commission affirms the
Final ID’s claim construction related to the recited term “first shape” and the related conclusion
that the Accused Products do not satisfy elements [1B] and [20B] of the ’745 patent. The
Commission additionally vacates the Final ID’s finding that the Commission has subject matter
jurisdiction over the investigation and instead finds that the Commission has statutory authority
over the investigation. The Commission affirms the remainder of the Final ID that is not
inconsistent with the Commission’s opinion issued concurrently herewith. As a result, the
Commission finds that Apple has violated section 337 as to claims 22 and 28 of the ’502 patent
and claims 12, 24, and 30 of the ’648 patent.

          The Commission has determined that the appropriate form of relief is an LEO prohibiting
(1) the unlicensed entry of infringing wearable electronic devices with light-based pulse
oximetry functionality and components thereof manufactured by or on behalf of Apple or any of
its affiliated companies, parents, subsidiaries, or other related business entities, or its successors
or assigns. The Commission has also determined to issue a CDO against Apple. The
Commission has determined to include an exemption to the remedial orders for service or repair

                                                  3




                                           Stay-Add-535
            Case: 24-1285        Document: 7         Page: 587     Filed: 12/26/2023




or, under warranty terms, replacement of products purchased prior to the end of the period of
Presidential review.

       The Commission has further determined that the public interest factors enumerated in
subsections (d)(l) and (f)(1) (19 U.S.C. 1337(d)(l), (f)(1)) do not preclude issuance of the above-
referenced remedial orders. Additionally, the Commission has determined to impose a bond of
zero (0%) (i.e., no bond) of entered value of the covered products during the period of
Presidential review (19 U.S.C. 1337(j)). This investigation is terminated.

       The Commission vote for this determination took place on October 26, 2023.

        The authority for the Commission’s determination is contained in section 337 of the
Tariff Act of 1930, as amended (19 U.S.C. 1337), and in Part 210 of the Commission’s Rules of
Practice and Procedure (19 CFR Part 210).

       By order of the Commission.




                                                      Lisa R. Barton
                                                      Secretary to the Commission

Issued: October 26, 2023




                                                 4




                                          Stay-Add-536
Case: 24-1285   Document: 7   Page: 588   Filed: 12/26/2023




        EXHIBIT 11




                      Stay-Add-537
     Case: 24-1285     Document: 7     Page: 589       Filed: 12/26/2023




         UNITED STATES
INTERNATIONAL TRADE COMMISSION

  --------------------------------x

  In the Matter of                              Investigation No.


  CERTAIN LIGHT-BASED PHYSIOLOGICAL              337-TA-1276

  MEASUREMENT DEVICES AND COMPONENTS

  THEREOF

  --------------------------------x




                           OPEN/CLOSED SESSIONS




  Pages:     862 through 1167

  Place:     Washington, D.C.

  Date:      June 9, 2022




            HERITAGE REPORTING CORPORATION
                            Official Reporters
                      1220 L Street, N.W., Suite 206
                        Washington, D.C. 20005
                              (202) 628-4888
                     contracts@hrccourtreporters.com



                              Stay-Add-538
     Case: 24-1285     Document: 7    Page: 590   Filed: 12/26/2023

                                                                             918


1                             O P E N      S E S S I O N

2

3                    MR. MUELLER:     Your Honor, for our next witness we

4     call Dr. Steve Waydo, and Ms. Garcia will do the

5     examination, Nina Garcia.

6                    MS. GARCIA:     Good morning, Your Honor.        Nina

7     Garcia for Respondent Apple.

8                    JUDGE BHATTACHARYYA:      Good morning, Dr. Waydo.       I

9     believe you're on mute.

10                   THE WITNESS:     Good morning.

11                   JUDGE BHATTACHARYYA:      Welcome.    Do you understand

12    that you are under an obligation to tell the truth here

13    today?

14                   THE WITNESS:     I do.

15                                   STEPHEN WAYDO,

16                     having been first duly sworn and/or affirmed

17    on his oath, was thereafter examined and testified as

18    follows:

19                   JUDGE BHATTACHARYYA:      You may proceed, counsel.

20                              DIRECT EXAMINATION

21    BY MS. GARCIA:

22          Q.       Good morning, sir.       Would you please introduce

23    yourself?       Where do you live?       Where do you work?

24          A.       My name is Stephen Waydo.        I live in Saratoga,

25    California, and I work for Apple.




                 Heritage Reporting Corporation
                           Stay-Add-539
                         (202)  628-4888
Case: 24-1285   Document: 7   Page: 591   Filed: 12/26/2023
CONFIDENTIAL INFORMATION REDACTED
                                                              923




           Heritage Reporting Corporation
                     Stay-Add-540
                   (202)  628-4888
Case: 24-1285   Document: 7   Page: 592   Filed: 12/26/2023
CONFIDENTIAL INFORMATION REDACTED
                                                              924




           Heritage Reporting Corporation
                     Stay-Add-541
                   (202)  628-4888
Case: 24-1285   Document: 7   Page: 593   Filed: 12/26/2023
CONFIDENTIAL INFORMATION REDACTED
                                                              925




           Heritage Reporting Corporation
                     Stay-Add-542
                   (202)  628-4888
Case: 24-1285   Document: 7   Page: 594   Filed: 12/26/2023
CONFIDENTIAL INFORMATION REDACTED
                                                              926




           Heritage Reporting Corporation
                     Stay-Add-543
                   (202)  628-4888
Case: 24-1285   Document: 7   Page: 595   Filed: 12/26/2023
CONFIDENTIAL INFORMATION REDACTED
                                                              933




           Heritage Reporting Corporation
                     Stay-Add-544
                   (202)  628-4888
Case: 24-1285   Document: 7   Page: 596   Filed: 12/26/2023
CONFIDENTIAL INFORMATION REDACTED
                                                              934




           Heritage Reporting Corporation
                     Stay-Add-545
                   (202)  628-4888
     Case: 24-1285     Document: 7   Page: 597   Filed: 12/26/2023

                                                                       952


1     as its next witness Brian Land.

2                    JUDGE BHATTACHARYYA:    Good morning, Mr. Land.   Do

3     you understand you're under an obligation to tell the truth

4     in your testimony today?

5                    THE WITNESS:    Yes.

6                                    BRIAN LAND,

7                      having been first duly sworn and/or affirmed

8     on his oath, was thereafter examined and testified as

9     follows:

10                   JUDGE BHATTACHARYYA:    Thank you.

11                   MR. MUELLER:    May I proceed, Your Honor?

12                   JUDGE BHATTACHARYYA:    Yes, please.

13                              DIRECT EXAMINATION

14    BY MR. MUELLER:

15          Q.       Good morning, Mr. Land.       Could you please

16    introduce yourself to Her Honor?

17          A.       Yes.   My name is Brian Land.     I live in Woodside,

18    California, and I work at Apple.

19          Q.       Sir, could you please describe your educational

20    background starting with college?

21          A.       Yes.   I have a Bachelor's of Science in Material

22    Science and Engineering from Cornell University, and I have

23    a Master of Science in Material Science and Engineering from

24    Stanford University.

25          Q.       Mr. Land, what year did you earn your Master's




                 Heritage Reporting Corporation
                           Stay-Add-546
                         (202)  628-4888
     Case: 24-1285     Document: 7   Page: 598   Filed: 12/26/2023

                                                                      954


1     world at large, they tell us something about the outside

2     world, and the world is complex, and, because it's complex,

3     it's a challenging engineering problem.

4           Q.       Now, sir, when did you leave Gyration to go to

5     work at Apple?

6           A.       It was spring of 2005.

7           Q.       And why did you make the decision to join Apple?

8           A.       Gyration was -- I really enjoyed working there,

9     but it was a small company and the products that we sold

10    were sold in modest numbers, and we did excellent

11    engineering work, we made great products, but I felt like I

12    had an opportunity to make a bigger impact at a company like

13    Apple, which is, you know, has been a premier company in the

14    electronics and computer space for many years.

15          Q.       What is your current position at Apple?

16          A.       It's -- my title is distinguished engineer.

17          Q.       Sir, what does it mean to be a distinguished

18    engineer at Apple?

19          A.       It's a title and a job level that is granted upon

20    engineers and technical people at Apple who have achieved

21    technical excellence during their time at Apple in

22    developing Apple products.

23          Q.       And, Mr. Land, in your responsibilities as a

24    distinguished engineer today, which group do you work with

25    at Apple?




                 Heritage Reporting Corporation
                           Stay-Add-547
                         (202)  628-4888
     Case: 24-1285     Document: 7   Page: 599   Filed: 12/26/2023

                                                                        955


1           A.       I lead a hardware development team called Health

2     Sensing Hardware.

3           Q.       How many engineers work under your supervision?

4           A.       It's about 55 or 56.

5           Q.       Which Apple products does the Health Sensing

6     Hardware Group that you head up contribute to, which Apple

7     product in the market today?

8           A.       It's primarily the Apple Watch, the health

9     sensors for the Apple Watch.

10          Q.       Now I want to just briefly rewind to when you

11    joined the company and the period between when you joined

12    Apple and when you began working on Apple Watch.

13                   Do you have that time period in mind?

14          A.       Yes.

15          Q.       In that time period, sir, what were some of the

16    other products that you worked on?

17          A.       I've worked on many types of Apple products.    I

18    worked on the first iPhone.         I've worked -- I developed -- I

19    was part of the team that developed the touchscreen for the

20    first iPhone.         I was part of the team that developed the

21    touchscreen for the first iPad.

22                   I've also worked on optical sensors, such as an

23    optical proximity sensor, which would be used in a phone to

24    turn the screen off when you bring it near your head so your

25    cheek doesn't push a button by mistake.




                 Heritage Reporting Corporation
                           Stay-Add-548
                         (202)  628-4888
     Case: 24-1285     Document: 7    Page: 600   Filed: 12/26/2023

                                                                      957


1     exact date.

2           Q.       And when did you personally start work on what

3     became the Series 0?

4           A.       It would have been fall of 2012.

5           Q.       What were your responsibilities with respect to

6     the Series 0?

7           A.       I was in charge of the team that was tasked with

8     developing multiple optical sensors for the Apple Watch.

9     There were three.

10                   One was the optical heart rate monitor, the

11    second was a optical, what we called wrist detection sensor,

12    which could determine when you removed the watch from your

13    wrist for purposes of data security, it would lock the watch

14    up if you removed it from your wrist, and I also worked on

15    the ambient light sensor for the Apple Watch.

16          Q.       Let's focus, if we could, on the heart rate

17    sensor.

18                   What were some of the engineering challenges that

19    you and your colleagues confronted in designing the heart

20    rate sensor for the Series 0?

21          A.       Well, first of all, making a heart rate

22    measurement at the wrist was particularly challenging

23    because the wrist doesn't have a lot of blood volume there

24    to measure optically.          But even on top of that, which was

25    already a daunting problem, we had to fit into a very small




                 Heritage Reporting Corporation
                           Stay-Add-549
                         (202)  628-4888
     Case: 24-1285     Document: 7   Page: 601   Filed: 12/26/2023

                                                                         958


1     product.       As I mentioned, I've worked on many products, and

2     the watch was the smallest of all of them.             So we did not

3     have much space to fit the sensor itself.

4                    The battery was small, so we had to make sure

5     that the heart rate worked with as low power as possible.

6     And we also had to work, because it was a mobile device, we

7     had to work in all these use cases throughout the day for

8     people, people are different size, different shapes, they

9     choose different bands, they choose different tightness of

10    bands, and we needed to make sure that the heart rate

11    monitor worked well in all the use cases that our customers

12    would expect.

13          Q.       Mr. Land, what was the engineering impact, if

14    any, of the industrial design of the Apple Watch?

15          A.       Yeah.   Industrial design is an important part of

16    the Apple product.        It defines, not only the outside shape

17    of the product, but the look and the feel, and the design

18    language, the aesthetics.

19                   So we not only had to make a product that checked

20    all the boxes of low power, fit in this tiny form factor,

21    worked well across all the use cases, but we also had to

22    make sure that it was beautiful and compatible with the look

23    and feel of what the ID studio was going for for the product

24    vision.

25          Q.       Now you succeeded in meeting these challenges.




                 Heritage Reporting Corporation
                           Stay-Add-550
                         (202)  628-4888
     Case: 24-1285     Document: 7   Page: 602   Filed: 12/26/2023

                                                                      959


1     Do I have that right?

2           A.       Yes.

3           Q.       And what were some of the components in the heart

4     rate sensor for the Series 0 watch?

5           A.       We had an LED package, which had a couple of

6     different LED wavelengths in it, and we had packaged

7     photodiodes so LEDs emitted light, the photodiodes collected

8     the light.

9                    We also had the apertures that the LEDs and

10    photodiodes were lined up to shine light through, and we

11    also had optical barriers to provide isolation internally.

12    And we built a custom electrical chipset that drove the LEDs

13    and processed signals from the photodiodes.

14          Q.       Mr. Land, what was the shape of the back crystal

15    in the Series 0 watch?

16          A.       It was dome-shaped.

17          Q.       Why was it dome-shaped?

18          A.       My understanding is the primary reason that it

19    was dome-shaped was to provide a little extra space to fit

20    the coils that were part of the wireless charging system.

21    The Apple Watch charges wirelessly through a dock that has a

22    complementary shape, and the dome-shape, when in combination

23    with the charging cradle, in addition to providing

24    additional space for the charging coils, it also provides a

25    self-centering mechanism so that, when you place it on the




                 Heritage Reporting Corporation
                           Stay-Add-551
                         (202)  628-4888
Case: 24-1285   Document: 7   Page: 603   Filed: 12/26/2023
CONFIDENTIAL INFORMATION REDACTED
                                                              962




           Heritage Reporting Corporation
                     Stay-Add-552
                   (202)  628-4888
Case: 24-1285   Document: 7   Page: 604   Filed: 12/26/2023
CONFIDENTIAL INFORMATION REDACTED
                                                              963




           Heritage Reporting Corporation
                     Stay-Add-553
                   (202)  628-4888
Case: 24-1285   Document: 7   Page: 605   Filed: 12/26/2023
CONFIDENTIAL INFORMATION REDACTED
                                                              964




           Heritage Reporting Corporation
                     Stay-Add-554
                   (202)  628-4888
Case: 24-1285   Document: 7   Page: 606   Filed: 12/26/2023
CONFIDENTIAL INFORMATION REDACTED
                                                              965




           Heritage Reporting Corporation
                     Stay-Add-555
                   (202)  628-4888
Case: 24-1285   Document: 7   Page: 607   Filed: 12/26/2023
CONFIDENTIAL INFORMATION REDACTED
                                                              966




           Heritage Reporting Corporation
                     Stay-Add-556
                   (202)  628-4888
     Case: 24-1285     Document: 7   Page: 608   Filed: 12/26/2023

                                                                       1027


1           A.       Okay.

2           Q.       Mr. Cromar, you are an attorney, correct?

3           A.       Yes, that's correct.

4           Q.       And you prosecute patents, right, sir?

5           A.       Yes.

6           Q.       You've prosecuted in the range of a hundred or so

7     patents for Masimo or Cercacor, correct?

8           A.       I don't know what the specific number is.       That

9     might be right.        Something like that, quite a few.

10          Q.       Now, sir, you're a partner at Knobbe Martens,

11    right?

12          A.       Yes, that's right.

13          Q.       That's the same firm as Mr. Re and Ms. Swaroop

14    and their colleagues, correct?

15          A.       Yes.

16          Q.       Now you, sir, were the prosecutor and helped

17    primary responsibility for the prosecution of three of the

18    patents in this investigation; is that fair?

19          A.       Yes, that's right.

20          Q.       The '501, '502, and '648, correct?

21          A.       Correct.

22          Q.       Now the original priority application for those

23    patents was filed in 2008, right?

24          A.       Are you referring to the provisionals that the

25    patents-in-suit claim priority to?




                 Heritage Reporting Corporation
                           Stay-Add-557
                         (202)  628-4888
     Case: 24-1285     Document: 7    Page: 609   Filed: 12/26/2023

                                                                         1028


1           Q.       That's correct, sir.

2           A.       I believe there were multiple provisionals, so

3     they were -- I think they were filed in 2008 in different

4     times in 2008.

5           Q.       Now the '501, '502, and '648 were filed on

6     September 24th of the year 2000, right?             I'm sorry.   2020.

7     I misspoke.       2020.     Is that right, sir?

8           A.       That's consistent with my recollection at the

9     moment.     I would have to look at the files just to confirm

10    that that date is correct, but I believe that's correct.

11          Q.       Just to make this a little easier, if we could go

12    to tab 1 in the binder that you should have in front of you.

13    This is your deposition from this case.             You were deposed,

14    right, sir?

15          A.       Yes, I was deposed.     I don't know for sure which

16    binder you're referring to.          I have a binder that says

17    Cromar direct on it and there's also a sealed envelope.

18          Q.       You can open the sealed envelope right now, sir.

19          A.       Okay.   Let me grab that.     I was told that I

20    should open this on camera; is that correct?

21          Q.       Go right ahead.

22          A.       All right.    So I think, is this the binder that

23    you're referring to?

24          Q.       Yes, tab 1, please, sir.      Page 108, lines 14-17.

25    We can put these up on the screen too.




                 Heritage Reporting Corporation
                           Stay-Add-558
                         (202)  628-4888
     Case: 24-1285     Document: 7   Page: 610   Filed: 12/26/2023

                                                                             1029


1                    Question.    Okay.   So you filed the applications

2     for the '501, '502, and '648 patents on the same day, that

3     was September 24th, 2020, correct?

4                    Answer.    I believe that's correct.

5                    Does that refresh your memory, sir?

6            A.      Sorry.    You got a little ahead of me.         I was

7     trying to open to the correct page.           So you said it's page

8     108?

9            Q.      No -- that's right -- 108, lines 14-17, please,

10    sir.

11           A.      Okay.    I'm there now.

12           Q.      And you see here, you were asked whether you

13    filed these three patents on the same day, September 24th,

14    2020, correct?

15           A.      Correct.    I believe that's the correct date, but

16    I would have to go verify that by looking at the file

17    histories.

18           Q.      Now that's 12 years after 2008, right?

19           A.      Yes.    You're asking for the difference between

20    the year 2008 and the year 2020, correct?

21           Q.      Twelve years, right?

22           A.      That would be 12 years, that's right.

23           Q.      Now you couldn't identify at your deposition any

24    reason why, for example, the application for the '501 patent

25    could not have been filed earlier than September of 2020,




                  Heritage Reporting Corporation
                            Stay-Add-559
                          (202)  628-4888
     Case: 24-1285     Document: 7    Page: 611   Filed: 12/26/2023

                                                                         1030


1     correct?

2           A.       I don't know that that's correct.         Can I refresh

3     my recollection, or do you have something that can remind

4     me?

5           Q.       Absolutely.     Let's go to page 90 in your

6     deposition, lines 2-11.

7                    Question.   Sitting here today, you cannot

8     identify any reason why the application for the '501 patent

9     could not have been filed earlier than September 2020,

10    correct?

11                   Yeah.   Again, I -- I haven't formed an opinion on

12    that, and I don't feel comfortable doing so as we sit here.

13                   Were you asked that question and did you give

14    that answer?

15          A.       Yes, that's correct.     I believe my answer to the

16    question was that I haven't formed an opinion on it, and,

17    you know, at the time I hadn't formed an opinion on it.

18          Q.       Let's pull up CX-1287.       This is a press release

19    for the release of the Apple Watch Series 6.              Let me just

20    focus you on the date.

21                   Do you see September 15th, 2020?

22          A.       Yeah, I see that on the screen.

23          Q.       That's nine days before you filed the

24    applications that led to the '501, '502, and '648 patents,

25    correct?




                 Heritage Reporting Corporation
                           Stay-Add-560
                         (202)  628-4888
     Case: 24-1285     Document: 7    Page: 612   Filed: 12/26/2023

                                                                        1141


1                    JUDGE BHATTACHARYYA:       That's fine.

2                    MR. RAWSON:     Dr. Rowe, I just sent you an email

3     with that exhibit.

4                    JUDGE BHATTACHARYYA:       Dr. Rowe, you might be on

5     mute.

6                    Welcome, Dr. Rowe.       Do you understand that you

7     are under an obligation to testify truthfully here today?

8                    THE WITNESS:     I do.

9                                    ROBERT ROWE,

10                     having been first duly sworn and/or affirmed

11    on his oath, was thereafter examined and testified as

12    follows:

13                   JUDGE BHATTACHARYYA:       Thank you.    You may

14    proceed.

15                   MS. VREELAND:    Thank you.

16                              DIRECT EXAMINATION

17    BY MS. VREELAND:

18          Q.       Dr. Rowe, if you could begin by introducing

19    yourself to Her Honor.

20          A.       Yes, Your Honor.     I'm Robert Rowe.

21          Q.       Dr. Rowe, I'd like to focus my questions today on

22    the Lumidigm patent, but before I do, could you briefly

23    describe your personal background beginning with your

24    educational history?

25          A.       Sure.   I have a undergraduate degree in




                 Heritage Reporting Corporation
                           Stay-Add-561
                         (202)  628-4888
     Case: 24-1285     Document: 7     Page: 613   Filed: 12/26/2023

                                                                       1152


1     foundation.

2                    MS. SWAROOP:      Thank you, Your Honor.

3                    MS. VREELAND:     Thank you.

4           Q.       Why don't we just speed ahead and look at the

5     embodiment that you illustrate in Fig. 8B and describe in

6     the accompanying text at 1160 to 122.

7                    What were you illustrating in Fig. 8B?

8           A.       So in 8B we're showing the electro-optic sensor

9     or one example of the electro-optic sensor on the back of a

10    wristwatch.

11          Q.       And in the accompanying text you say that any of

12    the sensor geometries previously disclosed can be used for

13    this application.

14                   What sensor geometries had you previously

15    disclosed in the patent?

16          A.       The figures we were just -- we were just looking

17    at, the Figs. 3 through 7, I believe they were.

18          Q.       Okay.    So it would have been included the

19    illustrations that we previously discussed in Figs. 3

20    through 7B?

21          A.       Mm-hmm, correct.

22          Q.       And was there any previously disclosed discussion

23    of the sensor head?

24          A.       Yes.    Yes, quite a bit, yes.

25          Q.       Okay.    Great.




                 Heritage Reporting Corporation
                           Stay-Add-562
                         (202)  628-4888
     Case: 24-1285    Document: 7   Page: 614   Filed: 12/26/2023

                                                                    1167


1                        C E R T I F I C A T E

2     TITLE: CERTAIN LIGHT-BASED PHYSIOLOGICAL MEASUREMENT DEVICES

3     AND COMPONENTS THEREOF

4     INVESTIGATION NO.:      337-TA-1276

5     HEARING DATE:     June 9, 2022

6     LOCATION:      Washington, D.C. - Remote

7     NATURE OF HEARING:      Evidentiary Hearing

8             I hereby certify that the foregoing/attached
      transcript is a true, correct and complete record of the
9     above-referenced proceedings of the U.S. International Trade
      Commission.
10    Date:   June 9, 2022
      Signed:
11    ss//

12    Signature of the Contractor or the Authorized Contractor's
      Representative
13
              I hereby certify that I am not the court reporter
14    and that I have proofread the above-referenced transcript of
      the proceedings of the U.S. International Trade Commission
15    against the aforementioned court reporter's notes and
      recordings for accuracy in transcription in the spelling,
16    hyphenation, punctuation and speaker identification and did
      not make any changes of a substantive nature. The
17    foregoing/attached transcript is a true, correct and
      complete transcription of the proceedings.
18    Signed:

19    ss//

20
              I hereby certify that I reported the
21    above-referenced proceedings of the U.S. International Trade
      Commission and caused to be prepared from my record media
22    and notes of the proceedings a true, correct and complete
      verbatim recording of the proceedings.
23    Signed:

24    ss//

25




                Heritage Reporting Corporation
                          Stay-Add-563
                        (202)  628-4888
Case: 24-1285   Document: 7   Page: 615   Filed: 12/26/2023




        EXHIBIT 12




                      Stay-Add-564
     Case: 24-1285     Document: 7     Page: 616       Filed: 12/26/2023




         UNITED STATES
INTERNATIONAL TRADE COMMISSION

  --------------------------------x

  In the Matter of                              Investigation No.


  CERTAIN LIGHT-BASED PHYSIOLOGICAL              337-TA-1276

  MEASUREMENT DEVICES AND COMPONENTS

  THEREOF

  --------------------------------x




                                OPEN SESSIONS




  Pages:     1 through 282 (with excerpts)

  Place:     Washington, D.C.

  Date:      June 6, 2022




            HERITAGE REPORTING CORPORATION
                            Official Reporters
                      1220 L Street, N.W., Suite 206
                        Washington, D.C. 20005
                              (202) 628-4888
                     contracts@hrccourtreporters.com



                              Stay-Add-565
     Case: 24-1285     Document: 7    Page: 617   Filed: 12/26/2023

                                                                             79


1     than argue about their admissibility in advance.

2                    JUDGE BHATTACHARYYA:     That's fine, if that's the

3     procedure -- that's fine.

4                    MR. RE:   Yes.    There are four objected to

5     exhibits that I do want to introduce despite the objection,

6     and I'm ready to respond if argument is required.

7                    JUDGE BHATTACHARYYA:     Okay.

8                    MR. RE:   Thank you.

9                    JUDGE BHATTACHARYYA:     Welcome, Mr. Kiani.     Do you

10    understand that you're under an obligation to tell the truth

11    here today?

12                   THE WITNESS:     Yes, Your Honor.

13                                   JOSEPH KIANI,

14                     having been first duly sworn and/or affirmed

15    on his oath, was thereafter examined and testified as

16    follows:

17                              DIRECT EXAMINATION

18    BY MR. RE:

19          Q.       Good morning, Mr. Kiani.        For the record, could

20    you please give your full name and spell your name?

21          A.       Yes.   My name is Massi Joseph E. Kiani,

22    M-A-S-S-I, Joseph, E, and K-I-A-N-I.

23          Q.       What are your current positions?

24          A.       I am chairman and CEO of Masimo and Cercacor.

25          Q.       For how long have you been the CEO of Masimo?




                 Heritage Reporting Corporation
                           Stay-Add-566
                         (202)  628-4888
     Case: 24-1285     Document: 7    Page: 618    Filed: 12/26/2023

                                                                              153


1     when they did it.

2           Q.       Well, let me take you to your deposition.          This

3     is RX-1204.       Let me take you to your deposition transcript

4     at page 175, lines 14-17.

5                    MR. RE:    Objection.    One moment.      Mr. Kiani, do

6     you have a copy of your deposition with you?               It should be

7     in one of your notebooks.

8                    THE WITNESS:     Well, yeah.     Which tab am I looking

9     at?

10          Q.       Tab 1 in your Cross-Examination Binder.           Take

11    your time.       Let me know when you're on page 175.

12          A.       Yes.

13          Q.       Are you there, sir?

14          A.       I am.

15          Q.       Line 14.

16                   Question.    And is there any reason that you know

17    of that these three patents could not have been filed

18    earlier than September 24th, 2020?

19                   Answer.    No.

20                   Were you asked that question and did you give

21    that answer, sir?

22          A.       Yes, that is correct.        That is my understanding

23    at the time.          I did not know.

24          Q.       All right.    Thank you, sir.      You can put your

25    deposition transcript aside for the moment.




                 Heritage Reporting Corporation
                           Stay-Add-567
                         (202)  628-4888
     Case: 24-1285    Document: 7   Page: 619   Filed: 12/26/2023

                                                                    282


1                            C E R T I F I C A T E

2     TITLE: CERTAIN LIGHT-BASED PHYSIOLOGICAL MEASUREMENT DEVICES

3     AND COMPONENTS THEREOF

4     INVESTIGATION NO.:      337-TA-1276

5     HEARING DATE:     June 6, 2022

6     LOCATION:      Washington, D.C. - Remote

7     NATURE OF HEARING:      Evidentiary Hearing

8             I hereby certify that the foregoing/attached
      transcript is a true, correct and complete record of the
9     above-referenced proceedings of the U.S. International Trade
      Commission.
10    Date:   June 6, 2022
      Signed:
11    ss//

12    Signature of the Contractor or the Authorized Contractor's
      Representative
13
              I hereby certify that I am not the court reporter
14    and that I have proofread the above-referenced transcript of
      the proceedings of the U.S. International Trade Commission
15    against the aforementioned court reporter's notes and
      recordings for accuracy in transcription in the spelling,
16    hyphenation, punctuation and speaker identification and did
      not make any changes of a substantive nature. The
17    foregoing/attached transcript is a true, correct and
      complete transcription of the proceedings.
18    Signed:

19    ss//

20
              I hereby certify that I reported the
21    above-referenced proceedings of the U.S. International Trade
      Commission and caused to be prepared from my record media
22    and notes of the proceedings a true, correct and complete
      verbatim recording of the proceedings.
23    Signed:

24    ss//

25




                Heritage Reporting Corporation
                          Stay-Add-568
                        (202)  628-4888
Case: 24-1285   Document: 7   Page: 620   Filed: 12/26/2023




        EXHIBIT 13




                      Stay-Add-569
      Case: 24-1285       PUBLIC
                      Document: 7 VERSION
                                    Page: 621   Filed: 12/26/2023




       UNITED STATES INTERNATIONAL TRADE COMMISSION
                       WASHINGTON, D.C.



In the Matter of
CERTAIN LIGHT-BASED PHYSIOLOGICAL
                                                Inv. No. 337-TA-1276
MEASUREMENT DEVICES AND
COMPONENTS THEREOF


       RESPONDENT APPLE INC.’S PETITION FOR REVIEW OF
    THE INITIAL DETERMINATION OF VIOLATION OF SECTION 337




                            Stay-Add-570
             Case: 24-1285            PUBLIC
                                  Document: 7 VERSION
                                                Page: 622           Filed: 12/26/2023




and intent elements of inducement. ID 198.         Specifically, the ID found that the Complaint

“contained allegations of infringement (including a claim chart for claim 27) similar to the

evidence presented at the hearing.” Id. But to support this finding, the ID cites only Complaint

Exhibit 18, filed on June 30, 2021, and no other evidence. Id. This lone citation does not satisfy

the “preponderance of evidence” standard, particularly where Complainants identified no

testimony from any witness (including their own expert Dr. Madisetti) that Apple had the requisite

knowledge to support a finding of inducted infringement. See RIB at 173; RRB at 88. Citation to

Certain Beverage Brewing Capsules, Inv. No. 337-TA-929, Comm’n Op. at 19-21 (Apr. 5, 2016),

is also inapt because Complainants failed to show by a preponderance of evidence that the

“infringement allegations set forth in [their Complaint] claim charts are substantially similar to []

ultimate infringement findings” (id.), nor can they because Dr. Madisetti heavily relies on his post-

complaint testing results to attempt to prove infringement.

               4.      The Economic Prong Is Not Satisfied.

       Because it relies on overlapping groups of devices, the ID’s finding that the economic

prong was satisfied for the ’745 patent is clear error for the same reasons as the Poeze patents. See

Section IV.E, supra.

               5.      The ’745 Patent Is Unenforceable.

       For the reasons discussed in Apple’s initial post-hearing brief (RIB at 204-205) and

consistent with Federal Circuit precedent, as recently confirmed in Personalized Media

Communications v. Apple, Inc., Case No. 21-2275, Dkt. 49 (Fed. Cir. Jan. 20, 2023), the ID erred

in its finding that Apple had not shown the asserted Poeze patents unenforceable under the doctrine

of prosecution laches and/or unclean hands. Complainants’ five-year delay and strategy of waiting

until Apple further developed its technology and fostered the market for wearable technology was



                                               - 78 -
                                          Stay-Add-571
             Case: 24-1285            PUBLIC
                                  Document: 7 VERSION
                                                Page: 623           Filed: 12/26/2023
                       CONFIDENTIAL INFORMATION REDACTED



both unreasonable and prejudicial to Apple who invested heavily in developing that technology

and growing the market while Masimo inexcusably delayed its prosecution.

        B.     U.S. PATENT NO. 7,761,127

        The ID rightly found no violation of U.S. Patent No. 7,76,127 (“’127 patent”) based on its

correct claim constructions and finding that the Accused Apple Watches do not infringe over those

constructions. But if the Commission grants review of to this patent, it should correct errors in the

ID’s technical prong, invalidity and economic prong analyses.

               1.      The Early Rainbow Sensor Do No Satisfy The Technical Prong.

        Complainants alleged that two product groups—(1) the “early rainbow® sensors” that

                                      and (2) the “current rainbow® sensors [that] use a

         —practice claim 9 of the ’127 patent for purposes of the domestic industry, technical

prong requirement. ID 273-275; CIB 36, 266-274. The ID correctly determined that Complainants

failed to show that the Current Rainbow Sensors meet Element 7[A], which requires a “thermal

mass” that stabilizes a bulk temperature, and Element 7[F], which requires that the temperature

sensor be “capable of determining a bulk temperature for the thermal mass” that is a representative

temperature for the thermal mass. ID 256, 259, 275-277, 279-281. However, the ID clearly erred

in finding that the Early Rainbow Sensors meet the “thermal mass” and “bulk temperature for the

thermal mass” limitations (ID 281, 279-281).

                       a.      Early Rainbow Sensors Do Not Meet “Thermal Mass”
                               Limitation.

        The ID clearly erred in finding that the Early Rainbow Sensors satisfy the “thermal mass”

limitation. First, the ID erred in assuming that Mr. Diab’s testimony regarding his simulations

using           software on a prototype “model of [a] sensor” (Tr. [Diab] 200:14-16; 201:2-202:2)

applied to actual Early Rainbow Sensors. ID 276. Mr. Diab never testified that his simulations


                                               - 79 -
                                          Stay-Add-572
             Case: 24-1285            PUBLIC
                                  Document: 7 VERSION
                                                Page: 624          Filed: 12/26/2023




in a user-worn device. RRB 75-76. The ID, again, erroneously imposed a higher scrutiny in its

obviousness analysis compared to its analysis here. Here, the ID found the scant references to a

touch screen in the Poeze specification sufficiently enables a touch screen on a user-worn device

but failed to find the same when examining the prior-art—which is arguably more detailed with

respect to touch screens. ID 133-36. The ID was also inconsistent in its treatment of the underlying

testimony. While the ID credited Dr. Madisetti’s enablement explanation—where he simply

recited a list of specification citations and concluded they are enabling—the ID described Dr.

Warren’s testimony on the subject as “conclusory,” despite providing more explanation than Dr.

Madisetti.   See Tr. [Warren] 1226:22-1227:7, 1240:4-1242:9, 1241:1-17; RDX-8.83-84; Tr.

[Madisetti] 1352:5-24; 1381:7-1382:8 (testimony cited by the ID concerning touch screens).

       The ID clearly erred in finding enablement for avoiding and reducing “light piping”

(’501 claim 12, ’502 claim 28, ’648 claim 24) and sufficient written description support for

substantially preventing light piping (’648 claim 24). ID 169. The Poeze specification provides

no guidance on how to avoid, reduce, or manage the problem of “light piping” aside from general

reference to opaque materials. Tr. [Warren] 1247:24-1248:4. The specification fails to explain

when “light piping” has been “substantially” prevented, how a POSITA accomplishes or determine

this, and how the sensors were constructed to accomplish this limitation.

               2.      The Poeze patents Are Unenforceable.

       For the reasons discussed in Apple’s initial post-hearing brief (RIB at 153-159) and

consistent with Federal Circuit precedent regarding, as recently confirmed in Personalized Media

Communications (No. 21-2275, Fed. Cir. Jan. 20, 2023), the ID erred in its finding that Apple had

not shown the asserted Poeze patents unenforceable under the doctrine of prosecution laches and/or




                                               - 99 -
                                          Stay-Add-573
              Case: 24-1285          PUBLIC
                                 Document: 7 VERSION
                                               Page: 625        Filed: 12/26/2023




unclean hands. Complainants’ twelve-year delay in filing the applications for the asserted Poeze

patents was both unreasonable and prejudicial to Apple.

VI.     CONCLUSION

        For the foregoing reasons, Apple respectfully requests the Commission review and reverse

the ALJ’s erroneous conclusions concerning validity, infringement, technical DI, and economic

DI for ’648 patent. Should the Commission take review of issues relating to the other patents—

though it need not do so—Apple further requests that the Commission review the additional issues

set forth in this Petition.




                                             - 100 -
                                         Stay-Add-574
           Case: 24-1285       PUBLIC
                           Document: 7 VERSION
                                         Page: 626        Filed: 12/26/2023




Dated: January 23, 2023                       Respectfully Submitted,

                                              /s/ Sarah R. Frazier
                                              Mark D. Selwyn
                                              WILMER CUTLER PICKERING
                                                HALE AND DORR LLP
                                              2600 El Camino Real
                                              Suite 400
                                              Palo Alto, CA 94306
                                              Telephone: (650) 858-6031

                                              Joseph J. Mueller
                                              Richard Goldenberg
                                              Sarah R. Frazier
                                              WILMER CUTLER PICKERING
                                                HALE AND DORR LLP
                                              60 State Street
                                              Boston, MA 02109
                                              Telephone: (617) 526-6000

                                              Michael D. Esch
                                              David Cavanaugh
                                              WILMER CUTLER PICKERING
                                                HALE AND DORR LLP
                                              1875 Pennsylvania Ave., NW
                                              Washington, DC 20006
                                              Telephone: (202) 663-6000

                                              Counsel for Respondent Apple Inc.




                                    - 101 -
                                 Stay-Add-575
Case: 24-1285   Document: 7   Page: 627   Filed: 12/26/2023




        EXHIBIT 14




                      Stay-Add-576
Case: 24-1285   Document: 7   Page: 628   Filed: 12/26/2023

         CONFIDENTIAL INFORMATION REDACTED




                      Stay-Add-577
Case: 24-1285   Document: 7   Page: 629   Filed: 12/26/2023

         CONFIDENTIAL INFORMATION REDACTED




                      Stay-Add-578
Case: 24-1285   Document: 7   Page: 630   Filed: 12/26/2023

         CONFIDENTIAL INFORMATION REDACTED




                      Stay-Add-579
Case: 24-1285   Document: 7   Page: 631   Filed: 12/26/2023

         CONFIDENTIAL INFORMATION REDACTED




                      Stay-Add-580
Case: 24-1285   Document: 7   Page: 632   Filed: 12/26/2023

         CONFIDENTIAL INFORMATION REDACTED




                      Stay-Add-581
Case: 24-1285   Document: 7   Page: 633   Filed: 12/26/2023




        EXHIBIT 15




                      Stay-Add-582
        Case: 24-1285   Document: 7   Page: 634   Filed: 12/26/2023



         UNITED STATES INTERNATIONAL TRADE COMMISSION
                         WASHINGTON, D.C.




In the Matter of
CERTAIN LIGHT-BASED PHYSIOLOGICAL
MEASUREMENT DEVICES AND                      Inv. No. 337-TA-1276
COMPONENTS THEREOF


 RESPONDENT APPLE INC.’S RESPONSE TO THE COMMISSION’S NOTICE TO
  REVIEW IN PART A FINAL INITIAL DETERMINATION AND REQUEST FOR
                       WRITTEN SUBMISSIONS




                              Stay-Add-583
              Case: 24-1285          Document: 7            Page: 635     Filed: 12/26/2023




                             
                                              
                %K@3?7;E*G?4G>7E3;%  !3?AH7D K73DEA8397A8EAG@6?;@63@6

?3=7F:;E675>3D3F;A@HA>G@F3D;>K3@643E76GBA@?KAI@B7DEA@3>=@AI>7697 

                ! D757;H76 ?K %   8DA? F:7 %76;53> A>>797 A8 -;D9;@;3 -, *5:AA> A8

%76;5;@7;@       !5A?B>7F763D7E;67@5K;@!@F7D@3>%76;5;@73FF:7*F3@8AD6,@;H7DE;FK*5:AA>

A8%76;5;@7 GD;@9?KD7E;67@5K!I3E3)7E73D5:7>>AI;@(G4>;5(A>;5K3FF:7#3;E7D3?;>K

AG@63F;A@ 

               *;@57      !:3H7477@A@835G>FK3FF:7*F3@8AD6,@;H7DE;FK*5:AA>A8%76;5;@7

3E35>;@;53>3EEA5;3F7BDA87EEAD GD;@9?K8G>>F;?7F7@GD73F*F3@8AD6!E7DH763EF:7-;57:3;D

A8*FD3F79K3@6!@@AH3F;A@;@F:77B3DF?7@FA8%76;5;@7F:7J75GF;H7;D75FADA8F:7*F3@8AD6

7@F7D8AD;9;F3> 73>F:3@6EEA5;3F7:;78%76;53>'88;57D3F*F3@8AD6 73>F:53D7 

               ! 3? F:7 -;57 (D7E;67@F A8 73>F: 3F BB>7   !@ F:3F DA>7 ! IAD= 7H7DK 63K FA

7?BAI7DGE7DEI;F:FAA>EFA;?BDAH7F:7;D:73>F: !AH7DE77:73>F:;@;F;3F;H7EF:3F;@5>G675>;@;53>

BDA6G5F 67H7>AB?7@F ?76;53> D7E73D5: 3@6 ;@@AH3F;H7 5>;@;53> B3DF@7DE:;BE   ! 3>EA >736 F:7

D79G>3FADK 3@6 CG3>;FK F73?E 3F BB>7   5DAEE 3>> F:7E7 788ADFE I7 >7H7D397 F:7 >3F7EF :73>F:

E5;7@57FA5D73F7;@@AH3F;H7F75:@A>A9K .767H7>AB@7IBDA6G5FE3@6E7DH;57EF:3F9;H7B7AB>7

7H7DKI:7D7 35F;A@34>7 B3F:E FA :73>F:;7D >;H7E   @6 I7 4D;@9 FA97F:7D F73?E A8 7JB7DFE N

;@5>G6;@967E;9@7DE7@9;@77DEE5;7@F;EFE5>;@;5;3@E3@6?AD7NI:A>7@6F:7;DG@;CG7;@E;9:FE

A@:AII753@:3H7F:79D73F7EFBAE;F;H7;?B35FA@F:7IAD>6 

               'GD IAD= FA63K 4G;>6E A@ 3 >A@9EF3@6;@9 5A??;F?7@F FA F:7 :73>F: EB357   AD

@73D>K 3 675367 BB>7 :3E 67HAF76 E;9@;8;53@F F3>7@F D7EAGD57E 3@6 7JB7DF;E7 FA 67E;9@;@9

67H7>AB;@93@6BDA6G5;@9BDA6G5FE3@6E7DH;57E3;?763F9;H;@9GE7DE?AD7;@8AD?3F;A@34AGF

F:7;DAI@:73>F: .7877>53>>76FAF:;EIAD=8;DEF3@68AD7?AEF4753GE7A@7A8BB>7RE5AD7




                                                        
                                               Stay-Add-584
              Case: 24-1285         Document: 7           Page: 636     Filed: 12/26/2023




I73D7DEA8BB>7.3F5:BB>7H3>;63F76F:7B7D8AD?3@57A8BB>7.3F5:35DAEE3I;67D3@97

A8E=;@FA@7E !@'5FA47D       BB>7D7>73E763I:;F7B3B7D5A@8;D?;@9F:3FF:7D7;E@AOE=;@

FA@767B7@67@57P;@=7K?7FD;5EA8355GD35K 

                         ) ' ")  )*'( $"*!$ $  

              7KA@6 F:7 >AA6 'JK97@ 873FGD7 F:7 ?AEF D757@F H7DE;A@E A8 BB>7 .3F5:N

BB>7.3F5:*7D;7E3@6BB>7.3F5:,>FD3N;@5>G673?G>F;FG67A8AF:7DI7>>@7EE3@6:73>F:

873FGD7EEG5:3E:73DFD3F7FD35=;@983>>67F75F;A@35F;H;FK3@6IAD=AGFFD35=;@9E>77BFD35=;@9

?76;53F;A@@AF;8;53F;A@E:3@6I3E:;@9D7?;@67DE3@63O%76;53>!P873FGD7F:3F 3>>AIE8;DEF

D7EBA@67DE3@67?7D97@5KDAA?EF388FA3557EE5D;F;53>?76;53>;@8AD?3F;A@EG5:3E@3?73@6

7?7D97@5K5A@F35F;@8AD?3F;A@8DA?3B3F;7@FREBB>7.3F5:I;F:AGF5A?BDA?;E;@9F:7GE7DRE

BD;H35K '@7@7I873FGD7;@FDA6G576;@          ;EF:734;>;FKFA67F75FID;EFF7?B7D3FGD7FD35=;@9

@;9:F>K 5:3@97E ;@ ID;EF F7?B7D3FGD7 53@ BDAH;67 ;@E;9:F ;@FA 3 GE7DRE I7>>47;@9 3E ID;EF

F7?B7D3FGD7 53@ H3DK 6G7 FA B:KE;A>A9;53> 835FADE EG5: 3E ?7@EFDG3> 5K5>7E 3@6 ;>>@7EE   .D;EF

F7?B7D3FGD7?73EGD7?7@FE53@3>EA47GE768ADD7FDAEB75F;H7AHG>3F;A@7EF;?3F7EI:;5:53@47

H7DK;?BADF3@F8AD?3@KGE7DE 

              GDF:7D?AD7F:7?AEFD757@FH7DE;A@EA8BB>7.3F5:;@5>G67FIAE7B3D3F7

3GF:AD;L76EA8FI3D73E3?76;53>67H;57*3%873FGD7E F:7((43E76!)&873FGD73@6

 F:7  3BB   AF: F:AE7 873FGD7E :3H7 477@ 3H3;>34>7 A@ BB>7 .3F5: E;@57 F:7K I7D7

;@FDA6G576A@BB>7.3F5:*7D;7E;@           ?A@9F:7BB>7.3F5:?A67>E5GDD7@F>KEA>64K

BB>7F:73BB;E3H3;>34>7A@>KA@F:7BB>7.3F5:*7D;7E3@6,>FD3?A67>ENF:7E3?7

?A67>EF:3F3>EA873FGD7F:7>AA6'JK97@3BB !)&873FGD73@63BB3D7735:EF3@63>A@7

                            

 BB>7!@5 #&&./ %''&%''#*!'5F   ,"##*
:FFBE III 3BB>7 5A? :73>F:53D7 6A5E E;F7 >AA62'JK97@23BB2A@2BB>72.3F5:2'5FA47D2
   B68 


                                                     
                                             Stay-Add-585
              Case: 24-1285        Document: 7           Page: 637     Filed: 12/26/2023




*3%E   E 7JB>3;@76 47>AI !)& 873FGD7 3@6  3BB 735: E7B3D3F7>K G@67DI7@F 7JF7@E;H7

5>;@;53>H3>;63F;A@EFG6;7E6GD;@967H7>AB?7@FFAF7EF8ADE387FK3@678875F;H7@7EE !)&873FGD73@6

3BB735:I7D79D3@F76?3D=7F;@93GF:AD;L3F;A@E7B3D3F7>K4K3E*3%EF:DAG9:F:767

@AHA3GF:AD;L3F;A@BDA57EE;@       

              3BB;E3*3%67H7>AB76;@F7D@3>>K4KBB>77@9;@77DE3@65>;@;5;3@EF:3F

3>>AIE3GE7DFAD75AD63F:;DFKE75A@6E;@9>7>736A@F:7;D.3F5: +:;E;E3F7EFF:3F?3@K

B7AB>7@7H7DD757;H7;@F:7;D>;87F;?7E7H7@F:AG9:;FED7EG>FE53@475>;@;53>>K?73@;@98G>3@6;@

EA?7 53E7E BAF7@F;3>>K >;87E3H;@9   BB>7 :3E ?367 E ?G5: ?AD7 I;67>K 3H3;>34>7 4K

>7H7D39;@9 3@ 7>75FD;53> :73DF E7@EAD A@ BB>7 .3F5: I:;5: 53@ ?73EGD7 F:7 E?3>> 5:3@97 ;@

7>75FD;53>BAF7@F;3>53GE764KF:767BA>3D;L3F;A@A8F:7:73DF?GE5>7E3EF:AE7?GE5>7E5A@FD35F 

+A?73EGD7F:;E5:3@97;@7>75FD;53>BAF7@F;3>3GE7D?3=7E5A@F35FI;F:FIA7>75FDA67EI:;5:

F:7@ ?73EGD7 F:7 7>75FD;53> BAF7@F;3> 47FI77@ F:AE7 7>75FDA67E   '@ BB>7 .3F5: A@7 A8 F:7

7>75FDA67E;EA@F:7435=A8F:753E73@6?3=7E5A@F35FI;F:F:7ID;EFF:7AF:7D7>75FDA67;EA@F:7

5DAI@A8F:7.3F5:53E7 +:7GE7DAB7@EF:73BB3@6FAG5:7EF:3F7>75FDA67A@F:75DAI@A8

F:7.3F5:53E7I;F:38;@97D8DA?F:7ABBAE;F73D?FAO5>AE7F:77>75FD;53>>AABP3@6F3=73@ 

!@F:;EI3KD75AD6;@93@D7CG;D7E3@388;D?3F;H735F4KF:7GE7DFAAB7@F:73BB3@6

?3=7 5A@F35F I;F: F:7 7>75FDA67E   +:7 3BBRE 3>9AD;F:? A@ F:7 BB>7 .3F5: F:7@ 3@3>KL7E F:7

7>75FD;53>E;9@3>ED75AD676FA67F7D?;@7;8F:77>75FD;53>E;9@3>EE:AI3@AD?3>:73DFD:KF:?53>>76

&AD?3>*;@GE):KF:?AD;8F:77>75FD;53>E;9@3>EE:AIE;9@EA83FD;3>8;4D;>>3F;A@;4I:;5:;E

F:7?AEF5A??A@E7D;AGE53D6;353DD:KF:?;3 +:73BBF:7@BDAH;67E3D7EG>FA8F:73@3>KE;E

FAF:7GE7DA@F:7BB>7.3F5:EFAD7EF:7D75AD6;@93@6D7EG>F3@63>>AIEF:7GE7DFA>A9

EK?BFA?E3@65A@H7DFF:3FD75AD6;@9FA3(FAE:3D7I;F:F:7;D:73>F:53D7BDAH;67D 




                                                    
                                              Stay-Add-586
              Case: 24-1285          Document: 7           Page: 638      Filed: 12/26/2023




               !)&;E3E7B3D3F7*3%873FGD73>EA67H7>AB76;@F7D@3>>K4KBB>77@9;@77DE3@6

5>;@;5;3@EI:;5:9;H7EGE7DE;@E;9:FE;@FAF:7;D:73DFD:KF:?E !8F:7!)&873FGD7;67@F;8;7E:73DF

D:KF:?EEG997EF;H7A8;4;F@AF;8;7EF:7GE7D3@6BDA?BFEF:7?FAE77=?76;53>3FF7@F;A@ +A

5D73F7F:;E873FGD7BB>7>7H7D3976F:7((E7@EADA@F:7435=A8BB>7.3F5:I:;5:E:;@7E

>;9:F ;@FA F:7 E=;@ @73D 4>AA6 H7EE7>E 3@6 ?73EGD7E F:7 3?AG@F A8 >;9:F D78>75F76 435= GE;@9

B:AFA6;A67E +:7!)&873FGD7RE3>9AD;F:?3FF7?BFEFAF3=73A@7?;@GF7((D75AD6;@953>>763

F35:A9D3? 34AGF 7H7DK FIA :AGDE 3EEG?;@9 5A@6;F;A@E 3D7 3BBDABD;3F7 8AD F:7 F35:A9D3?

?73EGD7?7@F +:7!)&873FGD7RE3>9AD;F:?F:7@GE7EF:7((D75AD6;@9FA53>5G>3F73GE7DREBG>E7

D3F7 I:;5: 53@ 3>EA BDAH;67 ;@8AD?3F;A@ 34AGF F:7;D :73DF D:KF:?   ;@3>>K F:7 !)& 873FGD7

3@3>KL7E F:7 :73DF D:KF:? 63F3 53BFGD76 8DA? F:7 (( GE;@9 3@ BB>7 67H7>AB76 3>9AD;F:? FA

67F7D?;@7 ;8 F:7 GE7DRE :73DF D:KF:?E 3D7 EG997EF;H7 A8 ;4   &AF34>K 3>> F:;E :3BB7@E ;@ F:7

435=9DAG@6 GE7DE;?B>K?GEF7@34>7F:7873FGD7A@57I73DBB>7.3F5:3@6F:7!)&873FGD7

I;>>3GFA?3F;53>>K3@6B7D;A6;53>>K3FF7?BFFA?73EGD7F:7;D:73DFD:KF:?E 

               !@ BD7B3D;@9 ;FE E7B3D3F7  3GF:AD;L3F;A@ 3BB>;53F;A@E 8AD  3BB 3@6 !)&

873FGD7BB>75A@6G5F767JF7@E;H75>;@;53>FD;3>EF7EF;@9F:7E387FK3@678875F;H7@7EEA8BB>7RE

E;@9>7>7363@63BB3E?73EGD76393;@EF3FD36;F;A@3>               >736 *;?;>3D>KBB>7

5A@6G5F76 7JF7@E;H7 5>;@;53> FD;3>E F7EF;@9 F:7 E387FK 3@6 78875F;H7@7EE A8 F:7 !)& 873FGD7 3E

?73EGD76393;@EF3@B3F5:;@F7DBD7F764K35>;@;5;3@ 

               >>5GDD7@F>K3H3;>34>7BB>7.3F5:7E3>EA;@5>G67F:7             )&873FGD7 +:;E;E3

:73>F:873FGD7F:3F;E@AF3@3GF:AD;L76?76;53>67H;57AD*3%3E;F6A7E@AFBDAH;673@K


                             

 BB>7!@5 )"% ''#*!&(((!/*!$" **"&%75  ,"##*
:FFBE III 3BB>7 5A? :73>F:53D7 6A5E E;F7 BB>72.3F5:2DD:KF:?;327F75F;A@ B68 

+:7 )&873FGD7I3E;@FDA6G576I;F:BB>7.3F5:478AD7F:73BB3@6!)&873FGD7
I7D7;@FDA6G576 


                                                      
                                               Stay-Add-587
              Case: 24-1285         Document:
                                       PUBLIC 7 VERSION
                                                  Page: 639              Filed: 12/26/2023




7JBD7EE>K ?367 4K D  %;>3@; ;@ :;E 675>3D3F;A@ FA F:7 A??;EE;A@   D  %;>3@; 67E5D;476 F:7

BDA9D3?:7:7>B7667H7>ABFAGE7BB>7.3F5:FAD76G57F:7D;E=EA883>>E7EB75;3>>K8AD7>67D>K

AD 8D39;>7 B3F;7@FE 3@6 D7BADF76 F:3F :;E B3F;7@FE :3H7 E77@ OFD7?7@6AGE ;?BDAH7?7@F FA F:7;D

CG3>;FK A8 >;87P ;@5>G6;@9 :3H;@9 3 9D73F7D E7@E7 A8 E75GD;FK 3@6 7?BAI7D?7@F F:3F F:7K I;>>

D757;H7?76;53>3EE;EF3@57;8F:7K6A83>> %;>3@;75>3D3F;A@74            3F 

              +:747@78;FEA8F:7:73>F:3@6I7>>@7EE873FGD7EA@BB>7.3F5:3D77@:3@5764K

BB>7RE>A@9EF3@6;@95A??;F?7@FFAF:7BD;H35KA8;FEGE7DE BB>77@EGD7EF:3F;FEGE7DE3D7F:7

A@7EI:A675;67I:3F:73>F:;@8AD?3F;A@;EEFAD763@6I:A53@3557EE;F AD7J3?B>7BB>7RE

 73>F:3BB3@6 73>F:#;F63F3D7BAE;FADK8D3?7IAD=7@EGD7F:3F735:GE7DRE:73>F:63F3;EEFAD76

E75GD7>K;@7@5DKBF768AD?3F3@6BB>7A887DEGE7DE9D3@G>3D5A@FDA>EFA67F7D?;@7BD75;E7>KI:3F

;@8AD?3F;A@53@47D7368DA?ADID;FF7@FAF:7;D:73>F:D75AD6E 

              GDF:7D?AD75A@EG?7DED7>KA@BB>7.3F5:FABDAH;67;?BADF3@F:73>F:47@78;FE

3@63>>A8F:7AF:7D8G@5F;A@3>;FKA8BB>7.3F5:8ADK73DE38F7DBGD5:3E;@9F:7;D67H;57 AD

7J3?B>7GE7DE53@?3;@F3;@F:7;D:73>F:63F38DA?BB>7.3F5:>A@9;FG6;@3>>KGE;@9F:7 73>F:

3@6;F@7EE3BBEA@;(:A@73>>AI;@9F:7?FA?A@;FADF:7;D:73>F:AH7DF;?7N;@5>G6;@9;8F:7K

GB9D367ADD7B>357F:7;DBB>7.3F5: BB>7D7B>357EBB>7.3F5:67H;57E;@@776A8E7DH;57

4AF:;@3@6AGFA8I3DD3@FKEA?7F;?7E8AD38777@34>;@9GE7DEFA5A@F;@G77@<AK;@9F:747@78;FE

A8F:7;D67H;57E !8BB>75AG>6@AFD7B>3574DA=7@BB>7.3F5:67H;57E4753GE7A83D7?76;3>

AD67D;@F:;E!@H7EF;93F;A@F:3FIAG>647:;9:>K6;EDGBF;H7FABB>7.3F5:GE7DEI:A:3H75A?7

FA D7>K A@ GE;@9 BB>7 .3F5: 3E 3 :73>F: 3@6 I7>>@7EE 67H;57 ;@5>G6;@9 4753GE7 EI;F5:;@9 FA

3@AF:7D67H;578DA?3@AF:7D?3@G835FGD7DIAG>66;EDGBFF:75A>>75F;A@A8F:7;D:73>F:63F3 

                                

              B3DF 8DA? F:7 6;D75F 47@78;F FA GE7DE F:7D7 ;E 7JF7@E;H7 5>;@;53> D7E73D5: F:3F

;@HA>H7EBB>7.3F5:N;@5>G6;@9F:7>AA6'JK97@873FGD7F:73BB3@6!)&873FGD7N


                                                      
                                             Stay-Add-588
             Case: 24-1285           Document: 7           Page: 640     Filed: 12/26/2023




F:7BAF7@F;3>FAE3H7>;H7EI:;>7;?BDAH;@9:73>F:?A@;FAD;@93@6:73>F:AGF5A?7E )7?AH;@9

F:7E7BB>7.3F5:67H;57EIAG>63>EA4767H3EF3F;@9FAF:7BDA9D7EEF:3F;E47;@9?3677H7DK63K

;@ F:;E EB357 3@6 F:7 4;>>;A@E A8 6A>>3DE A8 ;@H7EF?7@F ;@ F:7 , *  F:3F BB>7 :3E ?367 3@6

5A@F;@G7EFA?3=7 

        !675>3D7G@67DB7@3>FKA8B7D<GDKG@67DF:7>3IEA8F:7,@;F76*F3F7EA8?7D;53F:3FF:7

8AD79A;@9;EFDG73@65ADD75F 

        J75GF76A@  June 5              ;@ Cupertino,
                                                                 CA       



                                                                       *G?4G>7E3;%  
                                                                       -;57(D7E;67@FA8 73>F:
                                                                       BB>7




                                                      
                                               Stay-Add-589
             Case: 24-1285        Document: 7        Page: 641      Filed: 12/26/2023




              UNITED STATES INTERNATIONAL TRADE COMMISSION
                              WASHINGTON, D.C.



   In the Matter of
   CERTAIN LIGHT-BASED PHYSIOLOGICAL                               Inv. No. 337-TA-1276
   MEASUREMENT DEVICES AND
   COMPONENTS THEREOF



                           DECLARATION OF AARON SCHAFER


       1.      My name is Aaron Schafer. I am over 21 years of age, of sound mind, and make

this declaration voluntarily and based upon my own personal knowledge.

       2.      I received my Bachelor of Science degree in Engineering from Michigan State

University in 1998. I received a Masters in Business Administration from DePaul University in

2003. I began working at Motorola Corporation in May 1998 in procurement and was involved

primarily with supply chain operations. I worked at Motorola until 2010. In May 2010, I began

working at Apple, and my current title is Senior Director. My responsibilities include the

procurement and operations of components for Apple products, primarily semiconductors ranging

from off-the-shelf components to highly customized products that Apple develops internally or

develops with its third-party partners. By virtue of my responsibilities at Apple, I am familiar with

manufacturing and supply chain issues associated with the production of Apple Watch.

       3.      I understand that in this Investigation, Masimo Corporation and Cercacor

Laboratories, Inc. (collectively “Masimo”) seek to exclude from importation into the United States

several generations of Apple Watch that include the Blood Oxygen feature, as well as Irregular




                                                 1

                                          Stay-Add-590
             Case: 24-1285        Document: 7        Page: 642      Filed: 12/26/2023




that use them to assemble the final Apple Watch product. Many components take weeks, if not

months, to manufacture. And third, many contemporary raw material and component supply

contracts are structured as “take or pay” agreements. Under such agreements, the purchasing party

is required to pay for the products that it orders regardless of whether it actually takes possession

of the products from the manufacturer. For example, if a component supplier orders 100,000 units

of a semiconductor component from a foundry, it must pay for those units regardless of whether it

actually has an OEM buyer. This creates an incentive for the component supplier to take

possession of the product from the foundry, even if it has no immediate need for the component.

Further downstream agreements may prevent the component supplier from diverting that

component to a different OEM. Accordingly, when sales of end-user devices are significantly

disrupted, such as by an import ban, these existing “take or pay” agreements prevent supply from

being diverted to competitor products to meet any resulting increase in demand.

       11.     Given the business model, supply, and contractual constraints I just described,

which are common to all suppliers of complex consumer electronics products, and given the

substantial and growing U.S. sales of Apple Watch, I estimate that it would take significant effort

and time, on the order of at least twelve months or more, for other companies to scale production

of existing products to entirely replace the volume of product that would be subject to the type of

wholesale exclusion of the Apple Watch contemplated in this action. It very likely would take

them even longer to launch entirely new products in comparable volumes, because of the complex

supply factors such as component lead time and chip scarcity which I have outlined above that

further impact ramping up volume production.

       12.     Exclusion of Apple Watch from the United States would also likely have an impact

on U.S. employment at a number of U.S.-based companies that are highly dependent upon Apple’s


                                                 5

                                          Stay-Add-591
             Case: 24-1285       Document: 7         Page: 643        Filed: 12/26/2023




business, either because those companies manufacture products for Apple or are involved with

Apple’s research and development efforts.      For example, U.S.-based component suppliers for

Apple Watch, such as Broadcom, Cirrus Logic, Skyworks, Qorvo, and Texas Instruments, will

likely experience negative impacts due to an exclusion order against Apple Watch.

       I declare, under penalty of perjury, under the laws of the United States of America, that the

foregoing is true and correct.

       Executed on June _________, 2023.



                                                     -----------------------------
                                                     Aaron Schafer
                                                     Senior Director
                                                     Apple Inc.




                                                 6

                                          Stay-Add-592
 Case: 24-1285        Document: 7     Page: 644   Filed: 12/26/2023




         Before the U.S. International Trade Commission



In the Matter of
                                       Investigation No. 337-TA-1276
CERTAIN LIGHT-BASED
PHYSIOLOGICAL MEASUREMENT
DEVICES AND COMPONENTS
THEREOF




                   Declaration of Michael A.M. Davies
                     Concerning the Public Interest
                              June 5, 2023




                             Stay-Add-593
           Case: 24-1285     Document: 7       Page: 645      Filed: 12/26/2023




            focused on the overall characteristics of Apple’s business, its product
            strategy, technology strategy, R&D strategy and go-to-market strategy, and
            I have worked with a broad cross-section of device vendors and
            component vendors who compete with Apple or are partners of Apple.

II. IMPACT OF REQUESTED REMEDIES

     14.    It is my opinion that Masimo’s Requested Remedies, which seek to exclude
            from importation, distribution, marketing, sale, and support Apple Watch
            Series 6, 7, 8, and Ultra, would cause an immediate and massive shortfall in
            the supply of smartwatches available to U.S. consumers, and would thereby
            cause significant harm to the Public Interest. This shortfall of smartwatches
            would harm millions of U.S. consumers who depend on their smartwatch for
            health and fitness capabilities provided through monitoring and data-
            gathering, in combination with a broad variety of other capabilities that are
            important in many aspects of their daily lives.

     15.    In addition to the important health benefits that smartwatches provide, U.S.
            consumers also depend on their smartwatch for productivity benefits
            provided through, for example, sending text messages, making phone calls
            and video calls, being alerted by and responding to notifications, and
            accessing their calendar and contacts. What distinguishes and
            differentiates Apple Watch from other wearable devices is that Apple
            Watch provides health and welfare benefits to U.S. consumers who are
            motivated to purchase a smartwatch because of the productivity
            capabilities that it provides, yet those same consumers would not purchase
            a wearable device that only provides specialized health capabilities, such
            as Masimo’s W-1™.

     16.    Masimo’s Requested Remedies would harm both U.S. consumers who are
            existing users seeking to replace their device due to loss, damage, or
            functionality; and also those who are would-be adopters of smartwatches,

                                Page 7 of 50                            5 June 2023


                                     Stay-Add-594
      Case: 24-1285     Document: 7      Page: 646     Filed: 12/26/2023

                  CONFIDENTIAL INFORMATION REDACTED


       as the Requested Remedies would cause a sudden and massive shortfall of
       smartwatches available for purchase that cannot be mitigated within a
       commercially reasonable timescale. Without new or replacement devices
       available, these U.S. consumers would lose access to the important health
       and productivity capabilities provided by Apple Watch.

17.    As I elaborate below, this shortfall of smartwatches would also harm
       ongoing and future medical research in the United States, which is already
       making widespread use of smartwatches, and which is further broadening
       its use of smartwatches’ monitoring and data-gathering capabilities. This
       shortfall would harm U.S. consumers through reduced choice of products,
       more limited availability of products, and higher prices for products. This
       shortfall would also harm the U.S. economy.

18.    The Accused Devices account for more than
       smartwatches sold in the United States each year.2 As a result, mitigating
       the sudden and massive shortfall in supply would require a collective
       increase in the level of output of other smartwatches by Apple and other
       non-Respondent vendors of more than                      per year. Increasing
       production by this amount—          increase in the level of output—would
       be very difficult and very costly, would involve significant commercial risk,
       and would take years to achieve. Given that this very large increase in
       production would take years, the shortfall could not be mitigated “within a
       commercially reasonable time.”

19.    This additional volume of production in the order of
       increase, could not be achieved within a commercially reasonable time due
       to long-established, continuing, and industry-wide constraints of the supply




                         Page 8 of 50                              5 June 2023


                                Stay-Add-595
           Case: 24-1285     Document: 7      Page: 647     Filed: 12/26/2023

                       CONFIDENTIAL INFORMATION REDACTED


            chain related to the production and distribution of smartwatches; I provide
            details of these constraints below.

     20.    The Requested Remedies would especially harm U.S. consumers who are
            current users of Apple Watch or would-be adopters of Apple Watch. Given
            the sudden and massive shortfall in the supply of Apple Watches, every day
            nearly          Apple Watch users nationwide would be unable to obtain
            the smartwatch that meets their requirements.3 The number of U.S.
            consumers affected would rise to nearly             within the first month,
            and to nearly            consumers before there was any meaningful
            mitigation of the sudden and massive shortfall in the supply of
            smartwatches.4

III. AVAILABILITY OF ALTERNATIVES FOR ACCUSED DEVICES

     21.    Smartwatches, as all digital devices, provide both functionality and
            capabilities, the difference being functionality is what the device can do,
            such as connect to the Internet, while capabilities are what a user can do
            with the device, such as text a friend.

     22.    For the purpose of assessing the impact of Masimo’s Requested Remedies,
            a smart device can serve as a substitute for a different smart device only if
            the substitute device also provides equivalent functionality and
            capabilities. For example, although an analog watch is a functional
            substitute for smartwatch users who principally want a device that can tell
            time, a smartwatch’s functionality and capabilities go far beyond time-
            telling—and in particular in combining health, fitness, and wellness


3




                                                                        .


                               Page 9 of 50                             5 June 2023


                                     Stay-Add-596
                Case: 24-1285         Document: 7         Page: 648       Filed: 12/26/2023

                                CONFIDENTIAL INFORMATION REDACTED


                   Masimo Freedom™ at $999, cost more than the Accused Devices. The
                   Apple Watch Series 8 starts at $399.

          26.      Volume matters in determining whether any particular smartwatch could
                   serve as a viable substitute for the Accused Devices because the substitute
                   must be able to be made available at sufficient scale to effectively mitigate
                   the effect of the exclusion of the Accused Devices. The required volume of
                   devices is significant: Between 30% and 35% of U.S adult consumers now
                   own a smartwatch or wearable,7,8 and o



      A. U.S. consumers rely on many different smartwatch features

          27.      The Accused Devices are not devices that have single-point functionality,
                   such as monitoring a cardiovascular condition. Rather, the Accused
                   Devices are multi-purpose technologies that are designed to provide a
                   wide range of functionality, thereby enabling various diverse capabilities to
                   meet the requirements of U.S. consumers. For many U.S. consumers, their
                   smartwatch’s utility comes from its ability to combine both health and
                   productivity capabilities, while at the same time offering a broad array of
                   capabilities.

          28.      With a cellular- or Wi-Fi-connected smartwatch, a user can send and
                   receive texts, calls, and email; share health information with healthcare
                   providers and family; access the Internet, their apps, and their calendar;
                   stay current with news, weather, and sports; navigate with GPS; and stream
                   music. Through its connectivity, a smartwatch user can also keep children




7
    https://datareportal.com/reports/digital-2023-deep-dive-the-rise-of-wearables
8
    https://cdn.newswire.com/files/x/3c/e9/d48aafa86cac1002ee98de669a22.pdf
9




                                        Page 11 of 50                               5 June 2023


                                               Stay-Add-597
                 Case: 24-1285        Document: 7       Page: 649       Filed: 12/26/2023




                   and elderly family members safe through location and health alerts, such as
                   Fall Detection.

           29.     Table 1 below, from a survey conducted by research firm Creative
                   Strategies, demonstrates the weekly use by Apple Watch users of the
                   various smartwatch capabilities.10

            Table 1         Apple Watch users’ weekly use of features and capabilities11

                           Weekly Use of Features and                   % of Users
                                   Capabilities
                    Check messages                                          81%
                    Decline a call                                          80%
                    Check activity details                                  75%
                    Workout tracking                                        74%
                    Check heartrate                                         73%
                    Look at third-party app                                 66%
                    Use non-fitness third-party apps                        61%
                    Check email                                             57%
                    Set a reminder                                          54%
                    Answer a call                                           51%
                    Use the watch to find iPhone                            46%
                    Use Siri to send a text                                 42%
                    Check social media                                      40%
                    Use GPS                                                 34%
                    Use a scribble feature to write a text                  33%
                    Control a smart home device                             31%

           30.     Were the Requested Remedies to prevail, U.S. consumers who have
                   adopted the Apple Watch would be unable to replace their device if it were
                   lost, no longer functioned, or no longer met their requirements and became
                   obsolescent or obsolete. Therefore, excluding the Accused Devices would
                   harm millions of U.S. consumers who have invested time, energy, and
                   money into their own, personalized combination of devices.


10
     https://www.cultofmac.com/581078/people-love-declining-phone-calls-on-their-apple-watches/
11
     https://www.cultofmac.com/581078/people-love-declining-phone-calls-on-their-apple-watches/


                                      Page 12 of 50                                  5 June 2023


                                              Stay-Add-598
                Case: 24-1285       Document: 7       Page: 650       Filed: 12/26/2023




          48.     Masimo has announced plans to launch another wearable in fall 2023, the
                  Masimo Freedom™.24 Like W1™, the Freedom™ would be a specialized niche
                  device with health-monitoring features. Like W1™, the Freedom™ would fail
                  to provide the communications and productivity capabilities that the
                  Accused Devices provide to U.S. consumers. Although information about
                  Freedom’s™ complement of features has not yet been made available, the
                  currently known differences between Freedom™ and W1™, as compared to
                  Apple Watch, are that Freedom™ will require no subscription; Freedom™ will
                  provide fall detection; and the price of Freedom™ will be double ($999)
                  what the W1™ costs ($499).25

          49.     Masimo admits that their consumer watch offerings are not intended as a
                  general-purpose smartwatch. In a recent quarterly earnings call, Masimo
                  CEO Joe Kiani, while referring to Masimo’s watches, stated:

                         As I’ve said before our customers that we’re targeting are people
                         who have chronic illnesses and need a serious monitor - that
                         serious measurement - and they want it in a way that’s
                         unobtrusive.26

IV. THE ACCUSED DEVICES PLAY A VITAL ROLE IN MEDICAL RESEARCH THAT
    CANNOT READILY BE REPLICATED

      A. Apple makes significant investments and has powerful positive impacts in
         medical research

          50.     Apple Watch serves a critical role in the medical research landscape. Its
                  importance comes from its combination of functionality, capabilities, and
                  performance, all of which account for its widespread adoption by U.S.
                  consumers.



24
     https://www.masimoconsumer.com/
25
     https://www.masimoconsumer.com/; https://www.masimopersonalhealth.com/products/masimo-w1
26
     https://events.q4inc.com/attendee/205736497/guest (emphasis added).


                                     Page 18 of 50                              5 June 2023


                                             Stay-Add-599
                Case: 24-1285        Document: 7        Page: 651      Filed: 12/26/2023




          51.     The Accused Devices’ hardware, software, and open-source platform
                  capabilities allow for decentralized and minimally invasive studies which
                  are easy, quick, and lower cost for researchers, while also being
                  significantly more inclusive and accessible for study participants than
                  conventional trials.27 The breadth of functionality and of consumer usage
                  creates unprecedented opportunities in medical research.

          52.     Apple Watch is designed not only to track health metrics at an individual
                  level, but to be a vehicle for large scale medical research as well. This
                  research is generally implemented through Apple's ResearchKit, an open-
                  source framework which allows developers to create program interfaces
                  based on the collection of user data. ResearchKit allows for visual consent
                  flows, which allows users to remotely consent to study participation. It can
                  also be used for surveys. Building on Apple HealthKit and CareKit's
                  tracking, centralization, and remote transmission of data, ResearchKit can
                  be used to prompt a user or study participant to perform a dynamic task.
                  Researchers and developers are also able to program custom tests and
                  tasks, thereby harnessing the power of the smartwatch’s functionality to
                  collect topic-specific health metrics.28

          53.     Traditionally, trial participants have typically been required to physically
                  travel to a given location, often on a regular basis. When recruiting a
                  participant pool intended to be fully representative of the target population,
                  these physical requirements have been a major limiting factor. Additionally,
                  in studies conducted on patient populations with certain conditions, there
                  may be health implications to travel which prevent or restrict patient



27
  https://www.fda.gov/about-fda/oncology-center-excellence/advancing-oncology-decentralized-trials;
https://www.fda.gov/regulatory-information/search-fda-guidance-documents/decentralized-clinical-trials-
drugs-biological-products-and-devices
28
     https://medium.com/kinandcartacreated/introductions-healthkit-researchkit-and-carekit-d72e2ac9ce2


                                      Page 19 of 50                                  5 June 2023


                                              Stay-Add-600
              Case: 24-1285         Document: 7         Page: 652       Filed: 12/26/2023




                participation and contribute to high rates of drop-out and poor rates for
                follow-up. For example, almost 20% of oncology trials fail due to low
                recruitment, and one of the most significant factors for low accrual is
                distance from a clinic, along with participants’ financial situation and health
                insurance obstacles, all of which may be mutually reinforcing.29

        54.     ResearchKit and CareKit have negated many of those obstacles today. In
                conjunction with Apple Watch’s health tracking functions, as implemented
                through application and study-specific software, the collective information
                generated by Apple Watch is remotely transmittable. The Apple Watch
                provides data at significantly more frequent intervals than traditional
                medical research and conventional approaches to clinical trials. Remote
                collection and transmission of data is a critical function used by researchers
                to transcend the limitations of traditional clinical trials and make
                unprecedented contributions to public and patient health.

     B. The widespread adoption by U.S. consumers of the Accused Devices benefits
        medical research

        55.     The Accused Devices’ widespread adoption by consumers is one of the
                most important dimensions of their position in medical research, and one
                which cannot readily be replicated. Apple Watches are popular consumer
                devices that combine health capabilities with communications and
                productivity capabilities, and are purchased for a variety of reasons. As a
                result, the user base of U.S. consumers who have the Accused Devices is
                comprised of people with all levels of health and wellness, ranging from no
                or minimal medical conditions, through undiagnosed conditions, to chronic
                and acute conditions.




29
  https://www.fdamap.com/about-20-per-cent-of-cancer-clinical-trials-fail-due-to-low-patient-
recruitment.html


                                    Page 20 of 50                                     5 June 2023


                                             Stay-Add-601
                 Case: 24-1285        Document: 7        Page: 653       Filed: 12/26/2023




           56.     This diversity of existing users has important implications for medical
                   research, particularly in combination with the broadened scope of study
                   enrollment and frequent data collection allowed by remote transmission
                   and device wearability. Researchers utilize the Accused Devices to study
                   population-level impacts of wearable devices and their health features on
                   preventative treatment and early and intervention.30

           57.     For example, the American Heart association has stated:

                           As prevalent consumer devices owned for reasons other than just
                           their cardiac-data-related technologies, the user population is
                           sufficiently large and representative of the subjects researchers
                           seek to recruit, that they allow studies to be fully enrolled cost-
                           effectively, facilitating research the AHA promotes. Additionally, the
                           Devices and their users allow for types of research to occur that
                           might not otherwise be attempted, or only attempted less frequently
                           or with smaller sample sizes. Notably, they facilitate research into
                           whether cardiac health outcomes can be improved by consumer
                           devices detecting and triggering interventions. As the novelty of
                           these devices has waned since their introduction, researchers
                           benefit from and, to some extent, rely on the extent of consumer
                           adoption of the Devices to design and recruit for research studies.31

       C. The ECG and SpO2 features on Accused Devices provide significant value for
          research and public health

           58.     The ECG feature on Apple Watch has been FDA-authorized under Class II
                   classification since 2018.32 The functionality of this feature was powerfully
                   affirmed during the COVID-19 public health emergency, when the FDA
                   published guidance explicitly expanding and encouraging the use of
                   certain technologies, including the ECG app, to assist in diagnosis and




30
     https://medium.com/kinandcartacreated/introductions-healthkit-researchkit-and-carekit-d72e2ac9ce2
31
     Public Interest Statement of Non-Party American Heart Association
32
     https://www.fiercebiotech.com/medtech/new-apple-watch-receives-fda-clearance-for-built-ecg


                                       Page 21 of 50                                 5 June 2023


                                               Stay-Add-602
                Case: 24-1285         Document: 7      Page: 654    Filed: 12/26/2023




                   management of conditions by healthcare professionals.33 The ECG feature
                   is also critical to numerous medical studies.

          59.      Many health studies are leveraging the ECG and SpO2 capabilities of the
                   Accused Devices that are not available in the Apple Watch SE, or other
                   devices such as the Masimo W1™.

          60.      The Mayo Clinic is currently undertaking a study with 1 million participants
                   studying how Apple Watch ECG data can be assessed by Artificial
                   Intelligence algorithms for better prediction of heart disease.34 The Mayo
                   Clinic is also working with the FDA to use the Apple Watch ECG with a wide
                   range of other features to study how to improve outcomes for patients with
                   heart failure.35

          61.      The American Heart Association is studying a drug with potential to treat
                   atrial fibrillation, or AFib, by leveraging the ECG capabilities of the Accused
                   Devices.36

          62.      Northwestern University and Johns Hopkins received a $37 million grant
                   for a seven-year study of stroke prevention and reducing the need for
                   blood thinners among people with AFib by leveraging Apple Watch’s ECG
                   feature as well as its other sensors. “If proven effective, this new treatment
                   paradigm will fundamentally change the standard of care for the millions of
                   Americans living with AFib,” said principal investigator Rod Passman, M.D.,
                   Northwestern Medicine’s director of the Center for Arrhythmia
                   Research and the Jules J. Reingold Professor of Electrophysiology. “Many
                   of these patients are on blood thinners for the rest of their lives even if they


33
     https://www.apple.com/healthcare/docs/site/Apple_ECG_app_during_COVID-19.pdf
34
     https://clinicaltrials.gov/ct2/show/NCT05324566
35
     https://clinicaltrials.gov/ct2/show/NCT04191356
36
     https://clinicaltrials.gov/ct2/show/NCT04433091


                                      Page 22 of 50                             5 June 2023


                                               Stay-Add-603
                Case: 24-1285         Document: 7         Page: 655       Filed: 12/26/2023




                   have infrequent episodes of atrial fibrillation,” Passman said. “If we can
                   show this strategy is equally protective against stroke and reduces
                   bleeding, that could save lives, reduce cost and improve quality of life.”37

          63.      Anthem Blue Cross Blue Shield and the University of California, Irvine, are
                   using the SpO2 measurement feature of Apple Watch, along with many
                   other health tracking features, to study how to improve asthma
                   management. Rajeev Ronanki, Chief Digital Officer at Anthem, said,
                   “Millions of Americans are struggling with their asthma condition each day
                   and we’re thrilled to collaborate with UCI, Apple and CareEvolution on
                   studying new solutions.”38

          64.      The COVID-19 pandemic made clear the racial bias of many commercially
                   available pulse oximeters.39 Contrary to these products and competing
                   wearable devices, the Apple Watch Series 6, 7, 8 and Ultra models’ pulse
                   oximeter technology were specifically designed and tested to ensure that
                   results were not compromised by racial bias.40

          65.      Asthma has been recognized for years as disproportionately affecting poor
                   and minority communities, and as an issue of racial and environmental
                   justice.41,42 In the case of the Anthem and UC Irvine asthma study detailed
                   above, disenfranchised communities stand to benefit from the results of
                   accessible and diverse trial recruitment, especially as complemented by


37
  https://appleinsider.com/articles/22/08/29/new-apple-watch-study-aims-to-cut-blood-thinner-use-by-afib-
patients; https://breakthroughsforphysicians.nm.org/northwestern-awarded-first-ever-national-grant-to-
study-wearables-stroke-prevention-in-patients-with-atrial-fibrillation.html
38
 https://news.uci.edu/2020/09/16/anthem-uci-will-investigate-how-digital-tools-can-aid-asthma-
management/
39
     https://jamanetwork.com/journals/jamainternalmedicine/fullarticle/2792653
40
     https://www.apple.com/healthcare/docs/site/Blood_Oxygen_app_on_Apple_Watch_October_2022.pdf
41
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6042867/
42
     https://aafa.org/asthma-allergy-research/our-research/asthma-disparities-burden-on-minorities/


                                       Page 23 of 50                                    5 June 2023


                                                Stay-Add-604
                 Case: 24-1285         Document: 7     Page: 656    Filed: 12/26/2023




                   pulse oximetry technology that is better able to self-correct for skin color
                   than others on the market.43

      D. Various medical research is at risk in the event the Requested Remedies prevail

           66.     The largest study ever conducted on Parkinson's disease, with 10,000
                   participants, was conducted with the ResearchKit-designed mPower app.44
                   93% of trial participants had never participated in a study before.

           67.     A study of AFib published in the New England Journal of Medicine had
                   419,297 participants leveraging an Apple Watch. According to the study’s
                   Conclusions:

                           This site-less (no on-site visits were required for the participants),
                           pragmatic study design provides a foundation for large-scale
                           pragmatic studies in which outcomes or adherence can be reliably
                           assessed with user-owned devices.45

           68.     This study is important as AFib can often show no symptoms, and about
                   700,000 people in the United States alone may have AFib and not know
                   it.46

           69.     An Apple Heart and Movement study with the American Heart Association
                   studied 500,000 people used Apple Watch sensors to identify factors or
                   early warning signs that impact heart health or mobility.47

           70.     A study with Nightware used the Apple Watch to address nightmare
                   disorders associated with post-traumatic stress. The study monitored the




43
     https://www.apple.com/healthcare/docs/site/Blood_Oxygen_app_on_Apple_Watch_October_2022.pdf
44
     https://www.apple.com/lae/researchkit/
45
     https://www.nejm.org/doi/10.1056/NEJMoa1901183
46
  https://www.webofscience.com/wos/woscc/full-
record/WOS:000429791900022?SID=USW2EC0D3CU1Lq4JY6XtCADXotLHT
47
     https://clinicaltrials.gov/ct2/show/NCT04198194


                                       Page 24 of 50                             5 June 2023


                                                Stay-Add-605
                Case: 24-1285         Document: 7      Page: 657   Filed: 12/26/2023




                   sleeping patients via Apple Watch, which would vibrate when sensing a
                   nightmare to disrupt the event without waking the participant.48

          71.      A Stanford study used Apple Watch to improve care for spine surgery
                   patients. Previously it was impossible for surgeons to track mobility of
                   patients before and after surgery. According to the study’s
                   Intervention/treatment:

                           The Apple Watch and App are used for this study to record patient's
                           mobility information (e.g., step counts, heart rate, stairs climbed,
                           distance traveled) as well as provide an additional platform for
                           patients to complete questionnaires.49

          72.      The studies mentioned above used Apple Watch for research into a range
                   of different health issues, including asthma, Parkinson’s, AFib, heart
                   disease, nightmares, strokes, post-operative treatment, and general health
                   and mobility. Those studies involved almost 2 million participants.
                   Therefore, excluding the Accused Devices would have a significant and




48
     https://clinicaltrials.gov/ct2/show/NCT03828656
49
     https://clinicaltrials.gov/ct2/show/NCT04379921


                                      Page 25 of 50                            5 June 2023


                                               Stay-Add-606
                Case: 24-1285        Document: 7        Page: 658        Filed: 12/26/2023




                  negative impact on medical research. As Dr. Russell Bowler stated in his
                  declaration:

                          A key feature of consumer devices is their integration of multiple
                          sensors and particularly oxygen saturation (SpO2) for patients with
                          respiratory diseases. In these patients from our research studies and
                          personally my research group has found the Apple Watch to be an
                          exceptional device that accurately measures important parameters
                          such as heart rate, physical activity, and oxygen saturation. Coupled
                          with monitoring apps, these parameters help predict the onset of
                          acute illness. The devices are also significantly less expensive than
                          research only devices and depriving consumers of the devices
                          might unnecessarily limit access to remote medical monitoring in
                          underserved groups (e.g., rural patients) who do not have ready
                          access to specialists.50

V. THE ACCUSED DEVICES PROVIDE U.S. CONSUMERS WITH SIGNIFICANT
   HEALTH, WELLNESS, AND SAFETY BENEFITS

      A. Apple Watch can alert users to latent medical conditions

          73.     The Apple Watch includes two FDA-authorized health apps: ECG and
                  irregular heart rhythm notification (IRN).51, These are authorized as
                  “software as a medical device” (SaMD)52, and both can provide health-
                  supporting and sometimes life-saving measurements of a user’s heart
                  function.

          74.     An ECG can help diagnose many common heart problems, such as
                  arrhythmias and coronary artery disease, as well as help monitor the
                  effectiveness of heart disease treatments.53 While some other



50
  Letter “Support for the Apple Watch for use in tracking physiologic features in medical patients.” from Dr.
Russell Bowler M.D., PhD., Director of COPD Clinic and Precision Medicine and Professor of Medicine of
National Jewish Health
51
  https://www.apple.com/newsroom/2018/12/ecg-app-and-irregular-heart-rhythm-notification-available-
today-on-apple-watch/
52
     https://www.fda.gov/medical-devices/digital-health-center-excellence/software-medical-device-samd
53
     https://www.mayoclinic.org/tests-procedures/ekg/about/pac-20384983


                                     Page 26 of 50                                     5 June 2023


                                              Stay-Add-607
                 Case: 24-1285         Document: 7         Page: 659    Filed: 12/26/2023




                   smartwatches have FDA-authorized ECG monitoring, Apple Watch is the
                   only general-purpose smartwatch with continuous monitoring that requires
                   no user participation.54

           75.     As IRN runs in the background of Apple Watch, a user may be alerted to a
                   heart condition they otherwise would not know they had, such as AFib,
                   which can lead to a stroke or heart attack. More than 454,000
                   hospitalizations occur each year where AFib is the primary diagnosis, yet
                   the condition frequently goes undetected for lack of clear symptoms.55

           76.     Such IRN alerts may have saved thousands of lives. For example, in the
                   Stanford Apple Heart Study, 2,161 of the 400,000 participants were alerted
                   by their Apple Watch of an irregular heart rhythm. Of those who received
                   irregular notifications, 1,376 responded to a 90-day survey, and over 57% of
                   these participants chose to seek medical attention they would not have
                   otherwise sought and obtained.56

           77.     There are other instances where IRN alerts are attributed to saving lives. In
                   one case, a Maine resident received an alert and sought medical care that
                   revealed a tumor on her heart. She underwent five hours of open-heart
                   surgery at a Boston hospital. The patient’s surgeon assessed that she
                   would have had “a massive stroke and died” if left untreated.57

           78.     In another case, a woman felt tightness in her chest while her Apple Watch
                   indicated a heart rate of 169 beats per minute. Tests revealed a blockage in
                   her coronary arteries that was later successfully cleared in surgery.58 In yet


54
     https://pocketnow.com/best-smartwatches-for-ecg/
55
     https://www.cdc.gov/heartdisease/atrial_fibrillation.htm
56
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8112605/
57
     https://www.today.com/health/womens-health/heart-tumor-apple-watch-atrial-fibrillation-rcna39993
58
  https://www.wzzm13.com/article/news/health/norton-shores-woman-credits-apple-watch-for-detecting-
heart-condition/69-6b2db4b5-2d3f-47f0-a069-2d0961bbec4b


                                       Page 27 of 50                                  5 June 2023


                                                 Stay-Add-608
                Case: 24-1285       Document: 7        Page: 660       Filed: 12/26/2023




                  another case, a teenage boy received an alert that his heart rate was
                  spiking, which led to an eight-hour corrective surgery.59 In contrast,
                  Samsung Watch does not currently detect AFib.60

      B. Health and wellness tracking by Accused Devices is enabled by their wide
         range of sensors and capabilities, in particular relative to specialized
         single-purpose devices

          79.     The Masimo W1™ watch is a specialized device designed for users with
                  specific medical requirements from their wearable. In comparison, the
                  Accused Devices are constructed to meet a wide range of consumer
                  requirements. Because of their more robust range of functionality and
                  support for broader and deeper capabilities, the Accused Devices include
                  several more sensors and capabilities than Masimo’s watch.

          80.     The Masimo W1™ can monitor SpO2 levels, pulse rate, heartrate, relative
                  level of hydration, relative strength of pulse, pleth variability, sleep, and
                  respiration rate.61

          81.     In comparison, the newest of the Accused Devices, the Series 8 and the
                  Ultra, have the following features: emergency calling, fall detection, crash
                  detection, SpO2 sensor and app, electrical heart sensor, optical heart
                  sensor, temperature sensor, ECG, heartrate notifications, irregular heart
                  rhythm notification, sleep stage tracking, and fertility cycle tracking.62 The
                  Accused Devices also feature over 20,000 third-party apps to further meet
                  the health and productivity requirements of U.S. consumers.63



59
  https://kfor.com/news/stratford-teen-spreads-heart-health-awareness-after-apple-watch-notifies-him-of-
heart-rate/
60
     https://www.pcmag.com/news/samsung-galaxy-watch-gets-fda-clearance-to-monitor-for-afib
61
     https://www.masimopersonalhealth.com/products/masimo-w1
62
     https://www.apple.com/watch/compare/
63
     https://www.techradar.com/best/best-apple-watch-apps-2022


                                    Page 28 of 50                                    5 June 2023


                                             Stay-Add-609
                 Case: 24-1285        Document:
                                         PUBLIC 7 VERSION
                                                    Page: 661            Filed: 12/26/2023




                  other family members.82 For parents and caregivers, a cellular-enabled
                  Apple Watch with Family Setup allows their children and teenagers to stay
                  connected without a smartphone. This allows parents to view their child’s
                  location, monitor their contacts, and provide emergency funds through
                  Apple Cash.83,84

          97.     Cellular-enabled smartwatches can be life-changing and potentially
                  life-saving for older adults in the United States, a demographic of
                  approximately 73 million; another approximately 365,000 U.S. consumers
                  turn 65 each year.85 The security of a cellular-enabled wrist device
                  equipped with Family Setup functions such as locator capabilities,
                  movement monitoring, and fall detection/alerts can facilitate greater
                  independence for the wearer and offer peace of mind to their loved ones.

          98.     In addition to those features available on all Apple Watches, the Apple
                  Watch Ultra has a feature to turn on a siren that can be heard from 600 feet
                  away.86 This siren can be used to signal for help in an emergency.

          99.     Exclusion of the Accused Devices could have potentially life-threatening
                  consequences for U.S. consumers as access to these important safety
                  features would become unavailable.

      E. The Requested Remedies would mean the loss of continuous health-data
         tracking for existing users

          100.    Under an Exclusion Order, current users of the Accused Devices would be
                  unable to replace their lost, stolen, or nonfunctioning smartwatch with a
                  device that meets their requirements, as the Accused Devices would no

82
     https://www.epiwatch.com/home#anchor-1
83
     https://support.apple.com/en-us/HT211782
84
     https://support.apple.com/en-us/HT211768
85
     https://www.census.gov/library/stories/2019/12/by-2030-all-baby-boomers-will-be-age-65-or-older.html
86
     https://support.apple.com/en-us/HT213438


                                      Page 33 of 50                                   5 June 2023


                                                Stay-Add-610
                 Case: 24-1285       Document: 7        Page: 662       Filed: 12/26/2023




                  longer be available. Those users would be unable to continuously track
                  important health data as they had in the past, or to access the Accused
                  Devices’ distinct health-enhancing and life-saving features.

VI. THE REQUESTED REMEDIES WOULD HAVE A SIGNIFICANT ADVERSE IMPACT
    ON THE U.S. ECONOMY

      A. The Requested Remedies would impact U.S. employment

          101.    The Requested Remedies, if granted, would have far-reaching impacts on
                  the U.S. economy. According to Apple’s most recent data, its “job footprint”
                  equals 2.4 million jobs across all 50 states: 90,000 direct jobs and an
                  anticipated 110,000 in 2023; 450,000 jobs through its 9,000 U.S. suppliers
                  and manufacturers; and 1.9 million jobs in the app economy.87 Apple’s U.S.
                  job footprint extents to many professions, including but not limited to
                  software and hardware engineers, app developers, designers, scientists,
                  manufacturing, construction, retail, customer support, and marketing.88

          102.    Apple’s 2020 Supplier List, the most recent available, includes companies
                  from across the United States, many of them manufacturers: Alabama (3M);
                  Arizona (Intel); California (IDEMIA, II-VI Inc., Microchip Tech. Inc., Pegatron
                  Corp., Renesas, Skyworks); Colorado (Broadcom, Microchip Tech. Inc.);
                  Florida (Qorvo); Georgia (Solvay); Idaho (ON Semiconductor Corp.); Illinois
                  (II-VI Inc.); Indiana (SABIC Innovative Plastics); Iowa (3M); Kentucky
                  (Corning); Maine (ON Semiconductor Corp., Texas Instruments);
                  Massachusetts (Intel, Skyworks, Wickeder); Minnesota (3M, Henkel); New
                  Hampshire (Henkel); New Jersey (II-VI Inc.); New Mexico (Intel); North
                  Carolina (Qorvo); Ohio (3M, Solvay); Oregon (Alpha & Omega
                  Semiconductor, Intel, Maxim, ON Semiconductor Corp., Qorvo);



87
     https://www.apple.com/newsroom/2019/08/apples-us-job-footprint-grows-to-two-point-four-million/
88
     https://www.apple.com/job-creation/


                                      Page 34 of 50                                  5 June 2023


                                              Stay-Add-611
              Case: 24-1285    Document: 7      Page: 663    Filed: 12/26/2023




               smartwatches, this shortfall could not be mitigated within a commercially
               reasonable time.

       143.    The Accused Devices are important to health and welfare of many U.S.
               consumers, and medical research.




I declare, under penalty of perjury, under the laws of the United States of America, that
the foregoing is true and correct.

Executed on June 5, 2023, in Cambridge, Massachusetts.




___________________
Michael A. M. Davies Chairman
Endeavour Partners




                               Page 50 of 50                             5 June 2023


                                       Stay-Add-612
               Case: 24-1285        Document:
                                       PUBLIC 7 VERSION
                                                  Page: 664          Filed: 12/26/2023




                UNITED STATES INTERNATIONAL TRADE COMMISSION
                                WASHINGTON, DC




     In the Matter of
                                                             Inv. No. 337-TA-1276
     CERTAIN LIGHT-BASED
     PHYSIOLOGICAL
     MEASUREMENT DEVICES AND
     COMPONENTS THEREOF


                  DECLARATION OF CHRISTIAN M. DIPPON, PHD

1.        My name is Christian Dippon. I am over 21 years of age, of sound mind, and make this

          declaration based upon my experience, training, and knowledge, as described below.

          Apple Inc. (Apple or Respondent) retained me to examine the ramifications on the

          statutory public interest factors if the International Trade Commission (ITC) approves

          Masimo Corporation and Cercacor Laboratories, Inc.’s (Complainants) requested

          exclusion or cease and desist order (collectively, requested remedial orders) pertaining to

          the importation of Apple Watches with light-based pulse oximetry functionality and

          components thereof (Accused Functionality). 1

2.        I am an economist and a Senior Managing Director at the Washington, DC, office of

          NERA Economic Consulting (NERA) where I also serve as Chair of the Global Energy,

          Environment, Communications, and Infrastructure Practice and a member of its Board of

          Directors. I have 27 years of experience in complex litigation disputes, competition cases,

          and regulatory matters with a specialization in the communications, internet, and high-


          1
         See Certain Light-Based Physiological Measurement Devices and Components Thereof,
Complainants’ Statement on the Public Interest, Inv. No. 337-TA-1276, February 23, 2023, pp.
1–3 (hereinafter Complainants’ Statement).



                                            Stay-Add-613
           Case: 24-1285        Document:
                                   PUBLIC 7 VERSION
                                              Page: 665         Filed: 12/26/2023

                          CONFIDENTIAL INFORMATION REDACTED

II.   GRANTING COMPLAINANTS’ REQUESTS WOULD HARM SEVERAL
      DIMENSIONS OF THE PUBLIC INTEREST

22.   Excluding Apple Watches with the Accused Functionality stands to fundamentally harm

      US consumers and competition in the United States, thereby harming the public interest.

      First, the substantial sales volumes of the accused Apple Watches signal that the devices

      offer US consumers important benefits that would be lost with a ban. Second, consumers

      for whom the accused Apple Watches maximize their personal satisfaction (utility) would

      necessarily be harmed because a ban would prevent them from achieving the maximum

      level of satisfaction. Third, removing a major provider of smartwatches would lessen

      competition, and a sudden shortfall of smartwatches would likely yield higher prices,

      which would impose further harm on US consumers. I discuss each of these public

      interest harms in turn.

      A.     An Exclusion Order Would Remove a Significant Portion of Smartwatches

23.   Complainants’ requested Apple Watch ban would result in a substantial and immediate

      reduction of the available smartwatches in the United States. Although an exclusion order

      necessarily implies a reduction in the consumer choice sets, banning Apple Watches with

      the Accused Functionality would remove one of the most popular smartwatches in the

      United States.

24.   Apple sells a substantial number of Apple Watches with the Accused Functionality to US

      consumers. In the nine quarters between the release of the Apple Watch Series 6 in

      September 2020 and December 2022, Apple sold approximately                    Apple

      Watches with the Accused Functionality in the US. 39 This, for example, compares to an




© NERA Economic Consulting                                                                    12
                                        Stay-Add-614
            Case: 24-1285         Document:
                                     PUBLIC 7 VERSION
                                                Page: 666         Filed: 12/26/2023

                           CONFIDENTIAL INFORMATION REDACTED

       average 16.9 million imports of automobiles into the United States over a nine quarter

       period. 40 Based on US consumers’ purchase patterns, I estimate that remedial orders

       would diminish smartwatch availability in the United States by some                 devices

       per year or              devices over the five-year requested exclusion period. 41 As

       illustrated, the requested remedial orders would cause an immediate, significant shortfall

       of smartwatch supply in the United States and threaten a shortfall in supply over the five-

       year requested exclusion period. Given the broad reliance of US consumers on the

       accused products, their potential removal requires careful analysis because it could have

       public interest repercussions that extend far beyond the removal of just another electronic

       device.

       B.        An Exclusion Order Would Impose Significant Costs on US Consumers

25.    Complainants’ requested Apple Watch ban stands to impose significant harm on US

       consumers and thus the public interest. The importance of Apple Watches to US

       consumers indicates that these devices maximize their economic utilities (i.e.,

       satisfaction) and thus removing them will reduce consumer satisfaction, which implies

       harm to the public interest. Moreover, banning a major provider of smartwatches risks

       reducing competitive pressure, which would allow other device manufacturers to raise

       their prices. Higher retail prices would further diminish consumer satisfaction, which is

       also detrimental to the public interest.




       40
           See “Number of motor vehicles imported by the United States from 2017 to 2020,”
Statista, September 30, 2022, https://www.statista.com/statistics/1280811/us-motor-vehicle-
imports/.
       41




© NERA Economic Consulting                                                                     13
                                          Stay-Add-615
            Case: 24-1285         Document:
                                     PUBLIC 7 VERSION
                                                Page: 667           Filed: 12/26/2023




26.    To analyze these effects and the impact they have on the public interest requires an

       understanding of consumer surplus and more directly the loss in consumer surplus as a

       result of granting the requested remedial orders. The following sections explain the

       concept of consumer surplus and the critical role it plays in public policy analysis, merger

       analysis, and other public decision making and illustrates this principle in the context of

       the Commission’s present Investigation.

              1.      Importance of consumer surplus in a public interest analysis

27.    A consumer surplus analysis is fundamental when examining the repercussions of

       government actions. Consumer surplus is the net value a consumer gains from consuming

       a product or service. 42 In the present Investigation, it is the difference between the value a

       US consumer places on owning an Apple Watch with the Accused Functionality and the

       price they pay for the device.

28.    The concept of using consumer surplus analysis to understand the public interest

       ramifications of government actions is not new. In fact, several US government entities,

       including the Office of Management and Budget (OMB), the Department of Justice

       (DOJ), the Federal Trade Commission (FTC), and the FCC routinely apply consumer

       surplus analysis as part of their decision-making process. For instance, in 2003, during

       the George W. Bush administration, the OMB issued a Circular to federal agencies

       “designed to assist … regulatory agencies by defining good regulatory analysis.” 43 The

       Circular highlighted the use of regulatory analysis as a tool “to anticipate and evaluate the


       42
           See, e.g., Dennis W. Carlton and Jeffrey M. Perloff, Modern Industrial Organization
(United Kingdom: Pearson/Addison Wesley, 2005), 70.
        43
           Office of Management and Budget, Circular A-4, To the Heads Of Executive Agencies
And Establishments, September 17, 2003, p. 1,
https://obamawhitehouse.archives.gov/omb/circulars_a004_a-4/.


© NERA Economic Consulting                                                                       14
                                          Stay-Add-616
            Case: 24-1285         Document:
                                     PUBLIC 7 VERSION
                                                Page: 668          Filed: 12/26/2023




       likely consequences of rules.” 44 It explained that such analysis requires developing

       benefit and cost estimates using consumer surplus analysis:

               “Opportunity cost” is the appropriate concept for valuing both benefits and
               costs. The principle of “willingness-to-pay” (WTP) captures the notion of
               opportunity cost by measuring what individuals are willing to forgo [pay]
               to enjoy a particular benefit. … Adoption of WTP as the measure of value
               implies that individual preferences of the affected population should be a
               guiding factor in the regulatory analysis.

               Market prices provide rich data for estimating benefits and costs based on
               willingness-to-pay if the goods and services affected by the regulation are
               traded in well-functioning competitive markets. The opportunity cost of an
               alternative includes the value of the benefits forgone as a result of
               choosing that alternative. The opportunity cost of banning a product – a
               drug, food additive, or hazardous chemical – is the forgone net benefit
               (i.e., lost consumer and producer surplus) of that product, taking into
               account the mitigating effects of potential substitutes. 45

       The current administration has recently released a draft of an updated version of the

       Circular which retains consumer surplus analysis among the key concepts used to

       estimate benefits and costs. 46

29.    The FCC, an independent agency, also applies the concept of consumer surplus. The FCC

       used a consumer surplus analysis in its decision on setting interstate rates for prison

       inmate calling services as well as having presented it in its review of the T-Mobile–Sprint

       merger application. 47


       44
           Ibid.
       45
           Ibid, pp. 11–12 (footnote omitted).
        46
           See Office of Management and Budget, “Circular A-4,” Draft for Public Review, April
6, 2023, pp. 28–31.
        47
           See Federal Communications Commission, Rates for Interstate Inmate Calling
Services, R&O/NPRM, 36 FCC Rcd 9519 (13) (2021), FCC-21-60A1_Rcd.pdf; see also
Expanding Flexible Use of the 3.7 to 4.2 GHz Band, Report And Order, Order Of Proposed
Modification, 35 FCC Rcd 2343 (3) (2020), FCC-20-22A1_Rcd.pdf; Applications of T-Mobile
US, Inc. and Sprint Corporation For Consent to Transfer Control of the Licenses and
Authorizations, Joint Opposition of T-Mobile US, Inc. And Sprint Corporation, WT Docket No.
18-197, September 17, 2018, pp. 71–72,
https://www.sec.gov/Archives/edgar/data/101830/000119312518296013/d614679d425.htm.


© NERA Economic Consulting                                                                       15
                                          Stay-Add-617
            Case: 24-1285         Document:
                                     PUBLIC 7 VERSION
                                                Page: 669          Filed: 12/26/2023




30.    A member of the FTC staff, another independent agency, provided several additional

       examples of consumer surplus analyses. In an article published in a peer-reviewed

       journal, the FTC staffer described the FTC’s approach in a deceptive advertising case the

       agency brought against Volkswagen pertaining to claims the car manufacturer made

       related to its diesel engines:

               The FTC’s goal in the settlements was to compensate for consumer injury
               caused by the alleged deception. This involves comparing consumer
               surplus with the deceptive claims to consumer surplus in the
               counterfactual universe where product features are truthfully represented. 48

       The FTC viewed the potential injury to Volkswagen’s consumers as including:

               (1) the price premium that consumers paid due to the deceptive claims, (2)
               the additional lost consumer surplus from driving the TDI diesels rather
               than the alternative (preferred) vehicle that consumers would have bought
               in the no-deception counterfactual…. 49

       The author elaborates that the FTC applied similar consumer surplus analyses in matters

       pertaining to consumer data breaches. 50

               2.      A ban’s harmful choice and price effects

31.    Granting the requested remedial orders would result in a reduction of consumer surplus

       and therefore represents a harm to the public interest. As with the Volkswagen example

       noted above, the consumer surplus loss would be twofold. First, a ban on Apple Watches

       would cause consumer surplus losses because it would remove the Apple Watch with the

       Accused Functionality from the US consumer choice set. I refer to this type of consumer

       surplus loss as the choice effect. Second, a ban on Apple Watches would reduce



       48
           J. K. Pappalardo, “Economics of Consumer Protection: Contributions and Challenges
in Estimating Consumer Injury and Evaluating Consumer Protection Policy,” Journal of
Consumer Policy, April 6, 2022, https://doi.org/10.1007/s10603-021-09482-4, p. 228.
        49
           Ibid.
        50
           Ibid, pp. 229–231.


© NERA Economic Consulting                                                                     16
                                          Stay-Add-618
            Case: 24-1285        Document:
                                    PUBLIC 7 VERSION
                                               Page: 670           Filed: 12/26/2023




       competition and exert upward pressure on retail price for alternatives. I refer to this type

       of consumer surplus loss as the price effect. The choice and price effects are additive,

       implying that the total consumer surplus loss from granting Complainants’ requested

       remedial orders is the sum of the losses from a constriction of choice and higher retail

       prices.

32.    A first example illustrates the choice effect. Consider a consumer who decides to

       purchase an Apple Watch with the Accused Functionality. That consumer’s purchase

       decision signals that the Apple Watch maximizes that consumer’s total personal utility

       (satisfaction). 51 Assume the consumer is willing to pay $500 for the device, implying that

       the consumer values the full range of functionalities of an Apple Watch at $500. Also,

       assume the consumer pays $300 for the device. This implies that the consumer realized a

       net gain or consumer surplus of $500‒$300=$200 for their Apple Watch purchase. Figure

       1 depicts this baseline scenario.

                      Figure 1: Consumer Surplus Is the Net Gain to Consumers




                      Willing to pay:           Actual price:            Consumer surplus:
                           $500            –       $300           =           $200


       Source: NERA




       51
          See, e.g., “Economics Utility and Preferences,” Cliff Notes, accessed May 30, 2023,
https://www.cliffsnotes.com/study-guides/economics/theory-of-the-consumer/utility-and-
preferences.


© NERA Economic Consulting                                                                        17
                                           Stay-Add-619
           Case: 24-1285          Document:
                                     PUBLIC 7 VERSION
                                                Page: 671          Filed: 12/26/2023




33.   Now, assume an alternative scenario where the Apple Watch is not available for purchase

      because of an import ban. If so, the consumer must switch to a second-best choice. The

      second-best choice purchased by the consumer may include a range of different product

      alternatives, including smartwatches and fitness trackers, depending on the mix of

      specific features the consumer values most. However, by definition, the consumer surplus

      the consumer gains from a second-best alternative is less than the first choice. Assume,

      the consumer decides to purchase a second-best alternative for which the consumer is

      willing to pay $300. With a sale price of $150, the consumer nets a consumer surplus of

      $300‒$150=$150 from the second-best alternative purchase. Thus, because the Apple

      Watch was not available for purchase, the consumer realized $150 in consumers surplus

      instead of $200, implying a consumer surplus loss of $200‒$150=$50. Figure 2 depicts

      the choice effect.

                        Figure 2: Fewer Choices Mean Less Consumer Surplus


                           Willing to pay:         Actual price:         Consumer surplus:
                                $500
                                               –      $300         =          $200




                           Willing to pay:            Price:             Consumer surplus:
                                $300
                                               –      $150         =          $150



                                                                       Loss to consumer: $50

         Source: NERA

34.   A second example illustrates the price effect. Consider, once more, the consumer who

      purchases the second-best alternative in the absence of the Apple Watch with the

      Accused Functionality. With a maximum willingness to pay of $300 and a retail price of



© NERA Economic Consulting                                                                   18
                                             Stay-Add-620
           Case: 24-1285          Document:
                                     PUBLIC 7 VERSION
                                                Page: 672         Filed: 12/26/2023




      $150, the consumer realizes $300‒$150=$150 in consumer surplus. However, if

      weakened competition brought about by a ban on Apple Watches allows the other

      providers to raise their prices, the consumer loses surplus. For instance, if the

      manufacturer of the second-best alternative charges $200 for the device, then the

      consumer realizes a $300‒$200=$100 in consumer surplus, implying that this consumer

      lost $150‒$100=$50 in consumer surplus because of banning the Apple Watch. Figure 3

      depicts the price effect.

                       Figure 3: Higher Prices Mean Less Consumer Surplus

                      Willing to pay:           Actual price:            Consumer surplus:
                           $300
                                          –        $150           =           $150




                      Willing to pay:
                           $300
                                          – Increased
                                                 $200
                                                      Price:
                                                             =
                                                                         Consumer surplus:
                                                                              $100


                                                                      Loss to consumer: $50

      Source: NERA

35.   As noted, the choice and price effect are additive. To reuse the two examples, a consumer

      seeking to purchase an Apple Watch with the Accused Functionality would experience a

      consumer surplus loss of $50 because that consumer’s utility-maximizing choice is not

      available and a consumer surplus loss of $50 because the consumer had to pay a higher

      price for the second-best alternative. This implies that the ban of the Apple Watch caused

      the consumer $50+$50=$100 in consumer surplus losses. Figure 4 depicts the total

      consumer surplus loss effect.




© NERA Economic Consulting                                                                   19
                                         Stay-Add-621
            Case: 24-1285         Document:
                                     PUBLIC 7 VERSION
                                                Page: 673          Filed: 12/26/2023




                          Figure 4: The Choice and Price Effects Are Additive

                           Willing to pay:         Actual price:         Consumer surplus:
                                $500
                                               –      $300         =          $200




                           Willing to pay:
                                $300
                                               – Increased
                                                      $200
                                                           Price:
                                                                  =
                                                                         Consumer surplus:
                                                                              $100


                                                                       Loss to consumer: $100

       Source: NERA

III.   GRANTING COMPLAINANTS’ REQUESTS WOULD HARM THE STATUTORY
       PUBLIC INTEREST FACTORS

36.    Granting the requested remedial orders would harm at least three of the statutory public

       interest factors. First, the public interest would be harmed by removing a smartwatch

       with a comprehensive set of health-related apps. Second, the removal of Apple as a major

       smartwatch manufacturer would weaken competition. Third, as a consequence of the

       prior two sources of harm, US consumers will suffer from the choice effect, the price

       effect, and a reduction in innovation.

       A.     An Exclusion Order Would Present Public Health Concerns

37.    A ban on Apple Watches with the Accused Functionality would raise public health

       concerns because the Apple Watch serves as an indicator of certain illnesses and helps to

       advance clinical research. Although not a medical device, banning Apple Watches with

       the Accused Functionality deprives US consumers of the health-related benefits these

       devices provide.

38.    First, as an integrated device, removing the Apple Watch with the Accused Functionality

       not only removes the Accused Functionality but also all other health features that are part


© NERA Economic Consulting                                                                      20
                                             Stay-Add-622
           Case: 24-1285         Document:
                                    PUBLIC 7 VERSION
                                               Page: 674          Filed: 12/26/2023




      forgo other health-related functionalities. Consumers who opt for other substitute

      products would similarly forgo the value of other features.

      B.      An Exclusion Order Would Harm Competitive Conditions in the United
              States

46.   Granting the requested remedial orders would cause significant disruptions in competitive

      conditions related to the sale of smartwatches. The requested remedial orders likely

      would create an artificial, immediate, and significant shortage of smartwatches. I have

      seen no evidence in the record indicating that it is reasonable to expect that other

      manufacturers of smartwatches can increase production by year-end 2023 or that other

      manufacturers would be able to completely replace the supply of excluded Apple

      Watches over the next five years. It is unlikely that these manufacturers could fill the

      void left by a ban on Apple Watches.

47.   Even if other manufacturers could increase production in time, which is unlikely, US

      consumers would still face surplus losses. Absent Apple Watches with the Accused

      Functionality, consumers would be forced to purchase their second-best alternative and

      would still face a likely retail price increase.

48.   Granting the requested remedial orders would also have a significant negative impact on

      competitive conditions related to the sale of smartwatches. First, removing Apple

      Watches with the Accused Functionality would eliminate millions of smartwatches that

      consumers have chosen as most desirable.

49.   Second, a ban would impede the progress of innovation that Apple has led. As illustrated

      in Figure 5, Apple has been at the forefront of innovation for many years. The company




© NERA Economic Consulting                                                                       27
                                          Stay-Add-623
               Case: 24-1285                        Document:
                                                       PUBLIC 7 VERSION
                                                                  Page: 675                                    Filed: 12/26/2023




       won the accolade of best invention of 2007 with its first iPhone. 79 Its iPad that it

       introduced three years later was the first in a category that later became the tablet

       category. 80 Apple, among other things, also introduced the app store, personal voice

       assistant, and digital wallet. 81 More important, Apple’s innovations prompted competing

       firms to follow suit. For instance, following the introduction of the App store in 2008,

       Google introduced the Android Market (now known as Google Play). After Apple

       introduced its voice assistant Siri in 2011, Microsoft introduced Cortana in 2014 and

       Samsung introduced Bixby in 2017.

                           Figure 5: A Ban Would Reduce Innovation in the United States
                         July 10, 2008                                2012                                                                                  2022
                         Apple introduces                             Apple introduces Passbook                                               Samsung introduces
                         App Store                                    (now known as Wallet)                                                         Multi Control
                                Fall 2008
                                Android market (now known
                                as Google Play) is released
                                                                               2013                       2016                                  2021
                                                                               Samsung introduces         Google                    Apple introduces
                          2008              2009                               its version of Wallet      introduces Pixel          Universal Control
            2007
            Apple         HTC               Motorola
            introduces    introduces        introduces
            iPhone        Dream             Droid

            2007         2008      2009         2011          2012         2013         2014       2016        2017          2019      2020        2021       2022


                                               2011                                  2014
                          2009     Apple introduces                  Microsoft introduces                                    2019          2020
                     Samsung         personal voice                          Cortana, its                                    Apple         Samsung follows Apple’s
                    introduces     assistant for iOS                       version of Siri                     2017          introduces    lead and introduces
                        Galaxy           named Siri                                               Samsung follows            Find My app   SmartThings Find
                                                                                      2014        Apple’s lead and
                                                                                   OnePlus         introduces voice
                                                                            introduces One           assistant Bixby


       Sources: NERA research.




       79
           See Lev Grossman, “Invention of the Year: The iPhone,” Time, November 1, 2007,
https://content.time.com/time/specials/2007/article/0,28804,1677329_1678542_1677891,00.html
.
        80
           See Tom Warren, “Apple’s iPad Changed the Tablet Game 10 Years Ago Today,” The
Verge, January 27, 2020, https://www.theverge.com/2020/1/27/21083369/apple-ipad-10-years-
launch-steve-jobs-tablet-market.
        81
           See “The App Store turns 10,” Apple Newsroom, July 5, 2018,
https://www.apple.com/newsroom/2018/07/app-store-turns-10/; see also “Siri,” SRI
International, accessed May 30, 2023, https://www.sri.com/hoi/siri/; see also Quina Baterna,
“What is Apple Wallet and How Do You Use It?” MUO, June 23, 2021,
https://www.makeuseof.com/what-is-apple-wallet/.


© NERA Economic Consulting                                                                                                                                   28
                                                                     Stay-Add-624
            Case: 24-1285          Document:
                                      PUBLIC 7 VERSION
                                                 Page: 676        Filed: 12/26/2023




50.    Apple’s innovations are particularly pronounced in the field of health-related

       functionalities. As summarized by Forbes, “The future of Apple’s healthcare offerings

       are [sic] incredibly bright” and “the drive with which the technology company is building

       these products is inspiring, given the significant value these features may potentially

       provide to millions of people.” 82

51.    Apple’s innovations pertaining to smartwatches have also led other firms to follow suit.

       For instance, Apple’s ECG app gained FDA clearance in 2018 with Samsung and Fitbit

       following in 2020 and Withings in 2021.83 Similarly, in 2018, Apple became the first

       smartwatch company to receive FDA clearance for its IRN feature. 84 Fitbit followed

       several years later in 2022. 85




       82
            Sai Balasubramanian, “The Apple Watch Is A Promising Venture In Healthcare
Technology,” Forbes, April 29, 2022, https://www.forbes.com/sites/saibala/2022/04/29/the-
apple-watch-is-a-promising-venture-in-healthcare-technology/?sh=22974133543c.
         83
            See Letter from Angela C. Krueger (Office of Device Evaluation), Re: DEN180044, to
Apple Inc, on September 11, 2018,
https://www.accessdata.fda.gov/cdrh_docs/pdf18/DEN180044.pdf; Letter from Jennifer Shih
(Office of Product Evaluation and Quality), Re: K201168, to Matthew Wiggins, Ph.D. (Samsung
Electronics Co., Ltd) on August 4, 2020 (with Enclosure),
https://www.accessdata.fda.gov/cdrh_docs/pdf20/K201168.pdf; see also Letter from Jennifer
Shih Kozen (Office of Product Evaluation and Quality), Re: K200948, to Shruti Rajagopalan
(Fitbit Inc.) on September 11, 2020 (with Enclosure),
https://www.accessdata.fda.gov/cdrh_docs/pdf20/K200948.pdf; Letter from Jennifer Shih Kozen
(Office of Product Evaluation and Quality), Re: K201456, to Debreuil Xavier (Withings SA) on
October 5, 2021, https://www.accessdata.fda.gov/cdrh_docs/pdf20/K201456.pdf.
         84
            See Letter from Angela C. Krueger (Office of Device Evaluation), Re: DEN180042, to
Apple Inc, on September 11, 2018,
https://www.accessdata.fda.gov/cdrh_docs/pdf18/DEN180042.pdf.
         85
            See Letter from Jennifer Shih Kozen (Office of Product Evaluation and Quality), Re:
K212372, to Randy Parry (Fitbit Inc.) on April 8, 2022,
https://www.accessdata.fda.gov/cdrh_docs/pdf21/K212372.pdf.


© NERA Economic Consulting                                                                       29
                                            Stay-Add-625
           Case: 24-1285        Document:
                                   PUBLIC 7 VERSION
                                              Page: 677          Filed: 12/26/2023




      C.      An Exclusion Order Would Harm US Consumers

52.   Considering the reduction of choice in smartwatches as well as the resulting competitive

      distortions caused by the requested remedial orders, it follows that granting these requests

      would have a significant and immediate negative impact on consumers. A ban on Apple

      Watches with the Accused Functionality would harm consumers in several ways.

53.   First, as I detail in Section II.B, an import ban would harm US consumer welfare by

      eliminating the preferred choices of smartwatch for a significant portion of US consumers

      resulting in a loss of consumer surplus, which is the difference between the value

      consumers place on Apple Watches with the Accused Functionality and the prices they

      pay for these devices. Given the substantial number of US consumers that select the

      Apple Watch over competing devices implies that this choice effect would impose

      substantial harm on the public interest.

54.   Second, as detailed in Section II.B, US consumers would suffer further surplus losses

      because of the higher prices they would likely pay for smartwatches in a post-ban

      environment. Given the substantial number of US consumers that select the Apple Watch

      over competing devices and considering the leading innovative role that Apple has played

      in developing smartwatches and other devices, the competitive shift will be significant

      with prices likely increasing. The price effect would impose substantial harm on the

      public interest.

55.   Third, if the Commission were to grant the requested remedial orders, US consumers

      would lose a substantial portion of the trade-in value of their existing Apple Watches.

      Currently, Apple and Samsung both provide trade-in services for consumers purchasing a

      new smartwatch. Apple accepts trade-ins for Apple Watches and offers up to $165 in




© NERA Economic Consulting                                                                    30
                                         Stay-Add-626
            Case: 24-1285        Document:
                                    PUBLIC 7 VERSION
                                               Page: 678            Filed: 12/26/2023




       trade-in credit for a Series 7 and $110 for a Series 6. 86 Samsung accepts trade-ins for its

       own smartwatches and for Apple, Fitbit, Garmin, and Fossil smartwatches. 87 The highest

       trade-in value Samsung offers for consumers purchasing a new smartwatch is $155 for

       the Apple Watch Series 7. The other non-Apple (and non-Samsung) watches are only

       eligible for $70 trade-ins. 88 A ban would diminish the trade-in value of the Apple Watch

       in at least three respects. First, consumers would no longer be able to trade in their Apple

       Watches to Apple because Apple would not be permitted to sell them a new Apple Watch

       that included the same features as their trade in. Consequently, the company would have

       the incentive to reduce its trade-in program. Second, other manufacturers would have

       reduced incentives to attract Apple Watch users via trade-in programs. Smartwatch

       sellers offer trade-ins as a method of keeping or attracting customers from competitors. If

       Apple’s competitiveness is diminished due to the inability to sell new Apple Watches

       with the Accused Functionality, other manufacturers will not be as motivated to attract

       users with Apple Watch trade-in programs. Third, US consumers owning an Apple

       Watch would see a reduction in the Apple Watch’s trade-in or resale value because of the

       requested ban on the importation of component parts and replacement units. 89 Such a ban




       86
           See “Apple Trade In, Apple Watch,” accessed May 28, 2023,
https://www.apple.com/shop/trade-in.
        87
           There is also a category called Other. See “Galaxy Watch5, Trade-In Brands,”
Samsung website, accessed May 30, 2023, https://www.samsung.com/us/watches/galaxy-
watch5/buy/.
        88
           See “Galaxy Watch5, Apple Trade-In,” Samsung website, accessed May 30, 2023,
https://www.samsung.com/us/watches/galaxy-watch5/buy/.
        89
           See Complainants’ Statement, p. 2; see also Complaint, ¶ 7. Apple states, “Every
Apple Watch, Apple Watch Nike, and Apple Watch Ultra comes with one year of hardware
repair coverage through its limited warranty and up to 90 days of complimentary technical
support.” (“AppleCare Products–Watch,” Apple, accessed May 28, 2023,
https://www.apple.com/support/products/watch/.)


© NERA Economic Consulting                                                                       31
                                          Stay-Add-627
           Case: 24-1285        Document:
                                   PUBLIC 7 VERSION
                                              Page: 679          Filed: 12/26/2023




      would make it more difficult for Apple to repurpose trade-ins and thus diminishes the

      value of trade-ins.


IV.   CONCLUSION

56.   Based on the analyses and considerations discussed herein, it is my expert opinion that

      the requested remedial orders pertaining to the current lineup of Apple Watches with the

      Accused Functionality as well as future Apple Watch models with the same

      functionalities would impose significant harm on the public interest. It would: (1)

      negatively impact public health by removing lifesaving functionalities, (2) impede

      clinical research, (3) distort competitive conditions, (4) create an immediate and

      significant shortfall of smartwatches, (5) harm US consumers by preventing them from

      buying an Accused Apple Watch and potentially requiring them to pay a higher price for

      whatever alternative they ultimately purchase, and (6) harm current Apple Watch users

      by diminishing the retail values of their Apple Watches.




© NERA Economic Consulting                                                                  32
                                        Stay-Add-628
            Case: 24-1285      Document:
                                  PUBLIC 7 VERSION
                                             Page: 680        Filed: 12/26/2023




I declare, under penalty of perjury under the laws of the United States of America, that the
foregoing is true and correct.




Executed June 5, 2023, in Washington, District of Columbia.




              CHRISTIAN M. DIPPON




© NERA Economic Consulting                                                             33
                                       Stay-Add-629
Case: 24-1285   Document: 7   Page: 681   Filed: 12/26/2023




        EXHIBIT 16




                      Stay-Add-630
                Case: 24-1285                   Document: 7                      Page: 682                         Filed: 12/26/2023

                                                                                                               USOO7620212B1


(12) United States Patent                                                            (10) Patent No.:                          US 7.620,212 B1
     Allen et al.                                                                    (45) Date of Patent:                               Nov. 17, 2009
(54) ELECTRO-OPTICAL SENSOR                                                     (56)                               References Cited
(75) Inventors: Jeffrey G. Allen, Albuquerque, NM                                                     U.S. PATENT DOCUMENTS
                   (US); Stephen P. Corcoran, Corrales,                                3,508,830 A                 4/1970 Hopkins elal.
                   NM (US); David M. Gabel,                                            3,910,701 A                 10, 1975 Henderson et al.
                   Albuquerque, NM (US); Damien M.                                     RE29,008 E                  10, 1976 Ott
                   Gonzales, Albuquerque, NM (US);                                     4,035,083. A                 7, 1977 Woodriff et al.
                   Robert M. Harbour, Santa Fe, NM                                                                    (Continued)
                 (US); Shonn P. Hendee, Albuquerque,
                 NM (US); Kristin A. Nixon,                                                       FOREIGN PATENT DOCUMENTS
                 Albuquerque, NM (US); Robert E.                                EP                    O 280 418 A1            8, 1988
                 Ostrom, Albuquerque, NM (US);
                 Robert K. Rowe, Corrales, NM (US);                                                                   (Continued)
                 Timothy Rowe, Cambridge, MA (US)                                                           OTHER PUBLICATIONS
(73) Assignee: Lumidigm, Inc., Albuquerque, NM (US)
                                                                                Zavala, Albert & Paley, James J. “Using fingerprint measures to
(*) Notice: Subject to any disclaimer, the term of this                         predict other anthropometric Variables' Human Factors, 1975, pp.
                 patent is extended or adjusted under 35                        591-602, vol. 17, No. 6.
                 U.S.C. 154(b) by 963 days.
                                                                                                         (Continued)
(21) Appl. No.: 10/640,503
(22) Filed:      Aug. 12, 2003                                                  Primary Examiner Aaron W Carter
                                                                                (74) Attorney, Agent, or Firm Townsend, Townsend & Crew
             Related U.S. Application Data                                      LLP
(60) Provisional application No. 60/460,247, filed on Apr.                      (57)                                 ABSTRACT
     4, 2003, provisional application No. 60/403,453, filed
     on Aug. 13, 2002, provisional application No. 60/403,                      Methods and systems are provided that extend the function
     452, filed on Aug. 13, 2002, provisional application                       ality of electro-optical sensors. A device has a multiple light
     No. 60/403,593, filed on Aug. 13, 2002, provisional                        Sources, a light detector, and a processor configured to oper
     application No. 60/403.461, filed on Aug. 13, 2002,                        ate the light sources and the light detector to perform distinct
     provisional application No. 60/403,449, filed on Aug.                      functions. At least one of the distinct functions includes a
       13, 2002.                                                                biometric identification function in which light is propagated
(51) Int. Cl.                                                                   from the plurality of light Sources through presented material.
       G06K 9/00              (2006.01)                                         The propagated light is received with the light detector, with
(52) U.S. Cl. ..................... 382/115; 340/5.53: 340/5.83;                the presented material being identified from the received
                                                         713/186                light. Another of the distinct functions includes a nonidenti
(58) Field of Classification Search ......... 382/115-127;                      fication function performed with the light sources and the
                 340/5.1, 5.2, 5.52, 5.53, 5.8–5.86: 902/3;                     light detector.
                                           356/71; 713/186
     See application file for complete search history.                                               19 Claims, 16 Drawing Sheets

                                          302
                                                   Collect tissue spectrum
                                          304
                                                  Compare tissue spectrum
                                                    with stored spectra                                      320
                                          306
                                                                                        Allow or deny access
                                                       Spectral match                       in accordance
                                                                                             with default
                                          308                  Yes
                                                 Look up enrollement criteria
                                          310

                                                      Enrollment type?
                                                                                                             312
                                          314
                                                        Deny access                          Allow access


                                                       316
                                                                     Update enrollment spectrum



                                                             Stay-Add-631
             Case: 24-1285              Document: 7            Page: 683      Filed: 12/26/2023


                                                 US 7,620,212 B1
                                                      Page 2

             U.S. PATENT DOCUMENTS                               5.459,677    10, 1995 Kowalski et al.
                                                                 5,460,177    10, 1995 Purdy et al.
4,142,797         3, 1979 Astheimer                              5483,335      1, 1996 Tobias
4,169,676        10, 1979 Kaiser                                 5,494,032     2, 1996 Robinson et al.
4,260.220         4, 1981 Whitehead                              5,505,726     4, 1996 Meserol
4.427,889          1, 1984 Muller                                5,507,723     4, 1996 Keshaviah
4,537,484         8, 1985 Fowler                                 5,515,847     5, 1996 Braig et al.
4,598,715         T. 1986 Machler et al.                         5,518,623     5, 1996 Keshaviah et al.
4,653,880         3, 1987 Sting et al.                           5,523,054     6, 1996 Switalski et al.
4,654,530         3, 1987 Dybwad                                 5,533,509     T/1996 Koashi et al.
4,655,225         4, 1987 Dahne et al.                           5,537,208     T/1996 Bertram et al.
4,656,562         4, 1987 Sugino                                 5,539,207     T/1996 Wong et al.
4,657,397         4, 1987 Oehler et al.                          5,552,997     9, 1996 Massart
4,661,706         4, 1987 Messerschmidt et al.                   5,559,504     9, 1996 Itsumi et al.
4,684,255         8, 1987 Ford                                   5,596,992      1/1997 Haaland et al.
4,712,912        12, 1987 Messerschmidt                          5,606, 164    2, 1997 Price et al.
4,730,882         3, 1988 Messerschmidt                          5,630,413     5, 1997 Thomas et al.
4,787,013        11, 1988 Sugino et al.                          5,636,633     6, 1997 Messerschmidt et al.
4,787,708        11, 1988 Whitehead                              5,655,530     8, 1997 Messerschmidt
4,830,496         5, 1989 Young                                  5,672,864     9, 1997 Kaplan
4,853,542         8, 1989 Milosevic et al.                       5,672,875     9, 1997 Block et al.
4,857,735         8, 1989 Noller                                 5,677,762    10, 1997 Ortyn et al.
4,859,064         8, 1989 Messerschmidt et al.                   5,681,273    10, 1997 Brown
4.866,644         9, 1989 Shenk et al.                           5,708,593     1, 1998 Saby et al.
4,867,557         9, 1989 Takatani et al.                        5,719,399     2, 1998 Alfano et al.
4,882,492        11, 1989 Schlager                               5,719,950     2, 1998 Osten et al.
4,883,953        11, 1989 Koashi et al.                          5,724,268     3, 1998 Sodickson et al.
4,936,680         6, 1990 Henkes et al.                          5,737,439     4, 1998 Lapsley et al.
4,944,021         7, 1990 Hoshino et al.                         5,743,262     4, 1998 Lepper, Jr. et al.
4,975,561        12, 1990 Robinson et al.                        5,747,806     5, 1998 Khalil
5,015, 100        5, 1991 Doyle                                  5,750,994     5, 1998 Schlager
5,019,715         5, 1991 Sting et al.                           5,751,835     5, 1998 Topping et al.
5,028,787         7, 1991 Rosenthal et al.                       5,761,330     6, 1998 Stolanov et al.
5,051,602         9, 1991 Sting et al.                           5,782.755     T. 1998 Chance et al.
5,068,536        11, 1991 Rosenthal                              5,792,050     8, 1998 Alam et al.
5,070,874        12, 1991 Barnes et al.                          5,792,053     8, 1998 Skladnev et al.
5,158,082        10, 1992 Jones                                  5,793,881     8, 1998 Stiver et al.
5,163,094        11, 1992 Prokoski et al.                        5,796,858     8, 1998 Zhou et al.
5,178,142         1, 1993 Harjunmaa et al.                       5,808,739     9, 1998 Turner et al.
5,179,951         1, 1993 Knudson                                5,818,048    10, 1998 Sodickson et al.
5,204,532         4, 1993 Rosenthal                              5,823.951    10, 1998 Messerschmidt et al.
5,222.495         6, 1993 Clarke et al.                          5,828,066    10, 1998 Messerschmidt
5,222,496         6, 1993 Clarke et al.                          5,830,132    11, 1998 Robinson
5,223,715         6, 1993 Taylor                                 5,830,133    11, 1998 Osten et al.
5,225,678         7, 1993 Messerschmidt                          5,850,623    12, 1998 Carman, Jr. et al.
5,230,702         7, 1993 Lindsay et al.                         5,853,370    12, 1998 Chance et al.
5,237,178         8, 1993 Rosenthal et al.                       5,857.462     1/1999 Thomas et al.
5,243,546         9, 1993 Maggard                                5,860,421     1/1999 Eppstein et al.
5,257,086        10, 1993 Fateley et al.                         5,867,265     2, 1999 Thomas
5,267,152        11, 1993 Yang et al.                            5,886,347     3, 1999 Inoue et al.
5,268,749        12, 1993 Weber et al.                           5,902,033     5, 1999 Levis et al.
5,291,560         3, 1994 Daugman                                5,914,780     6, 1999 Turner et al.
5,299,570         4, 1994 Hatschek                               5,929,443     7, 1999 Alfano et al.
5,303,026         4, 1994 Stroblet al.                           5,933,792     8, 1999 Andersen et al.
5,311,021         5, 1994 Messerschmidt                          5,935,062     8, 1999 Messerschmidt et al.
5,313,941         5, 1994 Braig et al.                           5,945,676     8, 1999 Khalil
5,321,265         6, 1994 Block                                  5,949,543     9, 1999 Bleier et al.
5,331,958         T. 1994 Oppenheimer                            5,957,841     9, 1999 Maruo et al.
5,348,003         9, 1994 Caro                                   5,961.449    10, 1999 Toida et al.
5,351,686        10, 1994 Steuer et al.                          5,963,319    10, 1999 Jarvis et al.
5,355,880        10, 1994 Thomas et al.                          5,987,346    11, 1999 Benaron et al.
5,360,004        11, 1994 Purdy et al.                           5.999,637    12, 1999 Toyoda et al.
5,361,758        11, 1994 Hall et al.                            6,005,722    12, 1999 Butterworth et al.
5,366,903        11, 1994 Lundsgaard et al.                      6,016,435      1, 2000 Maruo et al.
5,372,135        12, 1994 Mendelson et al.                       6,025,597     2, 2000 Sterling et al.
5,379,764         1, 1995 Barnes et al.                          6,026,314     2, 2000 Amerov et al.
5,402.778         4, 1995 Chance                                 6,028,773     2, 2000 Hundt
5,405,315         4, 1995 Khuri et al.                           6,031,609     2, 2000 Funk et al.
5,419,321         5, 1995 Evans                                  6,034,370     3, 2000 Messerschmidt
5.435.309         7, 1995 Thomas et al.                          6,040,578     3, 2000 Malin et al.
5,441,053         8, 1995 Lodder et al.                          6,041.247     3, 2000 Weckstrom et al.
5,452,723         9, 1995 Wu et al.                              6,041,410     3, 2000 Hsu et al.
5,459,317        10, 1995 Small et al.                           6,043,492     3, 2000 Lee et al.

                                                  Stay-Add-632
               Case: 24-1285                    Document: 7                Page: 684           Filed: 12/26/2023


                                                        US 7,620,212 B1
                                                                  Page 3

    6,044,285 A        3, 2000 Chaiken et al.                              2003/0078504 A1      4, 2003 Rowe et al.
    6,045,502 A        4/2000 Eppstein et al.                              2003/0095525 A1      5/2003 Lavin et al. ................. 370,338
    6,046,808 A        4/2000 Fately                                       2004/0047493 A1      3/2004 Rowe et al.
    6,049,727 A        4/2000 Crothall                                     2004/02407 12 A1    12/2004    Rowe et al.
    6,056,738 A        5, 2000 Marchitto et al.                            2005, 0007582 A1     1/2005    Villers et al.
    6,057,925 A        5, 2000 Anthon                                      2005/0205667 A1      9, 2005   Rowe
    6,061,581 A        5, 2000 Alam et al.                                 2006,0002597 A1      1/2006    Rowe
    6,061,582 A        5, 2000 Small et al.                                2006,0002598 A1      1/2006    Rowe et al.
    6,066,847. A       5, 2000 Rosenthal
    6,069,689 A        5/2000 Zeng et al.                                            FOREIGN PATENT DOCUMENTS
    6,070,093 A        5, 2000 Oosta et al.                            EP               O 426 358 B1        5, 1991
    6,073,037 A        6, 2000 Alam et al.
    6,088,605 A        7/2000 Griffith et al.                          EP               O 449 335 A2       10, 1991
    6,088,607 A        7/2000 Diabet al.                               EP               O 573 137 A2       12, 1993
    6,097,035 A        8/2000 Belongie et al.                          EP               O 631 137 A2       12, 1994
    6,100,811 A        8, 2000 Hsu et al.                              EP               O 670 143 A1        9, 1995
    6,115,484 A        9, 2000 Bowker et al.                           EP               O 681 166 A1       11, 1995
    6,115,673 A        9, 2000 Malin et al.                            EP               O 757 243 A1        2/1997
    6,122,042 A        9, 2000 Wunderman et al.                        EP               O 788 OOO A2        8, 1997
    6,122,394 A        9/2000 Neukermans et al.                        EP               O 801. 297 A1      10, 1997
    6,122,737 A        9/2000 Bjorn et al.                             EP               O 836 083 A1        4, 1998
    6,125,192 A        9/2000 Bjorn et al.                             EP               O 843 986 A2        5, 1998
    6,141,101 A       10/2000 Bleier et al.                            EP               O 869 348 A2       10, 1998
    6,147,749 A       1 1/2000 Kubo et al.                             EP               O 897 164 A2        2?1999
    6,148,094. A      1 1/2000 Kinsella                                EP               O 897 691 A2        2?1999
    6,152,876. A      1 1/2000 Robinson et al.                         EP               O 317 121 B1        5, 1999
    6,154,658. A      1 1/2000 Caci                                    EP               O 924 656 A2        6, 1999
    6,157,041 A       12/2000 Thomas et al.                            EP               O 982 583 A1        3f2000
    6,159,147 A       12/2000 Lichter et al.                           EP               O 990 945 A1        4, 2000
    6,172,743 B1       1/2001 Kley et al.                              WO           WO92fOO513 A1            1/1992
    6,175.407 B1       1/2001 Sartor                                   WO           WO92, 17765 A1         10, 1992
    6,181,414 B1      1/2001 Raz et al.                                WO           WO93,00855 A1           1/1993
    6,181,958 B1      1/2001 Steuer et al.                             WO           WO93,078O1 A1           4f1993
    6,188,781 B1      2/2001 Brownlee                                  WO           WO95/22046 A1           8/1995
    6,212,424 B1      4/2001 Robinson                                  WO           WO 97.23159 A1           7, 1997
    6,226,541 B1      5/2001 Eppstein et al.                           WO           WO97/278OO A1           8/1997
    6,229.908 B1*     5/2001 Edmonds et al. ............ 382,124       WO           WO 97.28437 A1          8/1997
    6,230,034 B1      5/2001 Messerschmidt et al.                      WO           WO 97.28438 A1          8/1997
    6,230,126 B1*     5/2001 Kuroda ....................... TO4,231    WO           WO98/O1071 A1           1/1998
    6,240,306 B1      5/2001 Rohrscheib et al.                         WO           WO 98.37805 A1          9, 1998
    6,240,309 B1       5/2001 Yamashita et al.                         WO           WO 98.4O723 A1          9, 1998
    6,241,663 B1       6/2001 Wu et al.                                WO           WO99.09395 A1           2/1999
    6.256,523 B1       7/2001 Diab et al.                              WO           WOO1? 15596 A1          3/1999
    6,272,367 B1       8/2001 Chance                                   WO           WO99.372O3 A2           7, 1999
    6,280,381 B1       8/2001 Malin et al.                             WO           WO99/43255 A1           9, 1999
    6,282,303 B1       8, 2001 Brownlee                                WO           WO99/46731 A1           9, 1999
    6,285,895 B1       9/2001 Ristolainen et al.                       WO           WO99,55222 A1          11, 1999
    6,292,576 B1       9, 2001 Brownlee                                WO           WO99,5661.6 A1         11, 1999
    6,301,815 B1      10, 2001 Sliwa                                   WO           WOO1, 18332 A1          3, 2001
    6,304,767 B1      10/2001 Soller et al.                            WO           WOO1,27882 A2           4, 2001
    6,307,633 B1      10/2001 Mandella et al.                          WO           WOO1,52180 A1           T 2001
    6,309,884 B1      10/2001 Cooper et al.                            WO           WOO1, 5272.6 A1         T 2001
    6,317,507 B1      1 1/2001 Dolfing et al.                          WO           WOO1,53805 A1           T 2001
    6,324,310 B1      1 1/2001 Brownlee                                WO          WO 02/084605 A2         10, 2002
    6,330,346 B1      12/2001 Peterson et al.
    6,404,904 B1       6/2002 Einighammer et al.                       WO         WO O2/O993.93 A2         12/2002
    6,419,361 B2        7/2002 Cabib et al.                            WO        WO 2004/068388 A2          8, 2004
    6,483,929 B1      1 1/2002 Murakami et al.                         WO        WO 2004/068.394 A1         8, 2004
    6,504,614 B1        1/2003 Messerschmidt et al.
    6,560,352 B2   5/2003 Rowe et al.                                                     OTHER PUBLICATIONS
    6,574,490 B2   6/2003 Abbink et al.
    6,628,809 B1   9, 2003 Rowe et al.                                 Demos, S. G. et al., “Optical Fingerprinting Using Polarisation Con
    6,668,071 B1* 12/2003 Minkin et al. ............... 382,124        trast Improvement.” Electronics Letters, vol. 33, No. 7, pp. 582-584.
    6,741,729 B2 5/2004 Bjorn et al.                                   Mar. 27, 1997.
    6,799.275 B1 9/2004 Bjorn                                          Marbach, Ralf, “Measurement Techniques for IR Spectroscopic
    6,813,010 B2 11/2004 Kono et al. ................... 356/71        Blood Glucose Determination.” Fortschritt Bericht, Series 8: Mea
    6,816,605 B2 11/2004 Rowe et al.                                   surement And Control Technology, No. 346, pp. cover and 1-158,
    6.829,375 B1* 12/2004 Higuchi...................... 382,124        Mar. 28, 1994.
2002/0101566 A1    8, 2002 Elsner et al.                               Bantle, John P. at al., “Glucose Measurement in Patients with Dia
2002/014.5507 A1* 10, 2002 Foster ....................... 340,553      betes Mellitus with Dermal Interstitial Fluid.” Copyright (C) 1997 by
2002/0171834 A1 11/2002 Rowe et al.                                    Mosby-Year Book, Inc., 9 pages.
2002/0183624 A1 12/2002 Rowe et al.                                    Berkoben et al., “Vascular Access for Hemodialysis”. Clinical Dially
2003/0016345 A1*       1/2003 Nagasaka et al. ............. 356/71     sis, published on or before Oct. 30, 1997, 20 pages.

                                                           Stay-Add-633
                 Case: 24-1285                  Document: 7                Page: 685           Filed: 12/26/2023


                                                         US 7,620,212 B1
                                                                  Page 4

Bleyer et al., The costs of Hospitalizations Due to Hemodialysis       Ronco at al., “On-line urea monitoring: a further step towards
Access Management, Nephrology News & Issues, Jan. 1995, pp. 19.        adequate dialysis prescription and delivery'. Int’l. Journal of Artifi
20 and 22.                                                             cial Organs, vol. 18, No. 9, 1995, pp. 534-543.
Daugirdas at al., “Comparison of Methods to Predict the Equilibrated   Service, F. John etat., "Dermal Interstitial Glucose as an Indicator of
Kt/V (eKt?V) in the Hemo Study”. National Institutes of Health,        Ambient Glycemia,” Diabetes Care, vol. 20, No. 9, Sep. 1997, 9
NIDDK, Bethesda, MD. Aug. 20, 1996.                                    pageS.
Depner at al., “Clinical Measurement of Blood Flow in Hemodialysis     Sherman, “Recirculation in the Hemodialysis Access'. Principles
Access Fistulae and Grafts by Ultrasound Dilution', from the Depart    and Practice of Dialysis, published on or before Oct. 30, 1997, 9
ment of Nephrology, University of California, published bon or         pageS.
before Oct. 30. 1997, 4 pages.                                         Sherman, “The Measurement of Dialysis Access Recirculation'.
Hakim et al., “Effects of Dose of Dialysis on Morbidity and Mortal     American Journal of Kidney Diseases, vol. 22, No. 4, Oct. 1993, pp.
ity'. American Journal of Kidney Diseases, Vol. 23, No. 5, May 1994,   616-621.
pp. 661-669.                                                           Steuer et al., “A New Optical Technique for Monitoring Hematocrit
Jacobs, et al., “A Disposable Urea Sensor for Continuous Monitoring    and Circulating Blood Volume: Its Application in Renal Dialysis”.
of Hemodialysis Efficiency”, USAIO Journal, 1993. pp. M353             Dialysis & Transplantation, vol. 22, No. 5, May 1993, 5 pages.
M358.                                                                  Webb, Paul, “Temperatures of Skin, Subcutaneous Tissue, Muscle
Keshaviah et al., “On-line monitoring of the delivery of the           and Core in Resting Men in Cold, Comfortable and Hot Conditions.”
hemodialysis prescription'. Pediatric Nephrology, vol. 9, 1995, pp.    European Journal of Applied Physiology, vol. 64 (1992) pp. 471-476.
S2-S8.                                                                 Brochure entitled “Determination of Delivered Therapy Through
Krivitski. “Theory and Validation of Access Flow Measurement by        Measurement of Effective Clearance', Feresenius USA, Dec. 1994, 1
Dilution Technique During Hemodialysis'. Kidney International,         page.
vol. 48, 1995, pp. 244-250.                                            U.S. Appl. No. 11/115,075. Office Action, 26 pages, Nov. 13, 2006.
Marbach, R. et al. "Optical Diffuse Reflectance Accessory for Mea      U.S. Appl. No. 1 1/115,075. Office Action, 9 pages, May 1, 2007.
surements of Skin Tissue by Near-Infrared Spectroscopy.” Applied       U.S. Appl. No. 1 1/115,075. Office Action, 7 pages, Aug. 31, 2007.
Optics, vol. 34, No. 4, Feb. 1, 1995, pp. 610-621.                     U.S. Appl. No. 1 1/115,075, Office Action, 9 pages, Feb. 1, 2008.
Mardia, K.V. at al., Multivariate Analysis, Academic Press (1979)pp.   U.S. Appl. No. 11/115,075, Advisory Action, 3 pages, Apr. 24, 2008.
300-325.                                                               U.S. Appl. No. 11/115,100, Office Action, 30 pages, Nov. 14, 2006.
Nichols, et al., “Design and Testing of a White-Light, Steady-State    U.S. Appl. No. 1 1/115,100, Office Action, 10 pages, May 1, 2007.
Diffuse Reflectance Spectrometer for Determination of Optical Prop     U.S. Appl. No. 1 1/115,100, Office Action, 9 pages, Aug. 9, 2007.
erties of Highly Scattering Systems.” Applied Optics. 1 Jan. 1997.     U.S. Appl. No. 1 1/115,101, Office Action, 24 pages, Dec. 13, 2006.
36(1), pp. 93-104.                                                     U.S. Appl. No. 1 1/115,101, Office Action, 17 pages, May 9, 2007.
Ripley, B.D., Pattern Recognition and Neural Networks, Cambridge
University Press (1996) pp. 91-120.                                    * cited by examiner




                                                            Stay-Add-634
       Case: 24-1285    Document: 7      Page: 686    Filed: 12/26/2023


U.S. Patent       Nov. 17, 2009       Sheet 1 of 16          US 7.620,212 B1


                                           30




                                  Stay-Add-635
       Case: 24-1285    Document: 7              Page: 687       Filed: 12/26/2023


U.S. Patent       Nov. 17, 2009             Sheet 2 of 16               US 7.620,212 B1




                   52        50        48         46        44     42

                                                                                      40


                                                                                     39




     -                                                                               37

                 51     49        47        36         45         43    41


                                       FIG. 2




                                   Stay-Add-636
       Case: 24-1285    Document: 7      Page: 688    Filed: 12/26/2023


U.S. Patent       Nov. 17, 2009       Sheet 3 of 16          US 7.620,212 B1




                          FIG. 3




                                  Stay-Add-637
       Case: 24-1285    Document: 7      Page: 689    Filed: 12/26/2023


U.S. Patent       Nov. 17, 2009       Sheet 4 of 16          US 7.620,212 B1




                            FIG. 4



                                  Stay-Add-638
       Case: 24-1285    Document: 7      Page: 690    Filed: 12/26/2023


U.S. Patent       Nov. 17, 2009       Sheet 5 of 16          US 7.620,212 B1




                                     (
                                     9




                                   FIG.S


                                  Stay-Add-639
         Case: 24-1285    Document: 7        Page: 691   Filed: 12/26/2023


U.S. Patent         Nov. 17, 2009       Sheet 6 of 16            US 7.620,212 B1




                                                   80




                                                                 86


         85                                                             82



    82




                                                            84
                                        81


                                    FIG. 6

                                    Stay-Add-640
       Case: 24-1285        Document: 7       Page: 692       Filed: 12/26/2023


U.S. Patent       Nov. 17, 2009           Sheet 7 of 16              US 7.620,212 B1




                                                     91




                       95
                                  93           95              93
                                V | V     V    V    V     V



              O OO O OO! O O
              O OO O OC O O                                                       95
       2-              )


                           93           95                    93



                                FIG. 7A



                                  Stay-Add-641
       Case: 24-1285    Document: 7      Page: 693    Filed: 12/26/2023


U.S. Patent       Nov. 17, 2009       Sheet 8 of 16          US 7.620,212 B1




                                            90




                                     FIG 7B



                                  Stay-Add-642
       Case: 24-1285    Document: 7      Page: 694    Filed: 12/26/2023


U.S. Patent       Nov. 17, 2009       Sheet 9 of 16          US 7.620,212 B1




                                  Stay-Add-643
       Case: 24-1285    Document: 7      Page: 695     Filed: 12/26/2023


U.S. Patent       Nov. 17, 2009       Sheet 10 of 16          US 7.620,212 B1




      112                                                                  104




                                  Stay-Add-644
       Case: 24-1285    Document: 7      Page: 696     Filed: 12/26/2023


U.S. Patent       Nov. 17, 2009       Sheet 11 of 16          US 7.620,212 B1




                                   FIG. 8C




                                  Stay-Add-645
       Case: 24-1285    Document: 7      Page: 697     Filed: 12/26/2023


U.S. Patent       Nov. 17, 2009       Sheet 12 of 16          US 7.620,212 B1




                                  O-O-G 132 - s
                                       132                            120




                                                                      120




                            FIG. 8D




                                  Stay-Add-646
       Case: 24-1285    Document: 7        Page: 698     Filed: 12/26/2023


U.S. Patent       Nov. 17, 2009         Sheet 13 of 16          US 7.620,212 B1




                                  140                                 140




                                                                 C           142




                                   FIG. 8E




                                  Stay-Add-647
          Case: 24-1285          Document: 7       Page: 699       Filed: 12/26/2023


U.S. Patent               Nov. 17, 2009         Sheet 14 of 16                US 7.620,212 B1




                     330                                                            34OB



                                                                          Computer
                                                                          Readable
                                                       340A             Storage Media
      332            334             336              338

                                                                          Computer
                                                                          Readable
    Processor(s
                      Input           Output          Storage             Storage
              (S)    Devices         Devices          Devices           Media Reader



                                                                 348                       350
                    342

         Comm.                 Processing                               Working
         System               Acceleration                              Memory
                                                                        Operating
                                                                         System
                           346
   344                              Biometric                          Other Code
                                      Sensor                           (Programs)
                    356
                                                352
                                                                  354
                                          FIG. 9




                                          Stay-Add-648
       Case: 24-1285       Document: 7          Page: 700     Filed: 12/26/2023


U.S. Patent        Nov. 17, 2009           Sheet 15 of 16              US 7.620,212 B1




     502
                                ? 500
               Collect personal information
     504
                   Acquire spectral data
     506
                 Preprocess spectral data
     508
                Check goodness of Spectra
     510

                     Data consistent
                     with calibration
                         data Set?
     514


     516
                          Evaluate
                     consistency from
                           metrics
                               Not consistent               520
     518

                   Match with existing                      Supervisor examines
                     enrolled entries?                          close match

     522
                  Enrollment authorized
     524
              Store data In enrollment database


                              FIG 10
                                     Stay-Add-649
         Case: 24-1285     Document: 7      Page: 701       Filed: 12/26/2023


U.S. Patent         Nov. 17, 2009        Sheet 16 of 16             US 7.620,212 B1




   302
                 Collect tissue spectrum
   304
                Compare tissue spectrum
                  with stored spectra                                        320
   306

                                              NO          Allow or deny access
                     Spectral match                          in accordance
                                                              with default
   308                       YeS

               Look up enrollement criteria
   310

                    Enrollment type?
                                                                             312
   314
                      Deny access                             Allow access


                     316
                           N        Update enrollment spectrum


                                     FIG 11


                                    Stay-Add-650
                Case: 24-1285                Document: 7             Page: 702            Filed: 12/26/2023


                                                     US 7,620,212 B1
                              1.                                                                2
             ELECTRO-OPTICAL SENSOR                                 attempts to answer the question of “do I know you?” The
                                                                    biometric measurement device collects a set of biometric data
          CROSS-REFERENCES TO RELATED                               and from this information alone it assesses whether the per
                 APPLICATIONS                                       son is a previously seen (“authorized”) individual. Systems
                                                                    that perform the one-to-many identification task, Such as the
   This application is a nonprovisional of and claims the           FBI's Automatic Fingerprint Identification System (AFIS),
benefit of the filing date of each of the following provisional     are generally very expensive (S10 million or more) and
applications under 35 U.S.C. S 119(e): U.S. Prov. Pat. Appl.        require many minutes to detect a match between an unknown
No. 60/403,453, entitled “BIOMETRIC ENROLLMENT                      sample and a large database containing hundreds of thou
SYSTEMS AND METHODS.” filed Aug. 13, 2002 by Robert 10 sands or millions of entries. The one-to-one mode of biomet
K. Rowe et al.; U.S. Prov. Pat. Appl. No. 60/403.452, entitled ric analysis answers the question of “are you who you say
“BIOMETRIC CALIBRATION AND DATA ACQUISI                        you are?” This mode is used in cases where an individual
TIONSYSTEMS AND METHODS.” filed Aug. 13, 2002 by makes a claim of identity using a user name, a personal
Robert K. Rowe et al.; U.S. Prov. Pat. Appl. No. 60/403.593, identification number (PIN) or other code, a magnetic card, or
entitled BIOMETRIC SENSORS ON PORTABLE ELEC 15 other means, and the device collects a set of biometric data
TRONIC DEVICES.” filed Aug. 13, 2002 by Robert K. Rowe              which it uses to confirm the identity of the person. “Identifi
et al.; U.S. Prov. Pat. Appl. No. 60/403.461, entitled              cation' will be used in this document to denote both identi
“ULTRA-HIGH-SECURITY               IDENTIFICATION        SYS        fication and Verification tasks.
TEMS AND METHODS.” filed Aug. 13, 2002 by Robert K.                    Although in general the one-to-many identification task is
Rowe et al.; U.S. Prov. Pat. Appl. No. 60/403,449, entitled         more difficult than one-to-one, the two tasks become the same
“MULTIFUNCTION BIOMETRIC DEVICES.” filed Aug.                      as the number of recognized or authorized users for a given
13, 2002 by Robert K. Rowe et al; and U.S. Prov. Pat. Appl.        biometric device decreases to just a single individual. Situa
No. 60/460,247, entitled “NONINVASIVE ALCOHOL                      tions in which a biometric identification task has only a small
MONITOR, filed Apr. 4, 2003 by Robert K. Rowe et al. The number of entries in the authorization database are quite
entire disclosure of each of these six provisional applications 25 common. For example, biometric access to a residence, to a
is incorporated herein by reference for all purposes.              personal automobile, to a personal computer, to a cellular
   This application is also related to the following commonly telephone, and to other Such personal devices typically
assigned applications and patents, the entire disclosure of require an authorization database of just a few people.
each of which is incorporated herein by reference for all             Biometric identification and verification is useful in many
purposes: U.S. Pat. No. 6,560,352, entitled “APPARATUS 30 applications. Examples include Verifying identity prior to
AND METHOD OF BIOMETRIC IDENTIFICATION OR                          activating machinery or gaining entry to a secure area.
VERIFICATION OF INDIVIDUALS USING OPTICAL                          Another example would be identification of an individual for
SPECTROSCOPY, filed Apr. 11, 2001 by Robert K. Row.et matching that individual to records on file for that individual,
al.; U.S. patent application Ser. No. 09/415,594, entitled Such as for matching hospital patient records especially when
 APPARATUS AND METHOD FOR IDENTIFICATION 35 the individual's identity is unknown. Biometric identification
OF INDIVIDUALS BY NEAR-INFRARED SPECTRUM                           is also useful to match police records at the time a suspect is
filed Oct. 8, 1999; U.S. patent application Ser. No. 09/874, apprehended, but true identity of the Suspect is not known.
740, entitled “APPARATUS AND METHOD OF BIOMET                       Additional uses of biometric identification or verification
RIC DETERMINATION USING SPECIALIZED OPTI                            include automotive keyless start and entry applications,
CAL SPECTROSCOPY SYSTEM filed Jun. 5, 2001; U.S. 40 secure computer and network access applications, automated
patent application Ser. No. 10/262.403, entitled “SPECTRO           financial transaction applications, authorized handgun use
SCOPIC CROSS-CHANNEL METHOD AND APPARA                              applications, and time-and-attendance applications. In gen
TUS FOR IMPROVED OPTICAL MEASUREMENTS OF                            eral, protected property will be the term used to describe all of
TISSUE, filed Sep. 30, 2002 by Robert K. Rowe et al.; and           the goods, places, services, and information that may require
U.S. patent application Ser. No. 10/407,589, entitled 45 biometric authorization to access.
  METHODS AND SYSTEMS FORBIOMETRIC IDENTI                              In addition to performing a biometric identification or veri
FICATION OF INDIVIDUALSUSING LINEAR OPTICAL                         fication and ensuring that the sample being measured is living
SPECTROSCOPY, filed Apr. 3, 2003 by Robert K. Rowe et tissue, there may also exist a need to determine an estimate of
al.                                                                 the age, sex, and other demographic characteristics of the
                                                                 50 person under test as part of the biometric determination task.
           BACKGROUND OF THE INVENTION                              For example, the U.S. Federal Trade Commission recently
                                                                    established a commission to examine the issue of remotely
    This application relates generally to electro-optical sen determining age of a person who is attempting to access a web
sors. More specifically, this application relates to electro site in order to block access by children to inappropriate sites.
optical sensors for use in biometric analysis of optical spectra 55 The Commission on Online Child Protection (COPA) heard
of tissue.                                                          testimony on Jun. 9, 2000 that indicated that then-known
    Biometric determination is generally defined as the process biometric techniques could not be used to aid the determina
of measuring and using one or more physical or behavioral tion of a person’s age based on any known biometric features.
features or attributes to gain information about identity, age,
or sex of a person, animal, or other biological entity. As well, 60          BRIEF SUMMARY OF THE INVENTION
in order to ensure security, the biometric determination task
may include further tasks that ensure that the sample being            Embodiments of the invention thus provide methods and
measured is authentic and being measured on a living being.         systems that extend the functionality of electro-optical sen
This latter test is referred to as a determination of liveness.     sors. In a first set of embodiments, a device is provided having
    There are two common modes in which biometric deter 65 such extended functionality. The device includes a plurality
minations of identity occur: one-to-many (identification) and oflight Sources, a light detector, and a processor configured to
one-to-one (verification). One-to-many identification operate the light sources and the light detector to perform a
                                                        Stay-Add-651
               Case: 24-1285                Document: 7             Page: 703           Filed: 12/26/2023


                                                    US 7,620,212 B1
                                3                                                               4
plurality of distinct functions. At least one of the distinct one individual. Parameters of an object are adjusted in accor
functions comprises a biometric identification function in dance with the personalized settings. The at least one indi
which light is propagated from the plurality of light sources vidual may comprise a plurality of individuals. In some
through presented material. The propagated light is received instances, changes to the parameters made by the at least one
with the light detector, with the presented material being individual may be tracked so that the personalized settings
identified from the received light. Another of the distinct may be modified in accordance with the changes.
functions comprises a nonidentification function performed           In a fourth set of embodiments, a method is provided for
with the light sources and the light detector.                    identifying a physiological state of an individual. Electro
   In some of these embodiments, the light detector may magnetic radiation is propagated into tissue of the individual.
comprise a plurality of light detectors, which may further 10 A measured spectral variation is received in the form of
comprise an array of light detectors. In one embodiment, the electromagnetic radiation scattered from the tissue of the
nonidentification function comprises a liveness function to individual. The measured spectral variation is compared with
determine whether the presented material is alive. Such a a reference spectral variation over a predetermined wave
determination may be used in some instances as part of pro length interval by comparing, at each of a plurality of wave
viding operation of an optical Switch having multistate func 15 lengths within the predetermined wavelength interval, a prop
tionality. In another embodiment, the nonidentification func erty of the measured and reference spectral variations. The
tion comprises a nonbiometric function. For example, the physiological state of the individual is determined from a
nonidentification function may comprise operation of an opti consistency of the measured spectral variation with the ref
cal communications port with the light sources and the light erence spectral variation.
detector.                                                            In some embodiments, the physiological state may indicate
   In a second set of embodiments, a portable electronic a stress level of the individual, while in other embodiments,
device having extended functionality is provided. The por the physiological state may indicate a level of truthfulness of
table electronic device comprises an electronic arrangement a statement made by the individual. The measured and refer
for performing a standard function of the portable electronic ence spectral variations may be acquired Substantially con
device, a biometric sensor, and a processor. The biometric 25 temporaneously, Such as in a common session. In other
sensor includes a plurality of light sources and a light detector instances, the physiological state may indicate a concentra
disposed relative to the light sources to detect light from the tion of a Substance in the tissue of the individual. Such as a
light sources that has propagated through tissue. The proces concentration of alcohol, bilirubin, or hemoglobin, among
sor is configured to operate the electronic arrangement to others.
perform the standard function and to operate the biometric 30
sensor. Light is propagated from the plurality of light sources          BRIEF DESCRIPTION OF THE DRAWINGS
through the tissue and the propagated light is received with
the light detector. The tissue is identified from the received       A further understanding of the nature and advantages of the
light.                                                            present invention may be realized by reference to the remain
   Examples of functions that may be performed by the elec 35 ing portions of the specification and the drawings wherein
tronic arrangement include functions of a cellular telephone, like reference numerals are used throughout the several draw
a personal digital assistant, an electronic fob, and a watch. In ings to refer to similar components. In some instances, a
Some instances, the processor may be further configured to sublabel is associated with a reference numeral and follows a
operate the biometric sensor to perform a nonbiometric func hyphen to denote one of multiple similar components. When
tion. For example, the biometric sensor may be operated to 40 reference is made to a reference numeral without specifica
perform a spectrometer function, Such as a stress-detection tion to an existing sublabel, it is intended to refer to all such
function, a lie-detector function, a tanning-meter function, a multiple similar components.
complexion-monitor function, a toxicity-monitor function,            FIG. 1 provides a perspective view of a spectral biometric
an alcohol-monitor function, a bilirubin-monitor function, a       sensor used in embodiments of the invention;
hemoglobin-monitor function, a fruit-ripeness-monitor func 45         FIG. 2 provides a schematic cross-sectional view of a bio
tion, a counterfeit-document detection function, or a color        metric sensor element coupled to a tissue surface showing
match function. In other instances, the nonbiometric function      multiple mean optical paths;
may use an illumination capacity of the plurality of light            FIG.3 provides a schematic representation of a top view of
Sources and use a detection capacity of the light detector. Such a first embodiment of a biometric sensor incorporating mul
as in performing an ambient-light-sensor function, an enter 50 tiple light Sources arranged with variable source-detector dis
tainment function, a personal-security function, a Smoke tances,
detector function, a motion-detection function, or an optical         FIG. 4 provides a schematic representation of a top view of
strobe function. In some embodiments, the nonbiometric             a second embodiment of a biometric sensor incorporating
function may use an illumination capacity of the plurality of multiple light sources arranged with a common Source-detec
light sources, such as to provide an optical-ringer function, a 55 tor distance;
flashlight function, or an optical-pointer function. In other         FIG. 5 provides a schematic representation of a top view of
embodiments, the nonbiometric function may use a detection a third embodiment of a biometric sensor incorporating mul
capacity of the light detector, Such as to provide a trickle tiple sources and a waveguide/aperture plate to provide vari
charge function or a light-meter function.                         able source-detector distances;
   In a third set of embodiments, a method is provided for 60 FIG. 6 provides a schematic representation of a top view of
managing enrollment in a biometric identification system that a fourth embodiment of a biometric sensor including multiple
accommodates extended functionality. A database is main            sight sources and multiple detectors providing variable
tained that comprises spectrally derived biometric identifica      Source-detector separations;
tion information for at least one individual and an identifica        FIG. 7A provides a schematic representation of a top view
tion of personalized settings for the at least one individual. 65 of a fifth embodiment of a biometric sensor incorporating
Collected spectral data are correlated with the spectrally multiple light Sources and multiple detectors providing Vari
derived biometric identification information for the at least      able source-detector separations;
                                                       Stay-Add-652
                Case: 24-1285               Document: 7               Page: 704           Filed: 12/26/2023


                                                     US 7,620,212 B1
                               5                                                                 6
   FIG. 7B provides a schematic representation of a top view different that human tissue due to differences in composition
of a sixth embodiment of a biometric sensor incorporating and form. The biometric identification and verification meth
multiple light sources and a detector array for providing Vari ods of the present invention can thus be used with or sepa
able source-detector separations;                                 rately from the determination whether the sample is actual
   FIG. 8A provides a schematic representation of a personal tissue or some other Substance.
biometric sensor built into a key fob:                               The inventors have also found that other spectral features
   FIG. 8B provides a schematic representation of a personal observed in the tissue spectrum relate to the age and sex of the
biometric sensor built into a backplate of a wristwatch;          person being measured. It is believed that these features are
   FIG. 8C provides a schematic representation of a personal due in part to the differences in dermal thickness between
biometric sensor built into a cellular telephone:              10 young and old people and between males and females. Such
   FIG. 8D provides a schematic representation of a personal changes in skin thickness and composition affect the optical
biometric sensor built into a personal digital assistant;         characteristics of the tissue by affecting the scattering prop
   FIG.8E provides a schematic representation of a personal erties of the sample. These properties in turn impose distinct
biometric sensor built into a combined cellular telephone/ spectral shapes on the measured tissue spectra, which can be
personal digital assistant;                                    15 extracted and used by appropriate multivariate techniques to
   FIG. 9 provides a schematic representation of a computer provide age and sex estimates.
system that may be used to manage functionality of biometric
sensors in accordance with embodiments of the invention;                                2. Optical Devices
   FIG. 10 provides a flow diagram illustrating initial biomet
ric enrollment processes in accordance with an embodiment;           Referring now to FIG. 1, a perspective view of an embodi
and                                                               ment of a typical optical sensor head in one embodiment is
   FIG. 11 provides a flow diagram illustrating biometric shown. The sensor assembly 30 comprises a plurality of light
enrollment management processes in accordance with Sources 34 arranged in a selected manner on a sensor head 32.
embodiments of the invention.                                        which also contains one or more detectors 36. The sensor
                                                                25   assembly 30 may also include power conditioning electronics
   DETAILED DESCRIPTION OF THE INVENTION                             (not shown) that Supply power to the light sources 34 and may
                                                                     also include signal processing electronics (not shown) that
                         1. Introduction                             amplify the resulting signal from the detector 36. A multicon
                                                                     ductor cable 38 provides a means to power the sensor head
   Embodiments of the invention are based on the recognition 30 and to transmit the detected signal back to a microprocessor
that an accurate, precise, and repeatable tissue spectrum of an or computer (not shown) that processes the spectral data.
individual in certain electromagnetic wavelength ranges con Alternatively, the power and/or signals to and from the sensor
tain spectral features and combinations of spectral features head can be achieved by a direct connection to the Supporting
that are unique to the individual. In some embodiments, the electronics or through a variety of electrical interconnects
wavelength ranges comprise the ultraviolet, visible, very 35 Such as PC boards, backplanes, wirebonds, IC connectors, as
near-infrared, or near-infrared ranges, or combinations of well as a variety of wireless connections including RF and
these ranges. In addition, embodiments of the invention rec optical.
ognize that analysis, Such as with discriminant-analysis tech           The light sources 34 may comprise light emitting diodes
niques, can identify these unique features or combinations,          (“LEDs), laser diodes, vertical cavity surface emitting lasers
which may not be readily apparent in visual analysis of a 40 (“VCSELs”), quartz tungsten halogen incandescent bulbs
spectral output, so that an individual’s identity may be deter with optical pass-band filters which may optionally include
mined by comparison of tissue spectral data taken at the time optical shutters, or any of a variety of other optical sources
of use and compared to stored tissue spectral data from prior known in the art. The light sources 34 can each have the same
measurement.                                                         wavelength characteristics or can be comprised of sources
   In addition, the tissue spectrum has been found not only to 45 with different center wavelengths in a spectral range from
contain information that is unique to an individual, but also to about 300 nm to about 10,000 nm. In general, the collection of
contain numerous features and combinations of features that          light sources 34 can include Some sources that have the same
indicate whether such spectral samples were taken while the wavelengths as others and some sources that are different. In
sample was alive or not. The physiological effects that give one embodiment, the light sources 34 includes sets of LEDs,
rise to spectral features that indicate the “liveness’ state of a 50 laser diodes, VCSELs, or other solid-state optoelectronic
sample, i.e. whether it is alive or dead, include, but are not devices with differing wavelength characteristics that lie
limited to blood perfusion, temperature, hydration status, glu within the spectral range from about 350 nm to about 1100
cose and other analyte levels, and overall State of tissue decay.        .
Thus, the biometric identification and verification methods of          The detector 36 may comprise a single element, a plurality
the present invention may also be used in conjunction with, or 55 of discrete elements, or a one- or two-dimensional array of
separately from, the determination of the state of the liveness elements. The detector type and material is chosen to be
of the tissue. Tissue from other biological systems, such as appropriate to the source wavelengths and the measurement
organs, animals, etc., has also been found to have spectral signal and timing requirements. These detectors can include
characteristics that are distinctly different from human skin PbS, PbSe, InSb, InGaAs, MCT, bolometers and micro-bo
due to differences in the tissue composition and form. Thus, 60 lometer arrays. In one embodiment where the light sources 34
the biometric identification methods of the present invention are solid-state optoelectronic devices operating in the spectral
may also be used in conjunction with or separately from the range from about 350 nm to about 1100 nm, a suitable detec
determination of whether the sample is human skin or some tor material is silicon.
other tissue. In addition, it has been found that tissue-like           The light sources 34 can be sequentially illuminated and
Substances Such as collagen gelatin, latex, water solutions, or 65 extinguished to measure the tissue properties for each source
others that have been used to attempt to spoof various bio by turning power to each of them on and off. Alternatively,
metric sensors have spectral characteristics that are distinctly multiple light sources 34 can be electronically modulated
                                                        Stay-Add-653
                Case: 24-1285                 Document: 7            Page: 705            Filed: 12/26/2023


                                                      US 7,620,212 B1
                               7                                                                   8
using encoding methods that are known to one knowledge            most optical measurements. For this reason, FIG. 2 illustrates
able in the art. These encoding patterns include Fourier inten    a sensor-head geometry wherein the detector 36 is recessed
sity modulation, Hadamard modulation, random modulation,          from the sensor surface 39 in optically opaque material 37
and other modulation methods.                                     that makes up the body of the sensor head 32. The recessed
   FIG. 2 shows a cross-sectional view of the sensor head 32      placement of detector 36 minimizes the amount of light that
of FIG. 1, for use in diffuse reflectance measurements. Also      can be detected after reflecting off the first (epidermal) sur
shown is tissue 40 in contact with the face 39 of the sensor      face of the tissue. It can be seen that the same optical blocking
head 32 and the mean optical paths 42, 44, 46, 48.50, 52 of the effect could be produced by recessing each of the light
light traveling from each light source 41, 43, 45, 47,49, 51,     Sources, or by recessing both the detector and the light
respectively, to the detector 36. In acquiring tissue spectral 10 Sources. Other equivalent means of optical blocking can be
data, measurements can be made in at least two different          readily established by one of ordinary skill in the art. Addi
sampling modes. The optical geometry illustrated in FIG. 2 is tionally, a force sensing functionality is sometimes built into
known as diffuse reflectance sampling geometry where the the sensor to ensure firm contact between the sensor and the
light sources and detector lie on the same side of the tissue. An skin, minimizing the amount of shunted light. Such force
alternative method is known as transmission sampling, 15 sensing may be performed in various embodiments with elec
wherein light enters a thin tissue region Such as an earlobe or tromechanical Switches, capacitive sensors, piezoelectric
a fingertip on one side and then is detected by a detector sensors, or other mechanisms known to one of ordinary skill
located on the other side of the tissue. Although light in such in the art.
regions as the silicon-region can penetrate tissue to significant    One embodiment of the sensor incorporates an optical
depths of one centimeter or more, depending upon the wave relay (not shown) between the sensor surface 39 and the skin
length, transmission sampling of the tissue limits the region 40. This optical relay transfers the light from the light sources
of the body that can be used. Thus, while either mode of to the skin and from the skin back to the detector(s) while
sampling is within the scope of the present invention, and minimizing light loss and spreading. Methods of performing
especially to analysis utilizing light in the silicon-region, a this function include fiber-optic face plates and tapers, indi
more versatile sampling method is based upon reflected light. 25 vidual optical fibers and fiber bundles, light pipes and capil
   Referring to FIG. 2, when the tissue is illuminated by a laries, and other mechanisms known to one of skill in the art.
particular light Source 41, the resulting signal detected by Optionally, the surface of the light relay can be contoured to
detector 36 contains information about the tissue optical fit specific product applications and ergonomic requirements.
properties along a path between the source 41 and detector 36.    This has the advantage that the structure of the basic sensor
The actual path of any given photon is highly erratic due to 30 can remain constant, but adapted to various product applica
effects of optical scattering by the tissue, but the mean optical tions by mounting the sensor to one of a series of optical relay
path 42 is a more regular and smooth curve, as shown in the units.
figure.                                                              FIG. 3 shows a top view of the sensor head 32 with a
   This mean optical path is, in general, different for different plurality of light sources 34 and a single detector 36 visible.
Source-detector separation distances. If another light Source 35 This figure is intended to be representative of configurations
51 is located at the same distance from the detector 36 as light that allow for a variety of sources 34 and detectors 36 that
Source 41 and the two light Sources have the same wavelength have variable spacing between them. In general, this configu
characteristics, the resulting signals can be processed as sepa ration is most applicable in cases where a small number of
rate elements or can be combined to increase the resulting light sources 34 with different wavelength characteristics are
signal-to-noise ratio of the measurement. If light source 51 40 available. In these cases, the variable distance between
has a different wavelength characteristic than light source 41    sources 34 and detector 36 are used to gather additional
then, in general, the resulting signals provide unique and optical information from the tissue.
useful information about the tissue optical properties, espe         FIG. 4 shows that the light sources 34 can also be arranged
cially as they relate to spectral biometric determinations and to be equidistant from the detector 36. This configuration is
may be analyzed as distinct data points. In a similar manner, 45 most appropriate in cases where each light source 34 is a
if two light Sources have the same wavelength characteristics different wavelength and sufficient light sources can be
and are positioned at different distances from the detector 36 obtained to achieve the desired accuracy results for the sys
(for example light sources 41 and 43) then the resulting infor tem. An example of this occurs when the individual light
mation in the two signals is different and the measurements sources are the result of combining optical filters with one or
may be recorded and analyzed as distinct data points. Differ 50 more broadband (e.g., incandescent) light sources. In this
ences in both wavelength characteristics and Source-detector case, many unique wavelength bands can be defined and each
separation provide useful information about the optical char of the sources 34 can be placed equidistantly from the central
acteristics of the tissue 40.                                       detector 36.
  In general, the detector 36 can be located in the center of the     An alternative embodiment of a variable source-detector
sensor head or it can be offsetto one side of the sensorhead 32 55 configuration is illustrated in FIG. 5, which schematically
in order to provide for greater source-detector separation depicts a top view of a sensor 70 of this type. In this embodi
distances. The sensor head 32 may have other shapes, includ ment, multiple different light sources 71, 74, 77, 80 are
ing oval, square and rectangular shapes. The sensor head 32 arranged around a common detector 83. Four different light
may also have a compound curvature on the optical Surface to sources 71,74, 77, 80 are shown for illustration but fewer or
match the profile of a device in which it is mounted, to 60 more can be used in different embodiments. Each of the light
incorporate ergonomic features that allow for good optical sources 71, 74, 77, 80 is optically coupled to a different
and mechanical coupling with the tissue being measured, or optical waveguide 72, 75, 78,81. Each waveguide 72, 75,78,
for other technical or stylistic reasons.                          81 has individually controllable electronic or mechanical
   Light that reflects from the topmost layer of skin does not optical shutters 73,76, 79, 82. These optical shutters 73,76,
contain significant information about the deeper tissue prop 65 79, 81 can be individually controlled to encode the light by
erties. In fact, reflections from the top surface of tissue allowing light to enter the tissue from a waveguide 72, 75, 78.
(known as “specular or “shunted light) are detrimental to 81 at a predetermined position or positions. One method for
                                                          Stay-Add-654
                Case: 24-1285                Document: 7               Page: 706            Filed: 12/26/2023


                                                      US 7,620,212 B1
                                                                                                    10
implementing optical shutters is using micro-electrome                  Because of the nature of optical spectroscopy, it is difficult
chanical systems (MEMS) structures, which is a technology to generate spectra of similar shape and absorbance charac
well known to one of ordinary skill in the art. In specific teristics without using similar material for the sample. For
embodiments, the light sources 71, 74, 77, 80 may comprise this reason, many common materials, such as latex and wax
different LEDs, laser diodes or VCSELs. Alternatively, one or 5 that are used to defeat other biometric systems such as fin
more incandescent sources with different optical filters can be gerprint readers or hand geometry systems are ineffective
used to generate light of different wavelength characteristics tissue Surrogates for a spectral biometric system. By perform
to couple into each of the waveguides 72, 75, 78, 81. As well, ing a spectral comparison, most non-tissue samples will be
this MEMS aperture geometry could be used with other illu rejected, resulting in a strong countermeasure capability
mination sources and geometries illustrated in the other fig 10 against potential intruders.
ures in this application.                                               Similarly, many of the spectral features that are present in
   Alternatively, multiple source-detector distances can also the wavelength ranges disclosed by this invention are indica
be achieved by using a plurality of detector elements, as tive of living tissue. These features include oxy- and deoxy
shown in FIG. 6. This figure schematically depicts a top view hemoglobin bands, temperature effects, intracellular hydra
of a sensor 80 of this type. In this embodiment, each of three 15 tion, and others. These effects contribute to the overall
different light sources 82,84, 86 is positioned relative to three spectral signature of the sample being measured and ensure
detectors 81, 83, 85 such that the spacing between a given that a matching sample is one that is part of a living personand
light source and each of the detectors is different. For normally perfused. Thus, a good spectral comparison ensures
example, the source detector spacing for a light source 82 is the “liveness” of a sample and deters the use of dead or
shortest with respect to detector 85 and longest with respect to excised tissue as a means to circumvent the spectral biometric
detector 83. By turning on the light sources 82, 84, 86 in a system.
sequential or encoded pattern and measuring the response at             In Some applications, such as Internet access authorization,
each of the three detectors 81, 83,85, the tissue characteristics    it may be useful to be able to verify the sex and/or age of the
for all of the available source-detector separations at all of the person using the spectral biometric system. Because of both
wavelengths can be measured.                                      25 age- and sex-specific difference in skin structure and compo
   Another example of the use of multiple source and detector sition, the optical spectra change in Systematic and indicative
elements that provide multiple source-detector distances is ways such that the age and sex can be estimated using the
shown with the top view of FIG. 7A. In this embodiment, the biometric spectral data.
sensor 91 includes a row of detectors 95 surrounded on either           In practicing embodiments of the present invention, the
side by rows of light sources 93. In the illustration, five 30 tissue spectral data is determined by measuring the light
detectors 95 are provided and two rows with eight sources 93         intensity received by the output sensor for the various light
are provide on either side of the detector row, although other sources which give indications of the optical properties of the
numbers and arrangements of the sources 93 and detectors 95 tissue at different wavelengths and/or at different source
may alternatively be used. The use of multiple detector ele detector separations. As is well known to one of ordinary skill
ments and multiple illumination sources can be extended to 35 in the art, the signal produced by the detector in response to
using a detector array, as shown in FIG. 7. This figure sche the incident light levels can be converted into spectral data
matically depicts a top view of a sensor 90 of this type. In this that can be recorded and used for Subsequent analysis for
embodiment, multiple light sources 92,94, 96, 98 are placed enrollment or authorization of identity.
at the perimeter of a detector array 99. The signal detected at
each of the array elements then represents a different source 40                    3. Exemplary Implementations
detector separation with respect to the light from a given light
Source. Many variants on this configuration exist including             A Small spectral biometric Subassembly, such as those
the use of one-dimensional (1D) or two-dimensional (2D) discussed above, can be embedded in a variety of systems and
arrays, and placing sources within the array as well as on the applications. The spectral biometric reader can be configured
periphery.                                                        45 as a dedicated system that is connected to a PC or a network
   The detector(s) can be any material appropriate to the interface, an ATM, Securing an entryway, or allowing access
spectral region being detected. For light in the region from to a particular piece of electronics Such as a cellular phone,
about 350 nm to about 1100 nm, a suitable detector material          personal digital assistant (PDA), electronic fob, or any
is silicon and can be implemented as a single-element device, other portable electronic device. In this mode, one or more
a collection of discrete elements, or a 1D or 2D array, depend 50 people can be enrolled in the biometric system and use a
ing upon the system configuration and encoding method used. particular reader to gain access to a particular function or
For light in the region from about 1.25 to about 2.5 Lim, a aca.
Suitable detector material is InGaAs and can also be imple              Alternatively, the spectral biometric System can configured
mented as a single element, a collection of elements, or a 1D as a personal biometric system that confirms the identity of a
or 2D array. Additional detector materials and means of 55 person authorized to use the device (who could be one of a
detection include InSb, Ge, MCT, PbS, PbSe, bolometers,              plurality of people authorized by the device), and transmits
and others known to one of ordinary skill in the art.                this authorization and any necessary identifying information
   Once the light passing though the tissue is detected, the about the user to any properly equipped PC, ATM, entryway,
signals can be digitized and recorded by standard techniques. or piece of electronics, that requires access authorization. The
The recorded data can then be processed directly or converted 60 personal biometric could, after confirming the identity of the
into absorbance spectra or noised-scaled absorbance spectra user, transmit specific user information and device-specific
as is known to one of ordinary skill in the art. The data can information along with or instead of an authorization. User
then be used for spectral identification or verification by the specific information may include identity, financial informa
methods described in U.S. Pat. No. 6,560,352, U.S. patent tion, medical information, or other pieces of personal infor
application Ser. No. 09/415,594, and/or U.S. patent applica 65 mation. Device-specific information may include serial
tion Ser. No. 10/407.589, all of which have been incorporated number, tamper warnings, battery-low or other service mes
herein by reference.                                                 sages, and other pieces of information.
                                                         Stay-Add-655
                Case: 24-1285                 Document: 7               Page: 707             Filed: 12/26/2023


                                                       US 7,620,212 B1
                                11                                                                       12
   Instead of performing the biometric authorization proce              etries previously   disclosed or  other equivalent configurations
dure onboard the personal biometric system, one can measure can be used for this application.
the spectral biometric data of the person and transmit the data            In addition to the watch or fob, similar biometric capability
and any associated identifying information about the user and can be built into other personal electronic devices. For
device to the reader for authentication. One advantage of this example, FIG. 8C provides side and back schematic illustra
latter approach is that the personal biometric system can tions of a cellular telephone 120 that comprises a biometric
transmit an identifying code to the reader unit and then use the reader 122. In this instance, the biometric reader 122 is shown
biometric signal to confirm authorization, which implies that on the back of the cellular telephone 120, although it may be
the system needs to perform a verification task rather than the 10 placed        in other positions as well. FIG. 8C shows the variable
                                                                        spacing sensor geometry of the biometric reader 122
more difficult identification task. Yet, from the user's perspec described
tive, the system recognizes the user without an explicit need only; morewith               respect to FIG. 3 for illustration purposes
                                                                                      generally, any of the sensor geometries previously
to identify himself or herself. Thus, the system appears to disclosed                or other equivalent configurations can be used for
operate in an identification mode, which is more convenient this application.              The operation of the biometric reader 122 in
for the user.
                                                                     15 the cellular telephone 120 may be similar to that described in
   An additional advantage of a personal biometric system is
that if an unauthorized person is able to defeat the personal connectiondigitization
                                                                                      with FIG. 8A for the fob, with data collection and
                                                                                       devices being included internal to the cellular
biometric system code for a particular biometric system telephone. Comparisons                      between measured spectral data and
person combination, the personal biometric system can be a previously recorded enrollment spectrum may be made
reset or replaced to use a new identifying code and thus within the cellular telephone 120 or at a separated reader.
re-establish a secure biometric for the authorized person. This            FIG. 8D provides a further example of a personal elec
capability is in contrast to multi-person biometric systems tronic              device that may be configured with biometric capabil
that base their authorization solely on a biometric signature ity in the form of a PDA 130, with both side and front sche
(spectral, as well as any of the other biometric techniques matic views. In this instance, the biometric capability is
Such as fingerprint, iris, facial, etc.). In this latter case, if an 25
intruder is able to compromise the system by Somehow imi provided                   with a biometric reader 132 on the side of the PDA
                                                                        130, although other alternative positions may be used. The
tating the signal from an authorized user, there is no capability variable-spacing          sensor geometry described with respect to
to change the biometric code since it is based solely on a fixed FIG. 3 is used to illustrate one form of the biometric reader
physiological characteristic of a person.                               132, in this case having light sources distributed elliptically
   FIG. 8A shows one embodiment of a personal spectral 30 about the detector, more generally, any of the sensor geom
biometric system 100 in the configuration of an electronic key etries previously disclosed or other equivalent configurations
fob 102. The equidistant sensor configuration of FIG. 4 is can be used for this application. As for the other devices, data
shown for illustration purposes only; more generally, any of collection and digitization devices may be included internally
the disclosed sensor configurations (or other equivalent con to the PDA 130 to perform data collection and digitization
figurations) may be implemented in the electronic key fob. 35 functions. Comparisons between measure spectral data and
The illumination 104 and detection system 106 are built into an enrollment spectrum may be made within the PDA 130 or
the fob 102, as are the data collection and digitization devices at a separated reader.
for collecting and digitizing the spectral information. In one             Still another example of a personal electronic device con
embodiment, short-range wireless techniques based upon RF figured with biometric capability in accordance with an
signals 103 can be transmitted to communicate between the 40 embodiment of the invention is shown in FIG. 8E for a com
fob and a corresponding reader (not shown) that allows access bined cellular telephone/PDA 140 with top and front views.
to the PC, entryway, etc. In another embodiment, an infrared The location of the biometric reader 142 may be in any
optical signal can be used to transmit the information between suitable location, but is shown on the top for illustrative
the fob and the reader. In another embodiment, a direct elec            purposes. The illustration of the biometric reader 142 having
trical connection is established between the personal biomet 45 the variable-spacing geometry described with respect to FIG.
ric system and the reader. The actual comparison between the 3 is again not intended to be limiting since any of the previ
measured spectral data and the previously recorded enroll ously disclosed sensor geometries or other equivalent con
ment spectrum (template) can be made either within the fob or figurations may alternatively be used.
at the reader. In the former case, the logical operations nec              Still other devices may be configured to include the bio
essary to perform the comparison are done within the fob and 50 metric sensor in other embodiments. For example, the com
then a simple confirmed or denied signal is transmitted to the pact sensors disclosed can also be put into firearms to prevent
reader. In the latter case, the most recent measured spectrum unauthorized usage. In particular, the biometric sensor could
is transmitted to the reader and the comparison and decision be placed in the handgrip of a weapon Such as a handgun or
is accomplished at the reader or at a host to which the reader other firearm to sense tissue properties while the gun is being
is connected. In either case, the communication between the 55 held in a normal manner.
fob and the reader needs to be performed in a secure manner                Management of the functionality discussed herein for the
to avoid interception and unauthorized use of the system. biometric sensor may be performed with a computer system.
Methods for ensuring secure communication between two The arrangement shown in FIG. 9 includes a number of com
devices are well known to one of ordinary skill in the art.             ponents that may be appropriate for a larger system; Smaller
   A second embodiment of a personal spectral biometric 60 systems that are integrated with portable devices may use
system 110 is depicted in FIG. 8B. In this case, the biometric fewer of the components. FIG.9 broadly illustrates how indi
reader 111 is built into the case of a wristwatch 112 and               vidual system elements may be implemented in a separated or
operates based upon signals detected from the skin in the area more integrated manner. The computational device 330 is
of the wrist. The operation of this system is identical to the shown comprised of hardware elements that are electrically
operation described for the biometric fob. FIG. 8B again 65 coupled via bus 342, which is also coupled with the biometric
shows the equidistant-sensor geometry of FIG. 4 for illustra sensor 356. The hardware elements include a processor 332,
tion purposes only; more generally, any of the sensor geom an input device 334, an output device 334, a storage device
                                                          Stay-Add-656
                Case: 24-1285               Document: 7              Page: 708            Filed: 12/26/2023


                                                     US 7,620,212 B1
                               13                                                                  14
338, a computer-readable storage media reader 340a, a com sensor and a trigger is given. The trigger can be manually
munications system 344, a processing acceleration unit 346 activated or based on a mechanical, optical, electrical or mag
Such as a DSP or special-purpose processor, and a memory netic Switch that senses contact between the sensor and the
348. The computer-readable storage media reader 34.0a is skin site being enrolled. As few as a single enrollment sample
further connected to a computer-readable storage medium can be taken, but more typically two or more independent
340b, the combination comprehensively representing remote,          samples are taken to ensure that the samples are consistent, as
local, fixed, and/or removable storage devices plus storage explained later in the sequence. If multiple enrollment
media for temporarily and/or more permanently containing samples are taken, the person being enrolled typically with
computer-readable information. The communications system draws their hand from the sensor and replaces it in order to
344 may comprise a wired, wireless, modem, and/or other 10 collect a new independent sample.
type of interfacing connection and permits data to be                  Once the candidate enrollment sample or samples are col
exchanged with external devices. The storage devices typi lected, they may undergo one or more preprocessing opera
cally hold information defining the stored spectra as well as tions 506. Preprocessing of the spectral data may include a
any personalized-setting information that may be used.              decoding step if the data were collected in an encoded fashion
   The computational device 330 also comprises software 15 Such as Hadamard, Fourier, frequency division multiplexing,
elements, shown as being currently located within working spread spectrum techniques, and others of similar nature.
memory 350, including an operating system 352 and other Operations necessary to invert the encoding imposed by Such
code 354. Such as a program designed to implement methods techniques are well known to one of ordinary skill in the art.
of the invention. It will be apparent to those skilled in the art Other systems such as sequential illumination of different
that Substantial variations may be used in accordance with wavelength sources do not require decoding.
specific requirements. For example, customized hardware                Whether or not the data are required to be decoded, addi
might also be used and/or particular elements might be imple tional preprocessing steps may include generating the ratio of
mented in hardware, Software (including portable Software, the biometric spectra to an optical reference spectrum, per
Such as applets), or both. Further, connection to other com forming a logarithmic transform of the spectral data, perform
puting devices such as network input/output devices may be 25 ing explicit corrections to account for sensor-to-sensor varia
employed.                                                           tions or environmental influences of temperature, humidity
                                                                    and pressure, Scaling the data by Some function, and selecting
                    4. Enrollment Functions                         certain Subsets of the spectral data for further processing.
                                                                    These and other techniques are well known in the art.
   a. Initial Enrollment                                         30    After preprocessing, if any, the spectra can then be checked
   In FIG. 10 the major elements of a spectral biometric for goodness 508, which confirms that the candidate enroll
enrollment sequence 500 are shown. Since a successful ment spectra have optical characteristics that are similar to the
enrollment authorizes the user for future access to the systems type of tissue for which the sensor is calibrated. In particular,
or services protected by the biometric, the enrollment if the goodness check 508 generates a metric or metrics that
sequence 500 is generally performed under secure means or 35 ensures that the enrollment samples have optical properties
controlled situations. Where applicable, enrollment might be that are similar to living skin collected from a human hand
Supervised by an authorized person (e.g. for a bank clerk (for example). As such, this procedure performs the spectral
would have to supervise enrollment in a biometric system liveness determination for the enrollment data. In order to do
used for automated financial transactions) or take place in an this, the candidate enrollment samples are compared to cali
authorized location (e.g. enrollment for a biometrically 40 bration factors that describe the spectral qualities of the cali
enabled automobile might have to occur at an authorized car bration samples (which in this example are presumed to be
dealership), or take place when an authorizing token is pre taken from the skin on one or more living human hands).
sented (e.g. a password or key is used to start the enrollment These factors can be generated using a variety of standard
process), or take place under authorized conditions (e.g. a techniques including principal component analysis, linear
biometrically enabled cell phone can only initialized when 45 discriminant analysis, partial least squares, Fourier analysis,
located in a particular authorized household), or occur only cluster analysis and other numerical modeling methods
when a device is first activated or reset.                          known to one of ordinary skill in the art.
   Once the enrollment is enabled, the sequence 500 begins             Analyses and metrics that can used to ensure that the can
with the collection of personal information 502, which is didate enrollment samples are good (i.e. consistent with the
linked to the spectral biometric data. At a minimum, this 50 calibration data) include Mahalanobis distance, Euclidean
personal information consists of a unique identifier that can distance, residuals of the enrollment spectra when fit by the
be used by automated or manual means to refer to the par calibration factors, cluster analysis and other methods that are
ticular biometric enrollment data. The personal information known to one of ordinary skill in the art (see for example,
can also include items such as name, addresses, contact infor       Multivariate Calibration by Martens and Naes, John Wiley &
mation, demographic information, medical information, 55 Sons, 1993, chapter 5, which is incorporated herein by refer
passwords and PINs for other systems, authorization codes, ence). The goodness decision 510 is based on one or more of
links to other databases or systems, and any other information these metrics to determine if each of the candidate enrollment
pertinent to the particular biometric application. These infor spectra is consistent with the calibration data set. If so, the
mation can be entered by a variety of means including manual enrollment process continues with a consistency check
entry during an enrollment interview, read automatically 60 described below. If not, the candidate enrollment data are
from a magnetic card, proximity card, or Smart card, or down discarded at block 512 (either all enrollment samples or only
loaded from other systems and databases.                            the ones that are deemed to be not good) and new enrollment
   When the collection of personal information 502 is com data are collected to replace them. There are also a variety of
plete, the next block shown in the sequence is the acquisition logical options that the enrollment process can be incorpo
of spectral data 504. The acquisition commences when the 65 rated in this loop that are not shown, such as a try counter to
person being enrolled places the appropriate portion of the permit a limited number of enrollment attempts before flag
hand or other body part in contact with the spectral biometric ging an error condition.
                                                        Stay-Add-657
                Case: 24-1285                 Document: 7              Page: 709            Filed: 12/26/2023


                                                      US 7,620,212 B1
                                15                                                                  16
   The next step in the enrollment process 500 is the genera         b. Other   Enrollment     Functions
tion of consistency metrics 514 followed by a consistency            Several embodiments of the invention provide methods for
decision 516 based on those metrics. The consistency check managing enrollment. An outline of several aspects of Such
confirms that the multiple candidate enrollment samples are enrollment management is presented in FIG. 11, which pro
sufficiently similar to each other to take them as valid. This vides an overview of an identification or verification function
portion over the overall procedure 500 is omitted in cases in the form of a flow diagram. When the identity of an indi
where the system operates with only a single candidate vidual is to be checked to determine whether to allow or deny
enrollment spectrum is taken. In cases where a consistency access, a tissue spectrum is collected from the individual at
determination 516 is performed, the methods used can be 10 block          302 using one of the methods and systems described
similar to the methods used for goodness 510 with the differ above.       The collected tissue spectrum is compared with a set of
ence being that the enrollment spectra are compared to them one or more stored spectra at block 304. Such a comparison
selves instead of compared to the calibration data. As an includesspectra
                                                                             extracting the relevant identification indicia from the
                                                                            as  described above and examining corresponding
example, consider the case where Mahalanobis distance is database entries.              Identification of a match between the col
used as a metric for both the goodness 508 and consistency 15 lected spectrum and          a stored spectrum at block 306 generally
514 steps. In the case of goodness, the spectral mean of the
calibration data is subtracted from each of the candidate         comprises     ensuring    that the relevant identification indicia
enrollment data and the Mahalanobis distance of this differ       differ by less than a predetermined threshold.
ence is calculated. If the distance is consistent with the dis       If there is no match between the collected spectrum and any
tances that the mean-centered calibration data produced, then     of the stored spectra, the individual is either allowed access or
the goodness according to this metric is acceptable. Con denied            access in accordance with a default setting of the
versely, when using the same data and same metric for a system.             It is expected more usually that the inability of the
consistency check, the mean of the candidate enrollment of access.identify
                                                                  system   to            the individual will result in a default denial
spectra themselves are subtracted from each of the candidate possible for the system tomatch
                                                                                If a  spectral         is found at block 306, it is
                                                                                                 respond in a similar default manner,
spectra (or other similar operations can be performed Such as 25
Subtracting on of the candidate spectra from each of the Such as by providing access to any individuals that are prop
others). If the resulting Mahalanobis distances are sufficiently erly    identified. The flow diagram indicates additional
Small, then the candidate enrollment spectra are deemed to be embodiments,
                                                                  specific  denial
                                                                                     however, that provide for the possibility of
                                                                                     of access to certain identified individuals. At
consistent in the consistency decision 516.                       block 308, enrollment criteria for the identified individual
   The outcome of the consistency decision 516 has similar 30
options and results as the goodness decision 510. In the case indicating       whether that person is to be allowed or denied
                                                                  access are examined. In accordance with the check at block
where the candidate enrollment samples are found to be 310, access is either allowed or denied at block 312 or 314
inconsistent, Some or all of the samples are retaken. In the depending on the enrollment type of the individual.
case where the samples are found to be consistent, then the          The ability to identify individuals who are explicitly to be
enrollment process 500 may proceed to check for a match 35 denied
with the existing enrolled entries 518. Determining where to thoseaccess,     who
                                                                                    as opposed to denying access on a default basis
                                                                                    cannot be identified, provides a number of
there is a match with the existing enrolled data is particularly advantages to the      system. For example, if the biometric sen
important in a biometric system that is being used in an sor is comprised by               a handgun, the system may identify the
identification mode where participants may have an incentive owner as the only individual permitted to use the device, and
to assume false identities. Examples of Such situations 40 may additionally explicitly prohibit individuals identified as
include biometrics systems used to authorize voting, the issu
ance of a driver's license, identification card, passport, credit the  owner's children from using the device. Thus, in accor
                                                                  dance with the flow diagram of FIG. 11, when the owner
card, welfare benefits or other item of tangible value.           wishes to use the device, his identity is confirmed at block 306
   Matching against the enrolled database 518 relies on the and he is allowed access at block 312. When an unknown
use of specific, predetermined spectral features or factors. 45 party attempts to use the device, he is denied access on a
These factors are determined during an earlier calibration default basis at block 320. When one of the identified owner's
phase and are chosen to enhance person-to-person effects children attempts to use the device, however, access is denied
relative to typical spectral changes experienced by a single explicitly at block 314. Such explicit denial provides greater
person or changes that occur within and between biometric         security against misuse of the device.
sensors. Examples of techniques for generating the factors 50 It is also possible to use the explicit-denial capability of a
include principal component analysis, linear discriminant biometric system in a fixed installation Such as a home, place
analysis, quadratic discriminant analysis, partial least of business, or an automobile. For example, a biometric sys
squares, and other multivariate methods as is known to one of tem installed at the entryway of a place of business can be
skill in the art. In one embodiment, the factors for determining used to admit authorized employees and temporary workers.
a match to the enrolled database 518 are generated using 55 If an employee is fired or the term of the temporary employee
principal component analysis (PCA) operating on a set of expires, then their enrollment data can be shifted from the
calibration data that have been collected from multiple people authorized to the unauthorized database, and an explicit
in multiple environmental conditions over time spans that are check is made to deny access to the former employee if he or
representative for the actual operation of the biometric sensor.  she attempts to enter.
   In the case where a close match is found, a properly autho 60 In some embodiments, allowing access at block 312 may
rized Supervisor can examine the pertinent details at block also comprise personalizing settings. For example, Supple
520 and decide whether to authorize the enrollment 522 based      mentary information regarding the identified individual may
on any evidence of falsification. In the cases where either no be stored in addition to storing identification indicia. This
close matches are found or a Supervisor authorizes enrollment Supplementary information may also be updated over time to
in the presence of a close match at block 522, the enrollment 65 reflect better identification of settings suitable for each indi
data are stored in the enrollment database 524 and the enroll     vidual. For example, in one embodiment the biometric sensor
ment process is completed.                                        is comprised by an automobile that is used by multiple indi
                                                         Stay-Add-658
                Case: 24-1285               Document: 7              Page: 710            Filed: 12/26/2023


                                                     US 7,620,212 B1
                               17                                                              18
viduals and acts as a security device. When one of those cially suitable when the biometric sensor is comprised by a
individuals accesses the automobile, she is not only provided portable device, such as a portable electronic device. In some
with access to it at block 312, but environmental aspects such embodiments, activation of the Supplementary functions may
as seat positions, radio settings, temperature, etc. and safety be tied with a service contract. In these instances, some of the
characteristics such as air-bag deployment profiles are auto functions may be of interest to a customer for a modest
matically configured for her. In another embodiment, the increase in service fee even if the customer would not be
biometric sensor is comprised by a television remote control inclined to purchase a separate device dedicated to perform
and is positioned to identify the individual holding the device ing those functions. For example, in one embodiment, the
automatically. A processor programmed to track viewing biometric sensor is comprised by a cellular telephone. The
habits is configured to discriminate by the identified indi 10 cell-phone provider offers extended functionality of the bio
vidual. Thus, over time, whenever one of the individuals            metric sensor in accordance with the embodiments described
handles the remote control, it may automatically adjust set below for the modest fee surcharge.
tings, such as selecting certain preferred channels, Volume            a. Spectrometer Capabilities
levels, etc., that are individualized. The preceding are               In one set of embodiments, the spectral-analysis capabili
examples in which the biometric sensor is used to automati 15 ties of the biometric sensor are extended to spectral analysis
cally personalize the device or environment to the specific of material other than tissue. While a number of specific
person’s requirements or tastes.                                    examples are provided to illustrated such extended function
   In applications that are dedicated to personalization tasks ality, the examples are not intended to be limiting and several
rather than providing security against unauthorized usage, a other examples will be evident to those of skill in the art after
further processing step on initial enrollment may be per reading this description. In some of the embodiments, the
formed. Once a good enrollment spectrum is collected, or an spectral-analysis capabilities are to identify changes, such as
existing enrollment spectrum is updated, a mathematical for the detection of conditions in humans that manifest them
analysis is initiated to determine features that best separate selves through spectroscopic changes in skin or other tissue.
the existing enrolled users. The result of this discriminant In other embodiments, the spectral-analysis is performed
analysis then modifies the calibration coefficients that are 25 according to an absolute scale where the specific spectral
used in blocks 304 and 306 of FIG. 11 to determine a match          characteristics are independently relevant. In some of the
ing tissue spectrum. The ability to customize the calibration specific embodiments discussed below, the spectral analysis
coefficients for a particular set of enrolled users in this way is used to identify a physiological state of an individual.
allows the overall performance of the personalization task to Identification of Such a physiological state may be made by
be improved.                                                     30 measuring the spectral variation of a measured spectrum for
   Block 316 of FIG. 11 indicates another enrollment aspect light scattered by tissue of the individual, and comparing it
included in certain embodiments of the invention. Over time,        with a reference spectral variation. The consistency of the
it is possible for changes to occur in any living system that measured spectral variation with the reference spectral varia
may result in changes to the spectral identification indicia tion allows a determination of the physiological state.
used in embodiments of the invention. These differences are 35         For example, in one embodiment, the extended function
generally insufficiently large to prevent a proper identifica ality comprises a stress and/or lie detector. It is known that
tion, but may accumulate over time. In a similar manner,            stress in humans causes a characteristic change in skin color,
Small but progressive changes in the sensor due to aging, wear usually reddening, that may be detected spectroscopically.
or environmental effects can also accumulate to significant The change in skin color is believed to result from changes in
levels. Thus, in either case, once a spectrum collected at block 40 the flow of blood in tissue as a result of the stress. This
302 is authenticated, an update may be performed of the extended functionality may be included in the device by stor
stored spectrum at block 316 to reflect the differences ing a reference spectrum for individuals when they are not
between the current spectrum and the stored enrollment. under stress. When a Subsequent spectrum is measured in
While such an update could comprise substituting the stored accordance with the descriptions above, it may be compared
spectrum with the collected spectrum, more generally the 45 to the reference spectrum using an appropriate multivariate
method uses a weighting averaging technique to mitigate discrimination method such as linear or quadratic discrimi
sharp changes.                                                      nant analysis to determine whether Such indicia of stress are
   Such an updating technique may also be used in other present. In some cases, the measured and reference spectra
embodiments. For example, spectral variations may also may be acquired close in time. For example, during a ques
result from differences in individual biometric sensor 50 tioning session, an initial spectral baseline may be determined
arrangements. Thus, in one embodiment, a spectral profile for by having a Subject respond to a base set of questions in a
each individual is stored for each sensor, either locally to the known manner, responding truthfully to some and falsely to
sensor or centrally with an identification of the sensor. others. These results then effectively provide a spectral cali
Updates are then performed for each sensor when an indi bration against which the response to questions whose truth
vidual uses it for identification, having the effect of tuning 55 fulness is unknown may be measured.
each biometric sensor to its own individual characteristics.           In another embodiment, the extended functionality com
   The enrollment-management methods described with prises a tanning meter. Similar to the stress and/or lie detector,
respect to FIG. 11 may be implemented on a computational functionality as a tanning meter is included by identifying
device such as the one illustrated schematically in FIG. 9.         changes in skin color, in this instance in response to exposure
                                                                 60 to Sunlight or other ultraviolet radiation, such as may be
                   5. Extended Functionality                        provided in a tanning booth. An advantage to this use of the
                                                                    device is that exposure levels may be quantified on an indi
   A number of embodiments of the invention exploit the vidual basis and close in time to the tanning activity in order
illumination and/or light-detection capabilities provided by to rapidly determine Sufficient exposure and avoid overexpo
the biometric sensor. These capabilities are used to provide 65 Sure. Other techniques for determining excessive exposure
functions that are Supplementary to the identification and/or are qualitative, relying on Such broad factors as general skin
Verification functions. As such, these embodiments are espe type, eye color, hair color, etc. These qualitative techniques
                                                        Stay-Add-659
               Case: 24-1285                Document: 7             Page: 711            Filed: 12/26/2023


                                                    US 7,620,212 B1
                               19                                                                20
provide, at best, a crude estimation of excessive exposure. complimentary colors of textiles, clothing, etc. As a further
Use of the spectral analysis provided by embodiments of the example, ink colors used in documents such as currency and
invention instead provides much more accurate information. other government documents may be quantified. Comparison
   In a further embodiment, the extended functionality com of measured spectra for Such documents with Stored spectral
prises a complexion monitor. In a number of applications, characteristics of approved inks permits the identification of
notably in the cosmetics industry, skin color and composition counterfeit documents. Thus, a portable electronic device that
are used as a guide. Such as for choices in make-up color, includes a sensor of the type described above may be provided
hair-dye color, clothing color, etc. Qualities of the skin of with extended functionality as a counterfeit-currency detec
interest in this application may include amount and type of tOr.
collagen, melanin, elastin, sebum, hemoglobin, moisture 10 b. Combined Illumination and Detection Components
content, skin Surface characteristics, and other physiological,       In other embodiments, additional extended functionality is
chemical, and structural characteristics of the skin. The abil     provided by using combined illumination and detection capa
ity of embodiments of the invention to quantify skin charac bilities of the biometric sensor. For example, in one embodi
teristics permits more reliable choices than provided by ment, the device is used as a Smart optical Switch. In Such an
purely qualitative evaluations of skin color.                   15 embodiment, the ability of the device to identify the liveness
   In some instances, the physiological state of an individual of tissue, as described above, is used so that an electronic
may be defined by concentration of a Substance in the indi device is turned on only when touched by living tissue, usu
vidual’s tissue. For instance, the extended functionality may ally the finger of a person. Such functionality is particularly
comprise a hemoglobin monitor. Similar to the effects of useful in the context of portable electronic devices, which are
stress, increased activity levels in individuals as well as cer often left in purses, briefcases, pockets or other places where
tain medical conditions are manifested by changes in blood they may be activated inadvertently, possibly wasting signifi
flow in the body. Such changes in blood flow cause spectro cant battery life. Such inadvertent activation is avoided by the
scopic changes that may be detected according to the methods ability to confirm liveness of an object that touches the switch.
described above. According to this embodiment, these spec As well, the Smart switch functionality is applicable to power
troscopic changes are correlated with oxygenation and/or 25 tools, manufacturing equipment, industrial machinery, and
hemoglobin levels in the blood. In addition to medical uses, other potentially dangerous environments and conditions. In
the ability to quantify oxygenation levels is useful for indi each of these cases, a Smart Switch can be used to ensure that
viduals in monitoring exercise levels.                             the tool, piece of equipment, manufacturing station, etc. was
   Spectroscopic changes associated with different physi turned on intentionally by a human hand or hands rather than
ological states in human tissue may also result from the 30 by an accidental touch of an inanimate object. In cases where
release of certain pigments in response to pathological con the smart switch functionality is the sole functionality
ditions. One example is provided by bilirubin, which is a required of the device, the configuration of the device can be
reddish bile pigment that is released when liver tissue is simplified relative to a biometric sensor. More generally,
diseased. The presence of the pigment causes a jaundicing of however, the multifunction capabilities, including the Smart
the affected person’s skin. Such changes in skin color may be 35 optical Switch, may be included with any implementation of
identified using the methods described above. Accordingly, in the biometric sensor.
one embodiment, an extended functionality of the biometric            The optical switch may also be configured with trinary
sensor allows it to function as abilirubin monitor. In other       functionality in some embodiments. Such functionality may
embodiments, levels of other pigments may similarly be respond to different pressure levels with which a finger
monitored.                                                      40 presses the optical switch. Such differences in pressure levels
   The presence of toxic substances in an individual’s blood affect the optical properties of skin through a variety of physi
may also manifest itself spectroscopically because of the ological phenomena including changes in local tissue perfu
effect such toxins have on vascularity as well as a direct Sion, changes in water Volume, and other changes in the
spectroscopic signature in certain cases. For example, optical scattering and absorbance properties of the tissue that
increases in alcohol levels result in spectroscopic changes 45 are close to the area in contact with the sensor. In general,
that may be observed, particularly in the infrared portion of these changes in the optical properties of the tissue are related
the electromagnetic spectrum. Thus, a further extended func to the pressure between the tissue and the sensor, and thereby
tionality of the biometric sensor permits it to function as an the pressure can be ascertained optically. Thus, in one
alcohol monitor. In other embodiments, the levels of other         embodiment, the trinary functionality corresponds to the
toxins and/or drugs may be similarly monitored.                 50 three states where (1) the switch is untouched, (2) the switch
   While the above examples have focused on uses that cor is touched lightly, and (3) the switch is touched firmly. Still
respond to identifying conditions in humans, it will be appre more levels of functionality may be provided, such as where
ciated that similar spectroscopic information permits the a fourth level corresponds to where the switch is touched with
extended functionality also to be used for veterinary pur intermediate firmness. In principle, arbitrarily many levels of
poses. Moreover, spectroscopic information may also be used 55 functionality may be included, although it is generally more
in quantifying the quality of plant tissues. For example, in one difficult for an individual to discriminate levels offirmness if
embodiment, the extended functionality comprises use as a there are more than three or four levels. Since no moving parts
fruit-ripeness monitor. Color changes are a natural part of the are provided for the optical switch, there is no danger that
ripening process for fruit, and these changes may be detected mechanical parts will break or wear. In addition, the absence
using the methods described above. Accordingly, a portable 60 of mechanical parts makes the Switch especially Suitable for
electronic device that includes a sensor of the type described use with hermetically sealed packages where contamination
above may conveniently be used to test the ripeness of fruit.      by air and/or water is to be avoided.
   Spectroscopic information is also of use in characterizing         In a further embodiment, the illumination and detection
inorganic materials. Thus, in another embodiment, the device capabilities provided by the biometric sensor are combined to
may be used for matching the colors of paints, textiles, and 65 provide an ambient light sensor. In one Such embodiment, the
other materials. Such information can be used, for example, level of backlighting on a portable electronic device is
to match colors of paint and other coatings, or to determine adjusted in response to the ambient level of light in order to
                                                       Stay-Add-660
               Case: 24-1285                Document: 7             Page: 712           Filed: 12/26/2023


                                                    US 7,620,212 B1
                               21                                                                22
conserve battery life. For example, the backlight may be items may be added to the list remotely when two portable
increased when the light level is low, Such as in a darkroom or electronic devices are equipped to communicate with each
at night, and decreased when the light level is high, Such as other. Such an embodiment is useful where a first person is
during daytime.                                                    already at the store shopping and a second individual identi
   In a specific embodiment, the device is configured to dis fies an additional item for purchase. The item is scanned at
criminate between darkness where the portable electronic home and is immediately added to the list at the store.
device may be used. Such as in a dark room or at night, and           A further extended functionality that uses the combined
darkness where the portable electronic device is being stored, illumination and detection capabilities of the sensor permits it
Such as in a purse or briefcase. These different positions are to be used as an optical communications port. In Such
distinguished by using a reflectance burst when darkness is 10 embodiments, the light Sources provide encoded optical sig
identified. In a relatively small enclosed space, light is nals for transmission over short-distance connections. Simi
reflected back and detected by the light detector; in such larly, the light detectors receive the encoded optical signals
cases, the backlighting is kept very low. In a larger space. Such from a similarly equipped device. Typical applications for
as a room or outdoors, the burst light is not reflected back to this extended functionality are the ability to use a cellular
the device; accordingly, the backlighting is increased. Alter 15 telephone or PDA as a television remote control and to com
natively, the ambient sensing capability can be combined municate reprogramming functions to device. In some
with a liveness sensing capability to sense the ambient light instances, the light detectors may be configured to respond to
level only during or after the sensor has been activated by a certain wavelengths, enabling the implementation of high
genuine sample.                                                    bandwidth, full-duplex optical communication.
   In another embodiment, the combined illumination and               The functionality of the sensor may also be extended to
detection capabilities are used to provide extended function provide various entertainment functions. For example, in
ality as a bar-code scanner. The bar code scanning capabilities Some embodiments, it may be integrated as part of a game
are provided by using the light source to illuminate a bar code provided on a portable electronic device. One aspect of the
and by analyzing the spectrum received by the light detector sensor, in particular, that may be integrated into games is its
to deduce the bar code. Such functionality may be used in 25 multiplicity of distinct colors. There are numerous different
numerous varied applications, some of which are indicated games that may use Such a color feature, one of which is a
explicitly herein. For example, in one embodiment, the bar memory game that requires the player to repeat a color
code scanning capability is used to provide an information sequence, similar to the game “SIMON. Another game that
service. For example, when the sensor is comprised by a integrates the functionality of the sensor is an increasingly
portable electronic device that is equipped to access the Inter 30 popular version of "phonetag. in which participants use GPS
net, Scanning of a bar code causes the device to retrieve systems to locate other participants on cellular telephones.
corresponding information from the Internet and to display Confirmation that a participant has been found may be con
the retrieved information on the portable electronic device. firmed by using the biometric sensor described herein.
Alternatively, certain information may be retrieved directly Another entertainment function may use the sensor as a mood
from a storage device resident on the portable electronic 35 meter, providing a description of an individuals mood based
device.                                                            on a spectral analysis of her skin.
   These capabilities permita user to obtain product informa          The functionality of the sensor may also be extended to
tion quickly. In some instances, the request for information provide personal-security functions. For example, if the bio
initiated by the scanning function is additionally recorded for metric sensor is configured to operate at infrared wave
marketing purposes. In particular, the Scanning request, 40 lengths, it may not require actual physical contact in order to
coupled with the biometric identification functions of the perform identifications, but may instead rely on reflected
sensor provide information identifying a person and the type infrared light or even black-body emissions in the infrared
of information being requested. In some cases, this may also region of the electromagnetic spectrum. A variation of this
be coupled with location information, such as where the embodiment that provides personal security functions per
portable electronic device includes a GPS transponder. As 45 mits the biometric sensor to detect motion at infrared wave
information requests are made by the user, they may be com lengths. Such a function is useful, for example, for travelers.
piled and Subsequently analyzed for directed marketing.            The motion detection may be integrated with an alarm func
   In a particular embodiment, such directed marketing may tion so that an alarm is sounded when motion is detected. If
be substantially contemporaneous with the scanning request. the sensor is comprised by a cellular telephone or other por
For example, a consumer may be shopping in a grocery store 50 table electronic device, it may alternatively be configured
and is trying to decide which of several similar products to automatically to dial an emergency number.
purchase. By scanning them to obtain additional information,          Another variation of the remote security functionality is
a remote system may be provided with sufficient information offered by configuring the biometric sensor to be sensitive to
to recognize the consumers interest. Accordingly, an elec mid-infrared wavelengths. In this way emitted black-body
tronic coupon for a particular one of the products may be 55 radiation can be used as the illumination source and the bio
immediately directed to the consumer's portable electronic metric determination can be done remotely, without physi
device for immediate use.                                          cally contacting the sensor. In cases where it is desirable to
   Another capability of the bar-code-scanning functionality determine that something moved, it is possible to just monitor
may be illustrated in the form of a grocery-list compiler. For changes in the amount of reflected or emitted light over time.
example, when this capability is enabled in a particular por 60 In other cases where it is important to ensure that the light
table electronic device, a simple scan of an item in a house passes through the skin before being detected (such as a
hold can be made whenever that item is depleted. A record is biometric determination), it is also possible to configure a
stored of the fact that the item is now needed, and these          sensor with active illumination to operate remotely by ensur
records accumulate overtime. When the individual is ready to ing that the illumination spot and the spot of skin being
shop for groceries, a simple command on the portable elec 65 detected do not overlap. In this way, detected light is ensured
tronic device provides the accumulated shopping list to iden to have traveled through the skin rather than simply reflected
tify those items for purchase. In an alternative embodiment, from the Surface. Optical systems for performing Such a
                                                       Stay-Add-661
                Case: 24-1285                Document: 7              Page: 713             Filed: 12/26/2023


                                                      US 7,620,212 B1
                               23                                                                   24
remote measurement can be developed from lenses, mirrors sensor in other embodiments. In one such embodiment, the
or other optical elements as know to one of skill in the art.       light detector comprised by the sensor is used as a light meter
   A further example of a personal-security function that may to quantify light levels. There are a number of applications for
be provided as part of the extended functionality is a smoke Such a light meter that are within the scope of the invention,
detector. Such a detector may emit light from the light source including use in photography applications, in opthalmology
and be configured to detect light reflected from particles in air applications, and as a meter for quantifying Sun exposure,
as would result from the presence of smoke in a room. Such a among others.
feature may also be integrated with an alarm function or with          The collection of light with the detector also provides a
an automatic dial function to respond to presence of Smoke.         means for collecting a small amount of energy from imping
   An additional example of an extended functionality is pro 10 ing photons. In Such embodiments, the detector effective
vided by an optical-strobe function. This function may use the functions as a trickle charger when it is not in active use for
illumination components to produce strobed light and may identification and verification functions. The available of
provide a feedback function based on the detection of Such trickle charging is especially useful in applications
reflected light to tune the frequency of the strobe. Such tuning where battery lifetime is a paramount concern, notably in
may be applied, for example, to tune strings on musical 15 portable electronic devices such as cellular telephones. When
instruments, such as guitars.                                       the biometric sensor is incorporated into such a portable
   c. Use of Illumination Component                                 electronic device, its impact on battery lifetime is Substan
   In other embodiments of the invention, extended function         tially mitigated by the use of trickle charging to recover
ality is provided using only the illumination capabilities pro battery lifetime that might be used in operating the sensor.
vided by the biometric sensor. A simple example that illus             Having described several embodiments, it will be recog
trates Such extended functionality is a flashlight capability. nized by those of skill in the art that various modifications,
This capability is achieved simply by activating the light alternative constructions, and equivalents may be used with
Source(s). In some instances, the light source(s) may be con out departing from the spirit of the invention. Accordingly, the
figured to be substantially monochromatic and/or to be highly above description should not be taken as limiting the scope of
directional, permitting operation as a laser pointer.            25 the invention, which is defined in the following claims.
   More complex extended functionality makes use of the
different colors that are available with the light sources. For        What is claimed is:
example, a cellular telephone may use the sensor as an optical         1. A device comprising:
ringer, which functions to alert the owner to an incoming call         a plurality of light sources, wherein at least two of the
in addition to or instead of by issuing an audible noise. An 30           plurality of light sources provide light with distinct
optical ringer is especially useful in circumstances where an             wavelengths;
audible ring would be intrusive, such as in a meeting, or              a light detector, wherein the distance between the light
would be difficult to detect, such as in a noisy environment.             detector and at least one of the plurality of light sources
An optical ringer may also be used by people having a hearing             is different than the distance between the light detector
impairment, who may nevertheless use short message ser 35                 and another of the plurality of the light sources; and
vices (“SMS) that are available for cellular telephones. The           a processor configured to operate the light sources and the
color capability is used in certain embodiments to identify the           light detector to perform a plurality of distinct functions,
caller by correlating the originating telephone number with a          wherein at least one of the distinct functions comprises a
predefined color. Also, in certain embodiments, particular                biometric identification function comprising:
optical-ring patterns may be downloadable.                       40       propagating light from the plurality of light sources into
   According to embodiments of the invention, specific                       presented material, and diffusely reflecting the propa
sequences of colors may also be presented with the sensor as                 gated light toward the light detector;
a form of branding to identify a productor service source. For            receiving the diffusely reflected light with the light
example, in response to identifying an individual, a distinct                detector; and
temporal sequence of colors may be presented with the light 45            identifying the presented material from the received
Sources. If the sensor is comprised by a product, such as a                  light based on the wavelength characteristics of the
portable electronic device, the temporal sequence may be                     received light and the distance between the source and
associated with the manufacturer of the product. If the sensor               the detector; and
is positioned for use as part of a security Screening system,
Such as in an airport, the temporal sequence may be associ 50 wherein            another of the distinct functions comprises a non
                                                                          identification  function performed with the light sources
ated with a security company that manages the screening                   and  the light detector.
system.
   While the use of a temporal sequence of colors may be comprises     2. The device recited in claim 1 wherein the light detector
implemented with one of the sensor arrangements described                        a plurality of light detectors.
                                                                       3. The   device  recited in claim 2 wherein the plurality of
above, the invention is not limited to Such an implementation. 55 light detectors comprises
More generally, embodiments of the invention include the                                         an array of light detectors.
broad use of any temporal sequence of colors as an identifier          4. The device recited in claim 1 wherein the nonidentifica
of a product or service source. In some embodiments, such a tion function comprises a liveness function to determine
temporal sequence of colors may additionally be coupled whether the presented material is alive.
with a temporal sequence of sounds. The combination of the 60 5. The device recited in claim 4 wherein the nonidentifica
temporal sequences of colors and Sounds effectively provides tion function comprises operation of an optical Switch having
a brief musical light show that serves a branding function.         multistate functionality.
   d. Use of Optical Detection Component                               6. The device recited in claim 1 wherein the nonidentifica
   In addition to embodiments where the extended function           tion function comprises a nonbiometric function.
ality of the biometric sensor is provided with only the illumi 65 7. The device recited in claim 6 wherein the nonidentifica
nation component, the extended functionality may also be tion function comprises operation of an optical communica
provided with only the optical detection component of the tions port with the light Sources and the light detector.
                                                         Stay-Add-662
                Case: 24-1285                Document: 7               Page: 714            Filed: 12/26/2023


                                                      US 7,620,212 B1
                                25                                                                  26
   8. A portable electronic device comprising:                         14. The portable electronic device recited in claim 13
   an electronic arrangement for performing a standard func wherein the nonbiometric function is selected from the group
      tion of the portable electronic device:                       consisting of an ambient-light-sensor function, an entertain
   a biometric sensor having:                                       ment function, a personal-security function, a Smoke-detector
                                                                    function, a motion-detection function, and an optical-strobe
      a plurality of light sources, wherein at least two of the function.
         plurality of light sources provide light at distinct
         wavelengths; and                                              15. The portable electronic device recited in claim 10
      a light detector disposed relative to the light Sources to wherein       the nonbiometric function uses an illumination
         detect light from the light Sources that has propagated 10 capacity of the plurality of light sources.
         through tissue, wherein the distance between the light        16. The portable electronic device recited in claim 15
         detector and at least one of the plurality of light wherein          the nonbiometric function is selected from the group
                                                                    consisting of an optical-ringer function, a flashlight function,
         sources is different than the distance between the light and    a laser-pointer function.
         detector and another of the plurality of the light
         Sources; and                                                  17.  The portable electronic device recited in claim 10
                                                                 15 wherein the nonbiometric function uses a detection capacity
   a processor configured to operate the electronic arrange of the light detector.
      ment to perform the standard function and to operate the         18. The portable electronic device recited in claim 17
      biometric sensor in accordance with the following:
      propagating light from the plurality of light sources into wherein      the nonbiometric function is selected from the group
         presented material, and diffusely reflecting the light function. of a trickle-charger function and a light-meter
                                                                    consisting
         toward the light detector;                                    19. A device for performing a biometric function for pre
      receiving the diffusely reflected light with the light sented material, the device comprising:
         detector; and                                                a plurality of light sources arranged on a first side of the
      identifying the presented material from the received                device, wherein at least two of the plurality of light
         light based on the wavelength characteristics of the 25          Sources provide light at distinct wavelengths;
         received light and the distance between the source and       at least one light detector arranged on the first side of the
         the detector.                                                    device, wherein the distance between the light detector
   9. The portable electronic device recited in claim 8 wherein           and at least one of the plurality of light sources is differ
the electronic arrangement performs functions of a device                 ent than the distance between the light detector and
selected from the group consisting of a cellular telephone, a 30          another of the plurality of the light sources; and
personal digital assistant, an electronic fob, and a watch.           a processor configured to operate the light sources and the
   10. The portable electronic device recited in claim 8                  light detector to perform at least a first function and a
wherein the processor is further configured to operate the                second function,
biometric sensor to perform a nonbiometric function.                  wherein first function comprises a biometric identification
   11. The portable electronic device recited in claim 10 35              function comprising:
wherein the nonbiometric function comprises a spectrometer                propagating light from the plurality of light Sources
function.                                                                    toward the presented material;
   12. The portable electronic device recited in claim 11                 diffusely  reflecting the propagated light from the pre
wherein the spectrometer function is selected from the group 40              sented material toward the light detector;
consisting of a stress-detection function, a lie-detector func            receiving the diffusely reflected light with the light
tion, a tanning-meter function, a complexion-monitor func                    detector; and
tion, a toxicity-monitor function, an alcohol-monitor func                identifying   the presented material from the received
tion, a bilirubin-monitor function, a hemoglobin-monitor                     light based on the wavelength characteristics of the
function, a fruit-ripeness-monitor function, a counterfeit                   received light and the distance between the source and
document detection function, and a color-match function. 45                  the detector; and
   13. The portable electronic device recited in claim 10             wherein the second function comprises a nonidentification
wherein the nonbiometric function uses an illumination                    function performed with the light sources and the light
                                                                          detector.
capacity of the plurality of light sources and uses a detection
capacity of the light detector.




                                                         Stay-Add-663
                       Case: 24-1285               Document: 7         Page: 715           Filed: 12/26/2023

                           UNITED STATES PATENT AND TRADEMARK OFFICE
                                 CERTIFICATE OF CORRECTION
PATENT NO.             : 7.620,212 B1                                                                                Page 1 of 1
APPLICATION NO. : 10/640503
DATED                  : November 17, 2009
INVENTOR(S)            : Jeffrey G. Allen et al.
It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:


         Column 24 line 5, delete opthalmology and insert --ophthalmology--




                                                                                      Signed and Sealed this
                                                                                Thirteenth Day of July, 2010



                                                                                                 David J. Kappos
                                                                             Director of the United States Patent and Trademark Office


                                                           Stay-Add-664
                       Case: 24-1285             Document: 7           Page: 716           Filed: 12/26/2023

                            UNITED STATES PATENT AND TRADEMARK OFFICE
                                  CERTIFICATE OF CORRECTION
PATENT NO.             : 7.620,212 B1                                                                                Page 1 of 1
APPLICATION NO. : 10/640503
DATED                  : November 17, 2009
INVENTOR(S)            : Allen et al.
It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:


           Title Page, Item *
         Delete the phrase by 963 days and insert -- by 1631 days --.




                                                                                      Signed and Sealed this
                                                                             Thirty-first Day of August, 2010



                                                                                                 David J. Kappos
                                                                             Director of the United States Patent and Trademark Office


                                                           Stay-Add-665
Case: 24-1285   Document: 7   Page: 717   Filed: 12/26/2023




        EXHIBIT 17




                      Stay-Add-666
                Case: 24-1285               Document: 7                        Page: 718                         Filed: 12/26/2023

                                                                                                                USO10912502B2

( 12) United States Patent                                                         ( 10 ) Patent No .: US 10,912,502 B2
     Poeze et al .                                                                 (45 ) Date of Patent :   * Feb . 9 , 2021
( 54 ) USER -WORN DEVICE FOR                                                  ( 52 ) U.S. CI .
      NONINVASIVELY MEASURING A                                                      CPC         A61B 5/1455 ( 2013.01 ) ; A61B 5/14532
      PHYSIOLOGICAL PARAMETER OF A USER                                                              (2013.01 ) ; A61B 5/14546 ( 2013.01 ) ;
                                                                                                       ( Continued )
( 71 ) Applicant: Masimo Corporation , Irvine, CA (US )                       ( 58 ) Field of Classification Search
                                                                                     CPC . A61B 5/1455 ; A61B 5/14546 ; A61B 5/6838 ;
( 72 ) Inventors: Jeroen Poeze , Rancho Santa Margarita ,                                                     A61B 5/6816 ; A61B 5/6829 ;
                  CA (US ); Marcelo Lamego , Cupertino,                                                (Continued )
                  CA (US ); Sean Merritt , Lake Forest ,
                  CA (US ); Cristiano Dalvi, Lake Forest ,                    ( 56 )                             References Cited
                  CA (US ); Hung Vo , Fountain Valley,                                                     U.S. PATENT DOCUMENTS
                  CA (US ); Johannes Bruinsma ,
                  Opeinde (NL ); Ferdyan Lesmana ,                                     3,452,215 A                6/1969 Alessio
                  Irvine , CA (US ); Massi Joe E. Kiani ,                              3,760,582 A                9/1973 Thiess et al .
                  Laguna Niguel, CA ( US ) ; Greg Olsen ,                                                              ( Continued )
                  Lake Forest , CA (US )
                                                                                                    FOREIGN PATENT DOCUMENTS
( 73 ) Assignee : Masimo Corporation , Irvine, CA (US )                       CA                             2264029           3/1998
                                                                              CN                             1270793          10/2000
( * ) Notice:     Subject to any disclaimer, the term of this                                                          (Continued )
                  patent is extended or adjusted under 35
                  U.S.C. 154 ( b ) by 0 days.                                                                OTHER PUBLICATIONS
                  This patent is subject to a terminal dis
                  claimer .                                                   US 8,845,543 B2 , 09/2014 , Diab et al . ( withdrawn )
                                                                                                                       ( Continued )
( 21 ) Appl . No .: 17/031,407                                                Primary Examiner                    Chu Chuan Liu
( 22 ) Filed :      Sep. 24 , 2020                                            ( 74 ) Attorney, Agent, or Firm — Knobbe Martens Olson
                                                                              & Bear LLP
( 65 )                Prior Publication Data                                  (57 )                                ABSTRACT
      US 2021/0000392 A1          Jan. 7 , 2021                               The present disclosure relates to noninvasive methods,
                                                                              devices, and systems for measuring various blood constitu
                                                                              ents or analytes, such as glucose . In an embodiment, a light
              Related U.S. Application Data                                   source comprises LEDs and super - luminescent LEDs . The
( 60 ) Continuation of application No. 16/ 834,538 , filed on                 light source emits light at at least wavelengths of about 1610
       Mar. 30 , 2020 , which is a continuation of application                nm , about 1640 nm , and about 1665 nm . In an embodiment,
                          (Continued )
                                                                              the detector comprises a plurality of photodetectors arranged
                                                                              in a special geometry comprising one of a substantially
(51 ) Int. Ci.
                                                                              linear substantially equal spaced geometry, a substantially
       A61B 5/1455              ( 2006.01 )
                                                                              linear substantially non -equal spaced geometry, and a sub
                                                                              stantially grid geometry.
       A61B 5/145               ( 2006.01 )
       A61B 5/00                (2006.01 )                                                                 30 Claims , 65 Drawing Sheets
                                                  301A


                                                                 3042                         -301a

                                                                                                    3503


                                                     307



                                                                  322
                                                           323

                                                   398a
                                                                                              320

                                                                                              305

                                                                                        321

                                              371)



                                                                        314



                                                                  Stay-Add-667
                   Case: 24-1285                    Document: 7             Page: 719       Filed: 12/26/2023


                                                         US 10,912,502 B2
                                                                   Page 2

                 Related U.S. Application Data                                4,409,470 A   10/1983 Shepard et al .
                                                                              4,438,338 A    3/1984 Stitt
         No. 16 /725,292 , filed on Dec. 23 , 2019 , now Pat . No.            4,444,471 A    4/1984 Ford et al .
         10,624,564 , which is a continuation of application                  4,447,150 A    5/1984 Heinemann
         No. 16/ 534,949 , filed on Aug. 7 , 2019 , now Pat. No.              4,547,075 A   10/1985 Fei
                                                                              4,653,498 A    3/1987 New , Jr. et al .
         10,588,553 , which is a continuation of application                  4,655,225 A    4/1987 Dahne et al .
         No. 16 /409,515 , filed on May 10 , 2019 , now Pat . No.             4,684,245 A    8/1987 Goldring
         10,376,191 , which is a continuation of application                  4,709,413 A   11/1987 Forrest
         No. 16 /261,326 , filed on Jan. 29 , 2019 , now Pat . No.            4,755,676 A    7/1988 Gaalema et al .
         10,292,628 , which is a continuation of application                  4,759,369 A    7/1988 Taylor
                                                                              4,781,195 A   11/1988 Martin
         No. 16 /212,537 , filed on Dec. 6 , 2018 , now Pat . No.             4,782,836 A   11/1988 Alt
         10,258,266 , which is a division of application No.                  4,802,486 A    2/1989 Goodman et al .
         14/ 981,290 , filed on Dec. 28 , 2015 , now Pat . No.                4,805,623 A    2/1989 Jöbsis
         10,335,068 , which is a continuation of application                  4,819,860 A    4/1989 Hargrove et al .
         No. 12 / 829,352 , filed on Jul . 1 , 2010 , now Pat. No.            4,825,872 A    5/1989 Tan et al .
         9,277,880 , which is a continuation of application No.               4,859,057 A    8/1989 Taylor et al .
                                                                              4,865,038 A    9/1989 Rich et al .
         12/ 534,827 , filed on Aug. 3 , 2009 , now abandoned ,               4,867,557 A    9/1989 Takatani et al .
         and a continuation -in - part of application No. 12/497 ,            4,869,253 A
                                                                              4,880,304 A
                                                                                             9/1989 Craig , Jr. et al .
                                                                                            11/1989 Jaeb et al .
         528 , filed on Jul. 2 , 2009 , now Pat . No. 8,577,431 ,             4,903,701 A    2/1990 Moore et al .
         which is a continuation - in - part of application No.               4,928,692 A    5/1990 Goodman et al .
         29/ 323,408 , filed on Aug. 25 , 2008 , now Pat . No. Des .          4,933,545 A    6/1990 Saaski et al .
         606,659 , and a continuation - in -part of application No.           4,938,218 A
                                                                              4,941,236 A
                                                                                             7/1990 Goodman et al .
                                                                                             7/1990 Sherman et al .
         29/ 323,409 , filed on Aug. 25 , 2008 , now Pat . No. Des .          4,945,239 A    7/1990 Wist et al.
         621,516 , said application No. 12 / 829,352 is a con                 4,955,379 A    9/1990 Hall
         tinuation - in -part of application No. 12 / 497,523 , filed         4,960,128 A   10/1990 Gordon et al.
         on Jul . 2 , 2009 , now Pat . No. 8,437,825 , and a                  4,960,314 A   10/1990 Smith et al .
         continuation -in -part of application No. 29 /323,408 ,              4,964,408 A
                                                                              5,007,423 A
                                                                                            10/1990 Hink et al .
                                                                                             4/1991 Branstetter et al .
         filed on Aug. 25 , 2008 , now Pat . No. Des . 606,659 ,              5,025,791 A    6/1991 Niwa
         and a continuation - in -part of application No. 29/323 ,            5,028,787 A    7/1991 Rosenthal et al .
         409 , filed on Aug. 25 , 2008 , now Pat. No. Des .                   5,035,243 A    7/1991 Muz
         621,516 .                                                            5,041,187 A    8/1991 Hink et al.
                                                                              5,043,820 A    8/1991 Wyles et al .
( 60 ) Provisional application No. 61 / 086,060 , filed on Aug.               5,069,213 A   12/1991 Polczynski
       4 , 2008, provisional application No. 61 / 086,108 , filed             5,069,214 A   12/1991 Samaras et al .
       on Aug. 4 , 2008 , provisional application No.                         5,069,680 A   12/1991 Grandjean
                                                                              5,077,476 A   12/1991 Rosenthal
       61 / 086,063 , filed on Aug. 4 , 2008 , provisional                    5,086,229 A    2/1992 Rosenthal et al .
         application No. 61 / 086,057 , filed on Aug. 4 , 2008 ,              5,099,842 A    3/1992 Mannheimer et al .
         provisional application No. 61 /091,732 , filed on Aug.              5,109,849 A
                                                                              D326,715 S
                                                                                             5/1992 Goodman et al .
                                                                                             6/1992 Schmidt
         25 , 2008 , provisional application No. 61 /078,228 ,                5,122,925 A    6/1992 Inpyn
         filed on Jul. 3 , 2008 , provisional application No.                 5,131,391 A    7/1992 Sakai et al .
         61 / 078,207 , filed on Jul . 3 , 2008 .                             5,137,023 A    8/1992 Mendelson et al .
                                                                              5,158,082 A   10/1992 Jones
( 52 ) U.S. CI .                                                              5,158,091 A   10/1992 Butterfiled et al .
                                                                              5,159,929 A   11/1992 McMillen et al .
       CPC            A61B 5/14552 ( 2013.01 ) ; A61B 5/6816                  5,163,438 A   11/1992 Gordon et al .
                    (2013.01 ) ; A61B 5/6826 ( 2013.01 ) ; A61B               5,176,137 A    1/1993 Erickson et al .
                   5/6829 (2013.01 ) ; A61B 5/6838 ( 2013.01 ) ;              5,190,038 A
                                                                              5,203,329 A
                                                                                             3/1993 Polson et al.
                                                                                             4/1993 Takatani et al .
                    A61B 5/6843 ( 2013.01 ) ; A61B 2562/0233                  5,218,962 A    6/1993 Mannheimer et al .
                   (2013.01 ) ; A61B 2562/04 (2013.01 ) ; A61B                5,222,295 A    6/1993 Dorris, Jr.
               2562/046 (2013.01 ) ; A61B 2562/146 (2013.01 )                 5,222,495 A    6/1993 Clarke et al .
( 58 ) Field of Classification Search                                         5,222,496 A    6/1993 Clarke et al .
                                                                                             7/1993 Christ et al .
         CPC . A61B 5/6843 ; A61B 5/6826 ; A61B 5/14551 ;                     5,228,449 A
                    A61B 5/14552 ; A61B 5/14532 ; A61B                        5,249,576 A   10/1993 Goldberger et al .
                                2562/046 ; A61B 2562/04 ; A61B                5,250,342 A   10/1993 Lang
                                                                              5,251,011 A   10/1993 Fujiwara et al .
                                   2562/0233 ; A61B 2562/146                  5,254,388 A   10/1993 Melby et al .
         See application file for complete search history .                   5,254,992 A   10/1993 Keen et al .
                                                                              5,273,036 A   12/1993 Kronberg et al .
(56 )                    References Cited                                     5,278,627 A    1/1994 Aoyagi et al .
                                                                              5,297,548 A    3/1994 Pologe
                  U.S. PATENT DOCUMENTS                                       5,319,355 A    6/1994 Russek
                                                                              5,333,616 A    8/1994 Mills et al .
        3,789,601 A        2/1974 Bergey                                      5,337,744 A    8/1994 Branigan
        3,910,701 A       10/1975 Henderson et al .                           5,337,745 A    8/1994 Benaron
        4,015,595 A        4/1977 Benjamin                                    5,341,805 A    8/1994 Stavridi et al .
        4,114,604 A        9/1978 Shaw et al .                                5,355,242 A   10/1994 Eastmond et al .
        4,129,124 A       12/1978 Thalmann                                    5,358,519 A   10/1994 Grandjean
        4,224,948 A        9/1980 Cramer et al .                              5,362,966 A   11/1994 Rosenthal et al .
        4,258,719 A        3/1981 Lewyn                                       D353,195 S    12/1994 Savage et al .
        4,267,844 A        5/1981 Yamanishi                                   D353,196 S    12/1994 Savage et al .

                                                              Stay-Add-668
                  Case: 24-1285                   Document: 7          Page: 720        Filed: 12/26/2023


                                                      US 10,912,502 B2
                                                              Page 3

( 56 )                 References Cited                                  5,795,300 A     8/1998 Bryars
                                                                         5,797,841 A     8/1998 Delonzor et al .
                 U.S. PATENT DOCUMENTS                                   5,800,348 A     9/1998 Kaestle
                                                                         5,800,349 A     9/1998 Isaacson et al.
         5,372,135 A   12/1994 Mendelson et al .                         5,807,247 A     9/1998 Merchant et al.
         5,377,676 A    1/1995 Vari et al.                               5,810,734 A     9/1998 Caro et al .
         D356,870 S     3/1995 Ivers et al .                             5,817,008 A    10/1998 Rafert et al .
         D359,546 S     6/1995 Savage et al .                            5,823,950 A    10/1998 Diab et al .
         5,427,093 A    6/1995 Ogawa et al.                              5,826,885 A    10/1998 Helgeland
         5,431,170 A    7/1995 Mathews                                   5,830,131 A    11/1998 Caro et al .
         5,436,499 A    7/1995 Namavar et al .                           5,830,137 A    11/1998 Scharf
         D361,840 S     8/1995 Savage et al .                            5,833,618 A    11/1998 Caro et al .
         5,437,275 A    8/1995 Amundsen et al .                          D403,070 S     12/1998 Maeda et al.
         5,441,054 A    8/1995 Tsuchiya                                  5,842,982 A    12/1998 Mannheimer
         D362,063 S     9/1995 Savage et al .                            5,851,178 A    12/1998 Aronow
         5,452,717 A    9/1995 Branigan et al .                          5,854,706 A    12/1998 Alb
         D363,120 S    10/1995 Savage et al .                            5,860,919 A     1/1999 Kiani-Azarbayjany et al .
         5,456,252 A   10/1995 Vari et al.                               5,860,932 A     1/1999 Goto et al .
         5,462,051 A   10/1995 Oka et al .                               5,890,929 A     4/1999 Mills et al .
         5,479,934 A    1/1996 Imran                                     5,891,022 A     4/1999 Pologe
         5,482,034 A    1/1996 Lewis et al.                              5,893,364 A * 4/1999 Haar                 A61B 5/0059
         5,482,036 A    1/1996 Diab et al .                                                                            356/338
         5,490,505 A    2/1996 Diab et al .                              5,902,235 A    5/1999 Lewis et al .
         5,490,506 A    2/1996 Takatani et al .                          5,903,357 A    5/1999 Colak
         5,490,523 A    2/1996 Isaacson et al .                          5,904,654 A    5/1999 Wohltmann et al .
         5,494,043 A    2/1996 O'Sullivan et al .                        5,911,689 A    6/1999 Smith et al .
         5,497,771 A    3/1996 Rosenheimer                               5,919,134 A    7/1999 Diab
         5,511,546 A    4/1996 Hon                                       5,923,021 A    7/1999 Dvorkis et al .
         5,533,511 A    7/1996 Kaspari et al.                            5,924,979 A    7/1999 Swedlow et al .
         5,534,851 A    7/1996 Russek                                    5,934,925 A    8/1999 Tobler et al .
         5,542,146 A    8/1996 Hoekstra et al .                          5,936,986 A    8/1999 Cantatore et al .
         5,551,422 A    9/1996 Simonsen et al .                          5,940,182 A    8/1999 Lepper, Jr. et al .
         5,553,614 A    9/1996 Chance                                    5,957,840 A    9/1999 Terasawa et al .
         5,553,615 A    9/1996 Carim et al .                             D414,870 S    10/1999 Saltzstein et al .
         5,553,616 A    9/1996 Ham et al .                               5,987,343 A 11/1999 Kinast
         5,555,882 A    9/1996 Richardson et al .                        5,991,467 A 11/1999 Kamiko
         5,561,275 A   10/1996 Savage et al.                             5,995,855 A 11/1999 Kiani et al .
         5,562,002 A   10/1996 Lalin                                     5,997,343 A 12/1999 Mills et al .
         5,564,429 A   10/1996 Bornn et al .                             6,002,952 A 12/1999 Diab et al .
         5,581,069 A   12/1996 Shepard et al .                           6,010,937 A    1/2000 Karam et al.
         5,584,296 A   12/1996 Cui et al .                               6,011,986 A    1/2000 Diab et al .
         5,590,649 A    1/1997 Caro et al .                              6,018,403 A    1/2000 Shirakura et al .
         5,601,079 A    2/1997 Wong et al .                              6,018,673 A    1/2000 Chin et al .
         5,601,080 A    2/1997 Oppenheimer                               6,022,321 A    2/2000 Amano et al .
         5,602,924 A    2/1997 Durand et al .                            6,027,452 A    2/2000 Flaherty et al .
         D378,414 S     3/1997 Allen et al .                             6,031,603 A    2/2000 Fine et al .
         5,623,925 A    4/1997 Swenson et al .                           6,035,223 A    3/2000 Baker
         5,625,458 A    4/1997 Alfano et al.                             6,036,642 A    3/2000 Diab et al .
         5,632,272 A    5/1997 Diab et al .                              6,040,578 A    3/2000 Malin et al .
         5,635,700 A    6/1997 Fazekas                                   6,041,247 A    3/2000 Weckstrom et al .
         5,638,816 A    6/1997 Kiani- Azarbayjany et al.                 6,045,509 A    4/2000 Caro et al .
         5,638,818 A    6/1997 Diab et al .                              6,049,727 A    4/2000 Crothall
         5,645,440 A    7/1997 Tobler et al.                             6,058,331 A    5/2000 King
         5,671,914 A    9/1997 Kalkhoran et al .                         6,066,204 A    5/2000 Haven
         5,676,143 A   10/1997 Simonsen et al .                          6,067,462 A    5/2000 Diab et al .
         5,685,299 A   11/1997 Diab et al .                              6,081,735 A    6/2000 Diab et al .
         5,687,717 A   11/1997 Halpern et al .                           6,088,607 A    7/2000 Diab et al .
         5,699,808 A   12/1997 John                                      6,102,856 A    8/2000 Groff et al .
         5,702,429 A   12/1997 King                                      6,110,522 A    8/2000 Lepper, Jr. et al .
         D390,666 S     2/1998 Lagerlof                                  6,115,673 A    9/2000 Malin et al.
         5,719,557 A    2/1998 Rattman et al .                           6,122,042 A    9/2000 Wunderman et al .
         5,726,440 A    3/1998 Kalkhoran et al.                          6,122,536 A    9/2000 Sun et al .
         5,729,203 A    3/1998 Oka et al.                                6,124,597 A    9/2000 Shehada
         D393,830 S     4/1998 Tobler et al.                             6,126,595 A 10/2000 Amano et al .
         5,743,262 A    4/1998 Lepper, Jr. et al .                       6,128,521 A 10/2000 Marro et al .
         5,746,206 A    5/1998 Mannheimer et al .                        6,129,675 A 10/2000 Jay
         5,746,697 A    5/1998 Swedlow et al .                           6,133,871 A 10/2000 Krasner
         5,747,806 A    5/1998 Khalil et al .                            6,144,866 A 11/2000 Miesel et al .
         5,750,927 A    5/1998 Baltazar                                  6,144,868 A 11/2000 Parker
         5,750,994 A    5/1998 Schlager                                  6,151,516 A 11/2000 Kiani-Azarbayjany et al .
         5,752,914 A    5/1998 Delonzor et al .                          6,152,754 A 11/2000 Gerhardt et al .
         5,758,644 A    6/1998 Diab et al .                              6,157,850 A 12/2000 Diab et al .
         5,760,910 A    6/1998 Lepper, Jr. et al.                        6,165,005 A    12/2000 Mills et al .
         5,766,131 A    6/1998 Kondo et al .                             6,167,258 A    12/2000 Schmidt et al .
         5,769,785 A    6/1998 Diab et al .                              6,167,303 A    12/2000 Thompson
         5,782,757 A    7/1998 Diab et al .                              6,172,743 B1    1/2001 Kley et al .
         5,785,659 A    7/1998 Caro et al .                              6,175,752 B1    1/2001 Say et al .
         5,791,347 A    8/1998 Flaherty et al .                          6,178,343 B1    1/2001 Bindszus et al .
         5,792,052 A    8/1998 Isaacson et al .                          6,181,958 B1    1/2001 Steuer et al .

                                                           Stay-Add-669
                  Case: 24-1285                   Document: 7        Page: 721        Filed: 12/26/2023


                                                       US 10,912,502 B2
                                                            Page 4

( 56 )                  References Cited                               6,505,059 B1    1/2003 Kollias et al .
                                                                       6,515,273 B2    2/2003 Al - Ali
                  U.S. PATENT DOCUMENTS                                6,516,289 B2    2/2003 David et al .
                                                                       6,519,487 B1    2/2003 Parker
         6,184,521 B1    2/2001 Coffin , IV et al .                    6,522,521 B2    2/2003 Mizuno et al .
         6,185,454 B1    2/2001 Thompson                               6,525,386 B1    2/2003 Mills et al .
         6,192,261 B1   2/2001 Gratton et al .                         6,526,300 B1    2/2003 Kiani et al .
         6,198,951 B1   3/2001 Kosuda et al .                          6,527,729 B1    3/2003 Turcott
         6,198,952 B1   3/2001 Miesel et al .                          6,534,012 B1   3/2003 Hazen et al .
         6,202,930 B1   3/2001 Plesko                                  6,541,756 B2   4/2003 Schulz et al.
         6,206,830 B1   3/2001 Diab et al .                            6,542,764 B1   4/2003 Al - Ali et al .
         6,223,063 B1   4/2001 Chaiken et al .                         6,553,242 B1   4/2003 Sarussi
         6,226,539 B1   5/2001 Potratz                                 6,556,852 B1   4/2003 Schulze et al .
         6,229,856 B1   5/2001 Diab et al .                            6,580,086 B1   6/2003 Schulz et al.
         6,232,609 B1    5/2001 Snyder et al.                          6,584,336 B1   6/2003 Ali et al.
         6,236,872 B1    5/2001 Diab et al .                           6,587,196 B1    7/2003 Stippick et al .
         6,241,680 B1    6/2001 Miwa                                   6,587,199 B1    7/2003 Luu
         6,241,683 B1    6/2001 Macklem et al .                        6,595,316 B2    7/2003 Cybulski et al .
         6,241,684 B1    6/2001 Amano et al .                          6,596,016 B1    7/2003 Vreman et al .
         6,252,977 B1    6/2001 Salganicoff et al .                    6,597,932 B2    7/2003 Tian et al .
         6,253,097 B1    6/2001 Aronow et al .                         6,597,933 B2    7/2003 Kiani et al .
         6,255,708 B1    7/2001 Sudharsanan et al .                    6,606,509 B2    8/2003 Schmitt
         6,256,523 B1    7/2001 Diab et al .                           6,606,511 B1    8/2003 Ali et al .
         6,263,222 B1    7/2001 Diab et al .                           D481,459 S     10/2003 Nahm
         6,270,223 B1    8/2001 Del Bon et al .                        6,632,181 B2   10/2003 Flaherty et al .
         6,278,522 B1    8/2001 Lepper, Jr. et al .                    6,635,559 B2   10/2003 Greenwald et al .
         6,278,889 B1    8/2001 Robinson                               6,636,759 B2   10/2003 Robinson
         6,280,213 B1    8/2001 Tobler et al .                         6,639,668 B1   10/2003 Trepagnier
         6,280,381 B1    8/2001 Malin et al.                           6,639,867 B2   10/2003 Shim
         6,285,896 B1    9/2001 Tobler et al .                         6,640,116 B2   10/2003 Diab
         6,293,915 B1    9/2001 Amano et al .                          6,640,117 B2   10/2003 Makarewicz et al .
         6,297,906 B1   10/2001 Allen et al .                          6,643,530 B2   11/2003 Diab et al .
         6,297,969 B1   10/2001 Mottahed                               6,650,917 B2   11/2003 Diab et al .
         6,301,493 B1   10/2001 Marro et al .                          6,650,939 B2   11/2003 Takpke, II et al .
         6,304,766 B1   10/2001 Colvin , Jr.                           6,654,624 B2   11/2003 Diab et al .
         6,308,089 B1   10/2001 von der Ruhr et al .                   6,658,276 B2   12/2003 Kiani et al .
         6,317,627 B1   11/2001 Ennen et al .                          6,661,161 B1   12/2003 Lanzo et al .
         6,321,100 B1   11/2001 Parker                                 6,668,185 B2   12/2003 Toida
         D452,012 S     12/2001 Phillips                               6,671,526 B1   12/2003 Aoyagi et al .
         6,325,761 B1   12/2001 Jay                                    6,671,531 B2   12/2003 Al - Ali et al .
         6,334,065 B1   12/2001 Al - Ali et al .                       6,678,543 B2    1/2004 Diab et al .
         6,343,223 B1    1/2002 Chin et al .                           6,681,133 B2    1/2004 Chaiken et al .
         6,343,224 B1    1/2002 Parker                                 6,684,090 B2    1/2004 Ali et al.
         6,345,194 B1    2/2002 Nelson et al .                         6,684,091 B2    1/2004 Parker
         6,349,228 B1    2/2002 Kiani et al .                          6,694,157 B1    2/2004 Stone et al .
         6,351,217 B1    2/2002 Kuhn                                   6,697,656 B1    2/2004 Al - Ali
         6,353,750 B1    3/2002 Kimura et al .                         6,697,657 B1    2/2004 Shehada et al .
         6,356,203 B1    3/2002 Halleck et al.                         6,697,658 B2    2/2004 Al - Ali
         6,356,774 B1    3/2002 Bernstein et al .                      RE38,476 E      3/2004 Diab et al .
         6,360,113 B1   3/2002 Dettling                                6,699,194 B1    3/2004 Diab et al .
         6,360,114 B1   3/2002 Diab et al .                            6,714,803 B1    3/2004 Mortz
         6,360,115 B1   3/2002 Greenwald et al .                       6,714,804 B2    3/2004 Al - Ali et al .
         D455,834 S     4/2002 Donars et al .                          RE38,492 E      4/2004 Diab et al .
         6,368,283 B1   4/2002 Xu et al .                              6,721,582 B2    4/2004 Trepagnier et al .
         6,371,921 B1   4/2002 Caro et al .                            6,721,585 B1    4/2004 Parker
         6,377,829 B1   4/2002 Al - Ali                                6,725,075 B2    4/2004 Al - Ali
         6,388,240 B2   5/2002 Schulz et al .                          6,728,560 B2    4/2004 Kollias et al .
         6,393,311 B1    5/2002 Edgar et al .                          6,735,459 B2    5/2004 Parker
         6,396,873 B1    5/2002 Goldstein et al .                      6,738,652 B2    5/2004 Mattu et al .
         6,397,091 B2    5/2002 Diab et al .                           6,745,060 B2    6/2004 Diab et al .
         6,398,727 B1    6/2002 Bui et al .                            6,748,254 B2    6/2004 O'Neil et al .
         6,402,690 B1    6/2002 Rhee et al.                            6,751,283 B2    6/2004 van de Haar
         6,411,373 B1    6/2002 Garside et al .                        6,760,607 B2    7/2004 Al - Ali
         6,415,166 B1    7/2002 Van Hoy et al .                        6,770,028 B1    8/2004 Ali et al .
         6,415,167 B1    7/2002 Blank et al.                           6,771,994 B2    8/2004 Kiani et al .
         6,430,423 B2    8/2002 DeLonzor et al .                       6,785,568 B2    8/2004 Chance
         6,430,437 B1    8/2002 Marro                                  6,788,965 B2    9/2004 Ruchti et al .
         6,430,525 B1    8/2002 Weber et al .                          6,792,300 B1    9/2004 Diab et al .
         D463,561 S      9/2002 Fukatsu et al .                        6,801,799 B2   10/2004 Mendelson
         6,463,187 B1   10/2002 Baruch et al .                         6,811,535 B2   11/2004 Palti et al .
         6,463,311 B1   10/2002 Diab                                   6,813,511 B2   11/2004 Diab et al .
         6,470,199 B1   10/2002 Kopotic et al .                        6,816,010 B2   11/2004 Seetharaman et al .
         6,470,893 B1   10/2002 Boesen                                 6,816,241 B2   11/2004 Grubisic et al.
         6,473,008 B2   10/2002 Kelly et al .                          6,816,741 B2   11/2004 Diab
         6,475,153 B1   11/2002 Khair et al .                          6,822,564 B2   11/2004 Al - Ali
         6,487,429 B2   11/2002 Hockersmith et al .                    6,826,419 B2   11/2004 Diab et al .
         RE37,922 E     12/2002 Sharan                                 6,830,711 B2   12/2004 Mills et al .
         6,491,647 B1   12/2002 Bridger et al .                        6,831,266 B2   12/2004 Paritsky et al .
         6,501,975 B2   12/2002 Diab et al .                           6,850,787 B2    2/2005 Weber et al .

                                                         Stay-Add-670
                  Case: 24-1285                    Document: 7           Page: 722        Filed: 12/26/2023


                                                       US 10,912,502 B2
                                                                Page 5

( 56 )                  References Cited                                   7,225,007 B2    5/2007 Al - Ali
                                                                           RE39,672 E      6/2007 Shehada et al .
                  U.S. PATENT DOCUMENTS                                    7,227,156 B2    6/2007 Colvin , Jr. et al.
                                                                           7,228,166 B1    6/2007 Kawasaki et al .
         6,850,788 B2    2/2005 Al - Ali                                   7,230,227 B2    6/2007 Wilcken et al .
         6,852,083 B2    2/2005 Caro et al .                               D547,454 S      7/2007 Hsieh
         6,853,304 B2    2/2005 Reisman                                    7,239,905 B2    7/2007 Kiani- Azarbayjany et al .
         D502,655 S      3/2005 Huang                                      7,245,953 B1    7/2007 Parker
         6,861,639 B2    3/2005 Al - Ali                                   7,251,513 B2    7/2007 Kondoh et al .
         6,871,089 B2    3/2005 Korzinov et al .                           D549,830 S      8/2007 Behar et al.
         6,876,931 B2    4/2005 Lorenz et al .                             7,252,639 B2    8/2007 Kimura et al.
         6,882,872 B2    4/2005 Uchida et al .                             7,254,429 B2    8/2007 Schurman et al .
         6,897,788 B2    5/2005 Khair et al .                              7,254,431 B2    8/2007 Al - Ali
         6,898,452 B2    5/2005 Al - Ali et al .                           7,254,433 B2    8/2007 Diab et al .
         6,912,413 B2    6/2005 Rantala et al .                            7,254,434 B2    8/2007 Schulz et al .
         6,920,345 B2    7/2005 Al - Ali et al .                           D550,364 S      9/2007 Glover et al .
         D508,862 S      8/2005 Behar et al.                               D551,350 S      9/2007 Lorimer et al .
         6,931,268 B1    8/2005 Kiani -Azarbayjany et al .                 7,272,425 B2    9/2007 Al - Ali
         6,934,570 B2    8/2005 Kiani et al .                              7,274,955 B2    9/2007 Kiani et al .
         6,939,305 B2    9/2005 Flaherty et al .                           D553,248 S     10/2007 Nguyen
         6,943,348 B1    9/2005 Coffin , IV                                D554,263 S     10/2007 Al - Ali
         6,950,687 B2    9/2005 Al - Ali                                   7,280,858 B2   10/2007 Al - Ali et al .
         D510,625 S     10/2005 Widener et al .                            7,289,835 B2   10/2007 Mansfield et al .
         6,956,649 B2   10/2005 Acosta et al.                              7,292,883 B2   11/2007 De Felice et al .
         6,961,598 B2   11/2005 Diab                                       7,295,866 B2   11/2007 Al - Ali
         6,970,792 B1   11/2005 Diab                                       D562,985 S      2/2008 Brefka et al.
         6,979,812 B2   12/2005 Al - Ali                                   7,328,053 B1    2/2008 Diab et al .
         6,985,764 B2    1/2006 Mason et al .                              7,332,784 B2    2/2008 Mills et al .
         6,990,364 B2    1/2006 Ruchti et al .                             7,340,287 B2    3/2008 Mason et al .
         6,993,371 B2    1/2006 Kiani et al .                              7,341,559 B2    3/2008 Schulz et al.
         D514,461 S      2/2006 Harju                                      7,343,186 B2    3/2008 Lamego et al .
         6,995,400 B2    2/2006 Mizuyoshi                                  D566,282 S      4/2008 Al - Ali et al .
         6,996,427 B2    2/2006 Ali et al .                                D567,125 S      4/2008 Okabe et al .
         6,997,879 B1    2/2006 Turcott                                    7,355,512 B1    4/2008 Al - Ali
         6,998,247 B2    2/2006 Monfre et al .                             7,356,365 B2    4/2008 Schurman
         6,999,685 B1    2/2006 Kawase et al.                              7,365,923 B2    4/2008 Hargis et al .
         6,999,904 B2    2/2006 Weber et al .                              D569,001 S      5/2008 Omaki
         7,003,338 B2    2/2006 Weber et al .                              D569,521 S      5/2008 Omaki
         7,003,339 B2    2/2006 Diab et al .                               7,371,981 B2    5/2008 Abdul -Hafiz
         7,015,451 B2    3/2006 Dalke et al.                               7,373,193 B2    5/2008 Al - Ali et al .
         7,024,233 B2    4/2006 Ali et al .                                7,373,194 B2    5/2008 Weber et al .
         7,026,619 B2   4/2006 Cranford                                    7,376,453 B1    5/2008 Diab et al .
         7,027,849 B2   4/2006 Al - Ali                                    7,377,794 B2    5/2008 Al Ali et al .
         7,030,749 B2   4/2006 Al - Ali                                    7,377,899 B2    5/2008 Weber et al .
         7,031,728 B2   4/2006 Beyer, Jr.                                  7,383,070 B2    6/2008 Diab et al .
         7,039,449 B2    5/2006 Al - Ali                                   7,395,158 B2    7/2008 Monfre et al .
         7,041,060 B2    5/2006 Flaherty et al .                           7,395,189 B2    7/2008 Qing et al.
         7,044,918 B2    5/2006 Diab                                       7,415,297 B2    8/2008 Al - Ali et al .
         7,046,347 B1    5/2006 Amend et al .                              7,428,432 B2    9/2008 Ali et al.
         7,047,054 B2    5/2006 Benni                                      7,438,683 B2   10/2008 Al - Ali et al .
         7,048,687 B1    5/2006 Reuss et al.                               7,440,787 B2   10/2008 Diab
         7,060,963 B2    6/2006 Maegawa et al.                             7,454,240 B2   11/2008 Diab et al .
         7,061,595 B2    6/2006 Cabuz et al .                              7,467,002 B2   12/2008 Weber et al .
         7,062,307 B2    6/2006 Norris et al .                             7,469,157 B2   12/2008 Diab et al .
         7,067,893 B2    6/2006 Mills et al .                              7,471,969 B2   12/2008 Diab et al .
         D526,719 S      8/2006 Richie, Jr. et al .                        7,471,971 B2   12/2008 Diab et al .
         7,088,040 B1    8/2006 Ducharme et al .                           7,483,729 B2    1/2009 Al - Ali et al .
         7,092,735 B2    8/2006 Osann , Jr.                                7,483,730 B2    1/2009 Diab et al .
         7,092,757 B2    8/2006 Larson et al .                             7,489,958 B2    2/2009 Diab et al .
         7,096,052 B2    8/2006 Mason et al .                              7,496,391 B2    2/2009 Diab et al .
         7,096,054 B2    8/2006 Abdul -Hafiz et al .                       7,496,393 B2    2/2009 Diab et al .
         7,107,706 B1    9/2006 Bailey , Sr. et al .                       D587,657 S      3/2009 Al - Ali et al .
         7,109,490 B2    9/2006 Fuchs et al.                               7,499,741 B2    3/2009 Diab et al .
         7,113,815 B2    9/2006 O'Neil et al .                             7,499,835 B2    3/2009 Weber et al .
         D529,616 S     10/2006 Deros et al.                               7,500,950 B2    3/2009 Al - Ali et al .
         7,130,672 B2   10/2006 Pewzner et al.                             7,509,153 B2    3/2009 Blank et al.
         7,132,641 B2   11/2006 Schulz et al .                             7,509,154 B2    3/2009 Diab et al .
         7,133,710 B2   11/2006 Acosta et al.                              7,509,494 B2    3/2009 Al - Ali
         7,142,901 B2   11/2006 Kiani et al .                              7,510,849 B2    3/2009 Schurman et al .
         7,149,561 B2   12/2006 Diab                                       7,514,725 B2    4/2009 Wojtczuk et al .
         D535,031 S      1/2007 Barrett et al .                            7,519,327 B2    4/2009 White
         D537,164 S      2/2007 Shigemori et al .                          7,519,406 B2    4/2009 Blank et al.
         7,186,966 B2    3/2007 Al - Ali                                   7,526,328 B2    4/2009 Diab et al .
         7,190,261 B2    3/2007 Al - Ali                                   D592,507 S      5/2009 Wachman et al .
         7,215,984 B2    5/2007 Diab                                       7,530,942 B1    5/2009 Diab
         7,215,986 B2    5/2007 Diab                                       7,530,949 B2    5/2009 Al Ali et al .
         7,220,254 B2    5/2007 Altshuler et al .                          7,530,955 B2    5/2009 Diab et al .
         7,221,971 B2    5/2007 Diab                                       7,558,622 B2    7/2009 Tran
         7,225,006 B2    5/2007 Al - Ali et al .                           7,563,110 B2    7/2009 Al - Ali et al .

                                                             Stay-Add-671
                  Case: 24-1285                    Document: 7       Page: 723        Filed: 12/26/2023


                                                       US 10,912,502 B2
                                                            Page 6

( 56 )                  References Cited                               7,991,446 B2    8/2011 Ali et al .
                                                                                       8/2011 Al - Ali
                                                                       8,000,761 B2
                  U.S. PATENT DOCUMENTS                                8,008,088 B2    8/2011 Bellott et al.
                                                                       RE42,753 E      9/2011 Kiani- Azarbayjany et al .
         7,593,230 B2    9/2009 Abul - Haj et al .                     8,019,400 B2    9/2011 Diab et al .
         7,596,398 B2    9/2009 Al - Ali et al .                       8,028,701 B2   10/2011 Al - Ali et al .
         7,601,123 B2   10/2009 Tweed et al .                          8,029,765 B2   10/2011 Bellott et al .
         7,606,606 B2   10/2009 Laakkonen                              8,036,727 B2   10/2011 Schurman et al .
         7,606,608 B2   10/2009 Blank et al .                          8,036,728 B2   10/2011 Diab et al .
         D603,966 S     11/2009 Jones et al .                          8,040,758 B1   10/2011 Dickinson
         7,613,490 B2   11/2009 Sarussi et al .                        8,044,998 B2   10/2011 Heenan
         7,618,375 B2   11/2009 Flaherty                               8,046,040 B2   10/2011 Ali et al .
         7,620,674 B2   11/2009 Ruchti et al .                         8,046,041 B2   10/2011 Diab et al .
         D606,659 S     12/2009 Kiani et al .                          8,046,042 B2   10/2011 Diab et al .
         7,629,039 B2   12/2009 Eckerbom et al .                       8,048,040 B2   11/2011 Kiani
         7,640,140 B2   12/2009 Ruchti et al .                         8,050,728 B2   11/2011 Al - Ali et al .
         7,647,083 B2    1/2010 Al - Ali et al .                       8,071,935 B2   12/2011 Besko et al .
         D609,193 S      2/2010 Al - Ali et al .                       RE43,169 E      2/2012 Parker
         7,656,393 B2    2/2010 King et al .                           8,118,620 B2    2/2012 Al - Ali et al .
         7,657,294 B2    2/2010 Eghbal et al .                         8,126,528 B2    2/2012 Diab et al .
         7,657,295 B2    2/2010 Coakley et al .                        8,126,531 B2    2/2012 Crowley
         7,657,296 B2    2/2010 Raridan et al.                         8,128,572 B2    3/2012 Diab et al .
         7,658,613 B1    2/2010 Griffin et al .                        8,130,105 B2    3/2012 Al - Ali et al .
         7,676,253 B2    3/2010 Raridan , Jr.                          8,145,287 B2    3/2012 Diab et al .
         7,683,926 B2    3/2010 Schechterman et al.                    8,150,487 B2    4/2012 Diab et al .
         D614,305 S      4/2010 Al - Ali et al .                       8,165,662 B2    4/2012 Cinbis et al .
         7,697,966 B2    4/2010 Monfre et al .                         8,175,672 B2    5/2012 Parker
         7,698,105 B2    4/2010 Ruchti et al .                         8,177,720 B2    5/2012 Nanba et al .
         7,698,909 B2    4/2010 Hannula et al .                        8,180,420 B2    5/2012 Diab et al .
         RE41,317 E      5/2010 Parker                                 8,182,443 B1    5/2012 Kiani
         RE41,333 E      5/2010 Blank et al .                          8,185,180 B2    5/2012 Diab et al .
         7,726,209 B2    6/2010 Ruotoistenmaki                         8,190,223 B2    5/2012 Al - Ali et al .
         7,729,733 B2    6/2010 Al - Ali et al .                       8,190,227 B2    5/2012 Diab et al .
         7,734,320 B2    6/2010 Al - Ali                               8,203,438 B2    6/2012 Kiani et al .
         7,740,588 B1    6/2010 Sciarra                                8,203,704 B2    6/2012 Merritt et al .
         7,740,589 B2    6/2010 Maschke et al .                        8,204,566 B2    6/2012 Schurman et al .
         7,761,127 B2    7/2010 Al - Ali et al .                       8,219,170 B2    7/2012 Hausmann et al .
         7,761,128 B2    7/2010 Al - Ali et al .                       8,219,172 B2    7/2012 Schurman et al .
         7,764,982 B2    7/2010 Dalke et al.                           8,224,411 B2    7/2012 Al - Ali et al .
         7,764,983 B2    7/2010 Mannheimer et al .                     8,228,181 B2    7/2012 Al - Ali
         D621,516 S      8/2010 Kiani et al .                          8,229,532 B2    7/2012 Davis
         7,791,155 B2    9/2010 Diab                                   8,229,533 B2    7/2012 Diab et al .
         7,801,581 B2    9/2010 Diab                                   8,233,955 B2    7/2012 Al - Ali et al .
         7,809,418 B2   10/2010 Xu                                     8,244,325 B2    8/2012 Al - Ali et al .
         7,822,452 B2   10/2010 Schurman et al .                       8,244,326 B2    8/2012 Ninomiya et al .
         RE41,912 E     11/2010 Parker                                 8,255,026 B1    8/2012 Al - Ali
         7,844,313 B2   11/2010 Kiani et al .                          8,255,027 B2 8/2012 Al - Ali et al .
         7,844,314 B2   11/2010 Al - Ali                               8,255,028 B2   8/2012 Al - Ali et al .
         7,844,315 B2   11/2010 Al - Ali                               8,260,577 B2 9/2012 Weber et al .
         7,862,523 B2    1/2011 Ruotoistenmaki                         8,265,723 B1   9/2012 McHale et al .
         7,865,222 B2    1/2011 Weber et al .                          8,274,360 B2   9/2012 Sampath et al.
         7,869,849 B2    1/2011 Ollerdessen et al .                    8,280,473 B2 10/2012 Al - Ali
         7,873,497 B2    1/2011 Weber et al .                          8,289,130 B2 10/2012 Nakajima et al .
         7,880,606 B2    2/2011 Al - Ali                               8,301,217 B2 10/2012 Al - Ali et al .
         7,880,626 B2    2/2011 Al - Ali et al .                       8,306,596 B2 11/2012 Schurman et al .
         7,884,314 B2    2/2011 Hamada                                 8,310,336 B2 11/2012 Muhsin et al .
         7,891,355 B2    2/2011 Al - Ali et al .                       8,315,683 B2 11/2012 Al - Ali et al .
         7,894,868 B2    2/2011 Al - Ali et al .                       RE43,860 E 12/2012 Parker
         7,899,506 B2    3/2011 Xu et al .                             8,280,469 B2 12/2012 Baker, Jr.
         7,899,507 B2    3/2011 Al - Ali et al .                       8,332,006 B2 12/2012 Naganuma et al .
         7,899,510 B2    3/2011 Hoarau                                 8,337,403 B2 12/2012 Al - Ali et al .
         7,899,518 B2    3/2011 Trepagnier et al.                      8,343,026 B2   1/2013 Gardiner et al .
         7,904,130 B2    3/2011 Raridan , Jr.                          8,346,330 B2   1/2013 Lamego
         7,904,132 B2    3/2011 Weber et al .                          8,352,003 B2 * 1/2013 Sawada                   A61B 5/0261
         7,909,772 B2    3/2011 Popov et al .                                                                             600/310
         7,910,875 B2    3/2011 Al - Ali                               8,353,842 B2    1/2013 Al - Ali et al .
         7,918,779 B2    4/2011 Haber et al .                          8,355,766 B2    1/2013 MacNeish, III et al .
         7,919,713 B2    4/2011 Al - Ali et al .                       8,359,080 B2    1/2013 Diab et al .
         7,937,128 B2    5/2011 Al - Ali                               8,364,223 B2    1/2013 Al - Ali et al .
         7,937,129 B2    5/2011 Mason et al .                          8,364,226 B2    1/2013 Diab et al .
         7,937,130 B2    5/2011 Diab et al .                           8,364,389 B2    1/2013 Dorogusker et al.
         7,941,199 B2    5/2011 Kiani                                  8,374,665 B2    2/2013 Lamego
         7,951,086 B2    5/2011 Flaherty et al .                       8,374,825 B2    2/2013 Vock et al .
         7,957,780 B2    6/2011 Lamego et al.                          8,380,272 B2    2/2013 Barrett et al .
         7,962,188 B2    6/2011 Kiani et al .                          8,385,995 B2    2/2013 Al - Ali et al .
         7,962,190 B1    6/2011 Diab et al .                           8,385,996 B2    2/2013 Smith et al .
         7,976,472 B2    7/2011 Kiani                                  8,388,353 B2    3/2013 Kiani et al .
         7,988,637 B2    8/2011 Diab                                   8,399,822 B2    3/2013 Al - Ali
         7,990,382 B2    8/2011 Kiani                                  8,401,602 B2    3/2013 Kiani

                                                         Stay-Add-672
                  Case: 24-1285                    Document: 7       Page: 724        Filed: 12/26/2023


                                                       US 10,912,502 B2
                                                            Page 7

( 56 )                  References Cited                               8,706,179 B2    4/2014 Parker
                                                                       8,712,494 B1    4/2014 MacNeish , III et al .
                  U.S. PATENT DOCUMENTS                                8,715,206 B2    5/2014 Telfort et al .
                                                                       8,718,735 B2    5/2014 Lamego et al.
         8,405,608 B2    3/2013 Al - Ali et al .                       8,718,737 B2    5/2014 Diab et al .
         8,414,499 B2    4/2013 Al - Ali et al .                       8,718,738 B2    5/2014 Blank et al.
         8,418,524 B2    4/2013 Al - Ali                               8,720,249 B2    5/2014 Al - Ali
         8,421,022 B2    4/2013 Rozenfeld                              8,721,541 B2    5/2014 Al - Ali et al .
         8,423,106 B2    4/2013 Lamego et al .                         8,721,542 B2    5/2014 Al - Ali et al .
         8,428,674 B2    4/2013 Duffy et al.                           8,723,677 B1    5/2014 Kiani
         8,428,967 B2    4/2013 Olsen et al .                          8,740,792 B1    6/2014 Kiani et al .
         8,430,817 B1    4/2013 Al - Ali et al .                       8,754,776 B2    6/2014 Poeze et al .
         8,437,825 B2    5/2013 Dalvi et al .                          8,755,535 B2    6/2014 Telfort et al .
         8,452,364 B2    5/2013 Hannula et al .                        8,755,856 B2    6/2014 Diab et al .
         8,455,290 B2    6/2013 Siskavich                              8,755,872 B1    6/2014 Marinow
         8,457,703 B2    6/2013 Al - Ali                               8,760,517 B2    6/2014 Sarwar et al .
         8,457,707 B2    6/2013 Kiani                                  8,761,850 B2    6/2014 Lamego
         8,463,349 B2    6/2013 Diab et al .                           8,764,671 B2    7/2014 Kiani
         8,466,286 B2    6/2013 Bellot et al.                          8,768,423 B2    7/2014 Shakespeare et al.
         8,471,713 B2    6/2013 Poeze et al .                          8,768,426 B2    7/2014 Haisley et al.
         8,473,020 B2    6/2013 Kiani et al .                          8,771,204 B2    7/2014 Telfort et al .
         8,483,787 B2    7/2013 Al - Ali et al .                       8,777,634 B2    7/2014 Kiani et al .
         8,487,256 B2    7/2013 Kwong et al .                          8,781,543 B2    7/2014 Diab et al .
         8,489,364 B2    7/2013 Weber et al .                          8,781,544 B2    7/2014 Al - Ali et al .
         8,496,595 B2    7/2013 Jornod                                 8,781,549 B2    7/2014 Al - Ali et al .
         8,498,684 B2    7/2013 Weber et al .                          8,788,003 B2    7/2014 Schurman et al .
         8,504,128 B2    8/2013 Blank et al.                           8,790,268 B2    7/2014 Al - Ali
         8,509,867 B2    8/2013 Workman et al .                        8,801,613 B2    8/2014 Al - Ali et al .
         8,515,509 B2    8/2013 Bruinsma et al.                        8,821,397 B2    9/2014 Al - Ali et al .
         8,515,511 B2    8/2013 Boutelle                               8,821,415 B2    9/2014 Al - Ali et al .
         8,515,515 B2    8/2013 McKenna et al .                        8,830,449 B1    9/2014 Lamego et al .
         8,523,781 B2    9/2013 Al - Ali                               8,831,700 B2    9/2014 Schurman et al .
         8,529,301 B2    9/2013 Al - Ali et al .                       8,838,210 B2    9/2014 Wood et al.
         8,532,727 B2    9/2013 Ali et al .                            8,840,549 B2    9/2014 Al - Ali et al .
         8,532,728 B2    9/2013 Diab et al .                           8,847,740 B2    9/2014 Kiani et al .
         D692,145 S     10/2013 Al - Ali et al .                       8,849,365 B2    9/2014 Smith et al .
         8,547,209 B2   10/2013 Kiani et al .                          8,852,094 B2   10/2014 Al - Ali et al .
         8,548,548 B2   10/2013 Al - Ali                               8,852,994 B2   10/2014 Wojtczuk et al .
         8,548,549 B2   10/2013 Schurman et al.                        8,868,147 B2   10/2014 Stippick et al .
         8,548,550 B2   10/2013 Al - Ali et al .                       8,868,150 B2   10/2014 Al - Ali et al .
         8,560,032 B2   10/2013 Al - Ali et al .                       8,870,792 B2   10/2014 Al - Ali et al .
         8,560,034 B1   10/2013 Diab et al .                           8,886,271 B2   11/2014 Kiani et al .
         8,570,167 B2   10/2013 Al - Ali                               8,888,539 B2   11/2014 Al - Ali et al .
         8,570,503 B2   10/2013 Vo                                     8,888,701 B2   11/2014 LeBoeuf et al .
         8,571,617 B2   10/2013 Reichgott et al .                      8,888,708 B2   11/2014 Diab et al .
         8,571,618 B1   10/2013 Lamego et al .                         8,892,180 B2   11/2014 Weber et al .
         8,571,619 B2   10/2013 Al - Ali et al .                       8,897,847 B2   11/2014 Al - Ali
         8,577,431 B2   11/2013 Lamego et al .                         8,909,310 B2   12/2014 Lamego et al .
         8,581,732 B2   11/2013 Al - Ali et al .                       8,911,377 B2   12/2014 Al - Ali
         8,584,345 B2   11/2013 Al - Ali et al .                       8,912,909 B2   12/2014 Al - Ali et al .
         8,588,880 B2   11/2013 Abdul - Hafiz et al.                   8,920,317 B2   12/2014 Al - Ali et al .
         8,591,426 B2   11/2013 Onoe et al .                           8,920,332 B2   12/2014 Hong et al .
         8,600,467 B2   12/2013 Al - Ali et al .                       8,921,699 B2   12/2014 Al - Ali et al .
         8,600,494 B2   12/2013 Schroeppel et al .                     8,922,382 B2   12/2014 Al - Ali et al .
         8,602,971 B2   12/2013 Farr                                   8,929,964 B2    1/2015 Al - Ali et al .
         8,606,342 B2   12/2013 Diab                                   8,929,967 B2    1/2015 Mao et al .
         8,611,095 B2   12/2013 Kwong et al.                           8,942,777 B2    1/2015 Diab et al .
         8,615,290 B2   12/2013 Lin et al .                            8,948,834 B2    2/2015 Diab et al .
         8,626,255 B2    1/2014 Al - Ali et al .                       8,948,835 B2    2/2015 Diab
         8,630,691 B2    1/2014 Lamego et al .                         8,965,471 B2    2/2015 Lamego
         8,634,889 B2    1/2014 Al - Ali et al .                       8,983,564 B2    3/2015 Al - Ali
         8,641,631 B2    2/2014 Sierra et al.                          8,989,831 B2    3/2015 Al - Ali et al .
         8,652,060 B2    2/2014 Al - Ali                               8,996,085 B2    3/2015 Kiani et al .
         8,655,004 B2    2/2014 Prest et al .                          8,998,809 B2   4/2015 Kiani
         8,663,107 B2    3/2014 Kiani                                  9,005,129 B2    4/2015 Venkatraman et al.
         8,666,468 B1    3/2014 Al - Ali                               9,028,429 B2    5/2015 Telfort et al .
         8,667,967 B2    3/2014 Al - Ali et al .                       9,037,207 B2    5/2015 Al - Ali et al .
         8,668,643 B2    3/2014 Kinast                                 9,060,721 B2    6/2015 Reichgott et al .
         8,670,811 B2    3/2014 O'Reilly                               9,063,160 B2    6/2015 Stamler et al .
         8,670,814 B2    3/2014 Diab et al .                           9,066,666 B2    6/2015 Kiani
         8,676,286 B2    3/2014 Weber et al .                          9,066,680 B1    6/2015 Al - Ali et al .
         8,682,407 B2    3/2014 Al - Ali                               9,072,437 B2    7/2015 Paalasmaa
         RE44,823 E      4/2014 Parker                                 9,072,474 B2    7/2015 Al - Ali et al .
         RE44,875 E      4/2014 Kiani et al .                          9,078,560 B2    7/2015 Schurman et al .
         8,688,183 B2    4/2014 Bruinsma et al.                        9,081,889 B2    7/2015 Ingrassia, Jr. et al .
         8,690,799 B2    4/2014 Telfort et al .                        9,084,569 B2    7/2015 Weber et al .
         8,700,111 B2    4/2014 LeBoeuf et al.                         9,095,316 B2    8/2015 Welch et al .
         8,700,112 B2    4/2014 Kiani                                  9,106,038 B2    8/2015 Telfort et al .
         8,702,627 B2    4/2014 Telfort et al .                        9,107,625 B2    8/2015 Telfort et al .

                                                         Stay-Add-673
                  Case: 24-1285                    Document: 7       Page: 725        Filed: 12/26/2023


                                                       US 10,912,502 B2
                                                            Page 8

( 56 )                  References Cited                               9,554,737 B2    1/2017 Schurman et al .
                                                                                       2/2017 Kiani
                                                                       9,560,996 B2
                  U.S. PATENT DOCUMENTS                                9,560,998 B2    2/2017 Al - Ali et al .
                                                                       9,566,019 B2    2/2017 Al - Ali et al .
         9,107,626 B2    8/2015 Al - Ali et al .                       9,579,039 B2    2/2017 Jansen et al .
         9,113,831 B2    8/2015 Al - Ali                               9,591,975 B2    3/2017 Dalvi et al .
         9,113,832 B2    8/2015 Al - Ali                               9,593,969 B2    3/2017 King
         9,119,595 B2    9/2015 Lamego                                 9,622,692 B2    4/2017 Lamego et al .
         9,131,881 B2    9/2015 Diab et al .                           9,622,693 B2    4/2017 Diab
         9,131,882 B2    9/2015 Al - Ali et al .                       D788,312 S      5/2017 Al - Ali et al .
         9,131,883 B2    9/2015 Al - Ali                               9,636,055 B2    5/2017 Al - Ali et al .
         9,131,917 B2    9/2015 Telfort et al .                        9,636,056 B2    5/2017 Al - Ali
         9,138,180 B1    9/2015 Coverston et al .                      9,649,054 B2    5/2017 Lamego et al .
         9,138,182 B2    9/2015 Al - Ali et al .                       9,651,405 B1    5/2017 Gowreesunker et al .
         9,138,192 B2    9/2015 Weber et al .                          9,662,052 B2    5/2017 Al - Ali et al .
         9,142,117 B2    9/2015 Muhsin et al .                         9,668,676 B2    6/2017 Culbert
         9,153,112 B1   10/2015 Kiani et al .                          9,668,679 B2    6/2017 Schurman et al .
         9,153,121 B2   10/2015 Kiani et al .                          9,668,680 B2    6/2017 Bruinsma et al .
         9,161,696 B2   10/2015 Al - Ali et al .                       9,668,703 B2    6/2017 Al - Ali
         9,161,713 B2   10/2015 Al - Ali et al .                       9,675,286 B2    6/2017 Diab
         9,167,995 B2   10/2015 Lamego et al.                          9,681,812 B2    6/2017 Presura
         9,176,141 B2   11/2015 Al - Ali et al .                       9,684,900 B2    6/2017 Motoki et al .
         9,186,102 B2   11/2015 Bruinsma et al.                        9,687,160 B2    6/2017 Kiani
         9,192,312 B2   11/2015 Al - Ali                               9,693,719 B2    7/2017 Al - Ali et al .
         9,192,329 B2   11/2015 Al - Ali                               9,693,737 B2    7/2017 Al - Ali
         9,192,351 B1   11/2015 Telfort et al .                        9,697,928 B2    7/2017 Al - Ali et al .
         9,195,385 B2   11/2015 Al - Ali et al .                       9,699,546 B2    7/2017 Qian et al .
         9,210,566 B2   12/2015 Ziemianska et al .                     9,700,249 B2    7/2017 Johnson et al .
         9,211,072 B2   12/2015 Kiani                                  9,716,937 B2    7/2017 Qian et al .
         9,211,095 B1   12/2015 Al - Ali                               9,717,425 B2    8/2017 Kiani et al .
         9,218,454 B2   12/2015 Kiani et al .                          9,717,448 B2    8/2017 Frix et al .
         9,226,696 B2    1/2016 Kiani                                  9,717,458 B2    8/2017 Lamego et al .
         9,241,662 B2    1/2016 Al - Ali et al .                       9,723,997 B1    8/2017 Lamego
         9,245,668 B1    1/2016 Vo et al.                              9,724,016 B1    8/2017 Al - Ali et al .
         9,259,185 B2    2/2016 Abdul -Hafiz et al.                    9,724,024 B2    8/2017 Al - Ali
         9,267,572 B2    2/2016 Barker et al .                         9,724,025 B1    8/2017 Kiani et al .
         9,277,880 B2    3/2016 Poeze et al.                           9,730,640 B2    8/2017 Diab et al .
         9,289,167 B2    3/2016 Diab et al .                           9,743,887 B2    8/2017 Al - Ali et al .
         9,295,421 B2    3/2016 Kiani et al .                          9,749,232 B2    8/2017 Sampath et al.
         9,307,928 B1    4/2016 Al - Ali et al .                       9,750,442 B2    9/2017 Olsen
         9,311,382 B2    4/2016 Varoglu et al.                         9,750,443 B2    9/2017 Smith et al.
         9,323,894 B2    4/2016 Kiani                                  9,750,461 B1    9/2017 Telfort
         D755,392 S      5/2016 Hwang et al .                          9,752,925 B2    9/2017 Chu et al.
         9,326,712 B1    5/2016 Kiani                                  9,775,545 B2   10/2017 Al - Ali et al .
         9,333,316 B2    5/2016 Kiani                                  9,775,546 B2   10/2017 Diab et al .
         9,339,220 B2    5/2016 Lamego et al .                         9,775,570 B2   10/2017 Al - Ali
         9,339,236 B2    5/2016 Frix et al .                           9,778,079 B1   10/2017 Al - Ali et al .
         9,341,565 B2    5/2016 Lamego et al .                         9,781,984 B2   10/2017 Baranski et al .
         9,351,673 B2    5/2016 Diab et al .                           9,782,077 B2   10/2017 Lamego et al .
         9,351,675 B2    5/2016 Al - Ali et al .                       9,782,110 B2   10/2017 Kiani
         9,357,665 B2    5/2016 Myers et al .                          9,787,568 B2   10/2017 Lamego et al .
         9,364,181 B2    6/2016 Kiani et al .                          9,788,735 B2   10/2017 Al - Ali
         9,368,671 B2    6/2016 Wojtczuk et al .                       9,788,768 B2   10/2017 Al - Ali et al .
         9,370,325 B2    6/2016 Al - Ali et al .                       9,795,300 B2   10/2017 Al - Ali
         9,370,326 B2    6/2016 McHale et al .                         9,795,310 B2   10/2017 Al - Ali
         9,370,335 B2    6/2016 Al - Ali et al .                       9,795,358 B2   10/2017 Telfort et al .
         9,375,185 B2    6/2016 Ali et al .                            9,795,739 B2   10/2017 Al - Ali et al .
         9,386,953 B2    7/2016 Al - Ali                               9,801,556 B2   10/2017 Kiani
         9,386,961 B2    7/2016 Al - Ali et al .                       9,801,588 B2   10/2017 Weber et al .
         9,392,945 B2    7/2016 Al - Ali et al .                       9,808,188 B1   11/2017 Perea et al .
         9,397,448 B2    7/2016 Al - Ali et al .                       9,814,418 B2   11/2017 Weber et al .
         9,408,542 B1    8/2016 Kinast et al .                         9,820,691 B2   11/2017 Kiani
         9,436,645 B2    9/2016 Al - Ali et al .                       9,833,152 B2   12/2017 Kiani et al .
         9,445,759 B1    9/2016 Lamego et al .                         9,833,180 B2   12/2017 Shakespeare et al .
         9,466,919 B2   10/2016 Kiani et al .                          9,838,775 B2   12/2017 Qian et al .
         9,474,474 B2   10/2016 Lamego et al .                         9,839,379 B2   12/2017 Al - Ali et al .
         9,480,422 B2   11/2016 Al - Ali                               9,839,381 B1   12/2017 Weber et al .
         9,480,435 B2   11/2016 Olsen                                  9,847,002 B2   12/2017 Kiani et al .
         9,489,081 B2   11/2016 Anzures et al .                        9,847,749 B2   12/2017 Kiani et al .
         9,492,110 B2   11/2016 Al - Ali et al .                       9,848,800 B1   12/2017 Lee et al .
         9,497,534 B2   11/2016 Prest et al .                          9,848,806 B2   12/2017 Al - Ali et al .
         9,510,779 B2   12/2016 Poeze       al.                        9,848,807 B2   12/2017 Lamego
         9,517,024 B2   12/2016 Kiani et al .                          9,848,823 B2   12/2017 Raghuram et al.
         9,526,430 B2   12/2016 Srinivas et al .                       9,861,298 B2    1/2018 Eckerbom et al .
         9,532,722 B2    1/2017 Lamego et al .                         9,861,304 B2    1/2018 Al - Ali et al .
         9,538,949 B2    1/2017 Al - Ali et al .                       9,861,305 B1    1/2018 Weber et al .
         9,538,980 B2    1/2017 Telfort et al .                        9,866,671 B1    1/2018 Thompson et al .
         9,549,696 B2    1/2017 Lamego et al .                         9,867,575 B2    1/2018 Maani et al .
         9,553,625 B2    1/2017 Hatanaka et al .                       9,867,578 B2    1/2018 Al - Ali et al .

                                                         Stay-Add-674
                   Case: 24-1285                    Document: 7         Page: 726        Filed: 12/26/2023


                                                          US 10,912,502 B2
                                                               Page 9

( 56 )                   References Cited                                10,215,698 B2    2/2019 Han et al.
                                                                         10,219,706 B2    3/2019 Al - Ali
                   U.S. PATENT DOCUMENTS                                 10,219,746 B2    3/2019 McHale et al .
                                                                         10,219,754 B1    3/2019 Lamego
          9,872,623 B2    1/2018 Al - Ali                                10,226,187 B2    3/2019 Al - Ali et al .
          9,876,320 B2    1/2018 Coverston et al .                       10,226,576 B2    3/2019 Kiani
          9,877,650 B2    1/2018 Muhsin et al .                          10,231,657 B2    3/2019 Al - Ali et al .
          9,877,686 B2    1/2018 Al - Ali et al .                        10,231,670 B2    3/2019 Blank et al .
          9,891,079 B2    2/2018 Dalvi                                   10,231,676 B2    3/2019 Al - Ali et al .
          9,891,590 B2    2/2018 Shim et al .                             RE47,353 E      4/2019 Kiani et al .
          9,895,107 B2    2/2018 Al - Ali et al .                        10,247,670 B2    4/2019 Ness et al .
          9,898,049 B2    2/2018 Myers et al .                           10,251,585 B2    4/2019 Al - Ali et al .
          9,913,617 B2    3/2018 Al - Ali et al .                        10,251,586 B2   4/2019 Lamego
          9,918,646 B2    3/2018 Singh Alvarado et al .                  10,255,994 B2    4/2019 Sampath et al.
          9,924,893 B2    3/2018 Schurman et al .                        10,258,265 B1    4/2019 Poeze et al.
          9,924,897 B1    3/2018 Abdul -Hafiz                            10,258,266 B1    4/2019 Poeze et al.
          9,936,917 B2    4/2018 Poeze et al.                            10,265,024 B2    4/2019 Lee et al .
          9,943,269 B2    4/2018 Muhsin et al .                          10,271,748 B2   4/2019 Al - Ali
          9,949,676 B2    4/2018 Al - Ali                                10,278,626 B2   5/2019 Schurman et al .
          9,952,095 B1    4/2018 Hotelling et al.                        10,278,648 B2    5/2019 Al - Ali et al .
          9,955,937 B2    5/2018 Telfort                                 10,279,247 B2    5/2019 Kiani
          9,965,946 B2    5/2018 Al - Ali                                10,285,626 B1    5/2019 Kestelli et al.
          9,980,667 B2    5/2018 Kiani et al .                           10,292,628 B1    5/2019 Poeze et al.
          D820,865 S      6/2018 Muhsin et al .                          10,292,657 B2    5/2019 Abdul -Hafiz et al .
          9,986,919 B2    6/2018 Lamego et al .                          10,292,664 B2    5/2019 Al - Ali
          9,986,952 B2    6/2018 Dalvi et al .                           10,299,708 B1    5/2019 Poeze et al.
          9,989,560 B2    6/2018 Poeze et al.                            10,299,709 B2    5/2019 Perea et al .
          9,993,207 B2    6/2018 Al - Ali et al .                        10,299,720 B2    5/2019 Brown et al .
         10,007,758 B2    6/2018 Al - Ali et al .                        10,305,775 B2    5/2019 Lamego et al .
          D822,215 S      7/2018 Al - Ali et al .                        10,307,111 B2    6/2019 Muhsin et al .
          D822,216 S      7/2018 Barker et al .                          10,325,681 B2    6/2019 Sampath et al.
         10,010,276 B2    7/2018 Al - Ali et al .                        10,327,337 B2    6/2019 Triman et al .
         10,024,655 B2    7/2018 Raguin et al .                          10,327,713 B2    6/2019 Barker et al.
         10,032,002 B2    7/2018 Kiani et al .                           10,332,630 B2    6/2019 Al - Ali
         10,039,080 B2    7/2018 Miller et al .                          10,335,033 B2    7/2019 Al - Ali
         10,039,482 B2    8/2018 Al - Ali et al .                        10,335,068 B2    7/2019 Poeze et al .
         10,039,491 B2    8/2018 Thompson et al.                         10,335,072 B2    7/2019 Al - Ali et al .
         10,052,037 B2    8/2018 Kinast et al .                          10,342,470 B2    7/2019 Al - Ali et al .
         10,055,121 B2    8/2018 Chaudhri et al .                        10,342,487 B2    7/2019 Al - Ali et al .
         10,058,275 B2    8/2018 Al - Ali et al .                        10,342,497 B2    7/2019 Al - Ali et al .
         10,064,562 B2    9/2018 Al - Ali                                10,349,895 B2    7/2019 Telfort et al .
         10,066,970 B2    9/2018 Gowreesunker et al .                    10,349,898 B2    7/2019 Al - Ali et al .
         10,076,257 B2    9/2018 Lin et al .                             10,354,504 B2    7/2019 Kiani et al .
         10,078,052 B2    9/2018 Ness et al .                            10,357,206 B2    7/2019 Weber et al .
         10,086,138 B1   10/2018 Novak , Jr.                             10,357,209 B2    7/2019 Al - Ali
         10,092,200 B2   10/2018 Al - Ali et al .                        10,366,787 B2    7/2019 Sampath et al.
         10,092,244 B2   10/2018 Chuang et al.                           10,368,787 B2    8/2019 Reichgott et al.
         10,092,249 B2   10/2018 Kiani et al .                           10,376,190 B1    8/2019 Poeze et al.
         10,098,550 B2   10/2018 Al - Ali et al .                        10,376,191 B1    8/2019 Poeze et al.
         10,098,591 B2   10/2018 Al - Ali et al .                        10,383,520 B2    8/2019 Wojtczuk et al .
         10,098,610 B2   10/2018 Al - Ali et al .                        10,388,120 B2    8/2019 Muhsin et al .
         10,111,591 B2   10/2018 Dyell et al.                            10,388,527 B2    8/2019 Togawa et al .
          D833,624 S     11/2018 Dejong et al .                          10,390,716 B2    8/2019 Shimuta
         10,117,587 B2   11/2018 Han                                     10,398,320 B2    9/2019 Kiani et al .
         10,123,726 B2   11/2018 Al - Ali et al .                        10,398,383 B2    9/2019 van Dinther et al .
         10,123,729 B2   11/2018 Dyell et al .                           10,405,804 B2    9/2019 Al - Ali
         10,130,289 B2   11/2018 Al - Ali et al .                        10,406,445 B2    9/2019 Vock et al .
         10,130,291 B2   11/2018 Schurman et al.                         10,413,666 B2    9/2019 Al - Ali et al .
          D835,282 S     12/2018 Barker et al .                          10,416,079 B2    9/2019 Magnussen et al.
          D835,283 S     12/2018 Barker et al .                          10,420,493 B2    9/2019 Al - Ali et al .
          D835,284 S     12/2018 Barker et al .                           D864,120 S     10/2019 Forrest et al .
          D835,285 S     12/2018 Barker et al .                          10,433,776 B2   10/2019 Al - Ali
         10,149,616 B2   12/2018 Al - Ali et al .                        10,441,181 B1   10/2019 Telfort et al .
         10,154,815 B2   12/2018 Al - Ali et al .                        10,441,196 B2   10/2019 Eckerbom et al .
         10,159,412 B2   12/2018 Lamego et al.                           10,448,844 B2   10/2019 Al - Ali et al .
         10,165,954 B2    1/2019 Lee                                     10,448,871 B2   10/2019 Al - Ali
         10,188,296 B2    1/2019 Al - Ali et al .                        10,456,038 B2   10/2019 Lamego et al .
         10,188,331 B1    1/2019 Kiani et al .                           10,463,284 B2   11/2019 Al - Ali et al .
         10,188,348 B2    1/2019 Al - Ali et al .                        10,463,340 B2   11/2019 Telfort et al .
          RE47,218 E      2/2019 Ali - Ali                               10,470,695 B2   11/2019 Al - Ali
          RE47,244 E      2/2019 Kiani et al .                           10,471,159 B1   11/2019 Lapotko et al .
          RE47,249 E      2/2019 Kiani et al .                           10,478,107 B2   11/2019 Kiani et al .
         10,194,847 B2    2/2019 Al - Ali                                10,503,379 B2   12/2019 Al - Ali et al .
         10,194,848 B1    2/2019 Kiani et al .                           10,505,311 B2   12/2019 Al - Ali et al .
         10,201,286 B2    2/2019 Waydo                                   10,512,436 B2   12/2019 Muhsin et al .
         10,201,298 B2    2/2019 Al - Ali et al .                        10,524,671 B2    1/2020 Lamego
         10,205,272 B2    2/2019 Kiani et al .                           10,524,706 B2    1/2020 Telfort et al .
         10,205,291 B2    2/2019 Scruggs et al .                         10,524,738 B2    1/2020 Olsen
         10,213,108 B2    2/2019 Al - Ali                                10,531,811 B2    1/2020 Al - Ali et al .

                                                            Stay-Add-675
                   Case: 24-1285                    Document: 7    Page: 727          Filed: 12/26/2023


                                                        US 10,912,502 B2
                                                             Page 10

( 56 )                   References Cited                          2005/0020927 A1
                                                                   2005/0054940 A1
                                                                                       1/2005 Blondeau et al.
                                                                                       3/2005 Almen
                   U.S. PATENT DOCUMENTS                           2005/0055276 A1     3/2005 Kiani et al .
                                                                   2005/0075548 Al     4/2005 Al - Ali et al .
         10,531,819 B2    1/2020 Diab et al .                      2005/0075553 Al     4/2005 Sakai et al .
         10,531,835 B2    1/2020 Al - Ali et al .                  2005/0116820 A1     6/2005 Goldreich
         10,532,174 B2    1/2020 Al - Ali                          2005/0192490 A1     9/2005 Yamamoto et al .
         10,537,285 B2    1/2020 Shreim et al .                    2005/0197555 A1     9/2005 Mouradian et al .
         10,542,903 B2    1/2020 Al - Ali et al .                  2005/0234317 A1    10/2005 Kiani
         10,548,561 B2    2/2020 Telfort et al .                   2005/0276164 Al    12/2005 Amron
         10,555,678 B2    2/2020 Dalvi et al .                     2005/0288592 Al    12/2005 Yamamoto
         10,568,514 B2    2/2020 Wojtczuk et al .                  2006/0005944 Al     1/2006 Wang et al .
         10,568,553 B2    2/2020 O'Neil et al.                     2006/0009607 Al     1/2006 Lutz et al .
          RE47,882 E      3/2020 Al - Ali                          2006/0009688 Al     1/2006 Lamego et al .
         10,575,779 B2    3/2020 Poeze et al .                     2006/0020180 A1     1/2006 Al - Ali
         10,582,886 B2    3/2020 Poeze et al .                     2006/0025659 Al     2/2006 Kiguchi et al .
         10,588,518 B2   3/2020 Kiani                              2006/0041198 A1     2/2006 Kondoh et al .
         10,588,553 B2   3/2020 Poeze et al.                       2006/0073719 Al    4/2006 Kiani
         10,588,554 B2    3/2020 Poeze et al .                     2006/0089557 A1     4/2006 Grajales et al .
         10,588,556 B2    3/2020 Kiani et al .                     2006/0161054 Al     7/2006 Reuss et al .
         10,595,747 B2    3/2020 Al - Ali et al .                  2006/0182659 Al     8/2006 Unlu et al .
         10,608,817 B2   3/2020 Haider et al .                     2006/0189871 Al     8/2006 Al - Ali et al .
          D880,477 S     4/2020 Forrest et al .                    2006/02 17608 A1    9/2006 Fein et al .
         10,610,138 B2   4/2020 Poeze et al.                       2006/0226992 Al    10/2006 Al - Ali et al .
         10,617,302 B2   4/2020 Al - Ali et al .                   2006/0247531 A1    11/2006 Pogue et al .
         10,617,335 B2   4/2020 Al - Ali et al .                   2006/0253010 A1    11/2006 Brady et al.
         10,617,338 B2   4/2020 Poeze et al.                       2006/0258928 A1    11/2006 Ortner et al .
         10,624,563 B2   4/2020 Poeze et al.                       2006/0270919 A1    11/2006 Brenner
         10,624,564 B1   4/2020 Poeze et al.                       2007/0038049 Al     2/2007 Huang
         10,631,765 B1   4/2020 Poeze et al.                       2007/0055119 Al     3/2007 Lash et al .
         10,637,181 B2   4/2020 Al - Ali et al .                   2007/0073116 A1     3/2007 Kiani et al .
         10,638,961 B2   5/2020 Al - Ali                           2007/0073117 A1     3/2007 Raridan
         10,646,146 B2   5/2020 Al - Ali                           2007/0093786 A1     4/2007 Goldsmith et al .
          D887,548 S     6/2020 Abdul-Hafiz et al .                2007/0100222 A1     5/2007 Mastrototaro et al .
          D887,549 S      6/2020 Abdul-Hafiz et al .               2007/0106172 A1     5/2007 Abreu
         10,667,764 B2    6/2020 Ahmed et al .                     2007/0145255 Al     6/2007 Nishikawa et al .
         10,687,743 B1    6/2020 Al - Ali                          2007/0149864 A1     6/2007 Laakkonen
         10,687,744 B1    6/2020 Al - Ali                          2007/0180140 A1     8/2007 Welch et al .
         10,687,745 B1    6/2020 Al - Ali                          2007/0191691 A1     8/2007 Polanco
          D890,708 S      7/2020 Forrest et al .                   2007/0197886 A1     8/2007 Naganuma et al .
         10,702,194 B1    7/2020 Poeze et al.                      2007/0208395 Al     9/2007 Leclerc et al .
         10,702,195 B1    7/2020 Poeze et al.                      2007/0238955 Al    10/2007 Tearney et al.
         10,709,366 B1    7/2020 Poeze et al .                     2007/0244377 Al    10/2007 Cozad et al .
         10,721,785 B2    7/2020 Al - Ali                          2007/0249916 A1    10/2007 Pesach et al .
         10,722,159 B2    7/2020 Al - Ali                          2007/0260130 A1    11/2007 Chin
         10,736,518 B2    8/2020 Al - Ali et al .                  2007/0282178 Al    12/2007 Scholler et al .
         10,750,984 B2    8/2020 Pauley et al .                    2007/0293792 A1    12/2007 Sliwa et al .
    10,779,098 B2         9/2020 Iswanto et al.                    2008/0004513 Al     1/2008 Walker et al .
 2001/0034477 Al         10/2001 Mansfield et al .                 2008/0015424 A1     1/2008 Bernreuter
 2001/0034479 Al         10/2001 Ring et al .                      2008/0031497 Al     2/2008 Kishigami et al.
 2001/0039483 Al         11/2001 Brand et al .                     2008/0064965 Al     3/2008 Jay et al .
 2001/0056243 Al         12/2001 Ohsaki et al .                    2008/0076980 A1     3/2008 Hoarau
 2002/0010401 Al          1/2002 Bushmakin et al .                 2008/0076993 Al     3/2008 Ostrowski
 2002/0045836 A1          4/2002 Alkawwas                          2008/0081966 A1
                                                                   2008/0094228 A1
                                                                                      4/2008 Debreczeny
                                                                                      4/2008 Welch et al .
 2002/0058864 A1          5/2002 Mansfield et al .
 2002/0099279 A1          7/2002 Pfeiffer et al .                  2008/0097172 Al     4/2008 Sawada et al.
 2002/0111546 A1          8/2002 Cook et al .                      2008/0122796 A1     5/2008 Jobs et al .
 2002/0133080 A1          9/2002 Apruzzese et al.                  2008/0130232 Al     6/2008 Yamamoto
 2002/0188210 A1         12/2002 Aizawa                            2008/0139908 A1     6/2008 Kurth
 2003/0013975 A1          1/2003 Kiani                             2008/0190436 Al     8/2008 Jaffe et al .
 2003/0018243 A1          1/2003 Gerhardt et al .                  2008/0194932 A1     8/2008 Ayers et al .
 2003/0036690 A1          2/2003 Geddes et al .                    2008/0221418 A1     9/2008 Al - Ali et al .
 2003/0078504 A1          4/2003 Rowe                              2008/0221426 Al     9/2008 Baker et al.
 2003/0088162 A1          5/2003 Yamamoto et al .                  2008/0221463 A1     9/2008 Baker
 2003/0098969 Al          5/2003 Katz et al .                      2008/0242958 Al    10/2008 Al - Ali et al .
 2003/0100840 A1          5/2003 Sugiura et al.                    2008/0262325 Al    10/2008 Lamego
 2003/0144582 A1          7/2003 Cohen et al .                     2008/0319290 A1    12/2008 Mao et al .
 2003/0156288 Al          8/2003 Barnum et al .                    2009/0024013 Al     1/2009 Soller
 2003/0158501 A1          8/2003 Uchida et al .                    2009/0030327 A1     1/2009 Chance
 2003/0212312 A1         11/2003 Coffin , IV et al .               2009/0036759 Al     2/2009 Ault et al .
 2004/0054290 A1          3/2004 Chance                            2009/0043180 A1     2/2009 Tschautscher et al .
 2004/0054291 A1          3/2004 Schulz et al .                    2009/0093687 A1     4/2009 Telfort et al .
 2004/0106163 A1          6/2004 Workman, Jr. et al .              2009/0095926 A1     4/2009 MacNeish , III
 2004/0114783 A1          6/2004 Spycher et al .                   2009/0129102 A1     5/2009 Xiao et al .
 2004/0132197 A1          7/2004 Zahniser et al .                  2009/0156918 Al     6/2009 Davis et al.
 2004/0133081 A1          7/2004 Teller et al .                    2009/0163775 Al     6/2009 Barrett et al .
 2004/0138568 A1          7/2004 Lo et al .                        2009/0163783 Al     6/2009 Mannheimer et al .
 2004/0152957 Al          8/2004 Stivoric et al.                   2009/0163787 Al     6/2009 Mannheimer et al .
 2004/0220738 Al         11/2004 Nissila                           2009/0177097 A1     7/2009 Ma et al .

                                                          Stay-Add-676
              Case: 24-1285                    Document: 7        Page: 728         Filed: 12/26/2023


                                                   US 10,912,502 B2
                                                        Page 11

( 56 )              References Cited                              2014/0012100 A1
                                                                  2014/0034353 A1
                                                                                     1/2014 Al - Ali et al .
                                                                                     2/2014 Al - Ali et al .
              U.S. PATENT DOCUMENTS                               2014/0051953 A1    2/2014 Lamego et al .
                                                                  2014/0051955 A1    2/2014 Tiao et al .
 2009/0187085 Al     7/2009 Pay                                   2014/0058230 Al    2/2014 Abdul-Hafiz et al .
 2009/0234206 A1     9/2009 Gaspard et al .                       2014/0073887 Al    3/2014 Petersen et al .
 2009/0247885 Al    10/2009 Suzuki et al .                        2014/0073960 A1    3/2014 Rodriguez - Llorente et al .
 2009/0247984 A1    10/2009 Lamego et al .                        2014/0077956 A1    3/2014 Sampath et al .
 2009/0259114 Al    10/2009 Johnson et al .                       2014/0081100 A1    3/2014 Muhsin et al .
 2009/0270699 A1    10/2009 Scholler et al .                      2014/0081175 Al    3/2014 Telfort
 2009/0275813 Al    11/2009 Davis                                 2014/0094667 Al    4/2014 Schurman et al .
 2009/0275844 A1    11/2009 Al - Ali                              2014/0100434 A1    4/2014 Diab et al .
 2009/0306487 Al    12/2009 Crowe et al .                         2014/0107493 Al    4/2014 Yuen et al .
 2009/0326346 A1    12/2009 Kracker et al .                       2014/0114199 Al    4/2014 Lamego et al .
 2010/0004518 A1     1/2010 Vo et al.                             2014/0120564 A1    5/2014 Workman et al .
 2010/0030040 A1     2/2010 Poeze et al .                         2014/0121482 A1    5/2014 Merritt et al .
 2010/0030043 Al     2/2010 Kuhn                                  2014/0121483 Al    5/2014 Kiani
 2010/0099964 A1     4/2010 O'Reilly et al.                       2014/0127137 A1    5/2014 Bellott et al.
 2010/0113948 A1     5/2010 Yang et al .                          2014/0129702 A1    5/2014 Lamego et al .
 2010/0130841 A1     5/2010 Ozawa et al.                          2014/0135588 A1    5/2014 Al - Ali et al .
 2010/0210925 Al     8/2010 Holley et al .                        2014/0142401 A1    5/2014 Al - Ali et al .
 2010/0234718 Al     9/2010 Sampath et al.                        2014/0163344 Al    6/2014 Al - Ali
 2010/0270257 Al    10/2010 Wachman et al .                       2014/0163402 A1    6/2014 Lamego et al .
 2010/0305416 A1    12/2010 Bedard et al .                        2014/0166076 Al    6/2014 Kiani et al .
 2011/0001605 Al     1/2011 Kiani et al .                         2014/0171146 A1    6/2014 Ma et al .
 2011/0003665 A1     1/2011 Burton et al .                        2014/0171763 Al    6/2014 Diab
 2011/0004079 Al     1/2011 Al - Ali et al .                      2014/0180154 Al    6/2014 Sierra et al.
 2011/0004106 A1     1/2011 Iwamiya et al.                        2014/0180160 A1    6/2014 Brown et al .
 2011/0028806 Al     2/2011 Merritt et al .                       2014/0187973 Al    7/2014 Brown et al .
 2011/0028809 Al     2/2011 Goodman                               2014/0192177 A1    7/2014 Bartula et al .
 2011/0040197 A1     2/2011 Welch et al .                         2014/0194709 A1    7/2014 Al - Ali et al .
 2011/0082711 A1     4/2011 Poeze et al.                          2014/0194711 A1    7/2014 Al - Ali
 2011/0085721 A1     4/2011 Guyon et al .                         2014/0194766 A1    7/2014 Al - Ali et al .
 2011/0087081 A1     4/2011 Kiani et al .                         2014/0206954 A1    7/2014 Yuen et al .
 2011/0105854 A1     5/2011 Kiani et al .                         2014/0206963 A1    7/2014 Al - Ali
 2011/0105865 A1     5/2011 Yu et al .                            2014/0213864 A1    7/2014 Abdul-Hafiz et al .
  2011/0118561 Al    5/2011 Tari et al .                          2014/0221854 Al    8/2014 Wai
  2011/0137297 Al    6/2011 Kiani et al .                         2014/0243627 A1    8/2014 Diab et al .
  2011/0172498 A1    7/2011 Olsen et al .                         2014/0266790 A1    9/2014 Al - Ali et al .
  2011/0208015 A1    8/2011 Welch et al .                         2014/0275808 A1    9/2014 Poeze et al .
  2011/0213212 Al    9/2011 Al - Ali                              2014/0275871 A1    9/2014 Lamego et al .
  2011/0230733 Al    9/2011 Al - Ali                              2014/0275872 A1    9/2014 Merritt et al .
  2011/0237911 A1    9/2011 Lamego et al.                         2014/0275881 Al    9/2014 Lamego et al .
 2011/0245697 A1    10/2011 Miettinen                             2014/0276013 A1    9/2014 Muehlemann et al.
 2012/0059267 Al     3/2012 Lamego et al .                        2014/0276116 Al    9/2014 Takahashi et al .
 2012/0078069 Al     3/2012 Melker                                2014/0288400 A1    9/2014 Diab et al .
 2012/0123231 Al     5/2012 O'Reilly                              2014/0296664 Al   10/2014 Bruinsma et al .
 2012/0150052 A1     6/2012 Buchheim et al .                      2014/0303520 A1   10/2014 Telfort et al .
 2012/0165629 Al     6/2012 Merritt et al .                       2014/0316217 Al   10/2014 Purdon et al .
 2012/0179006 A1     7/2012 Jansen et al .                        2014/0316218 A1   10/2014 Purdon et al .
 2012/0197093 Al     8/2012 LeBoeuf et al.                        2014/0316228 A1   10/2014 Blank et al .
 2012/0197137 A1     8/2012 Jeanne et al .                        2014/0323825 A1   10/2014 Al - Ali et al .
 2012/0209084 A1     8/2012 Olsen et al .                         2014/0323897 A1   10/2014 Brown et al .
 2012/0226117 Al     9/2012 Lamego et al .                        2014/0323898 Al   10/2014 Purdon et al .
 2012/0227739 A1     9/2012 Kiani                                 2014/0330098 Al   11/2014 Merritt et al .
 2012/0283524 Al    11/2012 Kiani et al .                         2014/0330099 A1   11/2014 Al - Ali et al .
 2012/0296178 A1    11/2012 Lamego et al.                         2014/0333440 A1   11/2014 Kiani
 2012/0319816 A1    12/2012 Al - Ali                              2014/0336481 A1   11/2014 Shakespeare et al .
 2012/0330112 A1    12/2012 Lamego et al .                        2014/0343436 A1   11/2014 Kiani
 2013/0018233 Al     1/2013 Cinbis et al .                        2014/0357966 Al   12/2014 Al - Ali et al .
 2013/0023775 A1     1/2013 Lamego et al .                        2014/0361147 Al   12/2014 Fei
 2013/0041591 Al     2/2013 Lamego                                2014/0378844 Al   12/2014 Fei
 2013/0045685 Al     2/2013 Kiani                                 2015/0005600 A1    1/2015 Blank et al .
 2013/0046204 Al     2/2013 Lamego et al .                        2015/0011907 A1    1/2015 Purdon et al .
 2013/0060147 A1     3/2013 Welch et al .                         2015/0018650 A1    1/2015 Al - Ali et al .
 2013/0085346 Al     4/2013 Lin et al .                           2015/0032029 Al    1/2015 Al - Ali et al .
 2013/0096405 A1     4/2013 Garfio                                2015/0065889 Al    3/2015 Gandelman et al .
 2013/0096936 Al     4/2013 Sampath et al.                        2015/0073235 A1    3/2015 Kateraas et al .
 2013/0131474 A1     5/2013 Gu et al .                            2015/0073241 A1    3/2015 Lamego
 2013/0190581 A1     7/2013 Al - Ali et al .                      2015/0080754 Al    3/2015 Purdon et al .
 2013/0197328 Al     8/2013 Diab et al .                          2015/0087936 A1    3/2015 Al - Ali et al .
 2013/0204112 A1     8/2013 White et al.                          2015/0094546 Al    4/2015 Al - Ali
 2013/0211214 Al     8/2013 Olsen                                 2015/0099950 Al    4/2015 Al - Ali et al .
 2013/0243021 Al     9/2013 Siskavich                             2015/0101844 Al    4/2015 Al - Ali et al .
 2013/0296672 A1    11/2013 O'Neil et al .                        2015/0106121 A1    4/2015 Muhsin et al .
 2013/0324808 Al    12/2013 Al - Ali et al .                      2015/0119725 Al    4/2015 Martin et al .
 2013/0331670 A1    12/2013 Kiani                                 2015/0173671 Al    6/2015 Paalasmaa et al .
 2013/0338461 A1    12/2013 Lamego et al .                        2015/0196249 Al    7/2015 Brown et al.
 2013/0345921 A1    12/2013 Al - Ali et al .                      2015/0216459 Al    8/2015 Al - Ali et al .

                                                     Stay-Add-677
             Case: 24-1285                    Document: 7     Page: 729             Filed: 12/26/2023


                                                  US 10,912,502 B2
                                                        Page 12

( 56 )             References Cited                               2017/0143281 A1
                                                                  2017/0147774 A1
                                                                                     5/2017 Olsen
                                                                                     5/2017 Kiani
             U.S. PATENT DOCUMENTS                                2017/0164884 Al    6/2017 Culbert et al .
                                                                  2017/0172435 A1    6/2017 Presura
 2015/0255001 Al    9/2015 Haughav et al .                        2017/0172476 A1    6/2017 Schilthuizen
 2015/0257689 A1    9/2015 Al - Ali et al .                       2017/0173632 A1    6/2017 Al - Ali
 2015/0281424 Al   10/2015 Vock et al .                           2017/0196464 Al    7/2017 Jansen et al .
 2015/0318100 A1   11/2015 Rothkopf et al .                       2017/0196470 A1    7/2017 Lamego et al .
 2015/0351697 A1   11/2015 Weber et al .                          2017/0202505 Al    7/2017 Kirenko et al .
 2015/0351704 A1   12/2015 Kiani et al .                          2017/0209095 Al    7/2017 Wagner et al.
 2015/0366472 Al   12/2015 Kiani                                  2017/0228516 A1    8/2017 Sampath et al.
 2015/0366507 Al   12/2015 Blank                                  2017/0245790 A1    8/2017 Al - Ali et al .
 2015/0374298 A1   12/2015 Al - Ali et al .                       2017/0248446 A1    8/2017 Gowreesunker et al .
 2015/0380875 Al   12/2015 Coverston et al .                      2017/0251974 Al    9/2017 Shreim et al .
 2016/0000362 A1    1/2016 Diab et al .                           2017/0273619 Al    9/2017 Alvarado et al .
 2016/0007930 A1    1/2016 Weber et al .                          2017/0281024 Al   10/2017 Narasimhan et al .
 2016/0019360 A1    1/2016 Pahwa et al .                          2017/0293727 Al   10/2017 Klaassen et al .
 2016/0022160 A1    1/2016 Pi et al .                             2017/0311891 Al   11/2017 Kiani et al .
 2016/0023245 A1    1/2016 Zadesky et al .                        2017/0325698 A1   11/2017 Allec et al .
 2016/0029932 A1    2/2016 Al - Ali                               2017/0325744 Al   11/2017 Allec et al .
 2016/0029933 A1    2/2016 Al - Ali et al .                       2017/0340209 Al   11/2017 Klaassen et al .
 2016/0038045 A1    2/2016 Shapiro                                2017/0340219 Al   11/2017 Sullivan et al .
 2016/0041531 A1    2/2016 Mackie et al .                         2017/0340293 Al   11/2017 Al - Ali et al .
 2016/0045118 A1    2/2016 Kiani                                  2017/0347885 A1   12/2017 Tan et al .
 2016/0051157 A1    2/2016 Waydo                                  2017/0354332 A1   12/2017 Lamego
 2016/0051158 Al    2/2016 Silva                                  2017/0354795 A1   12/2017 Blahnik et al .
 2016/0051205 A1    2/2016 Al - Ali et al .                       2017/0358239 Al   12/2017 Arney et al .
 2016/0058302 A1    3/2016 Raghuram et al .                       2017/0358240 A1   12/2017 Blahnik et al .
 2016/0058309 Al    3/2016 Han                                    2017/0358242 Al   12/2017 Thompson et al.
 2016/0058310 Al    3/2016 lijima                                 2017/0360306 A1   12/2017 Narasimhan et al .
 2016/0058312 A1    3/2016 Han et al.                             2017/0366657 Al   12/2017 Thompson et al .
 2016/0058338 A1    3/2016 Schurman et al .                       2018/0008146 Al    1/2018 Al - Ali et al .
 2016/0058356 Al    3/2016 Raghuram et al.                        2018/0014781 Al    1/2018 Clavelle et al .
 2016/0058370 A1    3/2016 Raghuram et al .                       2018/0025287 Al    1/2018 Mathew et al .
 2016/0066823 A1    3/2016 Al - Ali et al .                       2018/0042556 A1    2/2018 Shahparnia et al .
 2016/0066824 A1    3/2016 Al - Ali et al .                       2018/0049694 Al    2/2018 Singh Alvarado et al .
 2016/0066879 Al    3/2016 Telfort et al .                        2018/0050235 Al    2/2018 Tan et al .
 2016/0071392 Al    3/2016 Hankey et al.                          2018/0055375 A1    3/2018 Martinez et al .
 2016/0072429 Al    3/2016 Kiani et al .                          2018/0055390 A1    3/2018 Kiani
 2016/0073967 A1    3/2016 Lamego et al .                         2018/0055439 Al    3/2018 Pham et al .
 2016/0106367 A1    4/2016 Jorov et al .                          2018/0056129 Al    3/2018 Narasimha Rao et al .
 2016/0113527 Al    4/2016 Al - Ali et al .                       2018/0064381 A1    3/2018 Shakespeare et al .
 2016/0143548 Al    5/2016 Al - Ali                               2018/0070867 A1   3/2018 Smith et al.
 2016/0154950 A1    6/2016 Nakajima et al.                        2018/0078151 A1   3/2018 Allec et al .
 2016/0157780 A1    6/2016 Rimminen et al .                       2018/0078182 A1   3/2018 Chen et al .
 2016/0166210 Al    6/2016 Al - Ali                               2018/0082767 Al   3/2018 Al - Ali et al .
 2016/0192869 Al    7/2016 Kiani et al .                          2018/0085068 A1   3/2018 Telfort
 2016/0196388 Al    7/2016 Lamego                                 2018/0087937 Al   3/2018 Al - Ali et al .
 2016/0197436 A1    7/2016 Barker et al .                         2018/0103874 Al   4/2018 Lee et al .
 2016/0213281 A1    7/2016 Eckerbom et al .                       2018/0103905 Al   4/2018 Kiani
 2016/0213309 A1    7/2016 Sannholm et al .                       2018/0110469 Al   4/2018 Maani et al .
 2016/0256058 A1    9/2016 Pham et al .                           2018/0125368 A1    5/2018 Lamego et al .
 2016/0256082 A1    9/2016 Ely et al .                            2018/0125430 A1    5/2018 Al - Ali et al .
 2016/0267238 Al    9/2016 Nag                                    2018/0132769 A1    5/2018 Weber et al .
 2016/0270735 A1    9/2016 Diab et al .                           2018/0146901 Al    5/2018 Al - Ali et al .
 2016/0283665 A1    9/2016 Sampath et al.                         2018/0146902 A1    5/2018 Kiani et al .
 2016/0287107 Al   10/2016 Szabados et al .                       2018/0153418 Al    6/2018 Sullivan et al .
 2016/0287181 A1   10/2016 Han et al.                             2018/0153442 A1    6/2018 Eckerbom et al .
 2016/0287786 A1   10/2016 Kiani                                  2018/0153446 A1    6/2018 Kiani
 2016/0296173 A1   10/2016 Culbert                                2018/0153448 Al    6/2018 Weber et al .
 2016/0296174 Al   10/2016 Isikman et al .                        2018/0164853 Al    6/2018 Myers et al .
 2016/0310027 A1   10/2016 Han                                    2018/0168491 A1    6/2018 Al - Ali et al .
 2016/0314260 A1   10/2016 Kiani                                  2018/0184917 Al    7/2018 Kiani
 2016/0327984 Al   11/2016 Al - Ali et al .                       2018/0192924 A1    7/2018 Al - Ali
 2016/0367173 Al   12/2016 Dalvi et al .                          2018/0192953 A1    7/2018 Shreim et al .
 2016/0378069 Al   12/2016 Rothkopf                               2018/0196514 A1    7/2018 Allec et al .
 2016/0378071 A1   12/2016 Rothkopf                               2018/0199871 A1    7/2018 Pauley et al.
 2017/0007183 Al    1/2017 Dusan et al .                          2018/0206795 Al    7/2018 Al - Ali
 2017/0010858 A1    1/2017 Prest et al .                          2018/0206815 Al    7/2018 Telfort
 2017/0014083 Al    1/2017 Diab et al .                           2018/0213583 Al    7/2018 Al - Ali
 2017/0024748 A1    1/2017 Haider                                 2018/0214090 A1    8/2018 Al - Ali et al .
 2017/0042488 A1    2/2017 Muhsin                                 2018/0216370 A1    8/2018 Ishiguro et al .
 2017/0055896 Al    3/2017 Al - Ali et al .                       2018/0218792 A1    8/2018 Muhsin et al .
 2017/0074897 A1    3/2017 Mermel et al.                          2018/0225960 A1    8/2018 Al - Ali et al .
 2017/0084133 Al    3/2017 Cardinali et al .                      2018/0228414 Al    8/2018 Shao et al .
 2017/0086689 Al    3/2017 Shui et al .                           2018/0238718 A1    8/2018 Dalvi
 2017/0086742 A1    3/2017 Harrison -Noonan et al .               2018/0238734 A1    8/2018 Hotelling et al .
 2017/0086743 A1    3/2017 Bushnell et al.                        2018/0242853 Al    8/2018 Al - Ali
 2017/0094450 A1    3/2017 Tu et al .                             2018/0242923 A1    8/2018 Al - Ali et al .

                                                      Stay-Add-678
             Case: 24-1285                    Document: 7    Page: 730             Filed: 12/26/2023


                                                  US 10,912,502 B2
                                                       Page 13

( 56 )             References Cited                              2020/0000415 A1
                                                                 2020/0015716 A1
                                                                                    1/2020 Barker et al .
                                                                                    1/2020 Poeze et al .
             U.S. PATENT DOCUMENTS                               2020/0021930 A1     1/2020 Iswanto et al.
                                                                 2020/0037453 A1    1/2020 Triman et al .
 2018/0242926 A1    8/2018 Muhsin et al .                        2020/0037891 A1    2/2020 Kiani et al .
 2018/0247353 A1    8/2018 Al - Ali et al .                      2020/0037966 A1    2/2020 Al - Ali
 2018/0247712 A1    8/2018 Muhsin et al .                        2020/0046257 Al    2/2020 Eckerbom et al .
 2018/0256087 A1    9/2018 Al - Ali et al .                      2020/0054253 Al    2/2020 Al - Ali et al .
 2018/0279956 A1   10/2018 Waydo et al .                         2020/0060591 A1    2/2020 Diab et al .
 2018/0285094 A1   10/2018 Housel et al .                        2020/0060628 A1    2/2020 Al - Ali et al .
 2018/0296161 A1   10/2018 Shreim et al .                        2020/0060629 Al    2/2020 Muhsin et al .
 2018/0300919 Al   10/2018 Muhsin et al .                        2020/0060869 Al    2/2020 Telfort et al .
 2018/0310822 A1   11/2018 Lndorf et al.                         2020/0074819 Al    3/2020 Muhsin et al .
 2018/0310823 Al   11/2018 Al - Ali et al .                      2020/0111552 Al    4/2020 Ahmed
 2018/0317826 A1   11/2018 Muhsin                                2020/0113435 A1    4/2020 Muhsin
 2018/0317841 A1   11/2018 Novak , Jr.                           2020/0113488 A1    4/2020 Al - Ali et al .
 2018/0333055 Al   11/2018 Lamego et al .                        2020/0113496 Al    4/2020 Scruggs et al .
 2018/0333087 A1   11/2018 Al - Ali                              2020/0113497 A1    4/2020 Triman et al .
 2019/0000317 A1    1/2019 Muhsin et al .                        2020/0113520 A1    4/2020 Abdul -Hafiz et al .
 2019/0015023 Al    1/2019 Monfre                                2020/0138288 Al    5/2020 Al - Ali et al .
 2019/0029574 A1    1/2019 Schurman et al .                      2020/0138368 A1    5/2020 Kiani et al .
 2019/0029578 A1    1/2019 Al - Ali et al .                      2020/0163597 Al    5/2020 Dalvi et al .
 2019/0058280 A1    2/2019 Al - Ali et al .                  2020/0196877 A1        6/2020 Vo et al .
 2019/0069813 Al    3/2019 Al - Ali                          2020/0196882 Al        6/2020 Kiani et al .
 2019/0076028 A1    3/2019 Al - Ali et al .                  2020/0221980 A1        7/2020 Poeze et al.
 2019/0082979 Al    3/2019 Al - Ali et al .                  2020/0253474 A1        8/2020 Muhsin et al .
 2019/0090760 A1    3/2019 Kinast et al .                        2020/0253544 Al    8/2020 Belur Nagaraj et al .
 2019/0090764 A1    3/2019 Al - Ali                              2020/0275841 A1    9/2020 Telfort et al .
 2019/0117070 A1    4/2019 Muhsin et al .                        2020/0288983 Al    9/2020 Telfort et al .
 2019/0117139 A1    4/2019 Al - Ali et al .
 2019/0117141 A1    4/2019 Al - Ali                                       FOREIGN PATENT DOCUMENTS
 2019/0117930 A1    4/2019 Al - Ali
 2019/0122763 A1    4/2019 Sampath et al.                   CN              101564290          10/2009
 2019/0133525 A1    5/2019 Al - Ali et al .                                 101484065          11/2011
 2019/0142283 A1    5/2019 Lamego et al .                                   103906468           7/2014
 2019/0142344 A1    5/2019 Telfort et al .                  EP                0102816           3/1984
 2019/0150856 Al    5/2019 Kiani et al .                    EP                0419223           3/1991
 2019/0167161 A1    6/2019 Al - Ali et al .                 EP                0630208          12/1994
 2019/0175019 Al    6/2019 Al - Ali et al .                 EP                0665727           1/1997
 2019/0192076 A1    6/2019 McHale et al .                   EP                0760223           3/1997
 2019/0200941 Al    7/2019 Chandran et al.                  EP                0770349           5/1997
 2019/0201623 Al    7/2019 Kiani                            EP                0781527           7/1997
 2019/0209025 A1    7/2019 Al - Ali                         EP                0880936          12/1998
 2019/0214778 A1    7/2019 Scruggs et al.                   EP                0922432           6/1999
 2019/0216319 Al    7/2019 Poeze et al.                     EP                0985373           3/2000
 2019/0216379 Al    7/2019 Al - Ali et al .                 EP                1518494           3/2005
 2019/0221966 A1    7/2019 Kiani et al .                    EP                1526805           5/2005
 2019/0223804 Al    7/2019 Blank et al .                    EP                1124609           8/2006
 2019/0231199 Al    8/2019 Al - Ali et al .                 EP                1860989          12/2007
 2019/0231241 A1    8/2019 Al - Ali et al .                 EP                1875213           1/2008
 2019/0231270 A1    8/2019 Abdul -Hafiz et al.              EP                1880666           1/2008
 2019/0239787 Al    8/2019 Pauley et al .                   EP                2165196           3/2010
 2019/0239824 A1    8/2019 Muhsin et al .                   EP                 2277440          1/2011
 2019/0254578 A1    8/2019 Lamego                           GB                 2243691         11/1991
 2019/0261857 A1    8/2019 Al - Ali                         JP               05-325705         12/1993
 2019/0269370 A1    9/2019 Al - Ali et al .                 JP               08-185864          7/1996
 2019/0274627 Al    9/2019 Al - Ali et al .                 JP             H09-173322           7/1997
 2019/0274635 A1    9/2019 Al - Ali et al .                 JP             H 09257508          10/1997
 2019/0290136 Al    9/2019 Dalvi et al .                    JP             H 10314133          12/1998
 2019/0298270 A1   10/2019 Al - Ali et al .                 JP              H 1170086           3/1999
 2019/0304601 A1   10/2019 Sampath et al.                   JP               29193262           7/1999
 2019/0304605 A1   10/2019 Al - Ali                         JP             H11-197127           7/1999
 2019/0307377 A1   10/2019 Perea et al .                    JP              H 11235320          8/1999
 2019/0320906 A1   10/2019 Olsen                            JP             2001-066990          3/2001
 2019/0320959 Al   10/2019 Al - Ali                         JP             2001-087250          4/2001
 2019/0320988 Al   10/2019 Ahmed et al .                    JP             2002-500908          1/2002
 2019/0325722 A1   10/2019 Kiani et al .                    JP             2003-024276          1/2003
 2019/0350506 A1   11/2019 Al - Ali                         JP             2003-508104          3/2003
 2019/0357813 A1   11/2019 Poeze et al .                    JP             2003-265444          9/2003
 2019/0357823 Al   11/2019 Reichgott et al.                 JP             2004-329406         11/2004
 2019/0357824 Al   11/2019 Al - Ali                         JP             2004-344668         12/2004
 2019/0358524 Al   11/2019 Kiani                            JP             2005-160641          6/2005
 2019/0365294 Al   12/2019 Poeze et al.                     JP             2005-270543         10/2005
 2019/0374139 Al   12/2019 Kiani et al .                    JP                37411472          2/2006
 2019/0374173 A1   12/2019 Kiani et al .                    JP             2006-102164          4/2006
 2019/0374713 Al   12/2019 Kiani et al .                    JP             2006-177837          7/2006
 2019/0386908 Al   12/2019 Lamego et al .                   JP             2006-198321          8/2006
 2019/0388039 Al   12/2019 Al - Ali                         JP                38033512          8/2006
 2020/0000338 A1    1/2020 Lamego et al .                   JP             2006-296564         11/2006

                                                    Stay-Add-679
                 Case: 24-1285                   Document: 7              Page: 731                Filed: 12/26/2023


                                                          US 10,912,502 B2
                                                                    Page 14

( 56 )                  References Cited                                 B - H . Yang et al., “ A Twenty -Four Hour Tele -Nursing System Using
                                                                         a Ringer Sensor ,” Proceedings of 1998 IEEE International Confer
             FOREIGN PATENT DOCUMENTS                                    ence on Robotics and Automation , May 16-20 , 1998 , 6 pages .
                                                                         B - S . Lin et al ., “ RTWPMS : A Real- Time Wireless Physiological
JP
JP
              2007-389463
              2007-319232
                                    11/2007
                                    12/2007
                                                                         Monitoring System , ” IEEE Transactions on Information Technol
JP            2008-099222            4/2008                              ogy in Biomedicine , vol . 10 , No. 4 , Oct. 2006 , pp . 647-656 .
JP            2009-106373            5/2009                              Burritt, Mary F .; Current Analytical Approaches to Measuring
JP            2011-147746            8/2011                              Blood Analytes ; vol . 36 ; No. 8 ( B ) ; 1990 .
JP            2013-515528            5/2013                              C. J. Pujary, “ Investigation of Photodetector Optimization in Reduc
JP                 5756752           6/2015                              ing Power Consumption by a Noninvasive Pulse Oximeter Sensor,"
KR          20070061122              6/2007                              Worcester Polytechnic Institute, Jan. 16 , 2004 , 133 pages .
KR            100755079              9/2007                              C. Pujary et al.,“ Photodetector Size Considerations in the Design of
KR          20100091592              8/2010                              a Noninvasive Reflectance Pulse Oximeter for Telemedicine Appli
WO
WO
           WO 93/012712
            WO 94/23643
                                     7/1993                              cations , ” Proceedings of IEEE Annual Northeast Bioengineering
                                    10/1994                              Conference , 2003 , pp . 148-149 .
WO
WO
         WO 1995/000070              1/1995
                                     9/1996
                                                                         C. W. Mundt et al., “ A Multiparameter Wearable Physiologic
WO
          WO 1996/27325
          WO 1996/41566             12/1996
                                                                         Monitoring System for Space and Terrestrial Applications ,” IEEE
WO       WO 1997/009923              3/1997                              Transactions on Information Technology in Biomedicine , vol . 9 ,
WO         WO 99/000053              1/1999                              No. 3 , Sep. 2005 , pp . 382-391 .
WO         WO 99/001704              7/1999                              D. C. Zheng and Y. T. Zhang, “ A ring - type device for the nonin
WO       WO 1999/063883             12/1999                              vasive measurement of arterial blood pressure , ” Proceedings of the
WO           WO 00/18290             4/2000                              25th Annual International Conference of the IEEE Engineering in
WO           WO 00/25112             5/2000                              Medicine and Biology Society ( IEEE Cat. No. 03CH37439 ) , Sep.
WO       WO 2000/028892              5/2000                              17-21 , 2003, Cancun , pp . 3184-3187 vol . 4 .
WO         WO 01/09589               2/2001                              D. Konstantas et al . , “ Mobile Patient Monitoring : The MobiHealth
WO         WO 01/50433               7/2001                              System , ” In Proceedings of International Conference on Medical
WO       WO 2002/062213              8/2002                              and Care Compunetics, NCC'04 , Feb. 2004 , 8 pages .
WO       WO 2005/094667             10/2005                              D. Marculescu et al . , “ Ready to Ware,” IEEE Spectrum , vol . 40 ,
WO       WO 2006/016366              2/2006                              Issue 10 , Oct. 2003 , pp . 28-32 .
WO       WO 2006/017117              2/2006                              E. Higurashi et al . , “ An integrated laser blood flowmeter,” Journal
WO       WO 2006/060949              6/2006
WO       WO 2006/079862              8/2006                              of Lightwave Technology, vol . 21 , No. 3 , pp . 591-595 , Mar. 2003 .
WO       WO 2006/090371              8/2006                              Eiji Higurashi et al . , “ Hybrid integration technologies for optical
WO       WO 2006/113070             10/2006                              micro -systems”, Proc . SPIE 5604 , Optomechatronic Micro /Nano
WO       WO 2007/004083              1/2007                              Components, Devices, and Systems , Oct. 25 , 2004 , pp . 67-73 .
WO       WO 2007/017266              2/2007                              European Office Action issued in Application No. 09791157.2 ,
WO       WO 2007/048039              4/2007                              dated Jun . 20 , 2016 .
WO       WO 2007/144817             12/2007                              European Office Action issued in application No. 10763901.5 dated
WO       WO 2008/002405              1/2008                              Jan. 11 , 2013
WO       WO 2008/107238              9/2008                              European Office Action issued in application No. 10763901.5 dated
WO       WO 2008/149081             12/2008                              Aug. 6 , 2015 .
WO       WO 2009/001988             12/2008
WO       WO 2009/137524             11/2009                              European Office Action issued in application No. 10763901.5 dated
WO       WO 2010/003134              1/2010                              Aug. 27 , 2014 .
WO       WO 2011/051888              5/2011                              Fabio Buttussi et al.,“MOPET: A context -aware and user -adaptive
WO       WO 2011/069122              6/2011                              wearable system for fitness training," Artificial Intelligence in
WO       WO 2013/030744              3/2013                              Medicine 42 , 2008 , pp . 153-163 .
WO       WO 2013/106607              7/2013                              G. Comtois et al., “ A Noise Reference Input to an Adaptive Filter
WO       WO 2013/181368             12/2013                              Algorithm for Signal Processing in a Wearable Pulse Oximeter,"
WO       WO 2014/115075              7/2014                              IEEE , 2007 , pp . 106-107 .
WO       WO 2014/149781              9/2014                              G. Comtois, " A Comparative Evaluation of Adaptive Noise Can
WO       WO 2014/153200              9/2014                              cellation Algorithms for Minimizing Motion Artifacts in a Forehead
WO       WO 2014/158820             10/2014                              Mounted Wearable Pulse Oximeter , ” Proceedings of the 29th Annual
WO       WO 2014/178793             11/2014                              international Conference of the IEEE EMBS , Aug. 23-26 , 2007 , pp .
WO       WO 2014/184447             11/2014
WO       WO 2015/187732             12/2015                              1528-1531 .
WO       WO 2016/066312              5/2016                              G. Tamannagari, “ Power Efficient Design of Finder -Ring Sensor for
                                                                         Patient Monitoring , ” Master of Science in Electrical Engineering ,
                                                                         The University of Texas at San Antonio , College of Engineering ,
                   OTHER PUBLICATIONS                                    Department of Electrical Engineering, Dec. 2008 , 74 pages .
A. C. M. Dassel et al ., “ Reflectance Pulse Oximetry at the Forehead    H.H. Asada et al . , “ Mobile Monitoring with Wearable
                                                                         Photoplethysmographic Biosensors, ” IEEE Engineering in Medi
Improves by Pressure on the Probe,” Journal of Clinical Monitoring ,     cine and Biology Magazine , May/ Jun. 2003 , pp . 28-40.
vol . 11 , No. 4 , Jul. 1995 , pp . 237-244 .                            Hall , et al . , Jeffrey W.; Near - Infrared Spectrophotometry : A New
A. Tura et al., “ A Wearable Device with Wireless Bluetooth - based      Dimension in Clinical Chemistry ; vol . 38 ; No. 9 ; 1992 .
Data Transmission , ” Measurement Science Review , vol . 3 , Sec . 2 ,   http://amivital.ugr.es/blog/?tag+spo2 ; Monitorizacion de la
2003 , pp . 1-4 .                                                        hemoglobina... y mucho mas , printed on Aug. 20 , 2009 .
Akira Sakane et al ., “ Estimating Arterial Wall Impedance using a       http://blogderoliveira.blogspot.com/2008_02_01_archive.html; Ricardo
Plethysmogram ,” IEEE 2003 , pp . 580-585 .                              Oliveira , printed on Aug. 20 , 2009 .
B. McGarry et al . , “ Reflections on a candidate design of the          http://www.masimo.com/generalFloor/system.htm ; Masimo Patient
user -interface for a wireless vital- signs monitor, ” Proceedings of    SafetyNet System at a Glance, printed on Aug. 20 , 2009 .
DARE 2000 on Designing Augmented Reality Environments, Jan.              http://www.masimo.com/partners/GRASEBY.htm ; Graseby Medi
2000 , pp . 33-40 .                                                      cal Limited , printed on Aug. 20 , 2009 .
B.-H. Yang et al . , “ Development of the ring sensor for healthcare     http://www.masimo.com/PARTNERS/WELCHALLYN.htm ; Welch
automation , ” Robotics and Autonomous Systems , 2000 , pp . 273         Allyn Expands Patient Monitor Capabilities with Masimo Pulse
281 .                                                                    Oximetry Technology, printed on Aug. 20 , 2009 .
                                                              Stay-Add-680
                      Case: 24-1285                 Document: 7            Page: 732                  Filed: 12/26/2023


                                                           US 10,912,502 B2
                                                                     Page 15

( 56 )                   References Cited                                 Mendelson et al ., “ A Mobile PDA - Based Wireless Pulse Oximeter , "
                      OTHER PUBLICATIONS
                                                                          Proceedings of the IASTED International Conference Telehealth ,
                                                                          Jul. 19-21 , 2005 , pp . 1-6 .
                                                                          Mendelson et al . , “ A Wearable Reflectance Pulse Oximeter for
http://www.masimo.com/pulseOximeter/PPO.htm ; Masimo Per                  Remote Physiological Monitoring,” Proceedings of the 28th IEEE
sonal Pulse Oximeter, printed on Aug. 20 , 2009 .                         EMBS Annual International Conference, Aug. 30 - Sep . 3 , 2006 , pp .
http://www.masimo.com/pulseOximeter/Rad5.htm ; Signal Extrac              912-915 .
tion Pulse Oximeter, printed on Aug. 20 , 2009 .                          Mendelson et al . , " Accelerometery - Based Adaptive Noise Cancel
http://www.masimo.com/rad-57/; Noninvasive Measurement of                 lation for Remote Physiological Monitoring by a Wearable Pulse
Methemoglobin , Carboxyhemoglobin and Oxyhemoglobin in the                Oximeter,” Proceedings of the 3rd IASTED International Confer
blood . Printed on Aug. 20 , 2009 .                                       ence TELEHEALTH , May 31 -Jun . 1 , 2007 , pp . 28-33 .
http://www.masimo.com/rainbow/pronto.htm Noninvasive & Imme               Mendelson et al . , “ Measurement Site and Photodetector Size Con
diate Hemoglobin Testing, printed on Aug. 20 , 2009 .                     siderations in Optimizing Power Consumption of a Wearable Reflec
http://www.masimo.com/spco/; Carboxyhemoglobin Noninvasive >              tance Pulse Oximeter, ” Proceedings of the 25th Annual Interna
Continuous > Immediate, printed on Aug. 20 , 2009 .                       tional Conference of the IEEE EMBS , Sep. 17-21 , 2003 , pp .
                                                                          3016-3019 .
International Preliminary Report on Patentability and Written Opin        Mendelson et al ., “ Minimization of LED Power Consumption in the
ion for International Application No. PCT /US2016 /040190, dated          Design of a Wearable Pulse Oximeter,” Proceedings of the IASTED
Jan. 2, 2018, in 7 pages.                                                 International Conference Biomedical Engineering , Jun . 25-27 , 2003 ,
International Preliminary Report on Patentability and Written Opin        6 pages.
ion of the International Searching Authority issued in Application        N. Townsend , “ Pulse Oximetry,” Medical Electronics , 2001 , pp .
No. PCT US2009 /049638, dated Jan. 5 , 2011 in 9 pages.                   32-42 .
International Preliminary Report on Patentability and Written Opin        Naumenko , E. K. , Choice of Wavelengths for Stable Determination
ion of the International Searching Authority issued in Application        of Concentrations of Hemoglobin Derivatives from Absorption
No. PCT/US2009 /052756 , dated Feb. 8 , 2011 in 8 pages .                 Spectra of Erythrocytes; vol . 63 ; No. 1 ; pp . 60-66 Jan. -Feb . 1996 ;
International Search Report and Written Opinion for PCT /US2009 /         Original article submitted Nov. 3 , 1994 .
049638 , dated Jan. 7 , 2010 .                                            Nonin Medical, Inc. , " Operator's Manual — Models 8600F0 and
International Search Report issued in Application No. PCT/US2009/         8600FOM Pulse Oximeters , ” 2005 , 25 pages .
052756 , dated Feb. 10 , 2009 in 14 pages .                               Nuria Oliver et al . , “ Health Gear: A Real -time Wearable System for
International Search Report, App. No. PCT /US2010 /047899 , Date          Monitoring and Analyzing Physiological Signals,” Proceedings of
of Actual Completion of Search : Jan. 26 , 2011 , 4 pages .               the International Workshop on Wearable and Implantable Body
J Kraitl et al . , “ An optical device to measure blood components by     Sensor Networks 2006 IEEE , pp . 1-4 .
a photoplethysmographic method , ” Journal of Optics A : Pure and         P. Branche et al . , “ Signal Quality and Power Consumption of a New
Applied Optics . 7 , 2005 , pp . S318 - S324 .                            Prototype Reflectance Pulse Oximeter Sensor, ” Proceeding of the
J. A. Tamada et al . , “ Noninvasive Glucose Monitoring : Compre          31th Annual Northeast Bioengineering Conference, Hoboken , NJ ,
hensive Clinical Results," JAMA , Nov. 17 , 1999 , vol . 282 , No. 19 ,   IEEE , 2005 , pp . 1-2 .
pp . 1839-1844.                                                           P. C. Branche et al . , “ Measurement Reproducibility and Sensor
J. C. D. Conway et al., “ Wearable computer as a multi-parametric         Placement Considerations in Designing a Wearable Pulse Oximeter
monitor for physiological signals, ” Proceedings IEEE International       for Military Applications, ” IEEE , 2004 , pp . 216-217 .
Symposium on Bio - Informatics and Biomedical Engineering , Arling        P. Celka et al., “ Motion Resistant Earphone Located Infrared Based
ton , VA , USA , 2000 , pp . 236-242 .                                    Hearth Rate Measurement Device," In Proceeding of the 2nd Inter
Japanese Notice of Allowance , re JP Application No. 2011-516895 ,        national Conference on Biomedical Engineering , Innsbruck , Aus
dated May 12 , 2015 , no translation .                                    tria, Feb. 16-18 , 2004 , pp . 582-585 .
Japanese Office Action , re JP Application No. 2011-516895 , dated        P. Lukowicz et al . , “ AMON : A Wearable Medical Computer for
Sep. 2 , 2014 , with translation .                                        High Risk Patient, ” Proceedings of the 6th International Symposium
K. Nakajima et al., “ Monitoring of heart and respiratory rates by        on Wearable Computers ( ISWC'02 ) , 2002 , pp . 1-2 .
photoplethysmography using digital filtering technique,” Med . Eng .      P. Lukowicz et al . , “ The Wear ARM Modular, Low - Power Comput
Phy. vol . 18 , No. 5 , pp . 365-372 , 1996 .                             ing Core , ” IEEE Micro , May - Jun. 2001 , pp . 16-28 .
Kanukurthy et al . , “ Data Acquisition Unit for an Implantable           P. Renevey et al . , “ Wrist -Located Pulse Detection Using IR Signals,
Multi -Channel Optical Glucose Sensor” , Electro / Information Tech       Activity and Nonlinear Artifact Cancellation , ” Proceedings of the
nology Conference , Chicago , IL , USA , May 17-20 , 2007 , pp . 1-6 .    23rd Annual EMBS International Conference, Oct. 25-28 , 2001 , pp .
Konig et al . , “ Reflectance Pulse Oximetry - Principles and Obstet      3030-3033 .
ric Application in the Zurich System ”, Journal of Clinical Moni          P. Shaltis et al., “ Novel Design for a Wearable, Rapidly Depolyable,
toring and Computing, vol . 14 , No. 6 , Aug. 1998 , pp . 403-412 .       Wireless Noninvasive Triage Sensor, ” Proceedings of the 2005
Kuenstner, et al ., J. Todd ; Measurement of Hemoglobin in Unlysed        IEEE , Engineering in Medicine and Biology 27th Annual Confer
Blood by Near - Infrared Spectroscopy; vol . 48 ; No. 4 , 1994 .          ence , Sep. 1-4 , 2005 , pp . 3567-3570 .
L. Grajales et al . , “ Wearable multisensor heart rate monitor , ”       P. T. Gibbs et al ., “ Active Motion Artifact Cancellation for Wearable
International Workshop on Wearable and Implantable Body Sensor            Health Monitoring Sensors Using Collocated MEMS Accelerom
Networks ( BSN’06 ) , Cambridge, MA , 2006 , pp . 4-157 .                 eters," Proceedings of SPIE Smart Structures and Materials : Sen
L. Xu et al . , “ An integrated wrist -worn routine monitoring system     sors and Smart Structures Technologies for Civil , Mechanical, and
for the elderly using BSN , ” 2008 5th International Summer School        Aerospace Systems, May 17 , 2005 , pp . 811-819 .
and Symposium on Medical Devices and Biosensors , Hong Kong ,             P.S. Pandian et al . , " Smart Vest : Wearable Multi - Parameter Remote
2008 , pp . 45-48 .                                                       Physiological Monitoring System ,” Medical Engineering & Physics
Laukkanen RM et al . , “ Heart Rate Monitors : State of the Art ,"        30 , 2008. pp . 466-477 .
Journal of Sports Science , Jan. 1998 , pp . S3 - S7 .                    R. Fensli et al., “ A Wireless ECG System for Continuous Event
M. Savage et al . , “ Optimizing Power Consumption in the Design of       Recording and Communication to a Clinical Alarm Station ,” Conf
a Wearable Wireless Telesensor: Comparison of Pulse Oximeter              Proc IEEE Eng Med Biol Soc , 2004 , pp . 1-4 .
Modes , ” Proceedings of IEEE 29th Annual Nonheust Bioengineer            R. P. Dresher et al ., “ A New Reflectance Pulse Oximeter Housing
ing Conference, 2003 , pp . 150-151 .                                     to Reduce Contact Pressure Effects , ” IEEE , 2006 , pp . 49-50 .
M. Yamashita etal . , “ Development of a Ring - Type Vital Sign           R. P. Dresher et al . , “ Reflectance Forehead Pulse Oximetry : Effects
Telemeter , ” Biotelemetry XIII , Mar. 26-31 , 1995 , pp . 145-150 .      on Contact Pressure During Walking , ” Proceedings of the 28th IEEE
Manzke, et al . , B. , Multi Wavelength Pulse Oximetry in the Mea         EMBS Annual International Conference, Aug. 30 - Sep . 3 , 2006 , pp .
surement of Hemoglobin Fractions ; SPIE , vol . 2676 , Apr. 24 , 1996 .   3529-3532 .

                                                               Stay-Add-681
                  Case: 24-1285                    Document: 7               Page: 733               Filed: 12/26/2023


                                                            US 10,912,502 B2
                                                                      Page 16

( 56 )                   References Cited                                   W. S. Johnston et al . , “ Investigation of Signal Processing Algo
                                                                            rithms for an Embedded Microcontroller- Based Wearable Pulse
                    OTHER PUBLICATIONS                                      Oximeter,” Proceedings of the 28th IEEE EMBS Annual Interna
                                                                            tional Conference, Aug. 30 - Sep . 3 , 2006 , pp . 5888-5891 .
R. Paradiso , “ Wearable Health Care System for Vital Signs Moni            Y - S . Yan et al . , An Efficient Motion -Resistant Method for Wearable
toring ,” In Proceedings of IEEE International Conference on Infor          Pulse Oximeter, IEEE Transactions on Information Technology in
mation Technology Applications in Biomedicine , May 2003 , pp .             Biomedicine, vol . 12 , No. 3 , May 2008 , pp . 399-405 .
283-286 .                                                                   Yuan -Hsiang Lin et al ., “ A wireless PDA -based physiological
Russell Dresher, “ Wearable Forehead Pulse Oximetry : Minimiza              monitoring system for patient transport, ” IEEE Transactions on
tion of Motion and Pressure Artifacts ,” May 3 , 2006 , 93 pages .          Information Technology in Biomedicine , vol . 8 , No. 4 , pp . 439-447 ,
S. Pentland, “ Healthwear: Medical Technology Becomes Wear                  Dec. 2004 .
able , ” IEEE Computer Society, vol . 37 , Issue 5 , May 2004 , pp .        Jan. 9 , 2020 Complaint for ( 1 ) Patent Infringement ( 2 ) Trade Secret
34-41 .
S. Rhee et al . , “ Artifact- Resistant, Power Efficient Design of Finger   Misappropriation and ( 3 ) Ownership of Patents and Demand for
Ring Plethysmographic Sensors , Part I : Design and Analysis, ” 2254        Jury Trial, Masimo Corporation and Cercacor Laboratories, Inc. V.
Annual International Conference IEEE Engineering in Medicine                Apple Inc., Case No. 8 : 20 - cv - 00048 , 64 pages.
and Biology Society, Jul. 23-28 , 2000 , pp . 2792-2795 .                   Mar. 25 , 2020 First Amended Complaint for ( 1 ) Patent Infringement
S. Rhee et al., “ Design of a Artifact - Free Wearable Plethysmographic     ( 2 ) Trade Secret Misappropriation ( 3 ) Correction of Inventorship
Sensor," 21st Annual International Conferemce IEEE Engineering in           and (4 ) Ownership of Patents and Demand for Jury Trial, and
Medicine and Biology Society, Oct. 13-16 , 1999 , p . 786 .                 including Exhibits 13-24 ( Exhibits 1-12 and 25-31 comprise copies
S. Rhee et al . , “ The Ring Sensor: a New Ambulatory Wearable              of publicly available U.S. patents and U.S. patent application
Sensor for Twenty -Four Hour Patient Monitoring ,” Proceedings of           publications, and are not included herein for ease of transmission ),
the 20th Annual International Conference of the IEEE Engineering            Masimo Corporation and Cercacor Laboratories, Inc. V. Apple Inc.,
in Medicine and Biology Society , Oct. 29 -Nov . 1 , 1998 , 4 pages .       Case No. 8 : 20 - cv - 00048 , pp . 1-94 , 983-1043 (total of 156 ges ) .
S. Warren et al . , “ Designing Smart Health Care Technology into the       Jul. 24 , 2020 Second Amended Complaint for ( 1 ) Patent Infringe
Home of the Future , " Workshops on Future Medical Devices : Home           ment ( 2 ) Trade Secret Misappropriation ( 3 ) Correction of Inventor
Care Technologies for the 21 % Century, Apr. 1999 , 19 pages .              ship and ( 4 ) Ownership of Patents and Demand for Jury Trial, and
Schmitt, et al., Joseph M. , Measurement of Blood Hematocrit by             including Exhibit 1 , Masimo Corporation and Cercacor Laborato
Dual -Wavelength near - IR Photoplethysmography ; vol . 1641 ; 1992 .       ries, Inc. V. Apple Inc., Case No. 8 : 20 - cv - 00048 , 182 pages .
Schmitt, Joseph M .; Simple Photon Diffusion Anaylsis of the Effects        Jul. 27 , 2020 Plaintiffs’ Infringement Contentions, and including
of Multiple Scattering on Pulse Oximetry; Mar. 14 , 1991 ; revised          Exhibit 1 and Appendices A - P , Masimo Corporation and Cercacor
Aug. 30 , 1991 .                                                            Laboratories, Inc. V. Apple Inc., Case No. 8 : 20 - cv - 00048 , 305
Schnapp, et al . , L.M .; Pulse Oximetry. Uses and Abuses .; Chest          pages.
1990 ; 98 ; 1244-1250 DOI 10.1378 /Chest.98.5.1244 .
Small et al ., “ Data Handling Issues for Near - Infrared Glucose           Sep. 8 , 2020 Apple's Preliminary Invalidity Contentions, and includ
Measurements ”, http://www.ieee.org/organizations/pubs/newsletters/         ing Exhibits A - G , Masimo Corporation and Cercacor Laboratories,
leos/apr98/datahandling.htm , accessed Nov. 27 , 2007 .                     Inc. V. Apple Inc., Case No. 8 : 20 - cv - 00048 , 3960 pages . [uploaded
Smith , “ The Pursuit of Noninvasive Glucose : ‘ Hunting the Deceit         in 15 parts ].
ful Turkey '” , 2006 .                                                      Petition for Inter Partes Review of U.S. Pat. No. 10,258,265 , Apple
Sokwoo Rhee et al . , “ Artifact- Resistant Power -Efficient Design of      Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
Finger- Ring Plethysmographic Sensors,” IEEE Transactions on                01520 , dated Aug. 31 , 2020 , in 114 pages .
Biomedical Engineering , Jul. 2001 , pp . 795-805 , vol . 48 , No. 7 .      Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for
Sonnia Maria López Silva et al . , “ Near -infrared transmittance pulse     Inter Partes Review of U.S. Pat. No. 10,258,265 , Ex . 1003 , Apple
oximetry with laser diodes,” Journal of Biomedical Optics vol . 8           Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
No. 3 , Jul. 2003 , pp . 525-533 .                                          01520 , dated Aug. 31 , 2020 , in 138 pages .
Stephen A. Mascaro et al . , “ Measurement of Finger Posture and            Petition for Inter Partes Review of U.S. Pat. No. 10,588,553 , Apple
Three - Axis Fingertip Touch Force Using Fingernail Sensors , ” IEEE        Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
International Conference on Robotics and Automation , 2002 , pp .           01536 , dated Aug. 31 , 2020 , in 114 pages .
1-11 .                                                                      Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for
Stephen A. Mascaro et al . , “ Photoplethysmograph Fingernail Sen           Inter Partes Review of U.S. Pat. No. 10,588,553 , Ex . 1003 , Apple
sors for Measuring Finger Forces Without Haptic Obstruction ,"              Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
IEEE Transactions on Robotics and Automation , vol . 17 , No. 5 , Oct.      01536 , dated Aug. 31 , 2020 , in 173 pages .
2001 , pp . 698-708 .                                                       Petition for Inter Partes Review of U.S. Pat. No. 10,588,553 , Apple
T. Kiyokura et al . , “ Wearable Laser Blood Flowmeter for Ubiqui           Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
tous Healthcare Service ," 2007 IEEE/LEOS International Confer              01537 , dated Aug. 31 , 2020 , in 114 pages .
ence on Optical MEMS and Nanophotonics, Hualien , 2007 , pp . 4-5 .         Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for
T. Martin et al ., “ Issues in Wearable Computing for Medical               Inter Partes Review of U.S. Pat. No. 10,588,553 , Ex . 1003 , Apple
Montioring Applications: A Case Study of a Wearable ECG Moni                Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
toring Device,” In Proceedings of International Symposium of                01537 , dated Aug. 31 , 2020 , in 181 pages .
Wearable Computers ( ISWC'00 ) , Feb. 2000 , pp . 43-49 .                   Petition for Inter Partes Review of U.S. Pat. No. 10,292,628 , Apple
T. Torfs et al . , “ Body -Heat Powered Autonomous Pulse Oximeter,"         Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
IEEE Sensors 2006 , EXCO , Oct. 22-25 , 2006 , pp . 427-430 .               01521 , dated Sep. 2 , 2020 , in 107 pages .
Takumi Morita et al., “ Integrated Blood Flowmeter Using Micromachin        Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for
ing Technology, ” Dec. 2004 , pp . 77-80 .                                  Inter Partes Review of U.S. Pat. No. 10,292,628 , Ex . 1003 , Apple
Anliker et al . , “ AMON : A Wearable Multiparameter Medical Moni           Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
toring and Alert System , ” IEEE Transactions on Information Tech           01521 , dated Sep. 2 , 2020 , in 133 pages .
nology in Biomedicine, Jan. 2005 , pp . 1-11 .                              Petition for Inter Partes Review of U.S. Pat. No. 10,588,554 , Apple
W. Johnston et al . , “ Extracting Heart Rate Variability from a            Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
Wearable Reflectance Pulse Oximeter, ” IEEE , 2005 , pp . 1-2 .             01538 , dated Sep. 2 , 2020 , in 108 pages .
W. S. Johnston et al ., “ Extracting Breathing Rate Information from        Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for
a Wearable Reflectance Pulse Oximeter Sensor,” Proceedings of the           Inter Partes Review of U.S. Pat. No. 10,588,554 , Ex . 1003 , Apple
26th Annual International Conference of the IEEE EMBS , Sep. 1-5 ,          Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
2004 , pp . 5388-5391 .                                                     01538 , dated Sep. 2 , 2020 , in 151 pages .
                                                                 Stay-Add-682
                 Case: 24-1285                   Document: 7              Page: 734                 Filed: 12/26/2023


                                                          US 10,912,502 B2
                                                                   Page 17

( 56 )                  References Cited                                 Y. Mendelson et al . , “ A Multiwavelength VIS - NIR Spectrometer for
                                                                         Pulsatile Measurement of Hemoglobin Derivatives in Whole Blood,"
                   OTHER PUBLICATIONS                                    18th Annual International Conference of the IEEE Engineering in
                                                                         Medicine and Biology Society, 1996 , pp . 134-135 .
Petition for Inter Partes Review of U.S. Pat. No. 10,588,554 , Apple     H. DiSpirito et al . , " A Neural Stimulation System Model to Enhance
Inc. V. Masimo Corporation , Inter Partes Review No. IPR2020             Neural Integrated Circuit Design , ” 29th Southern Biomedical Engi
01539 , dated Sep. 2 , 2020 , in 111 pages .                             neering Conference, 2013 , pp . 9-10 .
Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for       D. Sen et al . , " A New Vision for Preventing Pressure Ulcers :
Inter Partes Review of U.S. Pat. No. 10,588,554 , Ex . 1003 , Apple      Wearable Wireless Devices Could Help Solve a Common -and
Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020             Serious - Problem , ” IEEE Pulse , vol . 9 , No. 6 , Nov. 2018 , pp . 28-31 .
01539 , dated Sep. 2 , 2020 , in 170 pages .                             N. Selvaraj et al . , “ A Novel Approach Using Time - Frequency
Petition for Inter Partes Review of U.S. Pat. No. 10,624,564 , Apple     Analysis of Pulse -Oximeter Data to Detect Progressive Hypovolemia
Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020             in Spontaneously Breathing Healthy Subjects , ” IEEE Transactions
01713 , dated Sep. 30 , 2020 , in 117 pages .                            on Biomedical Engineering , vol . 58 , No. 8 , Aug. 2011 , pp . 2272
Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for       2279 .
Inter Partes Review of U.S. Pat. No. 10,624,564 , Ex . 1003 , Apple
Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020             S. Salehizadeh et al . , “ A Novel Time- Varying Spectral Filtering
01713 , dated Sep. 30 , 2020 , in 159 pages .                            Algorithm for Reconstruction of Motion Artifact Corrupted Heart
Petition for Inter Partes Review of U.S. Pat. No. 10,631,765 , Apple     Rate Signals During Intense Physical Activities Using a Wearable
Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020             Photoplethysmogram Sensor, ” Sensors 2016 , vol . 16 , No. 1 , Dec.
01714 , dated Sep. 30 , 2020 , in 113 pages .                            2015 , pp . 1-20 .
Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for       A. Gendler et al ., " A PAB - Based Multi - Prefetcher Mechanism ,”
Inter Partes Review of U.S. Pat. No. 10,631,765 , Ex . 1003 , Apple      International Journal of Parallel Programming, vol . 34 , No. 2 , Apr.
Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020             2006, pp . 171-188 .
01714 , dated Sep. 30 , 2020 , in 122 pages .                            J. Harvey et al . , “ A Portable Sensor for Skin Bioimpedance Mea
Petition for Inter Partes Review of U.S. Pat. No. 10,631,765 , Apple     surements,” International Journal of Sensors and Sensor Networks,
Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020             vol . 7 , No. 1 , Aug. 2019 , pp . 1-8 .
01715 , dated Sep. 30 , 2020 , in 114 pages .                            D. Traviglia et al . , “ A Portable Setup for Comparing Transmittance
Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for       and Reflectance Pulse Oximeters for Field Testing Applications,"
Inter Partes Review of U.S. Pat. No. 10,631,765 , Ex . 1003 , Apple      Proceedings of the IEEE 30th Annual Northeast Bioengineering
Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020             Conference, 2004 , pp . 212-213 .
01715 , dated Sep. 30 , 2020 , in 117 pages .                            S. Xie et al . , “ A Predictive Model for Force - Sensing Resistor
Petition for Inter Partes Review of U.S. Pat. No. 10,702,194 , Apple     Nonlinearity for Pressure Measurement in a Wearable Wireless
Inc. v. Masimo Corporation, Inter Partes Review No. IPR2020              Sensor Patch ,” IEEE 61st International Midwest Symposium on
01716 , dated Sep. 30 , 2020 , in 100 pages .                            Circuits and Systems , 2018 , pp . 476-479 .
Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for       P. Muller et al . , “ A Preliminary In - Vitro Evaluation and Compara
Inter Partes Review of U.S. Pat. No. 10,702,194, Ex . 1003 , Apple       tive Study of Various Tissue PH Sensors,” Proceedings of the 18th
Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020             IEEE Annual Northeast Bioengineering Conference, 1992 , pp .
01716 , dated Sep. 30 , 2020 , in 109 pages .                            158-159 .
Petition for Inter Partes Review of U.S. Pat. No. 10,702 , 195 , Apple   D. Dao et al ., " A Robust Motion Artifact Detection Algorithm for
Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020             Accurate Detection of Heart Rates From Photoplethysmographic
01733 , dated Sep. 30 , 2020 , in 105 pages .                            Signals Using Time-Frequency Spectral Features,” IEEE Journal of
Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for       Biomedical and Health Informatics, vol . 21 , No. 5 , Sep. 2017 , pp .
Inter Partes Review of U.S. Pat. No. 10,702,195 , Ex . 1003 , Apple      1242-1253 .
Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020             G. Comtois et al . , “ A Wearable Wireless Reflectance Pulse Oximeter
01733 , dated Sep. 30 , 2020 , in 108 pages .                            for Remote Triage Applications,” Proceedings of the IEEE 32nd
Petition for Inter Partes Review of U.S. Pat. No. 10,709,366 , Apple     Annual Northeast Bioengineering Conference , 2006 , pp . 53-54 .
Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020             S. Djamasbi et al . , “ Affect Feedback during Crisis and Its Role in
01737 , dated Sep. 30 , 2020 , in 104 pages .                            Improving IS Utilization ,” Proceedings of the 7th International
Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for       Conference on Information Systems for Crisis Response and Man
Inter Partes Review of U.S. Pat. No. 10,709,366 , Ex . 1003 , Apple      agement ( ISCRAM ), 2010 , pp . 1-4 .
Inc. V. Masimo Corporation , Inter Partes Review No. IPR2020             B. Odegard et al . , “ An Analysis of Racewalking Styles Using a
01737 , dated Sep. 30 , 2020 , in 110 pages .                            2 - Dimensional Mathematical Knee Model, ” Proceedings of the
D. Thompson et al ., “ Pulse Oximeter Improvement with an ADC            IEEE 23rd Northeast Bioengineering Conference , 1997 , pp . 73-74 .
DAC Feedback Loop and a Radical Reflectance Sensor, ” Proceed            S. Patrick et al., “ An Electromyogram Simulator for Myoelectric
ings of the 28th IEEE EMBS Annual International Conference,              Prosthesis Testing,” Proceedings of the IEEE 36th Annual Northeast
2006 , pp . 815-818 .                                                    Bioengineering Conference ( NEBEC ) , 2010 , pp . 1-2 .
Service Manual: NPB -40 Handheld Pulse Oximeter, Nellcor Puritan         Y. Mendelson et al . , “ An In Vitro Tissue Model for Evaluating the
Bennett , Inc. , Copyright 2001 , 55 pages .                             Effect of Carboxyhemoglobin Concentration on Pulse Oximetry, ”
J. Bronzino et al . , Tthe Biomedical Engineering Handbook , Second      IEEE Transactions on Biomedical Engineering , vol . 36 , No. 6 , Jun .
Edition , CRC Press LLC , 2000 , 21 pages .                              1989 , pp . 625-627 .
J. Bronzino et al ., Medical Devices and Systems , The Biomedical        C. Tamanaha et al . , “ An Inorganic Membrane Filter to Support
Engineering Handbook , Third Edition , Taylor & Francis Group,           Biomembrane -Mimetic Structures, ” Proceedings of 17th Interna
LLC , Apr. 2006 , 20 pages .                                             tional Conference of the Engineering in Medicine and Biology
J. Webster et al . , Nanoparticles Radiotherapy Accessories , Ency       Society, Sep. 1995 , pp . 1559-1560 .
clopedia of Medical Devices and Instrumentation, Second Edition ,        A. Lader et al . , “ An Investigative Study of Membrane - Based
vol . 5 , Wiley - Interscience , 2006 , 42 pages .                       Biosensors,” Proceedings of the IEEE 17th Annual Northeast Bio
S. LeGare et al . , “ A Device to Assess the Severity of Peripheral      engineering Conference, 1991 , pp . 253-254 .
Edema,” IEEE 33rd Annual Northeast Bioengineering Conference ,           N. Reljin et al . , " Automatic Detection of Dehydration using Support
2007 , pp . 257-258 .                                                    Vector Machines , " 14th Symposium on Neural Networks and Appli
M. Corcoran et al . , “ A Humidifier for Olfaction Studies During        cations (NEUREL ), Nov. 2018 , pp . 1-6 .
Functional Magnetic Resonance Imaging , " Proceedings of the IEEE        Y. Mendelson et al . , Chapter 9 : Biomedical Sensors, Introduction to
31st Annual Northeast Bioengineering Conference, 2005 , pp . 1-2 .       Biomedical Engineering, Second Edition, Apr. 2005 , pp . 505-548 .
                                                              Stay-Add-683
                   Case: 24-1285                     Document: 7               Page: 735               Filed: 12/26/2023


                                                              US 10,912,502 B2
                                                                         Page 18

( 56 )                    References Cited                                    P. Bhandare et al . , “ IR Spectrophotometric Measurement of Glucose
                                                                              in Phosphate Buffered Saline Solutions : Effects of Temperature and
                    OTHER PUBLICATIONS                                        pH ,” Proceedings of the 18th IEEE Annual Northeast Bioengineer
                                                                              ing Conference, 1992 , pp . 103-104 .
R. Peura et al, “ Biotechnology for Biomedical Engineers , ” IEEE             Y. Mendelson et al . , “ Multi -channel pulse oximetry for wearable
Engineering in Medicine and Biology, vol . 14 , No. 2 , Apr. 1995 , pp .      physiological monitoring,” IEEE International Conference on Body
199-200 .                                                                     Sensor Networks, 2013 , pp . 1-6 .
Y. Mendelson et al . , “ Blood Glucose Measurement by Multiple                P. Bhandare et al . , “ Multivariate Determination of Glucose in Whole
Attenuated Total Reflection and Infrared Absorption Spectroscopy, "           Blood Using Partial Least -Squares and Artificial Neural Networks
IEEE Transactions on Biomedical Engineering, vol . 37 , No. 5 , May           Based on Mid - Infrared Spectroscopy , ” Society for Applied Spec
1990 , pp . 458-465.                                                          troscopy, vol . 47 , No. 8 , 1993 , pp . 1214-1221 .
Y. Mendelson et al . , “ Carbon dioxide laser based multiple ATR              E. Morillo et al., “ Multiwavelength Transmission Spectrophotometry
technique for measuring glucose in aqueous solutions , ” Applied              in the Pulsatile Measurement of Hemoglobin Derivatives in Whole
Optics , vol . 27 , No. 24 , Dec. 1988 , pp . 5077-5081 .                     Blood , ” Proceedings of the IEEE 23rd Northeast Bioengineering
J. Harvey et al ., “ Correlation of bioimpedance changes after com            Conference, 1997 , pp . 5-6 .
pressive loading of murine tissues in vivo , ” Physiological Measure          P. Bhandare et al . , “ Neural Network Based Spectral Analysis of
ment, vol . 40 , No. 10 , Oct. 2019 , pp . 1-13 .                             Multicomponent Mixtures for Glucose Determination , ” Proceed
B. Yocum et al . , “ Design of a Reflectance Pulse Oximeter Sensor            ings of the IEEE , 17th Annual Northeast Bioengineering Confer
and its Evaluation in Swine,” Proceedings of the 15th Annual                  ence , 1991 , pp . 249-250 .
Northeast Bioengineering Conference, IEEE , 1989 , pp . 239-240 .             Y. Mendelson et al., “ Noninvasive Transcutaneous Monitoring of
                                                                              Arterial Blood Gases,” IEEE Transactions on Biomedical Engineer
E. Tuite et al . , “ Design of Individual Balance Control Device              ing , vol . BME - 31 , No. 12 , Dec. 1984 , pp . 792-800 .
Utilized during the Sit - to -Stand Task , ” ISB 2011 Brussels, 2011 , pp .   J. Harvey et al . , “ OxiMA : A Frequency - Domain Approach to
1-2 .                                                                         Address Motion Artifacts in Photoplethysmograms for Improved
C. E. Darling et al . , “ Detecting Blood Loss With a Wearable                Estimation of Arterial Oxygen Saturation and Pulse Rate,” IEEE
Photoplethysmography Device,” Annals of Emergency Medicine,                   Transactions on Biomedical Engineering, vol . 66 , No. 2 , Feb. 2019 ,
vol . 68 , No. 45 , Oct. 2016 , p . S116 .                                    pp. 311-318.
N. Reljin et al., “ Detection of Blood Loss in Trauma Patients using          J. Chong et al . , “ Photoplethysmograph Signal Reconstruction Based
Time- Frequency Analysis of Photoplethysmographic Signal,” IEEE               on a Novel Hybrid Motion Artifact Detection Reduction Approach .
EMBS International Conference on Biomedical and Health Infor                  Part I : Motion and Noise Artifact Detection ,” Annals of Biomedical
matics ( BHI ) , 2016 , pp . 118-121 .                                        Engineering , vol . 42 , No. 11 , Nov. 2014 , pp . 2238-2250 .
Y. Xu et al., “ Drowsiness Control Center by Photoplethysmogram ,"            S. M. A. Salehizadeh et al . , “ Photoplethysmograph Signal Recon
38th Annual Northeast Bioengineering Conference (NECBEC ) ,                   struction based on a Novel Motion Artifact Detection -Reduction
IEEE , 2012 , pp . 430-431 .                                                  Approach . Part II : Motion and Noise Artifact Removal , ” Annals of
M. Last et al ., Chapter 14 : Early Warning from Car Warranty Data            Biomedical Engineering, vol . 42 , May 2014 , pp . 2251-2263 .
using a Fuzzy Logic Technique, Scalable Fuzzy Algorithms for Data             C. G. Scully et al . , “ Physiological Parameter Monitoring from
Management and Analysis: Methods and Design, 2009 , pp . 347                  Optical Recordings With a Mobile Phone,” IEEE Transactions on
364 .                                                                         Biomedical Engineering, vol . 59 , No. 2 , Feb. 2012 , pp . 303-306 .
W. Johnston et al . , “ Effects of Motion Artifacts on Helmet -Mounted        D. Sen et al ., “ Pressure Ulcer Prevention System : Validation in a
Pulse Oximeter Sensors,” Proceedings of the IEEE 30th Annual                  Clinical Setting , ” IEEE Life Sciences Conference ( LSC ) , 2018 , pp .
Northeast Bioengineering Conference, 2014 , pp . 214-215 .                    105-108 .
A. Nagre et al . , “ Effects of Motion Artifacts on Pulse Oximeter            Y. Mendelson et al., Pulse Oximetry: Theory and Applications for
Readings from Different Facial Regions, ” Proceedings of the IEEE             Noninvasive Monitoring , Clinical Chemistry, vol . 38 , No. 9 , 1992 ,
31st Annual Northeast Bioengineering Conference , 2005 , pp . 1-3 .           pp . 1601-1607 .
R. Kasbekar et al . , “ Evaluation of key design parameters for               Y. Mendelson, Pulse Oximetry, PowerPoint , UMass Center for
mitigating motion artefact in the mobile reflectance PPG signal to            Clinical and Translational Science Research Retreat , 2017 , 22
improve estimation of arterial oxygenation, ” Physiological Mea               pages .
surement, vol . 39 , No. 7 , Jul. 2018 , pp . 1-12 .                          E. Stohr et al . , “ Quantitative FT - IR Spectrometry of Blood Con
Y. Mendelson et al ., “ Evaluation of the Datascope ACCUSAT Pulse             stituents,” 14th Annual International Conference of the IEEE Engi
Oximeter in Healthy Adults , ” Journal of Clinical Monitoring , vol . 4 ,     neering in Medicine and Biology Society, 1992 , pp . 173-174 .
No. 1 , Jan. 1988 , pp . 59-63 .                                              E. Stohr et al . , “ Quantitative FTIR Spectrophotometry of Choles
C. Tamanaha et al . , “ Feasibility Study of an Inorganic Membrane            terol and Other Blood Constituents and their Interference with the
Filter as a Support for Biomembrane -Mimetic Structures,” Proceed             In - Vitro Measurement of Blood Glucose , ” Proceedings of the 18th
ings of the IEEE 21st Annual Northeast Bioengineering Conference ,            IEEE Annual Northeast Bioengineering Conference, 1992 , pp .
1995 , pp . 99-101 .                                                          105-106 .
J. McNeill et al ., “ Flexible Sensor for Measurement of Skin                 N. Selvaraj et al . , " Statistical Approach for the Detection of Motion/
Pressure and Temperature in a Clinical Setting , ” 2016 IEEE Sen              Noise Artifacts in Photoplethysmogram , ” 33rd Annual International
sors , Nov. 2016 , pp . 1-3 .                                                 Conference of the IEEE EMBS , Sep. 2011 , pp . 4972-4975 .
P. Bhandare et al . , “ Glucose determination in simulated blood serum        C. Tamanaha et al . , “ Surface Modification of y - A1203 Filters by
solutions by Fourier transforms infrared spectroscopy: investigation          Chemisorption of Alkyltrichlorosilane Molecules , ” 18th Annual
of spectral interferences , ” Vibrational Spectroscopy, vol . 6 , No. 3 ,     International Conference of the IEEE Engineering in Medicine and
Mar. 1994 , pp . 363-378 .                                                    Biology Society, 1996 , pp . 2069-2070 .
P. Bhandare et al . “ Glucose Determination in Simulated Plasma               D. Sen et al . , “ Time - Domain -Based Measurement Technique for
Solutions Using Infrared Spectrophotometry , " 14th Annual Inter              Pressure Measurement in a Wearable Wireless Sensor Patch ,” IEEE
national Conference of the IEEE Engineering in Medicine and                   International Symposium on Circuits and Systems ( ISCAS ) , 2018 ,
Biology Society, Nov. 1992 , pp . 163-164 .                                   pp. 1-5.
C. Tamanaha et al . , “ Humidity and Cation Dependency of Purple              N. Reljin et al . , “ Using support vector machines on
Membrane Based Biosensors , ” Proceedings of the 18th IEEE Annual             photoplethysmographic signals to discriminate between hypovolemia
Northeast Bioengineering Conference, Mar. 1992 , pp . 107-108 .               and euvolemia , " PLoS One , vol . 13 , No. 3 , Mar. 2018 , pp . 1-14 .
K. M. Warren et al . , “ Improving Pulse Rate Measurements during             Y. Mendelson et al . , “ Variations in Optical Absorption Spectra of
Random Motion Using a Wearable Multichannel Reflectance                       Adult and Fetal Hemoglobins and Its Effect on Pulse Oximetry,"
Photoplethysmograph ,” Sensors ( Basel ) , vol . 16 , No. 3 , Mar. 2016 ,     IEEE Transactions on Biomedical Engineering , vol . 36 , No. 8 , Aug.
p . 1-18.                                                                     1989 , pp . 844-848 .
                                                                   Stay-Add-684
                    Case: 24-1285                   Document: 7               Page: 736                 Filed: 12/26/2023


                                                             US 10,912,502 B2
                                                                        Page 19

( 56 )                   References Cited                                    Y. Mendelson et al . , A Wireless Wearable Reflectance - Based Fore
                                                                             head Pulse Oximeter, PowerPoint, The Bioengineering Institute ,
                    OTHER PUBLICATIONS                                       Worcester Polytechnic Institute, 8 pages . Undated .
                                                                             R. J. Duckworth et al., Field Testing of a Wireless Wearable
K. Chon et al . , “ Wearable Wireless Sensor for Multi -Scale Physi          Reflectance Pulse Oximeter Printout, Department of Electrical and
ological Monitoring,” Worcester Polytechnic Institute, Oct. 2014 ,           Computer Engineering and Department of Biomedical Engineering ,
82 pages.                                                                    Worcester Polytechnic Institute, 1 page . Undated .
K. Chon et al . , “ Wearable Wireless Sensor for Multi- Scale Physi          V. Floroff, “ PDA Interface for the WPI Wireless Physiological
ological Monitoring,” Worcester Polytechnic Institute, Oct. 2015 ,           Monitor, ” Directed research , Department of Biomedical Engineer
142 pages.                                                                   ing , Worcester Polytechnic Institute, Mar. 2006 , 42 pages .
J. McNeill et al . , “ Wearable Wireless Sensor Patch for Continuous         Wireless Wearable Reflectance Pulse Oximeter, PowerPoint, The
Monitoring of Skin Temperature, Pressure, and Relative Humidity ,"           Bioengineering Institute, Worcester Polytechnic Institute, TATRC ,
IEEE International Symposium on Circuits and Systems ( ISCAS ) ,             10 pages . Undated .
2017 , pp . 1-4 .
D. Sen et al . , “ Wireless Sensor Patch Suitable for Continuous             V. Floroff, “ Remote Pulse Oximetry: The wireless side of the
Monitoring of Contact Pressure in a Clinical Setting,” 16th IEEE             TATRC project.” Thesis , Worcester Polytechnic Institute, Feb.
International New Circuits and Systems Conference (NEWCAS ) ,                2005 , pp . 1-20 .
2018 , pp . 91-95 .                                                          Y. Mendelson et al . , “ The Feasibility of Measuring SpO2 from the
K. Hickle et al ., “ Wireless Pressure Ulcer Sensor," Annals of Plastic      Head Using a Reflectance Pulse Oximeter : Effect of Motion Arti
Surgery, vol . 82 , Supplement 3 , Apr. 2019 , pp . S215 - S221 .            facts ,” Proceeding of the 3rd European Medical & Biological
Y. Mendelson , et al ., “ Design and Evaluation of a New Reflectance         Engineering Conference, 2005 , 5 pages .
Pulse Oximeter Sensor” , Worcester Polytechnic Institute, Biomedi            Y. Mendelson , “ Wearable , Wireless, Noninvasive Physiological
cal Engineering Program , Worcester, MA 01609 , Association for the          Sensing , ” The Bioengineering Institute, Worcester Polytechnic Insti
Advancement of Medical Instrumentation , vol . 22 , No. 4 , 1988,, PP
                                                                   1 .       tute , 2005 , 2 pages .
167-173 .                                                                    Y. Mendelson et al., " Wireless Reflectance Pulse Oximetery for
Definition of " gap ” , excerpt from Merriam -Webster's Collegiate           Remote Triage Application,” Worcester Polytechnic Institute, 1
Dictionary ( 11th ed . ) , 2005 , 3 pages .                                  page. Undated.
“ Acrylic: Strong , stiff, clear plastic available in variety of brilliant   Nov. 12 , 2020 Third Amended Complaint for ( 1 ) Patent Infringe
colors ”, Copyright 2020. available at http ://www.curbellplastics.          ment ( 2 ) Trade Secret Misappropriation ( 3 ) Correction of Inventor
com /Research - Solutions/Materials /Acrylic, 5 pages .                      ship and ( 4 ) Ownership of Patents and Demand for Jury Trial, and
QuickSpecs , Version 3 , Nov. 20 , 2003 , HP iPAQ Pocket PC h4150            including Exhibit 1 ,Masimo Corporation and Cercacor Laborato
Series, 8 pages.                                                             ries, Inc. V. Apple Inc., Case No. 8 : 20 - cv - 00048 , 196 pages .
“ Universal asynchronous receiver -transmitter” , Wikipedia , avail          [uploaded in 2 parts ].
able at https://en.wikipedia.org/wiki/Universal_asynchronous                 K. Self, Application Note 78 – Using Power Management with
receiver- transmitter, accessed Aug. 27 , 2020 , 10 pages.                   High - Speed Microcontrollers, Maxim Integrated Products, Inc. ,
Y. Mendelson , et al., “ Skin Reflectance Pulse Oximetry: In Vivo            Mar. 29, 2001 , 25 pages .
Measurements from the Forearm and Calf ', Journal of Clinical                Service Manual: Nellcor Symphony N - 3000 Pulse Oximeter, Nellcor
Monitoring , vol . 7 , No. 1 , Jan. 1991 , pp . 7-12 .                       Puritan Bennett, Inc. , Copyright 1996 , 110 pages .
Design of Pulse Oximeters , J.G. Webster, Institution of Physics             Home Use Guide: Nellcor Symphony N - 3000 Pulse Oximeter,
Publishing, IOP Publishing Ltd , 1997 , 262 pages ( uploaded in three        Nellcor Puritan Bennett, Inc. , Copyright 1996 , 50 pages .
parts ).                                                                     Operator's Manual: Nellcor N - 200 Pulse Oximeter, Nellcor Incor
McPherson, “ How to Do Everything with Windows Mobile ” , McGraw             porated , Copyright 2003 , 96 pages .
Hill , 2006 , 431 pages (uploaded in three parts ).                          S. Kastle et al . , “ A New Family of Sensors for Pulse Oximetry , "
B. Landon et al . , “ Master Visually Windows Mobile 2003 ” , Wiley          Hewlett -Packard Journal, Article 7 , Feb. 1997 , pp . 1-17 .
Publishing, Inc. , 2004 , 335 pages ( uploaded in two parts ).               M. Nogawa et al . , " A Novel Hybrid Reflectance Pulse Oximeter
J. Yao, et al . , “ Stimulating Student Learning with a Novel ‘In            Sensor with Improved Linearity and General Applicability to Vari
House ’ Pulse Oximeter Design ” , Proceedings of the 2005 American           ous Portions of the Body , ” Proceedings of the 20th Annual Inter
Society for Engineering Education Annual Conference & Exposi                 national Conference of the IEEE Engineering in Medicine and
tion, 2005 , 14 pages.                                                       Biology Society, vol . 20 , No. 4 , 1998 , pp . 1858-1861 .
National Instruments LabVIEW User Manual, National Instruments               J. Hodby, “ A ratio -measuring detection system for use in pulsed
Corporation, Nov. 2001 Edition , Part No. 320999D - 01 , 293 pages .         spectroscopic measurements , ” Journal of Physics E : Scientific Instru
Definition of " processor ”, excerpt from Merriam - Webster's Colle          ments , vol . 3 , 1970 , pp . 229-233 .
giate Dictionary ( 10th ed . ) , 1999 , 6 pages .                            K. Li et al., “ A Wireless Reflectance Pulse Oximeter with Digital
Y. Mendelson et al . , “ Noninvasive Pulse Oximetry Utilizing Skin           Baseline Control for Unfiltered Photoplethysmograms,” IEEE Trans
Reflectance Photoplethysmography ", IEEE Transactions on Bio                 actions on Biomedical Circuits and Systems , Nov. 2011 , pp . 1-11 .
medical Engineering, vol . 35 , No. 10 , Oct. 1988 , pp . 798-805 .          D. Thompson et al . , " A Small , High -Fidelity Reflectance Pulse
Oct. 20 , 2020 Letter from B. K. Andrea to J. Re et al . , Re: Masimo        Oximeter,” American Society for Engineering Education , 2007 , 14
Corp, et al. v. Apple, Inc., C.A. 8 : 20 - cv - 00048 ( C.D. Cal . ), 19     pages .
pages.                                                                       K. Li et al . , " A High - Performance Wireless Reflectance Pulse
3 pages of images, identified by bates Nos . “ APL -MAS                      Oximeter for Photo -Plethysmogram Acquisition and Analysis in the
00057600 ” , “ APL -MAS_00057601 ", and " APL -MAS_00057602 ” .              Classroom , ” American Society for Engineering Education , 2010 , 12
Undated .                                                                    pages.
2 pages of images , identified by bates Nos . “ APL -MAS_00057598"           M. J. Hayes, “ Artefact Reduction in Photoplethysmography, ” Doc
and “ APL -MAS_00057599 " . Undated .                                        toral thesis, Department of Electronic and Electrical Engineering ,
Y. Mendelson et al . , A Wearable Reflectance Pulse Oximeter for             Loughborough University, Nov. 1998 , 195 pages . (uploaded in 2
Remote Physiological Monitoring , PowerPoint , The Bioengineering            parts ).
Institute, Worcester Polytechnic Institute , 18 pages . Undated .            A. C. M. Dassel et al ., “ Effect of location of the sensor on
P. C. Branche et al . , “ A Wearable Wireless Reflectance Pulse              reflectance pulse oximetry,” British Journal of Obstetrics and Gynaecol
Oximeter with Automatic and Remote On - Demand Activation ,”                 ogy, vol . 104, Aug. 1997 , pp . 910-916 .
Annual Fall Meeting of the BMES , 2004 , p . 1 .                             RF Cafe, Electronic Warfare and Radar Systems Engineering Hand
A Wireless Wearable Reflectance Pulse Oximeter Printout, The                 book, Duty Cycle , available at https://www.rfcafe.com/references/
Bioengineering Institute, Worcester Polytechnic Institute, 1 page.           electrical / ew -radar-handbook /duty -cycle.htm , retrieved Jul. 11 , 2020 ,
Undated .                                                                    3 pages .

                                                                  Stay-Add-685
                   Case: 24-1285                     Document: 7               Page: 737                Filed: 12/26/2023


                                                              US 10,912,502 B2
                                                                        Page 20

( 56 )                     References Cited                                   Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for
                                                                              Inter Partes Review of U.S. Pat. No. 10,299,708 , Ex . 1003 , Apple
                     OTHER PUBLICATIONS                                       Inc. v. Masimo Corporation , Inter Partes Review No. IPR2021
                                                                              00193 , dated Nov. 20 , 2020 , in 136 pages .
Y. Shimada et al . , “ Evaluation of a new reflectance pulse oximeter         Petition for Inter Partes Review of U.S. Pat. No. 10,376,190 , Apple
for clinical applications, ” Medical & Biological Engineering &               Inc. v. Masimo Corporation , Inter Partes Review No. IPR2021
Computing, vol . 29 , No. 5 , Sep. 1991 , pp . 557-561 .                      00195 , dated Nov. 20 , 2020 , in 109 pages .
S. Takatani et al . , “ Experimental and Clinical Evaluation of a             Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for
Noninvasive Reflectance Pulse Oximeter Sensor," Journal of Clini
cal Monitoring , vol . 8 , No. 4 , Oct. 1992 , pp . 257-266 .                 Inter Partes Review of U.S. Pat. No. 10,376,190 , Ex . 1003 , Apple
K. Ono et al . , “ Fiber optic reflectance spectrophotometry system for       Inc. v. Masimo Corporation , Inter Partes Review No. IPR2021
in vivo tissue diagnosis , ” Applied Optics, vol . 30 , No. 1 , Jan. 1991 ,   00195 , dated Nov. 20 , 2020 , in 139 pages .
pp . 98-105 .                                                                 Petition for Inter Partes Review of U.S. Pat. No. 10,258,266 , Apple
M. Barr, “ Introduction to Pulse Width Modulation (PWM ) ,” Barr              Inc. V. Masimo Corporation , Inter Partes Review No. IPR2021
Group, Embedded Systems Programming, Sep. 2001 , pp . 1-3 .                   00208 , dated Nov. 20 , 2020 , in 80 pages .
P. P. Vaidyanathan, “ Multirate Digital Filters , Filter Banks, Poly          Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for
phase Networks, and Applications: A Tutorial,” Proceedings of the             Inter Partes Review of U.S. Pat. No. 10,258,266 , Ex . 1003 , Apple
IEEE , vol . 78 , No. 1 , Jan. 1990 , pp . 56-93 .
S. Oshima et al., “ Optical Measurement of Blood Hematocrit on                Inc. V. Masimo Corporation , Inter Partes Review No. IPR2021
Medical Tubing with Dual Wavelength and Detector Model,” 31st                 00208 , dated Nov. 20 , 2020 , in 96 pages.
Annual International Conference of the IEEE EMBS , Sep. 2009 , pp .           Petition for Inter Partes Review of U.S. Pat. No. 10,376,191 , Apple
5891-5896 .                                                                   Inc. v. Masimo Corporation , Inter Partes Review No. IPR2021
Optoelectronics, Data Book 1990 , Siemens Components, Inc. , 770              00209 , dated Nov. 20 , 2020 , in 79 pages .
pages. (uploaded in 7 parts ).                                                Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for
OxiplexTS Near Infrared , Non - Invasive , Tissue Spectrometer Bro            Inter Partes Review of U.S. Pat . No. 10,376,191, Ex . 1003 , Apple
chure, ISS , Inc. , Copyright 2001 , 6 pages .                                Inc. v. Masimo Corporation, Inter Partes Review No. IPR2021
J. A. Pologe , “ Pulse Oximetry: Technical Aspects of Machine                 00209 , dated Nov. 20 , 2020 , in 96 pages.
Design, ” International Anesthesiology Clinics , vol . 25 , No. 3 , 1987 ,    J. Schmitt et al . , “ An Integrated Circuit - Based Optical Sensor for In
pp . 137-153 .                                                                Vivo Measurement of Blood Oxygenation ,” IEEE Transactions on
B. F. Koegh et al., “ Recent findings in the use of reflectance               Biomedical Engineering , vol . BME - 33 , No. 2 , Feb. 1986 , pp .
oximetry: a critical review ,” Current Opinion in Anaesthesiology,            98-107 .
vol . 18 , 2005 , pp . 649-654 .                                              C. Gutierrez et al , “ Non - Invasive Functional Mapping of the Brain
K. Faisst et al ., “ Reflectance pulse oximetry in neonates , ” European      Using Cerebral Oximeter,” Proceedings of the Second Joint EMBS /
Journal of Obstetrics & Gynecology and Reproductive Biology , vol .           BMES Conference, Oct. 2002 , pp . 947-948 .
61 , No. 2 , Aug. 1995 , pp . 117-122 .                                       R. Gupta et al . , “ Design and Development of Pulse Oximeter,”
V. Konig et al., “ Reflexions -Pulsoximetrie — Untersuchungen mit             Proceedings RC IEEE - EMBS & 14th BMESI , 1995 , pp . 1.13-1.16 .
eigenem Mess -System ,” Biomedical Engineering , Biomedizinische              S. Duun et al., “ A Novel Ring Shaped Photodiode for Reflectance
Technik , vol . 37. No. s2 , 1992 , pp . 39-40 .                              Pulse Oximetry in Wireless Applications, ” IEEE Sensors Confer
Petition for Inter Partes Review of U.S. Pat. No. 10,299,708 , Apple          ence , 2007 , pp . 596-599 .
Inc. v. Masimo Corporation, Inter Partes Review No. IPR2021
00193 , dated Nov. 20 , 2020 , in 107 pages .                                 * cited by examiner




                                                                   Stay-Add-686
           Case: 24-1285                   Document: 7                             Page: 738                      Filed: 12/26/2023


U.S. Patent                   Feb. 9 , 2021                                 Sheet 1 of 65                                       US 10,912,502 B2




                                                                                                                                NETWORK INTERFAC    116


                 M1ON0IT9OR                                                      OUTP DATA USER                                         STORAGE
                                 IDNAPTUA
                                          P R O C E S SIGNAL                                       INTERFAC
     100                                   108 F-ENDRONT
                                                               INTERFAC      }
                                                                                         3




                                                                                                              3
                                                                                                                   }




                               DETCORS   106

                                                                          MID EASURNT OPTINAL SHIELD MEORY
                                                                                 107
                                                                                         DATA
                                                                                                                                                   FIG
                                                                                                                                                   .
                                                                                                                                                   1



                 1SE0NS1OR    103                                                                         NOISE
                                                                                                    TOPTINAL IS UE SHAPER 105
                                                  :    3       3




                                                                                          DRIVER

                                                               Stay-Add-687
       Case: 24-1285         Document: 7      Page: 739    Filed: 12/26/2023


U.S. Patent            Feb. 9 , 2021       Sheet 2 of 65         US 10,912,502 B2



                                   SENSOR 2012
            200A




                                                                    EMITTER SHELL
                                                                         204
  MONITOR
    209a




                                                                       DETECTOR
 CONTROL
 BUTTONS
                        O                                               SHELL
                                                                         206
   208a
                                  100mgla


                   DISPLAY 210a




                                       FIG . 2A


                                       Stay-Add-688
               Case: 24-1285                    Document: 7             Page: 740              Filed: 12/26/2023


U.S. Patent                              Feb. 9 , 2021         Sheet 3 of 65                         US 10,912,502 B2




                                                                                                                    2B
                                                                                                                    .
                                                                                                                    FIG

                                                                                                       SENOR 2016
                                                                                    ESTE
                                                                                    Center
                                                                                        .




    CABLE ZIZ                                            205 SonAvg
                                                                       OGLOW



                 MONITR 2095
                                                    120          bu
                                                                 /7p




                               DISPLAY   210a                                                TESTPLD
        20 B
                                                              CONTRL SNOL10g 2085
                                                         Stay-Add-689
      Case: 24-1285       Document: 7          Page: 741     Filed: 12/26/2023


U.S. Patent          Feb. 9 , 2021        Sheet 4 of 65            US 10,912,502 B2




              200C
                                                    SENSOR
                                                     2010


                           CABLE
                            212




      STRAP
       214



                                                               STRAP
                                                                214
                                                DISPLAY
              DISPLAY
              BUTTONS
                2080                  MONITOR
                                        2090




                                        FIG . 2C




                                     Stay-Add-690
            Case: 24-1285    Document: 7      Page: 742         Filed: 12/26/2023


U.S. Patent            Feb. 9 , 2021       Sheet 5 of 65                US 10,912,502 B2




      2000

                                                      DISPLAY
                                                       2100




                                       110
                                       mg/dL
                                                                                SENSOR
                                                                                 2010

 ETHERNET PORT
  (OPTIONAL )
      218                   CABLE
                             212
    USB INTERFACE
     ( OPTIONAL )
                                                            fermentum

                                        FIG , 2D




                                       Stay-Add-691
           Case: 24-1285              Document: 7           Page: 743     Filed: 12/26/2023


U.S. Patent                      Feb. 9 , 2021           Sheet 6 of 65          US 10,912,502 B2




                                                                  3082
                                                 302a
                          307a




    351a                                                                                3A
                                                                                        .
                                                                                        FIG

                   350a

                                                                                303a
            301A
                                                                         3060
                                                  3042


                                                   Stay-Add-692
      Case: 24-1285      Document: 7      Page: 744    Filed: 12/26/2023


U.S. Patent      Feb. 9 , 2021         Sheet 7 of 65          US 10,912,502 B2




          301A



                  304a

                                                              350a


         3073               (
                      340


        308a
                                                              315a
                                                        305




                                  FIG . 3B



                                 Stay-Add-693
      Case: 24-1285      Document: 7      Page: 745     Filed: 12/26/2023


U.S. Patent       Feb. 9 , 2021        Sheet 8 of 65            US 10,912,502 B2




                      304a
                                                              3012

                                                                    350a




                       322
                323

         308a
                                   58                         320

                                                              305

                                                        321
                                                  310
       370




                             314
                                     FIG . 3C



                                   Stay-Add-694
      Case: 24-1285      Document: 7         Page: 746    Filed: 12/26/2023


U.S. Patent      Feb. 9 , 2021            Sheet 9 of 65         US 10,912,502 B2




                                   3018



                             351b                              3075

                  350b

                      Ini   enes

                                                                 3026 3086




      3066




                                          FIG . 3D




                                    Stay-Add-695
      Case: 24-1285       Document: 7       Page: 747    Filed: 12/26/2023


U.S. Patent        Feb. 9 , 2021        Sheet 10 of 65         US 10,912,502 B2




              DETECTORS
                 316




                                                               DETECTOR
                                                                 SHELL
                                                                 306b

                                    SPACING
                                      340




                                   FIG . 3E




                                   Stay-Add-696
      Case: 24-1285           Document: 7      Page: 748     Filed: 12/26/2023


U.S. Patent          Feb. 9 , 2021          Sheet 11 of 65            US 10,912,502 B2




                            MO       3071
                                            3021 308f



                    351     A                                       3F
                                                                    .
                                                                    FIG
                     3507

                                                             3031

              301                              360
                            3041



                                     Stay-Add-697
      Case: 24-1285          Document: 7      Page: 749     Filed: 12/26/2023


U.S. Patent            Feb. 9 , 2021       Sheet 12 of 65            US 10,912,502 B2



                                                                     420




                                                                   440
              4 22.

                                                                    430




                                       FIG . 4A

                                                            430



                                       FIG . 4B              420




                 422
                                            ?
          423                            HE                   421



                                          CAC.


                                       Stay-Add-698
      Case: 24-1285   Document: 7                   Page: 750            Filed: 12/26/2023


U.S. Patent      Feb. 9 , 2021                 Sheet 13 of 65                  US 10,912,502 B2


                                                                 305


                             090               20
                                               nm




       1600nm
                                                                                                  5
                                                                                                  .
                                                                                                  FIG
                              d
                             11




       006WU
                                                         10xdif er nce
                                                                                      WAVELNGTH
                             ~1.5xdif er nce


                                 TRANSMITTANCE



                                       Stay-Add-699
      Case: 24-1285     Document: 7       Page: 751       Filed: 12/26/2023


U.S. Patent      Feb. 9 , 2021         Sheet 14 of 65           US 10,912,502 B2
                 608
                                            605




                                 FIG . 6A
                                          605

                                 608




                  605            FIG . 6B               608




                                                   610
                                 FIG . 6C




                                 FIG , OD
                                 Stay-Add-700
      Case: 24-1285   Document: 7            Page: 752   Filed: 12/26/2023


U.S. Patent      Feb. 9 , 2021       Sheet 15 of 65            US 10,912,502 B2




                                                 607


                                                                 6E
                                                                 .
                                                                 FIG


                                      9 09
        301




                                 Stay-Add-701
      Case: 24-1285    Document: 7         Page: 753     Filed: 12/26/2023


U.S. Patent       Feb. 9 , 2021       Sheet 16 of 65            US 10,912,502 B2




                                                  EMITTER
         701A                                     HOUSING
                                    LEDS               704a




                                                          FINGER 102

                                                              TISSUE BED
     OPENING
       703a
            731             Zz                                   CONDUCTIVE
                                                                   GLASS
           733                                                      7302
    PHOTODIODES                                               SHELDING 790a

                                                                 DETECTOR
                                                               HOUSING /SHELL

                                      SUBMOUNT
                                           707a
                   DETECTOR
                    SIGNAL
                      107



                                  FIG . 7A



                                  Stay-Add-702
       Case: 24-1285      Document: 7         Page: 754   Filed: 12/26/2023


U.S. Patent          Feb. 9 , 2021       Sheet 17 of 65          US 10,912,502 B2




                                                     EMITTER
                                                     HOUSING
                                      EMITTERS         704a
                                        104




                                                          ANGER 102

                                                               TISSUE BED
      OPENING (S )
         703b
    CONTACT AREA                                                   BUMP
        7705                                                       705b
                                                               CONDUCTIVE
     PHOTODIODES                                               GLASS 7300
                                                           SHIELDING 790b

                                                                 DETECTOR
                                                               HOUSING/ SHELL
                                                                    706b
                                         SUBMOUNT
                                           7076
                      DETECTOR
                       SIGNAL



                                     FIG . 7B



                                     Stay-Add-703
       Case: 24-1285          Document: 7      Page: 755          Filed: 12/26/2023


U.S. Patent         Feb. 9 , 2021           Sheet 18 of 65               US 10,912,502 B2

                                                                        730

                                                                        S
                                                                                    731
     733



                              834
                                                                  820
     FIG . 8A                                                                 730


                    -731

                                      222222                        zz               733
                                                                              830A
     FIG , 8B

     733        naman natin                  natin     maraming
                                                                                     731
                                                                                     835


     FIG , 8C
                              837                                           8308

                                                                         S
                                                                                          839


     FIG . 8D

                                    Stay-Add-704
      Case: 24-1285                                Document: 7                     Page: 756                Filed: 12/26/2023


U.S. Patent                              Feb. 9 , 2021                       Sheet 19 of 65                               US 10,912,502 B2




        920
              CONDUTIVE   GLAS   )
                                 1N2
                                 /
                                 50092
                                 (                           925
                                                                   CONDUTIVE CONDUTIVE
                                                                     GLAS   N
                                                                            )
                                                                            2000
                                                                            (
                                                                            /
                                                                                         GLAS   )
                                                                                                IN
                                                                                                /
                                                                                                30Q
                                                                                                (



                                                                                                      170
       915           GLAS
                                                                                                      160

                                                                                                      150
                                              porcococo
                                                                                                            W(
                                                                                                             )avelength
                                                                                                             nm              FIG
                                                                                                                             .
                                                                                                                             9




                                                                                                      130


                                         95                85        80 75
                                                                                                      120
                                                          % Transmission
                                                                   XOG R wo
                                                                of Light


                                                                Stay-Add-705
                               Case: 24-1285   Document: 7           Page: 757     Filed: 12/26/2023


U.S. Patent                               Feb. 9 , 2021           Sheet 20 of 65                    US 10,912,502 B2

                                  600

                                                                                           F1ONPLEOINSREG 2OFNPLEOINSREG F3FORONAPLEOINSREG FON4PLEOINSREG
                                  500                         2




                                  400
                                                                                                            1030 1032
                                  300                                                )
                                                                                     Hz
                                                                                     (
                                                                                     Noise
                                                                                     Fofrequency
   SNWGPOFEHIROF EIMSALNDEGC                                                                                                                                 10A
                                                                                                                                                             .
                                                                                                                                                             FIG
                                  200                     ?




                                  100

                                  0


                                         -70 -80                   -100 -1 0 -120
                                               Noise Floor ( dB)
                                                          Stay-Add-706
                            Case: 24-1285    Document: 7      Page: 758     Filed: 12/26/2023


U.S. Patent                            Feb. 9 , 2021       Sheet 21 of 65             US 10,912,502 B2

                                600


  1050                          500                                    X          1OFNPLEOINSREG F2ONPLEOINSREG 3OFNPLEOINSREG F4ONPLEOINSREG

                                400                               8




                                                                                                   1080 1081 1082
                                300                                             )
                                                                                Hz
                                                                                (
                                                                                Noise
                                                                                Frequency
                                                                                of
                                                                                                                                                FIG
                                                                                                                                                10B
                                                                                                                                                .1083
  SNCOPEHRFDIUFMSTALNEVCD       200




                                0


                                  -60 -70 -80             -10 -1 0 *120 -130
                                            Noise Floor ( dB)
                                                       Stay-Add-707
       Case: 24-1285       Document: 7       Page: 759     Filed: 12/26/2023


U.S. Patent          Feb. 9 , 2021        Sheet 22 of 65           US 10,912,502 B2




                                     EMITTER 1104


                                                    TOP EMITTING
                                                       LEDS
                                                        1102




                                                      7

  THERMISTOR
     1120

      DRIVER       SIDE EMITTING
                       LEDS
                                                                       SUBMOUNT

                                         FIG . 11A
         CONTROL
         SIGNAL




                                     Stay-Add-708
        Case: 24-1285   Document: 7         Page: 760     Filed: 12/26/2023


U.S. Patent        Feb. 9 , 2021        Sheet 23 of 65             US 10,912,502 B2



   Power ( mW )
                                                         1.25ms




                                                            1660        1615




         1.8ms
          mund                       1330
                           1200

                                                                       STABILIZATION
                  0.08ms                        -0.08ms
                                    Time (ms)
                                   FIG . 11B

                                   Stay-Add-709
             Case: 24-1285                     Document: 7       Page: 761                     Filed: 12/26/2023


U.S. Patent                               Feb. 9 , 2021       Sheet 24 of 65                         US 10,912,502 B2




                                                          M
                                                          I
                                                                           SUBTRAE      1 08

                         SUBMONT   1 06
                                                                      T H E R M I S O               1 20


                        II
                                                                   Ft
                                                                                                             FIG
                                                                                                             110
                                                                                                             .

     ESLMITDNSEG 1 04

                                              II
                                                                         LETMIODTPSNG   102
                                                                                        1




                                                          Stay-Add-710
                Case: 24-1285               Document: 7      Page: 762         Filed: 12/26/2023


U.S. Patent                           Feb. 9 , 2021       Sheet 25 of 65             US 10,912,502 B2




                                                              SUBTRAE   1 08

                                                             ?
                TEMIOTPNG LEDS 1 02

                                                                                             11D
                                                                                             .
                                                                                             FIG

                                                                               ?

    THERMISO   1 20
                                           h
                                           L




                                                      Stay-Add-711
      Case: 24-1285      Document: 7      Page: 763     Filed: 12/26/2023


U.S. Patent        Feb. 9 , 2021       Sheet 26 of 65         US 10,912,502 B2




                                                  DETECTOR1
                                                              DETECTOR2



                  4
      DETECTOR4                                       DETECTOR SUBMOUNT
                                                             1200
                  DETECTOR3

                                    FIG . 12A




                                   Stay-Add-712
      Case: 24-1285                  Document: 7      Page: 764             Filed: 12/26/2023


U.S. Patent                    Feb. 9 , 2021       Sheet 27 of 65                       US 10,912,502 B2




         DETCORSUBMONT   200                                            D1ET CTOR
                                                                                           FIG.12B
         DISTANCE Z

                                                                              DETCOR2
          DETCORA
                                                              DETCOR3
                                               Stay-Add-713
      Case: 24-1285    Document: 7      Page: 765     Filed: 12/26/2023


U.S. Patent      Feb. 9 , 2021       Sheet 28 of 65         US 10,912,502 B2




                                 DETECTOR1




                                 DETECTOR2


                                                             -D2


                                 DETECTOR3

                                                              D3

                                 DETECTOR4




                            DETECTOR SUBMOUNT 1200




                             FIG . 12C



                                 Stay-Add-714
      Case: 24-1285       Document: 7      Page: 766     Filed: 12/26/2023


U.S. Patent       Feb. 9 , 2021         Sheet 29 of 65         US 10,912,502 B2




                                   DETECTOR1




              DETECTOR2                                  DETECTOR3




                                   DETECTOR4




                             DETECTOR SUBMOUNT 1200




                               FIG . 12D



                                  Stay-Add-715
       Case: 24-1285     Document: 7       Page: 767     Filed: 12/26/2023


U.S. Patent         Feb. 9 , 2021       Sheet 30 of 65         US 10,912,502 B2




                                                                  ANODE 1208




 PHOTODIODE                                                                  12048
    1202


     1204A




                                    ACTIVE AREA
        CATHODE                     1204
         ( BACK )
           1206


                                        FIG . 12E




                                    Stay-Add-716
       Case: 24-1285      Document: 7       Page: 768     Filed: 12/26/2023


U.S. Patent         Feb. 9 , 2021        Sheet 31 of 65            US 10,912,502 B2




                                                                      ANODE 1208




                                1204C                      12040

  PHOTODIODE
     1202


                              12045                       1204F




                                      ACTIVE AREAS
         CATHODE
          ( BACK)
           1206

                                        FIG , 12F




                                    Stay-Add-717
       Case: 24-1285      Document: 7       Page: 769    Filed: 12/26/2023


U.S. Patent         Feb. 9 , 2021       Sheet 32 of 65         US 10,912,502 B2




                                                                   ANODE 1208




  PHOTODIODE
     1202
                          1204G             1204H          12041



                                      ???

        CATHODE                      ACTIVE AREAS
         ( BACK )
          1206


                                      FIG . 12G




                                    Stay-Add-718
       Case: 24-1285    Document: 7        Page: 770     Filed: 12/26/2023


U.S. Patent        Feb. 9 , 2021        Sheet 33 of 65         US 10,912,502 B2




                                                                     ANODE 1208




                           1204 )           1204K           1204E



  PHOTODIODE             1204M                1204N          12040
     1202



                        1204P                                1204R




        CATHODE                      ACTIVE AREAS          1204G
         ( BACK)
          1206

                                      FIG . 12H




                                    Stay-Add-719
           Case: 24-1285         Document: 7      Page: 771           Filed: 12/26/2023


U.S. Patent              Feb. 9 , 2021         Sheet 34 of 65                US 10,912,502 B2

                                                                           1300
                         EMITTER ( POINT SOURCE )
                                                                                    1305
    1304
               EMITTER SET           EMITTER SETS                        DRIVER
           }
           }
           }
           }
                 ID                        DO             I




                       PULSED                                                      CONTROL
                                                                                    SIGNAL
                                             PULSE                                  ( FROM
                                                                                  PROCESSOR
                                           SEQUENCE                                 1010 )
                                               1303


                       PULSE                                   1302
                        MEASUREMENT SITES



  1306
                         ?                                    DETECTED LIGHT

            DETECTOR                            DETECTOR
                                                                   PULSE             PULSE
                                 SPACING
                                                                      11



                             PULSE                    PULSE
                             1
                                     STREAM
                                     SIGNAL
                                                                 H
                                                               FRONT- END
                                                               INTERFACE
                                                                                   1308

                 FIG . 13
                                                                TO SIGNAL
                                                               PROCESSOR
                                                                   1310


                                         Stay-Add-720
          Case: 24-1285      Document: 7      Page: 772     Filed: 12/26/2023


U.S. Patent          Feb. 9 , 2021         Sheet 35 of 65           US 10,912,502 B2




                                                              605

  1408a




                     14102



                                                                           1400a



                                      FIG . 14A




                                     Stay-Add-721
      Case: 24-1285   Document: 7       Page: 773     Filed: 12/26/2023


U.S. Patent      Feb. 9 , 2021       Sheet 36 of 65           US 10,912,502 B2




                         FROM EMITTERS




                                                  1420




                                                      605




                                          1422




                                                      1400B




                         FIG . 14B


                                 Stay-Add-722
      Case: 24-1285   Document: 7        Page: 774    Filed: 12/26/2023


U.S. Patent      Feb. 9 , 2021       Sheet 37 of 65            US 10,912,502 B2




                                 14100

                      14120
                                                      - 4080




                                         I




                            FIG . 14C




                                 Stay-Add-723
      Case: 24-1285     Document: 7      Page: 775      Filed: 12/26/2023


U.S. Patent      Feb. 9 , 2021        Sheet 38 of 65          US 10,912,502 B2




                                                              -1.450
                                         6056

                  607    1432
                                                       1430
         1400C




                                                              -14120




                            FIG . 14D




                                 Stay-Add-724
          Case: 24-1285     Document: 7       Page: 776    Filed: 12/26/2023


U.S. Patent          Feb. 9 , 2021        Sheet 39 of 65         US 10,912,502 B2




                                                             --- 1450


                                       607

                                                                               14000
                                                                        605b




                                                                        14120


   1430



                     1433               607


                               FIG . 14E




                                     Stay-Add-725
      Case: 24-1285      Document: 7       Page: 777         Filed: 12/26/2023


U.S. Patent         Feb. 9 , 2021       Sheet 40 of 65               US 10,912,502 B2




                14926

                                                                          3061
        14100
      1470
                            MHAHA                                1492a

                                                             14000



             ora                               1490
                                                      3061




                             FIG . 14F




                                    Stay-Add-726
      Case: 24-1285   Document: 7       Page: 778     Filed: 12/26/2023


U.S. Patent      Feb. 9 , 2021       Sheet 41 of 65         US 10,912,502 B2




                                                 3101

                                                          306



                                    HAHA

                                   FIG . 14G




                                 Stay-Add-727
      Case: 24-1285       Document: 7       Page: 779     Filed: 12/26/2023


U.S. Patent          Feb. 9 , 2021       Sheet 42 of 65         US 10,912,502 B2




                      3061


              605b

       3101




                                FIG , 14H




                                     Stay-Add-728
         Case: 24-1285   Document: 7       Page: 780       Filed: 12/26/2023


U.S. Patent         Feb. 9 , 2021       Sheet 43 of 65           US 10,912,502 B2




                             3501                   357f
                                                                         3011




         3041
                                                                      3521
                                                    7 !                    1419
          1419                                                         1480
                                                                       1404
                                                                       1482

  3071


                                                                        1403
     306F
                              II

                                    FIG . 141




                                    Stay-Add-729
      Case: 24-1285             Document: 7           Page: 781     Filed: 12/26/2023


U.S. Patent            Feb. 9 , 2021               Sheet 44 of 65                US 10,912,502 B2




                                            1502

               1520


                           INSULATOR SUBMONT                         LEDS 1504

                                                                                     15A
                                                                                     FIG
                                                                                     .
                                       AA
                                       WA



                      1512 11 5 0 6

                         1510
       150 A


                                             Stay-Add-730
        Case: 24-1285          Document: 7                    Page: 782     Filed: 12/26/2023


U.S. Patent             Feb. 9 , 2021                      Sheet 45 of 65           US 10,912,502 B2




                                1530            1502

                 1520


                           INSULATOR LHSAEIYNTKR SUBMONT                       LEDS 1504

                                                                                           15B
                                                                                           FIG
                                                                                           .

                1512 1            1                                1514



     150 8


                                             Stay-Add-731
      Case: 24-1285      Document: 7                 Page: 783     Filed: 12/26/2023


U.S. Patent       Feb. 9 , 2021                   Sheet 46 of 65         US 10,912,502 B2




                                    619
                                1563
                               1502
                             1561
                                             10




                      1506                                         15C
                                                                   .
                                                                   FIG

                150
                                    1512




                                           Stay-Add-732
      Case: 24-1285       Document: 7                 Page: 784      Filed: 12/26/2023


U.S. Patent         Feb. 9 , 2021                  Sheet 47 of 65          US 10,912,502 B2




                                  1510564139
                                1561                          1580


                         1506                                        15D
                                                                     .
                                                                     FIG

                150 C




                                               Stay-Add-733
      Case: 24-1285               Document: 7      Page: 785     Filed: 12/26/2023


U.S. Patent           Feb. 9 , 2021             Sheet 48 of 65          US 10,912,502 B2




                           1519

                        OCSI                           0891
                                                    1563

                         909
                                                                  15E
                                                                  .
                                                                  FIG

              150 E
                                     1512




                                            Stay-Add-734
      Case: 24-1285       Document: 7              Page: 786     Filed: 12/26/2023


U.S. Patent         Feb. 9 , 2021               Sheet 49 of 65         US 10,912,502 B2




                                                     091
                                   1530
                                1565
                                     1563

                         90ST                                    15F
                                                                 .
                                                                 FIG


                150 E
                                   1512
                                   1510




                                            Stay-Add-735
      Case: 24-1285          Document: 7                 Page: 787       Filed: 12/26/2023


U.S. Patent            Feb. 9 , 2021                  Sheet 50 of 65            US 10,912,502 B2




                                       1519
                                              ELS


              1587

                                                                  1575
               1514                                                       15G
                                                                          .
                                                                          FIG
                                                157

                1512




                                          Stay-Add-736
      Case: 24-1285    Document: 7        Page: 788     Filed: 12/26/2023


U.S. Patent      Feb. 9 , 2021         Sheet 51 of 65         US 10,912,502 B2




                            1573



                                              SZS

                                                    15H
                                                    .
                                                    FIG




                                   Stay-Add-737
          Case: 24-1285                                 Document: 7                                                         Page: 789              Filed: 12/26/2023


U.S. Patent                                Feb. 9 , 2021                                                         Sheet 52 of 65                                  US 10,912,502 B2

                                                                                                                                                                 }




                                                                                                                                                                      do



                                                                                                 000
                                                                                                                 DSIGNTAL APROCNESDR IUNTSERFACE                     OD O


                                               $                        {       *       & 5
                                                                                                 og
                                                                                                o9b0os0
                                                                                                             $                                      DRIVER 105        OO
                                                                                                                                                                      OO
                                                                                                                                                                     OO
                          ADC ADC              :
                                                        ADC                                                                                                          FO D



                                                                                                                                     CONVERT
                                                                                                                                                                     doO O
                                                                                                 Od
                                                                                                 go d
                                                                                                 00
                                                                                                                          DSEILGTMA 900 DEVICE 103                    CO T

                                                                                                                                                                     odOCDoRO
                                                                                                 co t
                                                        $       5
                                                                                                co l

          5
              3                                                         3               < 1

                                                                                                coolo o                                                              oo
                                                                                                                                                                       GO D
                                       A




                                           ?
                                                                                                 oo




                                                                                                c2o0de0k
                                                                                                                          IMPEDANC
                                                                                                                 TRANS AMPLIFER 108
                                                                                                                                                                      WXO DO
                                                                                                                                                                       OO
                                                                                                                                                                                151
                                                                                                                                                                                .
                                                                                                                                                                                FIG
              2   3       2        7   5   3   5        5                   2       3       1

                                                                                                                                                                     OoWGXOoD




    102                       MEASUREMENT
                                  SITE
                                                         114 P H O T D I E S5
                                                                             S
                                                                             W
                                                                             I
                                                                             F N
                                                                               RET
                                                                                 O G A N
                                                                                       H
                                                                                       ER
                                                                                        5
                                                                                         D       go og
                                                                                                 oo
                                                                                                 00

                                                                                                200
                                                                                                                                          106
                                                                                                                                                                      godt
                                                                                                                                                                      COR

                                                                                                                                                                      FO D

              $                                                                 2       S

                                                                                                ooodooo ox
                                                                                                                                                                     ODCOod

                                                                                                 00                                                                  godt

                                       D
                                                                                                 C0O0V
                                                                                                 PO D
                                                                                                                        LIGHT SOURCES 104                            CO
                                                                                                                                                                      .
                                                                                                                                                                      DOO


                                                                                                                                                                      OO
              1       1        1                   11   5   4       t       U           4   6

                                                                                                ooogo o      6




                                                                                                                                                                     od




                                                                                    Stay-Add-738
                           Case: 24-1285    Document: 7       Page: 790     Filed: 12/26/2023


U.S. Patent                           Feb. 9 , 2021        Sheet 53 of 65          US 10,912,502 B2




                 0.8



 NSormNalizRed
                                                                            1 PD PER STREAM
                           /                                                -2 PD PER STREAM
                                                                            3 PD PER STREAM
                                                                            4 PD PER STREAM
                 0.24

                       0         5                           20       25      30        35
                                                      Resistance ( MOhm )


                                                      FIG . 15J




                                                      Stay-Add-739
          Case: 24-1285      Document: 7           Page: 791     Filed: 12/26/2023


U.S. Patent            Feb. 9 , 2021           Sheet 54 of 65          US 10,912,502 B2


                                                          1508
                4 PD PER STREAM

                                                                         OUTPUT STREAM
 PHOTO                                                                        1506
  DIODE
   1502
                 DETECTOR                  wim y   10MQ        1510


                                         TRANSIMPEDANCE
                                          AMPLIFIER 1504
                                         VS.
  1512
             1 PD PER STREAM
                        1518
    DETECTOR      40MQ 1516

 PHOTO                                               AVERAGER 1520
 DIODE
  1514             40MQ2




   1514
           *
            1
                              I?

   1514
                            I
                                  1516


   1514
                              I
                            FIG . 15J ( CONT.)
                                       Stay-Add-740
       Case: 24-1285      Document: 7                   Page: 792     Filed: 12/26/2023


U.S. Patent          Feb. 9 , 2021                   Sheet 55 of 65         US 10,912,502 B2

             1522
                                                                TRANSIMPEDANCE
                                                                AMPLIFIER 1526


                                                                                  1524
SUBMOUNT
                                     {                                       3
                                                                             {

                                                                             }



                                         $
                                                                      3


                                                                           DETECTOR WITH
                                                                            4 PHOTODIODES

                    4 PD PER STREAM ARCHITECTURE



                                              1520            TRANSIMPEDANCE
                                                               AMPLIFIER 1532
                        1528
                                                                                    1530
  SUBMOUNT
     700              AVERAGING AVERAGING
                        CIRCUIT                CIRCUIT
                                         3


                                  3

                                  4
                                  }
                                   }



                      AVERAGING               AVERAGING                          DETECTOR 106
                       CIRCUIT                 CIRCUIT                            WITH SINGLE
                                                                              PHOTODIODE
             Ó .                                                          AND TRANSIMPEDANCE
                                                                               AMPLFER

                    1 PD PER STREAM ARCHITECTURE

                               FIG . 15K
                                             Stay-Add-741
      Case: 24-1285     Document: 7             Page: 793     Filed: 12/26/2023


U.S. Patent      Feb. 9 , 2021               Sheet 56 of 65            US 10,912,502 B2

                                      1534                  TRANSIMPEDANCE
                                                             AMP FER 526

                                                                   3


                                                                   {
 SUBMOUNT                                                          3
                                                                   }
                                                                             }


                                  !
                                  {




                                                                         DETECTOR 106
                                                                             WITH
                                                                        4 PHOTODIODES
                  4 PD PER STREAM ARCHITECTURE
                                             TRANSIMPEDANCE
                                     1520     AMPLIRER 1532

   SUBMOUNT
      700
                                                                                 1540
                       AVERAGING AVERAGING
                        CIRCUIT            CIRCUIT
                                                              OD         {




                       AVERAGING AVERAGING                               }
                         CIRCUIT   CIRCUIT
                                       *




                                                                        DETECTOR 106
                                                                            WITH
                                                                       4 PHOTODIODES

                 1 PD PER STREAM ARCHITECTURE

                      FIG . 15K (CONT.)
                                 Stay-Add-742
          Case: 24-1285    Document: 7               Page: 794     Filed: 12/26/2023


U.S. Patent           Feb. 9 , 2021               Sheet 57 of 65          US 10,912,502 B2

                  1542                                        TRANSIMPEDANCE
                                                               AMPLIFIER 1526



  SUBMOUNT
    700                                                                                 3
                                                                                        }

                                      }

                                                                     1

                                                                                {

                                                                                DETECTOR 106
                                                                            4 PHOTODIODES
                      4 PD PER STREAM ARCHITECTURE
           1546                                  TRANSIMPEDANCE
                                        1520       AMPLIFIER 1532

   SUBMOUNT
                  0       AVERAGING AVERAGING                                               1548
                            CIRCUIT               CIRCUIT
                                                                                    $




                      9                                     $
                                              }
                                          }




                          AVERAGING AVERAGING
                            CIRCUIT               CIRCUIT
                                                                            1
                                                                            3




                                                                         DETECTOR 106 WITH
                                                                           4 PHOTODIODES
                      1 PD PER STREAM ARCHITECTURE

                         FIG . 15K (CONT.)
                                      Stay-Add-743
             Case: 24-1285                                   Document: 7                           Page: 795                                              Filed: 12/26/2023


U.S. Patent                                    Feb. 9 , 2021                                   Sheet 58 of 65                                                   US 10,912,502 B2

                                                                                                                                                              1




                                                                                                                                                                              DEVICE 103
                                                                                                             DSIGNTAL PAROCNESDOR IUNTSERFAC
                                                                                                                                                                                           OK


                                                                                                                                                                  DRIVER 105
                                                                                                                      DIGTAL INTERFAC 10 0
 5                         5                       $    $     3 5       $   3 $                3




                                                       ADC      :
                                                                                    ADC

                                                                                                           CSAWPIDTHCEOR CONABONVERDT IDNTGERFACL   108

                                                                                                                                                                                           2909
                                                                                                                                                                                                  15L
                                                                                                                                                                                                  .
                                                                                                                                                                                                  FIG
         S             2       $




                                       .       .                                                   .




     2
             NE
             1




                 102
                                                                                                   +
                                                                                                       w
                                                                                                                            PHOTDIES                                     FIWSNRETOGANHRD   20
                                                                                                                                                                                           20
                                                                                                                                                                                           90




                           D   1   1       1
                                                             D
                                                                    N   .     .    .   N   .




                                                                                                       L
                                                                                                                 LIGHT 104     SOURCES                                                     99




                                                                                  Stay-Add-744
        Case: 24-1285          Document: 7         Page: 796          Filed: 12/26/2023


U.S. Patent         Feb. 9 , 2021               Sheet 59 of 65              US 10,912,502 B2




             1620
1601                                                           1620
                                        1602


                        1630
                                                                             1630
       160                                            160
                                      FIG.16A
                                                                                          FIG.16B
                                                                                                    1610
                                                            1610



                                     Stay-Add-745
      Case: 24-1285         Document: 7      Page: 797        Filed: 12/26/2023


U.S. Patent          Feb. 9 , 2021        Sheet 60 of 65              US 10,912,502 B2



                                                            1751




                                                               1704


                                                     1702

      1787


               WO                                   -1709

                                                                      1783

       1700
                                                 1703
                                                                             1760
                     1712
              1785                                  -1790
                                                                        1787
                                               2 00
                                                            1791



                                       S                    -1706

      FIG . 17

                                     Stay-Add-746
       Case: 24-1285   Document: 7         Page: 798   Filed: 12/26/2023


U.S. Patent       Feb. 9 , 2021       Sheet 61 of 65          US 10,912,502 B2




     6000
               Standard deviations from fit
                   versary Train set = 13 mg / dl
                           Test set = 11 mg / dl
                                                       o
Gu
g
(
dL
/
)


     3000

     2000




       Pooo              1000       2000      3000     4000     5000       6000

                                   Gu_hat ( g / dL )
                                FIG . 18




                                  Stay-Add-747
        Case: 24-1285   Document: 7         Page: 799   Filed: 12/26/2023


U.S. Patent        Feb. 9 , 2021       Sheet 62 of 65          US 10,912,502 B2




      6000
                Standard deviations from fit                          0

      5000              Train set = 37 mg / dl                    0


                        Test set = 32 mg / dl
      4000                                               0

 Gu
 (
 dL
 g
 /
 )


      3000

      2000




         1000                        2000      3000     4000     5000
                                   Gu_hat ( g /dL )

                               FIG . 19




                                   Stay-Add-748
                       Case: 24-1285   Document: 7        Page: 800       Filed: 12/26/2023


U.S. Patent                       Feb. 9 , 2021       Sheet 63 of 65            US 10,912,502 B2




                       300


                       250


   pGu
    '
    Labs
    (
    mg
    ,
    )
    dL
    /
    rleaditcftoironm   200


                       150




                        50
                             50                     150          200           250


                                          Gu reference (YSI , mg / dL )

                                                  FIG . 20




                                                  Stay-Add-749
         Case: 24-1285        Document: 7        Page: 801        Filed: 12/26/2023


U.S. Patent            Feb. 9 , 2021          Sheet 64 of 65              US 10,912,502 B2




          3003                                     2nd day
          250

          200

    Gu
    mg
    (
    /
    dL
    )
                    1st day

          100 000
                                                                Prediction
                                                          © YSI
                                                          O HemoCue
                     25                 25                75        100      125
                                             Time ( minutes )

                                        FIG . 21




                                       Stay-Add-750
                            Case: 24-1285   Document: 7        Page: 802      Filed: 12/26/2023


U.S. Patent                            Feb. 9 , 2021        Sheet 65 of 65          US 10,912,502 B2




               18




               16



 pHot
  '
  Labs
  (
  ,
  )
  dL
  g
  /
  rleaditcftoironm 14
               13

               12

               11



                  g

                  8
                        8        9                     12     13              15    16
                                               Hbt reference ( ABL800 , g / dL )


                                                       FIG . 22




                                                       Stay-Add-751
                  Case: 24-1285                   Document: 7                Page: 803               Filed: 12/26/2023


                                                           US 10,912,502 B2
                                      1                                                                           2
                 USER -WORN DEVICE FOR                                                                    -continued
              NONINVASIVELY MEASURING A
     PHYSIOLOGICAL PARAMETER OF A USER                                                    Filing
                                                                            App. No.      Date            Title
                                                                        5
                     RELATED APPLICATIONS                                   12 /534,823   Aug. 3 , 2009   Multi - Stream Sensor for Non - Invasive
                                                                                                          Measurement of Blood Constituents
   This application is a continuation of U.S. patent applica 12 /534,825 Aug. 3 , 2009                    Multi- Stream Emitter for Non -Invasive
                                                                                                          Measurement of Blood Constituents
tion Ser. No. 16 / 834,538 , filed Mar. 30 , 2020 , which is a
continuation of U.S. patent application Ser. No. 16 /725,292 , 10 The foregoing applications are hereby incorporated by
filed Dec. 23 , 2019 , which is a continuation of U.S. patent reference in their entirety.
application Ser. No. 16 / 534,949 , filed Aug. 7 , 2019 , which
is a continuation of U.S. patent application Ser. No. 16/409 ,                              BACKGROUND
515 , filed May 10 , 2019 , which is a continuation of U.S.
patent application Ser. No. 16 /261,326 , filed Jan. 29 , 2019 , 15 The standard of care in caregiver environments includes
which is a continuation of U.S. patent application Ser. No. patient monitoring through spectroscopic analysis using , for
16 /212,537 , filed Dec. 6 , 2018 , which is a continuation of example , a pulse oximeter. Devices capable of spectroscopic
U.S. patent application Ser. No. 14/ 981,290 filed Dec. 28 , analysis           generally include a light source ( s) transmitting
2015 , which is a continuation of U.S. patent application Ser. optical radiation into or reflecting off a measurement site ,
No. 12 / 829,352 filed Jul . 1 , 2010 , which is a continuation of 20 such as , body tissue carrying pulsing blood . After attenua
U.S. patent application Ser. No. 12 / 534,827 filed Aug. 3 , tion by tissue and fluids of the measurement site , a photo
2009 , which claims the benefit of priority under 35 U.S.C. detection device ( s ) detects the attenuated light and outputs a
$ 119 ( e) of the following U.S. Provisional Patent Applica- detector signal ( s) responsive to the detected attenuated light.
tion Nos . 61 /086,060 filed Aug. 4 , 2008 , 61 / 086,108 filed A signal processing device ( s ) process the detector ( s) signal
Aug. 4 , 2008 , 61 /086,063 filed Aug. 4 , 2008 , 61 / 086,057 25 ( s ) and outputs a measurement indicative of a blood con
filed Aug. 4 , 2008 , and 61 / 091,732 filed Aug. 25 , 2008. U.S. stituent of interest, such as glucose , oxygen , met hemoglo
patent application Ser. No. 12/ 829,352 is also a continua bin , total hemoglobin , other physiological parameters , or
tion- in - part of U.S. patent application Ser. No. 12/ 497,528 other data or combinations of data useful in determining a
filed Jul. 2 , 2009 , which claims the benefit of priority under 30 state or trend of wellness of a patient.
35 U.S.C. $ 119 ( e ) of the following U.S. Provisional Patent         In noninvasive devices and methods, a sensor is often
Application Nos . 61 /086,060 filed Aug. 4 , 2008 , 61 / 086,108 adapted to position a finger proximate the light source and
filed Aug. 4 , 2008 , 61 /086,063 filed Aug. 4 , 2008 , 61/086 , light     detector. For example, noninvasive sensors often
                                                                     include a clothespin - shaped housing that includes a con
057 filed Aug. 4 , 2008 , 61 /078,228 filed Jul. 3 , 2008 , toured bed          conforming generally to the shape of a finger.
61 /078,207 filed Jul. 3 , 2008 , and 61 /091,732 filed Aug. 25 , 35
2008. U.S. patent application Ser. No. 12 /497,528 also                                          SUMMARY
claims the benefit of priority under 35 U.S.C. § 120 as a
continuation - in -part of the following U.S. Design patent              This disclosure describes embodiments of noninvasive
application Ser. No. 29/ 323,409 filed Aug. 25 , 2008 and Ser. methods         , devices, and systems for measuring a blood con
No. 29 /323,408 filed Aug. 25 , 2008. U.S. patent application
   . No.    12 /829,352 is also a  continuation  -in -part of U.S. 40 stituent
Ser application Ser. No. 12/497,523 filed Jul . 2 , 2009 , methemoglobin        or analyte  , such
                                                                                        , total      as oxygen
                                                                                                hemoglobin      , carbon
                                                                                                            , glucose        monoxide
                                                                                                                                 , glu,
                                                                                                                        , proteins
patent
which claims the benefit ofpriority under 35 U.S.C. § 119 (e ) cose        , lipids , a percentage thereof ( e.g. , saturation) or for
of the following U.S. Provisional Patent Application Nos . acteristics. many
                                                                      measuring
                                                                                   These
                                                                                          other physiologically relevant patient char
                                                                                           characteristics can relate , for example, to
61 /086,060 filed Aug. 4 , 2008 , 61 / 086,108 filed Aug. 4 , 45 pulse rate, hydration       , trending information and analysis , and
2008 , 61 / 086,063 filed Aug. 4 , 2008 , 61 / 086,057 filed Aug.
4 , 2008 , 61 /078,228 filed Jul. 3 , 2008 , 61 / 078,207 filed Jul . theInlikean. embodiment, the system includes a noninvasive
3 , 2008 , and 61 /091,732 filed Aug. 25 , 2008. U.S. patent sensor and a patient monitor communicating with the non
application Ser. No. 12 /497,523 also claims the benefit of invasive               sensor. The non - invasive sensor may include dif
priority under 35 U.S.C. § 120 as a continuation - in -part of
the following U.S. Design patent application Ser. No. 50 ferent                 architectures  to implement some or all of the dis
                                                                      closed features. In addition, an artisan will recognize that the
29 /323,409 filed Aug. 25 , 2008 and Ser. No. 29 / 323,408 non             - invasive sensor may include or may be coupled to other
filed Aug. 25 , 2008 .
    This application is related to the following U.S. patent components
                                                                      Moreover     ,
                                                                                      , such as a network interface, and the like .
                                                                                     the patient monitor may include a display device,
applications:
                                                                        55 a network interface communicating with any one or com
                                                                           bination of a computer network , a handheld computing
              Filing                                                        device, a mobile phone , the Internet, or the like . In addition,
App . No.     Date            Title                                         embodiments may include multiple optical sources that emit
12 /497,528   Jul. 2 , 2009   Noise Shielding for Noninvasive Device
                                                                           light at a plurality of wavelengths and that are arranged from
12 /497,523   Jul. 2 , 2009   Contoured Protrusion for Improving        60 the perspective of the light detector ( s) as a point source .
                              Spectroscopic Measurement of Blood              In an embodiment, a noninvasive device is capable of
                              Constituents
                              Heat Sink for Noninvasive Medical
                                                                           producing a signal responsive to light attenuated by tissue at
12 /497,506   Jul. 2 , 2009
                              Sensor                                       a measurement site . The device may comprise an optical
12 /534,812   Aug. 3 , 2009   Multi -Stream Sensor Front Ends for Non      source and a plurality of photodetectors. The optical source
                              Invasive Measurement of Blood             65 is configured to emit optical radiation at least at wavelengths
                              Constituents                                 between about 1600 nm and about 1700 nm . The photode
                                                                            tectors are configured to detect the optical radiation from
                                                               Stay-Add-752
               Case: 24-1285               Document: 7             Page: 804            Filed: 12/26/2023


                                                  US 10,912,502 B2
                             3                                                                  4
said optical source after attenuation by the tissue of the        signals from the plurality of detectors into a digital output
measurement site and each output a respective signal stream       signal having a stream for each of the plurality of detectors;
responsive to the detected optical radiation .                    and an output configured to provide the digital output signal.
   In an embodiment, a noninvasive, physiological sensor is          In an embodiment, a conversion processor for a physi
capable of outputting a signal responsive to a blood analyte 5 ological , noninvasive sensor comprises: a multi - stream input
present in a monitored patient. The sensor may comprise a configured to receive signals from a plurality of detectors in
sensor housing, an optical source , and photodetectors. The
optical source is positioned by the housing with respect to a the     sensor, wherein the signals are responsive to optical
                                                                 radiation  from a tissue site ; a modulator that converts the
tissue site of a patient when said housing is applied to the multi -stream
patient. The photodetectors are positioned by the housing 10 processor thatinput      into a digital bit -stream ; and a signal
                                                                                  produces  an output signal from the digital
with respect to said tissue site when the housing is applied bit- stream .
to the patient with a variation in path length among at least       In an embodiment, a front - end interface for a noninvasive,
some of the photodetectors from the optical source. The
photodetectors are configured to detect a sequence of optical physiological sensor comprises: a set of inputs configured to
radiation from the optical source after attenuation by tissue 15 receive  signals from a plurality of detectors in the sensor; a
of the tissue site . The photodetectors may be each configured set of respective transimpedance amplifiers for each detector
to output a respective signal stream responsive to the configured to convert the signals from the plurality of
detected sequence of optical radiation. An output signal detectors into an output signal having a stream for each of
responsive to one or more of the signal streams is then the plurality of detectors ; and an output configured to
usable to determine the blood analyte based at least in part 20 provide the output signal.
on the variation in path length.                                     In certain embodiments, a noninvasive sensor interfaces
   In an embodiment, a method of measuring an analyte with tissue at a measurement site and deforms the tissue in
based on multiple streams of optical radiation measured a way that increases signal gain in certain desired wave
from a measurement site is provided . A sequence of optical lengths.
radiation pulses is emitted to the measurement site . At a first 25 In some embodiments, a detector for the sensor may
location , a first stream of optical radiation is detected from comprise a set of photodiodes that are arranged in a spatial
the measurement site . At least at one additional location configuration . This spatial configuration may allow, for
different from the first location, an additional stream of example, signal analysis for measuring analytes like glu
optical radiation is detected from the measurement site . An cose . In various embodiments, the detectors can be arranged
output measurement value indicative of the analyte is then 30 across multiple locations in a spatial configuration . The
determined based on the detected streams of optical radia- spatial configuration provides a geometry having a diversity
tion .                                                             of path lengths among the detectors. For example , the
   In various embodiments, the present disclosure relates to detector in the sensor may comprise multiple detectors that
an interface for a noninvasive sensor that comprises a are arranged to have a sufficient difference in mean path
front - end adapted to receive an input signals from optical 35 length to allow for noise cancellation and noise reduction .
detectors and provide corresponding output signals. In an            In an embodiment, a physiological, noninvasive detector
embodiment, the front - end is comprised of switched -capaci- is configured to detect optical radiation from a tissue site .
tor circuits that are capable of handling multiple streams of The detector comprises a set of photodetectors and a con
signals from the optical detectors . In another embodiment, version processor. The set of photodetectors each provide a
the front- end comprises transimpedance amplifiers that are 40 signal stream indicating optical radiation from the tissue
capable of handling multiple streams of input signals. In site . The set of photodetectors are arranged in a spatial
addition, the transimpedance amplifiers may be configured configuration that provides a variation in path lengths
based on the characteristics of the transimpedance amplifier between at least some of the photodetectors . The conversion
itself, the characteristics of the photodiodes, and the number processor that provides information indicating an analyte in
of photodiodes coupled to the transimpedance amplifier. 45 the tissue site based on ratios of pairs of the signal streams.
   In disclosed embodiments, the front - ends are employed in      The present disclosure, according to various embodi
noninvasive sensors to assist in measuring and detecting ments, relates to noninvasive methods, devices , and systems
various analytes. The disclosed noninvasive sensor may also for measuring a blood analyte, such as glucose . In the
include , among other things , emitters and detectors posi- present disclosure, blood analytes are measured noninva
tioned to produce multi - stream sensor information. An arti- 50 sively based on multi -stream infrared and near - infrared
san will recognize that the noninvasive sensor may have spectroscopy. In some embodiments, an emittermay include
different architectures and may include or be coupled to one or more sources that are configured as a point optical
other components, such as a display device , a network source . In addition , the emitter may be operated in a manner
interface, and the like . An artisan will also recognize that the that allows for the measurement of an analyte like glucose .
front - ends may be employed in any type of noninvasive 55 In embodiments, the emitter may comprise a plurality of
sensor .                                                          LEDs that emit a sequence of pulses of optical radiation
   In an embodiment, a front - end interface for a noninvasive, across a spectrum of wavelengths. In addition, in order to
physiological sensor comprises: a set of inputs configured to achieve the desired SNR for detecting analytes like glucose ,
receive signals from a plurality of detectors in the sensor; a the emitter may be driven using a progression from low
set of transimpedance amplifiers configured to convert the 60 power to higher power. The emitter may also have its duty
signals from the plurality of detectors into an output signal cycle modified to achieve a desired SNR .
having a stream for each of the plurality of detectors; and an       In an embodiment, a multi - stream emitter for a noninva
output configured to provide the output signal.                   sive , physiological device configured to transmit optical
   In an embodiment, a front - end interface for a noninvasive, radiation in a tissue site comprises: a set of optical sources
physiological sensor comprises: a set of inputs configured to 65 arranged as a point optical source ; and a driver configured to
receive signals from a plurality of detectors in the sensor; a drive the at least one light emitting diode and at least one
set of switched capacitor circuits configured to convert the optical source to transmit near - infrared optical radiation at
                                                       Stay-Add-753
               Case: 24-1285                Document: 7             Page: 805            Filed: 12/26/2023


                                                   US 10,912,502 B2
                              5                                                                   6
sufficient power to measure an analyte in tissue that responds        FIG . 5 illustrates an example graph depicting possible
to near - infrared optical radiation .                             effects of a protrusion on light transmittance , according to an
   In an embodiment, an emitter for a noninvasive, physi-          embodiment of the disclosure;
ological device configured to transmit optical radiation in a         FIGS . 6A through 6D illustrate perspective , front eleva
tissue site comprises: a point optical source comprising an 5 tion, side and top views of another example protrusion,
optical source configured to transmit infrared and near-          according to an embodiment of the disclosure ;
infrared optical radiation to a tissue site ; and a driver          FIG . 6E illustrates an example sensor incorporating the
configured to drive the point optical source at a sufficient      protrusion of FIGS . 6A through 6D , according to an embodi
power and noise tolerance to effectively provide attenuated 10 ment of the disclosure;
optical radiation from a tissue site that indicates an amount          FIGS . 7A through 7B illustrate example arrangements of
of glucose in the tissue site .                                      conductive glass that may be employed in the system of FIG .
   In an embodiment, a method of transmitting a stream of 1 , according to embodiments of the disclosure ;
pulses of optical radiation in a tissue site is provided. At least     FIGS . 8A through 8D illustrate an example top elevation
one pulse of infrared optical radiation having a first pulse 15 view , side views , and a bottom elevation view of the
width is transmitted at a first power. At least one pulse of conductive glass that may be employed in the system of FIG .
near -infrared optical radiation is transmitted at a power that 1 , according to embodiments of the disclosure ;
is higher than the first power.                                         FIG . 9 shows example comparative results obtained by an
   In an embodiment, a method of transmitting a stream of embodiment of a sensor ;
pulses of optical radiation in a tissue site is provided. At least 20 FIGS . 10A and 10B illustrate comparative noise floors of
one pulse of infrared optical radiation having a first pulse various embodiments of the present disclosure;
width is transmitted at a first power. At least one pulse of            FIG . 11A illustrates an exemplary emitter that may be
near - infrared optical radiation is then transmitted, at sec employed in the sensor, according to an embodiment of the
ond power that is higher than the first power.                       disclosure;
   For purposes of summarizing the disclosure , certain 25 FIG . 11B illustrates a configuration of emitting optical
aspects , advantages and novel features of the inventions radiation into a measurement site for measuring blood
have been described herein . It is to be understood that not constituents, according to an embodiment of the disclosure ;
necessarily all such advantages can be achieved in accor-               FIG . 11C illustrates another exemplary emitter that may
dance with any particular embodiment of the inventions 30 be employed in the sensor according to an embodiment of
disclosed herein . Thus, the inventions disclosed herein can the disclosure ;
be embodied or carried out in a manner that achieves or         FIG . 11D illustrates another exemplary emitter that may
optimizes one advantage or group of advantages as taught be employed in the sensor according to an embodiment of
herein without necessarily achieving other advantages as can the disclosure;
be taught or suggested herein .                             35  FIG . 12A illustrates an example detector portion that may
      BRIEF DESCRIPTION OF THE DRAWINGS
                                                                  be employed in an embodiment of a sensor, according to an
                                                                   embodiment of the disclosure;
                                                               FIGS . 12B through 12D illustrate exemplary arrange
  Throughout the drawings, reference numbers can be re- ments of detectors that may be employed in an embodiment
used to indicate correspondence between referenced ele- 40 of the sensor, according to some embodiments of the dis
ments . The drawings are provided to illustrate embodiments closure ;
of the inventions described herein and not to limit the scope       FIGS . 12E through 12H illustrate exemplary structures of
thereof.                                                         photodiodes that may be employed in embodiments of the
   FIG . 1 illustrates a block diagram of an example data detectors, according to some embodiments of the disclosure ;
collection system capable of noninvasively measuring one 45 FIG . 13 illustrates an example multi - stream operation of
or more blood analytes in a monitored patient, according to the system of FIG . 1 , according to an embodiment of the
an embodiment of the disclosure;                                 disclosure ;
   FIGS . 2A - 2D illustrate an exemplary handheld monitor          FIG . 14A illustrates another example detector portion
and an exemplary noninvasive optical sensor of the patient having a partially cylindrical protrusion that can be
monitoring system of FIG . 1 , according to embodiments of 50 employed in an embodiment of a sensor, according to an
the disclosure ;                                                 embodiment of the disclosure;
   FIGS . 3A - 3C illustrate side and perspective views of an       FIG . 14B depicts a front elevation view of the partially
exemplary noninvasive sensor housing including a finger cylindrical protrusion of FIG . 14A ;
bed protrusion and heat sink , according to an embodiment of        FIGS . 14C through 14E illustrate embodiments of a
the disclosure;                                               55 detector submount;
   FIG . 3D illustrates a side view of another example non-         FIGS . 14F through 14H illustrate embodiment of portions
invasive sensor housing including a heat sink , according to of a detector shell ;
an embodiment of the disclosure;                                    FIG . 141 illustrates a cutaway view of an embodiment of
   FIG . 3E illustrates a perspective view of an example a sensor;
noninvasive sensor detector shell including example detec- 60 FIGS . 15A through 15F illustrate embodiments of sensors
tors , according to an embodiment of the disclosure;         that include heat sink features;
   FIG . 3F illustrates a side view of an example noninvasive        FIGS . 15G and 15H illustrate embodiments of connector
sensor housing including a finger bed protrusion and heat features that can be used with any of the sensors described
sink, according to an embodiment of the disclosure;               herein ;
   FIGS . 4A through 4C illustrate top elevation , side and top 65 FIG . 151 illustrates an exemplary architecture for a tran
perspective views of an example protrusion , according to an simpedance -based front - end that may be employed in any of
embodiment of the disclosure;                                     the sensors described herein ;
                                                       Stay-Add-754
               Case: 24-1285                Document: 7                 Page: 806            Filed: 12/26/2023


                                                    US 10,912,502 B2
                              7                                                                       8
  FIG . 15J illustrates an exemplary noise model for con-        helpful in reducing light noise . In an embodiment, such light
figuring the transimpedance -based front- ends shown in FIG .    noise includes light that would otherwise be detected at a
151 ;                                                            photodetector that has not been attenuated by tissue of the
   FIG . 15K shows different architectures and layouts for 5 measurement site of a patient sufficient to cause the light to
various embodiments of a sensor and its detectors ;              adequately included information indicative of one or more
   FIG . 15L illustrates an exemplary architecture for a physiological parameters of the patient. Such light noise
switched - capacitor - based front - end that may be employed in includes light piping.
any of the sensors described herein ;                               In an embodiment, the protrusion can be formed from the
   FIGS . 16A and 16B illustrate embodiments of disposable curved         bed , or can be a separate component that is posi
optical sensors ;                                             10
                                                                 tionable  with respect to the bed . In an embodiment, a lens
   FIG . 17 illustrates an exploded view of certain compo made from            any appropriate material is used as the protru
nents of an example sensor; and
   FIGS . 18 through 22 illustrate various results obtained by can also be sized andcanshaped
                                                                 sion . The protrusion     be convex in shape. The protrusion
                                                                                                 to conform the measurement
an exemplary sensor of the disclosure .                                site into a flat or relatively flat surface . The protrusion can
                                                                  15
                DETAILED DESCRIPTION                                   also be sized to conform the measurement site into a rounded
                                                                       surface, such as , for example, a concave or convex surface .
   The present disclosure generally relates to non - invasive The protrusion can include a cylindrical or partially cylin
medical devices. In the present disclosure , a sensor can drical shape. The protrusion can be sized or shaped differ
measure various blood constituents or analytes noninva- 20 ently for different types of patients, such as an adult, child ,
sively using multi- stream spectroscopy. In an embodiment, or infant. The protrusion can also be sized or shaped
the multi - stream spectroscopy can employ visible , infrared differently for different measurement sites , including, for
and near infrared wavelengths. As disclosed herein , the example, a finger, toe , hand, foot, ear, forehead, or the like .
sensor is capable of noninvasively measuring blood analytes The protrusion can thus be helpful in any type of noninva
or percentages thereof ( e.g. , saturation ) based on various 25 sive sensor. The external surface of the protrusion can
combinations of features and components.                         include one or more openings or windows . The openings can
  In various embodiments , the present disclosure relates to be made from glass to allow attenuated light from a mea
an interface for a noninvasive glucose sensor that comprises surement site , such as a finger, to pass through to one or
a front - end adapted to receive an input signals from optical more detectors. Alternatively, some of all of the protrusion
detectors and provide corresponding output signals. The 30 can be a lens, such as a partially cylindrical lens.
front - end may comprise, among other things, switched           The sensor can also include a shielding , such as a metal
capacitor circuits or transimpedance amplifiers. In an enclosure as described below or embedded within the pro
embodiment, the front - end may comprise switched capacitor trusion to reduce noise . The shielding can be constructed
circuits that are configured to convert the output of sensor's from a conductive material, such as copper, in the form of a
detectors into a digital signal. In another embodiment, the 35 metal cage or enclosure, such as a box . The shielding can
front - end may comprise transimpedance amplifiers. These include a second set of one or more openings or windows.
transimpedance amplifiers may be configured to match one The second set of openings can be made from glass and
or more photodiodes in a detector based on a noise model allow light that has passed through the first set of windows
that accounts for characteristics , such as the impedance, of of the external surface of the protrusion to pass through to
the transimpedance amplifier, characteristics of each photo- 40 one or more detectors that can be enclosed , for example, as
diode , such as the impedance, and the number of photo- described below .
diodes coupled to the transimpedance amplifier.                   In various embodiments , the shielding can include any
   In the present disclosure, the front- ends are employed in substantially transparent, conductive material placed in the
a sensor that measures various blood analytes noninvasively optical path between an emitter and a detector. The shielding
using multi - stream spectroscopy. In an embodiment, the 45 can be constructed from a transparent material, such as
multi- stream spectroscopy can employ visible , infrared and glass , plastic , and the like. The shielding can have an
near infrared wavelengths. As disclosed herein, the sensor is electrically conductive material or coating that is at least
capable of noninvasively measuring blood analytes, such as partially transparent. The electrically conductive coating can
glucose , total hemoglobin , methemoglobin , oxygen content, be located on one or both sides of the shielding , or within the
and the like, based on various combinations of features and 50 body of the shielding . In addition, the electrically conductive
components.                                                     coating can be uniformly spread over the shielding or may
   In an embodiment, a physiological sensor includes a be patterned. Furthermore, the coating can have a uniform or
detector housing that can be coupled to a measurement site , varying thickness to increase or optimize its shielding effect.
such as a patient's finger. The sensor housing can include a The shielding can be helpful in virtually any type of non
curved bed that can generally conform to the shape of the 55 invasive sensor that employs spectroscopy.
measurement site . In addition, the curved bed can include a      In an embodiment, the sensor can also include a heat sink .
protrusion shaped to increase an amount of light radiation In an embodiment, the heat sink can include a shape that is
from the measurement site . In an embodiment, the protru- functional in its ability to dissipate excess heat and aestheti
sion is used to thin out the measurement site . This allows the        cally pleasing to the wearer. For example, the heat sink can
light radiation to pass through less tissue , and accordingly is 60 be configured in a shape that maximizes surface area to
attenuated less . In an embodiment, the protrusion can be allow for greater dissipation of heat . In an embodiment, the
used to increase the area from which attenuated light can be heat sink includes a metalicized plastic , such as plastic
measured . In an embodiment, this is done through the use of including carbon and aluminum to allow for improved
a lens which collects attenuated light exiting the measure- thermal conductivity and diffusivity. In an embodiment, the
ment site and focuses onto one or more detectors . The 65 heat sink can advantageously be inexpensively molded into
protrusion can advantageously include plastic , including a desired shapes and configurations for aesthetic and func
hard opaque plastic , such as a black or other colored plastic , tional purposes. For example, the shape of the heat sink can
                                                        Stay-Add-755
               Case: 24-1285                Document: 7             Page: 807            Filed: 12/26/2023


                                                   US 10,912,502 B2
                              9                                                                  10
be a generally curved surface and include one or more fins, may be driven using a progression from low power to higher
undulations, grooves or channels, or combs.                        power. In addition , the emitter may have its duty cycle
   The sensor can include photocommunicative components , modified to achieve a desired SNR .
such as an emitter, a detector, and other components . The           The emitter may be constructed of materials, such as
emitter can include a plurality of sets of optical sources that, 5 aluminum nitride and may include a heat sink to assist in
in an embodiment, are arranged together as a point source . heat dissipation . A thermistor may also be employed to
The various optical sources can emit a sequence of optical account for heating effects on the LEDs . The emitter may
radiation pulses at different wavelengths towards a measure- further comprise a glass window and a nitrogen environment
ment site , such as a patient's finger. Detectors can then to improve transmission from the sources and prevent oxi
detect optical radiation from the measurement site . The 10 dative effects .
optical sources and optical radiation detectors can operate at       The sensor can be coupled to one or more monitors that
any appropriate wavelength , including, as discussed herein , process and /or display the sensor's output . The monitors can
infrared , near infrared , visible light, and ultraviolet. In include various components, such as a sensor front end , a
addition , the optical sources and optical radiation detectors signal processor, a display, etc.
can operate at any appropriate wavelength , and such modi- 15 The sensor can be integrated with a monitor, for example,
fications to the embodiments desirable to operate at any such into a handheld unit including the sensor, a display and user
wavelength will be apparent to those skilled in the art.       controls. In other embodiments, the sensor can communicate
   In certain embodiments, multiple detectors are employed with one or more processing devices . The communication
and arranged in a spatial geometry. This spatial geometry can be via wire( s ), cable ( s ) , flex circuit ( s ) , wireless tech
provides a diversity of path lengths among at least some of 20 nologies , or other suitable analog or digital communication
the detectors and allows for multiple bulk and pulsatile methodologies and devices to perform those methodologies .
measurements that are robust. Each of the detectors can            Many of the foregoing arrangements allow the sensor to be
provide a respective output stream based on the detected           attached to the measurement site while the device is attached
optical radiation , or a sum of output streams can be provided     elsewhere on a patient, such as the patient's arm , or placed
from multiple detectors . In some embodiments, the sensor 25 at a location near the patient, such as a bed , shelf or table .
can also include other components, such as one or more heat The sensor or monitor can also provide outputs to a storage
sinks and one or more thermistors .                                 device or network interface .
   The spatial configuration of the detectors provides a               Reference will now be made to the Figures to discuss
geometry having a diversity of path lengths among the embodiments of the present disclosure .
detectors . For example, a detector in the sensor may com- 30 FIG . 1 illustrates an example of a data collection system
prise multiple detectors that are arranged to have a sufficient 100. In certain embodiments , the data collection system 100
difference in mean path length to allow for noise cancella- noninvasively measure a blood analyte , such as oxygen ,
tion and noise reduction . In addition , walls may be used to carbon monoxide, methemoglobin , total hemoglobin, glu
separate individual photodetectors and prevent mixing of cose , proteins, glucose , lipids , a percentage thereof ( e.g. ,
detected optical radiation between the different locations on 35 saturation) or for measuring many other physiologically
the measurement site . A window may also be employed to relevant patient characteristics. The system 100 can also
facilitate the passing of optical radiation at various wave- measure additional blood analytes and / or other physiologi
lengths for measuring glucose in the tissue .                       cal parameters useful in determining a state or trend of
   In the present disclosure , a sensor may measure various wellness of a patient.
blood constituents or analytes noninvasively using spectros- 40 The data collection system 100 can be capable of mea
copy and a recipe of various features. As disclosed herein , suring optical radiation from the measurement site . For
the sensor is capable of non - invasively measuring blood example, in some embodiments, the data collection system
analytes , such as , glucose , total hemoglobin , methemoglo- 100 can employ photodiodes defined in terms of area . In an
bin , oxygen content, and the like . In an embodiment, the embodiment, the area is from about 1 mm2-5 mm ( or
spectroscopy used in the sensor can employ visible , infrared 45 higher ) that are capable of detecting about 100 nanoamps
and near infrared wavelengths. The sensor may comprise an (NA ) or less of current resulting from measured light at full
emitter, a detector, and other components. In some embodi- scale . In addition to having its ordinary meaning, the phrase
ments, the sensor may also comprise other components, such “ at full scale ” can mean light saturation of a photodiode
as one or more heat sinks and one or more thermistors .             amplifier ( not shown ). Of course , as would be understood by
   In various embodiments , the sensor may also be coupled 50 a person of skill in the art from the present disclosure ,
to one or more companion devices that process and / or various other sizes and types of photodiodes can be used
display the sensor's output. The companion devices may with the embodiments of the present disclosure .
comprise various components , such as a sensor front- end, a           The data collection system 100 can measure a range of
signal processor, a display, a network interface, a storage approximately about 2 nA to about 100 nA full scale . The
device or memory, etc.                                           55 data collection system 100 can also include sensor front
   A sensor can include photocommunicative components, ends that are capable of processing and amplifying current
such as an emitter, a detector, and other components . The from the detector ( s) at signal - to -noise ratios ( SNRs ) of about
emitter is configured as a point optical source that comprises 100 decibels (dB ) or more , such as about 120 dB in order to
a plurality of LEDs that emit a sequence of pulses of optical measure various desired analytes. The data collection sys
radiation across a spectrum of wavelengths. In some 60 tem 100 can operate with a lower SNR if less accuracy is
embodiments, the plurality of sets of optical sources may desired for an analyte like glucose .
each comprise at least one top - emitting LED and at least one         The data collection system 100 can measure analyte
super luminescent LED . In some embodiments, the emitter concentrations, including glucose , at least in part by detect
comprises optical sources that transmit optical radiation in ing light attenuated by a measurement site 102. The mea
the infrared or near - infrared wavelengths suitable for detect- 65 surement site 102 can be any location on a patient's body,
ing blood analytes like glucose . In order to achieve the such as a finger, foot, ear lobe , or the like. For convenience,
desired SNR for detecting analytes like glucose , the emitter this disclosure is described primarily in the context of a
                                                       Stay-Add-756
               Case: 24-1285                Document: 7             Page: 808           Filed: 12/26/2023


                                                   US 10,912,502 B2
                             11                                                              12
finger measurement site 102. However, the features of the            In the depicted embodiment shown in FIG . 1 , the sensor
embodiments disclosed herein can be used with other mea- 101 includes an emitter 104 , a tissue shaper 105 , a set of
surement sites 102 .                                              detectors 106 , and a front- end interface 108. The emitter 104
   In the depicted embodiment, the system 100 includes an can serve as the source of optical radiation transmitted
optional tissue thickness adjuster or tissue shaper 105 , which 5 towards measurement site 102. As will be described in
can include one or more protrusions, bumps, lenses , or other further detail below, the emitter 104 can include one or more
suitable tissue -shaping mechanisms. In certain embodi- sources of optical radiation, such as LEDs , laser diodes ,
ments, the tissue shaper 105 is a flat or substantially flat incandescent bulbs with appropriate frequency - selective fil
surface that can be positioned proximate the measurement ters , combinations of the same , or the like . In an embodi
site 102 and that can apply sufficient pressure to cause the 10 ment, the emitter 104 includes sets of optical sources that are
tissue of the measurement site 102 to be flat or substantially capable of emitting visible and near- infrared optical radia
flat. In other embodiments, the tissue shaper 105 is a convex     tion .
or substantially convex surface with respect to the measure-     In some embodiments, the emitter 104 is used as a point
ment site 102. Many other configurations of the tissue shaper optical source , and thus, the one or more optical sources of
105 are possible . Advantageously, in certain embodiments, 15 the emitter 104 can be located within a close distance to each
the tissue shaper 105 reduces thickness of the measurement other, such as within about a 2 mm to about 4 mm . The
site 102 while preventing or reducing occlusion at the emitters 104 can be arranged in an array, such as is described
measurement site 102. Reducing thickness of the site can in U.S. Publication No. 2006/0211924 , filed Sep. 21 , 2006 ,
advantageously reduce the amount of attenuation of the light titled “ Multiple Wavelength Sensor Emitters ,” the disclosure
because there is less tissue through which the light must 20 of which is hereby incorporated by reference in its entirety.
travel. Shaping the tissue in to a convex ( or alternatively In particular, the emitters 104 can be arranged at least in part
concave ) surface can also provide more surface area from as described in paragraphs [ 0061 ] through [ 0068 ] of the
which light can be detected .                                aforementioned publication, which paragraphs are hereby
   The embodiment of the data collection system 100 shown incorporated specifically by reference . Other relative spatial
also includes an optional noise shield 103. In an embodi- 25 relationships can be used to arrange the emitters 104 .
ment, the noise shield 103 can be advantageously adapted to     For analytes like glucose , currently available non - inva
reduce electromagnetic noise while increasing the transmit- sive techniques often attempt to employ light near the water
tance of light from the measurement site 102 to one or more absorbance minima at or about 1600 nm . Typically, these
detectors 106 (described below ) . For example, the noise devices and methods employ a single wavelength or single
shield 103 can advantageously include a conductive coated 30 band of wavelengths at or about 1600 nm . However, to date ,
glass or metal grid electrically communicating with one or these techniques have been unable to adequately consis
more other shields of the sensor 101 or electrically              tently measure analytes like glucose based on spectroscopy.
grounded. In an embodiment where the noise shield 103             In contrast, the emitter 104 of the data collection system
includes conductive coated glass , the coating can advanta-     100 can emit, in certain embodiments, combinations of
geously include indium tin oxide . In an embodiment, the 35 optical radiation in various bands of interest. For example,
indium tin oxide includes a surface resistivity ranging from in some embodiments, for analytes like glucose , the emitter
approximately 30 ohms per square inch to about 500 ohms 104 can emit optical radiation at three (3 ) or more wave
per square inch . In an embodiment, the resistivity is approxi- lengths between about 1600 nm to about 1700 nm . In
mately 30 , 200 , or 500 ohms per square inch . As would be particular, the emitter 104 can emit optical radiation at or
understood by a person of skill in the art from the present 40 about 1610 nm , about 1640 nm , and about 1665 nm . In some
disclosure, other resistivities can also be used which are less circumstances, the use of three wavelengths within about
than about 30 ohms or more than about 500 ohms. Other           1600 nm to about 1700 nm enable sufficient SNRs of about
conductive materials transparent or substantially transparent 100 dB , which can result in a measurement accuracy of
to light can be used instead .                                  about 20 mg /dL or better for analytes like glucose .
   In some embodiments, the measurement site 102 is 45 In other embodiments, the emitter 104 can use two (2 )
located somewhere along a non - dominant arm or a non- wavelengths within about 1600 nm to about 1700 nm to
dominant hand, e.g. , a right -handed person's left arm or left advantageously enable SNRs of about 85 dB , which can
hand . In some patients, the non - dominant arm or hand can result in a measurement accuracy of about 25-30 mg/dL or
have less musculature and higher fat content, which can better for analytes like glucose . Furthermore, in some
result in less water content in that tissue of the patient. Tissue 50 embodiments, the emitter 104 can emit light at wavelengths
having less water content can provide less interference with       above about 1670 nm . Measurements at these wavelengths
the particular wavelengths that are absorbed in a useful           can be advantageously used to compensate or confirm the
manner by blood analytes like glucose . Accordingly , in some      contribution of protein , water, and other non -hemoglobin
embodiments , the data collection system 100 can be used on species exhibited in measurements for analytes like glucose
a person's non - dominant hand or arm .                    55 conducted between about 1600 nm and about 1700 nm . Of
   The data collection system 100 can include a sensor 101 course , other wavelengths and combinations of wavelengths
( or multiple sensors ) that is coupled to a processing device    can be used to measure analytes and / or to distinguish other
or physiological monitor 109. In an embodiment, the sensor        types of tissue , fluids, tissue properties, fluid properties,
101 and the monitor 109 are integrated together into a single combinations of the same or the like.
unit . In another embodiment, the sensor 101 and the monitor 60 For example, the emitter 104 can emit optical radiation
109 are separate from each other and communicate one with across other spectra for other analytes. In particular, the
another in any suitable manner, such as via a wired or emitter 104 can employ light wavelengths to measure vari
wireless connection . The sensor 101 and monitor 109 can be ous blood analytes or percentages ( e.g. , saturation ) thereof.
attachable and detachable from each other for the conve- For example, in one embodiment, the emitter 104 can emit
nience of the user or caregiver, for ease of storage , sterility 65 optical radiation in the form of pulses at wavelengths about
issues , or the like . The sensor 101 and the monitor 109 will 905 nm , about 1050 nm , about 1200 nm , about 1300 nm ,
now be further described .                                          about 1330 nm , about 1610 nm , about 1640 nm , and about
                                                       Stay-Add-757
               Case: 24-1285                Document: 7               Page: 809            Filed: 12/26/2023


                                                   US 10,912,502 B2
                             13                                                                   14
1665 nm . In another embodiment, the emitter 104 can emit            about 40 mW to about 100 mW for other wavelengths that
optical radiation ranging from about 860 nm to about 950             tend to be significantly absorbed in tissue . A wide variety of
nm , about 950 nm to about 1100 nm , about 1100 nm to about          other driving powers and driving methodologies can be used
1270 nm , about 1250 nm to about 1350 nm , about 1300 nm    in various embodiments.
to about 1360 nm , and about 1590 nm to about 1700 nm . Of 5 The driver 111 can be synchronized with other parts of the
course , the emitter 104 can transmit any of a variety of            sensor 101 and can minimize or reduce jitter in the timing of
wavelengths of visible or near - infrared optical radiation.   pulses of optical radiation emitted from the emitter 104. In
  Due to the different responses of analytes to the different  some embodiments, the driver 111 is capable of driving the
wavelengths, certain embodiments of the data collection        emitter 104 to emit optical radiation in a pattern that varies
system 100 can advantageously use the measurements at 10 less than
these different wavelengths to improve the accuracy of byThe                 about 10 parts -per-million .
measurements . For example, the measurements of water measurement site 106
                                                                       detectors
                                                                                  102.
                                                                                      capture and measure light from the
                                                                                       For example , the detectors 106 can
from visible and infrared light can be used to compensate for
water absorbance that is exhibited in the near - infrared wave capture and measure light transmitted from the emitter 104
                                                                     that has been attenuated or reflected from the tissue in the
lengths.                                                        15
   As briefly described above , the emitter 104 can include measurement
                                                                  detector
                                                                                  site 102. The detectors 106 can output a
                                                                             signal  107 responsive to the light captured or
sets of light- emitting diodes (LEDs ) as its optical source .
The emitter 104 can use one or more top -emitting LEDs . In measured . The detectors 106 can be implemented using one
particular, in some embodiments, the emitter 104 can or more photodiodes, phototransistors, or the like .
include top - emitting LEDs emitting light at about 850 nm to 20 In addition , the detectors 106 can be arranged with a
1350 nm .                                                         spatial configuration to provide a variation of path lengths
   The emitter 104 can also use super luminescent LEDs among at least some of the detectors 106. That is , some of
( SLEDs ) or side - emitting LEDs . In some embodiments, the the detectors 106 can have the substantially, or from the
emitter 104 can employ SLEDs or side - emitting LEDs to perspective of the processing algorithm , effectively, the
emit optical radiation at about 1600 nm to about 1800 nm . 25 same path length from the emitter 104. However, according
Emitter 104 can use SLEDs or side -emitting LEDs to to an embodiment, at least some of the detectors 106 can
transmit near infrared optical radiation because these types have a different path length from the emitter 104 relative to
of sources can transmit at high power or relatively high other of the detectors 106. Variations in path lengths can be
power, e.g. , about 40 mW to about 100 mW . This higher helpful            in allowing the use of a bulk signal stream from the
power    capability can be useful to compensate  or overcome   30 detectors  106. In some embodiments, the detectors 106 may
the greater attenuation of these wavelengths of light in tissue employ a linear spacing, a logarithmic spacing , or a two or
and water. For example, the higher power emission can
effectively compensate and /or normalize the absorption sig three        dimensional matrix of spacing , or any other spacing
nal for light in the mentioned wavelengths to be similar in lengths. in order to provide an appropriate variation in path
                                                                  scheme
amplitude and / or effect as other wavelengths that can be 35 The front end interface 108 provides an interface that
detected by one or more photodetectors after absorption . adapts the output of the detectors 106 , which is responsive
However, the embodiments of the present disclosure do not
necessarily require the use of high power optical sources . to desired physiological parameters. For example, the front
For example, some embodiments may be configured to end interface 108 can adapt a signal 107 received from one
measure analytes , such as total hemoglobin ( tHb ), oxygen 40 or more of the detectors 106 into a form that can be
saturation ( SpO2 ) , carboxyhemoglobin , methemoglobin , processed by the monitor 109 , for example , by a signal
etc. , without the use of high power optical sources like side processor 110 in the monitor 109. The front end interface
emitting LEDs . Instead , such embodiments may employ 108 can have its components assembled in the sensor 101 ,
other types of optical sources , such as top emitting LEDs . in the monitor 109 , in connecting cabling ( if used) , combi
Alternatively, the emitter 104 can use other types of sources 45 nations of the same , or the like . The location of the front end
of optical radiation , such as a laser diode, to emit near- interface 108 can be chosen based on various factors includ
infrared light into the measurement site 102 .                    ing space desired for components, desired noise reductions
   In addition , in some embodiments, in order to assist in or limits , desired heat reductions or limits , and the like .
achieving a comparative balance of desired power output              The front end interface 108 can be coupled to the detec
between the LEDs , some of the LEDs in the emitter 104 can 50 tors 106 and to the signal processor 110 using a bus , wire,
have a filter or covering that reduces and / or cleans the electrical or optical cable , flex circuit , or some other form of
optical radiation from particular LEDs or groups of LEDs . signal connection . The front end interface 108 can also be at
For example, since some wavelengths of light can penetrate least partially integrated with various components, such as
through tissue relatively well , LEDs , such as some or all of the detectors 106. For example, the front end interface 108
the top - emitting LEDs can use a filter or covering, such as 55 can include one or more integrated circuits that are on the
a cap or painted dye . This can be useful in allowing the same circuit board as the detectors 106. Other configurations
emitter 104 to use LEDs with a higher output and / or to             can also be used.
equalize intensity of LEDs .                                           The front end interface 108 can be implemented using one
  The data collection system 100 also includes a driver 111          or more amplifiers, such as transimpedance amplifiers, that
that drives the emitter 104. The driver 111 can be a circuit 60 are coupled to one or more analog to digital converters
or the like that is controlled by the monitor 109. For (ADCs) (which can be in the monitor 109 ) , such as a
example , the driver 111 can provide pulses of current to the sigma - delta ADC . A transimpedance -based front end inter
emitter 104. In an embodiment, the driver 111 drives the face 108 can employ single -ended circuitry, differential
emitter 104 in a progressive fashion , such as in an alternat- circuitry, and / or a hybrid configuration. A transimpedance
ing manner . The driver 111 can drive the emitter 104 with a 65 based front end interface 108 can be useful for its sampling
series of pulses of about 1 milliwatt (mW ) for some wave- rate capability and freedom in modulation /demodulation
lengths that can penetrate tissue relatively well and from algorithms. For example, this type of front end interface 108
                                                       Stay-Add-758
                Case: 24-1285               Document: 7             Page: 810            Filed: 12/26/2023


                                                   US 10,912,502 B2
                             15                                                                  16
can advantageously facilitate the sampling of the ADCs             collection system 100 can be provided without a user
being synchronized with the pulses emitted from the emitter interface 112 and can simply provide an output signal to a
104 .                                                          separate display or system .
   The ADC or ADCs can provide one or more outputs into 5 A storage device 114 and a network interface 116 repre
multiple channels of digital information for processing by sent other optional output connections that can be included
the signal processor 110 of the monitor 109. Each channel in the monitor 109. The storage device 114 can include any
can correspond to a signal output from a detector 106 .        computer-readable medium , such as a memory device , hard
   In some embodiments, a programmable gain amplifier disk storage, EEPROM , flash drive, or the like . The various
( PGA ) can be used in combination with a transimpedance software        and / or firmware applications can be stored in the
based front end interface 108. For example, the output of a 10 processor
                                                               storage device 114 , which can be executed by the signal
                                                                          110 or another processor of the monitor 109. The
transimpedance -based front end interface 108 can be output
to a PGA that is coupled with an ADC in the monitor 109 . network       interface 116 can be a serial bus port (RS- 232/RS
A PGA can be useful in order to provide another level of 485 ) , a Universal Serial Bus (USB ) port, an Ethernet port, a
                                                                   wireless interface (e.g. , WiFi such as any 802.1x interface,
amplification
detectors 106. and control of, thethe stream
               Alternatively          PGA andofADC
                                                signalscomponents
                                                          from the 15 including an internal wireless card ), or other suitable com
                                                                      munication device ( s ) that allows the monitor 109 to com
can be integrated with the transimpedance - based front end        municate and share data with other devices. The monitor 109
interface 108 in the sensor 101 .                               can also include various other components not shown , such
  In another embodiment, the front end interface 108 can be        as a microprocessor, graphics processor, or controller to
implemented using switched - capacitor circuits. A switched- 20 output the user interface 112 , to control data communica
capacitor -based front end interface 108 can be useful for, in tions , to compute data trending, or to perform other opera
certain embodiments, its resistor - free design and analog tions .
averaging properties. In addition , a switched -capacitor-        Although not shown in the depicted embodiment, the data
based front end interface 108 can be useful because it can collection system 100 can include various other components
provide a digital signal to the signal processor 110 in the 25 or can be configured in different ways . For example , the
monitor 109 .                                                      sensor 101 can have both the emitter 104 and detectors 106
  As shown in FIG . 1 , the monitor 109 can include the            on the same side of the measurement site 102 and use
signal processor 110 and a user interface, such as a display       reflectance to measure analytes. The data collection system
112. The monitor 109 can also include optional outputs 100 can also include a sensor that measures the power of
alone or in combination with the display 112 , such as a 30 light emitted from the emitter 104 .
storage device 114 and a network interface 116. In an          FIGS . 2A through 2D illustrate example monitoring
embodiment, the signal processor 110 includes processing devices 200 in which the data collection system 100 can be
logic that determines measurements for desired analytes, housed . Advantageously , in certain embodin ats , some or
such as glucose , based on the signals received from the all of the example monitoring devices 200 shown can have
detectors 106. The signal processor 110 can be implemented 35 a shape and size that allows a user to operate it with a single
using one or more microprocessors or subprocessors ( e.g. , hand or attach it , for example , to a patient's body or limb .
cores ), digital signal processors , application specific inte- Although several examples are shown, many other moni
grated circuits ( ASICs ) , field programmable gate arrays toring device configurations can be used to house the data
( FPGAs ), combinations of the same , and the like .             collection system 100. In addition, certain of the features of
    The signal processor 110 can provide various signals that 40 the monitoring devices 200 shown in FIGS . 2A through 2D
control the operation of the sensor 101. For example, the can be combined with features of the other monitoring
signal processor 110 can provide an emitter control signal to devices 200 shown .
the driver 111. This control signal can be useful in order to       Referring specifically to FIG . 2A , an example monitoring
synchronize, minimize , or reduce jitter in the timing of device 200A is shown , in which a sensor 201? and a monitor
pulses emitted from the emitter 104. Accordingly, this 45 209a are integrated into a single unit . The monitoring device
control signal can be useful in order to cause optical radia-      200A shown is a handheld or portable device that can
tion pulses emitted from the emitter 104 to follow a precise       measure glucose and other analytes in a patient's finger. The
timing and consistent pattern . For example, when a transim-       sensor 201a includes an emitter shell 204a and a detector
pedance -based front end interface 108 is used , the control       shell 206a . The depicted embodiment of the monitoring
signal from the signal processor 110 can provide synchro- 50 device 200A also includes various control buttons 208a and
nization with the ADC in order to avoid aliasing , cross - talk , a display 210a.
and the like . As also shown , an optional memory 113 can be          The sensor 201a can be constructed of white material
included in the front - end interface 108 and / or in the signal used for reflective purposes ( such as white silicone or
processor 110. This memory 113 can serve as a buffer or plastic ) , which can increase the usable signal at the detector
storage location for the front - end interface 108 and / or the 55 106 by forcing light back into the sensor 201a . Pads in the
signal processor 110 , among other uses .                          emitter shell 204a and the detector shell 206? can contain
   The user interface 112 can provide an output, e.g. , on a separated windows to prevent or reduce mixing of light
display, for presentation to a user of the data collection signals, for example, from distinct quadrants on a patient's
system 100. The user interface 112 can be implemented as finger. In addition, these pads can be made of a relatively
a touch - screen display, an LCD display, an organic LED 60 soft material, such as a gel or foam , in order to conform to
display, or the like . In addition , the user interface 112 can be the shape, for example, of a patient's finger. The emitter
manipulated to allow for measurement on the non -dominant shell 204a and the detector shell 206? can also include
side of patient. For example, the user interface 112 can absorbing black or grey material portions to prevent or
include a flip screen, a screen that can be moved from one reduce ambient light from entering into the sensor 201a .
side to another on the monitor 109 , or can include an ability 65 In some embodiments, some or all portions of the emitter
to reorient its display indicia responsive to user input or shell 204a and /or detector shell 206a can be detachable
device orientation . In alternative embodiments, the data and / or disposable . For example, some or all portions of the
                                                       Stay-Add-759
                Case: 24-1285               Document: 7              Page: 811            Filed: 12/26/2023


                                                    US 10,912,502 B2
                             17                                                                  18
shells 204a and 206a can be removable pieces . The remov- can include a display 210b that can indicate a measurement
ability of the shells 204a and 206a can be useful for sanitary for glucose , for example, in mg /dL . Other analytes and
purposes or for sizing the sensor 201? to different patients. forms of display can also appear on the monitor 209b .
The monitor 209a can include a fitting, slot , magnet, or other   In addition, although a single sensor 2016 with a single
connecting mechanism to allow the sensor 2010 to be 5 monitor 209b is shown, different combinations of sensors
removably attached to the monitor 209a .                        and device pairings can be implemented . For example,
   The monitoring device 200a also includes optional con-           multiple sensors can be provided for a plurality of differing
trol buttons 208a and a display 210a that can allow the user        patient types or measurement sites or even patient fingers.
to control the operation of the device . For example, a user          FIG . 2C illustrates yet another example of monitoring
can operate the control buttons 208a to view one or more 10 device 200C that can house the data collection system 100 .
measurements of various analytes, such as glucose . In Like the monitoring device 200B , the monitoring device
addition , the user can operate the control buttons 208a to 200C includes a finger clip sensor 2010 connected to a
view other forms of information , such as graphs, histograms, monitor 209c via a cable 212. The cable 212 can have all of
measurement data , trend measurement data, parameter com- the features described above with respect to FIG . 2B . The
bination views, wellness indications, and the like. Many 15 monitor 209c can include all of the features of the monitor
parameters, trends, alarms and parameter displays could be 200B described above . For example, the monitor 209c
output to the display 210a , such as those that are commer- includes buttons 208c and a display 210c . The monitor 209c
cially available through a wide variety of noninvasive moni- shown also includes straps 214c that allow the monitor 209c
toring devices from Masimo® Corporation of Irvine, Calif. to be attached to a patient's limb or the like .
   Furthermore , the controls 208a and / or display 210a can 20 FIG . 2D illustrates yet another example of monitoring
provide functionality for the user to manipulate settings of device 200D that can house the data collection system 100 .
the monitoring device 200a , such as alarm settings, emitter Like the monitoring devices 200B and 200C , the monitoring
settings, detector settings, and the like . The monitoring device 200D includes a finger clip sensor 201d connected to
device 200a can employ any of a variety of user interface           a monitor 209d via a cable 212. The cable 212 can have all
designs , such as frames, menus , touch - screens, and any type 25 of the features described above with respect to FIG . 2B . In
of button .                                                        addition to having some or all of the features described
   FIG . 2B illustrates another example of a monitoring above with respect to FIGS . 2B and 2C , the monitoring
device 200B . In the depicted embodiment, the monitoring device 200D includes an optional universal serial bus (USB )
device 200B includes a finger clip sensor 201b connected to port 216 and an Ethernet port 218. The USB port 216 and the
a monitor 209b via a cable 212. In the embodiment shown, 30 Ethernet port 218 can be used , for example , to transfer
the monitor 209b includes a display 210b , control buttons          information between the monitor 209d and a computer (not
2086 and a power button. Moreover, the monitor 209b can             shown) via a cable . Software stored on the computer can
advantageously include electronic processing , signal pro- provide functionality for a user to , for example, view
cessing, and data storage devices capable of receiving signal physiological data and trends, adjust settings and download
data from said sensor 2016 , processing the signal data to 35 firmware updates to the monitor 209 , and perform a variety
determine one or more output measurement values indica- of other functions. The USB port 216 and the Ethernet port
tive of one or more physiological parameters of a monitored 218 can be included with the other monitoring devices
patient, and displaying the measurement values , trends of       200A , 200B , and 200C described above.
the measurement values , combinations of measurement val-          FIGS . 3A through 3C illustrate more detailed examples of
ues , and the like .                                          40 embodiments of a sensor 301a . The sensor 301a shown can
   The cable 212 connecting the sensor 2015 and the monitor include all of the features of the sensors 100 and 200
209b can be implemented using one or more wires, optical described above .
fiber, flex circuits , or the like . In some embodiments, the      Referring to FIG . 3A , the sensor 301a in the depicted
cable 212 can employ twisted pairs of conductors in order to embodiment is a clothespin - shaped clip sensor that includes
minimize or reduce cross -talk of data transmitted from the 45 an enclosure 302a for receiving a patient's finger. The
sensor 2016 to the monitor 209b . Various lengths of the            enclosure 302a is formed by an upper section or emitter shell
cable 212 can be employed to allow for separation between           304a , which is pivotably connected with a lower section or
the sensor 2015 and the monitor 209b . The cable 212 can be         detector shell 306a . The emitter shell 304a can be biased
fitted with a connector (male or female ) on either end of the      with the detector shell 306? to close together around a pivot
cable 212 so that the sensor 2016 and the monitor 209b can 50 point 303a and thereby sandwich finger tissue between the
be connected and disconnected from each other. Alterna-          emitter and detector shells 304a , 306a .
tively, the sensor 2016 and the monitor 209b can be coupled         In an embodiment, the pivot point 303a advantageously
together via a wireless communication link , such as an includes a pivot capable of adjusting the relationship
infrared link , radio frequency channel, or any other wireless between the emitter and detector shells 304a , 306a to
communication protocol and channel .                          55 effectively level the sections when applied to a tissue site . In
    The monitor 209b can be attached to the patient. For another embodiment, the sensor 301a includes some or all
example, the monitor 209b can include a belt clip or straps features of the finger clip described in U.S. Publication No.
( see , e.g. , FIG . 2C ) that facilitate attachment to a patient's 2006/0211924 , incorporated above, such as a spring that
belt , arm , leg , or the like . The monitor 209b can also include causes finger clip forces to be distributed along the finger.
a fitting, slot , magnet, LEMO snap -click connector, or other 60 Paragraphs [ 0096 ] through [0105 ] , which describe this fea
connecting mechanism to allow the cable 212 and sensor ture, are hereby specifically incorporated by reference .
2016 to be attached to the monitor 209B .                             The emitter shell 304a can position and house various
    The monitor 209b can also include other components, emitter components of the sensor 301a . It can be constructed
such as a speaker, power button , removable storage or of reflective material (e.g. , white silicone or plastic ) and /or
memory ( e.g. , a flash card slot) , an AC power port, and one 65 can be metallic or include metalicized plastic ( e.g. , including
or more network interfaces, such as a universal serial bus carbon and aluminum ) to possibly serve as a heat sink . The
interface or an Ethernet port. For example, the monitor 209b emitter shell 304a can also include absorbing opaque mate
                                                        Stay-Add-760
                Case: 24-1285                Document: 7            Page: 812            Filed: 12/26/2023


                                                     US 10,912,502 B2
                              19                                                                 20
rial , such as , for example , black or grey colored material , at   Turning to FIG . 3B , the sensor 301a can also include a
various areas, such as on one or more flaps 307a , to reduce shielding 315a , such as metal cage , box , metal sheet,
ambient light entering the sensor 301a .                           perforated metal sheet, a metal layer on a non -metal mate
   The detector shell 306? can position and house one or rial, or the like . The shielding 315a is provided in the
more detector portions of the sensor 301a . The detector shell 5 depicted embodiment below or embedded within the pro
306a can be constructed of reflective material , such as white     trusion 305 to reduce noise . The shielding 315a can be
silicone or plastic . As noted, such materials can increase the    constructed from a conductive material, such as copper. The
usable signal at a detector by forcing light back into the shielding 315a can include one or more openings or win
tissue and measurement site ( see FIG . 1 ) . The detector shell 10 dows (not shown ). The windows can be made from glass or
306a can also include absorbing opaque material at various plastic to thereby allow light that has passed through the
areas, such as lower area 308a , to reduce ambient light windows 320 , 321 , 322 , and 323 on an external surface of
entering the sensor 301a .                                          the protrusion 305 ( see FIG . 3C ) to pass through to one or
   Referring to FIGS . 3B and 3C , an example of finger bed more photodetectors that can be enclosed or provided below
310 is shown in the sensor 301b . The finger bed 310 includes 15 ( see FIG . 3E ) .
a generally curved surface shaped generally to receive                 In some embodiments, the shielding cage for shielding
tissue , such as a human digit. The finger bed 310 includes 315a can be constructed in a single manufactured compo
one or more ridges or channels 314. Each of the ridges 314 nent with or without the use of conductive glass . This form
has a generally convex shape that can facilitate increasing of construction may be useful in order to reduce costs of
traction or gripping of the patient's finger to the finger bed . 20 manufacture as well as assist in quality control of the
Advantageously, the ridges 314 can improve the accuracy of components. Furthermore, the shielding cage can also be
spectroscopic analysis in certain embodiments by reducing used to house various other components, such as sigma delta
noise that can result from a measurement site moving or components for various embodiments of front end interfaces
shaking loose inside of the sensor 301a . The ridges 314 can 108 .
be made from reflective or opaque materials in some 25 In an embodiment, the photodetectors can be positioned
embodiments to further increase SNR . In other implemen within or directly beneath the protrusion 305 ( see FIG . 3E) .
tations , other surface shapes can be used , such as , for In such cases , the mean optical path length from the emitters
example , generally flat, concave , or convex finger beds 310 . to the detectors can be reduced and the accuracy of blood
   Finger bed 310 can also include an embodiment of a tissue analyte measurement can increase . For example, in one
thickness  adjuster or protrusion 305. The protrusion 305 30 embodiment, a convex bump of about 1 mm to about 3 mm
includes a measurement site contact area 370 ( see FIG . 3C )
that can contact body tissue of a measurement site . The           in height and about 10 mm² to about 60 mm ’ was found to
protrusion 305 can be removed from or integrated with the          help signal strength by about an order of magnitude versus
finger bed can310.alsoInterchangeable                              other shapes. Of course other dimensions and sizes can be
sions 305                be provided,, which
                                        differentcanshaped  protruto 35 employed in other embodiments. Depending on the proper
                                                     correspond    ties desired , the length , width , and height of the protrusion
different finger shapes, characteristics, opacity, sizes, or the   305 can be selected . In making such determinations, con
like.
   Referring specifically to FIG . 3C , the contact area 370 of    sideration can be made of protrusion's 305 effect on blood
the protrusion 305 can include openings or windows 320 ,           flow at the measurement site and mean path length for
321 , 322 , and 323. When light from a measurement site 40 optical radiation passing through openings 320 , 321 , 322 ,
passes through the windows 320 , 321 , 322 , and 323 , the light   and 323. Patient comfort can also be considered in deter
can reach one or more photodetectors ( see FIG . 3E ) . In an mining the size and shape of the protrusion.
embodiment, the windows 320 , 321 , 322 , and 323 mirror            In an embodiment, the protrusion 305 can include a pliant
specific detector placements layouts such that light can material, including soft plastic or rubber, which can some
impinge through the protrusion 305 onto the photodetectors. 45 what conform to the shape of a measurement site . Pliant
Any number of windows 320 , 321 , 322 , and 323 can be materials can improve patient comfort and tactility by con
employed in the protrusion 305 to allow light to pass from forming the measurement site contact area 370 to the
the measurement site to the photodetectors .                     measurement site . Additionally, pliant materials can mini
   The windows 320 , 321 , 322 , and 323 can also include mize or reduce noise , such as ambient light. Alternatively,
shielding, such as an embedded grid of wiring or a conduc- 50 the protrusion 305 can be made from a rigid material, such
tive glass coating , to reduce noise from ambient light or as hard plastic or metal .
other electromagnetic noise . The windows 320 , 321 , 322 ,         Rigid materials can improve measurement accuracy of a
and 323 can be made from materials, such as plastic or glass . blood analyte by conforming the measurement site to the
In some embodiments, the windows 320 , 321 , 322 , and 323 contact area 370. The contact area 370 can be an ideal shape
can be constructed from conductive glass , such as indium tin 55 for improving accuracy or reducing noise . Selecting a mate
oxide ( ITO ) coated glass . Conductive glass can be useful rial for the protrusion 305 can include consideration of
because its shielding is transparent, and thus allows for a materials that do not significantly alter blood flow at the
larger aperture versus a window with an embedded grid of measurement site . The protrusion 305 and the contact area
wiring. In addition, in certain embodiments, the conductive        370 can include a combination of materials with various
glass does not need openings in its shielding ( since it is 60 characteristics.
transparent ), which enhances its shielding performance . For        The contact area 370 serves as a contact surface for the
example, some embodiments that employ the conductive measurement site . For example, in some embodiments, the
glass can attain up to an about 40 % to about 50 % greater contact area 370 can be shaped for contact with a patient's
signal than non - conductive glass with a shielding grid . In finger. Accordingly , the contact area 370 can be sized and
addition, in some embodiments, conductive glass can be 65 shaped for different sizes of fingers . The contact area 370
useful for shielding noise from a greater variety of directions can be constructed of different materials for reflective pur
than non - conductive glass with a shielding grid.              poses as well as for the comfort of the patient. For example,
                                                         Stay-Add-761
                Case: 24-1285                Document: 7               Page: 813             Filed: 12/26/2023


                                                     US 10,912,502 B2
                         21                                                                          22
the contact area 370 can be constructed from materials                polymer, such as CoolPoly® D5506 , commercially avail
having various hardness and textures, such as plastic , gel , able from Cool Polymers® , Inc. of Warwick , R.I. Such a
foam , and the like .                                            material can be selected for its electrically non - conductive
   The formulas and analysis that follow with respect to FIG . and dielectric properties so as , for example , to aid in
5 provide insight into how selecting these variables can alter 5 electrical shielding . In an embodiment, the heat sink 350a
transmittance and intensity gain of optical radiation that has provides improved heat transfer properties when the sensor
been applied to the measurement site . These examples do              301a is active for short intervals of less than a full day's use .
not limit the scope of this disclosure .                              In an embodiment, the heat sink 350a can advantageously
   Referring to FIG . 5 , a plot 500 is shown that illustrates provide improved heat transfers in about three (3 ) to about
examples of effects of embodiments of the protrusion 305 on 10 four ( 4 ) minute intervals, for example, although a heat sink
the SNR at various wavelengths of light. As described 350a can be selected that performs effectively in shorter or
above , the protrusion 305 can assist in conforming the tissue longer intervals.
and effectively reduce its mean path length . In some                        Moreover, the heat sink 350a can have different shapes
instances , this effect by the protrusion 305 can have signifi- and configurations for aesthetic as well as for functional
cant impact on increasing the SNR .                                     15 purposes . In an embodiment, the heat sink is configured to
   According to the Beer Lambert law , a transmittance of maximize heat dissipation , for example, by maximizing
light ( I ) can be expressed as follows: I– I * e = m * b * c , where I. surface area. In an embodiment, the heat sink 350a is
is the initial power of light being transmitted , m is the path molded into a generally curved surface and includes one or
length traveled by the light, and the component “ b * c ” more fins, undulations, grooves, or channels. The example
corresponds to the bulk absorption of the light at a specific 20 heat sink 350a shown includes fins 351a ( see FIG . 3A) .
wavelength of light. For light at about 1600 nm to about                An alternative shape of a sensor 301b and heat sink 350b
1700 nm , for example, the bulk absorption component is               is shown in FIG . 3D . The sensor 301b can include some or
generally around 0.7 mm-!. Assuming a typical finger                  all of the features of the sensor 301a . For example, the
thickness of about 12 mm and a mean path length of 20 mm sensor 301b includes an enclosure 302b formed by an
due to tissue scattering, then I=I. *e(-20 * 0.7) .             25 emitter shell 304b and a detector shell 306b , pivotably
   In an embodiment where the protrusion 305 is a convex connected about a pivot 303a . The emitter shell 304b can
bump, the thickness of the finger can be reduced to 10 mm also include absorbing opaque material on one or more flaps
( from 12 mm ) for some fingers and the effective light mean 307b , and the detector shell 306a can also include absorbing
path is reduced to about 16.6 mm from 20 mm ( see box 510 ) . opaque material at various areas, such as lower area 308b .
This results in a new transmittance, 17 = 1 * e(-16.6 * 0.7). A 30 However, the shape of the sensor 301b is different in this
curve for a typical finger (having a mean path length of 20 embodiment. In particular, the heat sink 350b includes comb
mm ) across various wavelengths is shown in the plot 500 of protrusions 3516. The comb protrusions 351b are exposed to
FIG . 5. The plot 500 illustrates potential effects of the the air in a similar manner to the fins 351a of the heat sink
protrusion 305 on the transmittance. As illustrated, compar- 350a , thereby facilitating efficient cooling of the sensor
ing I and I , results in an intensity gain of e (-16.6 * 0.75 /el- 35 301b .
20 * 0.7 ) , which is about a 10 times increase for light in the        FIG . 3E illustrates a more detailed example of a detector
about 1600 nm to about 1700 nm range. Such an increase shell 306b of the sensor 3016. The features described with
can affect the SNR at which the sensor can operate . The respect to the detector shell 306b can also be used with the
foregoing gains can be due at least in part to the about 1600 detector shell 306a of the sensor 301a .
nm to about 1700 nm range having high values in bulk 40 As shown , the detector shell 306b includes detectors 316 .
absorptions ( water, protein , and the like) , e.g. , about 0.7 The detectors 316 can have a predetermined spacing 340
mm - 7. The plot 500 also shows improvements in the visible/    from each other, or a spatial relationship among one another
near - infrared range (about 600 nm to about 1300 nm ).         that results in a spatial configuration . This spatial configu
  Turning again to FIGS . 3A through 3C , an example heat       ration can purposefully create a variation of path lengths
sink 350a is also shown . The heat sink 350a can be attached 45 among detectors 316 and the emitter discussed above .
to , or protrude from an outer surface of, the sensor 301a ,       In the depicted embodiment, the detector shell 316 can
thereby providing increased ability for various sensor com-           hold multiple (e.g. , two , three , four, etc. ) photodiode arrays
ponents to dissipate excess heat. By being on the outer               that are arranged in a two - dimensional grid pattern . Multiple
surface of the sensor 301a in certain embodiments, the heat           photodiode arrays can also be useful to detect light piping
sink 350a can be exposed to the air and thereby facilitate 50 (e.g. , light that bypasses measurement site 102 ) . In the
more efficient cooling . In an embodiment, one or more of the detector shell 316 , walls can be provided to separate the
emitters ( see FIG . 1 ) generate sufficient heat that inclusion individual photodiode arrays to prevent or reduce mixing of
of the heat sink 350a can advantageously allows the sensor light signals from distinct quadrants. In addition , the detec
301a to remain safely cooled . The heat sink 350a can tor shell 316 can be covered by windows of transparent
include one or more materials that help dissipate heat, such 55 material, such as glass , plastic , or the like , to allow maxi
as , for example, aluminum , steel , copper, carbon , combina-        mum or increased transmission of power light captured. In
tions of the same , or the like . For example, in some                various embodiments , the transparent materials used can
embodiments, the emitter shell 304a can include a heat                also be partially transparent or translucent or can otherwise
conducting material that is also readily and relatively inex-         pass some or all of the optical radiation passing through
pensively moldable into desired shapes and forms.                  60 them . As noted , this window can include some shielding in
   In some embodiments, the heat sink 350a includes met-              the form of an embedded grid of wiring, or a conductive
alicized plastic . The metalicized plastic can include alumi-         layer or coating.
num and carbon, for example . The material can allow for                As further illustrated by FIG . 3E , the detectors 316 can
improved thermal conductivity and diffusivity, which can have a spatial configuration of a grid . However, the detectors
increase commercial viability of the heat sink . In some 65 316 can be arranged in other configurations that vary the
embodiments, the material selected to construct the heat sink path length. For example, the detectors 316 can be arranged
350a can include a thermally conductive liquid crystalline in a linear array, a logarithmic array, a two - dimensional
                                                         Stay-Add-762
               Case: 24-1285                Document: 7             Page: 814            Filed: 12/26/2023


                                                   US 10,912,502 B2
                             23                                                                  24
array, a zig - zag pattern , or the like . Furthermore, any number arranging the windows 420 , 421 , 422 , and 423 are possible .
of the detectors 316 can be employed in certain embodi- For example, the windows 420 , 421 , 422 , and 423 can be
ments.                                                             placed in a triangular, circular, or linear arrangement. In
   FIG . 3F illustrates another embodiment of a sensor 301f. some embodiments, the windows 420 , 421 , 422 , and 423 can
The sensor 301f can include some or all of the features of the 5 be placed at different heights with respect to the finger bed
sensor 301a of FIG . 3A described above . For example, the 310 of FIG . 3. The windows 420 , 421 , 422 , and 423 can also
sensor 301f includes an enclosure 302f formed by an upper mimic or approximately mimic a configuration of, or even
section or emitter shell 304f, which is pivotably connected house , a plurality of detectors .
with a lower section or detector shell 306f around a pivot           FIGS . 6A through 6D illustrate another embodiment of a
point 303f. The emitter shell 304f can also include absorbing 10 protrusion 605 that can be used as the tissue shaper 105
opaque material on various areas, such as on one or more described above or in place of the protrusions 305 , 405
flaps 307f, to reduce ambient light entering the sensor 301f. described above . The depicted protrusion 605 is a partially
The detector shell 306f can also include absorbing opaque cylindrical lens having a partial cylinder 608 and an exten
material at various areas , such as a lower area 308 ). The sion 610. The partial cylinder 608 can be a half cylinder in
sensor 301f also includes a heat sink 350f, which includes 15 some embodiments ; however, a smaller or greater portion
fins 351f.                                                         than half of a cylinder can be used . Advantageously, in
   In addition to these features , the sensor 301f includes a certain embodiments, the partially cylindrical protrusion 605
flex circuit cover 360 , which can be made of plastic or           focuses light onto a smaller area , such that fewer detectors
another suitable material. The flex circuit cover 360 can          can be used to detect the light attenuated by a measurement
cover and thereby protect a flex circuit (not shown) that 20 site .
extends from the emitter shell 304f to the detector shell 306f.    FIG . 6A illustrates a perspective view of the partially
An example of such a flex circuit is illustrated in U.S. cylindrical protrusion 605. FIG . 6B illustrates a front eleva
Publication No. 2006/0211924 , incorporated above ( see tion view of the partially cylindrical protrusion 605. FIG . 6C
FIG . 46 and associated description , which is hereby specifi- illustrates a side view of the partially cylindrical protrusion
cally incorporated by reference ). The flex circuit cover 360 25 605. FIG . 6D illustrates a top view of the partially cylindri
is shown in more detail below in FIG . 17 .                   cal protrusion 605 .
   In addition, sensors 301a - f has extra length- extends to    Advantageously, in certain embodiments , placing the par
second joint on finger - Easier to place , harder to move due tially cylindrical protrusion 605 over the photodiodes in any
to cable , better for light piping .                          of the sensors described above adds multiple benefits to any
   FIGS . 4A through 4C illustrate example arrangements of 30 of the sensors described above . In one embodiment, the
a protrusion 405 , which is an embodiment of the protrusion partially cylindrical protrusion 605 penetrates into the tissue
305 described above . In an embodiment, the protrusion 405         and reduces the path length of the light traveling in the
can include a measurement site conta          area 470. The    tissue, similar the protrusions described above.
measurement site contact area 470 can include a surface that      The partially cylindrical protrusion 605 can also collect
molds body tissue of a measurement site , such as a finger, 35 light from a large surface and focus down the light to a
into a flat or relatively flat surface .                       smaller area . As a result , in certain embodiments, signal
   The protrusion 405 can have dimensions that are suitable strength per area of the photodiode can be increased . The
for a measurement site such as a patient's finger. As shown, partially cylindrical protrusion 605 can therefore facilitate a
the protrusion 405 can have a length 400 , a width 410 , and lower cost sensor because , in certain embodiments , less
a height 430. The length 400 can be from about 9 to about 40 photodiode area can be used to obtain the same signal
11 millimeters, e.g. , about 10 millimeters . The width 410 can strength . Less photodiode area can be realized by using
be from about 7 to about 9 millimeters , e.g. , about 8 smaller photodiodes or fewer photodiodes ( see , e.g. , FIG .
millimeters . The height 430 can be from about 0.5 millime- 14 ). If fewer or smaller photodiodes are used, the partially
ters to about 3 millimeters, e.g. , about 2 millimeters. In an cylindrical protrusion 605 can also facilitate an improved
embodiment, the dimensions 400 , 410 , and 430 can be 45 SNR of the sensor because fewer or smaller photodiodes can
selected such that the measurement site contact area 470           have less dark current.
includes an area of about 80 square millimeters , although           The dimensions of the partially cylindrical protrusion 605
larger and smaller areas can be used for different sized tissue can vary based on, for instance, a number of photodiodes
for an adult, an adolescent, or infant, or for other consider- used with the sensor. Referring to FIG . 6C , the overall height
ations .                                                       50 of the partially cylindrical protrusion 605 (measurement “ a ” )
   The measurement site contact area 470 can also include in some implementations is about 1 to about 3 mm . A height
differently shaped surfaces that conform the measurement in this range can allow the partially cylindrical protrusion
site into different shapes . For example , the measurement site 605 to penetrate into the pad of the finger or other tissue and
contact area 470 can be generally curved and / or convex with reduce the distance that light travels through the tissue .
respect to the measurement site . The measurement site 55 Other heights, however, of the partially cylindrical protru
contact area 470 can be other shapes that reduce or even sion 605 can also accomplish this objective. For example,
minimize air between the protrusion 405 and /or the mea- the chosen height of the partially cylindrical protrusion 605
surement site . Additionally , the surface pattern of the mea- can be selected based on the size of the measurement site ,
surement site contact area 470 can vary from smooth to whether the patient is an adult or child , and so on . In an
bumpy, e.g. , to provide varying levels of grip .             60 embodiment, the height of the protrusion 605 is chosen to
   In FIGS . 4A and 4C , openings or windows 420 , 421 , 422 , provide as much tissue thickness reduction as possible while
and 423 can include a wide variety of shapes and sizes , reducing or preventing occlusion of blood vessels in the
including for example, generally square, circular, triangular,     tissue .
or combinations thereof. The windows 420 , 421 , 422 , and         Referring to FIG . 6D , the width of the partially cylindrical
423 can be of non - uniform shapes and sizes . As shown , the 65 protrusion 605 (measurement “ b ” ) can be about 3 to about
windows 420 , 421 , 422 , and 423 can be evenly spaced out 5 mm . In one embodiment, the width is about 4 mm . In one
in a grid like arrangement. Other arrangements or patterns of embodiment, a width in this range provides good penetration
                                                       Stay-Add-763
               Case: 24-1285                Document: 7              Page: 815              Filed: 12/26/2023


                                                   US 10,912,502 B2
                             25                                                                      26
of the partially cylindrical protrusion 605 into the tissue to bed 310f also includes the ridges or channels 314 described
reduce the path length of the light. Other widths, however, above with respect to FIGS . 3B and 3C .
of the partially cylindrical protrusion 605 can also accom-      The example of finger bed 310f shown also includes the
plish this objective. For example , the width of the partially protrusion 605b , which includes the features of the protru
cylindrical protrusion 605 can vary based on the size of the 5 sion 605 described above . In addition , the protrusion 605b
measurement site , whether the patient is an adult or child , also includes chamfered edges 607 on each end to provide
and so on . In addition, the length of the protrusion 605 could a more comfortable surface for a finger to slide across ( see
be about 10 mm , or about 8 mm to about 12 mm , or smaller        also FIG . 14D ) . In another embodiment, the protrusion 605b
than 8 mm or greater than 12 mm .                                 could instead include a single chamfered edge 607 proximal
   In certain embodiments, the focal length ( f) for the 10 tochamfered
                                                                     the ridgesedges
                                                                                314. In607another embodiment
                                                                                            could be rounded . ,one or both of the
partially cylindrical protrusion 605 can be expressed as :           The protrusion 605b also includes a measurement site
                                                                  contact area 670 that can contact body tissue of a measure
                                  R                               ment site . The protrusion 605b can be removed from or
                            f = n - 1'                         15 integrated with the finger bed 310f. Interchangeable, differ
                                                                    ently shaped protrusions 605b can also be provided, which
                                                                    can correspond to different finger shapes, characteristics,
where R is the radius of curvature of the partial cylinder 608      opacity, sizes , or the like .
and n is the index of refraction of the material used . In            FIGS . 7A and 7B illustrate block diagrams of sensors 701
certain embodiments , the radius of curvature can be between 20 that include example arrangements of conductive glass or
about 1.5 mm and about 2 mm . In another embodiment, the conductive coated glass for shielding. Advantageously, in
partially cylindrical protrusion 605 can include a material, certain embodiments, the shielding can provide increased
such as nBK7 glass , with an index of refraction of around          SNR . The features of the sensors 701 can be implemented
1.5 at 1300 nm , which can provide focal lengths of between         with any of the sensors 101 , 201 , 301 described above .
about 3 mm and about 4 mm .                                      25 Although not shown, the partially cylindrical protrusion 605
  A partially cylindrical protrusion 605 having a material          of FIG . 6 can also be used with the sensors 701 in certain
with a higher index of refraction such as nSF11 glass ( e.g. , embodiments .
n= 1.75 at 1300 nm ) can provide a shorter focal length and          For example , referring specifically to FIG . 7A , the sensor
possibly a smaller photodiode chip , but can also cause 701a includes an emitter housing 704a and a detector
higher reflections due to the index of refraction mismatch 30 housing 706. The emitter housing 704a includes LEDs 104 .
with air. Many types of glass or plastic can be used with The detector housing 706a includes a tissue bed 710a with
index of refraction values ranging from , for example , about an opening or window 703a , the conductive glass 730a , and
1.4 to about 1.9 . The index of refraction of the material of one or more photodiodes for detectors 106 provided on a
the protrusion 605 can be chosen to improve or optimize the submount 707a .
light focusing properties of the protrusion 605. A plastic 35 During operation, a finger 102 can be placed on the tissue
partially cylindrical protrusion 605 could provide the cheap- bed 710a and optical radiation can be emitted from the LEDs
est option in high volumes but can also have some undesired 104. Light can then be attenuated as it passes through or is
light absorption peaks at wavelengths higher than 1500 nm . reflected from the tissue of the finger 102. The attenuated
Other focal lengths and materials having different indices of light can then pass through the opening 703a in the tissue
refraction can be used for the partially cylindrical protrusion 40 bed 710a . Based on the received light, the detectors 106 can
605 .                                                              provide a detector signal 107 , for example , to the front end
   Placing a photodiode at a given distance below the interface 108 ( see FIG . 1 ) .
partially cylindrical protrusion 605 can facilitate capturing      In the depicted embodiment, the conductive glass 730 is
some or all of the light traveling perpendicular to the lens provided in the opening 703. The conductive glass 730 can
within the active area of the photodiode ( see FIG . 14 ) . 45 thus not only permit light from the finger to pass to the
Different sizes of the partially cylindrical protrusion 605 can detectors 106 , but it can also supplement the shielding of the
use different sizes of photodiodes. The extension 610 added detectors 106 from noise . The conductive glass 730 can
onto the bottom of the partial cylinder 608 is used in certain include a stack or set of layers . In FIG . 7A , the conductive
embodiments to increase the height of the partially cylin- glass 730a is shown having a glass layer 731 proximate the
drical protrusion 605. In an embodiment, the added height is 50 finger 102 and a conductive layer 733 electrically coupled to
such that the photodiodes are at or are approximately at the the shielding 790a .
focal length of the partially cylindrical protrusion 605. In an    In an embodiment, the conductive glass 730a can be
embodiment, the added height provides for greater thinning coated with a conductive, transparent or partially transparent
of the measurement site . In an embodiment, the added height material, such as a thin film of indium tin oxide ( ITO ) . To
assists in deflecting light piped through the sensor. This is 55 supplement electrical shielding effects of a shielding enclo
because light piped around the sensor passes through the sure 790a , the conductive glass 730a can be electrically
side walls of the added height without being directed toward coupled to the shielding enclosure 790a . The conductive
the detectors . The extension 610 can also further facilitate glass 730a can be electrically coupled to the shielding 704a
the protrusion 605 increasing or maximizing the amount of based on direct contact or via other connection devices, such
light that is provided to the detectors. In some embodiments, 60 as a wire or another component.
the extension 610 can be omitted .                                  The shielding enclosure 790a can be provided to encom
   FIG . 6E illustrates another view of the sensor 301f of FIG . pass the detectors 106 to reduce or prevent noise . For
3F, which includes an embodiment of a partially cylindrical example, the shielding enclosure 790a can be constructed
protrusion 605b . Like the sensor 301A shown in FIGS . 3B from a conductive material, such as copper, in the form of a
and 3C , the sensor 301f includes a finger bed 310f. The 65 metal cage . The shielding or enclosure a can include an
finger bed 310f includes a generally curved surface shaped opaque material to not only reduce electrical noise , but also
generally to receive tissue , such as a human digit . The finger ambient optical noise .
                                                       Stay-Add-764
               Case: 24-1285              Document: 7             Page: 816           Filed: 12/26/2023


                                                 US 10,912,502 B2
                            27                                                               28
  In some embodiments, the shielding enclosure 790a can          are possible . For example , the electrically conductive mate
be constructed in a single manufactured component with or rial 733 can be a layer within a stack of layers . This stack of
without the use of conductive glass . This form of construc- layers can include one or more layers of glass 731 , 835 , as
tion may be useful in order to reduce costs of manufacture well as one or more layers of conductive material 733. The
as well as assist in quality control of the components. 5 stack can include other layers ofmaterials to achieve desired
Furthermore , the shielding enclosure 790a can also be used characteristics.
to house various other components, such as sigma delta               In FIG . 8D , a bottom perspective view is shown to
components for various embodiments of front end interfaces illustrate an embodiment where a conductive glass 830b can
108 .                                                             include conductive material 837 that occupies or covers a
   Referring to FIG . 7B , another block diagram of an 10 portion of a glass layer 839. This embodiment can be useful,
example sensor 701b is shown . A tissue bed 710b of the for example , to create individual, shielded windows for
sensor 701b includes a protrusion 705b , which is in the form detectors 106 , such as those shown in FIG . 3C . The con
of a convex bump. The protrusion 705b can include all of the ductive material 837 can be patterned to include an area 838
features of the protrusions or tissue shaping materials to allow light to pass to detectors 106 and one or more strips
described above . For example, the protrusion 705b includes 15 841 to couple to the shielding 704 of FIG . 7 .
a contact area 370 that comes in contact with the finger 102         Other configurations and patterns for the conductive
and which can include one or more openings 703b . One or material can be used in certain embodiments, such as , for
more components of conductive glass 730b can be provided example , a conductive coating lining periphery edges, a
in the openings 703. For example, in an embodiment, each conductive coating outlaid in a pattern including a grid or
of the openings 703 can include a separate window of the 20 other pattern, a speckled conductive coating , coating outlaid
conductive glass 7306. In an embodiment, a single piece of in lines in either direction or diagonally, varied thicknesses
the conductive glass 730b can used for some or all of the from the center out or from the periphery in, or other suitable
openings 703b . The conductive glass 730b is smaller than patterns or coatings that balance the shielding properties
the conductive glass 730a in this particular embodiment.          with transparency considerations .
   A shielding enclosure 790b is also provided, which can 25 FIG . 9 depicts an example graph 900 that illustrates
have all the features of the shielding enclosure 790a . The comparative results obtained by an example sensor having
shielding enclosure 790b is smaller than the shielding enclo- components similar to those disclosed above with respect to
sure 790a ; however, a variety of sizes can be selected for the FIGS . 7 and 8. The graph 900 depicts the results of the
shielding enclosures 790 .                                        percentage of transmission of varying wavelengths of light
   In some embodiments , the shielding enclosure 790b can 30 for different types of windows used in the sensors described
be constructed in a single manufactured component with or above .
without the use of conductive glass . This form of construc-         A line 915 on the graph 900 illustrates example light
tion may be useful in order to reduce cos of manufacture transmission of a window made from plain glass . As shown ,
as well as assist in quality control of the components . the light transmission percentage of varying wavelengths of
Furthermore, the shielding enclosure 790b can also be used 35 light is approximately 90 % for a window made from plain
to house various other components, such as sigma delta glass . A line 920 on the graph 900 demonstrates an example
components for various embodiments of front end interfaces light transmission percentage for an embodiment in which a
108 .                                                             window is made from glass having an ITO coating with a
   FIGS . 8A through 8D illustrate a perspective view , side surface resistivity of 500 ohms per square inch . A line 925
views , and a bottom elevation view of the conductive glass 40 on the graph 900 shows an example light transmission for an
described above with respect to the sensors 701a , 701b . As embodiment in which a window is made from glass that
shown in the perspective view of FIG . 8A and side view of includes a coating of ITO oxide with a surface resistivity of
FIG . 8B , the conductive glass 730 includes the electrically 200 ohms per square inch . A line 930 on the graph 900
conductive material 733 described above as a coating on the shows an example light transmission for an embodiment in
glass layer 731 described above to form a stack . In an 45 which a window is made from glass that includes a coating
embodiment where the electrically conductive material 733 of ITO oxide with a surface resistivity of 30 ohms per square
includes indium tin oxide, surface resistivity of the electri- inch.
cally conductive material 733 can range approximately from           The light transmission percentage for a window with
30 ohms per square inch to 500 ohms per square inch , or currently available embedded wiring can have a light trans
approximately 30 , 200 , or 500 ohms per square inch . As 50 mission percentage of approximately 70 % . This lower per
would be understood by a person of skill in the art from the centage of light transmission can be due to the opacity of the
present disclosure , other resistivities can also be used which wiring employed in a currently available window with
are less than 30 ohms or more than 500 ohms. Other wiring . Accordingly, certain embodiments of glass coatings
transparent, electrically conductive materials can be used as described herein can employ, for example, ITO coatings
the material 733 .                                             55 with different surface resistivity depending on the desired
   Although the conductive material 733 is shown spread light transmission , wavelengths of light used for measure
over the surface of the glass layer 731 , the conductive ment, desired shielding effect, and other criteria.
material 733 can be patterned or provided on selected                FIGS . 10A through 10B illustrate comparative noise
portions of the glass layer 731. Furthermore, the conductive floors of example implementations of the sensors described
material 733 can have uniform or varying thickness depend- 60 above . Noise can include optical noise from ambient light
ing on a desired transmission of light, a desired shielding and electro -magnetic noise, for example, from surrounding
effect, and other considerations.                                 electrical equipment. In FIG . 10A , a graph 1000 depicts
   In FIG . 8C , a side view of a conductive glass 830a is possible noise floors for different frequencies of noise for an
shown to illustrate an embodiment where the electrically         embodiment in which one of the sensors described above
conductive material 733 is provided as an internal layer 65 included separate windows for four ( 4 ) detectors 106. One
between two glass layers 731 , 835. Various combinations of or more of the windows included an embedded grid of
integrating electrically conductive material 733 with glass     wiring as a noise shield . Symbols 1030-1033 illustrate the
                                                     Stay-Add-765
               Case: 24-1285                Document: 7             Page: 817            Filed: 12/26/2023


                                                   US 10,912,502 B2
                             29                                                                 30
noise floor performance for this embodiment. As can be         FIG . 11B illustrates a configuration of emitting optical
seen , the noise floor performance can vary for each of the radiation into a measurement site for measuring a blood
openings and based on the frequency of the noise .          constituent or analyte like glucose . In some embodiments ,
   In FIG . 10B , a graph 1050 depicts a noise floor for emitter 104 may be driven in a progressive fashion to
frequencies of noise 1070 for an embodiment in which the 5 minimize noise and increase SNR of sensor 101. For
sensor included separate openings for four (4 ) detectors 106      example, emitter 104 may be driven based on a progression
and one or more windows that include an ITO coating. In            of power /current delivered to LEDs 1102 and 1104 .
this embodiment, a surface resistivity of the ITO used was           In some embodiments, emitter 104 may be configured to
about 500 ohms per square inch . Symbols 1080-1083 illus           emit pulses centered about 905 nm , about 1050 nm , about
trate the noise floor performance for this embodiment. As 10 about 1200 nm1640, about 1300about
                                                                                            nm ,1665
                                                                                                 aboutnm1330  nm , about 1610 nm ,
can be seen, the noise floor performance for this embodi the emitter nm104, and                          . In another embodiment,
                                                                                      may emit optical radiation ranging from
ment can vary less for each of the openings and provide about 860 nm to about
lower noise floors in comparison to the embodiment of FIG . nm , about 1100 nm to 950            nm , about 950 nm to about 1100
                                                                                              about 1270 nm , about 1250 nm to
10A .
   FIG . 11A illustrates an example structure for configuring 15 about    1350 nm , about 1300 nm to about 1360 nm , and about
                                                                   1590 nm to about 1700 nm . Of course , emitter 104 may be
the set of optical sources of the emitters described above . As configured to transmit any of a variety of wavelengths of
shown, an emitter 104 can include a driver 1105 , a therm visible , or near - infrared optical radiation.
istor 1120 , a set of top -emitting LEDs 1102 for emitting red       For purposes of illustration, FIG . 11B shows a sequence
and / or infrared light, a set of side - emitting LEDs 1104 for 20 of pulses of light at wavelengths of around 905 nm , around
emitting near infrared light, and a submount 1106 .                1200 nm , around 1300 nm , and around 1330 nm from top
   The thermistor 1120 can be provided to compensate for emitting LEDs 1102. FIG . 11B also shows that emitter 104
temperature variations. For example, the thermistor 1120 may then emit pulses centered at around 1630 nm , around
can be provided to allow for wavelength centroid and power 1660 nm , and around 1615 nm from side emitting LEDs
drift of LEDs 1102 and 1104 due to heating. In addition, 25 1104. Emitter 104 may be progressively driven at higher
other thermistors can be employed, for example, to measure power /current. This progression may allow driver circuit
a temperature of a measurement site . The temperature can be 105 to stabilize in its operations, and thus, provide a more
displayed on a display device and used by a caregiver. Such stable current/power to LEDs 1102 and 1104 .
a temperature can also be helpful in correcting for wave-            For example , as shown in FIG . 11B , the sequence of
length drift due to changes in water absorption, which can be 30 optical radiation pulses are shown having a logarithmic - like
temperature dependent, thereby providing more accurate progression in power / current. In some embodiments, the
data useful in detecting blood analytes like glucose . In timing of these pulses is based on a cycle of about 400 slots
addition , using a thermistor or other type of temperature running at 48 kHz (e.g. each time slot may be approximately
sensitive device may be useful for detecting extreme tem-          0.02 ms or 20 microseconds ). An artisan will recognize that
peratures at the measurement site that are too hot or too cold . 35 term “ slots ” includes its ordinary meaning, which includes
The presence of low perfusion may also be detected , for           a time period that may also be expressed in terms of a
example, when the finger of a patient has become too cold .        frequency. In the example shown, pulses from top emitting
Moreover, shifts in temperature at the measurement site can        LEDs 1102 may have a pulse width of about 40 time slots
alter the absorption spectrum of water and other tissue in the     (e.g. , about 0.8 ms ) and an off period of about 4 time slots
measurement cite . A thermistor's temperature reading can be 40 in between . In addition , pulses from side emitting LEDs
used to adjust for the variations in absorption spectrum 1104 ( e.g. , or a laser diode ) may have a pulse width of about
changes in the measurement site .                                  60 time slots (e.g. , about 1.25 ms ) and a similar off period
   The driver 1105 can provide pulses of current to the of about 4 time slots . A pause of about 70 time slots ( e.g. 1.5
emitter 1104. In an embodiment, the driver 1105 drives the ms ) may also be provided in order to allow driver circuit
emitter 1104 in a progressive fashion , for example, in an 45 1105 to stabilize after operating at higher current/power.
alternating manner based on a control signal from , for               As shown in FIG . 11B , top emitting LEDs 1102 may be
example , a processor ( e.g. , the processor 110 ) . For example , initially driven with a power to approximately 1 mW at a
the driver 1105 can drive the emitter 1104 with a series of current of about 20-100 mA . Power in these LEDs may also
pulses to about 1 milliwatt (MW ) for visible light to light at be modulated by using a filter or covering of black dye to
about 1300 nm and from about 40 mW to about 100 mW for 50 reduce power output of LEDs . In this example , top emitting
light at about 1600 nm to about 1700 nm . However, a wide LEDs 1102 may be driven at approximately 0.02 to 0.08
number of driving powers and driving methodologies can be         mW . The sequence of the wavelengths may be based on the
used . The driver 1105 can be synchronized with other parts current requirements of top emitting LEDs 502 for that
of the sensor and can minimize or reduce any jitter in the particular wavelength . Of course, in other embodiments ,
timing of pulses of optical radiation emitted from the emitter 55 different wavelengths and sequences of wavelengths may be
1104. In some embodiments, the driver 1105 is capable of output from emitter 104 .
driving the emitter 1104 to emit an optical radiation in a           Subsequently, side emitting LEDs 1104 may be driven at
pattern that varies by less than about 10 parts -per -million ; higher powers, such as about 40-100 mW and higher cur
however other amounts of variation can be used .                  rents of about 600-800 mA . This higher power may be
  The submount 1106 provides a support structure in certain 60 employed in order to compensate for the higher opacity of
embodiments for aligning the top - emitting LEDs 1102 and tissue and water in measurement site 102 to these wave
the side - emitting LEDs 1104 so that their optical radiation is lengths. For example, as shown , pulses at about 1630 nm ,
transmitted generally towards the measurement site . In some about 1660 nm , and about 1615 nm may be output with
embodiments, the submount 1106 is also constructed of progressively higher power, such as at about 40 mW , about
aluminum nitride (AIN ) or beryllium oxide ( BEO ) for heat 65 50 mW , and about 60 mW , respectively . In this embodiment,
dissipation, although other materials or combinations of the order of wavelengths may be based on the optical
materials suitable for the submount 1106 can be used .             characteristics of that wavelength in tissue as well as the
                                                       Stay-Add-766
Case: 24-1285   Document: 7   Page: 818   Filed: 12/26/2023




                      Stay-Add-767
Case: 24-1285   Document: 7   Page: 819   Filed: 12/26/2023




                      Stay-Add-768
Case: 24-1285   Document: 7   Page: 820   Filed: 12/26/2023




                      Stay-Add-769
Case: 24-1285   Document: 7   Page: 821   Filed: 12/26/2023




                      Stay-Add-770
Case: 24-1285   Document: 7   Page: 822   Filed: 12/26/2023




                      Stay-Add-771
Case: 24-1285   Document: 7   Page: 823   Filed: 12/26/2023




                      Stay-Add-772
Case: 24-1285   Document: 7   Page: 824   Filed: 12/26/2023




                      Stay-Add-773
Case: 24-1285   Document: 7   Page: 825   Filed: 12/26/2023




                      Stay-Add-774
Case: 24-1285   Document: 7   Page: 826   Filed: 12/26/2023




                      Stay-Add-775
Case: 24-1285   Document: 7   Page: 827   Filed: 12/26/2023




        EXHIBIT 18




                      Stay-Add-776
                 Case: 24-1285              Document: 7                        Page: 828                        Filed: 12/26/2023

                                                                                                              USO10945648B2

( 12) United States Patent                                                         ( 10) Patent No.: US 10,945,648 B2
     Poeze et al .                                                                 (45) Date of Patent : * Mar . 16 , 2021
( 54 ) USER -WORN DEVICE FOR                                                  ( 52 ) U.S. CI .
      NONINVASIVELY MEASURING A                                                      CPC         A61B 5/1455 ( 2013.01 ) ; A61B 5/14532
      PHYSIOLOGICAL PARAMETER OF A USER                                                              (2013.01 ) ; A61B 5/14546 ( 2013.01 ) ;
                                                                                                       ( Continued )
( 71 ) Applicant: Masimo Corporation , Irvine, CA (US )                       ( 58 ) Field of Classification Search
                                                                                     CPC . A61B 5/1455 ; A61B 5/14546 ; A61B 5/6838 ;
( 72 ) Inventors: Jeroen Poeze , Rancho Santa Margarita ,                                                     A61B 5/6816 ; A61B 5/6829 ;
                  CA (US ); Marcelo Lamego , Cupertino,                                                (Continued )
                  CA (US ); Sean Merritt , Lake Forest ,
                  CA (US ); Cristiano Dalvi, Lake Forest ,                    ( 56 )                            References Cited
                  CA (US ); Hung Vo , Fountain Valley,                                                     U.S. PATENT DOCUMENTS
                  CA (US ); Johannes Bruinsma ,
                  Opeinde (NL ); Ferdyan Lesmana ,                                     3,452,215 A               6/1969 Alessio
                  Irvine , CA (US ); Massi Joe E. Kiani ,                              3,760,582 A               9/1973 Thiess et al .
                  Laguna Niguel, CA ( US ) ; Greg Olsen ,                                                             ( Continued )
                  Lake Forest , CA (US )
                                                                                                    FOREIGN PATENT DOCUMENTS
( 73 ) Assignee : Masimo Corporation , Irvine, CA (US )                       CA                            2264029           3/1998
                                                                              CN                            1270793          10/2000
( * ) Notice:     Subject to any disclaimer, the term of this                                                         (Continued )
                  patent is extended or adjusted under 35
                  U.S.C. 154 ( b ) by 0 days.                                                               OTHER PUBLICATIONS
                  This patent is subject to a terminal dis
                  claimer .                                                   US 8,845,543 B2 , 09/2014 , Diab et al . ( withdrawn )
                                                                                                                      ( Continued )
( 21 ) Appl . No .: 17/031,316                                                Primary Examiner Chu Chuan Liu
(22 ) Filed :       Sep. 24 , 2020                                            ( 74 ) Attorney, Agent, or Firm - - Knobbe Martens Olson
                                                                              & Bear LLP
( 65 )                Prior Publication Data                                  (57 )                               ABSTRACT
      US 2021/0007635 A1          Jan. 14 , 2021                              The present disclosure relates to noninvasive methods,
                                                                              devices, and systems for measuring various blood constitu
                                                                              ents or analytes, such as glucose . In an embodiment, a light
              Related U.S. Application Data                                   source comprises LEDs and super - luminescent LEDs . The
( 60 ) Continuation of application No. 16/ 834,538 , filed on                 light source emits light at least wavelengths of about 1610
       Mar. 30 , 2020 , which is a continuation of application                nm , about 1640 nm , and about 1665 nm . In an embodiment,
                        (Continued )
                                                                              the detector comprises a plurality of photodetectors arranged
                                                                              in a special geometry comprising one of a substantially
(51 ) Int. Ci.
                                                                              linear substantially equal spaced geometry, a substantially
      A61B 5/1455             ( 2006.01 )
                                                                              linear substantially non -equal spaced geometry, and a sub
                                                                              stantially grid geometry.
      A61B 5/145              ( 2006.01 )
      A61B 5/00               (2006.01 )                                                     30 Claims , 65 Drawing Sheets
                                              301A


                                                                 3042                         -301a

                                                                                                    3503


                                                     307



                                                                  322
                                                           323

                                                398a
                                                                                              320

                                                                                              305

                                                                                        321

                                              371)



                                                                        314



                                                                  Stay-Add-777
                       Case: 24-1285                Document: 7             Page: 829       Filed: 12/26/2023


                                                         US 10,945,648 B2
                                                                   Page 2

                  Related U.S. Application Data                               4,438,338 A    3/1984 Stitt
                                                                              4,444,471 A    4/1984 Ford et al .
          No. 16 /725,292 , filed on Dec. 23 , 2019 , now Pat . No.           4,447,150 A    5/1984 Heinemann
          10,624,564 , which is a continuation of application                 4,547,075 A
                                                                              4,653,498 A
                                                                                            10/1985 Fei
                                                                                             3/1987 New , Jr. et al .
          No. 16/ 534,949 , filed on Aug. 7 , 2019 , now Pat. No.             4,655,225 A    4/1987 Dahne et al .
          10,588,553 , which is a continuation of application                 4,684,245 A    8/1987 Goldring
          No. 16 /409,515 , filed on May 10 , 2019 , now Pat . No.            4,709,413 A   11/1987 Forrest
          10,376,191 , which is a continuation of application                 4,755,676 A    7/1988 Gaalema et al .
          No. 16 /261,326 , filed on Jan. 29 , 2019 , now Pat . No.           4,759,369 A    7/1988 Taylor
                                                                              4,781,195 A   11/1988 Martin
          10,292,628 , which is a continuation of application                 4,782,836 A   11/1988 Alt
          No. 16 /212,537 , filed on Dec. 6 , 2018 , now Pat . No.            4,802,486 A    2/1989 Goodman et al .
          10,258,266 , which is a division of application No.                 4,805,623 A    2/1989 Jöbsis
          14/ 981,290 , filed on Dec. 28 , 2015 , now Pat . No.               4,819,860 A    4/1989 Hargrove et al .
          10,335,068 , which is a continuation of application                 4,825,872 A    5/1989 Tan et al .
          No. 12 / 829,352 , filed on Jul . 1 , 2010 , now Pat. No.           4,859,057 A    8/1989 Taylor et al .
                                                                              4,865,038 A    9/1989 Rich et al .
          9,277,880 , which is a continuation of application No.              4,867,557 A    9/1989 Takatani et al .
          12/ 534,827 , filed on Aug. 3 , 2009 , now abandoned ,              4,869,253 A    9/1989 Craig , Jr. et al.
          and a continuation -in - part of application No. 12/497 ,           4,880,304 A   11/1989 Jaeb et al .
                                                                                             2/1990 Moore et al .
          528 , filed on Jul. 2 , 2009 , now Pat . No. 8,577,431 ,            4,903,701 A
          which is a continuation - in - part of application No.              4,928,692 A    5/1990 Goodman et al .
                                                                              4,933,545 A    6/1990 Saaski et al .
          29/ 323,408 , filed on Aug. 25 , 2008 , now Pat . No. Des .         4,938,218 A    7/1990 Goodman et al .
          606,659, and a continuation - in -part of application No.           4,941,236 A    7/1990 Sherman et al .
          29/ 323,409 , filed on Aug. 25 , 2008 , now Pat . No. Des .         4,945,239 A    7/1990 Wist et al.
          621,516 , and a continuation - in -part of application No.          4,955,379 A    9/1990 Hall
                                                                              4,960,128 A   10/1990 Gordon et al .
          12/ 497,523 , filed on Jul. 2 , 2009 , now Pat . No.                4,960,314 A   10/1990 Smith et al .
          8,437,825 , said application No. 12 /497,523 is a con               4,964,408 A   10/1990 Hink et al.
          tinuation - in -part of application No. 29 /323,408 , filed         5,007,423 A    4/1991 Branstetter et al .
          on Aug. 25 , 2008 , now Pat . No. Des . 606,659 , and a             5,025,791 A    6/1991 Niwa
                                                                              5,028,787 A    7/1991 Rosenthal et al .
          continuation -in -part of application No. 29 /323,409 ,             5,035,243 A    7/1991 Muz
          filed on Aug. 25 , 2008 , now Pat . No. Des . 621,516 .             5,041,187 A    8/1991 Hink et al.
                                                                              5,043,820 A    8/1991 Wyles et al .
( 60 ) Provisional application No. 61 / 086,060 , filed on Aug.               5,069,213 A   12/1991 Polczynski
       4 , 2008, provisional application No. 61 / 086,108 , filed             5,069,214 A   12/1991 Samaras et al .
       on Aug. 4 , 2008 , provisional application No.                         5,069,680 A   12/1991 Grandjean
                                                                              5,077,476 A   12/1991 Rosenthal
       61 / 086,063 , filed on Aug. 4 , 2008 , provisional                    5,086,229 A    2/1992 Rosenthal et al .
       application No. 61 / 086,057 , filed on Aug. 4 , 2008 ,                5,099,842 A
                                                                              5,109,849 A
                                                                                             3/1992 Mannheimer et al .
                                                                                             5/1992 Goodman et al .
       provisional application No. 61/ 091,732 , filed on Aug.                D326,715 S     6/1992 Schmidt
       25 , 2008 , provisional application No. 61 /078,228,                   5,122,925 A    6/1992 Inpyn
       filed on Jul. 3 , 2008 , provisional application No.                   5,131,391 A    7/1992 Sakai et al .
       61 / 078,207 , filed on Jul . 3 , 2008 .                               5,137,023 A    8/1992 Mendelson et al .
                                                                              5,158,082 A   10/1992 Jones
( 52 )     J.S. Cl .                                                          5,158,091 A   10/1992 Butterfiled et al .
                                                                              5,159,929 A   11/1992 McMillen et al .
          CPC            A61B 5/14552 ( 2013.01 ) ; A61B 5/6816               5,163,438 A   11/1992 Gordon et al .
                  (2013.01 ) ; A61B 5/6826 ( 2013.01 ) ; A61B                 5,176,137 A    1/1993 Erickson et al .
                5/6829 (2013.01 ) ; A61B 5/6838 ( 2013.01 ) ;                 5,190,038 A    3/1993 Polson et al .
                  A61B 5/6843 ( 2013.01 ) ; A61B 2562/0233                    5,203,329 A    4/1993 Takatani et al .
                                                                              5,218,962 A    6/1993 Mannheimer et al .
                 (2013.01 ) ; A61B 2562/04 (2013.01 ) ; A61B                  5,222,295 A    6/1993 Dorris, Jr.
            2562/046 (2013.01 ) ; A61B 2562/146 (2013.01 )                    5,222,495 A    6/1993 Clarke et al .
( 58 ) Field of Classification Search                                         5,222,496 A    6/1993 Clarke et al .
                                                                                             7/1993 Christ et al .
          CPC . A61B 5/6843 ; A61B 5/6826 ; A61B 5/14551 ;                    5,228,449 A
                     A61B 5/14552 ; A61B 5/14532 ; A61B                       5,249,576 A   10/1993 Goldberger et al .
                                                                              5,250,342 A   10/1993 Lang
                                2562/046 ; A61B 2562/04 ; A61B                5,251,011 A   10/1993 Fujiwara et al .
                                    2562/0233 ; A61B 2562/146                 5,254,388 A   10/1993 Melby et al .
          See application file for complete search history.                   5,254,992 A
                                                                              5,273,036 A
                                                                                            10/1993 Keen et al .
                                                                                            12/1993 Kronberg et al .
( 56 )                    References Cited                                    5,278,627 A    1/1994 Aoyagi et al .
                                                                              5,297,548 A    3/1994 Pologe
                   U.S. PATENT DOCUMENTS                                      5,319,355 A    6/1994 Russek
                                                                              5,333,616 A    8/1994 Mills et al .
         3,789,601 A       2/1974 Bergey                                      5,337,744 A    8/1994 Branigan
         3,910,701 A      10/1975 Henderson et al .                           5,337,745 A    8/1994 Benaron
         4,015,595 A       4/1977 Benjamin                                    5,341,805 A    8/1994 Stavridi et al .
         4,114,604 A       9/1978 Shaw et al .                                5,355,242 A   10/1994 Eastmond et al .
         4,129,124 A      12/1978 Thalmann                                    5,358,519 A   10/1994 Grandjean
         4,224,948 A       9/1980 Cramer et al .                              5,362,966 A   11/1994 Rosenthal et al .
         4,258,719 A       3/1981 Lewyn                                       D353,195 S    12/1994 Savage et al .
         4,267,844 A       5/1981 Yamanishi                                   D353,196 S    12/1994 Savage et al .
         4,409,470 A      10/1983 Shepard et al .                             5,372,135 A   12/1994 Mendelson et al .

                                                              Stay-Add-778
                  Case: 24-1285                   Document: 7           Page: 830        Filed: 12/26/2023


                                                      US 10,945,648 B2
                                                               Page 3

( 56 )                 References Cited                                   5,797,841 A     8/1998 Delonzor et al .
                                                                          5,800,348 A     9/1998 Kaestle
                 U.S. PATENT DOCUMENTS                                    5,800,349 A     9/1998 Isaacson et al .
                                                                          5,807,247 A     9/1998 Merchant et al.
         5,377,676 A    1/1995 Vari et al.                                5,810,734 A     9/1998 Caro et al .
         D356,870 S     3/1995 Ivers et al .                              5,817,008 A    10/1998 Rafert et al .
         D359,546 S     6/1995 Savage et al .                             5,823,950 A    10/1998 Diab et al .
         5,427,093 A    6/1995 Ogawa et al .                              5,826,885 A    10/1998 Helgeland
         5,431,170 A    7/1995 Mathews                                    5,830,131 A    11/1998 Caro et al .
         5,436,499 A    7/1995 Namavar et al .                            5,830,137 A    11/1998 Scharf
         D361,840 S     8/1995 Savage et al .                             5,833,618 A    11/1998 Caro et al .
         5,437,275 A    8/1995 Amundsen et al .                           D403,070 S     12/1998 Maeda et al.
         5,441,054 A    8/1995 Tsuchiya                                   5,842,982 A    12/1998 Mannheimer
         D362,063 S     9/1995 Savage et al .                             5,851,178 A    12/1998 Aronow
         5,452,717 A    9/1995 Branigan et al .                           5,854,706 A    12/1998 Alb
         D363,120 S    10/1995 Savage et al .                             5,860,919 A   1/1999 Kiani- Azarbayjany et al .
         5,456,252 A   10/1995 Vari et al.                                5,860,932 A   1/1999 Goto et al.
         5,462,051 A   10/1995 Oka et al .                                5,890,929 A   4/1999 Mills et al .
         5,479,934 A    1/1996 Imran                                      5,891,022 A   4/1999 Pologe
         5,482,034 A    1/1996 Lewis et al.                               5,893,364 A * 4/1999 Haar               A61B 5/0059
         5,482,036 A    1/1996 Diab et al .                                                                                   356/338
         5,490,505 A    2/1996 Diab et al .                               5,902,235 A     5/1999 Lewis et al .
         5,490,506 A    2/1996 Takatani et al .                           5,903,357 A     5/1999 Colak
         5,490,523 A    2/1996 Isaacson et al .                           5,904,654 A     5/1999 Wohltmann et al .
         5,494,043 A    2/1996 O'Sullivan et al .                         5,911,689 A     6/1999 Smith et al .
         5,497,771 A    3/1996 Rosenheimer                                5,919,134 A     7/1999 Diab
         5,511,546 A    4/1996 Hon                                        5,923,021 A     7/1999 Dvorkis et al .
         5,533,511 A    7/1996 Kaspari et al.                             5,924,979 A     7/1999 Swedlow et al .
         5,534,851 A    7/1996 Russek                                     5,934,925 A     8/1999 Tobler et al .
         5,542,146 A    8/1996 Hoekstra et al .                           5,936,986 A     8/1999 Cantatore et al .
         5,551,422 A    9/1996 Simonsen et al .                           5,940,182 A     8/1999 Lepper, Jr. et al .
         5,553,614 A    9/1996 Chance                                     5,957,840 A     9/1999 Terasawa et al .
         5,553,615 A    9/1996 Carim et al .                              D414,870 S     10/1999 Saltzstein et al .
         5,553,616 A    9/1996 Ham et al .                                5,987,343 A    11/1999 Kinast
         5,555,882 A    9/1996 Richardson et al .                         5,991,467 A    11/1999 Kamiko
         5,561,275 A   10/1996 Savage et al .                             5,995,855 A    11/1999 Kiani et al .
         5,562,002 A   10/1996 Lalin                                      5,997,343 A    12/1999 Mills et al .
         5,564,429 A   10/1996 Bornn et al .                              6,002,952 A    12/1999 Diab et al .
         5,581,069 A   12/1996 Shepard et al .                            6,010,937 A     1/2000 Karam et al .
         5,584,296 A   12/1996 Cui et al .                                6,011,986 A     1/2000 Diab et al .
         5,590,649 A    1/1997 Caro et al .                               6,018,403 A     1/2000 Shirakura et al .
         5,601,079 A    2/1997 Wong et al .                               6,018,673 A     1/2000 Chin et al .
         5,601,080 A    2/1997 Oppenheimer                                6,022,321 A     2/2000 Amano et al .
         5,602,924 A    2/1997 Durand et al .                             6,027,452 A     2/2000 Flaherty et al .
         D378,414 S     3/1997 Allen et al .                              6,031,603 A     2/2000 Fine et al .
         5,623,925 A    4/1997 Swenson et al .                            6,035,223 A     3/2000 Baker
         5,625,458 A    4/1997 Alfano et al.                              6,036,642 A     3/2000 Diab et al .
         5,632,272 A    5/1997 Diab et al .                               6,040,578 A     3/2000 Malin et al .
         5,635,700 A    6/1997 Fazekas                                    6,041,247 A     3/2000 Weckstrom et al .
         5,638,816 A    6/1997 Kiani- Azarbayjany et al .                 6,045,509 A     4/2000 Caro et al .
         5,638,818 A    6/1997 Diab et al .                               6,049,727 A     4/2000 Crothall
         5,645,440 A    7/1997 Tobler et al .                             6,058,331 A     5/2000 King
         5,671,914 A    9/1997 Kalkhoran et al.                           6,066,204 A     5/2000 Haven
         5,676,143 A   10/1997 Simonsen et al .                           6,067,462 A     5/2000 Diab et al .
         5,685,299 A   11/1997 Diab et al .                               6,081,735 A     6/2000 Diab et al .
         5,687,717 A   11/1997 Halpern et al .                            6,088,607 A     7/2000 Diab et al .
         5,699,808 A   12/1997 John                                       6,102,856 A     8/2000 Groff et al .
         5,702,429 A   12/1997 King                                       6,110,522 A     8/2000 Lepper, Jr. et al .
         D390,666 S     2/1998 Lagerlof                                   6,115,673 A
                                                                          6,122,042 A
                                                                                          9/2000 Malin et al.
                                                                                          9/2000 Wunderman et al .
         5,719,557 A    2/1998 Rattman et al .
         5,726,440 A    3/1998 Kalkhoran et al.                           6,122,536 A     9/2000 Sun et al .
         5,729,203 A    3/1998 Oka et al.                                 6,124,597 A     9/2000 Shehada
         D393,830 S     4/1998 Tobler et al .                             6,126,595 A    10/2000 Amano et al .
         5,743,262 A    4/1998 Lepper, Jr. et al .                        6,128,521 A    10/2000 Marro et al .
         5,746,206 A    5/1998 Mannheimer et al .                         6,129,675 A    10/2000 Jay
         5,746,697 A    5/1998 Swedlow et al .                            6,133,871 A    10/2000 Krasner
         5,747,806 A    5/1998 Khalil et al .                             6,144,866 A    11/2000 Miesel et al .
         5,750,927 A    5/1998 Baltazar                                   6,144,868 A    11/2000 Parker
         5,750,994 A    5/1998 Schlager                                   6,151,516 A    11/2000 Kiani- Azarbayjany et al .
         5,752,914 A    5/1998 Delonzor et al .                           6,152,754 A    11/2000 Gerhardt et al .
         5,758,644 A    6/1998 Diab et al .                               6,157,850 A    12/2000 Diab et al .
         5,760,910 A    6/1998 Lepper, Jr. et al .                        6,165,005 A    12/2000 Mills et al .
         5,766,131 A    6/1998 Kondo et al .                              6,167,258 A    12/2000 Schmidt et al .
         5,769,785 A    6/1998 Diab et al .                               6,167,303 A    12/2000 Thompson
         5,782,757 A    7/1998 Diab et al .                               6,172,743 B1    1/2001 Kley et al .
         5,785,659 A    7/1998 Caro et al .                               6,175,752 B1    1/2001 Say et al .
         5,791,347 A    8/1998 Flaherty et al .                           6,178,343 B1    1/2001 Bindszus et al .
         5,792,052 A    8/1998 Isaacson et al.                            6,181,958 B1    1/2001 Steuer et al .
         5,795,300 A    8/1998 Bryars                                     6,184,521 B1    2/2001 Coffin , IV et al.
                                                            Stay-Add-779
                  Case: 24-1285                    Document: 7       Page: 831        Filed: 12/26/2023


                                                       US 10,945,648 B2
                                                            Page 4

( 56 )                  References Cited                               6,515,273 B2    2/2003 Al - Ali
                                                                       6,516,289 B2    2/2003 David et al .
                  U.S. PATENT DOCUMENTS                                6,519,487 B1    2/2003 Parker
                                                                       6,522,521 B2    2/2003 Mizuno et al .
         6,185,454 B1    2/2001 Thompson                               6,525,386 B1    2/2003 Mills et al .
         6,192,261 B1    2/2001 Gratton et al .                        6,526,300 B1    2/2003 Kiani et al .
         6,198,951 B1    3/2001 Kosuda et al .                         6,527,729 B1    3/2003 Turcott
         6,198,952 B1    3/2001 Miesel et al .                         6,534,012 B1    3/2003 Hazen et al .
         6,202,930 B1    3/2001 Plesko                                 6,541,756 B2    4/2003 Schulz et al.
         6,206,830 B1    3/2001 Diab et al .                           6,542,764 B1    4/2003 Al - Ali et al .
         6,223,063 B1    4/2001 Chaiken et al .                        6,553,242 B1    4/2003 Sarussi
         6,226,539 B1    5/2001 Potratz                                6,556,852 B1    4/2003 Schulze et al .
         6,229,856 B1    5/2001 Diab et al .                           6,580,086 B1    6/2003 Schulz et al.
         6,232,609 B1    5/2001 Snyder et al .                         6,584,336 B1    6/2003 Ali et al .
         6,236,872 B1    5/2001 Diab et al .                           6,587,196 B1    7/2003 Stippick et al .
         6,241,680 B1    6/2001 Miwa                                   6,587,199 B1    7/2003 Luu
         6,241,683 B1    6/2001 Macklem et al .                        6,595,316 B2    7/2003 Cybulski et al .
         6,241,684 B1    6/2001 Amano et al .                          6,596,016 B1    7/2003 Vreman et al .
         6,252,977 B1    6/2001 Salganicoff et al.                     6,597,932 B2    7/2003 Tian et al .
         6,253,097 B1    6/2001 Aronow et al .                         6,597,933 B2    7/2003 Kiani et al .
         6,255,708 B1    7/2001 Sudharsanan et al .                    6,606,509 B2    8/2003 Schmitt
         6,256,523 B1    7/2001 Diab et al .                           6,606,511 B1    8/2003 Ali et al.
         6,263,222 B1    7/2001 Diab et al .                           D481,459 S     10/2003 Nahm
         6,270,223 B1    8/2001 Del Bon et al .                        6,632,181 B2   10/2003 Flaherty et al .
         6,278,522 B1    8/2001 Lepper, Jr. et al .                    6,635,559 B2   10/2003 Greenwald et al .
         6,278,889 B1    8/2001 Robinson                               6,636,759 B2   10/2003 Robinson
         6,280,213 B1    8/2001 Tobler et al.                          6,639,668 B1   10/2003 Trepagnier
         6,280,381 B1    8/2001 Malin et al .                          6,639,867 B2   10/2003 Shim
         6,285,896 B1    9/2001 Tobler et al.                          6,640,116 B2   10/2003 Diab
         6,293,915 B1    9/2001 Amano et al .                          6,640,117 B2   10/2003 Makarewicz et al .
         6,297,906 B1   10/2001 Allen et al .                          6,643,530 B2   11/2003 Diab et al .
         6,297,969 B1   10/2001 Mottahed                               6,650,917 B2   11/2003 Diab et al .
         6,301,493 B1   10/2001 Marro et al .                          6,650,939 B2   11/2003 Takpke, II et al .
         6,304,766 B1   10/2001 Colvin , Jr.                           6,654,624 B2   11/2003 Diab et al .
         6,308,089 B1   10/2001 von der Ruhr et al .                   6,658,276 B2   12/2003 Kiani et al .
         6,317,627 B1   11/2001 Ennen et al .                          6,661,161 B1   12/2003 Lanzo et al .
         6,321,100 B1   11/2001 Parker                                 6,668,185 B2   12/2003 Toida
         D452,012 S     12/2001 Phillips                               6,671,526 B1   12/2003 Aoyagi et al .
         6,325,761 B1   12/2001 Jay                                    6,671,531 B2   12/2003 Al - Ali et al .
         6,334,065 B1   12/2001 Al - Ali et al .                       6,678,543 B2    1/2004 Diab et al .
         6,343,223 B1    1/2002 Chin et al .                           6,681,133 B2    1/2004 Chaiken et al .
         6,343,224 B1    1/2002 Parker                                 6,684,090 B2    1/2004 Ali et al.
         6,345,194 B1    2/2002 Nelson et al .                         6,684,091 B2    1/2004 Parker
         6,349,228 B1    2/2002 Kiani et al .                          6,694,157 B1    2/2004 Stone et al .
         6,351,217 B1    2/2002 Kuhn                                   6,697,656 B1    2/2004 Al - Ali
         6,353,750 B1    3/2002 Kimura et al .                         6,697,657 B1    2/2004 Shehada et al .
         6,356,203 B1    3/2002 Halleck et al.                         6,697,658 B2    2/2004 Al - Ali
         6,356,774 B1    3/2002 Bernstein et al .                      RE38,476 E      3/2004 Diab et al .
         6,360,113 B1    3/2002 Dettling                               6,699,194 B1    3/2004 Diab et al .
         6,360,114 B1    3/2002 Diab et al .                           6,714,803 B1    3/2004 Mortz
         6,360,115 B1    3/2002 Greenwald et al .                      6,714,804 B2    3/2004 Al - Ali et al .
         D455,834 S      4/2002 Donars et al .                         RE38,492 E      4/2004 Diab et al .
         6,368,283 B1    4/2002 Xu et al .                             6,721,582 B2    4/2004 Trepagnier et al .
         6,371,921 B1    4/2002 Caro et al .                           6,721,585 B1   4/2004 Parker
         6,377,829 B1    4/2002 Al - Ali                               6,725,075 B2   4/2004 Al - Ali
         6,388,240 B2    5/2002 Schulz et al .                         6,728,560 B2   4/2004 Kollias et al .
         6,393,311 B1    5/2002 Edgar et al.                           6,735,459 B2   5/2004 Parker
         6,396,873 B1    5/2002 Goldstein et al .                      6,738,652 B2   5/2004 Mattu et al.
         6,397,091 B2    5/2002 Diab et al .                           6,745,060 B2   6/2004 Diab et al .
         6,398,727 B1    6/2002 Bui et al .                            6,748,254 B2    6/2004 O'Neil et al .
         6,402,690 B1    6/2002 Rhee et al.                            6,751,283 B2    6/2004 van de Haar
         6,411,373 B1    6/2002 Garside et al.                         6,760,607 B2    7/2004 Al - Ali
         6,415,166 B1    7/2002 Van Hoy et al .                        6,770,028 B1    8/2004 Ali et al .
         6,415,167 B1    7/2002 Blank et al .                          6,771,994 B2    8/2004 Kiani et al .
         6,430,423 B2    8/2002 DeLonzor et al .                       6,785,568 B2    8/2004 Chance
         6,430,437 B1    8/2002 Marro                                  6,788,965 B2    9/2004 Ruchti et al .
         6,430,525 B1    8/2002 Weber et al .                          6,792,300 B1    9/2004 Diab et al .
         D463,561 S      9/2002 Fukatsu et al.                         6,801,799 B2   10/2004 Mendelson
         6,463,187 B1   10/2002 Baruch et al .                         6,811,535 B2   11/2004 Palti et al .
         6,463,311 B1   10/2002 Diab                                   6,813,511 B2   11/2004 Diab et al .
         6,470,199 B1   10/2002 Kopotic et al .                        6,816,010 B2   11/2004 Seetharaman et al .
         6,470,893 B1   10/2002 Boesen                                 6,816,241 B2   11/2004 Grubisic et al.
         6,473,008 B2   10/2002 Kelly et al .                          6,816,741 B2   11/2004 Diab
         6,475,153 B1   11/2002 Khair et al .                          6,822,564 B2   11/2004 Al - Ali
         6,487,429 B2   11/2002 Hockersmith et al .                    6,826,419 B2   11/2004 Diab et al .
         RE37,922 E     12/2002 Sharan                                 6,830,711 B2   12/2004 Mills et al .
         6,491,647 B1   12/2002 Bridger et al .                        6,831,266 B2   12/2004 Paritsky et al .
         6,501,975 B2   12/2002 Diab et al .                           6,850,787 B2    2/2005 Weber et al .
         6,505,059 B1    1/2003 Kollias et al .                        6,850,788 B2    2/2005 Al - Ali

                                                         Stay-Add-780
                  Case: 24-1285                    Document: 7           Page: 832        Filed: 12/26/2023


                                                       US 10,945,648 B2
                                                                Page 5

( 56 )                   References Cited                                  RE39,672 E
                                                                           7,227,156 B2
                                                                                           6/2007 Shehada et al .
                                                                                           6/2007 Colvin , Jr. et al.
                   U.S. PATENT DOCUMENTS                                   7,228,166 B1    6/2007 Kawasaki et al .
                                                                           7,230,227 B2    6/2007 Wilcken et al .
         6,852,083 B2 2/2005 Caro et al .                                  D547,454 S      7/2007 Hsieh
         6,853,304 B2 2/2005 Reisman                                       7,239,905 B2
                                                                           7,245,953 B1
                                                                                           7/2007 Kiani- Azarbayjany et al .
                                                                                           7/2007 Parker
         D502,655 S       3/2005 Huang
         6,861,639 B2   3/2005 Al - Ali                                    7,251,513 B2    7/2007 Kondoh et al .
         6,871,089 B2   3/2005 Korzinov et al .                            D549,830 S      8/2007 Behar et al.
         6,876,931 B2   4/2005 Lorenz et al .                              7,252,639 B2    8/2007 Kimura et al.
         6,882,872 B2   4/2005 Uchida et al .                              7,254,429 B2    8/2007 Schurman et al .
         6,897,788 B2    5/2005 Khair et al .                              7,254,431 B2    8/2007 Al - Ali
         6,898,452 B2    5/2005 Al - Ali et al .                           7,254,433 B2    8/2007 Diab et al .
         6,912,413 B2    6/2005 Rantala et al .                            7,254,434 B2    8/2007 Schulz et al.
         6,920,345 B2    7/2005 Al - Ali et al .                           D550,364 S      9/2007 Glover et al .
         D508,862 S      8/2005 Behar et al .                              D551,350 S      9/2007 Lorimer et al .
         6,931,268 B1    8/2005 Kiani -Azarbayjany et al .                 7,272,425 B2    9/2007 Al - Ali
         6,934,570 B2    8/2005 Kiani et al .                              7,274,955 B2    9/2007 Kiani et al .
         6,939,305 B2    9/2005 Flaherty et al.                            D553,248 S     10/2007 Nguyen
         6,943,348 B1    9/2005 Coffin , IV                                D554,263 S     10/2007 Al - Ali
         6,950,687 B2    9/2005 Al - Ali                                   7,280,858 B2   10/2007 Al - Ali et al .
         D510,625 S     10/2005 Widener et al .                            7,289,835 B2   10/2007 Mansfield et al .
         6,956,649 B2   10/2005 Acosta et al.                              7,292,883 B2   11/2007 De Felice et al .
         6,961,598 B2   11/2005 Diab                                       7,295,866 B2   11/2007 Al - Ali
         6,970,792 B1   11/2005 Diab                                       D562,985 S      2/2008 Brefka et al.
         6,979,812 B2   12/2005 Al - Ali                                   7,328,053 B1    2/2008 Diab et al .
         6,985,764 B2    1/2006 Mason et al .                              7,332,784 B2    2/2008 Mills et al .
         6,990,364 B2    1/2006 Ruchti et al .                             7,340,287 B2    3/2008 Mason et al .
         6,993,371 B2    1/2006 Kiani et al .                              7,341,559 B2    3/2008 Schulz et al .
         D514,461 S      2/2006 Harju                                      7,343,186 B2    3/2008 Lamego et al .
         6,995,400 B2   2/2006 Mizuyoshi                                   D566,282 S     4/2008 Al - Ali et al .
         6,996,427 B2    2/2006 Ali et al .                                D567,125 S     4/2008 Okabe et al .
         6,997,879 B1    2/2006 Turcott                                    7,355,512 B1   4/2008 Al - Ali
         6,998,247 B2    2/2006 Monfre et al .                             7,356,365 B2   4/2008 Schurman
         6,999,685 B1    2/2006 Kawase et al.                              7,365,923 B2    4/2008 Hargis et al .
         6,999,904 B2   2/2006 Weber et al .                               D569,001 S      5/2008 Omaki
         7,003,338 B2   2/2006 Weber et al .                               D569,521 S      5/2008 Omaki
         7,003,339 B2   2/2006 Diab et al .                                7,371,981 B2    5/2008 Abdul- Hafiz
         7,015,451 B2   3/2006 Dalke et al.                                7,373,193 B2    5/2008 Al - Ali et al .
         7,024,233 B2   4/2006 Ali et al .                                 7,373,194 B2    5/2008 Weber et al .
         7,026,619 B2   4/2006 Cranford                                    7,376,453 B1    5/2008 Diab et al .
         7,027,849 B2   4/2006 Al - Ali                                    7,377,794 B2    5/2008 Al Ali et al .
         7,030,749 B2   4/2006 Al - Ali                                    7,377,899 B2    5/2008 Weber et al .
         7,031,728 B2   4/2006 Beyer, Jr.                                  7,383,070 B2    6/2008 Diab et al .
         7,039,449 B2    5/2006 Al - Ali                                   7,395,158 B2    7/2008 Monfre et al .
         7,041,060 B2    5/2006 Flaherty et al .                           7,395,189 B2    7/2008 Qing et al.
         7,044,918 B2    5/2006 Diab                                       7,415,297 B2    8/2008 Al - Ali et al .
         7,046,347 B1    5/2006 Amend et al .                              7,428,432 B2    9/2008 Ali et al.
         7,047,054 B2    5/2006 Benni                                      7,438,683 B2   10/2008 Al - Ali et al .
         7,048,687 B1    5/2006 Reuss et al.                               7,440,787 B2   10/2008 Diab
         7,060,963 B2    6/2006 Maegawa et al.                             7,454,240 B2   11/2008 Diab et al .
         7,061,595 B2    6/2006 Cabuz et al .                              7,467,002 B2   12/2008 Weber et al .
         7,062,307 B2    6/2006 Norris et al .                             7,469,157 B2   12/2008 Diab et al .
         7,067,893 B2    6/2006 Mills et al .                              7,471,969 B2   12/2008 Diab et al .
         D526,719 S      8/2006 Richie , Jr. et al .                       7,471,971 B2   12/2008 Diab et al .
         7,088,040 B1    8/2006 Ducharme et al .                           7,483,729 B2    1/2009 Al - Ali et al .
         7,092,735 B2    8/2006 Osann , Jr.                                7,483,730 B2    1/2009 Diab et al .
         7,092,757 B2    8/2006 Larson et al .                             7,489,958 B2    2/2009 Diab et al .
         7,096,052 B2    8/2006 Mason et al .                              7,496,391 B2    2/2009 Diab et al .
         7,096,054 B2    8/2006 Abdul -Hafiz et al .                       7,496,393 B2    2/2009 Diab et al .
         7,107,706 B1    9/2006 Bailey, Sr. et al .                        D587,657 S      3/2009 Al - Ali et al .
         7,109,490 B2    9/2006 Fuchs et al .                              7,499,741 B2    3/2009 Diab et al .
         7,113,815 B2    9/2006 O'Neil et al.                              7,499,835 B2    3/2009 Weber et al .
         D529,616 S     10/2006 Deros et al .                              7,500,950 B2    3/2009 Al - Ali et al .
         7,130,672 B2   10/2006 Pewzner et al .                            7,509,153 B2    3/2009 Blank et al.
         7,132,641 B2   11/2006 Schulz et al .                             7,509,154 B2    3/2009 Diab et al .
         7,133,710 B2   11/2006 Acosta et al .                             7,509,494 B2    3/2009 Al - Ali
         7,142,901 B2   11/2006 Kiani et al .                              7,510,849 B2    3/2009 Schurman et al .
         7,149,561 B2   12/2006 Diab                                       7,514,725 B2    4/2009 Wojtczuk et al .
         D535,031 S      1/2007 Barrett et al .                            7,519,327 B2    4/2009 White
         D537,164 S      2/2007 Shigemori et al .                          7,519,406 B2    4/2009 Blank et al.
         7,186,966 B2   3/2007 Al - Ali                                    7,526,328 B2    4/2009 Diab et al .
         7,190,261 B2   3/2007 Al - Ali                                    D592,507 S      5/2009 Wachman et al .
         7,215,984 B2    5/2007 Diab                                       7,530,942 B1    5/2009 Diab
         7,215,986 B2    5/2007 Diab                                       7,530,949 B2    5/2009 Al Ali et al .
         7,220,254 B2    5/2007 Altshuler et al .                          7,530,955 B2    5/2009 Diab et al .
         7,221,971 B2    5/2007 Diab                                       7,558,622 B2    7/2009 Tran
         7,225,006 B2    5/2007 Al - Ali et al .                           7,563,110 B2    7/2009 Al - Ali et al .
         7,225,007 B2    5/2007 Al - Ali                                   7,593,230 B2    9/2009 Abul-Haj et al.
                                                             Stay-Add-781
                  Case: 24-1285                    Document: 7       Page: 833          Filed: 12/26/2023


                                                       US 10,945,648 B2
                                                            Page 6

( 56 )                   References Cited                              8,000,761 B2      8/2011 Al - Ali
                                                                       8,008,088 B2      8/2011 Bellott et al.
                   U.S. PATENT DOCUMENTS                               RE42,753 E        9/2011 Kiani - Azarbayjany et al.
                                                                       8,019,400 B2      9/2011   Diab et al .
         7,596,398 B2 9/2009 Al - Ali et al .                          8,028,701 B2     10/2011   Al - Ali et al .
         7,601,123 B2 10/2009 Tweed et al .                            8,029,765 B2     10/2011   Bellott et al.
         7,606,606 B2 10/2009 Laakkonen                                8,036,727 B2     10/2011   Schurman et al .
         7,606,608 B2   10/2009 Blank et al.                           8,036,728 B2     10/2011   Diab et al .
         D603,966 S     11/2009 Jones et al .                          8,040,758 B1     10/2011   Dickinson
         7,613,490 B2   11/2009 Sarussi et al .                        8,044,998 B2     10/2011   Heenan
         7,618,375 B2   11/2009 Flaherty                               8,046,040 B2     10/2011   Ali et al .
         7,620,674 B2   11/2009 Ruchti et al .                         8,046,041 B2     10/2011   Diab et al .
         D606,659 S     12/2009 Kiani et al .                          8,046,042 B2     10/2011   Diab et al .
         7,629,039 B2   12/2009 Eckerbom et al .                       8,048,040 B2     11/2011   Kiani
         7,640,140 B2   12/2009 Ruchti et al .                         8,050,728 B2     11/2011   Al - Ali et al .
         7,647,083 B2    1/2010 Al - Ali et al .                       8,071,935 B2     12/2011 Besko et al .
         D609,193 S      2/2010 Al - Ali et al .                       RE43,169 E        2/2012 Parker
         7,656,393 B2    2/2010 King et al .                           8,118,620 B2      2/2012 Al - Ali et al .
         7,657,294 B2    2/2010 Eghbal et al .                         8,126,528 B2      2/2012 Diab et al .
         7,657,295 B2    2/2010 Coakley et al .                        8,126,531 B2      2/2012 Crowley
         7,657,296 B2    2/2010 Raridan et al .                        8,128,572 B2      3/2012 Diab et al .
         7,658,613 B1    2/2010 Griffin et al .                        8,130,105 B2      3/2012 Al - Ali et al .
         7,676,253 B2    3/2010 Raridan , Jr.                          8,145,287 B2      3/2012 Diab et al .
         7,683,926 B2    3/2010 Schechterman et al.                    8,150,487 B2      4/2012 Diab et al .
         D614,305 S      4/2010 Al - Ali et al .                       8,165,662 B2      4/2012 Cinbis et al .
         7,697,966 B2    4/2010 Monfre et al .                         8,175,672 B2      5/2012 Parker
         7,698,105 B2    4/2010 Ruchti et al .                         8,177,720 B2      5/2012 Nanba et al .
         7,698,909 B2    4/2010 Hannula et al .                        8,180,420 B2      5/2012 Diab et al .
         RE41,317 E      5/2010 Parker                                 8,182,443 B1      5/2012 Kiani
         RE41,333 E      5/2010 Blank et al .                          8,185,180 B2      5/2012 Diab et al .
         7,726,209 B2    6/2010 Ruotoistenmäki                         8,190,223 B2      5/2012 Al - Ali et al .
         7,729,733 B2    6/2010 Al - Ali et al .                       8,190,227 B2      5/2012 Diab et al .
         7,734,320 B2    6/2010 Al - Ali                               8,203,438 B2      6/2012 Kiani et al .
         7,740,588 B1    6/2010 Sciarra                                8,203,704 B2      6/2012 Merritt et al .
         7,740,589 B2    6/2010 Maschke et al .                        8,204,566 B2      6/2012 Schurman et al .
         7,761,127 B2    7/2010 Al - Ali et al .                       8,219,170 B2      7/2012 Hausmann et al .
         7,761,128 B2    7/2010 Al - Ali et al .                       8,219,172 B2      7/2012 Schurman et al .
         7,764,982 B2    7/2010 Dalke al.                              8,224,411 B2      7/2012 Al - Ali et al .
         7,764,983 B2    7/2010 Mannheimer et al .                     8,228,181 B2      7/2012 Al - Ali
         D621,516 S      8/2010 Kiani et al .                          8,229,532 B2      7/2012 Davis
         7,791,155 B2    9/2010 Diab                                   8,229,533 B2      7/2012 Diab et al .
         7,801,581 B2    9/2010 Diab                                   8,233,955 B2      7/2012 Al - Ali et al .
         7,809,418 B2   10/2010 Xu                                     8,244,325 B2      8/2012 Al - Ali et al .
         7,822,452 B2   10/2010 Schurman et al .                       8,244,326 B2      8/2012 Ninomiya et al .
         RE41,912 E     11/2010 Parker                                 8,255,026 B1      8/2012 Al - Ali
         7,844,313 B2   11/2010 Kiani et al .                          8,255,027 B2      8/2012 Al - Ali et al .
         7,844,314 B2   11/2010 Al - Ali                               8,255,028 B2      8/2012 Al - Ali et al .
         7,844,315 B2   11/2010 Al - Ali                               8,260,577 B2      9/2012 Weber et al .
         7,862,523 B2    1/2011 Ruotoistenmaki                         8,265,723 B1      9/2012 McHale et al .
         7,865,222 B2    1/2011 Weber et al .                          8,274,360 B2      9/2012 Sampath et al.
         7,869,849 B2    1/2011 Ollerdessen et al .                    8,280,473 B2     10/2012 Al - Ali
         7,873,497 B2    1/2011 Weber et al .                          8,289,130 B2     10/2012 Nakajima et al .
         7,880,606 B2    2/2011 Al - Ali                               8,301,217 B2     10/2012 Al -Ali et al .
         7,880,626 B2    2/2011 Al - Ali et al .                       8,306,596 B2     11/2012 Schurman et al .
         7,884,314 B2    2/2011 Hamada                                 8,310,336 B2     11/2012 Muhsin et al .
         7,891,355 B2    2/2011 Al - Ali et al .                       8,315,683 B2     11/2012 Al - Ali et al .
         7,894,868 B2    2/2011 Al - Ali et al .                       RE43,860 E       12/2012 Parker
         7,899,506 B2    3/2011 Xu et al .                             8,280,469 B2     12/2012 Baker, Jr.
         7,899,507 B2    3/2011 Al - Ali et al .                       8,332,006 B2     12/2012 Naganuma et al .
         7,899,510 B2    3/2011 Hoarau                                 8,337,403 B2     12/2012 Al - Ali et al .
         7,899,518 B2    3/2011 Trepagnier et al .                     8,343,026 B2      1/2013 Gardiner et al .
         7,904,130 B2    3/2011 Raridan , Jr.                          8,346,330 B2      1/2013 Lamego
         7,904,132 B2    3/2011 Weber et al .                          8,352,003 B2 *    1/2013 Sawada               A61B 5/0261
         7,909,772 B2    3/2011 Popov et al .                                                                            600/310
         7,910,875 B2    3/2011 Al - Ali                               8,353,842 B2      1/2013 Al - Ali et al .
         7,918,779 B2    4/2011 Haber et al.                           8,355,766 B2      1/2013 MacNeish et al .
         7,919,713 B2    4/2011 Al - Ali et al .                       8,359,080 B2      1/2013 Diab et al .
         7,937,128 B2    5/2011 Al - Ali                               8,364,223 B2      1/2013 Al - Ali et al .
         7,937,129 B2    5/2011 Mason et al .                          8,364,226 B2      1/2013 Diab et al .
         7,937,130 B2    5/2011 Diab et al .                           8,364,389 B2      1/2013 Dorogusker et al .
         7,941,199 B2    5/2011 Kiani                                  8,374,665 B2      2/2013 Lamego
         7,951,086 B2    5/2011 Flaherty et al .                       8,374,825 B2      2/2013 Vock et al .
         7,957,780 B2    6/2011 Lamego et al .                         8,380,272 B2      2/2013 Barrett et al .
         7,962,188 B2    6/2011 Kiani et al .                          8,385,995 B2      2/2013 Al - ali et al.
         7,962,190 B1    6/2011 Diab et al .                           8,385,996 B2      2/2013 Smith et al.
         7,976,472 B2    7/2011 Kiani                                  8,388,353 B2      3/2013 Kiani et al .
         7,988,637 B2    8/2011 Diab                                   8,399,822 B2      3/2013 Al - Ali
         7,990,382 B2    8/2011 Kiani                                  8,401,602 B2      3/2013 Kiani
         7,991,446 B2    8/2011 Ali et al .                            8,405,608 B2      3/2013 Al - Ali et al .

                                                         Stay-Add-782
                  Case: 24-1285                    Document: 7       Page: 834        Filed: 12/26/2023


                                                       US 10,945,648 B2
                                                            Page 7

( 56 )                  References Cited                               8,712,494 B1    4/2014 MacNeish , III et al .
                                                                       8,715,206 B2    5/2014 Telfort et al .
                  U.S. PATENT DOCUMENTS                                8,718,735 B2    5/2014 Lamego et al.
                                                                       8,718,737 B2    5/2014 Diab et al .
         8,414,499 B2    4/2013 Al - Ali et al .                       8,718,738 B2    5/2014 Blank et al.
         8,418,524 B2    4/2013 Al - Ali                               8,720,249 B2    5/2014 Al - Ali
         8,421,022 B2    4/2013 Rozenfeld                              8,721,541 B2    5/2014 Al - Ali et al .
         8,423,106 B2    4/2013 Lamego et al .                         8,721,542 B2    5/2014 Al - Ali et al .
         8,428,674 B2    4/2013 Duffy et al.                           8,723,677 B1    5/2014 Kiani
         8,428,967 B2    4/2013 Olsen et al .                          8,740,792 B1    6/2014 Kiani et al .
         8,430,817 B1    4/2013 Al - Ali et al .                       8,754,776 B2    6/2014 Poeze et al.
         8,437,825 B2    5/2013 Dalvi et al .                          8,755,535 B2    6/2014 Telfort et al .
         8,452,364 B2    5/2013 Hannula et al .                        8,755,856 B2    6/2014 Diab et al .
         8,455,290 B2    6/2013 Siskavich                              8,755,872 B1    6/2014 Marinow
         8,457,703 B2    6/2013 Al - Ali                               8,760,517 B2    6/2014 Sarwar et al .
         8,457,707 B2    6/2013 Kiani                                  8,761,850 B2    6/2014 Lamego
         8,463,349 B2    6/2013 Diab et al .                           8,764,671 B2    7/2014 Kiani
         8,466,286 B2    6/2013 Bellot et al .                         8,768,423 B2    7/2014 Shakespeare et al.
         8,471,713 B2    6/2013 Poeze et al.                           8,768,426 B2    7/2014 Haisley et al.
         8,473,020 B2    6/2013 Kiani et al .                          8,771,204 B2    7/2014 Telfort et al .
         8,483,787 B2    7/2013 Al - Ali et al .                       8,777,634 B2    7/2014 Kiani et al .
         8,487,256 B2    7/2013 Kwong et al .                          8,781,543 B2    7/2014 Diab et al .
         8,489,364 B2    7/2013 Weber et al .                          8,781,544 B2    7/2014 Al - Ali et al .
         8,496,595 B2    7/2013 Jornod                                 8,781,549 B2    7/2014 Al - Ali et al .
         8,498,684 B2    7/2013 Weber et al .                          8,788,003 B2    7/2014 Schurman et al .
         8,504,128 B2    8/2013 Blank et al .                          8,790,268 B2    7/2014 Al - Ali
         8,509,867 B2    8/2013 Workman et al.                         8,801,613 B2    8/2014 Al - Ali et al .
         8,515,509 B2    8/2013 Bruinsma et al .                       8,821,397 B2    9/2014 Al - Ali et al .
         8,515,511 B2    8/2013 Boutelle                               8,821,415 B2    9/2014 Al - Ali et al .
         8,515,515 B2    8/2013 McKenna et al .                        8,830,449 B1    9/2014 Lamego et al .
         8,523,781 B2    9/2013 Al - Ali                               8,831,700 B2    9/2014 Schurman et al .
         8,529,301 B2    9/2013 Al - Ali et al .                       8,838,210 B2    9/2014 Wood et al .
         8,532,727 B2    9/2013 Ali et al .                            8,840,549 B2    9/2014 Al - Ali et al .
         8,532,728 B2    9/2013 Diab et al .                           8,847,740 B2    9/2014 Kiani et al .
         D692,145 S     10/2013 Al - Ali et al .                       8,849,365 B2    9/2014 Smith et al .
         8,547,209 B2   10/2013 Kiani et al .                          8,852,094 B2   10/2014 Al - Ali et al .
         8,548,548 B2   10/2013 Al - Ali                               8,852,994 B2   10/2014 Wojtczuk et al .
         8,548,549 B2   10/2013 Schurman et al .                       8,868,147 B2   10/2014 Stippick et al .
         8,548,550 B2   10/2013 Al - Ali et al .                       8,868,150 B2   10/2014 Al - Ali et al .
         8,560,032 B2   10/2013 Al - Ali et al .                       8,870,792 B2   10/2014 Al - Ali et al .
         8,560,034 B1   10/2013 Diab et al .                           8,886,271 B2   11/2014 Kiani et al .
         8,570,167 B2   10/2013 Al - Ali                               8,888,539 B2   11/2014 Al - Ali et al .
         8,570,503 B2   10/2013 Vo                                     8,888,701 B2   11/2014 LeBoeuf et al.
         8,571,617 B2   10/2013 Reichgott et al.                       8,888,708 B2   11/2014 Diab et al .
         8,571,618 B1   10/2013 Lamego et al.                          8,892,180 B2   11/2014 Weber et al .
         8,571,619 B2   10/2013 Al - Ali et al .                       8,897,847 B2   11/2014 Al - Ali
         8,577,431 B2   11/2013 Lamego et al.                          8,909,310 B2   12/2014 Lamego et al .
         8,581,732 B2   11/2013 Al - Ali et al .                       8,911,377 B2   12/2014 Al - Ali
         8,584,345 B2   11/2013 Al - Ali et al .                       8,912,909 B2   12/2014 Al - Ali et al .
         8,588,880 B2   11/2013 Abdul- Hafiz et al.                    8,920,317 B2   12/2014 Al - Ali et al .
         8,591,426 B2   11/2013 Onoe et al .                           8,920,332 B2   12/2014 Hong et al .
         8,600,467 B2   12/2013 Al - Ali et al .                       8,921,699 B2   12/2014 Al - Ali et al .
         8,600,494 B2   12/2013 Schroeppel et al .                     8,922,382 B2   12/2014 Al - Ali et al .
         8,602,971 B2   12/2013 Farr                                   8,929,964 B2    1/2015 Al - Ali et al .
         8,606,342 B2   12/2013 Diab                                   8,929,967 B2    1/2015 Mao et al .
         8,611,095 B2   12/2013 Kwong et al.                           8,942,777 B2    1/2015 Diab et al .
         8,615,290 B2   12/2013 Lin et al .                            8,948,834 B2    2/2015 Diab et al .
         8,626,255 B2    1/2014 Al - Ali et al .                       8,948,835 B2    2/2015 Diab
         8,630,691 B2    1/2014 Lamego et al .                         8,965,471 B2    2/2015 Lamego
         8,634,889 B2    1/2014 Al - Ali et al .                       8,983,564 B2   3/2015 Al - Ali
         8,641,631 B2    2/2014 Sierra et al.                          8,989,831 B2   3/2015 Al - Ali et al .
         8,652,060 B2    2/2014 Al - Ali                               8,996,085 B2   3/2015 Kiani et al .
         8,655,004 B2    2/2014 Prest et al .                          8,998,809 B2   4/2015 Kiani
         8,663,107 B2    3/2014 Kiani                                  9,005,129 B2   4/2015 Venkatraman et al.
         8,666,468 B1    3/2014 Al - Ali                               9,028,429 B2    5/2015 Telfort et al .
         8,667,967 B2    3/2014 Al - Ali et al .                       9,037,207 B2    5/2015 Al - Ali et al .
         8,668,643 B2    3/2014 Kinast                                 9,060,721 B2    6/2015 Reichgott et al .
         8,670,811 B2    3/2014 O'Reilly                               9,063,160 B2    6/2015 Stamler et al .
         8,670,814 B2   3/2014 Diab et al .                            9,066,666 B2    6/2015 Kiani
         8,676,286 B2   3/2014 Weber et al .                           9,066,680 B1    6/2015 Al - Ali et al .
         8,682,407 B2   3/2014 Al - Ali                                9,072,437 B2    7/2015 Paalasmaa
         RE44,823 E     4/2014 Parker                                  9,072,474 B2    7/2015 Al - Ali et al .
         RE44,875 E     4/2014 Kiani et al .                           9,078,560 B2    7/2015 Schurman et al .
         8,688,183 B2   4/2014 Bruinsma et al .                        9,081,889 B2    7/2015 Ingrassia, Jr. et al .
         8,690,799 B2   4/2014 Telfort et al .                         9,084,569 B2    7/2015 Weber et al .
         8,700,111 B2   4/2014 LeBoeuf et al .                         9,095,316 B2    8/2015 Welch et al .
         8,700,112 B2   4/2014 Kiani                                   9,106,038 B2    8/2015 Telfort et al .
         8,702,627 B2   4/2014 Telfort et al .                         9,107,625 B2    8/2015 Telfort et al .
         8,706,179 B2   4/2014 Parker                                  9,107,626 B2    8/2015 Al - Ali et al .

                                                         Stay-Add-783
                  Case: 24-1285                    Document: 7       Page: 835        Filed: 12/26/2023


                                                       US 10,945,648 B2
                                                            Page 8

( 56 )                  References Cited                               9,560,996 B2    2/2017 Kiani
                                                                       9,560,998 B2    2/2017 Al - Ali et al .
                  U.S. PATENT DOCUMENTS                                9,566,019 B2    2/2017 Al - Ali et al .
                                                                       9,579,039 B2    2/2017 Jansen et al .
         9,113,831 B2    8/2015 Al - Ali                               9,591,975 B2    3/2017 Dalvi et al .
         9,113,832 B2    8/2015 Al - Ali                               9,593,969 B2    3/2017 King
         9,119,595 B2    9/2015 Lamego                                 9,622,692 B2    4/2017 Lamego et al .
         9,131,881 B2    9/2015 Diab et al .                           9,622,693 B2    4/2017 Diab
         9,131,882 B2    9/2015 Al - Ali et al .                       D788,312 S      5/2017 Al - Ali et al .
         9,131,883 B2    9/2015 Al - Ali                               9,636,055 B2    5/2017 Al - Ali et al .
         9,131,917 B2    9/2015 Telfort et al .                        9,636,056 B2    5/2017 Al - Ali
         9,138,180 B1    9/2015 Coverston et al .                      9,649,054 B2    5/2017 Lamego et al .
         9,138,182 B2    9/2015 Al - Ali et al .                       9,651,405 B1    5/2017 Gowreesunker et al .
         9,138,192 B2    9/2015 Weber et al .                          9,662,052 B2    5/2017 Al - Ali et al .
         9,142,117 B2    9/2015 Muhsin et al .                         9,668,676 B2    6/2017 Culbert
         9,153,112 B1   10/2015 Kiani et al .                          9,668,679 B2    6/2017 Schurman et al .
         9,153,121 B2   10/2015 Kiani et al .                          9,668,680 B2    6/2017 Bruinsma et al .
         9,161,696 B2   10/2015 Al - Ali et al .                       9,668,703 B2    6/2017 Al - Ali
         9,161,713 B2   10/2015 Al - Ali et al .                       9,675,286 B2    6/2017 Diab
         9,167,995 B2   10/2015 Lamego et al .                         9,681,812 B2    6/2017 Presura
         9,176,141 B2   11/2015 Al - Ali et al .                       9,684,900 B2    6/2017 Motoki et al .
         9,186,102 B2   11/2015 Bruinsma et al .                       9,687,160 B2    6/2017 Kiani
         9,192,312 B2   11/2015 Al - Ali                               9,693,719 B2    7/2017 Al - Ali et al .
         9,192,329 B2   11/2015 Al - Ali                               9,693,737 B2    7/2017 Al - Ali
         9,192,351 B1   11/2015 Telfort et al .                        9,697,928 B2    7/2017 Al - Ali et al .
         9,195,385 B2   11/2015 Al - Ali et al .                       9,699,546 B2    7/2017 Qian et al .
         9,210,566 B2   12/2015 Ziemianska et al .                     9,700,249 B2    7/2017 Johnson et al .
         9,211,072 B2   12/2015 Kiani                                  9,716,937 B2    7/2017 Qian et al .
         9,211,095 B1   12/2015 Al - Ali                               9,717,425 B2    8/2017 Kiani et al .
         9,218,454 B2   12/2015 Kiani et al .                          9,717,448 B2    8/2017 Frix et al.
         9,226,696 B2    1/2016 Kiani                                  9,717,458 B2    8/2017 Lamego et al .
         9,241,662 B2    1/2016 Al - Ali et al .                       9,723,997 B1    8/2017 Lamego
         9,245,668 B1    1/2016 Vo et al .                             9,724,016 B1    8/2017 Al - Ali et al .
         9,259,185 B2    2/2016 Abdul- Hafiz et al.                    9,724,024 B2    8/2017 Al - Ali
         9,267,572 B2    2/2016 Barker et al .                         9,724,025 B1    8/2017 Kiani et al .
         9,277,880 B2    3/2016 Poeze et al.                           9,730,640 B2    8/2017 Diab et al .
         9,289,167 B2    3/2016 Diab et al .                           9,743,887 B2    8/2017 Al - Ali et al .
         9,295,421 B2    3/2016 Kiani et al .                          9,749,232 B2    8/2017 Sampath et al.
         9,307,928 B1    4/2016 Al - Ali et al .                       9,750,442 B2    9/2017 Olsen
         9,311,382 B2    4/2016 Varoglu et al.                         9,750,443 B2    9/2017 Smith et al.
         9,323,894 B2   4/2016 Kiani                                   9,750,461 B1    9/2017 Telfort
         D755,392 S      5/2016 Hwang et al .                          9,752,925 B2    9/2017 Chu et al .
         9,326,712 B1    5/2016 Kiani                                  9,775,545 B2   10/2017 Al - Ali et al .
         9,333,316 B2    5/2016 Kiani                                  9,775,546 B2   10/2017 Diab et al .
         9,339,220 B2    5/2016 Lamego et al .                         9,775,570 B2   10/2017 Al - Ali
         9,339,236 B2    5/2016 Frix et al .                           9,778,079 B1   10/2017 Al - Ali et al .
         9,341,565 B2    5/2016 Lamego et al .                         9,781,984 B2   10/2017 Baranski et al .
         9,351,673 B2    5/2016 Diab et al .                           9,782,077 B2   10/2017 Lamego et al .
         9,351,675 B2    5/2016 Al - Ali et al .                       9,782,110 B2   10/2017 Kiani
         9,357,665 B2    5/2016 Myers et al .                          9,787,568 B2   10/2017 Lamego et al .
         9,364,181 B2    6/2016 Kiani et al .                          9,788,735 B2   10/2017 Al - Ali
         9,368,671 B2    6/2016 Wojtczuk et al.                        9,788,768 B2   10/2017 Al - Ali et al .
         9,370,325 B2    6/2016 Al - Ali et al .                       9,795,300 B2   10/2017 Al - Ali
         9,370,326 B2    6/2016 McHale et al .                         9,795,310 B2   10/2017 Al - Ali
         9,370,335 B2    6/2016 Al - ali et al .                       9,795,358 B2   10/2017 Telfort et al .
         9,375,185 B2    6/2016 Ali et al .                            9,795,739 B2   10/2017 Al - Ali et al .
         9,386,953 B2    7/2016 Al - Ali                               9,801,556 B2   10/2017 Kiani
         9,386,961 B2    7/2016 Al - Ali et al .                       9,801,588 B2   10/2017 Weber et al .
         9,392,945 B2    7/2016 Al - Ali et al .                       9,808,188 B1   11/2017 Perea et al .
         9,397,448 B2    7/2016 Al - Ali et al .                       9,814,418 B2   11/2017 Weber et al .
         9,408,542 B1    8/2016 Kinast et al .                         9,820,691 B2   11/2017 Kiani
         9,436,645 B2    9/2016 Al - Ali et al .                       9,833,152 B2   12/2017 Kiani et al .
         9,445,759 B1    9/2016 Lamego et al .                         9,833,180 B2   12/2017 Shakespeare et al .
         9,466,919 B2   10/2016 Kiani et al .                          9,838,775 B2   12/2017 Qian et al .
         9,474,474 B2   10/2016 Lamego et al .                         9,839,379 B2   12/2017 Al - Ali et al .
         9,480,422 B2   11/2016 Al - Ali                               9,839,381 B1   12/2017 Weber et al .
         9,480,435 B2   11/2016 Olsen                                  9,847,002 B2   12/2017 Kiani et al .
         9,489,081 B2   11/2016 Anzures et al .                        9,847,749 B2   12/2017 Kiani et al .
         9,492,110 B2   11/2016 Al - Ali et al .                       9,848,800 B1   12/2017 Lee et al .
         9,497,534 B2   11/2016 Prest et al .                          9,848,806 B2   12/2017 Al - Ali et al .
         9,510,779 B2   12/2016 Poeze et al.                           9,848,807 B2   12/2017 Lamego
         9,517,024 B2   12/2016 Kiani et al .                          9,848,823 B2   12/2017 Raghuram et al.
         9,526,430 B2   12/2016 Srinivas et al .                       9,861,298 B2    1/2018 Eckerbom et al .
         9,532,722 B2    1/2017 Lamego et al .                         9,861,304 B2    1/2018 Al - Ali et al .
         9,538,949 B2    1/2017 Al - Ali et al .                       9,861,305 B1    1/2018 Weber et al .
         9,538,980 B2    1/2017 Telfort et al .                        9,866,671 B1    1/2018 Thompson et al.
         9,549,696 B2    1/2017 Lamego et al .                         9,867,575 B2    1/2018 Maani et al .
         9,553,625 B2    1/2017 Hatanaka et al .                       9,867,578 B2    1/2018 Al - Ali et al .
         9,554,737 B2    1/2017 Schurman et al .                       9,872,623 B2    1/2018 Al - Ali

                                                         Stay-Add-784
                   Case: 24-1285                    Document: 7         Page: 836        Filed: 12/26/2023


                                                          US 10,945,648 B2
                                                               Page 9

( 56 )                   References Cited                                10,219,706 B2    3/2019 Al - Ali
                                                                         10,219,746 B2    3/2019 McHale et al .
                   U.S. PATENT DOCUMENTS                                 10,219,754 B1    3/2019 Lamego
                                                                         10,226,187 B2    3/2019 Al - Ali et al .
         9,876,320 B2     1/2018 Coverston et al .                       10,226,576 B2    3/2019 Kiani
         9,877,650 B2     1/2018 Muhsin et al .                          10,231,657 B2    3/2019 Al - Ali et al .
         9,877,686 B2     1/2018 Al - Ali et al .                        10,231,670 B2    3/2019 Blank et al.
         9,891,079 B2     2/2018 Dalvi                                   10,231,676 B2    3/2019 Al - Ali et al .
         9,891,590 B2     2/2018 Shim et al .                             RE47,353 E      4/2019 Kiani et al .
         9,895,107 B2     2/2018 Al - Ali et al .                        10,247,670 B2    4/2019 Ness et al .
         9,898,049 B2     2/2018 Myers et al .                           10,251,585 B2    4/2019 Al - Ali et al .
         9,913,617 B2     3/2018 Al - Ali et al .                        10,251,586 B2   4/2019 Lamego
         9,918,646 B2     3/2018 Singh Alvarado et al .                  10,255,994 B2   4/2019 Sampath et al.
         9,924,893 B2     3/2018 Schurman et al.                         10,258,265 B1    4/2019 Poeze et al .
         9,924,897 B1     3/2018 Abdul -Hafiz                            10,258,266 B1    4/2019 Poeze et al.
         9,936,917 B2     4/2018 Poeze et al .                           10,265,024 B2   4/2019 Lee et al .
         9,943,269 B2     4/2018 Muhsin et al .                          10,271,748 B2   4/2019 Al - Ali
         9,949,676 B2     4/2018 Al - Ali                                10,278,626 B2   5/2019 Schurman et al .
         9,952,095 B1     4/2018 Hotelling et al .                       10,278,648 B2    5/2019 Al - Ali et al .
         9,955,937 B2     5/2018 Telfort                                 10,279,247 B2    5/2019 Kiani
         9,965,946 B2     5/2018 Al - Ali                                10,285,626 B1    5/2019 Kestelli et al.
         9,980,667 B2     5/2018 Kiani et al .                           10,292,628 B1    5/2019 Poeze et al.
         D820,865 S       6/2018 Muhsin et al .                          10,292,657 B2    5/2019 Abdul-Hafiz et al .
          9,986,919 B2    6/2018 Lamego et al .                          10,292,664 B2    5/2019 Al - Ali
          9,986,952 B2    6/2018 Dalvi et al .                           10,299,708 B1    5/2019 Poeze et al.
          9,989,560 B2    6/2018 Poeze et al .                           10,299,709 B2    5/2019 Perea et al .
          9,993,207 B2    6/2018 Al - Ali et al .                        10,299,720 B2    5/2019 Brown et al.
         10,007,758 B2    6/2018 Al - Ali et al .                        10,305,775 B2    5/2019 Lamego et al .
         D822,215 S       7/2018 Al - Ali et al .                        10,307,111 B2    6/2019 Muhsin et al .
         D822,216 S       7/2018 Barker et al .                          10,325,681 B2    6/2019 Sampath et al.
         10,010,276 B2    7/2018 Al - Ali et al .                        10,327,337 B2    6/2019 Triman et al .
         10,024,655 B2    7/2018 Raguin et al .                          10,327,713 B2    6/2019 Barker et al.
         10,032,002 B2    7/2018 Kiani et al .                           10,332,630 B2    6/2019 Al - Ali
         10,039,080 B2    7/2018 Miller et al .                          10,335,033 B2    7/2019 Al - Ali
         10,039,482 B2    8/2018 Al - Ali et al .                        10,335,068 B2    7/2019 Poeze et al.
         10,039,491 B2    8/2018 Thompson et al.                         10,335,072 B2    7/2019 Al - Ali et al .
         10,052,037 B2    8/2018 Kinast et al .                          10,342,470 B2    7/2019 Al - Ali et al .
         10,055,121 B2    8/2018 Chaudhri et al .                        10,342,487 B2    7/2019 Al - Ali et al .
         10,058,275 B2    8/2018 Al - Ali et al .                        10,342,497 B2    7/2019 Al - Ali et al .
         10,064,562 B2    9/2018 Al - Ali                                10,349,895 B2    7/2019 Telfort et al .
         10,066,970 B2    9/2018 Gowreesunker et al .                    10,349,898 B2    7/2019 Al - Ali et al .
         10,076,257 B2    9/2018 Lin et al .                             10,354,504 B2    7/2019 Kiani et al .
         10,078,052 B2    9/2018 Ness et al .                            10,357,206 B2    7/2019 Weber et al .
         10,086,138 B1   10/2018 Novak , Jr.                             10,357,209 B2    7/2019 Al - Ali
         10,092,200 B2   10/2018 Al - Ali et al .                        10,366,787 B2    7/2019 Sampath et al.
         10,092,244 B2   10/2018 Chuang et al.                           10,368,787 B2    8/2019 Reichgott et al .
         10,092,249 B2   10/2018 Kiani et al .                           10,376,190 B1    8/2019 Poeze et al .
         10,098,550 B2   10/2018 Al - Ali et al .                        10,376,191 B1    8/2019 Poeze et al.
         10,098,591 B2   10/2018 Al - Ali et al .                        10,383,520 B2    8/2019 Wojtczuk et al .
         10,098,610 B2   10/2018 Al - Ali et al .                        10,383,527 B2    8/2019 Al - Ali
         10,111,591 B2   10/2018 Dyell et al .                           10,388,120 B2    8/2019 Muhsin et al .
          D833,624 S     11/2018 DeJong et al .                          10,390,716 B2    8/2019 Shimuta
         10,117,587 B2   11/2018 Han                                     10,398,320 B2    9/2019 Kiani et al .
         10,123,726 B2   11/2018 Al - Ali et al .                        10,398,383 B2    9/2019 van Dinther et al .
         10,123,729 B2   11/2018 Dyell et al .                           10,405,804 B2    9/2019 Al - Ali
         10,130,289 B2   11/2018 Al - Ali et al .                        10,406,445 B2    9/2019 Vock et al .
         10,130,291 B2   11/2018 Schurman et al .                        10,413,666 B2    9/2019 Al - Ali et al .
          D835,282 S     12/2018 Barker et al .                          10,416,079 B2    9/2019 Magnussen et al.
          D835,283 S     12/2018 Barker et al .                          10,420,493 B2    9/2019 Al - Ali et al .
          D835,284 S     12/2018 Barker et al .                           D864,120 S     10/2019 Forrest et al .
          D835,285 S     12/2018 Barker et al .                          10,433,776 B2   10/2019 Al - Ali
         10,149,616 B2   12/2018 Al - Ali et al .                        10,441,181 B1   10/2019 Telfort et al .
         10,154,815 B2   12/2018 Al - Ali et al .                        10,441,196 B2   10/2019 Eckerbom et al .
         10,159,412 B2   12/2018 Lamego et al.                           10,448,844 B2   10/2019 Al - Ali et al .
         10,165,954 B2    1/2019 Lee                                     10,448,871 B2   10/2019 Al - Ali
         10,188,296 B2    1/2019 Al - Ali et al .                        10,456,038 B2   10/2019 Lamego et al .
         10,188,331 B1    1/2019 Kiani et al .                           10,463,284 B2   11/2019 Al - Ali et al .
         10,188,348 B2    1/2019 Al - Ali et al .                        10,463,340 B2   11/2019 Telfort et al .
          RE47,218 E      2/2019 Ali - Ali                               10,470,695 B2   11/2019 Al - Ali
          RE47,244 E      2/2019 Kiani et al .                           10,471,159 B1   11/2019 Lapotko et al .
          RE47,249 E      2/2019 Kiani et al .                           10,478,107 B2   11/2019 Kiani et al .
         10,194,847 B2    2/2019 Al - Ali                                10,503,379 B2   12/2019 Al - Ali et al .
         10,194,848 B1    2/2019 Kiani et al .                           10,505,311 B2   12/2019 Al - Ali et al .
         10,201,286 B2    2/2019 Waydo                                   10,512,436 B2   12/2019 Muhsin et al .
         10,201,298 B2    2/2019 Al - Ali et al .                        10,524,671 B2    1/2020 Lamego
         10,205,272 B2    2/2019 Kiani et al .                           10,524,706 B2    1/2020 Telfort et al .
         10,205,291 B2    2/2019 Scruggs et al .                         10,524,738 B2    1/2020 Olsen
         10,213,108 B2    2/2019 Al - Ali                                10,531,811 B2    1/2020 Al - Ali et al .
         10,215,698 B2    2/2019 Han et al.                              10,531,819 B2    1/2020 Diab et al .

                                                            Stay-Add-785
                   Case: 24-1285                    Document: 7     Page: 837         Filed: 12/26/2023


                                                         US 10,945,648 B2
                                                              Page 10

( 56 )                    References Cited                          2005/0054940 A1
                                                                    2005/0055276 Al
                                                                                       3/2005 Almen
                                                                                       3/2005 Kiani et al .
                    U.S. PATENT DOCUMENTS                           2005/0075548 A1    4/2005 Al - Ali et al .
                                                                    2005/0075553 A1    4/2005 Sakai et al .
         10,531,835 B2 1/2020 Al - Ali et al .                      2005/0116820 A1    6/2005 Goldreich
         10,532,174 B2 1/2020 Al - Ali                              2005/0192490 A1    9/2005 Yamamoto et al .
         10,537,285 B2 1/2020 Shreim et al .                        2005/0197555 A1    9/2005 Mouradian et al .
         10,542,903 B2    1/2020 Al - Ali et al .                   2005/0234317 A1   10/2005 Kiani
         10,548,561 B2    2/2020 Telfort et al .                    2005/0276164 Al   12/2005 Amron
         10,555,678 B2    2/2020 Dalvi et al .                      2005/0288592 Al   12/2005 Yamamoto
         10,568,514 B2    2/2020 Wojtczuk et al .                   2006/0005944 Al    1/2006 Wang et al .
         10,568,553 B2    2/2020 O'Neil et al.                      2006/0009607 Al    1/2006 Lutz et al .
          RE47,882 E      3/2020 Al - Ali                           2006/0009688 A1    1/2006 Lamego et al .
         10,575,779 B2    3/2020 Poeze et al.                       2006/0020180 A1    1/2006 Al - Ali
         10,582,886 B2    3/2020 Poeze et al.                       2006/0025659 Al    2/2006 Kiguchi et al .
         10,588,518 B2    3/2020 Kiani                              2006/0041198 Al    2/2006 Kondoh et al .
         10,588,553 B2    3/2020 Poeze et al.                       2006/0073719 Al   4/2006 Kiani
         10,588,554 B2    3/2020 Poeze et al.                       2006/0089557 A1    4/2006 Grajales et al .
         10,588,556 B2    3/2020 Kiani et al .                      2006/0161054 A1    7/2006 Reuss et al.
         10,595,747 B2    3/2020 Al - Ali et al .                   2006/0182659 Al    8/2006 Unlu et al.
         10,608,817 B2   3/2020 Haider et al .                      2006/0189871 A1    8/2006 Al - Ali et al .
          D880,477 S     4/2020 Forrest et al .                     2006/0217608 Al    9/2006 Fein et al .
         10,610,138 B2   4/2020 Poeze et al.                        2006/0226992 Al   10/2006 Al - Ali et al .
         10,617,302 B2   4/2020 Al - Ali et al .                    2006/0247531 A1   11/2006 Pogue et al .
         10,617,335 B2   4/2020 Al - Ali et al .                    2006/0253010 Al   11/2006 Brady et al.
         10,617,338 B2   4/2020 Poeze et al .                       2006/0258928 Al   11/2006 Ortner et al .
         10,624,563 B2   4/2020 Poeze et al.                        2006/0270919 A1   11/2006 Brenner
         10,624,564 B1   4/2020 Poeze et al .                       2007/0038049 A1    2/2007 Huang
         10,631,765 B1   4/2020 Poeze et al.                        2007/0055119 Al    3/2007 Lash et al .
         10,637,181 B2   4/2020 Al - Ali et al .                    2007/0073116 Al    3/2007 Kiani et al .
         10,638,961 B2   5/2020 Al - Ali                            2007/0073117 Al    3/2007 Raridan
         10,646,146 B2   5/2020 Al - Ali                            2007/0093786 Al    4/2007 Goldsmith et al .
          D887,548 S     6/2020 Abdul-Hafiz et al.                  2007/0100222 Al    5/2007 Mastrototaro et al .
          D887,549 S     6/2020 Abdul -Hafiz et al .                2007/0106172 A1    5/2007 Abreu
         10,667,764 B2   6/2020 Ahmed et al .                       2007/0145255 A1    6/2007 Nishikawa et al .
         10,687,743 B1   6/2020 Al - Ali                            2007/0149864 Al    6/2007 Laakkonen
         10,687,744 B1    6/2020 Al - Ali                           2007/0180140 A1    8/2007 Welch et al .
         10,687,745 B1    6/2020 Al - Ali                           2007/0191691 A1    8/2007 Polanco
          D890,708 S      7/2020 Forrest et al .                    2007/0197886 Al    8/2007 Naganuma et al .
         10,702,194 B1    7/2020 Poeze et al.                       2007/0208395 A1    9/2007 Leclerc et al .
         10,702,195 B1    7/2020 Poeze et al.                       2007/0238955 Al   10/2007 Tearney et al.
         10,709,366 B1    7/2020 Poeze et al.                       2007/0244377 A1   10/2007 Cozad et al .
         10,721,785 B2    7/2020 Al - Ali                           2007/0249916 Al   10/2007 Pesach et al .
         10,722,159 B2    7/2020 Al - Ali                           2007/0260130 A1   11/2007 Chin
         10,736,518 B2    8/2020 Al - Ali et al .                   2007/0282178 A1   12/2007 Scholler et al .
         10,750,984 B2    8/2020 Pauley et al .                     2007/0293792 Al   12/2007 Sliwa et al .
         10,779,098 B2    9/2020 Iswanto et al.                     2008/0004513 A1    1/2008 Walker et al .
 2001/0034477 A1         10/2001 Mansfield et al .                  2008/0015424 Al    1/2008 Bernreuter
 2001/0034479 Al         10/2001 Ring et al .                       2008/0031497 A1    2/2008 Kishigami et al.
 2001/0039483 Al         11/2001 Brand et al.                       2008/0064965 Al    3/2008 Jay et al .
 2001/0056243 A1         12/2001 Ohsaki et al .                     2008/0076980 A1    3/2008 Hoarau
 2002/0010401 A1         1/2002 Bushmakin et al .                   2008/0076993 Al    3/2008 Ostrowski
 2002/0045836 Al         4/2002 Alkawwas                            2008/0081966 A1   4/2008 Debreczeny
 2002/0058864 Al          5/2002 Mansfield et al .                  2008/0094228 A1    4/2008 Welch et al .
 2002/0099279 A1          7/2002 Pfeiffer et al .                   2008/0097172 A1    4/2008 Sawada et al.
 2002/0111546 A1          8/2002 Cook et al .                       2008/0122796 A1    5/2008 Jobs et al .
 2002/0133080 A1          9/2002 Apruzzese et al.                   2008/0130232 Al    6/2008 Yamamoto
 2002/0188210 A1         12/2002 Aizawa                             2008/0139908 Al    6/2008 Kurth
 2003/0013975 A1          1/2003 Kiani                              2008/0190436 Al    8/2008 Jaffe et al .
 2003/0018243 Al          1/2003 Gerhardt et al .                   2008/0194932 Al    8/2008 Ayers et al .
 2003/0036690 A1          2/2003 Geddes et al .                     2008/0221418 A1    9/2008 Al - Ali et al .
 2003/0078504 A1          4/2003 Rowe                               2008/0221426 A1    9/2008 Baker et al.
 2003/0088162 A1          5/2003 Yamamoto et al .                   2008/0221463 A1    9/2008 Baker
 2003/0098969 Al          5/2003 Katz et al .                       2008/0242958 A1   10/2008 Al - Ali et al .
 2003/0100840 A1          5/2003 Sugiura et al.                     2008/0262325 Al   10/2008 Lamego
 2003/0144582 A1          7/2003 Cohen et al .                      2008/0319290 A1   12/2008 Mao et al .
 2003/0156288 A1          8/2003 Barnum et al .                     2009/0024013 A1    1/2009 Soller
 2003/0158501 A1          8/2003 Uchida et al .                     2009/0030327 Al    1/2009 Chance
 2003/0212312 A1         11/2003 Coffin , IV et al .                2009/0036759 Al    2/2009 Ault et al .
 2004/0054290 A1          3/2004 Chance                             2009/0043180 A1    2/2009 Tschautscher et al .
 2004/0054291 A1          3/2004 Schulz et al .                     2009/0093687 Al    4/2009 Telfort et al .
 2004/0106163 Al          6/2004 Workman , Jr. et al .              2009/0095926 A1    4/2009 MacNeish , III
 2004/0114783 A1          6/2004 Spycher et al .                    2009/0129102 A1    5/2009 Xiao et al .
 2004/0132197 Al          7/2004 Zahniser et al .                   2009/0156918 A1    6/2009 Davis et al.
 2004/0133081 A1          7/2004 Teller et al .                     2009/0163775 A1    6/2009 Barrett et al .
 2004/0138568 A1          7/2004 Lo et al .                         2009/0163783 Al    6/2009 Mannheimer et al .
 2004/0152957 A1          8/2004 Stivoric et al.                    2009/0163787 Al    6/2009 Mannheimer et al .
 2004/0220738 A1         11/2004 Nissila                            2009/0177097 A1    7/2009 Ma et al .
 2005/0020927 Al          1/2005 Blondeau et al .                   2009/0187085 A1    7/2009 Pav

                                                           Stay-Add-786
              Case: 24-1285                    Document: 7        Page: 838         Filed: 12/26/2023


                                                   US 10,945,648 B2
                                                        Page 11

( 56 )              References Cited                              2014/0034353 Al
                                                                  2014/0051953 A1
                                                                                     2/2014 Al - Ali et al .
                                                                                     2/2014 Lamego et al .
              U.S. PATENT DOCUMENTS                               2014/0051955 Al    2/2014 Tiao et al .
                                                                  2014/0058230 A1    2/2014 Abdul - Hafiz et al .
 2009/0234206 Al     9/2009 Gaspard et al .                       2014/0073887 A1    3/2014 Petersen et al .
 2009/0247885 Al    10/2009 Suzuki et al.                         2014/0073960 A1    3/2014 Rodriguez - Llorente et al .
 2009/0247984 Al    10/2009 Lamego et al .                        2014/0077956 A1    3/2014 Sampath et al .
 2009/0259114 A1    10/2009 Johnson et al .                       2014/0081100 A1    3/2014 Muhsin et al .
 2009/0270699 Al    10/2009 Scholler et al .                      2014/0081175 Al    3/2014 Telfort
 2009/0275813 A1    11/2009 Davis                                 2014/0094667 Al    4/2014 Schurman et al .
 2009/0275844 Al    11/2009 Al - Ali                              2014/0100434 A1    4/2014 Diab et al .
 2009/0306487 Al    12/2009 Crowe et al .                         2014/0107493 Al    4/2014 Yuen et al .
 2009/0326346 A1    12/2009 Kracker et al .                       2014/0114199 A1    4/2014 Lamego et al .
 2010/0004518 Al     1/2010 Vo et al .                            2014/0120564 A1    5/2014 Workman et al .
 2010/0030040 A1     2/2010 Poeze et al.                          2014/0121482 A1    5/2014 Merritt et al .
 2010/0030043 A1     2/2010 Kuhn                                  2014/0121483 A1    5/2014 Kiani
 2010/0099964 Al     4/2010 O'Reilly et al.                       2014/0127137 Al    5/2014 Bellott et al.
 2010/0113948 A1     5/2010 Yang et al .                          2014/0129702 A1    5/2014 Lamego et al .
 2010/0130841 A1     5/2010 Ozawa et al.                          2014/0135588 A1    5/2014 Al - Ali et al .
 2010/0210925 A1     8/2010 Holley et al .                        2014/0142401 A1    5/2014 Al - Ali et al .
 2010/0234718 A1     9/2010 Sampath et al.                        2014/0163344 A1    6/2014 Al - Ali
 2010/0270257 Al    10/2010 Wachman et al .                       2014/0163402 A1    6/2014 Lamego et al .
 2010/0305416 Al    12/2010 Bedard et al .                        2014/0166076 A1    6/2014 Kiani et al .
  2011/0001605 Al    1/2011 Kiani et al .                         2014/0171146 A1    6/2014 Ma et al .
  2011/0003665 A1    1/2011 Burton et al.                         2014/0171763 A1    6/2014 Diab
  2011/0004079 Al    1/2011 Al - Ali et al .                      2014/0180154 A1    6/2014 Sierra et al.
  2011/0004106 A1    1/2011 Iwamiya et al.                        2014/0180160 A1    6/2014 Brown et al.
  2011/0028806 Al    2/2011 Merritt et al .                       2014/0187973 Al    7/2014 Brown et al .
  2011/0028809 Al    2/2011 Goodman                               2014/0192177 Al    7/2014 Bartula et al .
  2011/0040197 Al    2/2011 Welch et al .                         2014/0194709 A1    7/2014 Al - Ali et al .
  2011/0082711 A1    4/2011 Poeze et al .                         2014/0194711 Al    7/2014 Al - Ali
  2011/0085721 Al    4/2011 Guyon et al .                         2014/0194766 A1    7/2014 Al - Ali et al .
  2011/0087081 A1    4/2011 Kiani et al .                         2014/0206954 A1    7/2014 Yuen et al .
  2011/0105854 Al    5/2011 Kiani et al .                         2014/0206963 Al    7/2014 Al - Ali
  2011/0105865 Al    5/2011 Yu et al .                            2014/0213864 Al    7/2014 Abdul - Hafiz et al .
  2011/0118561 A1    5/2011 Tari et al .                          2014/0221854 Al    8/2014 Wai
  2011/0137297 A1    6/2011 Kiani et al .                         2014/0243627 Al    8/2014 Diab et al .
  2011/0172498 Al    7/2011 Olsen et al .                         2014/0266790 A1    9/2014 Al - Ali et al .
  2011/0208015 Al    8/2011 Welch et al .                         2014/0275808 Al    9/2014 Poeze et al.
  2011/0213212 A1    9/2011 Al - Ali                              2014/0275871 A1    9/2014 Lamego et al .
  2011/0230733 Al    9/2011 Al - Ali                              2014/0275872 A1    9/2014 Merritt et al .
  2011/0237911 A1    9/2011 Lamego et al .                        2014/0275881 A1    9/2014 Lamego et al .
  2011/0245697 Al   10/2011 Miettinen                             2014/0276013 A1    9/2014 Muehlemann et al .
 2012/0059267 A1     3/2012 Lamego et al .                        2014/0276116 A1    9/2014 Takahashi et al .
 2012/0078069 Al     3/2012 Melker                                2014/0288400 A1    9/2014 Diab et al .
 2012/0123231 A1     5/2012 O'Reilly                              2014/0296664 A1   10/2014 Bruinsma et al .
 2012/0150052 A1     6/2012 Buchheim et al .                      2014/0303520 A1   10/2014 Telfort et al .
 2012/0165629 Al     6/2012 Merritt et al .                       2014/0316217 Al   10/2014 Purdon et al .
 2012/0179006 A1     7/2012 Jansen et al .                        2014/0316218 A1   10/2014 Purdon et al .
 2012/0197093 A1     8/2012 LeBoeuf et al .                       2014/0316228 Al   10/2014 Blank et al .
 2012/0197137 Al     8/2012 Jeanne et al .                        2014/0323825 A1   10/2014 Al - Ali et al .
 2012/0209084 Al     8/2012 Olsen et al .                         2014/0323897 A1   10/2014 Brown et al.
 2012/0226117 A1     9/2012 Lamego et al .                        2014/0323898 Al   10/2014 Purdon et al .
 2012/0227739 A1     9/2012 Kiani                                 2014/0330098 Al   11/2014 Merritt et al .
 2012/0283524 A1    11/2012 Kiani et al .                         2014/0330099 A1   11/2014 Al - Ali et al .
 2012/0296178 A1    11/2012 Lamego et al .                        2014/0333440 A1   11/2014 Kiani
 2012/0319816 A1    12/2012 Al - Ali                              2014/0336481 A1   11/2014 Shakespeare et al .
 2012/0330112 A1    12/2012 Lamego et al .                        2014/0343436 Al   11/2014 Kiani
 2013/0018233 A1     1/2013 Cinbis et al .                        2014/0357966 A1   12/2014 Al - Ali et al .
 2013/0023775 A1     1/2013 Lamego et al .                        2014/0361147 Al   12/2014 Fei
 2013/0041591 Al     2/2013 Lamego                                2014/0378844 Al   12/2014 Fei
 2013/0045685 Al     2/2013 Kiani                                 2015/0005600 A1    1/2015 Blank et al.
 2013/0046204 Al     2/2013 Lamego et al .                        2015/0011907 A1    1/2015 Purdon et al .
 2013/0060147 A1     3/2013 Welch et al .                         2015/0018650 A1    1/2015 Al - Ali et al .
 2013/0085346 Al     4/2013 Lin et al .                           2015/0032029 Al    1/2015 Al - Ali et al .
 2013/0096405 Al     4/2013 Garfio                                2015/0065889 Al    3/2015 Gandelman et al .
 2013/0096936 A1     4/2013 Sampath et al.                        2015/0073235 A1    3/2015 Kateraas et al .
 2013/0131474 Al     5/2013 Gu et al .                            2015/0073241 A1    3/2015 Lamego
 2013/0190581 Al     7/2013 Al - Ali et al .                      2015/0080754 A1    3/2015 Purdon et al .
 2013/0197328 A1     8/2013 Diab et al .                          2015/0087936 A1    3/2015 Al - Ali et al .
 2013/0204112 A1     8/2013 White et al.                          2015/0094546 A1    4/2015 Al - Ali
 2013/0211214 A1     8/2013 Olsen                                 2015/0099950 A1    4/2015 Al - Ali et al .
 2013/0243021 A1     9/2013 Siskavich                             2015/0101844 A1    4/2015 Al - Ali et al .
 2013/0296672 A1    11/2013 O'Neil et al.                         2015/0106121 A1    4/2015 Muhsin et al .
 2013/0324808 A1    12/2013 Al - Ali et al .                      2015/0119725 Al    4/2015 Martin et al.
 2013/0331670 A1    12/2013 Kiani                                 2015/0173671 Al    6/2015 Paalasmaa et al .
 2013/0338461 Al    12/2013 Lamego et al .                        2015/0196249 Al    7/2015 Brown et al .
 2013/0345921 Al    12/2013 Al - Ali et al .                      2015/0216459 Al    8/2015 Al - Ali et al .
 2014/0012100 A1     1/2014 Al - Ali et al .                      2015/0255001 A1    9/2015 Haughav et al .

                                                     Stay-Add-787
             Case: 24-1285                    Document: 7      Page: 839             Filed: 12/26/2023


                                                   US 10,945,648 B2
                                                         Page 12

( 56 )             References Cited                            2017/0147774 A1        5/2017 Kiani
                                                               2017/0164884 Al        6/2017 Culbert et al .
             U.S. PATENT DOCUMENTS                             2017/0172435 Al        6/2017 Presura
                                                               2017/0172476 A1       6/2017 Schilthuizen
 2015/0257689 Al    9/2015 Al - Ali et al .                    2017/0173632 A1       6/2017 Al - Ali
 2015/0281424 A1   10/2015 Vock et al .                        2017/0196464 A1       7/2017 Jansen et al .
 2015/0318100 A1   11/2015 Rothkopf et al .                    2017/0196470 A1        7/2017 Lamego et al .
 2015/0351697 Al   11/2015 Weber et al .                       2017/0202505 A1        7/2017 Kirenko et al .
 2015/0351704 A1   12/2015 Kiani et al .                       2017/0209095 A1        7/2017 Wagner et al.
 2015/0366472 A1   12/2015 Kiani                               2017/0228516 Al        8/2017 Sampath et al.
 2015/0366507 A1   12/2015 Blank                               2017/0245790 A1        8/2017 Al - Ali et al .
 2015/0374298 A1   12/2015 Al - Ali et al .                    2017/0248446 A1        8/2017 Gowreesunker et al .
 2015/0380875 Al   12/2015 Coverston et al .                   2017/0251974 Al        9/2017 Shreim et al .
 2016/0000362 A1    1/2016 Diab et al .                        2017/0273619 A1        9/2017 Alvarado et al .
 2016/0007930 A1    1/2016 Weber et al .                       2017/0281024 Al       10/2017 Narasimhan et al .
 2016/0019360 A1    1/2016 Pahwa et al .                       2017/0293727 Al       10/2017 Klaassen et al .
 2016/0022160 A1    1/2016 Pi et al .                          2017/0311891 Al       11/2017 Kiani et al .
 2016/0023245 Al    1/2016 Zadesky et al .                     2017/0325698 Al       11/2017 Allec et al .
 2016/0029932 A1    2/2016 Al - Ali                            2017/0325744 A1       11/2017 Allec et al .
 2016/0029933 A1    2/2016 Al - Ali et al .                    2017/0340209 Al       11/2017 Klaassen et al .
 2016/0038045 Al    2/2016 Shapiro                             2017/0340219 Al       11/2017 Sullivan et al .
 2016/0041531 A1    2/2016 Mackie et al .                      2017/0340293 A1       11/2017 Al - Ali et al .
 2016/0045118 A1    2/2016 Kiani                               2017/0347885 Al       12/2017 Tan et al .
 2016/0051157 A1    2/2016 Waydo                               2017/0354332 A1       12/2017 Lamego
 2016/0051158 Al    2/2016 Silva                               2017/0354795 A1       12/2017 Blahnik et al .
 2016/0051205 A1    2/2016 Al - Ali et al .                    2017/0358239 A1       12/2017 Arney et al .
 2016/0058302 A1    3/2016 Raghuram et al .                    2017/0358240 A1       12/2017 Blahnik et al .
 2016/0058309 A1    3/2016 Han                                 2017/0358242 A1       12/2017 Thompson et al.
 2016/0058310 Al    3/2016 Iijima                              2017/0360306 A1       12/2017 Narasimhan et al .
 2016/0058312 Al    3/2016 Han et al .                         2017/0366657 A1       12/2017 Thompson et al .
 2016/0058338 A1    3/2016 Schurman et al .                    2018/0008146 A1        1/2018 Al - Ali et al .
 2016/0058356 A1    3/2016 Raghuram et al .                    2018/0014781 A1        1/2018 Clavelle et al .
 2016/0058370 A1    3/2016 Raghuram et al .                    2018/0025287 Al        1/2018 Mathew et al .
 2016/0066823 Al    3/2016 Al - Ali et al .                    2018/0042556 Al        2/2018 Shahparnia et al.
 2016/0066824 A1    3/2016 Al - Ali et al .                    2018/0049694 A1        2/2018 Singh Alvarado et al .
 2016/0066879 A1    3/2016 Telfort et al .                     2018/0050235 Al        2/2018 Tan et al .
 2016/0071392 Al    3/2016 Hankey et al.                       2018/0055375 Al        3/2018 Martinez et al .
 2016/0072429 A1    3/2016 Kiani et al .                       2018/0055390 A1       3/2018 Kiani
 2016/0073967 A1    3/2016 Lamego et al .                      2018/0055439 Al        3/2018 Pham et al .
 2016/0106367 Al    4/2016 Jorov et al .                       2018/0056129 A1        3/2018 Narasimha Rao et al .
 2016/0113527 Al    4/2016 Al - Ali et al .                    2018/0064381 A1        3/2018 Shakespeare et al .
 2016/0143548 Al    5/2016 Al - Ali                            2018/0070867 A1        3/2018 Smith et al .
 2016/0154950 A1    6/2016 Nakajima et al.                     2018/0078151 A1        3/2018 Allec et al .
 2016/0157780 A1    6/2016 Rimminen et al.                     2018/0078182 Al       3/2018 Chen et al .
 2016/0166210 Al    6/2016 Al - Ali                            2018/0082767 Al       3/2018 Al - Ali et al .
 2016/0192869 Al    7/2016 Kiani et al .                       2018/0085068 A1       3/2018 Telfort
 2016/0196388 A1    7/2016 Lamego                              2018/0087937 A1       3/2018 Al - Ali et al .
 2016/0197436 A1    7/2016 Barker et al .                      2018/0103874 A1       4/2018 Lee et al .
 2016/0213281 A1    7/2016 Eckerbom et al .                    2018/0103905 Al       4/2018 Kiani
 2016/0213309 A1    7/2016 Sannholm et al .                    2018/0110469 Al       4/2018 Maani et al .
 2016/0256058 Al    9/2016 Pham et al .                        2018/0125368 Al        5/2018 Lamego et al.
 2016/0256082 A1    9/2016 Ely et al .                         2018/0125430 A1        5/2018 Al - Ali et al .
 2016/0267238 A1    9/2016 Nag                                 2018/0132769 Al        5/2018 Weber et al .
 2016/0270735 A1    9/2016 Diab et al .                        2018/0146901 A1       5/2018 Al - Ali et al .
 2016/0283665 A1    9/2016 Sampath et al.                      2018/0146902 A1       5/2018 Kiani et al .
 2016/0287107 Al   10/2016 Szabados et al .                    2018/0153418 Al       6/2018 Sullivan et al .
 2016/0287181 A1   10/2016 Han et al.                          2018/0153442 A1       6/2018 Eckerbom et al .
 2016/0287786 A1   10/2016 Kiani                               2018/0153446 A1       6/2018 Kiani
 2016/0296173 Al   10/2016 Culbert                             2018/0153448 A1        6/2018 Weber et al .
 2016/0296174 Al   10/2016 Isikman et al .                     2018/0164853 Al        6/2018 Myers et al .
 2016/0310027 A1   10/2016 Han                                 2018/0168491 Al        6/2018 Al - Ali et al .
 2016/0314260 A1   10/2016 Kiani                               2018/0184917 A1       7/2018 Kiani
 2016/0327984 A1   11/2016 Al - Ali et al .                    2018/0192924 A1       7/2018 Al - Ali
 2016/0367173 A1   12/2016 Dalvi et al .                       2018/0192953 Al       7/2018 Shreim et al .
 2016/0378069 Al   12/2016 Rothkopf                            2018/0196514 Al        7/2018 Allec et al .
 2016/0378071 A1   12/2016 Rothkopf                            2018/0199871 A1        7/2018 Pauley et al.
 2017/0007183 A1    1/2017 Dusan et al .                       2018/0206795 A1        7/2018 Al - Ali
 2017/0010858 Al    1/2017 Prest et al .                       2018/0206815 Al        7/2018 Telfort
 2017/0014083 Al    1/2017 Diab et al .                        2018/0213583 A1        7/2018 Al - Ali
 2017/0024748 Al    1/2017 Haider                              2018/0214090 A1        8/2018 Al - Ali et al .
 2017/0042488 A1    2/2017 Muhsin                              2018/0216370 A1        8/2018 Ishiguro et al .
 2017/0055896 A1    3/2017 Al - Ali et al .                    2018/0218792 A1        8/2018 Muhsin et al .
 2017/0074897 A1    3/2017 Mermel et al .                      2018/0225960 A1        8/2018 Al - Ali et al .
 2017/0084133 Al    3/2017 Cardinali et al .                       2018/0228414 Al    8/2018 Shao et al .
 2017/0086689 Al    3/2017 Shui et al .                            2018/0238718 Al    8/2018 Dalvi
 2017/0086742 Al    3/2017 Harrison - Noonan et al .               2018/0238734 A1    8/2018 Hotelling et al .
 2017/0086743 A1    3/2017 Bushnell et al .                        2018/0242853 A1    8/2018 Al - Ali
 2017/0094450 Al    3/2017 Tu et al .                              2018/0242923 Al    8/2018 Al - Ali et al .
 2017/0143281 Al    5/2017 Olsen                                   2018/0242926 Al    8/2018 Muhsin et al .

                                                       Stay-Add-788
              Case: 24-1285                    Document: 7    Page: 840         Filed: 12/26/2023


                                                   US 10,945,648 B2
                                                        Page 13

( 56 )              References Cited                          2020/0015716 A1
                                                              2020/0021930 A1
                                                                                 1/2020 Poeze et al.
                                                                                 1/2020 Iswanto et al .
              U.S. PATENT DOCUMENTS                           2020/0037453 A1    1/2020 Triman et al .
                                                              2020/0037891 A1    2/2020 Kiani et al .
 2018/0247353 A1     8/2018 Al - Ali et al .                  2020/0037966 A1    2/2020 Al - Ali
 2018/0247712 A1     8/2018 Muhsin et al .                    2020/0046257 Al    2/2020 Eckerbom et al .
 2018/0256087 A1     9/2018 Al - Ali et al .                  2020/0054253 A1    2/2020 Al - Ali et al .
 2018/0279956 A1    10/2018 Waydo et al.                      2020/0060591 A1    2/2020 Diab et al .
 2018/0285094 A1    10/2018 Housel et al .                    2020/0060628 A1    2/2020 Al - Ali et al .
 2018/0296161 A1    10/2018 Shreim et al .                    2020/0060629 Al    2/2020 Muhsin et al .
 2018/0300919 Al    10/2018 Muhsin et al .                    2020/0060869 Al    2/2020 Telfort et al .
 2018/0310822 A1    11/2018 Indorf et al .                    2020/0074819 Al    3/2020 Muhsin et al .
 2018/0310823 Al    11/2018 Al - Ali et al .                  2020/0111552 Al    4/2020 Ahmed
 2018/0317826 A1    11/2018 Muhsin                            2020/0113435 A1    4/2020 Muhsin
 2018/0317841 A1    11/2018 Novak , Jr.                       2020/0113488 Al    4/2020 Al - Ali et al .
 2018/0333055 Al    11/2018 Lamego et al .                    2020/0113496 A1    4/2020 Scruggs et al .
 2018/0333087 Al    11/2018 Al - Ali                          2020/0113497 Al    4/2020 Triman et al .
 2019/0000317 A1     1/2019 Muhsin et al .                    2020/0113520 A1    4/2020 Abdul -Hafiz et al .
 2019/0015023 A1     1/2019 Monfre                            2020/0138288 A1    5/2020 Al - Ali et al .
 2019/0029574 Al     1/2019 Schurman et al .                  2020/0138368 A1    5/2020 Kiani et al .
 2019/0029578 Al     1/2019 Al - Ali et al .                  2020/0163597 A1    5/2020 Dalvi et al .
 2019/0058280 A1     2/2019 Al - Ali et al .                  2020/0196877 Al    6/2020 Vo et al .
 2019/0069813 Al     3/2019 Al - Ali                          2020/0196882 Al    6/2020 Kiani et al .
 2019/0076028 A1     3/2019 Al - Ali et al .                  2020/0221980 A1    7/2020 Poeze et al.
 2019/0082979 A1     3/2019 Al - Ali et al .                  2020/0253474 A1    8/2020 Muhsin et al .
 2019/0090760 A1     3/2019 Kinast et al .                    2020/0253544 Al    8/2020 Belur Nagaraj et al .
 2019/0090764 Al     3/2019 Al - Ali                          2020/0275841 A1    9/2020 Telfort et al .
 2019/0117070 A1     4/2019 Muhsin et al .                    2020/0288983 A1    9/2020 Telfort et al .
 2019/0117139 A1     4/2019 Al - Ali et al .
  2019/0117141 Al   4/2019 Al - Ali                                    FOREIGN PATENT DOCUMENTS
 2019/0117930 A1     4/2019 Al - Ali
 2019/0122763 A1     4/2019 Sampath et al.                   CN          101564290          10/2009
 2019/0133525 A1     5/2019 Al - Ali et al .                 CN          101484065          11/2011
 2019/0142283 Al     5/2019 Lamego et al .                   CN          103906468           7/2014
 2019/0142344 A1     5/2019 Telfort et al .                  EP            0102816           3/1984
 2019/0150856 Al     5/2019 Kiani et al .                    EP            0419223           3/1991
 2019/0167161 A1     6/2019 Al - Ali et al .                 EP            0630208          12/1994
 2019/0175019 A1     6/2019 Al - Ali et al .                 EP            0665727           1/1997
 2019/0192076 A1     6/2019 McHale et al .                   EP            0760223           3/1997
 2019/0200941 Al     7/2019 Chandran et al .                 EP            0770349           5/1997
 2019/0201623 Al     7/2019 Kiani                            EP            0781527           7/1997
 2019/0209025 A1     7/2019 Al - Ali                         EP            0880936          12/1998
 2019/0214778 A1     7/2019 Scruggs et al .                  EP            0922432           6/1999
 2019/0216319 A1     7/2019 Poeze et al .                    EP            0985373           3/2000
 2019/0216379 Al     7/2019 Al - Ali et al .                 EP            1518494           3/2005
 2019/0221966 A1     7/2019 Kiani et al .                    EP            1526805           5/2005
 2019/0223804 Al     7/2019 Blank et al .                    EP            1124609           8/2006
 2019/0231199 Al     8/2019 Al - Ali et al .                 EP            1860989          12/2007
 2019/0231241 Al     8/2019 Al - Ali et al .                 EP            1875213           1/2008
 2019/0231270 A1     8/2019 Abdul -Hafiz et al.              EP            1880666           1/2008
 2019/0239787 A1     8/2019 Pauley et al .                   EP            2165196           3/2010
 2019/0239824 A1     8/2019 Muhsin et al .                   EP            2277440           1/2011
 2019/0254578 A1     8/2019 Lamego                           GB            2243691          11/1991
 2019/0261857 Al     8/2019 Al - Ali                         JP           05-325705         12/1993
 2019/0269370 A1     9/2019 Al - Ali et al .                 JP           08-185864          7/1996
 2019/0274627 Al     9/2019 Al - Ali et al .                 JP         H09-173322           7/1997
 2019/0274635 Al     9/2019 Al - Ali et al .                 JP         H 09257508          10/1997
 2019/0290136 A1     9/2019 Dalvi et al .                    JP         H 10314133          12/1998
 2019/0298270 A1    10/2019 Al - Ali et al .                 JP          H 1170086           3/1999
 2019/0304601 A1    10/2019 Sampath et al.                   JP           29193262           7/1999
 2019/0304605 Al    10/2019 Al - Ali                         JP         H11-197127           7/1999
 2019/0307377 A1    10/2019 Perea et al .                    JP         H 11235320           8/1999
 2019/0320906 Al    10/2019 Olsen                            JP        2001-066990           3/2001
 2019/0320959 Al    10/2019 Al - Ali                         JP         2001-087250          4/2001
 2019/0320988 Al    10/2019 Ahmed et al .                    JP         2002-500908          1/2002
 2019/0325722 A1    10/2019 Kiani et al .                    JP         2003-024276          1/2003
 2019/0350506 A1    11/2019 Al - Ali                         JP         2003-508104          3/2003
 2019/0357813 Al    11/2019 Poeze et al.                     JP        2003-265444           9/2003
 2019/0357823 A1    11/2019 Reichgott et al.                 JP        2004-329406          11/2004
 2019/0357824 A1    11/2019 Al - Ali                         JP         2004-344668         12/2004
 2019/0358524 Al    11/2019 Kiani                            JP         2005-160641          6/2005
 2019/0365294 A1    12/2019 Poeze et al.                     JP         2005-270543         10/2005
 2019/0374139 Al    12/2019 Kiani et al .                    JP            37411472          2/2006
 2019/0374173 A1    12/2019 Kiani et al .                    JP         2006-102164          4/2006
 2019/0374713 Al    12/2019 Kiani et al .                    JP         2006-177837          7/2006
 2019/0386908 Al    12/2019 Lamego et al .                   JP         2006-198321          8/2006
 2019/0388039 Al    12/2019 Al - Ali                         JP           38033512           8/2006
 2020/0000338 A1     1/2020 Lamego et al .                   JP         2006-296564         11/2006
 2020/0000415 Al     1/2020 Barker et al .                   JP         2007-389463         11/2007

                                                     Stay-Add-789
                 Case: 24-1285                 Document: 7             Page: 841                 Filed: 12/26/2023


                                                       US 10,945,648 B2
                                                                 Page 14

( 56 )                  References Cited                              J. Hodby, “ A ratio -measuring detection system for use in pulsed
                                                                      spectroscopic measurements , ” Journal of Physics E : Scientific Instru
             FOREIGN PATENT DOCUMENTS                                 ments, vol . 3 , 1970 , pp . 229-233 .
JP            2007-319232         12/2007
                                                                      K. Li et al., “ A Wireless Reflectance Pulse Oximeter with Digital
JP            2008-099222          4/2008                             Baseline Control for Unfiltered Photoplethysmograms,” IEEE Trans
JP            2009-106373          5/2009                             actions on Biomedical Circuits and Systems , Nov. 2011 , pp . 1-11 .
JP            2011-147746          8/2011                             D. Thompson et al . , " A Small , High -Fidelity Reflectance Pulse
JP            2013-515528          5/2013                             Oximeter,” American Society for Engineering Education , 2007 , 14
JP              5756752            6/2015                             pages .
KR          20070061122            6/2007                             K. Li et al . , “ A High -Performance Wireless Reflectance Pulse
KR            100755079            9/2007                             Oximeter for Photo -Plethysmogram Acquisition and Analysis in the
KR          20100091592            8/2010                             Classroom , ” American Society for Engineering Education , 2010 , 12
WO         WO 93/012712            7/1993
WO          WO 94/23643           10/1994                             pages.
WO       WO 1995/000070            1/1995                             M. J. Hayes, “ Artefact Reduction in Photoplethysmography,” Doc
WO        WO 1996/27325            9/1996                             toral thesis, Department of Electronic and Electrical Engineering ,
WO        WO 1996/41566           12/1996                             Loughborough University, Nov. 1998 , 195 pages . (uploaded in 2
WO       WO 1997/009923            3/1997                             parts ).
WO        WO 99/000053             1/1999                             A. C. M. Dassel et al ., “ Effect of location of the sensor on
WO        WO 99/001704             7/1999
WO       WO 1999/063883           12/1999                             reflectance pulse oximetry,” British Journal of Obstetrics and Gynaecol
WO         WO 00/18290             4/2000                             ogy , vol . 104 , Aug. 1997 , pp . 910-916 .
WO         WO 00/25112             5/2000                             RF Cafe, Electronic Warfare and Radar Systems Engineering Hand
WO       WO 2000/028892            5/2000                             book, Duty Cycle, available at https://www.rfcafe.com/references/
WO         WO 01/09589             2/2001                             electrical/ ew - radar -handbook /duty -cycle.htm , retrieved Jul. 11 , 2020 ,
WO         WO 01/50433             7/2001                             3 pages.
WO       WO 2002/062213            8/2002                             Y. Shimada et al . , “ Evaluation of a new reflectance pulse oximeter
WO       WO 2005/094667           10/2005                             for clinical applications ,” Medical & Biological Engineering &
WO       WO 2006/016366            2/2006                             Computing, vol . 29 , No. 5 , Sep. 1991 , pp . 557-561 .
WO       WO 2006/017117            2/2006                             S. Takatani et al . , “ Experimental and Clinical Evaluation of a
WO       WO 2006/060949            6/2006                             Noninvasive Reflectance Pulse Oximeter Sensor,” Journal of Clini
WO       WO 2006/079862            8/2006
WO       WO 2006/090371            8/2006                             cal Monitoring , vol . 8 , No. 4 , Oct. 1992 , pp . 257-266 .
WO       WO 2006/113070           10/2006                             K. Ono et al . , “ Fiber optic reflectance spectrophotometry system for
WO       WO 2007/004083            1/2007                             in vivo tissue diagnosis,” Applied Optics, vol . 30 , No. 1 , Jan. 1991 ,
WO       WO 2007/017266            2/2007                             pp . 98-105 .
WO       WO 2007/048039            4/2007                             M. Barr, “ Introduction to Pulse Width Modulation (PWM ),” Barr
WO       WO 2007/144817           12/2007                             Group, Embedded Systems Programming, Sep. 2001 , pp . 1-3 .
WO
WO
         WO 2008/002405            1/2008
                                   9/2008
                                                                      P. P. Vaidyanathan , “ Multirate Digital Filters, Filter Banks, Poly
WO
         WO 2008/107238
                                  12/2008
                                                                      phase Networks, and Applications: A Tutorial , ” Proceedings of the
         WO 2008/149081                                               IEEE , vol . 78 , No. 1 , Jan. 1990 , pp . 56-93 .
WO       WO 2009/001988           12/2008                             S. Oshima et al . , " Optical Measurement of Blood Hematocrit on
WO       WO 2009/137524            11/2009
WO       WO 2010/003134             1/2010                            Medical Tubing with Dual Wavelength and Detector Model,” 31st
WO       WO 2011/051888            5/2011                             Annual International Conference of the IEEE EMBS , Sep. 2009 , pp .
WO       WO 2011/069122            6/2011                             5891-5896 .
WO       WO 2013/030744            3/2013                             Optoelectronics, Data Book 1990 , Siemens Components, Inc. , 770
WO       WO 2013/106607            7/2013                             pages . (uploaded in 7 parts ).
WO       WO 2013/181368           12/2013                             OxiplexTS Near Infrared, Non - Invasive , Tissue Spectrometer Bro
WO       WO 2014/115075            7/2014                             chure , ISS , Inc. , Copyright 2001 , 6 pages .
WO       WO 2014/149781            9/2014                             J. A. Pologe , “ Pulse Oximetry: Technical Aspects of Machine
WO       WO 2014/153200            9/2014                             Design ,” International Anesthesiology Clinics , vol . 25 , No. 3 , 1987 ,
WO       WO 2014/158820           10/2014                             pp . 137-153 .
WO       WO 2014/178793           11/2014                             B. F. Koegh et al., “ Recent findings in the use of reflectance
WO       WO 2014/184447           11/2014                             oximetry: a critical review ,” Current Opinion in Anaesthesiology,
WO       WO 2015/187732           12/2015
WO       WO 2016/066312            5/2016                             vol . 18 , 2005 , pp . 649-654 .
                                                                      K. Faisst et al . , “ Reflectance pulse oximetry in neonates,” European
                                                                      Journal of Obstetrics & Gynecology and Reproductive Biology, vol .
                   OTHER PUBLICATIONS                                 61 , No. 2 , Aug. 1995 , pp . 117-122 .
                                                                      V. Konig et al . , “ Reflexions -Pulsoximetrie Untersuchungen mit
K. Self, Application Note 78 — Using Power Management with            eigenem Mess -System ,” Biomedical Engineering , Biomedizinische
High - Speed Microcontrollers, Maxim Integrated Products , Inc. ,     Technik , vol . 37. No. s2 , 1992 , pp . 39-40 .
Mar. 29 , 2001 , 25 pages.                                            Petition for Inter Partes Review of U.S. Pat. No. 10,299,708 , Apple
Service Manual: Nellcor Symphony N - 3000 Pulse Oximeter, Nellcor     Inc. v. Masimo Corporation , Inter Partes Review No. IPR2021
Puritan Bennett, Inc. , Copyright 1996 , 110 pages.                   00193 , dated Nov. 20 , 2020 , in 107 pages .
Home Use Guide : Nellcor Symphony N - 3000 Pulse Oximeter,            Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for
Nellcor Puritan Bennett, Inc. , Copyright 1996 , 50 pages .           Inter Partes Review of U.S. Pat. No. 10,299,708 , Ex . 1003 , Apple
Operator's Manual: Nellcor N - 200 Pulse Oximeter, Nellcor Incor      Inc. v. Masimo Corporation , Inter Partes Review No. IPR2021
porated, Copyright 2003 , 96 pages .                                  00193 , dated Nov. 20 , 2020 , in 136 pages .
S. Kastle et al . , “ A New Family of Sensors for Pulse Oximetry ,”   Petition for Inter Partes Review of U.S. Pat. No. 10,376,190 , Apple
Hewlett -Packard Journal, Article 7 , Feb. 1997 , pp . 1-17 .         Inc. v. Masimo Corporation , Inter Partes Review No. IPR2021
M. Nogawa et al ., “ A Novel Hybrid Reflectance Pulse Oximeter        00195 , dated Nov. 20 , 2020 , in 109 pages .
Sensor with Improved Linearity and General Applicability to Vari      Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for
ous Portions of the Body, ” Proceedings of the 20th Annual Inter      Inter Partes Review of U.S. Pat. No. 10,376,190 , Ex . 1003 , Apple
national Conference of the IEEE Engineering in Medicine and           Inc. v. Masimo Corporation , Inter Partes Review No. IPR2021
Biology Society, vol . 20 , No. 4 , 1998 , pp . 1858-1861 .           00195 , dated Nov. 20 , 2020 , in 139 pages .
                                                            Stay-Add-790
                  Case: 24-1285                     Document: 7               Page: 842              Filed: 12/26/2023


                                                             US 10,945,648 B2
                                                                       Page 15

( 56 )                   References Cited                                    Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for
                                                                             Inter Partes Review of U.S. Pat. No. 10,292,628 , Ex . 1003 , Apple
                    OTHER PUBLICATIONS                                       Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
Petition for Inter Partes Review of U.S. Pat. No. 10,258,266 , Apple
                                                                             01521 , dated Sep. 2 , 2020 , in 133 pages .
                                                                             Petition for Inter Partes Review of U.S. Pat . No. 10,588,554 , Apple
Inc. v. Masimo Corporation , Inter Partes Review No. IPR2021                 Inc. v. Masimo Corporation, Inter Partes Review No. IPR2020
00208 , dated Nov. 20 , 2020 , in 80 pages.                                  01538 , dated Sep. 2 , 2020 , in 108 pages .
Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for           Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for
Inter Partes Review of U.S. Pat. No. 10,258,266 , Ex . 1003 , Apple          Inter Partes Review of U.S. Pat. No. 10,588,554 , Ex . 1003 , Apple
Inc. v. Masimo Corporation , Inter Partes Review No. IPR2021                 Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
00208 , dated Nov. 20 , 2020 , in 96 pages .                                 01538 , dated Sep. 2 , 2020 , in 151 pages .
Petition for Inter Partes Review ofU.S. Pat. No. 10,376,191 , Apple          Petition for Inter Partes Review of U.S. Pat. No. 10,588,554 , Apple
Inc. v. Masimo Corporation , Inter Partes Review No. IPR2021                 Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
00209 , dated Nov. 20 , 2020 , in 79 pages.                                  01539 , dated Sep. 2 , 2020 , in 111 pages .
Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for           Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for
Inter Partes Review of U.S. Pat. No. 10,376,191 , Ex . 1003 , Apple
Inc. v. Masimo Corporation , Inter Partes Review No. IPR2021                 Inter Partes Review of U.S. Pat. No. 10,588,554 , Ex . 1003 , Apple
00209 , dated Nov. 20 , 2020 , in 96 pages.                                  Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
Nov. 12 , 2020 Third Amended Complaint for ( 1 ) Patent Infringe             01539 , dated Sep. 2 , 2020 , in 170 pages.
ment ( 2 ) Trade Secret Misappropriation ( 3 ) Correction of Inventor        Petition for Inter Partes Review of U.S. Pat. No. 10,624,564 , Apple
ship and (4 ) Ownership of Patents and Demand for Jury Trial , and           Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
including Exhibit 1 , Masimo Corporation and Cercacor Laborato               01713 , dated Sep. 30 , 2020 , in 117 pages .
ries, Inc. V. Apple Inc., Case No. 8 : 20 - cv - 00048 , 196 pages .         Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for
[uploaded in 2 parts ].                                                      Inter Partes Review of U.S. Pat. No. 10,624,564 , Ex . 1003 , Apple
Jan. 9 , 2020 Complaint for ( 1 ) Patent Infringement ( 2 ) Trade Secret     Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
Misappropriation and ( 3 ) Ownership of Patents and Demand for               01713 , dated Sep. 30 , 2020 , in 159 pages .
Jury Trial, Masimo Corporation and Cercacor Laboratories, Inc. v .           Petition for Inter Partes Review of U.S. Pat. No. 10,631,765 , Apple
Apple Inc., Case No. 8 : 20 - cv - 00048 , 64 pages .                        Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
Mar. 25 , 2020 First Amended Complaint for ( 1 ) Patent Infringement         01714 , dated Sep. 30 , 2020 , in 113 pages.
(2) Trade Secret Misappropriation ( 3) Correction of Inventorship            Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for
and (4 ) Ownership of Patents and Demand for Jury Trial, and                 Inter Partes Review of U.S. Pat. No. 10,631,765 , Ex . 1003 , Apple
including Exhibits 13-24 ( Exhibits 1-12 and 25-31 comprise copies           Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
of publicly available U.S. patents and U.S. patent application
publications, and are not included herein for ease of transmission ),        01714 , dated Sep. 30 , 2020 , in 122 pages .
Masimo Corporation and Cercacor Laboratories, Inc. V. Apple Inc.,            Petition for Inter Partes Review of U.S. Pat. No. 10,631,765 , Apple
Case No. 8 : 20 - cv - 00048 , pp . 1-94 , 983-1043 (total of 156 pages ).   Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
Jul. 24 , 2020 Second Amended Complaint for ( 1 ) Patent Infringe            01715 , dated Sep. 30 , 2020 , in 114 pages.
ment ( 2 ) Trade Secret Misappropriation ( 3 ) Correction of Inventor        Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for
ship and (4 ) Ownership of Patents and Demand for Jury Trial , and           Inter Partes Review of U.S. Pat. No. 10,631,765 , Ex . 1003 , Apple
including Exhibit 1 , Masimo Corporation and Cercacor Laborato               Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
ries, Inc. v . Apple Inc., Case No. 8 : 20 - cv - 00048 , 182 pages .        01715 , dated Sep. 30 , 2020 , in 117 pages.
Jul. 27 , 2020 Plaintiffs ' Infringement Contentions, and including          Petition for Inter Partes Review of U.S. Pat. No. 10,702,194 , Apple
Exhibit 1 and Appendices A - P, Masimo Corporation and Cercacor              Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
Laboratories, Inc. V. Apple Inc., Case No. 8 : 20 - cv - 00048 , 305         01716 , dated Sep. 30 , 2020 , in 100 pages .
pages.                                                                       Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for
Sep. 8 , 2020 Apple's Preliminary Invalidity Contentions, and includ         Inter Partes Review of U.S. Pat. No. 10,702,194 , Ex . 1003 , Apple
ing Exhibits A - G , Masimo Corporation and Cercacor Laboratories,           Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
Inc. V. Apple Inc., Case No. 8 : 20 - cv - 00048 , 3960 pages . [uploaded    01716 , dated Sep. 30 , 2020 , in 109 pages .
in 15 parts ].                                                               Petition for Inter Partes Review ofU.S. Pat. No. 10,702,195 , Apple
Petition for Inter Partes Review of U.S. Pat. No. 10,258,265 , Apple         Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
Inc. V. Masimo Corporation , Inter Partes Review No. IPR2020                 01733 , dated Sep. 30 , 2020 , in 105 pages .
01520 , dated Aug. 31 , 2020 , in 114 pages .                                Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for
Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for           Inter Partes Review of U.S. Pat. No. 10,702,195 , Ex . 1003 , Apple
Inter Partes Review of U.S. Pat. No. 10,258,265 , Ex . 1003 , Apple          Inc. V. Masimo Corporation , Inter Partes Review No. IPR2020
Inc. v . Masimo Corporation , Inter Partes Review No. IPR2020                01733 , dated Sep. 30 , 2020 , in 108 pages .
01520 , dated Aug. 31 , 2020 , in 138 pages .                                Petition for Inter Partes Review of U.S. Pat. No. 10,709,366 , Apple
Petition for Inter Partes Review of U.S. Pat. No. 10,588,553 , Apple         Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020                 01737 , dated Sep. 30 , 2020 , in 104 pages .
01536 , dated Aug. 31 , 2020 , in 114 pages .                                Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for
Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for           Inter Partes Review of U.S. Pat. No. 10,709,366 , Ex . 1003 , Apple
Inter Partes Review of U.S. Pat. No. 10,588,553 , Ex . 1003 , Apple          Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020
Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020                 01737 , dated Sep. 30 , 2020 , in 110 pages .
01536 , dated Aug. 31 , 2020 , in 173 pages.                                 D. Thompson et al ., “ Pulse Oximeter Improvement with an ADC
Petition for Inter Partes Review of U.S. Pat. No. 10,588,553 , Apple         DAC Feedback Loop and a Radical Reflectance Sensor,” Proceed
Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020                 ings of the 28th IEEE EMBS Annual International Conference,
01537 , dated Aug. 31 , 2020 , in 114 pages .                                2006 , pp . 815-818 .
Declaration of Thomas W. Kenny, Ph.D. , in support of Petition for           Service Manual: NPB -40 Handheld Pulse Oximeter, Nellcor Puritan
Inter Partes Review of U.S. Pat. No. 10,588,553 , Ex . 1003 , Apple          Bennett, Inc. , Copyright 2001 , 55 pages .
Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020                 J. Bronzino et al., The Biomedical Engineering Handbook , Second
01537 , dated Aug. 31 , 2020 , in 181 pages .                                Edition , CRC Press LLC , 2000 , 21 pages .
Petition for Inter Partes Review of U.S. Pat. No. 10,292,628 , Apple         J. Bronzino et al., Medical Devices and Systems , The Biomedical
Inc. v. Masimo Corporation , Inter Partes Review No. IPR2020                 Engineering Handbook , Third Edition , Taylor & Francis Group ,
01521 , dated Sep. 2 , 2020 , in 107 pages .                                 LLC , Apr. 2006 , 20 pages .
                                                                  Stay-Add-791
                     Case: 24-1285               Document: 7              Page: 843                Filed: 12/26/2023


                                                         US 10,945,648 B2
                                                                   Page 16

( 56 )                  References Cited                                 Y. Mendelson et al., “ An in Vitro Tissue Model for Evaluating the
                                                                         Effect of Carboxyhemoglobin Concentration on Pulse Oximetry,”
                     OTHER PUBLICATIONS                                  IEEE Transactions on Biomedical Engineering , vol . 36 , No. 6 , Jun .
                                                                         1989 , pp . 625-627 .
J. Webster et al . , Nanoparticles — Radiotherapy Accessories , Ency     C. Tamanaha et al . , “ An Inorganic Membrane Filter to Support
clopedia of Medical Devices and Instrumentation , Second Edition ,       Biomembrane -Mimetic Structures,” Proceedings of 17th Interna
vol . 5 , Wiley -Interscience, 2006 , 42 pages .                         tional Conference of the Engineering in Medicine and Biology
S. LeGare et al . , “ A Device to Assess the Severity of Peripheral      Society, Sep. 1995 , pp . 1559-1560 .
Edema,” IEEE 33rd Annual Northeast Bioengineering Conference,            A. Lader et al . , “ An Investigative Study of Membrane -Based
2007 , pp . 257-258 .                                                    Biosensors , ” Proceedings of the IEEE 17th Annual Northeast Bio
M. Corcoran et al . , “ A Humidifier for Olfaction Studies During        engineering Conference, 1991 , pp . 253-254 .
Functional Magnetic Resonance Imaging ,” Proceedings of the IEEE         N. Reljin et al . , “ Automatic Detection of Dehydration using Support
31st Annual Northeast Bioengineering Conference, 2005 , pp . 1-2 .       Vector Machines , ” 14th Symposium on Neural Networks and Appli
Y. Mendelson et al . , “ A Multiwavelength VIS -NIR Spectrometer for     cations ( NEUREL ), Nov. 2018 , pp . 1-6 .
Pulsatile Measurement of Hemoglobin Derivatives in Whole Blood , "       Y. Mendelson et al . , Chapter 9 : Biomedical Sensors, Introduction to
18th Annual International Conference of the IEEE Engineering in          Biomedical Engineering, Second Edition, Apr. 2005 , pp . 505-548 .
Medicine and Biology Society, 1996 , pp . 134-135 .                      R. Peura et al , “ Biotechnology for Biomedical Engineers, ” IEEE
H. DiSpirito et al . , " A Neural Stimulation System Model to Enhance    Engineering in Medicine and Biology, vol . 14 , No. 2 , Apr. 1995 , pp .
                                                                         199-200
Neural Integrated Circuit Design ,” 29th Southern Biomedical Engi        Y. Mendelson et al . , “ Blood Glucose Measurement by Multiple
neering Conference, 2013 , pp . 9-10 .                                   Attenuated Total Reflection and Infrared Absorption Spectroscopy, ”
D. Sen et al . , “ A New Vision for Preventing Pressure Ulcers :         IEEE Transactions on Biomedical Engineering , vol . 37 , No. 5 , May
Wearable Wireless Devices Could Help Solve a Common and                  1990 , pp . 458-465 .
Serious— Problem ,” IEEE Pulse, vol . 9 , No. 6 , Nov. 2018 , pp .       Y. Mendelson et al ., “ Carbon dioxide laser based multiple ATR
28-31 .                                                                  technique for measuring glucose in aqueous solutions , ” Applied
N. Selvaraj et al . , “ A Novel Approach Using Time- Frequency           Optics , vol . 27 , No. 24 , Dec. 1988 , pp. 5077-5081 .
Analysis of Pulse -Oximeter Data to Detect Progressive Hypovolemia       J. Harvey et al., “ Correlation of bioimpedance changes after com
in Spontaneously Breathing Healthy Subjects,” IEEE Transactions          pressive loading of murine tissues in vivo , ” Physiological Measure
on Biomedical Engineering , vol . 58 , No. 8 , Aug. 2011 , pp . 2272     ment, vol . 40 , No. 10 , Oct. 2019 , pp . 1-13 .
2279 .                                                                   B. Yocum et al . , “ Design of a Reflectance Pulse Oximeter Sensor
S. Salehizadeh et al . , “ A Novel Time - Varying Spectral Filtering     and its Evaluation in Swine,” Proceedings of the 15th Annual
Algorithm for Reconstruction of Motion Artifact Corrupted Heart          Northeast Bioengineering Conference, IEEE , 1989 , pp . 239-240 .
Rate Signals During Intense Physical Activities Using a Wearable         E. Tuite et al . , “ Design of Individual Balance Control Device
Photoplethysmogram Sensor," Sensors 2016 , vol . 16 , No. 1 , Dec.       Utilized during the Sit -to - Stand Task ,” ISB 2011 Brussels, 2011 , pp .
                                                                         1-2 .
2015 , pp . 1-20 .                                                       C. E. Darling et al . , “ Detecting Blood Loss With a Wearable
A. Gendler et al . , “ A PAB - Based Multi -Prefetcher Mechanism , "     Photoplethysmography Device , ” Annals of Emergency Medicine ,
International Journal of Parallel Programming, vol . 34 , No. 2 , Apr.   vol . 68 , No. 45 , Oct. 2016 , p . S116 .
2006 , pp . 171-188 .                                                    N. Reljin et al ., “ Detection of Blood Loss in Trauma Patients using
J. Harvey et al . , “ A Portable Sensor for Skin Bioimpedance Mea        Time -Frequency Analysis of Photoplethysmographic Signal,” IEEE
surements,” International Journal of Sensors and Sensor Networks,        EMBS International Conference on Biomedical and Health Infor
vol . 7 , No. 1 , Aug. 2019 , pp . 1-8 .                                 matics ( BHI ) , 2016 , pp . 118-121 .
D. Traviglia et al . , “ A Portable Setup for Comparing Transmittance    Y. Xu et al . , “ Drowsiness Control Center by Photoplethysmogram , ”
and Reflectance Pulse Oximeters for Field Testing Applications,”    22

                                                                         38th Annual Northeast Bioengineering Conference (NECBEC ) ,
Proceedings of the IEEE 30th Annual Northeast Bioengineering             IEEE , 2012 , pp . 430-431 .
Conference, 2004 , pp . 212-213 .                                        M. Last et al . , Chapter 14 : Early Warning from Car Warranty Data
S. Xie et al . , “ A Predictive Model for Force -Sensing Resistor        using a Fuzzy Logic Technique, Scalable Fuzzy Algorithms for Data
Nonlinearity for Pressure Measurement in a Wearable Wireless             Management and Analysis: Methods and Design , 2009 , pp . 347
Sensor Patch , ” IEEE 61st International Midwest Symposium on            364 .
Circuits and Systems , 2018 , pp . 476-479 .                             W. Johnston et al . , “ Effects of Motion Artifacts on Helmet -Mounted
P. Muller et al . , “ A Preliminary In Vitro Evaluation and Compara      Pulse Oximeter Sensors , ” Proceedings of the IEEE 30th Annual
tive Study of Various Tissue PH Sensors , ” Proceedings of the 18th      Northeast Bioengineering Conference, 2014 , pp . 214-215 .
IEEE Annual Northeast Bioengineering Conference , 1992 , pp .            A. Nagre et al . , “ Effects of Motion Artifacts on Pulse Oximeter
158-159 .                                                                Readings from Different Facial Regions , ” Proceedings of the IEEE
D. Dao et al . , “ A Robust Motion Artifact Detection Algorithm for      31st Annual Northeast Bioengineering Conference, 2005 , pp . 1-3 .
Accurate Detection of Heart Rates From Photoplethysmographic             R. Kasbekar et al . , “ Evaluation of key design parameters for
Signals Using Time - Frequency Spectral Features,” IEEE Journal of       mitigating motion artefact in the mobile reflectance PPG signal to
Biomedical and Health Informatics, vol . 21 , No. 5 , Sep. 2017 , pp .   improve estimation of arterial oxygenation , ” Physiological Mea
1242-1253 .
                                                                         surement, vol . 39 , No. 7 , Jul. 2018 , pp . 1-12 .
                                                                         Y. Mendelson et al . , “ Evaluation of the Datascope Accusat Pulse
G. Comtois et al . , “ A Wearable Wireless Reflectance Pulse Oximeter    Oximeter in Healthy Adults ,” Journal of Clinical Monitoring , vol . 4 ,
for Remote Triage Applications,” Proceedings of the IEEE 32nd            No. 1 , Jan. 1988 , pp . 59-63 .
Annual Northeast Bioengineering Conference , 2006 , pp . 53-54 .         C. Tamanaha et al . , “ Feasibility Study of an Inorganic Membrane
S. Djamasbi et al . , “ Affect Feedback during Crisis and Its Role in    Filter as a Support for Biomembrane -Mimetic Structures,” Proceed
Improving Is Utilization , ” Proceedings of the 7th International        ings of the IEEE 21st Annual Northeast Bioengineering Conference,
Conference on Information Systems for Crisis Response and Man            1995 , pp . 99-101 .
agement ( ISCRAM ), 2010 , pp . 1-4 .                                    J. McNeill et al ., “ Flexible Sensor for Measurement of Skin
B. Odegard et al., “ An Analysis of Racewalking Styles Using a           Pressure and Temperature in a Clinical Setting , ” 2016 IEEE Sen
2 - Dimensional Mathematical Knee Model, ” Proceedings of the            sors , Nov. 2016 , pp . 1-3 .
IEEE 23rd Northeast Bioengineering Conference , 1997 , pp . 73-74 .      P. Bhandare et al . , “ Glucose determination in simulated blood serum
S. Patrick et al., “ An Electromyogram Simulator for Myoelectric         solutions by Fourier transforms infrared spectroscopy: investigation
Prosthesis Testing , ” Proceedings of the IEEE 36th Annual Northeast     of spectral interferences , ” Vibrational Spectroscopy, vol . 6 , No. 3 ,
Bioengineering Conference (NEBEC ) , 2010 , pp . 1-2 .                   Mar. 1994 , pp . 363-378 .
                                                              Stay-Add-792
                   Case: 24-1285                    Document: 7               Page: 844                Filed: 12/26/2023


                                                             US 10,945,648 B2
                                                                        Page 17

( 56 )                   References Cited                                    C. Tamanaha et al . , " Surface Modification of y - Al2O3 Filters by
                                                                             Chemisorption of Alkyltrichlorosilane Molecules ," 18th Annual
                    OTHER PUBLICATIONS                                       International Conference of the IEEE Engineering in Medicine and
P. Bhandare et al . “ Glucose Determination in Simulated Plasma
                                                                             Biology Society, 1996 , pp . 2069-2070 .
                                                                             D. Sen et al . , “ Time- Domain - Based Measurement Technique for
Solutions Using Infrared Spectrophotometry , " 14th Annual Inter             Pressure Measurement in a Wearable Wireless Sensor Patch , ” IEEE
national Conference of the IEEE Engineering in Medicine and                  International Symposium on Circuits and Systems ( ISCAS ) , 2018 ,
Biology Society, Nov. 1992 , pp . 163-164 .                                  pp. 1-5.
C. Tamanaha et al . , “ Humidity and Cation Dependency of Purple             N. Reljin et al . , “ Using support vector machines on
Membrane Based Biosensors , ” Proceedings of the 18th IEEE Annual            photoplethysmographic signals to discriminate between hypovolemia
Northeast Bioengineering Conference, Mar. 1992 , pp . 107-108 .              and euvolemia , " PLoS One , vol . 13 , No. 3 , Mar. 2018 , pp . 1-14 .
K. M. Warren et al . , “ Improving Pulse Rate Measurements during            Y. Mendelson et al . , “ Variations in Optical Absorption Spectra of
Random Motion Using a Wearable Multichannel Reflectance                      Adult and Fetal Hemoglobins and Its Effect on Pulse Oximetry , ”
Photoplethysmograph , ” Sensors ( Basel ) , vol . 16 , No. 3 , Mar. 2016 ,   IEEE Transactions on Biomedical Engineering , vol . 36 , No. 8 , Aug.
p. 1-18.
P. Bhandare et al . , “ IR Spectrophotometric Measurement of Glucose         1989 , pp . 844-848 .
in Phosphate Buffered Saline Solutions: Effects of Temperature and           K. Chon et al . , “ Wearable Wireless Sensor for Multi - Scale Physi
pH ,” Proceedings of the 18th IEEE Annual Northeast Bioengineer              ological Monitoring,” Worcester Polytechnic Institute, Oct. 2014 ,
ing Conference, 1992 , pp . 103-104 .                                        82 pages.
Y. Mendelson et al . , “ Multi - channel pulse oximetry for wearable         K. Chon et al . , “ Wearable Wireless Sensor for Multi - Scale Physi
physiological monitoring , ” IEEE International Conference on Body           ological Monitoring, ” Worcester Polytechnic Institute , Oct. 2015 ,
Sensor Networks, 2013 , pp . 1-6 .                                           142 pages.
P. Bhandare et al . , " Multivariate Determination of Glucose in Whole       J. McNeill et al . , “ Wearable Wireless Sensor Patch for Continuous
Blood Using Partial Least -Squares and Artificial Neural Networks            Monitoring of Skin Temperature, Pressure, and Relative Humidity,"
Based on Mid - Infrared Spectroscopy ,” Society for Applied Spec             IEEE International Symposium on Circuits and Systems ( ISCAS ) ,
troscopy, vol . 47 , No. 8 , 1993 , pp . 1214-1221 .                         2017 , pp . 1-4 .
E. Morillo et al . , “ Multiwavelength Transmission Spectrophotometry        D. Sen et al . , “ Wireless Sensor Patch Suitable for Continuous
in the Pulsatile Measurement of Hemoglobin Derivatives in Whole              Monitoring of Contact Pressure in a Clinical Setting , ” 16th IEEE
Blood ,” Proceedings of the IEEE 23rd Northeast Bioengineering               International New Circuits and Systems Conference (NEWCAS ) ,
Conference, 1997 , pp . 5-6 .                                                2018 , pp . 91-95 .
P. Bhandare et al ., “ Neural Network Based Spectral Analysis of             K. Hickle et al . , “ Wireless Pressure Ulcer Sensor,” Annals of Plastic
Multicomponent Mixtures for Glucose Determination ,” Proceed                 Surgery, vol . 82 , Supplement 3 , Apr. 2019 , pp . S215 - S221 .
ings of the IEEE , 17th Annual Northeast Bioengineering Confer               Y. Mendelson , et al . , “ Design and Evaluation of a New Reflectance
ence , 1991 , pp . 249-250 .                                                 Pulse Oximeter Sensor ” , Worcester Polytechnic Institute, Biomedi
Y. Mendelson et al . , “ Noninvasive Transcutaneous Monitoring of            cal Engineering Program , Worcester, MA 01609 , Association for the
Arterial Blood Gases , ” IEEE Transactions on Biomedical Engineer
ing , vol . BME - 31 , No. 12 , Dec. 1984 , pp . 792-800 .                   Advancement of Medical Instrumentation, vol . 22 , No. 4 , 1988 , pp .
J. Harvey et al., “ OxiMA : A Frequency -Domain Approach to                   167-173 .
Address Motion Artifacts in Photoplethysmograms for Improved                 Definition of “ gap ” , excerpt from Merriam -Webster's Collegiate
Estimation of Arterial Oxygen Saturation and Pulse Rate , ” IEEE             Dictionary ( 11th ed . ) , 2005 , 3 pages.
Transactions on Biomedical Engineering , vol . 66 , No. 2 , Feb. 2019 ,      “ Acrylic : Strong, stiff, clear plastic available in variety of brilliant
pp . 311-318 .                                                               colors ” , Copyright 2020. available at http ://www.curbellplastics .
J. Chong et al . , “ Photoplethysmograph Signal Reconstruction Based         com /Research -Solutions/Materials / Acrylic , 5 pages .
on a Novel Hybrid Motion Artifact Detection - Reduction Approach .           QuickSpecs , Version 3 , Nov. 20 , 2003 , HP iPAQ Pocket PC h4150
Part I : Motion and Noise Artifact Detection ," Annals of Biomedical         Series, 8 pages .
Engineering , vol . 42 , No. 11 , Nov. 2014 , pp . 2238-2250 .               “ Universal asynchronous receiver -transmitter ” , Wikipedia, avail
S. M. A. Salehizadeh et al . , “ Photoplethysmograph Signal Recon            able at https://en.wikipedia.org/wiki/Universal_asynchronous_
struction based on a Novel Motion Artifact Detection - Reduction             receiver - transmitter, accessed Aug. 27 , 2020 , 10 pages .
Approach. Part II : Motion and Noise Artifact Removal,” Annals of            Y. Mendelson , et al . , " Skin Reflectance Pulse Oximetry : In Vivo
Biomedical Engineering , vol . 42 , May 2014 , pp . 2251-2263 .              Measurements from the Forearm and Calf ” , Journal of Clinical
C. G. Scully et al . , “ Physiological Parameter Monitoring from             Monitoring , vol . 7 , No. 1 , Jan. 1991 , pp . 7-12 .
Optical Recordings With a Mobile Phone,” IEEE Transactions on                Design of Pulse Oximeters , J.G. Webster, Institution of Physics
Biomedical Engineering , vol . 59 , No. 2 , Feb. 2012 , pp . 303-306 .       Publishing, IOP Publishing Ltd , 1997 , 262 pages ( uploaded in three
D. Sen et al . , “ Pressure Ulcer Prevention System : Validation in a        parts ).
Clinical Setting,” IEEE Life Sciences Conference ( LSC ) , 2018 , pp .       McPherson, “ How to Do Everything with Windows Mobile ” , McGraw
105-108 .                                                                    Hill , 2006 , 431 pages ( uploaded in three parts ).
Y. Mendelson et al., Pulse Oximetry: Theory and Applications for             B. Landon et al . , “ Master Visually Windows Mobile 2003 ” , Wiley
Noninvasive Monitoring , Clinical Chemistry, vol . 38 , No. 9 , 1992 ,       Publishing, Inc. , 2004, 335 pages ( uploaded in two parts ).
pp . 1601-1607 .                                                             J. Yao, et al . , “ Stimulating Student Learning with a Novel ' In
Y. Mendelson , Pulse Oximetry, PowerPoint, UMass Center for                  House ’ Pulse Oximeter Design ” , Proceedings of the 2005 American
Clinical and Translational Science Research Retreat, 2017 , 22               Society for Engineering Education Annual Conference & Exposi
pages.                                                                       tion, 2005 , 14 pages.
E. Stohr et al . , “ Quantitative FT- IR Spectrometry of Blood Con           National Instruments LabVIEW User Manual, National Instruments
stituents,” 14th Annual International Conference of the IEEE Engi            Corporation, Nov. 2001 Edition , Part No. 320999D - 01 , 293 pages.
neering in Medicine and Biology Society , 1992 , pp . 173-174 .              Definition of “ processor” , excerpt from Merriam -Webster's Colle
E. Stohr et al ., “ Quantitative FTIR Spectrophotometry of Choles            giate Dictionary ( 10th ed . ) , 1999 , 6 pages.
terol and Other Blood Constituents and their Interference with the           Y. Mendelson et al . , “ Noninvasive Pulse Oximetry Utilizing Skin
In - Vitro Measurement of Blood Glucose,” Proceedings of the 18th            Reflectance Photoplethysmography ”, IEEE Transactions on Bio
IEEE Annual Northeast Bioengineering Conference, 1992 , pp .                 medical Engineering, vol . 35 , No. 10 , Oct. 1988 , pp . 798-805 .
105-106 .                                                                    J. Schmitt et al . , " An Integrated Circuit - Based Optical Sensor for in
N. Selvaraj et al . , “ Statistical Approach for the Detection of Motion/    Vivo Measurement of Blood Oxygenation ,” IEEE Transactions on
Noise Artifacts in Photoplethysmogram ,” 33rd Annual International           Biomedical Engineering , vol . BME - 33 , No. 2 , Feb. 1986 , pp .
Conference of the IEEE EMBS , Sep. 2011 , pp . 4972-4975 .                   98-107 .

                                                                  Stay-Add-793
                     Case: 24-1285                Document: 7               Page: 845              Filed: 12/26/2023


                                                           US 10,945,648 B2
                                                                     Page 18

( 56 )                    References Cited                                B - S . Lin etal . , “ RTWPMS : A Real- Time Wireless Physiological
                                                                          Monitoring System ,” IEEE Transactions on Information Technol
                     OTHER PUBLICATIONS                                   ogy in Biomedicine , vol . 10 , No. 4 , Oct. 2006 , pp . 647-656 .
                                                                          Burritt, Mary F .; Current Analytical Approaches to Measuring
C. Gutierrez et al, “ Non - Invasive Functional Mapping of the Brain      Blood Analytes; vol . 36 ; No. 8 ( B ) ; 1990 .
Using Cerebral Oximeter,” Proceedings of the Second Joint EMBS /          C. J. Pujary, “ Investigation of Photodetector Optimization in Reduc
BMES Conference, Oct. 2002 , pp . 947-948 .                               ing Power Consumption by a Noninvasive Pulse Oximeter Sensor,"
R. Gupta et al . , “ Design and Development of Pulse Oximeter , "         Worcester Polytechnic Institute, Jan. 16 , 2004 , 133 pages .
Proceedings RC IEEE - EMBS & 14th BMESI , 1995 , pp . 1.13-1.16 .         C. Pujary et al.,“ Photodetector Size Considerations in the Design of
S. Duun et al . , “ A Novel Ring Shaped Photodiode for Reflectance        a Noninvasive Reflectance Pulse Oximeter for Telemedicine Appli
Pulse Oximetry in Wireless Applications, ” IEEE Sensors Confer            cations , ” Proceedings of IEEE Annual Northeast Bioengineering
ence , 2007 , pp . 596-599 .                                              Conference, 2003 , pp . 148-149 .
Oct. 20 , 2020 Letter from B. K. Andrea to J. Re et al . , Re: Masimo     C. W. Mundt et al., “ A Multiparameter Wearable Physiologic
Corp, et al. v. Apple, Inc., C.A. 8 : 20 - cv - 00048 ( C.D. Cal .), 19   Monitoring System for Space and Terrestrial Applications, ” IEEE
pages .
3 pages of images , identified by bates Nos . “ APL -MAS                  Transactions on Information Technology in Biomedicine, vol . 9 ,
00057600 ” , “ APL -MAS_00057601" , and " APL -MAS 00057602 ” .           No. 3 , Sep. 2005 , pp . 382-391 .
Undated .                                                                 D. C. Zheng and Y. T. Zhang, “ A ring- type device for the nonin
2 pages of images , identified by bates Nos . “ APL -MAS_00057598”        vasive measurement of arterial blood pressure,” Proceedings of the
and “ APL -MAS_00057599 " . Undated .                                     25th Annual International Conference of the IEEE Engineering in
Y. Mendelson et al . , A Wearable Reflectance Pulse Oximeter for          Medicine and Biology Society ( IEEE Cat. No. 03CH37439 ) , Sep.
Remote Physiological Monitoring , PowerPoint , The Bioengineering         17-21 , 2003 , Cancun , pp . 3184-3187 vol . 4 .
Institute, Worcester Polytechnic Institute, 18 pages . Undated .          D. Konstantas et al . , “ Mobile Patient Monitoring : The MobiHealth
P. C. Branche et al . , “ A Wearable Wireless Reflectance Pulse           System , ” In Proceedings of International Conference on Medical
Oximeter with Automatic and Remote On - Demand Activation ,"              and Care Compunetics, NCC'04 , Feb. 2004 , 8 pages .
Annual Fall Meeting of the BMES , 2004 , p . 1 .                          D. Marculescu et al . , “ Ready to Ware,” IEEE Spectrum , vol . 40 ,
A Wireless Wearable Reflectance Pulse Oximeter Printout, The              Issue 10 , Oct. 2003 , pp . 28-32 .
Bioengineering Institute, Worcester Polytechnic Institute, 1 page .       E. Higurashi et al . , “ An integrated laser blood flowmeter,” Journal
Undated .                                                                 of Lightwave Technology, vol . 21 , No. 3 , pp . 591-595 , Mar. 2003 .
Y. Mendelson et al ., A Wireless Wearable Reflectance -Based Fore         Eiji Higurashi et al . , “ Hybrid integration technologies for optical
head Pulse Oximeter, PowerPoint, The Bioengineering Institute ,           micro -systems” , Proc . SPIE 5604 , Optomechatronic Micro /Nano
Worcester Polytechnic Institute, 8 pages . Undated .                      Components, Devices, and Systems , Oct. 25 , 2004 , pp . 67-73 .
R. J. Duckworth et al . , Field Testing of a Wireless Wearable            European Office Action issued in Application No. 09791157.2 ,
Reflectance Pulse Oximeter Printout, Department of Electrical and         dated Jun. 20 , 2016 .
Computer Engineering and Department of Biomedical Engineering,            European Office Action issued in application No. 10763901.5 dated
Worcester Polytechnic Institute, 1 page . Undated .                       Jan. 11 , 2013 .
V. Floroff, “ PDA Interface for the WPI Wireless Physiological            European Office Action issued in application No. 10763901.5 dated
Monitor, " Directed research , Department of Biomedical Engineer          Aug. 6 , 2015 .
ing , Worcester Polytechnic Institute, Mar. 2006 , 42 pages .             European Office Action issued in application No. 10763901.5 dated
Wireless Wearable Reflectance Pulse Oximeter, PowerPoint, The             Aug. 27 , 2014
Bioengineering Institute , Worcester Polytechnic Institute, TATRC ,       Fabio Buttussi et al.,“MOPET: A context -aware and user -adaptive
10 pages. Undated.                                                        wearable system for fitness training," Artificial Intelligence in
V. Floroff, “ Remote Pulse Oximetry: The wireless side of the             Medicine 42 , 2008 , pp . 153-163 .
TATRC project .” Thesis , Worcester Polytechnic Institute, Feb.           G. Comtois et al., “ A Noise Reference Input to an Adaptive Filter
2005 , pp . 1-20 .                                                        Algorithm for Signal Processing in a Wearable Pulse Oximeter,"
Y. Mendelson et al . , “ The Feasibility of Measuring Spo , from the      IEEE , 2007 , pp . 106-107.
Head Using a Reflectance Pulse Oximeter : Effect of Motion Arti           G. Comtois, “ A Comparative Evaluation of Adaptive Noise Can
facts , ” Proceeding of the 3rd European Medical & Biological             cellation Algorithms for Minimizing Motion Artifacts in a Forehead
Engineering Conference , 2005, 5 pages.                                   Mounted Wearable Pulse Oximeter,” Proceedings of the 29th Annual
Y. Mendelson , “ Wearable, Wireless, Noninvasive Physiological            international Conference of the IEEE EMBS, Aug. 23-26 , 2007 , pp .
Sensing , ” The Bioengineering Institute, Worcester Polytechnic Insti      1528-1531 .
tute , 2005 , 2 pages.                                                    G. Tamannagari, “ Power Efficient Design of Finder -Ring Sensor for
Y. Mendelson et al . , “ Wireless Reflectance Pulse Oximetery for         Patient Monitoring , ” Master of Science in Electrical Engineering ,
Remote Triage Application ,” Worcester Polytechnic Institute, 1           The University of Texas at San Antonio , College of Engineering ,
page. Undated.                                                            Department of Electrical Engineering , Dec. 2008 , 74 pages .
A. C. M. Dassel et al ., “ Reflectance Pulse Oximetry at the Forehead     H.H. Asada et al . , “ Mobile Monitoring with Wearable
Improves by Pressure on the Probe,” Journal of Clinical Monitoring ,      Photoplethysmographic Biosensors, ” IEEE Engineering in Medi
vol . 11 , No. 4 , Jul. 1995 , pp . 237-244 .                             cine and Biology Magazine , May / Jun . 2003 , pp . 28-40 .
A. Tura et al ., “ A Wearable Device with Wireless Bluetooth - based      Hall , et al . , Jeffrey W. , Near - Infrared Spectrophotometry: A New
Data Transmission ,” Measurement Science Review , vol . 3 , Sec . 2 ,     Dimension in Clinical Chemistry; vol . 38 ; No. 9 ; 1992 .
2003 , pp . 1-4 .                                                         http://amivital.ugr.es/blog/?tag+spo2; Monitorizacion de la hemoglo
Akira Sakane et al ., “ Estimating Arterial Wall Impedance using a        bina ... y mucho mas , printed on Aug. 20 , 2009 .
Plethysmogram ,” IEEE 2003 , pp. 580-585 .                                http://blogderoliveira.blogspot.com/2008_02_01_archive.html; Ricardo
B. McGarry et al . , “ Reflections on a candidate design of the           Oliveira , printed on Aug. 20 , 2009 .
user -interface for a wireless vital- signs monitor, ” Proceedings of     http://www.masimo.com/generalFloor/system.htm ; Masimo Patient
DARE 2000 on Designing Augmented Reality Environments, Jan.               SafetyNet System at a Glance, printed on Aug. 20 , 2009 .
2000 , pp . 33-40 .                                                       http://www.masimo.com/partners/GRASEBY.htm ; Graseby Medi
B.-H. Yang et al . , “ Development of the ring sensor for healthcare      cal Limited , printed on Aug. 20 , 2009 .
automation ,” Robotics and Autonomous Systems , 2000 , pp . 273           http://www.masimo.com/PARTNERS/WELCHALLYN.htm ; Welch
281 .                                                                     Allyn Expands Patient Monitor Capabilities with Masimo Pulse
B - H . Yang et al . , “ A Twenty -Four Hour Tele -Nursing System Using   Oximetry Technology, printed on Aug. 20 , 2009 .
a Ringer Sensor, ” Proceedings of 1998 IEEE International Confer          http://www.masimo.com/pulseOximeter/PPO.htm ; Masimo Per
ence on Robotics and Automation , May 16-20 , 1998 , 6 pages.             sonal Pulse Oximeter, printed on Aug. 20 , 2009 .
                                                               Stay-Add-794
                      Case: 24-1285               Document: 7              Page: 846                 Filed: 12/26/2023


                                                           US 10,945,648 B2
                                                                     Page 19

( 56 )                     References Cited                               Mendelson et al . , “ A Wearable Reflectance Pulse Oximeter for
                      OTHER PUBLICATIONS
                                                                          Remote Physiological Monitoring , ” Proceedings of the 28th IEEE
                                                                          EMBS Annual International Conference, Aug. 30 - Sep . 3 , 2006 , pp .
                                                                          912-915 .
http://www.masimo.com/pulseOximeter/Rad5.htm ; Signal Extrac              Mendelson et al . , “ Accelerometery - Based Adaptive Noise Cancel
tion Pulse Oximeter, printed on Aug. 20 , 2009 .                          lation for Remote Physiological Monitoring by a Wearable Pulse
http://www.masimo.com/rad-57/; Noninvasive Measurement of                 Oximeter,” Proceedings of the 3rd IASTED International Confer
Methemoglobin , Carboxyhemoglobin and Oxyhemoglobin in the                ence TELEHEALTH , May 31 - Jun . 1 , 2007 , pp . 28-33 .
blood . Printed on Aug. 20 , 2009 .                                       Mendelson et al . , “ Measurement Site and Photodetector Size Con
http://www.masimo.com/rainbow/pronto.htm Noninvasive & Imme               siderations in Optimizing Power Consumption of a Wearable Reflec
diate Hemoglobin Testing, printed on Aug. 20 , 2009 .                     tance Pulse Oximeter,” Proceedings of the 25th Annual Interna
http://www.masimo.com/spco/; Carboxyhemoglobin Noninvasive >              tional Conference of the IEEE EMBS , Sep. 17-21 , 2003 , pp .
Continuous > Immediate, printed on Aug. 20 , 2009 .                       3016-3019 .
International Preliminary Report on Patentability and Written Opin        Mendelson et al ., “ Minimization of LED Power Consumption in the
ion for International Application No. PCT /US2016 /040190, dated          Design of a Wearable Pulse Oximeter ," Proceedings of the IASTED
Jan. 2, 2018, in 7 pages.                                                 International Conference Biomedical Engineering , Jun . 25-27 , 2003 ,
International Preliminary Report on Patentability and Written Opin        6 pages.
ion of the International Searching Authority issued in Application        Townsend, “ Pulse Oximetry,” Medical Electronics, 2001 , pp . 32-42 .
No. PCT US2009 /049638 , dated Jan. 5 , 2011 in 9 pages .                 Naumenko , E. K. , Choice of Wavelengths for Stable Determination
International Preliminary Report on Patentability and Written Opin        of Concentrations of Hemoglobin Derivatives from Absorption
ion of the International Searching Authority issued in Application        Spectra of Erythrocytes; vol . 63 ; No. 1 ; pp . 60-66 Jan. -Feb . 1996 ;
No. PCT/US2009 /052756 , dated Feb. 8 , 2011 in 8 pages .                 Original article submitted Nov. 3 , 1994 .
International Search Report and Written Opinion for PCT /US2009 /         Nonin Medical, Inc. , " Operator's Manual — Models 8600F0 and
049638 , dated Jan. 7 , 2010 .                                            8600FOM Pulse Oximeters , " 2005 , 25 pages .
International Search Report issued in Application No. PCT/US2009/         Nuria Oliver et al . , “ Health Gear: A Real -time Wearable System for
052756 , dated Feb. 10 , 2009 in 14 pages .                               Monitoring and Analyzing Physiological Signals,” Proceedings of
International Search Report, App. No. PCT /US2010 /047899 , Date          the International Workshop on Wearable and Implantable Body
of Actual Completion of Search : Jan. 26 , 2011 , 4 pages .               Sensor Networks 2006 IEEE , pp . 1-4 .
J Kraitl et al . , “ An optical device to measure blood components by     P. Branche et al . , “ Signal Quality and Power Consumption of a New
a photoplethysmographic method , ” Journal of Optics A : Pure and         Prototype Reflectance Pulse Oximeter Sensor,” Proceeding of the
Applied Optics . 7 , 2005 , pp . S318 - S324 .                            31th Annual Northeast Bioengineering Conference, Hoboken , NJ ,
J. A. Tamada et al . , “ Noninvasive Glucose Monitoring : Compre          IEEE , 2005 , pp . 1-2 .
hensive Clinical Results,” JAMA , Nov. 17 , 1999 , vol . 282 , No. 19 ,   P. C. Branche et al . , “ Measurement Reproducibility and Sensor
pp. 1839-1844.                                                            Placement Considerations in Designing a Wearable Pulse Oximeter
J. C. D. Conway et al., “ Wearable computer as a multi -parametric        for Military Applications , ” IEEE , 2004 , pp . 216-217 .
monitor for physiological signals ,” Proceedings IEEE International       P. Celka et al., “ Motion Resistant Earphone Located Infrared Based
Symposium on Bio - Informatics and Biomedical Engineering , Arling        Hearth Rate Measurement Device , ” In Proceeding of the 2nd Inter
ton , VA , USA , 2000 , pp . 236-242 .                                    national Conference on Biomedical Engineering , Innsbruck, Aus
Japanese Notice of Allowance , re JP Application No. 2011-516895 ,        tria , Feb. 16-18 , 2004 , pp . 582-585 .
dated May 12 , 2015 , no translation .                                    P. Lukowicz et al . , “ AMON : A Wearable Medical Computer for
Japanese Office Action , re JP Application No. 2011-516895 , dated        High Risk Patient , ” Proceedings of the 6th International Symposium
Sep. 2 , 2014 , with translation.                                         on Wearable Computers ( ISWC'02 ) , 2002 , pp . 1-2 .
K. Nakajima et al., “ Monitoring of heart and respiratory rates by        P. Lukowicz et al . , “ The WearARM Modular, Low - Power Comput
photoplethysmography using digital filtering technique,” Med . Eng .      ing Core , ” IEEE Micro , May - Jun. 2001 , pp . 16-28 .
Phy. vol . 18 , No. 5 , pp . 365-372 , 1996 .                             P. Renevey et al . , “ Wrist -Located Pulse Detection Using IR Signals,
Kanukurthy et al . , “ Data Acquisition Unit for an Implantable           Activity and Nonlinear Artifact Cancellation , ” Proceedings of the
Multi - Channel Optical Glucose Sensor ” , Electro / Information Tech     23rd Annual EMBS International Conference, Oct. 25-28 , 2001 , pp .
nology Conference , Chicago , IL , USA , May 17-20 , 2007 , pp . 1-6 .    3030-3033 .
Konig et al . , “ Reflectance Pulse Oximetry — Principles and Obstet      P. Shaltis et al., “ Novel Design for a Wearable, Rapidly Depolyable,
ric Application in the Zurich System ”, Journal of Clinical Moni          Wireless Noninvasive Triage Sensor, ” Proceedings of the 2005
toring and Computing, vol . 14 , No. 6 , Aug. 1998 , pp . 403-412 .       IEEE , Engineering in Medicine and Biology 27th Annual Confer
Kuenstner, et al ., J. Todd ; Measurement of Hemoglobin in Unlysed        ence , Sep. 1-4 , 2005 , pp . 3567-3570 .
Blood by Near - Infrared Spectroscopy; vol . 48 , No. 4 , 1994 .          P. T. Gibbs et al ., “ Active Motion Artifact Cancellation for Wearable
L. Grajales et al . , “ Wearable multisensor heart rate monitor , "       Health Monitoring Sensors Using Collocated MEMS Accelerom
International Workshop on Wearable and Implantable Body Sensor            eters,” Proceedings of SPIE Smart Structures and Materials: Sen
Networks ( BSN'06 ) , Cambridge, MA , 2006 , pp . 4-157 .                 sors and Smart Structures Technologies for Civil , Mechanical, and
L. Xu et al . , “ An integrated wrist -worn routine monitoring system     Aerospace Systems, May 17 , 2005 , pp . 811-819 .
for the elderly using BSN ,” 2008 5th International Summer School         P.S. Pandian et al . , " Smart Vest: Wearable Multi - Parameter Remote
and Symposium on Medical Devices and Biosensors , Hong Kong ,             Physiological Monitoring System , ” Medical Engineering & Physics
2008 , pp . 45-48 .                                                       30 , 2008. pp . 466-477 .
Laukkanen RM et al . , “ Heart Rate Monitors : State of the Art ,"        R. Fensli et al ., “ A Wireless ECG System for Continuous Event
Journal of Sports Science , Jan. 1998 , pp . S3 - S7 .                    Recording and Communication to a Clinical Alarm Station , ” Conf
M. Savage et al . , “ Optimizing Power Consumption in the Design of       Proc IEEE Eng Med Biol Soc , 2004 , pp . 1-4 .
a Wearable Wireless Telesensor: Comparison of Pulse Oximeter              R. P. Dresher et al ., " A New Reflectance Pulse Oximeter Housing
Modes, ” Proceedings of IEEE 29th Annual Nonheust Bioengineer             to Reduce Contact Pressure Effects, ” IEEE , 2006 , pp . 49-50 .
ing Conference , 2003 , pp . 150-151 .                                    R. P. Dresher et al . , “ Reflectance Forehead Pulse Oximetry: Effects
M. Yamashita et al . , “ Development of a Ring - Type Vital Sign          on Contact Pressure During Walking , ” Proceedings of the 28th IEEE
Telemeter, ” Biotelemetry XIII , Mar. 26-31 , 1995 , pp . 145-150 .       EMBS Annual International Conference, Aug. 30 - Sep . 3 , 2006 , ppp .
Manzke, et al . , B. , Multi Wavelength Pulse Oximetry in the Mea         3529-3532 .
surement of Hemoglobin Fractions ; SPIE , vol . 2676 , Apr. 24 , 1996 .   R. Paradiso , “ Wearable Health Care System for Vital Signs Moni
Mendelson et al . , " A Mobile PDA - Based Wireless Pulse Oximeter,"      toring,” In Proceedings of IEEE International Conference on Infor
Proceedings of the IASTED International Conference Telehealth ,           mation Technology Applications in Biomedicine, May 2003 , pp .
Jul. 19-21 , 2005 , pp . 1-6 .                                            283-286 .

                                                               Stay-Add-795
                   Case: 24-1285                    Document: 7               Page: 847               Filed: 12/26/2023


                                                             US 10,945,648 B2
                                                                       Page 20

( 56 )                   References Cited                                    Stephen A. Mascaro et al . , “ Measurement of Finger Posture and
                                                                             Three - Axis Fingertip Touch Force Using Fingernail Sensors , ” IEEE
                    OTHER PUBLICATIONS                                       International Conference on Robotics and Automation , 2002 , pp .
                                                                             1-11 .
Russell Dresher, “ Wearable Forehead Pulse Oximetry : Minimiza               Stephen A. Mascaro et al . , “ Photoplethysmograph Fingernail Sen
tion of Motion and Pressure Artifacts ,” May 3 , 2006 , 93 pages .           sors for Measuring Finger Forces Without Haptic Obstruction , "
S. Pentland , “ Healthwear: Medical Technology Becomes Wear                  IEEE Transactions on Robotics and Automation, vol . 17 , No. 5 , Oct.
able,” IEEE Computer Society, vol . 37 , Issue 5 , May 2004 , pp .           2001 , pp . 698-708 .
34-41 .                                                                      T. Kiyokura et al . , “ Wearable Laser Blood Flowmeter for Ubiqui
S. Rhee et al . , “ Artifact - Resistant, Power Efficient Design of Finger   tous Healthcare Service , " 2007 IEEE/LEOS International Confer
Ring Plethysmographic Sensors , Part I : Design and Analysis , ” 22nd        ence on Optical MEMS and Nanophotonics, Hualien , 2007 , pp . 4-5 .
Annual International Conference IEEE Engineering in Medicine                 T. Martin et al . , “ Issues in Wearable Computing for Medical
and Biology Society, Jul. 23-28 , 2000 , pp . 2792-2795 .                    Montioring Applications: A Case Study of a Wearable ECG Moni
S. Rhee et al ., “ Design of a Artifact - Free Wearable Plethysmographic     toring Device,” In Proceedings of International Symposium of
Sensor," 21st Annual International Conference IEEE Engineering in            Wearable Computers ( ISWC²00 ) , Feb. 2000 , pp . 43-49 .
Medicine and Biology Society, Oct. 13-16 , 1999 , p . 786 .                  T. Torfs et al . , “ Body -Heat Powered Autonomous Pulse Oximeter, "
S. Rhee et al . , “ The Ring Sensor: a New Ambulatory Wearable               IEEE Sensors 2006 , EXCO , Oct. 22-25 , 2006 , pp . 427-430 .
Sensor for Twenty -Four Hour Patient Monitoring,” Proceedings of             Takumi Morita et al., “ Integrated Blood Flowmeter Using Micromachin
the 20th Annual International Conference of the IEEE Engineering             ing Technology, ” Dec. 2004 , pp . 77-80 .
in Medicine and Biology Society, Oct. 29 -Nov . 1 , 1998 , 4 pages.          U. Anliker et al . , “ AMON : A Wearable Multiparameter Medical
S. Warren et al . , “ Designing Smart Health Care Technology into the        Monitoring and Alert System , ” IEEE Transactions on Information
Home of the Future , ” Workshops on Future Medical Devices: Home             Technology in Biomedicine, Jan. 2005 , pp . 1-11 .
Care Technologies for the 21 " Century, Apr. 1999 , 19 pages .               W.  Johnston et al . , " Extracting Heart Rate Variability from a
Schmitt, et al., Joseph M .; Measurement of Blood Hematocrit by              Wearable Reflectance Pulse Oximeter,” IEEE , 2005 , pp . 1-2 .
Dual-Wavelength near - IR Photoplethysmography; vol . 1641 ; 1992 .          W. S. Johnston et al . , “ Extracting Breathing Rate Information from
Schmitt, Joseph M .; Simple Photon Diffusion Anaylsis of the Effects         a Wearable Reflectance Pulse Oximeter Sensor,” Proceedings of the
of Multiple Scattering on Pulse Oximetry; Mar. 14 , 1991 ; revised           26th Annual International Conference of the IEEE EMBS , Sep. 1-5 ,
Aug. 30 , 1991 .                                                             2004 , pp . 5388-5391 .
Schnapp, et al . , L.M .; Pulse Oximetry. Uses and Abuses .; Chest           W. S. Johnston et al . , “ Investigation of Signal Processing Algo
1990 ; 98 ; 1244-1250 DOI 10.1378 /Chest.98.5.1244 .                         rithms for an Embedded Microcontroller -Based Wearable Pulse
Small et al., “ Data Handling Issues for Near - Infrared Glucose             Oximeter, ” Proceedings of the 28th IEEE EMBS Annual Interna
Measurements ”, http://www.ieee.org/organizations/pubs/newsletters/          tional Conference , Aug. 30 - Sep . 3 , 2006 , pp . 5888-5891 .
leos / apr98/datahandling.htm , accessed Nov. 27 , 2007 .                    Y - S . Yan et al . , “ An Efficient Motion - Resistant Method for Wear
Smith , “ The Pursuit of Noninvasive Glucose : ‘ Hunting the Deceit          able Pulse Oximeter,” IEEE Transactions on Information Technol
ful Turkey' ”, 2006 .                                                        ogy in Biomedicine, vol . 12 , No. 3 , May 2008 , pp . 399-405 .
Sokwoo Rhee et al . , “ Artifact - Resistant Power - Efficient Design of     Yuan -Hsiang Lin et al., “ A wireless PDA -based physiological
Finger- Ring Plethysmographic Sensors, ” IEEE Transactions on                monitoring system for patient transport,” IEEE Transactions on
Biomedical Engineering , Jul. 2001 , pp . 795-805 , vol . 48 , No. 7 .       Information Technology in Biomedicine , vol . 8 , No. 4 , pp . 439-447 ,
Sonnia Maria López Silva et al . , “ Near -infrared transmittance pulse      Dec. 2004 .
oximetry with laser diodes,” Journal of Biomedical Optics vol .
No. 3 , Jul. 2003 , pp . 525-533 .                                           * cited by examiner




                                                                  Stay-Add-796
           Case: 24-1285                    Document: 7                             Page: 848                      Filed: 12/26/2023


U.S. Patent                   Mar. 16 , 2021                                 Sheet 1 of 65                                       US 10,945,648 B2




                                                                                                                                 NETWORK INTERFAC    116


                 M1ON0IT9OR                                                       OUTP DATA USER                                         STORAGE
                                  IDNAPTUA
                                           P R O C E S SIGNAL                                       INTERFAC
     100                                    108 F-ENDRONT
                                                                INTERFAC      }
                                                                                          3




                                                                                                               3   ?
                                                                                                                       }




                                DETCORS   106

                                                                           MID EASURNT OPTINAL SHIELD MEORY
                                                                                  107
                                                                                          DATA
                                                                                                                                                    FIG
                                                                                                                                                    .
                                                                                                                                                    1



                 1SE0NS1OR     103                                                                         NOISE
                                                                                                     TOPTINAL IS UE SHAPER 105
                                                   :    3       3




                                                                                           DRIVER

                                                                Stay-Add-797
           Case: 24-1285       Document: 7       Page: 849    Filed: 12/26/2023


U.S. Patent              Mar. 16 , 2021       Sheet 2 of 65         US 10,945,648 B2



                                     SENSOR 2012
             200A




                                                                       EMITTER SHELL
  MONITOR
    209a
                                                    7                       204




                                                                          DETECTOR
                                                                            SHELL
 CONTROL
 BUTTONS
                     6                                                       206
   208a
                                    100mglah

                    DISPLAY 210a




                                          FIG . 2A


                                          Stay-Add-798
               Case: 24-1285                    Document: 7           Page: 850              Filed: 12/26/2023


U.S. Patent                        Mar. 16 , 2021             Sheet 3 of 65                        US 10,945,648 B2




                                                                                                                  2B
                                                                                                                  .
                                                                                                                  FIG

                                                                                                     SENOR 2016
                                                                                  ESTE
                                                                                  Center
                                                                                      .




    CABLE ZIZ                                          205 SonAvg
                                                                     OGLOW



                 MONITR 2095
                                                    120        bu
                                                               /7p




                               DISPLAY   210a                                              TESTPLD
        20 B
                                                            CONTRL SNOL10g 2085
                                                      Stay-Add-799
      Case: 24-1285        Document: 7          Page: 851     Filed: 12/26/2023


U.S. Patent          Mar. 16 , 2021        Sheet 4 of 65            US 10,945,648 B2




              200C
                                                     SENSOR
                                                      2010


                           CABLE
                            212




      STRAP
       214



                                                                STRAP
                                                                 214
                                                 DISPLAY
              DISPLAY
              BUTTONS
                2080                   MONITOR
                                         2090




                                         FIG . 2C




                                      Stay-Add-800
            Case: 24-1285    Document: 7       Page: 852         Filed: 12/26/2023


U.S. Patent            Mar. 16 , 2021       Sheet 5 of 65                US 10,945,648 B2




      2000

                                                       DISPLAY
                                                        2100




                                        110
                                        mg/dL
                                                                                 SENSOR
                                                                                  2010

 ETHERNET PORT
  (OPTIONAL )
      218                    CABLE
                              212
    USB INTERFACE
     ( OPTIONAL )
                                                             fermentum

                                         FIG , 2D




                                        Stay-Add-801
           Case: 24-1285        Document: 7          Page: 853    Filed: 12/26/2023


U.S. Patent               Mar. 16 , 2021          Sheet 6 of 65         US 10,945,648 B2




                                                          280
                                                          €
                                       302a
                   307a




    351a                                                                        3A
                                                                                .
                                                                                FIG



                                                                        303a


                                                                  306
                                           3042


                                           Stay-Add-802
      Case: 24-1285      Document: 7      Page: 854    Filed: 12/26/2023


U.S. Patent      Mar. 16 , 2021        Sheet 7 of 65         US 10,945,648 B2




          301A



                  304a

                                                             350a


         307a




                      340


        308a
                                                              315a




                                               310




                                   FIG . 3B



                                  Stay-Add-803
      Case: 24-1285        Document: 7       Page: 855    Filed: 12/26/2023


U.S. Patent          Mar. 16 , 2021       Sheet 8 of 65          US 10,945,648 B2




        301A



                                                                3012


                                           5)                         3502


             307




                         322
                   323

         308a
                                                                320




                                                          321

       370




                                        FIG . 3C



                                      Stay-Add-804
      Case: 24-1285     Document: 7         Page: 856   Filed: 12/26/2023


U.S. Patent      Mar. 16 , 2021         Sheet 9 of 65         US 10,945,648 B2




                            351b                             3076

                 350b

                      ??     EM
                                    *
                                        @



                                            N
                                                               302b 308b




      3060




                                        FIG . 3D




                                  Stay-Add-805
      Case: 24-1285       Document: 7       Page: 857    Filed: 12/26/2023


U.S. Patent       Mar. 16 , 2021        Sheet 10 of 65         US 10,945,648 B2




              DETECTORS
                 316




                                                               DETECTOR
                                                                 SHELL
                                                                 306b

                                    SPACING
                                      340




                               FIG . 3E




                                   Stay-Add-806
      Case: 24-1285           Document: 7      Page: 858     Filed: 12/26/2023


U.S. Patent         Mar. 16 , 2021          Sheet 11 of 65            US 10,945,648 B2




                            MO       3071
                                            3021 308f



                    351     ?                                       3F
                                                                    .
                                                                    FIG
                     3507

                                                             3031

              301                              360
                            3041



                                     Stay-Add-807
      Case: 24-1285         Document: 7          Page: 859   Filed: 12/26/2023


U.S. Patent           Mar. 16 , 2021       Sheet 12 of 65            US 10,945,648 B2



                                                                     420




              422

              423                                                    430


                                           421

                                       FIG . 4A
                                                   470


                                                             430




                                       FIG . 4B               420




                422
                                            ?
          423
                                         ??                    421



                                       FIG , 4C


                                       Stay-Add-808
      Case: 24-1285    Document: 7                  Page: 860            Filed: 12/26/2023


U.S. Patent      Mar. 16 , 2021                Sheet 13 of 65                  US 10,945,648 B2


                                                                 305


                             090               20
                                               nm




       1600nm
                                                                                                  5
                                                                                                  .
                                                                                                  FIG
                              d
                             11




       006WU
                                                         10xdif er nce
                                                                                      WAVELNGTH
                             ~1.5xdif er nce


                                TRANSMITTANCE



                                       Stay-Add-809
      Case: 24-1285     Document: 7      Page: 861       Filed: 12/26/2023


U.S. Patent      Mar. 16 , 2021       Sheet 14 of 65           US 10,945,648 B2

                 608
                                           605




                                  FIG . 6A
                                         605

                              608




                  605             FIG . 6B             608




                                                  610
                                  FIG . 6C




                                  FIG , OD
                                  Stay-Add-810
      Case: 24-1285    Document: 7            Page: 862    Filed: 12/26/2023


U.S. Patent      Mar. 16 , 2021       Sheet 15 of 65              US 10,945,648 B2




                                                     607


                                                                    6E
                                                                    .
                                                                    FIG


                                       9 09    670
                                               .            314

        301




                                  Stay-Add-811
      Case: 24-1285     Document: 7         Page: 863     Filed: 12/26/2023


U.S. Patent       Mar. 16 , 2021       Sheet 16 of 65            US 10,945,648 B2




                                                   EMITTER
         701A                                      HOUSING
                                     LEDS               704a




                                                           FINGER 102

                                                               TISSUE BED
     OPENING
       703a
            731              Zz                                   CONDUCTIVE
                                                                    GLASS
           733                                                       7302
    PHOTODIODES                                                SHELDING 790a

                                                                  DETECTOR
                                                                HOUSING /SHELL

                                       SUBMOUNT
                                            707a
                   DETECTOR
                    SIGNAL
                       107



                               FIG . 7A



                                   Stay-Add-812
       Case: 24-1285       Document: 7         Page: 864   Filed: 12/26/2023


U.S. Patent          Mar. 16 , 2021       Sheet 17 of 65          US 10,945,648 B2




                                                      EMITTER
                                                      HOUSING
                                       EMITTERS         704a
                                         104




                                                           ANGER 102

                                                                TISSUE BED
      OPENING (S )
         703b
    CONTACT AREA                                                    BUMP
        7705                                                        705b
                                                                CONDUCTIVE
     PHOTODIODES                                                GLASS 7300
                                                            SHIELDING 790b

                                                                  DETECTOR
                                                                HOUSING/ SHELL
                                                                     706b
                                          SUBMOUNT
                                            7076
                       DETECTOR
                        SIGNAL



                                  FIG . 7B



                                      Stay-Add-813
       Case: 24-1285          Document: 7      Page: 865          Filed: 12/26/2023


U.S. Patent        Mar. 16 , 2021
                               2            Sheet 18 of 65               US 10,945,648 B2

                                                                        730

                                                                        S
                                                                                      731
     733



                              834
                                                                  820
     FIG . 8A                                                                   730


                    -731

                                      222222                        zz                 733
                                                                                830A
     FIG , 8B

     733        naman natin                  natin     maraming
                                                                                       731
                                                                                       835


     FIG , 8C
                              837                                           8308

                                                                            S
                                                                                            839


     FIG . 8D

                                    Stay-Add-814
      Case: 24-1285                                Document: 7                     Page: 866                Filed: 12/26/2023


U.S. Patent                              Mar. 16 , 2021                      Sheet 19 of 65                               US 10,945,648 B2




        920
              CONDUTIVE   GLAS   )
                                 1N2
                                 /
                                 50092
                                 (                           925
                                                                   CONDUTIVE CONDUTIVE
                                                                     GLAS   N
                                                                            )
                                                                            2000
                                                                            (
                                                                            /
                                                                                         GLAS   )
                                                                                                IN
                                                                                                /
                                                                                                30Q
                                                                                                (



                                                                                                      170
       915           GLAS
                                                                                                      160

                                                                                                      150
                                              porcococo
                                                                                                            W(
                                                                                                             )avelength
                                                                                                             nm              FIG
                                                                                                                             .
                                                                                                                             9




                                                                                                      130


                                         95                85        80 75
                                                                                                      120
                                                          % Transmission
                                                                   XOG R wo
                                                                of Light


                                                                Stay-Add-815
                               Case: 24-1285    Document: 7        Page: 867     Filed: 12/26/2023


U.S. Patent                               Mar. 16 , 2021        Sheet 20 of 65                    US 10,945,648 B2

                                  600

                                                                                         F1ONPLEOINSREG 2OFNPLEOINSREG F3FORONAPLEOINSREG FON4PLEOINSREG
                                  500                       2




                                  400
                                                                                                          1030 1032
                                  300                                              )
                                                                                   Hz
                                                                                   (
                                                                                   Noise
                                                                                   Fofrequency
   SNWGPOFEHIROF EIMSALNDEGC                                                                                                                               10A
                                                                                                                                                           .
                                                                                                                                                           FIG
                                  200                  ?




                                  100

                                  0


                                         -70 -80                 -100 -1 0 -120
                                               Noise Floor ( dB)
                                                           Stay-Add-816
                            Case: 24-1285    Document: 7       Page: 868     Filed: 12/26/2023


U.S. Patent                            Mar. 16 , 2021       Sheet 21 of 65             US 10,945,648 B2

                                600


  1050                          500                                     X          1OFNPLEOINSREG F2ONPLEOINSREG 3OFNPLEOINSREG F4ONPLEOINSREG

                                400                               ?




                                                                                                    1080 1081 1082
                                300                                              )
                                                                                 Hz
                                                                                 (
                                                                                 Noise
                                                                                 Frequency
                                                                                 of
                                                                                                                                                 FIG
                                                                                                                                                 10B
                                                                                                                                                 .1083
  SNCOPEHRFDIUFMSTALNEVCD       200




                                0


                                  -60 -70 -80              -10 -1 0 *120 -130
                                            Noise Floor ( dB)
                                                        Stay-Add-817
       Case: 24-1285          Document: 7       Page: 869      Filed: 12/26/2023


U.S. Patent             Mar. 16 , 2021       Sheet 22 of 65            US 10,945,648 B2




                                      EMITTER 1104


                                                        TOP EMITTING
                                                            LEDS




                                         F


  THERMISTOR
     1120

      DRIVER          SIDE EMITTING
                           LEDS
                                                                           SUBMOUNT
                                                                             1106
                                            FIG . 11A
            CONTROL
             SIGNAL




                                         Stay-Add-818
        Case: 24-1285    Document: 7         Page: 870      Filed: 12/26/2023


U.S. Patent        Mar. 16 , 2021        Sheet 23 of 65              US 10,945,648 B2


   Power ( mW )
                                                          ~ 1.25ms




                                                              1660        1615




        -0.8ms
                                      1330
                            1200

                                                                         STABILIZATION
                  -0.08ms                          0.08ms
                                    Time ( ms )
                                   FIG . 11B

                                    Stay-Add-819
             Case: 24-1285                      Document: 7       Page: 871                     Filed: 12/26/2023


U.S. Patent                               Mar. 16 , 2021       Sheet 24 of 65                         US 10,945,648 B2




                                                           M
                                                           I
                                                                            SUBTRAE      1 08

                         SUBMONT   1 06
                                                                       T H E R M I S O               1 20


                        II
                                                                    Ft
                                                                                                              FIG
                                                                                                              110
                                                                                                              .

     ESLMITDNSEG 1 04

                                              II
                                                                          LETMIODTPSNG   102
                                                                                         1




                                                           Stay-Add-820
               Case: 24-1285             Document: 7      Page: 872      Filed: 12/26/2023


U.S. Patent                         Mar. 16,2021       Sheet 25 of 65          US 10,945,648 B2




                                                           SUBTRAE
               SETMIOTPNG ORT ZOL
                                                            ? ??
                 III N                                                                 11D
                                                                                       FIG
                                                                                       .



    THERMISO                                                         -

                                       III
                                                   Stay-Add-821
      Case: 24-1285      Document: 7       Page: 873     Filed: 12/26/2023


U.S. Patent        Mar. 16 , 2021       Sheet 26 of 65          US 10,945,648 B2




                                                   DETECTOR 1




      DETECTOR4
                  4      ??
                  DETECTOR3
                                                                DETECTOR2




                                                       DETECTOR SUBMOUNT
                                                              1200



                                     FIG . 12A




                                    Stay-Add-822
      Case: 24-1285                   Document: 7       Page: 874             Filed: 12/26/2023


U.S. Patent                     Mar. 16 , 2021       Sheet 27 of 65                         US 10,945,648 B2




         DETCOR SUBMONT   200                                             D1ET CTOR
                                                                                               FIG.12B
         DISTANCED

                                                                                  DETCOR2
          DETCOR4
                                                                DETCOR3
                                                 Stay-Add-823
      Case: 24-1285    Document: 7       Page: 875     Filed: 12/26/2023


U.S. Patent      Mar. 16 , 2021       Sheet 28 of 65         US 10,945,648 B2




                                  DETECTOR1




                                  DETECTOR2


                                                              -D2


                                  DETECTOR3

                                                               D3

                                  DETECTOR4




                           DETECTOR SUBMOUNT 1200




                             FIG . 12C



                                  Stay-Add-824
      Case: 24-1285       Document: 7      Page: 876     Filed: 12/26/2023


U.S. Patent       Mar. 16 , 2021        Sheet 29 of 65         US 10,945,648 B2




                                    DETECTOR1




              DETECTOR2                                  DETECTOR3




                                    DETECTOR4




                             DETECTOR SUBMOUNT 1200



                               FIG . 12D



                                   Stay-Add-825
       Case: 24-1285     Document: 7       Page: 877     Filed: 12/26/2023


U.S. Patent        Mar. 16 , 2021       Sheet 30 of 65         US 10,945,648 B2




                                                                  ANODE 1208




 PHOTODIODE                                                                  1204B
    1202


      1204A




                                    ACTIVE AREA
        CATHODE                     1204
         ( BACK)
          1206


                                        FIG . 12E




                                    Stay-Add-826
       Case: 24-1285      Document: 7       Page: 878     Filed: 12/26/2023


U.S. Patent         Mar. 16 , 2021       Sheet 31 of 65            US 10,945,648 B2




                                                                      ANODE 1208




                               1204C                       12040

  PHOTODIODE
     1202


                              12045                       1204F




                                      ACTIVE AREAS
         CATHODE
          ( BACK)
           1206

                                       FIG , 12F




                                     Stay-Add-827
       Case: 24-1285     Document: 7       Page: 879     Filed: 12/26/2023


U.S. Patent        Mar. 16 , 2021       Sheet 32 of 65         US 10,945,648 B2




                                                                   ANODE 1208




                                                             BE
                                                    .




  PHOTODIODE
     1202
                         1204G              1204H          12041




        CATHODE                      ACTIVE AREAS
         ( BACK)
          1206


                                      FIG . 12G




                                    Stay-Add-828
       Case: 24-1285     Document: 7       Page: 880     Filed: 12/26/2023


U.S. Patent        Mar. 16 , 2021       Sheet 33 of 65         US 10,945,648 B2




                                                                     ANODE 1208




                           1204 )           1204K           1204E



  PHOTODIODE              1204M               1204N          12040
     1202



                        1204P                                1204R




        CATHODE                      ACTIVE AREAS          1204G
         ( BACK)
          1206

                                      FIG . 12H




                                    Stay-Add-829
         Case: 24-1285          Document: 7      Page: 881           Filed: 12/26/2023


U.S. Patent             Mar. 16 , 2021        Sheet 34 of 65                US 10,945,648 B2

                                                                          1300
                         EMITTER ( POINT SOURCE)
                                                                                   1305
    1304 ?
             EMITTER SET            EMITTER SETS                        DRIVER
         }
         }
         }
         }
                ID                        DO             I




                        PULSED                                                    CONTROL
                                                                                   SIGNAL
                                             PULSE                                 ( FROM
                                                                                 PROCESSOR
                                           SEQUENCE                                1010 )
                                              1303


                        PULSE                                 1302
                        MEASUREMENT SITES



  1306
                         ?                                   DETECTED LIGHT

             DETECTOR                          DETECTOR
                                                                  PULSE             PULSE
                                SPACING
                                                                     11



                           PULSE                     PULSE
                           1
                                    STREAM
                                    SIGNAL
                                                                H
                                                              FRONT- END
                                                              INTERFACE
                                                                                  1308

                FIG . 13
                                                               TO SIGNAL
                                                              PROCESSOR
                                                                  1310


                                         Stay-Add-830
          Case: 24-1285    Document: 7       Page: 882     Filed: 12/26/2023


U.S. Patent          Mar. 16 , 2021       Sheet 35 of 65           US 10,945,648 B2




                                                             605

  1408a




                                                                          1400a



                                       FIG . 14A




                                      Stay-Add-831
      Case: 24-1285    Document: 7       Page: 883     Filed: 12/26/2023


U.S. Patent      Mar. 16 , 2021       Sheet 36 of 65           US 10,945,648 B2




                         FROM EMITTERS




                                                   1420




                                                       605




                                           1422




                                                       1400B




                         FIG . 14B


                                  Stay-Add-832
      Case: 24-1285    Document: 7           Page: 884     Filed: 12/26/2023


U.S. Patent      Mar. 16 , 2021           Sheet 37 of 65            US 10,945,648 B2




                                  14100
                      14120                                           14000
                                                           - 4080



                                      T




                            FIG . 140




                                  Stay-Add-833
      Case: 24-1285     Document: 7        Page: 885    Filed: 12/26/2023


U.S. Patent      Mar. 16 , 2021       Sheet 38 of 65            US 10,945,648 B2




                                   38/65




                                                                 --1450
                                           6050

                  607    1432
                                                       1430
         1400c
                         3
                                                                 1412c
                                                              1434




                           FIG . 14D



                                  Stay-Add-834
      Case: 24-1285    Document: 7        Page: 886    Filed: 12/26/2023


U.S. Patent      Mar. 16 , 2021       Sheet 39 of 65         US 10,945,648 B2




                                                         --- 1450


                                    607



                                                                    -6056




                1433

                           FIG . 14E




                                  Stay-Add-835
      Case: 24-1285     Document: 7       Page: 887         Filed: 12/26/2023


U.S. Patent       Mar. 16 , 2021       Sheet 40 of 65               US 10,945,648 B2




                                             1413




               1492b
                                                                         3061
       14100


                          MAHA                                  1492a

                                                            14000



          PT                                  1490
                                                     3061




                           FIG . 14F




                                   Stay-Add-836
      Case: 24-1285    Document: 7       Page: 888     Filed: 12/26/2023


U.S. Patent      Mar. 16 , 2021       Sheet 41 of 65         US 10,945,648 B2




                                                  3101

                                                           3061




                                    FIG , 14G




                                  Stay-Add-837
      Case: 24-1285        Document: 7          Page: 889   Filed: 12/26/2023


U.S. Patent          Mar. 16 , 2021       Sheet 42 of 65          US 10,945,648 B2




                       3061


              605b

       3106



                                            1




                                FIG , 14H




                                      Stay-Add-838
         Case: 24-1285    Document: 7       Page: 890       Filed: 12/26/2023


U.S. Patent         Mar. 16 , 2021       Sheet 43 of 65           US 10,945,648 B2




                             3501                    357f
                                                                          3011




         3041
                                                                       3521
                                                     7 !                    1419
          1419                                                          1480
                                                                        1404
                                                                        1482

  3071


                                                                         1403
     306F
                              II

                                     FIG . 141




                                     Stay-Add-839
      Case: 24-1285             Document: 7          Page: 891     Filed: 12/26/2023


U.S. Patent           Mar. 16 , 2021              Sheet 44 of 65                US 10,945,648 B2




                                           1502

               1520


                           INSULATOR SUBMONT                        LEDS 1504

                                                                                    15A
                                                                                    FIG
                                                                                    .
                                      AA
                                      WA



                      1512 11 5 0 6

                         1510
       150 A


                                            Stay-Add-840
        Case: 24-1285          Document: 7                    Page: 892     Filed: 12/26/2023


U.S. Patent             Mar. 16 , 2021                     Sheet 45 of 65           US 10,945,648 B2




                                1530            1502

                 1520


                           INSULATOR LHSAEIYNTKR SUBMONT                       LEDS 1504

                                                                                           15B
                                                                                           FIG
                                                                                           .

                1512 1            1                                1514



     150 8


                                             Stay-Add-841
      Case: 24-1285      Document: 7                 Page: 893     Filed: 12/26/2023


U.S. Patent      Mar. 16 , 2021                   Sheet 46 of 65         US 10,945,648 B2




                                    619
                                1563
                               1502
                             1561
                                             10




                      1506                                         15C
                                                                   .
                                                                   FIG

                150
                                    1512




                                           Stay-Add-842
      Case: 24-1285     Document: 7                  Page: 894      Filed: 12/26/2023


U.S. Patent       Mar. 16 , 2021                  Sheet 47 of 65          US 10,945,648 B2




                                 1510564139
                               1561                          1580


                        1506                                        15D
                                                                    .
                                                                    FIG

                150 C




                                              Stay-Add-843
      Case: 24-1285               Document: 7      Page: 895     Filed: 12/26/2023


U.S. Patent           Mar. 16 , 2021            Sheet 48 of 65          US 10,945,648 B2




                           1519

                        OCSI                           0891
                                                    89 1

                         909
                                                                  15E
                                                                  .
                                                                  FIG

              150 E
                                     1512




                                            Stay-Add-844
      Case: 24-1285    Document: 7                  Page: 896       Filed: 12/26/2023


U.S. Patent      Mar. 16 , 2021                  Sheet 49 of 65           US 10,945,648 B2




                                          1519
                                                      1504
                                 1530                        1580
                             1565
                                   1563

                      1506                                          15F
                                                                    .
                                                                    FIG
                                                                      &




                150
                                 1512
                                 1510




                                           Stay-Add-845
      Case: 24-1285         Document: 7            Page: 897     Filed: 12/26/2023


U.S. Patent           Mar. 16 , 2021            Sheet 50 of 65          US 10,945,648 B2




                                  1519
                                         1573

              1587
                                                            S
                                                            /




                                                                  15G
                                                                  .
                                                                  FIG

               1512




                                       Stay-Add-846
      Case: 24-1285    Document: 7        Page: 898     Filed: 12/26/2023


U.S. Patent      Mar. 16 , 2021        Sheet 51 of 65         US 10,945,648 B2




                            1573



                                              SZS

                                                    15H
                                                    .
                                                    FIG




                                   Stay-Add-847
          Case: 24-1285                                                 Document: 7                                            Page: 899                Filed: 12/26/2023


U.S. Patent                                            Mar. 16 , 2021                                              Sheet 52 of 65                                          US 10,945,648 B2


                                                                                                                                                                              do r




                                                                                                          ooo      DSIGNTAL PAROCNESDOR IUNTSERFACE                           XoO
                                                                                                                                                                              DO

                                                                                                                                                                              dOoO

              { 5
                                                                                                         ooodoo                                               DRIVER 105      ogo
                                                                                                                                                                              GO D
                                                                                                                                                                              FO D
                         ADC ADC                                :
                                                                        ADC                                                                                                   OD O




                         }                                      }            {           3   i   }   a
                                                                                                     {
                                                                                                          ogVOD
                                                                                                          go r
                                                                                                          00
                                                                                                          00
                                                                                                         ooo0000
                                                                                                                                        CONVERT
                                                                                                                            DSEILGTMA 900                    103              godt
                                                                                                                                                                              gCoOdG
                                                                                                                                                                              DO S
                                                                                                                                                                              DO O

               >                                                                                     5
          3
                                                                                                                                                                              !
                                                                                                                                                                              00


                                                                                                                                                                              YXO O


                                                                                                                             IMPEDANC
                                                                                                          oo
                                                   A                    A


                                                                                                          go s
                                                                                                                   TRANS AMPLIFER 108                                          OO
                                                                                                                                                                                       151
                                                                                                                                                                                       .
                                                                                                                                                                                       FIG
                                                                                         5
                                                                                                                                                                              G0O0OD
                                                                                                                                                                              WO D
          3
               5 {                         &       5 2     51       1                    1 1         5
                                                                                                         ooo000
                                                                                                                                                                              YO O




    102
                     1
                             MEASUREMENT
                                                   BIS
                                                                        w
                                                                                         0   1   2
                                                                                                          go t
                                                                                                          00

                                                                                                          90 0
                                                                                                         modo
                                                                                                          00
                                                                                                                                 PHOTDIES FIWSNRETOGANHERD                    OO

                                                                                                                                                                              COR



                                                                                                                                                                              OO
                                                                                                     3
                                                                                                         ooo                                                                  godt
                                                                                                                                                                              odCO
                                                                                                          COD


                     1       N
                                   LIGHT
                                 . 1   0       1
                                                   D
                                                   R   B                 B       1   .           B   3
                                                                                                          0 03
                                                                                                          PODO

                                                                                                         ooopovo
                                                                                                                          LIGHT       SOURCES     104
                                                                                                                                                                              .
                                                                                                                                                                              DOO

                                                                                                                                                                              CO R
                                                                                                                                                                              OO
                                                                                                                                                                              YO O
                                                                                                                                                                              bo g



                                                                                             Stay-Add-848
                           Case: 24-1285    Document: 7       Page: 900     Filed: 12/26/2023


U.S. Patent                           Mar. 16 , 2021       Sheet 53 of 65          US 10,945,648 B2




                 1.1



                 0.9

                                                                                   ANA




 NSormNalizRed
                                                                            * PD PER STREAM
                           .                                                2 PD PER STREAM
                                                                            3 PD PER STREAM
                                                                            4 PD PER STREAM



                       0         5                           20       25      30
                                                   Resistance ( MOhm )


                                                   FIG . 15J




                                                       Stay-Add-849
          Case: 24-1285      Document: 7           Page: 901     Filed: 12/26/2023


U.S. Patent            Mar. 16 , 2021          Sheet 54 of 65          US 10,945,648 B2


                                                          1508
                4 PD PER STREAM

                                                                         OUTPUT STREAM
 PHOTO                                                                        1506
  DIODE
   1502
                 DETECTOR                  wim y   10MQ        1510


                                          TRANSIMPEDANCE
                                           AMPLIFIER 1504
                                         VS.
  1512
             1 PD PER STREAM
                        1518
    DETECTOR      40MQ 1516

 PHOTO                                               AVERAGER 1520
 DIODE
  1514             40MQ2




   1514
           *
            1
                              I?

   1514
                            I
                                  1516


   1514
                              I
                            FIG . 15J ( CONT.)
                                        Stay-Add-850
        Case: 24-1285      Document: 7           Page: 902     Filed: 12/26/2023


U.S. Patent          Mar. 16 , 2021           Sheet 55 of 65         US 10,945,648 B2

             1522
                                                         TRANSIMPEDANCE
                                                         AMPLIFIER 1526



                                                                     --- 1524
                                                                     3
SUBMOUNT
  700                             {
                                  }
                                                                             {
                                                               1


                                                               }

                                                                   DETECTOR WITH
                                                                     4 PHOTODIODES
                                                                                 106
                    4 PD PER STREAM ARCHITECTURE



                                       1520            TRANSIMPEDANCE
                                                        AMPLIFIER 1532
                        1528
                                                                                 1530
  SUBMOUNT
     700              AVERAGING        AVERAGING
                       CIRCUIT          CIRCUIT




             ??                                                          ?
                                                                             3


                                                                      DETECTOR 106
                      AVERAGING AVERAGING                              WITH SINGLE
                        CIRCUIT         CIRCUIT
                                                                       PHOTODIODE
                                                                   AND TRANSIMPEDANCE
                                                                        AMPLIFIER

                    1 PD PER STREAM ARCHITECTURE

                               FIG . 15K
                                      Stay-Add-851
           Case: 24-1285    Document: 7                  Page: 903      Filed: 12/26/2023


U.S. Patent           Mar. 16 , 2021                  Sheet 56 of 65             US 10,945,648 B2

                                               1534                  TRANSIMPEDANCE
     DDT                                                              AMPUFER 1526

                                                                             }
                                                                             }
                                                                             }

                                                                             }
                                                                                       ?
  SUBMOUNT                                                                   ?
                           OOOI
                                       }                                                   }
                                       {                                                   {
                                       3




                                                           11                }



                                                                                   DETECTOR 106
                                                                                  4 PHOTODIODES
                       4 PD PER STREAM ARCHITECTURE
                                                  TRANSIMPEDANCE
                                          1520     A &PTER 3532

   SUBMOUNT
      700
                                                                                               1540
                           AVERAGING AVERAGING
                             CIRCUIT  CIRCUIT
                                                                       INI
                                           {




                           AVERAGINGI AVERAGING
                                        CIRCUIT                                    3




                                                                                  DETECTOR 106
                                                                                 4 PHOTODIODES
                       1 PD PER STREAM ARCHITECTURE

                        FIG . 15K (CONT.)
                                       Stay-Add-852
                   Case: 24-1285      Document: 7            Page: 904     Filed: 12/26/2023


U.S. Patent                     Mar. 16 , 2021            Sheet 57 of 65          US 10,945,648 B2

                           1542                                        TRANSIMPEDANCE
                                                                         AMPLIFIER 1526


                                                                             E      $

 SUBMOUNT                                            1

                                                                                        }
                                                                                        }
                                                                                        3


                                                                             1




                                                                                     DETECTOR 106
                                                                             1           WITH
                                                                                    4 PHOTODIODES
                                 4 PD PER STREAM ARCHITECTURE
                    1546                                    TRANSIMPEDANCE
                                                   1520       AMPLIFIER 1532

   SUBMOUNT
                                    AVERAGING AVERAGING                                     1548
                                                          CIRCUIT
                                                                                    }
                                                                                    i
                                                      }
                                                     1

                                                 1




                                    AVERAGING
                                      CIRCUIT AVERAGING
                                                CIRCUIT


                            ?                                         ?
     YT .   VITU

                                                                                 DETECTOR 106 WITH
                                                                                   4 PHOTODIODES
                                 1 PD PER STREAM ARCHITECTURE

                                  FIG . 15K (CONT.)
                                                 Stay-Add-853
                          Case: 24-1285                                      Document: 7                                Page: 905                                                   Filed: 12/26/2023


U.S. Patent                                       Mar. 16 , 2021                                               Sheet 58 of 65                                                             US 10,945,648 B2

                                                                                                                                                                                              }




                                                                                                                                                                                                           DEVICE 103
                                                                                                                                       DSIGNTAL APROCNESDR IUNTSERFAC 110
                                                                                                                                                                                            DRIVER
                                                                                                                                                DIGTAL INTERFAC 10 0                                                          90
                                                                                                                                                                                                                              ok


 1                                      5                                        2




                                                                  ADC                                 ADC
     Vr

                                                                                                                                     CSAWPIDTHCEOR ONBACONVERTD IDNTGERFACL   108
                                                                                                                                                                                                                                   15L
                                                                                                                                                                                                                                   FIG
                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                              W




                                                                                                                                                                                                                              HD
                                                                                                                                                                                                                              D.




 I                1                     3    +        + +              5 1           }            !                 1            5




          +   5
                      1

                      5   12   3




                                   $
                                                      MEASUREMENT
                                                                         SITE
                                                                                                      ?
                                                                                                      not


                                                                                                               S
                                                                                                                    {




                                                                                                                    3 >
                                                                                                                        5




                                                                                                                            wa
                                                                                                                                 5




                                                                                                                                 >
                                                                                                                                                      PHOTDIES      106
                                                                                                                                                                                                     FIWSNRETOGAHNERD   101
                                                                                                                                                                                                                              o




                                                                                                                                                                                                                              X




                                       5 ?   51   +   5   +
                                                            LIGHT On
                                                              5
                                                                  D
                                                                  51         5       5   1   51       +   51   11   11 5
                                                                                                                                           LIGHT 104     SOURCES
                                                                                              Stay-Add-854
        Case: 24-1285          Document: 7        Page: 906          Filed: 12/26/2023


U.S. Patent         Mar. 16 , 2021             Sheet 59 of 65              US 10,945,648 B2




             1620
1601                                                          1620
                                       1602


                        1630
                                                                            1630
       160                                           160
                                      16AFIG
                                      .                                                  FIG
                                                                                         16B
                                                                                         .




                                                                                               1610
                                                           1610



                                     Stay-Add-855
      Case: 24-1285           Document: 7      Page: 907       Filed: 12/26/2023


U.S. Patent            Mar. 16 , 2021       Sheet 60 of 65           US 10,945,648 B2



                                                             1751




                                                       1702

      1787



         1705
                 LO
                                                                     1783

       1700
                                                                            - 1760
                       1712
                1785
                                                                       1787
                                                 H
                                                 ? 00
                                                              1791




      FIG . 17

                                        Stay-Add-856
       Case: 24-1285       Document: 7         Page: 908      Filed: 12/26/2023


U.S. Patent          Mar. 16 , 2021       Sheet 61 of 65             US 10,945,648 B2




     6000
               Standard deviations from fit
                      convey Train set = 13 mg / dl
                             Test set = 11 mg/dl
     4000                                                     0
Gu
g
(
/
dL
)
                                                          0


     3000

     2000




       -POOO     0          1000        2000      3000        4000                6000

                                       Gu_hat ( g/ dL )
                                   FIG . 18




                                      Stay-Add-857
        Case: 24-1285    Document: 7         Page: 909   Filed: 12/26/2023


U.S. Patent        Mar. 16 , 2021       Sheet 62 of 65          US 10,945,648 B2




      6000
                Standard deviations from fit                           0

      5000              Train set = 37 mg / dl                     0


                        Test set = 32 mg / dl
      4000                                                0

 Gu
 (
 dL
 g
 /
 )


      3000

      2000




         1000                         2000      3000     4000     5000
                                    Gu_hat ( g /dL )

                               FIG . 19




                                    Stay-Add-858
                       Case: 24-1285    Document: 7        Page: 910      Filed: 12/26/2023


U.S. Patent                       Mar. 16 , 2021       Sheet 63 of 65           US 10,945,648 B2




                       300


                       250


   pGu
    '
    Labs
    (
    mg
    ,
    )
    dL
    /
    rleaditcftoironm   200


                       150




                        50
                             50                      150          200          250


                                          Gu reference (YSI , mg / dL )

                                                   FIG . 20




                                                   Stay-Add-859
         Case: 24-1285        Document: 7        Page: 911      Filed: 12/26/2023


U.S. Patent           Mar. 16 , 2021          Sheet 64 of 65          US 10,945,648 B2




          300                                      2nd day
                               1
          250

          200

    Gu
    mg
    (
    dL
    /
    )     150
                    1st day
                              ??
          100.000
                                                            Prediction
           50                                             0 YSI
                                                          O HemoCue
            0                 7
                0    25           0     25               75              125   150
                                             Time ( minutes )


                                        FIG . 21




                                       Stay-Add-860
                        Case: 24-1285       Document: 7      Page: 912      Filed: 12/26/2023


U.S. Patent                        Mar. 16 , 2021         Sheet 65 of 65          US 10,945,648 B2




               18




               16



 pHot
  '
  Labs
  (
  )
  dL
  /
  g
  ,
  rleaditcftoironm 14
               13

               12


                                        *




                  9

                  8
                             9                      12      13
                                             Hbt reference ( ABL800 , g / dL )


                                                    FIG . 22




                                                    Stay-Add-861
                 Case: 24-1285                  Document: 7               Page: 913                  Filed: 12/26/2023


                                                        US 10,945,648 B2
                                 1                                                                             2
               USER -WORN DEVICE FOR                                                                   -continued
           NONINVASIVELY MEASURING A
    PHYSIOLOGICAL PARAMETER OF A USER                                    application
                                                                         No.           Filing Date     Title
                                                                     5
                 RELATED APPLICATIONS                                    12 /534,825   Aug. 3 , 2009   Multi - Stream Emitter for Non - Invasive
                                                                                                       Measurement of Blood Constituents
    This application is a continuation of U.S. patent applica
tion Ser. No. 16 / 834,538 , filed Mar. 30 , 2020 , which is a                 The foregoing applications are hereby incorporated by
continuation of U.S. patent application Ser. No. 16 /725,292 , 10 reference in their entirety .
filed Dec. 23 , 2019 , which is a continuation of U.S. patent
application Ser. No. 16 / 534,949 , filed Aug. 7 , 2019 , which                                   BACKGROUND
is a continuation of U.S. patent application Ser. No. 16/409 ,
515 , filed May 10 , 2019 , which is a continuation of U.S.                    The standard of care in caregiver environments includes
patent application Ser. No. 16/261,326 , filed Jan. 29, 2019, 15 patient monitoring through spectroscopic analysis using, for
which is a continuation of U.S. patent application Ser. No. example , a pulse oximeter. Devices capable of spectroscopic
16 /212,537 , filed Dec. 6 , 2018 , which is a continuation of analysis generally include a light source (s ) transmitting
U.S. patent application Ser. No. 14/ 981,290 filed Dec. 28 , optical radiation into or reflecting off a measurement site ,
2015 , which is a continuation of U.S. patent application Ser. such as , body tissue carrying pulsing blood . After attenua
No. 12 / 829,352 filed Jul . 1 , 2010 , which is a continuation of 20 tion by tissue and fluids of the measurement site , a photo
U.S. patent application Ser. No. 12 / 534,827 filed Aug. 3 , detection device ( s) detects the attenuated light and outputs a
2009 , which claims the benefit of priority under 35 U.S.C. detector signal( s) responsive to the detected attenuated light.
$ 119 ( e) of the following U.S. Provisional Patent Applica A signal processing device ( s) process the detector ( s) sig
tion Nos . 61 /086,060 filed Aug. 4 , 2008 , 61 / 086,108 filed nal ( s ) and outputs a measurement indicative of a blood
Aug.     4 , 2008, 61 /086,063 filed Aug. 4 , 2008 , 61/086,057 25 constituent of interest, such as glucose, oxygen , met hemo
filed Aug. 4 , 2008 , and 61 / 091,732 filed Aug. 25 , 2008. U.S. globin , total hemoglobin , other physiological parameters, or
patent application Ser. No. 12/ 829,352 is also a continua other data or combinations of data useful in determining a
tion - in -part of U.S. patent application Ser. No. 12/ 497,528 state or trend of wellness of a patient.
filed Jul. 2 , 2009 , which claims the benefit of priority under               In noninvasive devices and methods, a sensor is often
35Application
     U.S.C. § Nos119(.e61) of/086,060
                               the following  U.S.  Provisional    Patent 30 adapted to position a finger proximate the light source and
                                      filed Aug. 4 , 2008 , 61 / 086,108 light detector. For example, noninvasive sensors often
filed Aug. 4 , 2008 , 61 /086,063 filed Aug. 4 , 2008 , 61/086 , include a clothespin - shaped housing that includes a con
057 filed Aug. 4 , 2008 , 61 /078,228 filed Jul. 3 , 2008 , toured bed conforming generally to the shape of a finger.
61 /078,207 filed Jul. 3 , 2008 , and 61 /091,732 filed Aug. 25 ,
2008. U.S. patent application Ser. No. 12/497,528 also 35                              SUMMARY
claims the benefit of priority under 35 U.S.C. § 120 as a
continuation - in -part of the following U.S. Design Patent       This disclosure describes embodiments of noninvasive
Application Nos . 29 /323,409 filed Aug. 25 , 2008 and methods, devices , and systems for measuring a blood con
29 /323,408 filed Aug. 25 , 2008. U.S. patent application No. stituent or analyte, such as oxygen, carbon monoxide ,
12/829,352 is also a continuation -in - part of U.S. patent 40 methemoglobin, total hemoglobin , glucose , proteins, glu
application No. 12/ 497,523 filed Jul. 2 , 2009 , which claims cose , lipids, a percentage thereof ( e.g. , saturation) or for
the benefit of priority under 35 U.S.C. § 119 ( e ) of the measuring many other physiologically relevant patient char
following U.S. Provisional Patent Application Nos . 61/086 ,              acteristics. These characteristics can relate, for example, to
060 filed Aug. 4 , 2008 , 61 / 086,108 filed Aug. 4 , 2008 ,              pulse rate, hydration, trending information and analysis , and
61 /086,063 filed Aug. 4 , 2008 , 61 / 086,057 filed Aug. 4 , 45 the like.
2008 , 61 / 078,228 filed Jul . 3 , 2008 , 61 /078,207 filed Jul . 3 ,       In an embodiment, the system includes a noninvasive
2008 , and 61 /091,732 filed Aug. 25 , 2008. U.S. patent sensor and a patient monitor communicating with the non
application No. 12/ 497,523 also claims the benefit of prior- invasive sensor. The non - invasive sensor may include dif
ity under 35 U.S.C. § 120 as a continuation - in -part of the ferent architectures to implement some or all of the dis
following U.S. Design Patent Application Nos . 29/ 323,409 50 closed features. In addition , an artisan will recognize that the
filed Aug. 25 , 2008 and 29 /323,408 filed Aug. 25 , 2008 .               non - invasive sensor may include or may be coupled to other
    This application is related to the following U.S. patent components , such as a network interface, and the like .
applications :                                                            Moreover, the patient monitor may include a display device ,
                                                                          a network interface communicating with any one or com
application                                                            55 bination   of a computer network , a handheld computing
No.           Filing Date Title                                           device , a mobile  phone , the Internet, or the like. In addition ,
                                                                          embodiments may include multiple optical sources that emit
12 /497,528 Jul. 2 , 2009 Noise Shielding for Noninvasive Device          light at a plurality of wavelengths and that are arranged from
                            Contoured Protrusion for Improving            the  perspective of the light detector ( s) as a point source .
12 /497,523 Jul. 2 , 2009   Spectroscopic Measurement of Blood         60    In an embodiment, a noninvasive device is capable of
                            Constituents
12 /497,506 Jul. 2 , 2009   Heat Sink for Noninvasive Medical             producing a signal responsive to light attenuated by tissue at
                            Sensor                                        a measurement site . The device may comprise an optical
12/534,812 Aug. 3 , 2009 Multi - Stream Sensor Front Ends for
                            Non - Invasive Measurement of Blood           source and a plurality of photodetectors. The optical source
                            Constituents                                  is configured to emit optical radiation at least at wavelengths
12 /534,823 Aug. 3 , 2009 Multi - Stream Sensor for Non - Invasive     65 between about 1600 nm and about 1700 nm . The photode
                            Measurement of Blood Constituents             tectors are configured to detect the optical radiation from
                                                                          said optical source after attenuation by the tissue of the
                                                            Stay-Add-862
                Case: 24-1285                 Document: 7            Page: 914            Filed: 12/26/2023


                                                     US 10,945,648 B2
                               3                                                                  4
measurement site and each output a respective signal stream signal having a stream for each of the plurality of detectors;
responsive to the detected optical radiation.                and an output configured to provide the digital output signal .
   In an embodiment, a noninvasive, physiological sensor is     In an embodiment, a conversion processor for a physi
capable of outputting a signal responsive to a blood analyte ological , noninvasive sensor comprises: a multi -stream input
present in a monitored patient. The sensor may comprise a 5 configured to receive signals from a plurality of detectors in
sensor housing, an optical source, and photodetectors . The the sensor, wherein the signals are responsive to optical
optical source is positioned by the housing with respect to a   radiation from a tissue site ; a modulator that converts the
tissue site of a patient when said housing is applied to the multi- stream input into a digital bit -stream ; and a signal
patient. The photodetectors are positioned by the housing processor that produces an output signal from the digital
with respect to said tissue site when the housing is applied 10 bit - stream .
to the patient with a variation in path length among at least         In an embodiment, a front - end interface for a noninvasive ,
some of the photodetectors from the optical source. The physiological sensor comprises: a set of inputs configured to
photodetectors are configured to detect a sequence of optical receive signals from a plurality of detectors in the sensor ; a
radiation from the optical source after attenuation by tissue set of respective transimpedance amplifiers for each detector
of the tissue site . The photodetectors may be each configured 15 configured to convert the signals from the plurality of
to output a respective signal stream responsive to the detectors into an output signal having a stream for each of
detected sequence of optical radiation . An output signal the plurality of detectors ; and an output configured to
responsive to one or more of the signal streams is then provide the output signal.
usable to determine the blood analyte based at least in part          In certain embodiments, a noninvasive sensor interfaces
on the variation in path length.                                20 with tissue at a measurement site and deforms the tissue in
   In an embodiment, a method of measuring an analyte a way that increases signal gain in certain desired wave
based on multiple streams of optical radiation measured lengths.
from a measurement site is provided . A sequence of optical           In some embodiments, a detector for the sensor may
radiation pulses is emitted to the measurement site . At a first comprise a set of photodiodes that are arranged in a spatial
location , a first stream of optical radiation is detected from 25 configuration . This spatial configuration may allow, for
the measurement site . At least at one additional location example, signal analysis for measuring analytes like glu
different from the first location , an additional stream of cose . In various embodiments, the detectors can be arranged
optical radiation is detected from the measurement site . An across multiple locations in a spatial configuration. The
output measurement value indicative of the analyte is then spatial configuration provides a geometry having a diversity
determined based on the detected streams of optical radia- 30 of path lengths among the detectors. For example, the
tion .                                                             detector in the sensor may comprise multiple detectors that
   In various embodiments, the present disclosure relates to are arranged to have a sufficient difference in mean path
an interface for a noninvasive sensor that comprises a length to allow for noise cancellation and noise reduction .
front - end adapted to receive an input signals from optical          In an embodiment, a physiological, noninvasive detector
detectors and provide corresponding output signals . In an 35 is configured to detect optical radiation from a tissue site .
embodiment , the front - end is comprised of switched -capaci- The detector comprises a set of photodetectors and a con
tor circuits that are capable of handling multiple streams of version processor. The set of photodetectors each provide a
signals from the optical detectors. In another embodiment, signal stream indicating optical radiation from the tissue
the front - end comprises transimpedance amplifiers that are site . The set of photodetectors are arranged in a spatial
capable of handling multiple streams of input signals . In 40 configuration that provides a variation in path lengths
addition , the transimpedance amplifiers may be configured between at least some of the photodetectors . The conversion
based on the characteristics of the transimpedance amplifier processor that provides information indicating an analyte in
itself, the characteristics of the photodiodes, and the number the tissue site based on ratios of pairs of the signal streams.
of photodiodes coupled to the transimpedance amplifier.            The present disclosure, according to various embodi
   In disclosed embodiments, the front - ends are employed in 45 ments, relates to noninvasive methods, devices , and systems
noninvasive sensors to assist in measuring and detecting for measuring a blood analyte, such as glucose . In the
various analytes. The disclosed noninvasive sensor may also present disclosure, blood analytes are measured noninva
include , among other things , emitters and detectors posi- sively based on multi - stream infrared and near- infrared
tioned to produce multi- stream sensor information . An arti- spectroscopy. In some embodiments, an emitter may include
san will recognize that the noninvasive sensor may have 50 one or more sources that are configured as a point optical
different architectures and may include or be coupled to source . In addition, the emitter may be operated in a manner
other components, such as a display device, a network             that allows for the measurement of an analyte like glucose .
interface, and the like . An artisan will also recognize that the In embodiments, the emitter may comprise a plurality of
front - ends may be employed in any type of noninvasive LEDs that emit a sequence of pulses of optical radiation
sensor.                                                        55 across a spectrum of wavelengths. In addition , in order to
   In an embodiment, a front - end interface for a noninvasive, achieve the desired SNR for detecting analytes like glucose ,
physiological sensor comprises: a set of inputs configured to       the emitter may be driven using a progression from low
receive signals from a plurality of detectors in the sensor; a      power to higher power . The emitter may also have its duty
set of transimpedance amplifiers configured to convert the cycle modified to achieve a desired SNR .
signals from the plurality of detectors into an output signal 60 In an embodiment, a multi - stream emitter for a noninva
having a stream for each of the plurality of detectors ; and an sive , physiological device configured to transmit optical
output configured to provide the output signal .                  radiation in a tissue site comprises: a set of optical sources
   In an embodiment, a front - end interface for a noninvasive , arranged as a point optical source ; and a driver configured to
physiological sensor comprises: a set of inputs configured to drive the at least one light emitting diode and at least one
receive signals from a plurality of detectors in the sensor; a 65 optical source to transmit near - infrared optical radiation at
set of switched capacitor circuits configured to convert the sufficient power to measure an analyte in tissue that responds
signals from the plurality of detectors into a digital output to near - infrared optical radiation .
                                                          Stay-Add-863
                   Case: 24-1285             Document: 7              Page: 915              Filed: 12/26/2023


                                                     US 10,945,648 B2
                               5                                                                    6
   In an embodiment, an emitter for a noninvasive, physi-                  FIGS . 6A through 6D illustrate perspective , front eleva
ological device configured to transmit optical radiation in a tion , side and top views of another example protrusion ,
tissue site comprises: a point optical source comprising an according to an embodiment of the disclosure;
optical source configured to transmit infrared and near                    FIG . 6E illustrates an example sensor incorporating the
infrared optical radiation to a tissue site ; and a driver 5 protrusion of FIGS . 6A through 6D , according to an embodi
configured to drive the point optical source at a sufficient ment of the disclosure ;
power and noise tolerance to effectively provide attenuated conductive     FIGS . 7A through 7B illustrate example arrangements of
optical radiation from a tissue site that indicates an amount                        glass that may be employed in the system of FIG .
of glucose in the tissue site .                                        1 , according to embodiments of the disclosure ;
   In an embodiment, a method of transmitting a stream of 10 viewFIGS        ,
                                                                                 . 8A through 8D illustrate an example top elevation
                                                                                side  views , and a bottom elevation view of the
pulses of optical radiation in a tissue site is provided . At least conductive glass       that may be employed in the system of FIG .
one pulse of infrared optical radiation having a first pulse 1 , according to embodiments               of the disclosure ;
width is transmitted at a first power. At least one pulse of               FIG . 9 shows example comparative results obtained by an
near -infrared optical radiation is transmitted at a power that 15 embodiment of a sensor;
is higher than the first power.                                            FIGS . 10A and 10B illustrate comparative noise floors of
   In an embodiment, a method of transmitting a stream of various embodiments of the present disclosure;
pulses of optical radiation in a tissue site is provided . At least        FIG . 11A illustrates an exemplary emitter that may be
one pulse of infrared optical radiation having a first pulse employed in the sensor, according to an embodiment of the
width is transmitted at a first power. At least one pulse of 20 disclosure ;
near - infrared optical radiation is then transmitted , at a sec-          FIG . 11B illustrates a configuration of emitting optical
ond power that is higher than the first power.                         radiation into a measurement site for measuring blood
   For purposes of summarizing the disclosure , certain constituents , according to an embodiment of the disclosure ;
aspects , advantages and novel features of the inventions                  FIG . 11C illustrates another exemplary emitter that may
have been described herein . It is to be understood that not 25 be employed in the sensor according to an embodiment of
necessarily all such advantages can be achieved in accor the disclosure ;
dance with any particular embodiment of the inventions                     FIG . 11D illustrates another exemplary emitter that may
disclosed herein . Thus, the inventions disclosed herein can be employed in the sensor according to an embodiment of
be embodied or carried out in a manner that achieves or the disclosure;
optimizes one advantage or group of advantages as taught 30 FIG . 12A illustrates an example detector portion that may
herein without necessarily achieving other advantages as can be employed in an embodiment of a sensor , according to an
be taught or suggested herein .                                        embodiment of the disclosure;
                                                                           FIGS . 12B through 12D illustrate exemplary arrange
        BRIEF DESCRIPTION OF THE DRAWINGS                              ments of detectors that may be employed in an embodiment
                                                                    35 of the sensor, according to some embodiments of the dis
   Throughout the drawings, reference numbers can be re- closure ;
used to indicate correspondence between referenced ele-                    FIGS . 12E through 12H illustrate exemplary structures of
ments . The drawings are provided to illustrate embodiments photodiodes that may be employed in embodiments of the
of the inventions described herein and not to limit the scope detectors , according to some embodiments of the disclosure ;
thereof.                                                            40     FIG . 13 illustrates an example multi - stream operation of
   FIG . 1 illustrates a block diagram of an example data the system of FIG . 1 , according to an embodiment of the
collection system capable of noninvasively measuring one disclosure;
or more blood analytes in a monitored patient, according to                FIG . 14A illustrates another example detector portion
an embodiment of the disclosure ;                                      having a partially cylindrical protrusion that can be
   FIGS . 2A - 2D illustrate an exemplary handheld monitor 45 employed in an embodiment of a sensor, according to an
and an exemplary noninvasive optical sensor of the patient embodiment of the disclosure;
monitoring system of FIG . 1 , according to embodiments of                 FIG . 14B depicts a front elevation view of the partially
the disclosure ;                                                       cylindrical protrusion of FIG . 14A ;
   FIGS . 3A - 3C illustrate side and perspective views of an              FIGS . 14C through 14E illustrate embodiments of a
exemplary noninvasive sensor housing including a finger 50 detector submount;
bed protrusion and heat sink , according to an embodiment of               FIGS . 14F through 14H illustrate embodiment of portions
the disclosure ;                                                     of a detector shell ;
   FIG . 3D illustrates a side view of another example non-        FIG . 141 illustrates a cutaway view of an embodiment of
invasive sensor housing including a heat sink, according to a sensor;
an embodiment of the disclosure;                             55    FIGS . 15A through 15F illustrate embodiments of sensors
   FIG . 3E illustrates a perspective view of an example that include heat sink features;
noninvasive sensor detector shell including example detec-         FIGS . 15G and 15H illustrate embodiments of connector
tors , according to an embodiment of the disclosure ;           features that can be used with any of the sensors described
   FIG . 3F illustrates a side view of an example noninvasive herein ;
sensor housing including a finger bed protrusion and heat 60 FIG . 151 illustrates an exemplary architecture for a tran
sink , according to an embodiment of the disclosure ;           simpedance -based front - end that may be employed in any of
   FIGS . 4A through 4C illustrate top elevation , side and top the sensors described herein ;
perspective views of an example protrusion , according to an       FIG . 15J illustrates an exemplary noise model for con
embodiment of the disclosure;                                   figuring the transimpedance -based front - ends shown in FIG .
   FIG . 5 illustrates an example graph depicting possible 65 151 ;
effects of a protrusion on light transmittance, according to an    FIG . 15K shows different architectures and layouts for
embodiment of the disclosure ;                                       various embodiments of a sensor and its detectors;
                                                         Stay-Add-864
                Case: 24-1285                Document: 7            Page: 916            Filed: 12/26/2023


                                                     US 10,945,648 B2
                               7                                                                 8
   FIG . 15L illustrates an exemplary architecture for a adequately included information indicative of one or more
switched -capacitor -based front -end that may be employed in physiological parameters of the patient. Such light noise
any of the sensors described herein ;                            includes light piping.
   FIGS . 16A and 16B illustrate embodiments of disposable          In an embodiment, the protrusion can be formed from the
optical sensors ;                                             5 curved bed , or can be a separate component that is posi
   FIG . 17 illustrates an exploded view of certain compo tionable with respect to the bed . In an embodiment, a lens
nents of an example sensor; and                                  made from any appropriate material is used as the protru
                                                                 sion . The protrusion can be convex in shape. The protrusion
   FIGS . 18 through 22 illustrate various results obtained by can
an exemplary sensor of the disclosure .                               also be sized and shaped to conform the measurement
                                                              10 site into a flat or relatively flat surface . The protrusion can
                DETAILED DESCRIPTION                               also be sized to conform the measurement site into a rounded
                                                              surface, such as , for example, a concave or convex surface .
                                                                   The protrusion can include a cylindrical or partially cylin
   The present disclosure generally relates to non - invasive drical shape. The protrusion can be sized or shaped differ
medical devices. In the present disclosure , a sensor can 15 ently  for different types of patients, such as an adult, child ,
measure various blood constituents or analytes noninva or infant
sively using multi- stream spectroscopy. In an embodiment, differently. The
                                                                          for
                                                                                protrusion can also be sized or shaped
                                                                               different measurement sites , including, for
the multi- stream spectroscopy can employ visible , infrared example , a finger, toe , hand , foot, ear, forehead, or the like .
and near infrared wavelengths . As disclosed herein , the The protrusion can thus be helpful in any type of noninva
sensor is capable of noninvasively measuring blood analytes 20 sive sensor. The external surface of the protrusion can
or percentages thereof ( e.g. , saturation ) based on various include one or more openings or windows . The openings can
combinations of features and components.                          be made from glass to allow attenuated light from a mea
   In various embodiments, the present disclosure relates to surement site , such as a finger, to pass through to one or
an interface for a noninvasive glucose sensor that comprises more detectors. Alternatively, some of all of the protrusion
a front - end adapted to receive an input signals from optical 25 can be a lens, such as a partially cylindrical lens .
detectors and provide corresponding output signals . The            The sensor can also include a shielding , such as a metal
front - end may comprise, among other things, switched enclosure as described below or embedded within the pro
capacitor circuits or transimpedance amplifiers. In an trusion to reduce noise. The shielding can be constructed
embodiment, the front- end may comprise switched capacitor from a conductive material, such as copper, in the form of a
circuits that are configured to convert the output of sensor's 30 metal cage or enclosure, such as a box . The shielding can
detectors into a digital signal. In another embodiment, the include a second set of one or more openings or windows.
front -end may comprise transimpedance amplifiers. These The second set of openings can be made from glass and
transimpedance amplifiers may be configured match one allow light that has passed through the first set of windows
or more photodiodes in a detector based on a noise model of the external surface of the protrusion to pass through to
that accounts for characteristics, such as the impedance, of 35 one or more detectors that can be enclosed , for example, as
the transimpedance amplifier, characteristics of each photo- described below .
diode , such as the impedance, and the number of photo-            In various embodiments, the shielding can include any
diodes coupled to the transimpedance amplifier.                 substantially transparent, conductive material placed in the
   In the present disclosure, the front - ends are employed in optical path between an emitter and a detector. The shielding
a sensor that measures various blood analytes noninvasively 40 can be constructed from a transparent material, such as
using multi - stream spectroscopy . In an embodiment, the glass , plastic , and the like . The shielding can have an
multi- stream spectroscopy can employ visible , infrared and electrically conductive material or coating that is at least
near infrared wavelengths. As disclosed herein , the sensor is partially transparent. The electrically conductive coating can
capable of noninvasively measuring blood analytes, such as be located on one or both sides of the shielding , or within the
glucose , total hemoglobin, methemoglobin, oxygen content, 45 body of the shielding . In addition , the electrically conductive
and the like, based on various combinations of features and coating can be uniformly spread over the shielding or may
components.                                                     be patterned . Furthermore , the coating can have a uniform or
   In an embodiment, a physiological sensor includes a varying thickness to increase or optimize its shielding effect.
detector housing that can be coupled to a measurement site , The shielding can be helpful in virtually any type of non
such as a patient's finger. The sensor housing can include a 50 invasive sensor that employs spectroscopy.
curved bed that can generally conform to the shape of the            In an embodiment, the sensor can also include a heat sink .
measurement site . In addition , the curved bed can include a      In an embodiment, the heat sink can include a shape that is
protrusion shaped to increase an amount of light radiation         functional in its ability to dissipate excess heat and aestheti
from the measurement site . In an embodiment, the protru- cally pleasing to the wearer . For example , the heat sink can
sion is used to thin out the measurement site . This allows the 55 be configured in a shape that maximizes surface area to
light radiation to pass through less tissue , and accordingly is   allow for greater dissipation of heat . In an embodiment, the
attenuated less . In an embodiment, the protrusion can be          heat sink includes a metalicized plastic , such as plastic
used to increase the area from which attenuated light can be       including carbon and aluminum to allow for improved
measured . In an embodiment, this is done through the use of       thermal conductivity and diffusivity. In an embodiment, the
a lens which collects attenuated light exiting the measure- 60 heat sink can advantageously be inexpensively molded into
ment site and focuses onto one or more detectors . The             desired shapes and configurations for aesthetic and func
protrusion can advantageously include plastic , including a tional purposes . For example, the shape of the heat sink can
hard opaque plastic , such as a black or other colored plastic , be a generally curved surface and include one or more fins,
helpful in reducing light noise . In an embodiment, such light undulations, grooves or channels, or combs .
noise includes light that would otherwise be detected at a 65 The sensor can include photocommunicative components,
photodetector that has not been attenuated by tissue of the such as an emitter, a detector, and other components. The
measurement site of a patient sufficient to cause the light to emitter can include a plurality of sets of optical sources that,
                                                         Stay-Add-865
               Case: 24-1285                Document: 7            Page: 917             Filed: 12/26/2023


                                                   US 10,945,648 B2
                              9                                                                   10
in an embodiment, are arranged together as a point source . heat dissipation . A thermistor may also be employed to
The various optical sources can emit a sequence of optical account for heating effects on the LEDs . The emitter may
radiation pulses at different wavelengths towards a measure- further comprise a glass window and a nitrogen environment
ment site , such as a patient's finger. Detectors can then to improve transmission from the sources and prevent oxi
detect optical radiation from the measurement site . The 5 dative effects .
optical sources and optical radiation detectors can operate at    The sensor can be coupled to one or more monitors that
any appropriate wavelength , including, as discussed herein , process and / or display the sensor's output . The monitors can
infrared , near infrared , visible light, and ultraviolet. In include various components, such as a sensor front end , a
addition , the optical sources and optical radiation detectors signal processor, a display, etc.
can operate at any appropriate wavelength , and such modi- 10 The sensor can be integrated with a monitor, for example,
fications to the embodiments desirable to operate at any such into a handheld unit including the sensor, a display and user
wavelength will be apparent to those skilled in the art .      controls. In other embodiments, the sensor can communicate
   In certain embodiments, multiple detectors are employed with one or more processing devices . The communication
and arranged in a spatial geometry. This spatial geometry can be via wire( s ), cable ( s ) , flex circuit ( s ) , wireless tech
provides a diversity of path lengths among at least some of 15 nologies , or other suitable analog or digital communication
the detectors and allows for multiple bulk and pulsatile methodologies and devices to perform those methodologies.
measurements that are robust. Each of the detectors can Many of the foregoing arrangements allow the sensor to be
provide a respective output stream based on the detected         attached to the measurement site while the device is attached
optical radiation , or a sum of output streams can be provided elsewhere on a patient, such as the patient's arm , or placed
from multiple detectors . In some embodiments, the sensor 20 at a location near the patient, such as a bed , shelf or table .
can also include other components, such as one or more heat The sensor or monitor can also provide outputs to a storage
sinks and one or more thermistors .                              device or network interface .
   The spatial configuration of the detectors provides a            Reference will now be made to the Figures to discuss
geometry having a diversity of path lengths among the embodiments of the present disclosure.
detectors . For example, a detector in the sensor may com- 25 FIG . 1 illustrates an example of a data collection system
prise multiple detectors that are arranged to have a sufficient 100. In certain embodiments , the data collection system 100
difference in mean path length to allow for noise cancella- noninvasively measure a blood analyte, such as oxygen ,
tion and noise reduction . In addition , walls may be used to carbon monoxide, methemoglobin , total hemoglobin , glu
separate individual photodetectors and prevent mixing of cose , proteins, glucose , lipids , a percentage thereof ( e.g. ,
detected optical radiation between the different locations on 30 saturation) or for measuring many other physiologically
the measurement site . A window may also be employed to relevant patient characteristics. The system 100 can also
facilitate the passing of optical radiation at various wave- measure additional blood analytes and /or other physiologi
lengths for measuring glucose in the tissue .                    cal parameters useful in determining a state or trend of
   In the present disclosure, a sensor may measure various wellness of a patient.
blood constituents or analytes noninvasively using spectros- 35 The data collection system 100 can be capable of mea
copy and a recipe of various features. As disclosed herein , suring optical radiation from the measurement site . For
the sensor is capable of non - invasively measuring blood example , in some embodiments , the data collection system
analytes, such as , glucose , total hemoglobin , methemoglo- 100 can employ photodiodes defined in terms of area . In an
bin , oxygen content, and the like . In an embodiment, the embodiment, the area is from about 1 mm² - 5 mm² ( or
spectroscopy used in the sensor can employ visible , infrared 40 higher ) that are capable of detecting about 100 nanoamps
and near infrared wavelengths. The sensor may comprise an (NA ) or less of current resulting from measured light at full
emitter, a detector, and other components. In some embodi- scale . In addition to having its ordinary meaning , the phrase
ments, the sensor may also comprise other components, such “ at full scale” can mean light saturation of a photodiode
as one or more heat sinks and one or more thermistors .       amplifier ( not shown ). Of course , as would be understood by
   In various embodiments , the sensor may also be coupled 45 a person of skill in the art from the present disclosure ,
to one or more companion devices that process and / or various other sizes and types of photodiodes can be used
display the sensor's output. The companion devices may with the embodiments of the present disclosure .
comprise various components, such as a sensor front-end, aThe data collection system 100 can measure a range of
signal processor, a display , a network interface, a storage
                                                        approximately about 2 nA to about 100 nA full scale . The
device or memory, etc.                               50 data collection system 100 can also include sensor front
  A sensor can include photocommunicative components, ends that are capable of processing and amplifying current
such as an emitter, a detector, and other components. The         from the detector ( s) at signal- to -noise ratios ( SNRs ) of about
emitter is configured as a point optical source that comprises    100 decibels (dB ) or more , such as about 120 dB in order to
a plurality of LEDs that emit a sequence of pulses of optical     measure various desired analytes. The data collection sys
radiation across a spectrum of wavelengths. In some 55 tem 100 can operate with a lower SNR if less accuracy is
embodiments, the plurality of sets of optical sources may desired for an analyte like glucose .
each comprise at least one top -emitting LED and at least one The data collection system 100 can measure analyte
super luminescent LED . In some embodiments , the emitter concentrations, including glucose , at least in part by detect
comprises optical sources that transmit optical radiation in ing light attenuated by a measurement site 102. The mea
the infrared or near -infrared wavelengths suitable for detect- 60 surement site 102 can be any location on a patient's body,
ing blood analytes like glucose . In order to achieve the such as a finger, foot, ear lobe , or the like . For convenience,
desired SNR for detecting analytes like glucose , the emitter this disclosure is described primarily in the context of a
may be driven using a progression from low power to higher finger measurement site 102. However, the features of the
power. In addition , the emitter may have its duty cycle embodiments disclosed herein can be used with other mea
modified to achieve a desired SNR .                             65 surement sites 102 .
   The emitter may be constructed of materials , such as             In the depicted embodiment, the system 100 includes an
aluminum nitride and may include a heat sink to assist in optional tissue thickness adjuster or tissue shaper 105 , which
                                                       Stay-Add-866
               Case: 24-1285                Document: 7            Page: 918            Filed: 12/26/2023


                                                   US 10,945,648 B2
                             11                                                                 12
can include one or more protrusions, bumps, lenses , or other further detail below, the emitter 104 can include one or more
suitable tissue -shaping mechanisms. In certain embodi- sources of optical radiation , such as LEDs , laser diodes ,
ments, the tissue shaper 105 is a flat or substantially flat incandescent bulbs with appropriate frequency - selective fil
surface that can be positioned proximate the measurement ters , combinations of the same , or the like . In an embodi
site 102 and that can apply sufficient pressure to cause the 5 ment, the emitter 104 includes sets of optical sources that are
tissue of the measurement site 102 to be flat or substantially capable of emitting visible and near - infrared optical radia
flat. In other embodiments, the tissue shaper 105 is a convex tion .
or substantially convex surface with respect to the measure-     In some embodiments, the emitter 104 is used as a point
ment site 102. Many other configurations of the tissue shaper optical source , and thus, the one or more optical sources of
105 are possible . Advantageously, in certain embodiments, 10 the emitter 104 can be located within a close distance to each
the tissue shaper 105 reduces thickness of the measurement other, such as within about a 2 mm to about 4 mm . The
site 102 while preventing or reducing occlusion at the emitters 104 can be arranged in an array, such as is described
measurement site 102. Reducing thickness of the site can in U.S. Publication No. 2006/0211924 , filed Sep. 21 , 2006 ,
advantageously reduce the amount of attenuation of the light titled “ Multiple Wavelength Sensor Emitters ,” the disclosure
because there is less tissue through which the light must 15 of which is hereby incorporated by reference in its entirety.
travel. Shaping the tissue in to a convex ( or alternatively In particular, the emitters 104 can be arranged at least in part
concave ) surface can also provide more surface area from as described in paragraphs [ 0061 ] through [ 0068 ] of the
which light can be detected .                                   aforementioned publication, which paragraphs are hereby
   The embodiment of the data collection system 100 shown incorporated specifically by reference. Other relative spatial
also includes an optional noise shield 103. In an embodi- 20 relationships can be used to arrange the emitters 104 .
ment, the noise shield 103 can be advantageously adapted to       For analytes like glucose , currently available non - inva
reduce electromagnetic noise while increasing the transmit- sive techniques often attempt to employ light near the water
tance of light from the measurement site 102 to one or more absorbance minima at or about 1600 nm . Typically, these
detectors 106 (described below ) . For example, the noise devices and methods employ a single wavelength or single
shield 103 can advantageously include a conductive coated 25 band of wavelengths at or about 1600 nm . However, to date ,
glass or metal grid electrically communicating with one or these techniques have been unable to adequately consis
more other shields of the sensor 101 or electrically tently measure analytes like glucose based on spectroscopy.
grounded. In an embodiment where the noise shield 103             In contrast, the emitter 104 of the data collection system
includes conductive coated glass , the coating can advanta- 100 can emit, in certain embodiments, combinations of
geously include indium tin oxide . In an embodiment, the 30 optical radiation in various bands of interest. For example ,
indium tin oxide includes a surface resistivity ranging from in some embodiments, for analytes like glucose , the emitter
approximately 30 ohms per square inch to about 500 ohms 104 can emit optical radiation at three (3 ) or more wave
per square inch . In an embodiment, the resistivity is approxi- lengths between about 1600 nm to about 1700 nm . In
mately 30 , 200 , or 500 ohms per square inch . As would be particular, the emitter 104 can emit optical radiation at or
understood by a person of skill in the art from the present 35 about 1610 nm , about 1640 nm , and about 1665 nm . In some
disclosure, other resistivities can also be used which are less circumstances, the use of three wavelengths within about
than about 30 ohms or more than about 500 ohms. Other           1600 nm to about 1700 nm enable sufficient SNRs of about
conductive materials transparent or substantially transparent 100 dB , which can result in a measurement accuracy of
to light can be used instead .                                  about 20 mg /dL or better for analytes like glucose .
  In some embodiments , the measurement site 102 is 40               In other embodiments, the emitter 104 can use two (2 )
located somewhere along a non - dominant arm or a non- wavelengths within about 1600 nm to about 1700 nm to
dominant hand , e.g. , a right- handed person's left arm or left advantageously enable SNRs of about 85 dB , which can
hand . In some patients, the non - dominant arm or hand can result in a measurement accuracy of about 25-30 mg/dL or
have less musculature and higher fat content, which can better for analytes like glucose . Furthermore, in some
result in less water content in that tissue of the patient. Tissue 45 embodiments, the emitter 104 can emit light at wavelengths
having less water content can provide less interference with above about 1670 nm . Measurements at these wavelengths
the particular wavelengths that are absorbed in a useful can be advantageously used to compensate or confirm the
manner by blood analytes like glucose . Accordingly , in some contribution of protein , water, and other non -hemoglobin
embodiments, the data collection system 100 can be used on species exhibited in measurements for analytes like glucose
a person's non -dominant hand or arm .                             50 conducted between about 1600 nm and about 1700 nm . Of
    The data collection system 100 can include a sensor 101 course , other wavelengths and combinations of wavelengths
( or multiple sensors ) that is coupled to a processing device can be used to measure analytes and /or to distinguish other
or physiological monitor 109. In an embodiment, the sensor types of tissue , fluids, tissue properties , fluid properties,
101 and the monitor 109 are integrated together into a single combinations of the same or the like.
unit . In another embodiment, the sensor 101 and the monitor 55 For example, the emitter 104 can emit optical radiation
109 are separate from each other and communicate one with         across other spectra for other analytes. In particular, the
another in any suitable manner, such as via a wired or            emitter 104 can employ light wavelengths to measure vari
wireless connection . The sensor 101 and monitor 109 can be       ous blood analytes or percentages ( e.g. , saturation ) thereof.
attachable and detachable from each other for the conve-          For example, in one embodiment, the emitter 104 can emit
nience of the user or caregiver, for ease of storage , sterility 60 optical radiation in the form of pulses at wavelengths about
issues , or the like . The sensor 101 and the monitor 109 will    905 nm , about 1050 nm , about 1200 nm , about 1300 nm ,
now be further described .                                        about 1330 nm , about 1610 nm , about 1640 nm , and about
   In the depicted embodiment shown in FIG . 1 , the sensor       1665 nm . In another embodiment, the emitter 104 can emit
101 includes an emitter 104 , a tissue shaper 105 , a set of      optical radiation ranging from about 860 nm to about 950
detectors 106 , and a front - end interface 108. The emitter 104 65 nm , about 950 nm to about 1100 nm , about 1100 nm to about
can serve as the source of optical radiation transmitted 1270 nm , about 1250 nm to about 1350 nm , about 1300 nm
towards measurement site 102. As will be described in             to about 1360 nm , and about 1590 nm to about 1700 nm . Of
                                                       Stay-Add-867
               Case: 24-1285               Document: 7             Page: 919             Filed: 12/26/2023


                                                  US 10,945,648 B2
                             13                                                                  14
course , the emitter 104 can transmit any of a variety of        The driver 111 can be synchronized with other parts of the
wavelengths of visible or near - infrared optical radiation.  sensor 101 and can minimize or reduce jitter in the timing of
  Due to the different responses of analytes to the different pulses of optical radiation emitted from the emitter 104. In
wavelengths, certain embodiments of the data collection some embodiments, the driver 111 is capable of driving the
system 100 can advantageously use the measurements at 5 emitter 104 to emit optical radiation in a pattern that varies
these different wavelengths to improve the accuracy of            by less than about 10 parts -per -million .
measurements . For example, the measurements of water               The detectors 106 capture and measure light from the
from visible and infrared light can be used to compensate for     measurement site 102. For example, the detectors 106 can
water absorbance that is exhibited in the near - infrared wave- 10 capture and measure light transmitted from the emitter 104
lengths.                                                           that has been attenuated or reflected from the tissue in the
   As briefly described above , the emitter 104 can include measurement site 102. The detectors 106 can output a
sets of light-emitting diodes (LEDs ) as its optical source . detector signal 107 responsive to the light captured or
The emitter 104 can use one or more top - emitting LEDs . In measured . The detectors 106 can be implemented using one
particular, in some embodiments, the emitter 104 can 15 or more photodiodes , phototransistors, or the like .
include top -emitting LEDs emitting light at about 850 nm to     In addition, the detectors 106 can be arranged with a
1350 nm .                                                     spatial configuration to provide a variation of path lengths
  The emitter 104 can also use super luminescent LEDs             among at least some of the detectors 106. That is , some of
( SLEDs ) or side - emitting LEDs . In some embodiments, the      the detectors 106 can have the substantially, or from the
emitter 104 can employ SLEDs or side -emitting LEDs to 20 perspective of the processing algorithm , effectively, the
emit optical radiation at about 1600 nm to about 1800 nm .        same path length from the emitter 104. However, according
Emitter 104 can use SLEDs or side -emitting LEDs to             to an embodiment, at least some of the detectors 106 can
transmit near infrared optical radiation because these types    have a different path length from the emitter 104 relative to
of sources can transmit at high power or relatively high other of the detectors 106. Variations in path lengths can be
power , e.g. , about 40 mW to about 100 mW . This higher 25 helpful in allowing the use of a bulk signal stream from the
power capability can be useful to compensate or overcome detectors 106. In some embodiments, the detectors 106 may
the greater attenuation of these wavelengths of light in tissue employ a linear spacing, a logarithmic spacing , or a two or
and water. For example, the higher power emission can three dimensional matrix of spacing , or any other spacing
effectively compensate and / or normalize the absorption sig- scheme in order to provide an appropriate variation in path
nal for light in the mentioned wavelengths to be similar in 30 lengths.
amplitude and / or effect as other wavelengths that can be         The front end interface 108 provides an interface that
detected by one or more photodetectors after absorption . adapts the output of the detectors 106 , which is responsive
       ever, the embodiments of the present disclosure do not to desired physiological parameters . For example, the front
necessarily require the use of high power optical sources. end interface 108 can adapt a signal 107 received from one
For example, some embodiments may be configured to 35 or more of the detectors 106 into a form that can be
measure analytes , such as total hemoglobin ( tHb ), oxygen processed by the monitor 109 , for example , by a signal
saturation ( SpO2), carboxyhemoglobin , methemoglobin , processor 110 in the monitor 109. The front end interface
etc. , without the use of high power optical sources like side 108 can have its components assembled in the sensor 101 ,
emitting LEDs . Instead , such embodiments may employ in the monitor 109 , in connecting cabling ( if used) , combi
other types of optical sources, such as top emitting LEDs . 40 nations of the same , or the like . The location of the front end
Alternatively, the emitter 104 can use other types of sources     interface 108 can be chosen based on various factors includ
of optical radiation , such as a laser diode, to emit near- ing space desired for components , desired noise reductions
infrared light into the measurement site 102 .              or limits , desired heat reductions or limits , and the like .
   In addition , in some embodiments, in order to assist in   The front end interface 108 can be coupled to the detec
achieving a comparative balance of desired power output 45 tors 106 and to the signal processor 110 using a bus , wire ,
between the LEDs , some of the LEDs in the emitter 104 can        electrical or optical cable , flex circuit , or some other form of
have a filter or covering that reduces and / or cleans the        signal connection . The front end interface 108 can also be at
optical radiation from particular LEDs or groups of LEDs . least partially integrated with various components, such as
For example , since some wavelengths of light can penetrate the detectors 106. For example, the front end interface 108
through tissue relatively well , LEDs , such as some or all of 50 can include one or more integrated circuits that are on the
the top - emitting LEDs can use a filter or covering, such as same circuit board as the detectors 106. Other configurations
a cap or painted dye . This can be useful in allowing the can also be used.
emitter 104 to use LEDs with a higher output and / or to              The front end interface 108 can be implemented using one
equalize intensity of LEDs .                                       or more amplifiers, such as transimpedance amplifiers, that
   The data collection system 100 also includes a driver 111 55 are coupled to one or more analog to digital converters
that drives the emitter 104. The driver 111 can be a circuit (ADCs) (which can be in the monitor 109 ) , such as a
or the like that is controlled by the monitor 109. For sigma -delta ADC . A transimpedance - based front end inter
example, the driver 111 can provide pulses of current to the face 108 can employ single -ended circuitry, differential
emitter 104. In an embodiment, the driver 111 drives the circuitry, and / or a hybrid configuration. A transimpedance
emitter 104 in a progressive fashion , such as in an alternat- 60 based front end interface 108 can be useful for its sampling
ing manner. The driver 111 can drive the emitter 104 with a rate capability and freedom in modulation /demodulation
series of pulses of about 1 milliwatt ( mW) for some wave- algorithms. For example, this type of front end interface 108
lengths that can penetrate tissue relatively well and from can advantageously facilitate the sampling of the ADCs
about 40 mW to about 100 mW for other wavelengths that being synchronized with the pulses emitted from the emitter
tend to be significantly absorbed in tissue . A wide variety of 65 104 .
other driving powers and driving methodologies can be used            The ADC or ADCs can provide one or more outputs into
in various embodiments.                                            multiple channels of digital information for processing by
                                                       Stay-Add-868
                Case: 24-1285               Document: 7              Page: 920            Filed: 12/26/2023


                                                    US 10,945,648 B2
                             15                                                                   16
the signal processor 110 of the monitor 109. Each channel computer- readable medium , such as a memory device , hard
can correspond to a signal output from a detector 106 .       disk storage, EEPROM , flash drive , or the like . The various
   In some embodiments, a programmable gain amplifier software and / or firmware applications can be stored in the
( PGA ) can be used in combination with a transimpedance- storage device 114 , which can be executed by the signal
based front end interface 108. For example, the output of a 5 processor 110 or another processor of the monitor 109. The
transimpedance -based front end interface 108 can be output network interface 116 can be a serial bus port (RS- 232/RS
to a PGA that is coupled with an ADC in the monitor 109 . 485 ) , a Universal Serial Bus (USB ) port, an Ethernet port, a
A PGA can be useful in order to provide another level of wireless interface (e.g. , WiFi such as any 802.1x interface ,
amplification and control of the stream of signals from the including an internal wireless card ), or other suitable com
detectors 106. Alternatively, the PGA and ADC components 10 munication device ( s ) that allows the monitor 109 to com
can be integrated with the transimpedance - based front end municate and share data with other devices. The monitor 109
interface 108 in the sensor 101 .                             can also include various other components not shown , such
   In another embodiment, the front end interface 108 can be as a microprocessor, graphics processor, or controller to
implemented using switched - capacitor circuits . A switched- output the user interface 112 , to control data communica
capacitor -based front end interface 108 can be useful for, in 15 tions , to compute data trending, or to perform other opera
certain embodiments , its resistor - free design and analog tions .
averaging properties. In addition , a switched -capacitor-           Although not shown in the depicted embodiment, the data
based front end interface 108 can be useful because it can          collection system 100 can include various other components
provide a digital signal to the signal processor 110 in the         or can be configured in different ways . For example , the
monitor 109 .                                                   20 sensor 101 can have both the emitter 104 and detectors 106
  As shown in FIG . 1 , the monitor 109 can include the             on the same side of the measurement site 102 and use
signal processor 110 and a user interface, such as a display        reflectance to measure analytes. The data collection system
112. The monitor 109 can also include optional outputs 100 can also include a sensor that measures the power of
alone or in combination with the display 112 , such as a light emitted from the emitter 104 .
storage device 114 and a network interface 116. In an 25 FIGS. 2A through 2D illustrate example monitoring
embodiment, the signal processor 110 includes processing devices 200 in which the data collection system 100 can be
logic that determines measurements for desired analytes, housed . Advantageously, in certain embodiments, some or
such as glucose, based on the signals received from the all of the example monitoring devices 200 shown can have
detectors 106. The signal processor 110 can be implemented a shape and size that allows a user to operate it with a single
using one or more microprocessors or subprocessors ( e.g. , 30 hand or attach it , for example, to a patient's body or limb.
cores ), digital signal processors , application specific inte- Although several examples are shown, many other moni
grated circuits (ASICs ) , field programmable gate arrays toring device configurations can be used to house the data
(FPGAs ), combinations of the same , and the like .             collection system 100. In addition , certain of the features of
   The signal processor 110 can provide various signals that the monitoring devices 200 shown in FIGS . 2A through 2D
control the operation of the sensor 101. For example, the 35 can be combined with features of the other monitoring
signal processor 110 can provide an emitter control signal to       devices 200 shown .
the driver 111. This control signal can be useful in order to            Referring specifically to FIG . 2A , an example monitoring
synchronize , minimize, or reduce jitter in the timing of device 200A is shown , in which a sensor 201? and a monitor
pulses emitted from the emitter 104. Accordingly, this 209a are integrated into a single unit . The monitoring device
control signal can be useful in order to cause optical radia- 40 200A shown is a handheld or portable device that can
tion pulses emitted from the emitter 104 to follow a precise measure glucose and other analytes in a patient's finger. The
timing and consistent pattern . For example, when a transim- sensor 201a includes an emitter shell 204a and a detector
pedance -based front end interface 108 is used , the control shell 206a . The depicted embodiment of the monitoring
signal from the signal processor 110 can provide synchro- device 200A also includes various control buttons 208a and
nization with the ADC in order to avoid aliasing , cross - talk , 45 a display 210a .
and the like . As also shown , an optional memory 113 can be             The sensor 201a can be constructed of white material
included in the front - end interface 108 and / or in the signal used for reflective purposes ( such as white silicone or
processor 110. This memory 113 can serve as a buffer or plastic ) , which can increase the usable signal at the detector
storage location for the front- end interface 108 and / or the 106 by forcing light back into the sensor 201a . Pads in the
signal processor 110 , among other uses .                          50 emitter shell 204a and the detector shell 206? can contain
   The user interface 112 can provide an output, e.g. , on a separated windows to prevent or reduce mixing of light
display, for presentation to a user of the data collection signals, for example, from distinct quadrants on a patient's
system 100. The user interface 112 can be implemented as finger. In addition, these pads can be made of a relatively
a touch - screen display, an LCD display, an organic LED soft material, such as a gel or foam , in order to conform to
display, or the like . In addition , the user interface 112 can be 55 the shape, for example, of a patient's finger. The emitter
manipulated to allow for measurement on the non -dominant shell 204a and the detector shell 206? can also include
side of patient. For example, the user interface 112 can absorbing black or grey material portions to prevent or
include a flip screen, a screen that can be moved from one reduce ambient light from entering into the sensor 201a .
side to another on the monitor 109 , or can include an ability          In some embodiments, some or all portions of the emitter
to reorient its display indicia responsive to user input or 60 shell 204a and / or detector shell 206a can be detachable
device orientation . In alternative embodiments, the data and /or disposable . For example, some or all portions of the
collection system 100 can be provided without a user shells 204a and 206a can be removable pieces . The remov
interface 112 and can simply provide an output signal to a ability of the shells 204a and 206a can be useful for sanitary
separate display or system .                                          purposes or for sizing the sensor 201? to different patients.
   A storage device 114 and a network interface 116 repre- 65 The monitor 209a can include a fitting, slot , magnet, or other
sent other optional output connections that can be included connecting mechanism to allow the sensor 2010 to be
in the monitor 109. The storage device 114 can include any removably attached to the monitor 209a .
                                                        Stay-Add-869
                 Case: 24-1285               Document: 7              Page: 921            Filed: 12/26/2023


                                                     US 10,945,648 B2
                              17                                                                   18
   The monitoring device 200a also includes optional con- multiple sensors can be provided for a plurality of differing
trol buttons 208a and a display 210a that can allow the user patient types or measurement sites or even patient fingers.
to control the operation of the device . For example, a user    FIG . 2C illustrates yet another example of monitoring
can operate the control buttons 208a to view one or more device 200C that can house the data collection system 100 .
measurements of various analytes, such as glucose . In 5 Like the monitoring device 200B , the monitoring device
addition , the user can operate the control buttons 208a to 200C includes a finger clip sensor 2010 connected to a
view other forms of information , such as graphs, histograms, monitor 209c via a cable 212. The cable 212 can have all of
measurement data , trend measurement data , parameter com- the features described above with respect to FIG . 2B . The
bination views, wellness indications, and the like. Many             monitor 209c can include all of the features of the monitor
parameters, trends, alarms and parameter displays could be 10 200B described above . For example, the monitor 209c
output to the display 210a , such as those that are commer- includes buttons 208c and a display 210c . The monitor 209c
cially available through a wide variety of noninvasive moni- shown also includes straps 214c that allow the monitor 209c
toring devices from Masimo® Corporation of Irvine, Calif. to be attached to a patient's limb or the like .
   Furthermore, the controls 208a and / or display 210a can       FIG . 2D illustrates yet another example of monitoring
provide functionality for the user to manipulate settings of 15 device 200D that can house the data collection system 100 .
the monitoring device 200a , such as alarm settings, emitter Like the monitoring devices 200B and 200C , the monitoring
settings, detector settings , and the like . The monitoring device 200D includes a finger clip sensor 201d connected to
device 200a can employ any of a variety of user interface            a monitor 209d via a cable 212. The cable 212 can have all
designs , such as frames, menus, touch - screens, and any type       of the features described above with respect to FIG . 2B . In
of button .                                                   20 addition to having some or all of the features described
   FIG . 2B illustrates another example of a monitoring above with respect to FIGS . 2B and 2C , the monitoring
device 200B . In the depicted embodiment, the monitoring device 200D includes an optional universal serial bus (USB )
device 200B includes a finger clip sensor 201b connected to port 216 and an Ethernet port 218. The USB port 216 and the
a monitor 209b via a cable 212. In the embodiment shown, Ethernet port 218 can be used , for example, to transfer
the monitor 209b includes a display 210b , control buttons 25 information between the monitor 209d and a computer (not
208b and a power button . Moreover, the monitor 209b can shown ) via a cable . Software stored on the computer can
advantageously include electronic processing , signal pro- provide functionality for a user to , for example, view
cessing , and data storage devices capable of receiving signal physiological data and trends, adjust settings and download
data from said sensor 2016 , processing the signal data to firmware updates to the monitor 209b , and perform a variety
determine one or more output measurement values indica- 30 of other functions . The USB port 216 and the Ethernet port
tive of one or more physiological parameters of a monitored 218 can be included with the other monitoring devices
patient, and displaying the measurement values , trends of           200A , 200B , and 200C described above .
the measurement values , combinations of measurement val-              FIGS . 3A through 3C illustrate more detailed examples of
ues , and the like .                                                 embodiments of a sensor 301a . The sensor 301a shown can
   The cable 212 connecting the sensor 2016 and the monitor 35 include all of the features of the sensors 100 and 200
2096 can be implemented using one or more wires, optical described above .
fiber, flex circuits , or the like . In some embodiments , the   Referring to FIG . 3A , the sensor 301a in the depicted
cable 212 can employ twisted pairs of conductors in order to embodiment is a clothespin - shaped clip sensor that includes
minimize or reduce cross -talk of data transmitted from the an enclosure 302a for receiving a patient's finger. The
sensor 201b to the monitor 209b . Various lengths of the 40 enclosure 302a is formed by an upper section or emitter shell
cable 212 can be employed to allow for separation between            304a , which is pivotably connected with a lower section or
the sensor 2016 and the monitor 209b . The cable 212 can be          detector shell 306a . The emitter shell 304a can be biased
fitted with a connector (male or female) on either end of the        with the detector shell 306? to close together around a pivot
cable 212 so that the sensor 2016 and the monitor 209b can point 303a and thereby sandwich finger tissue between the
be connected and disconnected from each other. Alterna- 45 emitter and detector shells 304a , 306a .
tively, the sensor 2016 and the monitor 209b can be coupled  In an embodiment, the pivot point 303a advantageously
together via a wireless communication link , such as an includes a pivot capable of adjusting the relationship
infrared link , radio frequency channel, or any other wireless between the emitter and detector shells 304a , 306a to
communication protocol and channel .                                effectively level the sections when applied to a tissue site . In
    The monitor 209b can be attached to the patient. For 50 another embodiment, the sensor 301a includes some or all
example , the monitor 209b can include a belt clip or straps features of the finger clip described in U.S. Publication No.
( see , e.g. , FIG . 2C ) that facilitate attachment to a patient's 2006/0211924 , incorporated above, such as a spring that
belt , arm , leg , or the like . The monitor 209b can also include causes finger clip forces to be distributed along the finger.
a fitting, slot , magnet, LEMO snap - click connector, or other Paragraphs [ 0096 ] through [ 0105 ] , which describe this fea
connecting mechanism to allow the cable 212 and sensor 55 ture, are hereby specifically incorporated by reference .
2016 to be attached to the monitor 209B .                        The emitter shell 304a can position and house various
   The monitor 209b can also include other components , emitter components of the sensor 301a . It can be constructed
such as a speaker, power button , removable storage or of reflective material (e.g. , white silicone or plastic ) and / or
memory ( e.g. , a flash card slot) , an AC power port, and one can be metallic or include metalicized plastic ( e.g. , including
or more network interfaces, such as a universal serial bus 60 carbon and aluminum ) to possibly serve as a heat sink. The
interface or an Ethernet port. For example , the monitor 209b emitter shell 304a can also include absorbing opaque mate
can include a display 210b that can indicate a measurement rial, such as , for example, black or grey colored material, at
for glucose , for example , in mg/dL. Other analytes and various areas, such as on one or more flaps 307a , to reduce
forms of display can also appear on the monitor 209b .         ambient light entering the sensor 301a .
   In addition, although a single sensor 2016 with a single 65 The detector shell 306? can position and house one or
monitor 209b is shown, different combinations of sensors more detector portions of the sensor 301a . The detector shell
and device pairings can be implemented. For example, 306a can be constructed of reflective material, such as white
                                                         Stay-Add-870
                Case: 24-1285               Document: 7              Page: 922            Filed: 12/26/2023


                                                    US 10,945,648 B2
                             19                                                                  20
silicone or plastic . As noted, such materials can increase the shielding 315a can include one or more openings or win
usable signal at a detector by forcing light back into the dows (not shown ). The windows can be made from glass or
tissue and measurement site ( see FIG . 1 ) . The detector shell plastic to thereby allow light that has passed through the
306a can also include absorbing opaque material at various windows 320 , 321 , 322 , and 323 on an external surface of
areas, such as lower area 308a , to reduce ambient light 5 the protrusion 305 (see FIG . 3C) to pass through to one or
entering the sensor 301a .
   Referring to FIGS . 3B and 3C , an example of finger bed more        photodetectors that can be enclosed or provided below
                                                                 ( see FIG . 3E ) .
310 is shown in the sensor 301b . The finger bed 310 includes        In some embodiments, the shielding cage for shielding
a generally curved surface shaped generally to receive 315a             can be constructed in a single manufactured compo
tissue , such as a human digit. The finger bed 310 includes 10 nent with     or without the use of conductive glass . This form
one or more ridges or channels 314. Each of the ridges 314 of construction
has a generally convex shape that can facilitate increasing manufacture as may      well
                                                                                         be useful in order to reduce costs of
                                                                                          as assist in quality control of the
traction or gripping of the patient's finger to the finger bed . components. Furthermore     , the shielding cage can also be
Advantageously, the ridges 314 can improve the accuracy of
spectroscopic analysis in certain embodiments by reducing is used to house various other components, such as sigma delta
                                                             components for various embodiments of front end interfaces
noise that can result from a measurement site moving or             108 .
shaking loose inside of the sensor 301a . The ridges 314 can
be made from reflective or opaque materials in some                   In an embodiment, the photodetectors can be positioned
embodiments to further increase SNR . In other implemen-            within or directly beneath the protrusion 305 ( see FIG . 3E) .
tations , other surface shapes can be used, such as , for 20 In such cases , the mean optical path length from the emitters
example, generally flat, concave, or convex finger beds 310 . to the detectors can be reduced and the accuracy of blood
   Finger bed 310 can also include an embodiment of a tissue analyte measurement can increase . For example, in one
thickness adjuster or protrusion 305. The protrusion 305 embodiment, a convex bump of about 1 mm to about 3 mm
includes a measurement site contact area 370 ( see FIG . 3C ) in height and about 10 mm² to about 60 mm was found to
that can contact body tissue of a measurement site . The 25 help signal strength by about an order of magnitude versus
protrusion 305 can be removed from or integrated with the other shapes. Of course other dimensions and sizes can be
finger bed 310. Interchangeable, different shaped protru- employed in other embodiments. Depending on the proper
sions 305 can also be provided, which can correspond to ties desired , the length, width , and height of the protrusion
different finger shapes, characteristics, opacity, sizes , or the 305 can be selected . In making such determinations, con
like .                                                           30 sideration can be made of protrusion's 305 effect on blood
   Referring specifically to FIG . 3C , the contact area 370 of flow at the measurement site and mean path length for
the protrusion 305 can include openings or windows 320 , optical radiation passing through openings 320 , 321 , 322 ,
 321 , 322 , and 323. When light from a measurement site and 323. Patient comfort can also be considered in deter
passes through the windows 320 , 321 , 322 , and 323 , the light mining the size and shape of the protrusion .
can reach one or more photodetectors ( see FIG . 3E ) . In an 35 In an embodiment, the protrusion 305 can include a pliant
embodiment, the windows 320 , 321 , 322 , and 323 mirror material, including soft plastic or rubber, which can some
specific detector placements layouts such that light can what conform to the shape of a measurement site . Pliant
impinge through the protrusion 305 onto the photodetectors. materials can improve patient comfort and tactility by con
Any number of windows 320 , 321 , 322 , and 323 can be forming the measurement site contact area 370 to the
employed in the protrusion 305 to allow light to pass from 40 measurement site . Additionally, pliant materials can mini
the measurement site to the photodetectors.                      mize or reduce noise , such as ambient light. Alternatively,
   The windows 320 , 321 , 322 , and 323 can also include the protrusion 305 can be made from a rigid material, such
shielding, such as an embedded grid of wiring or conduc- as hard plastic or metal .
tive glass coating , to reduce noise from ambient light or           Rigid materials can improve measurement accuracy of a
other electromagnetic noise . The windows 320 , 321 , 322 , 45 blood analyte by conforming the measurement site to the
and 323 can be made from materials, such as plastic or glass . contact area 370. The contact area 370 can be an ideal shape
In some embodiments, the windows 320 , 321 , 322 , and 323 for improving accuracy or reducing noise . Selecting a mate
can be constructed from conductive glass , such as indium tin rial for the protrusion 305 can include consideration of
oxide ( ITO ) coated glass . Conductive glass can be useful materials that do not significantly alter blood flow at the
because its shielding is transparent, and thus allows for a 50 measurement site . The protrusion 305 and the contact area
larger aperture versus a window with an embedded grid of 370 can include a combination of materials with various
wiring. In addition , in certain embodiments, the conductive characteristics .
glass does not need openings in its shielding ( since it is          The contact area 370 serves as a contact surface for the
transparent), which enhances its shielding performance. For measurement site . For example, in some embodiments, the
example, some embodiments that employ the conductive 55 contact area 370 can be shaped for contact with a patient's
glass can attain up to an about 40 % to about 50 % greater finger. Accordingly , the contact area 370 can be sized and
signal than non - conductive glass with a shielding grid . In shaped for different sizes of fingers. The contact area 370
addition, in some embodiments, conductive glass can be can be constructed of different materials for reflective pur
useful for shielding noise from a greater variety of directions poses as well as for the comfort of the patient. Forexample,
than non - conductive glass with a shielding grid.             60 the contact area 370 can be constructed from materials
   Turning to FIG . 3B , the sensor 301a can also include a having various hardness and textures, such as plastic , gel ,
shielding 315a , such as a metal cage , box , metal sheet, foam , and the like .
perforated metal sheet , a metal layer on a non- metal mate-         The formulas and analysis that follow with respect to FIG .
rial , or the like . The shielding 315a is provided in the 5 provide insight into how selecting these variables can alter
depicted embodiment below or embedded within the pro- 65 transmittance and intensity gain of optical radiation that has
trusion 305 to reduce noise . The shielding 315a can be             been applied to the measurement site . These examples do
constructed from a conductive material, such as copper. The         not limit the scope of this disclosure .
                                                        Stay-Add-871
                 Case: 24-1285                 Document: 7             Page: 923           Filed: 12/26/2023


                                                       US 10,945,648 B2
                               21                                                                  22
   Referring to FIG . 5 , a plot 500 is shown that illustrates advantageously provide improved heat transfers in about
examples of effects of embodiments of the protrusion 305 on three ( 3 ) to about four (4 ) minute intervals, for example,
the SNR at various wavelengths of light. As described although a heat sink 350a can be selected that performs
above , the protrusion 305 can assist in conforming the tissue 5 effectively in shorter or longer intervals.
and effectively reduce its mean path length . In some               Moreover, the heat sink 350a can have different shapes
instances, this effect by the protrusion 305 can have signifi- and configurations for aesthetic as well as for functional
cant impact on increasing the SNR .                              purposes . In an embodiment, the heat sink is configured to
   According to the Beer Lambert law , a transmittance of maximize heat dissipation, for example, by maximizing
light (1 ) can be expressed as follows: 1= 1 * e-m *b* c, where lo surface area. In an embodiment, the heat sink 350a is
is the initial power of light being transmitted , m is the path 10 molded into a generally curved surface and includes one or
length traveled by the light, and the component “ b * c" more fins, undulations , grooves, or channels. The example
corresponds to the bulk absorption of the light at a specific heat sink 350a shown includes fins 351a ( see FIG . 3A) .
wavelength of light. For light at about 1600 nm to about               An alternative shape of a sensor 301b and heat sink 350b
1700 nm , for example, the bulk absorption component is is shown in FIG . 3D . The sensor 301b can include some or
generally around 0.7 mm - 1. Assuming a typical finger 15 all of the features of the sensor 301a . For example, the
thickness of about 12 mm and a mean path length of 20 mm sensor 301b includes an enclosure 302b formed by an
due to tissue scattering, then 1-1 * e -20*0.7)                      emitter shell 304b and a detector shell 306b , pivotably
   In an embodiment where the protrusion 305 is a convex connected about a pivot 303a . The emitter shell 304b can
bump, the thickness of the finger can be reduced to 10 mm also include absorbing opaque material on one or more flaps
( from 12 mm ) for some fingers and the effective light mean 20 307b , and the detector shell 306a can also include absorbing
path is reduced to about 16.6 mm from 20 mm ( see box 510 ) . opaque material at various areas, such as lower area 308b .
This results in a new transmittance , 1, = 1 * e ( -16.6 * 0.7 ) . A   However, the shape of the sensor 301b is different in this
curve for a typical finger ( having a mean path length of 20 embodiment. In particular, the heat sink 350b includes comb
mm ) across various wavelengths is shown in the plot 500 of protrusions 3516. The comb protrusions 351b are exposed to
FIG . 5. The plot 500 illustrates potential effects of the 25 the air in a similar manner to the fins 351a of the heat sink
protrusion 305 on the transmittance. As illustrated, compar-          350a , thereby facilitating efficient cooling of the sensor
ing 1 and 1 , results in an intensity gain of el - 16.6 * 0.75/ el-   301b .
20 * 0.7 ) , which is about a 10 times increase for light in the FIG . 3E illustrates a more detailed example of a detector
about 1600 nm to about 1700 nm range. Such an increase shell 306b of the sensor 301b . The features described with
can affect the SNR at which the sensor can operate . The 30 respect to the detector shell 306b can also be used with the
foregoing gains can be due at least in part to the about 1600 detector shell 306a of the sensor 301a .
nm to about 1700 nm range having high values in bulk             As shown , the detector shell 306b includes detectors 316 .
absorptions (water, protein , and the like) , e.g. , about 0.7 The detectors 316 can have a predetermined spacing 340
mm- . The plot 500 also shows improvements in the visible! from each other, or a spatial relationship among one another
near - infrared range (about 600 nm to about 1300 nm ). 35 that results in a spatial configuration. This spatial configu
    Turning again to FIGS . 3A through 3C , an example heat ration can purposefully create a variation of path lengths
sink 350a is also shown . The heat sink 350a can be attached among detectors 316 and the emitter discussed above .
to , or protrude from an outer surface of, the sensor 301a ,     In the depicted embodiment, the detector shell 316 can
thereby providing increased ability for various sensor com- hold multiple (e.g. , two , three , four, etc. ) photodiode arrays
ponents to dissipate excess heat. By being on the outer 40 that are arranged in a two - dimensional grid pattern . Multiple
surface of the sensor 301a in certain embodiments, the heat photodiode arrays can also be useful to detect light piping
sink 350a can be exposed to the air and thereby facilitate (e.g. , light that bypasses measurement site 102 ) . In the
more efficient cooling . In an embodiment, one or more of the detector shell 316 , walls can be provided to separate the
emitters ( see FIG . 1 ) generate sufficient heat that inclusion individual photodiode arrays to prevent or reduce mixing of
of the heat sink 350a can advantageously allows the sensor 45 light signals from distinct quadrants . In addition , the detec
301a to remain safely cooled . The heat sink 350a can tor shell 316 can be covered by windows of transparent
include one or more materials that help dissipate heat, such material, such as glass , plastic , or the like , to allow maxi
as , for example, aluminum , steel , copper, carbon , combina- mum or increased transmission of power light captured . In
tions of the same , or the like . For example, in some various embodiments , the transparent materials used can
embodiments, the emitter shell 304a can include a heat 50 also be partially transparent or translucent or can otherwise
conducting material that is also readily and relatively inex- pass some or all of the optical radiation passing through
pensively moldable into desired shapes and forms.              them . As noted , this window can include some shielding in
   In some embodiments, the heat sink 350a includes met- the form of an embedded grid of wiring, or a conductive
alicized plastic . The metalicized plastic can include alumi- layer or coating.
num and carbon, for example. The material can allow for 55 As further illustrated by FIG . 3E , the detectors 316 can
improved thermal conductivity and diffusivity, which can              have a spatial configuration of a grid. However, the detectors
increase commercial viability of the heat sink . In some 316 can be arranged in other configurations that vary the
embodiments, the material selected to construct the heat sink path length. For example, the detectors 316 can be arranged
350a can include a thermally conductive liquid crystalline in a linear array, a logarithmic array, a two -dimensional
polymer, such as CoolPoly® D5506 , commercially avail- 60 array, a zig - zag pattern, or the like . Furthermore, any number
able from Cool Polymers® , Inc. of Warwick, Rhode Island . of the detectors 316 can be employed in certain embodi
Such a material can be selected for its electrically non- ments .
conductive and dielectric properties so as , for example, to    FIG . 3F illustrates another embodiment of a sensor 301f.
aid in electrical shielding . In an embodiment, the heat sink The sensor 301f can include some or all of the features of the
350a provides improved heat transfer properties when the 65 sensor 301a of FIG . 3A described above. For example, the
sensor 301a is active for short intervals of less than a full sensor 301f includes an enclosure 302f formed by an upper
day's use . In an embodiment, the heat sink 350a can section or emitter shell 304f, which is pivotably connected
                                                            Stay-Add-872
                Case: 24-1285                Document: 7              Page: 924            Filed: 12/26/2023


                                                    US 10,945,648 B2
                              23                                                                24
with a lower section or detector shell 306f around a pivot             FIGS . 6A through 6D illustrate another embodiment of a
point 303f. The emitter shell 304f can also include absorbing        protrusion 605 that can be used as the tissue shaper 105
opaque material on various areas, such as on one or more            described above or in place of the protrusions 305 , 405
flaps 307f, to reduce ambient light entering the sensor 301f. described above . The depicted protrusion 605 is a partially
The detector shell 306f can also include absorbing opaque 5 cylindrical lens having a partial cylinder 608 and an exten
material at various areas, such as a lower area 308f. The sion 610. The partial cylinder 608 can be a half cylinder in
sensor 301f also includes a heat sink 350f, which includes some embodiments; however, a smaller or greater portion
fins 351f.                                                          than half of a cylinder can be used . Advantageously, in
   In addition to these features, the sensor 301f includes a certain embodiments, the partially cylindrical protrusion 605
flex  circuit
another       covermaterial
          suitable   360, which
                           . The can
                                   flex becircuit
                                             madecover
                                                   of plastic or 10 focuses light onto a smaller area, such that fewer detectors
                                                        360 can
cover and thereby protect a flex circuit (not shown) that can       site .
                                                                           be used to detect the light attenuated by a measurement
extends from the emitter shell 304f to the detector shell 306f.        FIG . 6A illustrates a perspective view of the partially
An example of such a flex circuit is illustrated in U.S. cylindrical
Publication No. 2006/0211924, incorporated above ( see 15 tion view ofprotrusion              605. FIG . 6B illustrates a front eleva
FIG . 46 and associated description , which is hereby specifi illustrates a the        partially cylindrical protrusion 605. FIG . 6C
                                                                                   side view of the partially cylindrical protrusion
cally incorporated by reference ). The flex circuit cover 360
is shown in more detail below in FIG . 17 .                         605. FIG . 6D illustrates a top view of the partially cylindri
   In addition, sensors 301a - f has extra length extends to cal protrusion 605 .
second joint on finger - Easier to place , harder to move due 20 Advantageously, in certain embodiments, placing the par
to cable , better for light piping .                             tially cylindrical protrusion 605 over the photodiodes in any
   FIGS . 4A through 4C illustrate example arrangements of of the sensors described above adds multiple benefits to any
a protrusion 405 , which is an embodiment of the protrusion of the sensors described above . In one embodiment, the
305 described above . In an embodiment, the protrusion 405 partially cylindrical protrusion 605 penetrates into the tissue
can include a measurement site contact area 470. The 25 and reduces the path length of the light traveling in the
measurement site contact area 470 can include a surface that tissue , similar to the protrusions described above.
molds body tissue of a measurement site , such as a finger,         The partially cylindrical protrusion 605 can also collect
into a flat or relatively flat surface .                         light from a large surface and focus down the light to a
   The protrusion 405 can have dimensions that are suitable smaller area . As a result , in certain embodiments , signal
for a measurement site such as a patient's finger. As shown , 30 strength per area of the photodiode can be increased . The
the protrusion 405 can have a length 400 , a width 410 , and partially cylindrical protrusion 605 can therefore facilitate a
a height 430. The length 400 can be from about 9 to about lower cost sensor because , in certain embodiments , less
11 millimeters, e.g. , about 10 millimeters . The width 410 can photodiode area can be used to obtain the same signal
be from about 7 to about 9 millimeters , e.g. , about 8 strength . Less photodiode area can be realized by using
millimeters. The height 430 can be from about 0.5 millime- 35 smaller photodiodesor fewer photodiodes ( see, e.g. , FIG .
ters to about 3 millimeters, e.g. , about 2 millimeters. In an       14 ) . If fewer or smaller photodiodes are used , the partially
embodiment, the dimensions 400 , 410 , and 430 can be cylindrical protrusion 605 can also facilitate an improved
selected such that the measurement site contact area 470 SNR of the sensor because fewer or smaller photodiodes can
includes an area of about 80 square millimeters , although have less dark current.
larger and smaller areas can be used for different sized tissue 40 The dimensions of the partially cylindrical protrusion 605
for an adult, an adolescent, or infant, or for other consider- can vary based on, for instance , a number of photodiodes
ations .                                                          used with the sensor. Referring to FIG . 6C , the overall height
   The measurement site contact area 470 can also include of the partially cylindrical protrusion 605 (measurement “ a ” )
differently shaped surfaces that conform the measurement in some implementations is about 1 to about 3 mm . A height
site into different shapes . For example , the measurement site 45 in this range can allow the partially cylindrical protrusion
contact area 470 can be generally curved and / or convex with 605 to penetrate into the pad of the finger or other tissue and
respect to the measurement site . The measurement site reduce the distance that light travels through the tissue .
contact area 470 can be other shapes that reduce or even Other heights , however, of the partially cylindrical protru
minimize air between the protrusion 405 and / or the mea- sion 605 can also accomplish this objective. For example ,
surement site . Additionally, the surface pattern of the mea- 50 the chosen height of the partially cylindrical protrusion 605
surement site contact area 470 can vary from smooth to can be selected based on the size of the measurement site ,
bumpy, e.g. , to provide varying levels of grip .                  whether the patient is an adult or child , and so on . In an
   In FIGS . 4A and 4C , openings or windows 420 , 421 , 422 , embodiment, the height of the protrusion 605 is chosen to
and 423 can include a wide variety of shapes and sizes , provide as much tissue thickness reduction as possible while
including for example, generally square, circular, triangular, 55 reducing or preventing occlusion of blood vessels in the
or combinations thereof. The windows 420 , 421 , 422 , and           tissue .
423 can be of non - uniform shapes and sizes . As shown , the        Referring to FIG . 6D , the width of the partially cylindrical
windows 420 , 421 , 422 , and 423 can be evenly spaced out protrusion 605 (measurement “ b ” ) can be about 3 to about
in a grid likearrangement. Otherarrangements or patterns of 5 mm . In one embodiment, the width is about 4 mm . In one
arranging the windows 420 , 421 , 422 , and 423 are possible . 60 embodiment, a width in this range provides good penetration
For example, the windows 420 , 421 , 422 , and 423 can be of the partially cylindrical protrusion 605 into the tissue to
placed in a triangular, circular, or linear arrangement. In reduce the path length of the light. Other widths, however,
some embodiments , the windows 420 , 421 , 422 , and 423 can of the partially cylindrical protrusion 605 can also accom
be placed at different heights with respect to the finger bed plish this objective. For example, the width of the partially
310 of FIG . 3. The windows 420 , 421 , 422 , and 423 can also 65 cylindrical protrusion 605 can vary based on the size of the
mimic or approximately mimic a configuration of, or even measurement site , whether the patient is an adult or child ,
house , a plurality of detectors.                                 and so on . In addition , the length of the protrusion 605 could
                                                         Stay-Add-873
               Case: 24-1285                Document: 7              Page: 925            Filed: 12/26/2023


                                                   US 10,945,648 B2
                             25                                                                    26
be about 10 mm , or about 8 mm to about 12 mm , or smaller          also FIG . 14D ) . In another embodiment, the protrusion 605b
than 8 mm or greater than 12 mm .                                  could instead include a single chamfered edge 607 proximal
  In certain embodiments, the focal length ( f) for the            to the ridges 314. In another embodiment, one or both of the
partially cylindrical protrusion 605 can be expressed as :       5
                                                                   chamfered edges 607 could be rounded .
                                                                      The protrusion 605b also includes a measurement site
                                R
                                                                   contact area 670 that can contact body tissue of a measure
                              n-1
                                                                   ment site . The protrusion 605b can be removed from or
                                                                    integrated with the finger bed 310f. Interchangeable, differ
                                                                 10
                                                                    ently shaped protrusions 605b can also be provided , which
where R is the radius of curvature of the partial cylinder 608      can correspond to different finger shapes , characteristics,
and n is the index of refraction of the material used . In          opacity, sizes , or the like .
certain embodiments, the radius of curvature can be between            FIGS . 7A and 7B illustrate block diagrams of sensors 701
about 1.5 mm and about 2 mm . In another embodiment, the            that include example arrangements of conductive glass or
partially cylindrical protrusion 605 can include a material, 15 conductive coated glass for shielding. Advantageously, in
such as nBK7 glass , with an index of refraction of around certain embodiments, the shielding can provide increased
1.5 at 1300 nm , which can provide focal lengths of between SNR . The features of the sensors 701 can be implemented
about 3 mm and about 4 mm .                                       with any of the sensors 101 , 201 , 301 described above .
   A partially cylindrical protrusion 605 having a material Although not shown, the partially cylindrical protrusion 605
with a higher index of refraction such as nSF11 glass ( e.g. , 20 of FIG . 6 can also be used with the sensors 701 in certain
n= 1.75 at 1300 nm ) can provide a shorter focal length and embodiments .
possibly a smaller photodiode chip , but can also cause             For example, referring specifically to FIG . 7A , the sensor
higher reflections due to the index of refraction mismatch 701a includes an emitter housing 704a and a detector
with air. Many types of glass or plastic can be used with housing 706. The emitter housing 704a includes LEDs 104 .
index of refraction values ranging from , for example, about 25 The detector housing 706a includes a tissue bed 710a with
1.4 to about 1.9 . The index of refraction of the material of an opening or window 703a , the conductive glass 730a , and
the protrusion 605 can be chosen to improve or optimize the one or more photodiodes for detectors 106 provided on a
light focusing properties of the protrusion 605. A plastic submount 707a .
partially cylindrical protrusion 605 could provide the cheap-      During operation, a finger 102 can be placed on the tissue
est option in high volumes but can also have some undesired 30 bed 710a and optical radiation can be emitted from the LEDs
light absorption peaks at wavelengths higher than 1500 nm . 104. Light can then be attenuated as it passes through or is
Other focal lengths and materials having different indices of reflected from the tissue of the finger 102. The attenuated
refraction can be used for the partially cylindrical protrusion light can then pass through the opening 703a in the tissue
605 .                                                           bed 710a . Based on the received light, the detectors 106 can
   Placing a photodiode at a given distance below the 35 provide a detector signal 107 , for example, to the front end
partially cylindrical protrusion 605 can facilitate capturing interface 108 ( see FIG . 1 ) .
some or all of the light traveling perpendicular to the lens       In the depicted embodiment, the conductive glass 730 is
within the active area of the photodiode ( see FIG . 14 ) . provided in the opening 703. The conductive glass 730 can
Different sizes of the partially cylindrical protrusion 605 can thus not only permit light from the finger to pass to the
use different sizes of photodiodes . The extension 610 added 40 detectors 106 , but it can also supplement the shielding of the
onto the bottom of the partial cylinder 608 is used in certain      detectors 106 from noise . The conductive glass 730 can
embodiments to increase the height of the partially cylin-          include a stack or set of layers . In FIG . 7A , the conductive
drical protrusion 605. In an embodiment, the added height is glass 730a is shown having a glass layer 731 proximate the
such that the photodiodes are at or are approximately at the finger 102 and a conductive layer 733 electrically coupled to
focal length of the partially cylindrical protrusion 605. In an 45 the shielding 790a .
embodiment, the added height provides for greater thinning            In an embodiment, the conductive glass 730a can be
of the measurement site . In an embodiment, the added height coated with a conductive, transparent or partially transparent
assists in deflecting light piped through the sensor. This is material, such as a thin film of indium tin oxide ( ITO ) . To
because light piped around the sensor passes through the supplement electrical shielding effects of a shielding enclo
side walls of the added height without being directed toward 50 sure 790a , the conductive glass 730a can be electrically
the detectors. The extension 610 can also further facilitate        coupled to the shielding enclosure 790a . The conductive
the protrusion 605 increasing or maximizing the amount of           glass 730a can be electrically coupled to the shielding 704a
light that is provided to the detectors. In some embodiments ,     based on direct contact or via other connection devices, such
the extension 610 can be omitted .                                 as a wire or another component.
   FIG . 6E illustrates another view of the sensor 301f of FIG . 55 The shielding enclosure 790a can be provided to encom
3F, which includes an embodiment of a partially cylindrical pass the detectors 106 to reduce or prevent noise . For
protrusion 605b . Like the sensor 301A shown in FIGS . 3B example , the shielding enclosure 790a can be constructed
and 3C , the sensor 301f includes a finger bed 310f. The from a conductive material, such as copper, in the form of a
finger bed 310f includes a generally curved surface shaped metal cage . The shielding or enclosure a can include an
generally to receive tissue , such as a human digit . The finger 60 opaque material to not only reduce electrical noise, but also
bed 310f also includes the ridges or channels 314 described ambient optical noise .
above with respect to FIGS . 3B and 3C .                              In some embodiments , the shielding enclosure 790a can
   The example of finger bed 310f shown also includes the be constructed in a single manufactured component with or
protrusion 605b , which includes the features of the protru- without the use of conductive glass . This form of construc
sion 605 described above . In addition , the protrusion 605b 65 tion may be useful in order to reduce costs of manufacture
also includes chamfered edges 607 on each end to provide as well as assist in quality control of the components .
a more comfortable surface for a finger to slide across ( see Furthermore, the shielding enclosure 790a can also be used
                                                       Stay-Add-874
                   Case: 24-1285            Document: 7           Page: 926            Filed: 12/26/2023


                                                   US 10,945,648 B2
                             27                                                               28
to house various other components, such as sigma delta            In FIG . 8D , a bottom perspective view is shown to
components for various embodiments of front end interfaces illustrate an embodiment where a conductive glass 830b can
108 .                                                           include conductive material 837 that occupies or covers a
   Referring to FIG . 7B , another block diagram of an portion of a glass layer 839. This embodiment can be useful,
example sensor 701b is shown . A tissue bed 710b of the 5 for example, to create individual, shielded windows for
sensor 701b includes a protrusion 705b , which is in the form detectors 106 , such as those shown in FIG . 3C . The con
of a convex bump. The protrusion 705b can include all of the ductive material 837 can be patterned to include an area 838
features of the protrusions or tissue shaping materials to allow light to pass to detectors 106 and one or more strips
described above . For example, the protrusion 7056 includes 841 to couple to the shielding 704 of FIG . 7 .
a contact area 370 that comes in contact with the finger 102 10 Other configurations and patterns for the conductive
and which can include one or more openings 703b . One or material can be used in certain embodiments, such as , for
more components of conductive glass 730b can be provided example, a conductive coating lining periphery edges , a
in the openings 703. For example , in an embodiment, each conductive coating outlaid in a pattern including a grid or
of the openings 703 can include a separate window of the other pattern , a speckled conductive coating , coating outlaid
conductive glass 730b . In an embodiment, a single piece of 15 in lines in either direction or diagonally, varied thicknesses
the conductive glass 730b can used for some or all of the from the center out or from the periphery in, or other suitable
openings 7035. The conductive glass 730b is smaller than patterns or coatings that balance the shielding properties
the conductive glass 730a in this particular embodiment.        with transparency considerations .
   A shielding enclosure 790b is also provided, which can         FIG . 9 depicts an example graph 900 that illustrates
have all the features of the shielding enclosure 790a . The 20 comparative results obtained by an example sensor having
shielding enclosure 790b is smaller than the shielding enclo- components similar to those disclosed above with respect to
sure 790a ; however, a variety of sizes can be selected for the FIGS . 7 and 8. The graph 900 depicts the results of the
shielding enclosures 790 .                                      perce ge of transmission of varying wavelengths of light
   In some embodiments, the shielding enclosure 790b can for different types of windows used in the sensors described
be constructed in a single manufactured component with or 25 above .
without the use of conductive glass . This form of construc-      A line 915 on the graph 900 illustrates example light
tion may be useful in order to reduce costs of manufacture transmission of a window made from plain glass . As shown ,
as well as assist in quality control of the components . the light transmission percentage of varying wavelengths of
Furthermore, the shielding enclosure 790b can also be used light is approximately 90 % for a window made from plain
to house various other components , such as sigma delta 30 glass . A line 920 on the graph 900 demonstrates an example
components for various embodiments of front end interfaces light transmission percentage for an embodiment in which a
108 .                                                           window is made from glass having an ITO coating with a
   FIGS . 8A through 8D illustrate a perspective view , side surface resistivity of 500 ohms per square inch . A line 925
views , and a bottom elevation view of the conductive glass on the graph 900 shows an example light transmission for an
described above with respect to the sensors 701a , 701b . As 35 embodiment in which a window is made from glass that
shown in the perspective view of FIG . 8A and side view of       includes a coating of ITO oxide with a surface resistivity of
FIG . 8B , the conductive glass 730 includes the electrically    200 ohms per square inch . A line 930 on the graph 900
conductive material 733 described above as a coating on the      shows an example light transmission for an embodiment in
glass layer 731 described above to form a stack . In an          which a window is made from glass that includes a coating
embodiment where the electrically conductive material 733 40 of ITO oxide with a surface resistivity of 30 ohms per square
includes indium tin oxide, surface resistivity of the electri-   inch .
cally conductive material 733 can range approximately from        The light transmission percentage for a window with
30 ohms per square inch to 500 ohms per square inch , or currently available embedded wiring can have a light trans
approximately 30 , 200 , or 500 ohms per square inch . As mission percentage of approximately 70 % . This lower per
would be understood by a person of skill in the art from the 45 centage of light transmission can be due to the opacity of the
present disclosure , other resistivities can also be used which wiring employed in a currently available window with
are less than 30 ohms or more than 500 ohms. Other               wiring . Accordingly, certain embodiments of glass coatings
transparent, electrically conductive materials can be used as described herein can employ, for example, ITO coatings
the material 733 .                                            with different surface resistivity depending on the desired
   Although the conductive material 733 is shown spread 50 light transmission, wavelengths of light used for measure
over the surface of the glass layer 731 , the conductive         ment, desired shielding effect, and other criteria .
material 733 can be patterned or provided on selected               FIGS . 10A through 10B illustrate comparative noise
portions of the glass layer 731. Furthermore, the conductive     floors of example implementations of the sensors described
material 733 can have uniform or varying thickness depend-       above . Noise can include optical noise from ambient light
ing on a desired transmission of light, a desired shielding 55 and electro -magnetic noise , for example, from surrounding
effect, and other considerations.                                electrical equipment. In FIG . 10A , a graph 1000 depicts
  In FIG . 8C , a side view of a conductive glass 830a is        possible noise floors for different frequencies of noise for an
shown to illustrate an embodiment where the electrically         embodiment in which one of the sensors described above
conductive material 733 is provided as an internal layer included separate windows for four ( 4 ) detectors 106. One
between two glass layers 731 , 835. Various combinations of 60 or more of the windows included an embedded grid of
integrating electrically conductive material 733 with glass wiring as a noise shield . Symbols 1030-1033 illustrate the
are possible . For example, the electrically conductive mate- noise floor performance for this embodiment. As can be
rial 733 can be a layer within a stack of layers. This stack of seen, the noise floor performance can vary for each of the
layers can include one or more layers of glass 731 , 835 , as openings and based on the frequency of the noise .
well as one or more layers of conductive material 733. The 65 In FIG . 10B , a graph 1050 depicts a noise floor for
stack can include other layers of materials to achieve desired frequencies of noise 1070 for an embodiment in which the
characteristics.                                                 sensor included separate openings for four (4 ) detectors 106
                                                       Stay-Add-875
               Case: 24-1285                Document: 7             Page: 927            Filed: 12/26/2023


                                                   US 10,945,648 B2
                             29                                                                 30
and one or more windows that include an ITO coating. In              In some embodiments, emitter 104 may be configured to
this embodiment, a surface resistivity of the ITO used was emit pulses centered about 905 nm , about 1050 nm , about
about 500 ohms per square inch . Symbols 1080-1083 illus- 1200 nm , about 1300 nm , about 1330 nm , about 1610 nm ,
trate the noise floor performance for this embodiment. As about 1640 nm , and about 1665 nm . In another embodiment,
can be seen, the noise floor performance for this embodi- 5 the emitter 104 may emit optical radiation ranging from
ment can vary less for each of the openings and provide about 860 nm to about 950 nm , about 950 nm to about 1100
lower noise floors in comparison to the embodiment of FIG . nm , about 1100 nm to about 1270 nm , about 1250 nm to
10A .                                                              about 1350 nm , about 1300 nm to about 1360 nm , and about
   FIG . 11A illustrates an example structure for configuring 1590 nm to about 1700 nm . Of course , emitter 104 may be
the set of optical sources of the emitters described above . As 10 configured to transmit any of a variety of wavelengths of
shown, an emitter 104 can include a driver 1105 , a therm- visible , or near - infrared optical radiation .
istor 1120 , a set of top -emitting LEDs 1102 for emitting red       For purposes of illustration , FIG . 11B shows a sequence
and / or infrared light, a set of side -emitting LEDs 1104 for of pulses of light at wavelengths of around 905 nm , around
emitting near infrared light, and a submount 1106 .                1200 nm , around 1300 nm , and around 1330 nm from top
   The thermistor 1120 can be provided to compensate for 15 emitting LEDs 1102. FIG . 11B also shows that emitter 104
temperature variations. For example, the thermistor 1120 may then emit pulses centered at around 1630 nm , around
can be provided to allow for wavelength centroid and power 1660 nm , and around 1615 nm from side emitting LEDs
drift of LEDs 1102 and 1104 due to heating. In addition , 1104. Emitter 104 may be progressively driven at higher
other thermistors can be employed, for example, to measure power /current. This progression may allow driver circuit
a temperature of a measurement site . The temperature can be 20 105 to stabilize in its operations, and thus, provide a more
displayed on a display device and used by a caregiver. Such stable current /power to LEDs 1102 and 1104 .
a temperature can also be helpful in correcting for wave-            For example, as shown in FIG . 11B , the sequence of
length drift due to changes in water absorption , which can be optical radiation pulses are shown having a logarithmic - like
temperature dependent, thereby providing more accurate progression in power / current. In some embodiments, the
data useful in detecting blood analytes like glucose . In 25 timing of these pulses is based on a cycle of about 400 slots
addition, using a thermistor or other type of temperature running at 48 kHz (e.g. each time slot may be approximately
sensitive device may be useful for detecting extreme tem- 0.02 ms or 20 microseconds ). An artisan will recognize that
peratures at the measurement site that are too hot or too cold . term “ slots” includes its ordinary meaning, which includes
The presence of low perfusion may also be detected, for a time period that may also be expressed in terms of a
example, when the finger of a patient has become too cold . 30 frequency. In the example shown, pulses from top emitting
Moreover, shifts in temperature at the measurement site can LEDs 1102 may have a pulse width of about 40 time slots
alter the absorption spectrum of water and other tissue in the (e.g. , about 0.8 ms ) and an off period of about 4 time slots
measurement cite . A thermistor's temperature reading can be in between . In addition , pulses from side emitting LEDs
used to adjust for the variations in absorption spectrum 1104 ( e.g. , or a laser diode) may have a pulse width of about
changes in the measurement site .                                35 60 time slots (e.g. , about 1.25 ms ) and a similar off period
   The driver 1105 can provide pulses of current to the of about 4 time slots . A pause of about 70 time slots ( e.g. 1.5
emitter 1104. In an embodiment, the driver 1105 drives the ms ) may also be provided in order to allow driver circuit
emitter 1104 in a progressive fashion , for example, in an 1105 to stabilize after operating at higher current/power.
alternating manner based on a control signal from , for                As shown in FIG . 11B , top emitting LEDs 1102 may be
example, a processor (e.g. , the processor 110 ) . For example, 40 initially driven with a power to approximately 1 mW at a
the driver 1105 can drive the emitter 1104 with a series of current of about 20-100 mA . Power in these LEDs may also
pulses to about 1 milliwatt (MW ) for visible light to light at be modulated by using a filter or covering of black dye to
about 1300 nm and from about 40 mW to about 100 mW for reduce power output of LEDs . In this example, top emitting
light at about 1600 nm to about 1700 nm . However, a wide LEDs 1102 may be driven at approximately 0.02 to 0.08
number of driving powers and driving methodologies can be 45 mW . The sequence of the wavelengths may be based on the
used . The driver 1105 can be synchronized with other parts current requirements of top emitting LEDs 502 for that
of the sensor and can minimize or reduce any jitter in the particular wavelength . Of course , in other embodiments ,
timing of pulses of optical radiation emitted from the emitter different wavelengths and sequences of wavelengths may be
1104. In some embodiments, the driver 1105 is capable of output from emitter 104 .
driving the emitter 1104 to emit an optical radiation in a 50 Subsequently, side emitting LEDs 1104 may be driven at
pattern that varies by less than about 10 parts -per-million ; higher powers, such as about 40-100 mW and higher cur
however other amounts of variation can be used .                    rents of about 600-800 mA . This higher power may be
   The submount 1106 provides a support structure in certain employed in order to compensate for the higher opacity of
embodiments for aligning the top -emitting LEDs 1102 and tissue and water in measurement site 102 to these wave
the side - emitting LEDs 1104 so that their optical radiation is 55 lengths. For example, as shown , pulses at about 1630 nm ,
transmitted generally towards the measurement site . In some about 1660 nm , and about 1615 nm may be output with
embodiments, the submount 1106 is also constructed of progressively higher power, such as at about 40 mW , about
aluminum nitride ( AIN ) or beryllium oxide (BEO ) for heat 50 mW , and about 60 mW , respectively . In this embodiment,
dissipation, although other materials or combinations of the order of wavelengths may be based on the optical
materials suitable for the submount 1106 can be used .           60 characteristics of that wavelength in tissue as well as the
   FIG . 11B illustrates a configuration of emitting optical current needed to drive side emitting LEDs 1104. For
radiation into a measurement site for measuring a blood example, in this embodiment, the optical pulse at about 1615
constituent or analyte like glucose . In some embodiments , nm is driven at the highest power due to its sensitivity in
emitter 104 may be driven in a progressive fashion to detecting analytes like glucose and the ability of light at this
minimize noise and increase SNR of sensor 101. For 65 wavelength to penetrate tissue . Of course , different wave
example , emitter 104 may be driven based on a progression lengths and sequences of wavelengths may be output from
of power / current delivered to LEDs 1102 and 1104 .                emitter 104 .
                                                       Stay-Add-876
Case: 24-1285   Document: 7   Page: 928   Filed: 12/26/2023




                      Stay-Add-877
Case: 24-1285   Document: 7   Page: 929   Filed: 12/26/2023




                      Stay-Add-878
Case: 24-1285   Document: 7   Page: 930   Filed: 12/26/2023




                      Stay-Add-879
Case: 24-1285   Document: 7   Page: 931   Filed: 12/26/2023




                      Stay-Add-880
Case: 24-1285   Document: 7   Page: 932   Filed: 12/26/2023




                      Stay-Add-881
Case: 24-1285   Document: 7   Page: 933   Filed: 12/26/2023




                      Stay-Add-882
Case: 24-1285   Document: 7   Page: 934   Filed: 12/26/2023




                      Stay-Add-883
Case: 24-1285   Document: 7   Page: 935   Filed: 12/26/2023




                      Stay-Add-884
Case: 24-1285   Document: 7   Page: 936   Filed: 12/26/2023




                      Stay-Add-885
          Case: 24-1285     Document: 7    Page: 937   Filed: 12/26/2023




                          CERTIFICATE OF SERVICE

      I hereby certify that on the 26th day of December, 2023, I caused the

Confidential Brief for Appellant Apple Inc.’s Emergency Motion to Stay

Enforcement of ITC’s Orders Pending Review to be served via email (with written

consent) to counsel for the International Trade Commission and Masimo

Corporation and Cercacor Laboratories, Inc. at the following email addresses:

Office of the General Counsel              Counsel for Masimo Corporation and
U.S. International Trade Commission        Cercacor Laboratories, Inc.
ronald.traud@usitc.gov                     Masimo.AppleITC@knobbe.com.
Houda.Morad@usitc.gov
Wayne.Herrington@usitc.gov
Michelle.Klancnik@usitc.gov
Sara.Caniglia@usitc.gov
Dominic.Bianci@usitc.gov

                                            /s/ Mark D. Selwyn
                                            MARK D. SELWYN
                                            WILMER CUTLER PICKERING
                                               HALE AND DORR LLP
                                            2600 El Camino Real, Suite 400
                                            Palo Alto, CA 94306
                                            (650) 858-6000
          Case: 24-1285   Document: 7    Page: 938   Filed: 12/26/2023




            CERTIFICATE OF CONFIDENTIAL MATERIAL

The foregoing motion contains 12 unique words (including numbers) marked
confidential.
        This number does not exceed the maximum of 15 words permitted by
  X     Fed. Cir. R. 25.1(d)(1)(A).

        This number does not exceed the maximum of 50 words permitted by
        Fed. Cir. R. 25.1(d)(1)(B) for cases under 19 U.S.C. §1516a or 28 U.S.C.
        §1491(b).

        This number exceeds the maximum permitted by Federal Circuit Rule
        25.1(d)(1), and the filing is accompanied by a motion to waive the
        confidentiality requirements.


                                              /s/ Mark D. Selwyn
                                              MARK D. SELWYN
                                              WILMER CUTLER PICKERING
                                                 HALE AND DORR LLP
                                              2600 El Camino Real, Suite 400
                                              Palo Alto, CA 94306
                                              (650) 858-6000
December 26, 2023
            Case: 24-1285        Document: 7   Page: 939   Filed: 12/26/2023




           CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME
                           LIMITATIONS

      The foregoing filing complies with the relevant type-volume limitation of the

Federal Rules of Appellate Procedure and Federal Circuit Rules because:

      1.     The filing has been prepared using a proportionally-spaced typeface

and includes 5,160 words.

      2.     The filing has been prepared using Microsoft Word for Office 365 in

14-point Times New Roman font. As permitted by Fed. R. App. P. 32(g), the

undersigned has relied upon the word count feature of this word processing system

in preparing this certificate.



                                                   /s/ Mark D. Selwyn
                                                   MARK D. SELWYN
                                                   WILMER CUTLER PICKERING
                                                      HALE AND DORR LLP
                                                   2600 El Camino Real, Suite 400
                                                   Palo Alto, CA 94306
                                                   (650) 858-6000
December 26, 2023
